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              IN THE UNITED STATES COURT OF APPEALS
                   FOR THE DISTRICT OF COLUMBIA


WE THE INVESTORS and
URVIN FINANCE, INC.,
               Petitioners,

                v.                         No. 24-1319

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,
               Respondent.



                          PETITION FOR REVIEW

      Under Federal Rule of Appellate Procedure 15 and Section 25 of the

Securities Exchange Act of 1934, We The Investors and Urvin Finance, Inc.,

petition for review of the Securities and Exchange Commission’s final action

titled: “Regulation NMS: Minimum Pricing Increments, Access Fees, and

Transparency of Better Priced Orders” that the Commission published

today—October 8, 2024.        Petitioners are domiciled in the District of

Columbia. Petitioners challenge the action as contrary to the standards of the

Administrative Procedure Act and the Securities Exchange Act.
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October 8, 2024                          /s/ Keith Bradley
                                         Keith Bradley
                                         SQUIRE PATTON BOGGS (US) LLP
                                         717 17th Street, Suite 1825
                                         Denver, CO 80202
                                         Tel.: (303) 830-1776
                                         Fax: (303) 894-9239
                                         keith.bradley@squirepb.com
                                         Counsel for Petitioners




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                  CORPORATE DISCLOSURE STATEMENT

         Per Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

petitioners state that neither is publicly traded, neither has any parent

company, and no publicly traded company holds 10% or more of petitioners’

stock.




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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 8th, 2024, I facilitated service of this

Petition via Federal Express Overnight Mail on the following recipients:

                             Vanessa Countryman
                        and the Office of the Secretary,
                     Securities and Exchange Commission
                                 100 F Street NE
                            Washington, DC 20549.



                                           /s/ Keith Bradley
                                           Keith Bradley




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                                                 SECURITIES AND EXCHANGE                                   II. Equity Market Structure Initiatives and the         4. Affected Entities and Markets
                                                 COMMISSION                                                      Regulation NMS Proposal                           5. Amendments to Rule 605
                                                                                                           III. Final Rule 612 of Regulation NMS—                  D. Benefits, Costs, and Other Economic
                                                 17 CFR Part 242                                                 Minimum Pricing Increment                            Effects
                                                                                                              A. Issues Raised in the Existing Market              1. Modification of Rule 612 To Create a
                                                 [Release No. 34–101070; File No. S7–30–                         Structure Related to Tick Sizes                      Half-Penny Tick
                                                 22]                                                          B. Proposal To Amend Rule 612                        2. Lower Access Fee Cap
                                                                                                              C. Final Rule—Minimum Pricing                        3. Exchange Fees and Rebates
                                                 RIN 3235–AN23                                                   Increments for Orders Priced Equal to or             Determinable at the Time of Execution
                                                                                                                 Greater Than $1.00 per Share                      4. Acceleration and Implementation of the
                                                 Regulation NMS: Minimum Pricing                              1. General Comments and Discussion                      MDI Rules and Addition of Information
                                                 Increments, Access Fees, and                                 2. Specific Comments on the Proposed                    About Best Odd-Lot Orders
                                                 Transparency of Better Priced Orders                            Minimum Pricing Increments                        5. Compliance Costs
                                                                                                              3. Comments on the Number of Proposed                6. Interactions With Recently Adopted
                                                 AGENCY: Securities and Exchange                                 Increments                                           Rules
                                                 Commission.                                                  4. Comments on Small- and Mid-Sized                  E. Effect on Efficiency, Competition, and
                                                 ACTION: Final rule.                                             Stocks                                               Capital Formation
                                                                                                              5. Comments on Market Resiliency                     1. Efficiency
                                                 SUMMARY: The Securities and Exchange                         6. Comments on Proposed Criteria for                 2. Competition
                                                 Commission (‘‘Commission’’ or ‘‘SEC’’)                          Assigning Minimum Pricing Increments              3. Capital Formation
                                                                                                              7. Rule 612(a)—Definitions                           F. Reasonable Alternatives
                                                 is adopting amendments to certain rules                      8. Rule 612(b)(1)—Semiannual Operative
                                                 of Regulation National Market System                                                                              1. Tick Size Alternatives
                                                                                                                 Dates
                                                 (‘‘Regulation NMS’’) under the                                                                                    2. Access Fee Alternatives
                                                                                                              9. Rule 612(c)—New NMS Stocks
                                                 Securities Exchange Act of 1934, as                                                                             VIII. Paperwork Reduction Act
                                                                                                              10. Rule 600(b)(89)—Regulatory Data
                                                                                                                                                                   A. Summary of Collection of Information
                                                 amended (‘‘Exchange Act’’) to amend                          D. Minimum Pricing Increment for Trades
                                                                                                           IV. Final Rule 610 of Regulation NMS—Fees               B. Proposed Use of Information
                                                 the minimum pricing increments for the                                                                            C. Respondents
                                                 quoting of certain NMS stocks, reduce                           for Access to Quotations
                                                                                                              A. Background                                        D. Total Annual Reporting and
                                                 the access fee caps, and enhance the                         B. Issues Raised in the Existing Market                 Recordkeeping Burden
                                                 transparency of better priced orders.                           Structure and the Need for the                    1. Initial Burden Hours and Costs
                                                 DATES: Effective Date: December 9, 2024.                        Amendments                                        2. Ongoing Burden Hours and Costs
                                                 Compliance dates: See section VI., titled                    1. Amendments to Rule 612                            E. Collection of Information Is Mandatory
                                                                                                              2. Exchange Fee Models                               F. Confidentiality
                                                 ‘‘Compliance Dates,’’ for further                                                                                 G. Revisions to Current MDI Rules Burden
                                                 information on transitioning to the final                    C. Proposal To Amend 610(c)
                                                                                                              D. Final Rule 610(c)                                    Estimates
                                                 rules.                                                       1. Comments on Proposed Rule 610(c)                IX. Regulatory Flexibility Act
                                                 FOR FURTHER INFORMATION CONTACT:                             E. Final Rule 610(d) Requiring That All              A. Amendments to Rule 612—Final
                                                 Kelly Riley, Senior Special Counsel,                            Exchange Fees and Rebates Be                         Regulatory Flexibility Analysis
                                                 Johnna Dumler, Special Counsel, Steve                           Determinable at the Time of an                    1. Reasons for the Action
                                                 Kuan, Special Counsel, Marc McKayle,                            Execution                                         2. Small Entities Subject to the Rule
                                                                                                              1. General Comments                                  3. Reporting, Recordkeeping, and Other
                                                 Special Counsel, Leigh Roth, Special                                                                                 Compliance Requirements
                                                                                                           V. Final Rule—Transparency of Better Priced
                                                 Counsel, and Alba Baze, Attorney-                               Orders                                            4. Significant Alternatives
                                                 Advisor, at (202) 551–5500, Office of                        A. Background                                        B. Amendments to Rule 610
                                                 Market Supervision, Division of Trading                      B. Final Rule—Round Lots                             C. Amendments to Rule 603 and
                                                 and Markets, Commission, 100 F Street                        1. Round Lot Definition                                 Definitions Odd-Lot Information and
                                                 NE, Washington, DC 20549.                                    2. Proposed Acceleration of Round Lot                   Regulatory Data Under Rule 600
                                                 SUPPLEMENTARY INFORMATION: The                                  Definition                                        D. Certification
                                                                                                              3. Comments and Response                           X. Other Matters
                                                 Commission is adopting amendments to                                                                            Statutory Authority and Text of Rule
                                                                                                              C. Final Rule—Odd-Lot Information
                                                 the following rules under Regulation                         1. Proposed Acceleration of Odd-Lot                     Amendments
                                                 NMS:                                                            Information Definition
                                                                                                              2. Proposed Amendment to Odd-Lot                   I. Introduction
                                                       Commission                   CFR citation                 Information Definition for Best Odd-Lot            Consistent with Congress’s directive
                                                        reference                    (17 CFR)                    Orders                                          almost 50 years ago to facilitate the
                                                                                                              D. Display of Round Lots and Odd-Lot               establishment of a national market
                                                 Rule 600(b)(69) ........            § 242.600(b)(69)            Information
                                                 Rule 600(b)(89) ........            § 242.600(b)(89)                                                            system,1 the Commission is amending
                                                                                                              1. Comments and Response
                                                 Rule 600(b)(93) ........            § 242.600(b)(93)         E. MDI Rules Implementation                        certain of its rules to respond to market
                                                 Rule 603 ...................               § 242.603      VI. Compliance Dates                                  developments since those rules were
                                                 Rule 610 ...................               § 242.610         A. Final Rule 612 Compliance Date                  adopted, so that those rules continue to
                                                 Rule 612 ...................               § 242.612         B. Final Rule 610 Compliance Date                  benefit investors and the markets.
                                                                                                              C. Final Compliance Date for Round Lot             Specifically, the Commission is taking
                                                 I. Introduction                                                 and Odd-Lot Information                         the following actions to continue to
                                                    A. Rule 612 Minimum Pricing Increments                 VII. Economic Analysis
                                                    1. Background
                                                                                                                                                                 fulfill Congress’s directive and advance
                                                                                                              A. Introduction
                                                    2. Proposed and Adopted Amendments                                                                           the objectives of investor protection and
                                                                                                              B. Broad Economic Considerations
                                                    B. Rule 610 Fees for Access to Quotations                 1. Liquidity and Spread                            the maintenance of fair and orderly
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                                                       and Transparency of Fees                               2. Economics of Minimum Pricing                    markets:
                                                    1. Background                                                Increments                                         • Reduce Transaction Costs for
                                                    2. Proposed and Adopted Amendments                        3. Economics of Access Fees                        Investors by Reducing Minimum Pricing
                                                    C. Transparency of Better Priced Orders                   C. Baseline                                        Increments. The amendments will relax
                                                    1. Background                                             1. Tick Sizes
                                                    2. Proposed and Adopted Amendments                        2. Access Fees                                       1 See Public Law 94–29 (S.249), June 4, 1975,
                                                    D. Overarching Comments on the                            3. Round Lots, Odd-Lots, and Market Data           Securities Acts Amendments of 1975 (‘‘1975
                                                       Proposing Release                                         Infrastructure                                  Amendments’’). See also 15 U.S.C. 78k–1.



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                                                 existing restrictions on market-wide                    objectives.’’ 2 The 1975 Amendments                          In 2005, the Commission adopted
                                                 minimum pricing increments (‘‘tick                      and section 11A of the Exchange Act set                   Regulation NMS to modernize and
                                                 sizes’’), thus reducing transaction costs               forth Congress’s findings regarding the                   strengthen the regulatory structure of
                                                 for investors and relaxing a constraint                 nation’s securities markets and direct                    U.S. equity markets, including
                                                 on price discovery for certain stocks.                  the Commission to facilitate the                          requirements pursuant to which
                                                    The reduced tick size will benefit                   establishment of a national market                        quotations and orders for NMS stocks,
                                                 investors and market participants by: (i)               system in accordance with specified                       and the markets on which they trade,
                                                 allowing stocks to be priced more                       Congressional findings and objectives.3                   can compete. These requirements
                                                 efficiently and competitively, therefore                  Since 1975, the Commission has                          support the public interest and the
                                                 lowering costs for investors to trade in                regulated the national market system,                     protection of investors and help to
                                                 those stocks; and (ii) improving                        adhering to the objectives of efficient,                  ensure fair and orderly markets for the
                                                 liquidity, competition, and price                       competitive, fair, and orderly markets                    execution of orders in NMS stocks.
                                                 efficiency in the markets.                              that are in the public interest and                       Among other things, Regulation NMS
                                                                                                         protect investors, which are essential to                 provides explicit requirements for the
                                                    • Improve Market Quality for
                                                                                                         meeting the investment needs of the                       tick sizes of quotations and orders,6 the
                                                 Investors by Reducing Access Fee Caps                   public and reducing the cost of capital                   means for market participants to access
                                                 and Increasing Transparency. The                        for listed companies.4 The national                       quotations in the national market
                                                 amendments will reduce the maximum                      market system is premised on                              system, including a cap on the highest
                                                 fees that trading centers (e.g., securities             promoting fair competition among                          permitted level of fees a trading center
                                                 exchanges) are allowed to charge                        markets, while at the same time assuring                  may charge for access to the best
                                                 investors for execution against protected               that all of these markets are linked                      quotations of a trading center,7 and how
                                                 quotations (‘‘access fee caps’’). The                   together, through facilities and rules, in                information about quotations and trades
                                                 amendments will also address the lack                   a unified system that promotes                            is made widely available to investors,
                                                 of transparency around the cost of a                    interaction among the orders of buyers                    among others.8
                                                 transaction at the time of a trade                      and sellers in a particular NMS stock.5                      Nearly two decades later, the
                                                 execution by requiring exchange fees                                                                              technology and economics of trading
                                                 and rebates to be determinable at the                      2 Senate Report on Securities Act Amendments of        have evolved significantly. Transaction
                                                 time of the execution.                                  1975, S. Rep. No. 94–75 at 8–9.                           volume in listed equities doubled in the
                                                                                                            3 In particular, Congress found that it is in the
                                                    The amendments will benefit                                                                                    last five years and tripled in the last
                                                                                                         public interest and appropriate for the protection of
                                                 investors and market participants by: (i)               investors and maintenance of fair and orderly             seventeen.9 Electronic trading now
                                                 providing for access fee caps that                      markets to assure five objectives: (1) economically       dominates equity markets, with latency
                                                 accommodate the change in tick sizes;                   efficient execution of transactions; (2) fair             measured in microseconds. These
                                                 (ii) providing quotations that are more                 competition among brokers and dealers and among           changes call for improvements to assure
                                                                                                         exchange markets, and between markets other than
                                                 accurate and reflective of market forces;               exchange markets; (3) the availability to brokers,        an efficient and transparent price
                                                 (iii) mitigating potential conflicts of                 dealers and investors of information with respect to      discovery process, in order to continue
                                                 interest between broker-dealers and                     quotations for and transactions in securities; (4) the    to fulfill Congress’s directive and
                                                 their customers, where a broker-dealer                  practicability of brokers executing investors’ orders
                                                                                                         in the best market; and (5) an opportunity,
                                                                                                                                                                   advance the objectives of investor
                                                 is incentivized to route to the exchange                consistent with items (1) and (4), for investors’         protection and the maintenance of fair
                                                 offering the most favorable fees or                     orders to be executed without the participation of        and orderly markets. However, some
                                                 rebates, which can lead to potentially                  a dealer. See 15 U.S.C. 78k–1(a)(1)(C). Congress also     parts of Regulation NMS have not been
                                                 worse execution quality for customers;                  found that new data processing and
                                                                                                         communications techniques could create the
                                                                                                                                                                   revised since their 2005 adoption. Thus,
                                                 (iv) reducing the complexity associated                 opportunity for more efficient and effective market       the Commission is adopting the below
                                                 with the fees and rebates models; and                   operations, and that ‘‘[t]he linking of all markets for   described amendments to certain rules
                                                 (v) increasing the transparency of                      qualified securities through communication and            under Regulation NMS.10 The following
                                                                                                         data processing facilities will foster efficiency,
                                                 transaction fees and rebates.                           enhance competition, increase the information
                                                    • Improve Transparency to Investors                  available to brokers, dealers, and investors,             which transaction reports are collected, processed,
                                                                                                         facilitate the offsetting of investors’ orders and        and made available pursuant to an effective
                                                 about Better Priced Orders. The                                                                                   transaction reporting plan, or an effective national
                                                                                                         contribute to the best execution of such orders.’’ See
                                                 amendments will increase price                          15 U.S.C. 78k–1(a)(1)(B), (D).                            market system plan for reporting transactions in
                                                 transparency by accelerating the                           4 See Securities Exchange Act Release No. 51808        listed options. 17 CFR 242.600(b)(64).
                                                                                                                                                                      6 See Rule 612 of Regulation NMS; 17 CFR
                                                 implementation of previously adopted                    (June 9, 2005), 70 FR 37496, 37497 (June 29, 2005)
                                                                                                                                                                   242.612.
                                                 definitions of ‘‘round lot’’ and ‘‘odd-lot              (‘‘Regulation NMS Adopting Release’’). In the
                                                                                                                                                                      7 See Rule 610 of Regulation NMS; 17 CFR
                                                                                                         nearly fifty years since the enactment of section
                                                 information’’ and by adding a data                      11A, the Commission has monitored the national            242.610.
                                                 element for the best odd-lot orders to                  market system and its operation and has                      8 See Rules 601, 602, and 603 of Regulation NMS;

                                                 buy and sell (‘‘BOLO’’) to the definition               periodically reviewed certain of its rules to address     17 CFR 242.601, 17 CFR 242.602, 17 CFR 242.603.
                                                 of ‘‘odd-lot information.’’                             issues that have arisen in the markets with the goal         9 See Cboe, ‘‘Historical Market Volume Data,’’

                                                                                                         of ensuring that the regulatory framework continues       available at https://www.cboe.com/us/equities/
                                                    These amendments will improve                        to fulfill the goals of section 11A. In each such case,   market_statistics/historical_market_volume/.
                                                 information available to investors and                  the Commission has been guided by the objectives             10 The Commission has amended several aspects

                                                 other market participants about better                  embodied in section 11A. The Commission also              of Regulation NMS to address and reflect changes
                                                 priced orders in smaller sizes that are                 formed the Equity Market Structure Advisory               in the markets since its adoption. For example, in
                                                                                                         Committee (‘‘EMSAC’’) in 2015 to provide diverse          2018, the Commission adopted new order handling
                                                 available in the market.                                perspectives on the structure and operations of the       disclosure requirements in Rule 606 in response to
                                                    In 1975, Congress explicitly granted                 U.S. equities markets, as well as advice and              changes in equity market structure and order
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                                                 the Commission ‘‘broad authority to                     recommendations on matters related to equity              handling and routing practices. See Securities
                                                                                                         market structure. The archives of these meetings are      Exchange Act Release No. 84528 (Nov. 2, 2018), 83
                                                 oversee the implementation, operation,                  available at https://www.sec.gov/spotlight/emsac/         FR 58338 (Nov. 19, 2018). In 2020, the Commission
                                                 and regulation of the national market                   emsac-archives.htm (‘‘EMSAC Archives’’).                  adopted rules to update the national market system
                                                 system’’ and the ‘‘clear responsibility to                 5 See Regulation NMS Adopting Release, supra           for the collection, consolidation, and dissemination
                                                 assure that the system develops and                     note 4, at 37498. ‘‘NMS stock’’ is defined under          of equity market data in the national market system
                                                                                                         Regulation NMS as any NMS security other than an          to keep pace with technological developments
                                                 operates in accordance with                             option. 17 CFR 242.600(b)(65). An ‘‘NMS security’’        concerning the use of market data. See Securities
                                                 Congressionally determined goals and                    is defined as any security or class of securities for                                                Continued




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                                                 subsections provide an overview of the                     ‘‘tick size.’’ Rule 612 required, for                      competition for providing liquidity.20
                                                 amendments and the rationales for                          quotations and orders of NMS stocks                        More specifically, too large a tick size
                                                 each.11                                                    priced at or greater than $1.00 per share,                 can increase transaction costs for
                                                                                                            the minimum pricing increment to be                        investors by artificially widening the
                                                 A. Rule 612 Minimum Pricing
                                                                                                            $0.01.14 As a result, subject to certain                   ‘‘bid-ask spread’’—the difference
                                                 Increments
                                                                                                            exceptions,15 the quotations and orders                    between the bid (highest price a buyer
                                                 1. Background                                              of such NMS stocks are priced in penny                     is willing to pay) and the ask (the lowest
                                                    One way that investors can buy or sell                  increments: $10.00, $10.01, $10.02, for                    price a seller is willing to accept)
                                                 a stock is through the use of limit                        example.                                                   prices.21 For example, consider a
                                                 orders, which are a type of order that                        The Commission adopted Rule 612                         hypothetical scenario where a liquidity
                                                 specifies the price (‘‘limit price’’) at                   and minimum pricing increments to                          provider is willing to bid $10.121 to buy
                                                 which the investor is willing to buy or                    address the concern that a market                          a stock and offer $10.124 to sell the
                                                 sell a security.12 Limit orders serve a                    participant could gain priority over                       stock. If the tick size were $0.005, the
                                                 critical market function by helping to                     existing limit orders by posting an                        resulting bid and offer from this
                                                 set prices at which market participants                    economically insignificant price                           liquidity provider would be $10.120 and
                                                 are willing to trade, revealing the supply                 improvement.16 For example, consider a                     $10.125, respectively, with a spread of
                                                                                                            market participant that posts a limit                      $0.005. If the tick size were $0.01, the
                                                 and demand for a security, and
                                                                                                            order to buy an NMS stock at $10.00 per                    corresponding bid and offer would be
                                                 providing liquidity to the market. As
                                                                                                            share. Without minimum pricing                             $10.120 and $10.130, with a spread of
                                                 such, limit orders play a key role in
                                                                                                            increments, a second market participant                    $0.01.22 In other words, but for the
                                                 price discovery and allow investors to
                                                                                                            could ‘‘step ahead’’ (also known as                        requirement under Rule 612 that sets
                                                 participate in the price-setting
                                                                                                            ‘‘pennying’’) of the first market                          the tick size to be $0.01 for quotes and
                                                 process.13
                                                    Recognizing the value of limit orders,                  participant by posting a bid to buy at a                   orders in NMS stocks priced at or above
                                                 the Commission adopted Rule 612                            price that is higher by an infinitesimally                 $1.00, a smaller tick size would have
                                                                                                            small amount, such as $10.000001.17                        narrowed spreads in some instances and
                                                 under Regulation NMS, which requires
                                                                                                            This behavior disincentivizes market                       allowed prices to better reflect the
                                                 that the prices of quotations and orders
                                                                                                            participants from posting a limit order                    underlying economics for certain NMS
                                                 in the national market system be
                                                                                                            in the first place because another market                  stocks. As explained below, up to 74.3%
                                                 reflected in a specified minimum
                                                                                                            participant could always gain priority                     of the share volume transacted in NMS
                                                 pricing increment, also known as the
                                                                                                            over that first price by posting a limit                   stocks in 2023 may have bid-ask spreads
                                                                                                            order that is better by an economically                    that are constrained by the current
                                                 Exchange Act Release No. 90610 (Dec. 9, 2020), 86
                                                 FR 18596 (Apr. 9, 2021) (‘‘MDI Adopting Release’’).        insignificant amount.18 This may lead to                   minimum pricing increments.23 These
                                                 More recently, responding to changes in market             a decline in limit orders, harm liquidity,                 widened bid-ask spreads increase
                                                 conditions caused by technological advancements            and make it more costly to trade.19 This                   transaction costs for investors.24
                                                 and the increased participation of individual              hypothetical scenario illustrates the
                                                 investors in the equity markets, the Commission
                                                                                                                                                                       Conversely, a smaller tick size that
                                                 adopted amendments to Rule 605 under Regulation            need for a minimum pricing increment                       allows for narrower bid-ask spreads
                                                 NMS to update the disclosure of order execution            that is not too small.                                     would benefit investors by reducing
                                                 quality statistics reports. See Securities Exchange           Too big of a minimum pricing                            transaction costs.25
                                                 Act Release No. 99679 (Mar. 6, 2024), 89 FR 26428,         increment is also problematic since it                        The minimum pricing increments in
                                                 26429 (Apr. 15, 2024) (‘‘Rule 605 Amendments’’)
                                                 (adopting amendments to rule 605 under Regulation
                                                                                                            would reduce the quality of price                          Rule 612 were adopted in 2005, when
                                                 NMS to update reports on execution quality).               discovery by precluding price                              the Commission adopted Regulation
                                                    11 See generally Securities Exchange Act Release                                                                   NMS, and it was an adjustment in a long
                                                 No. 96494 (Dec. 14, 2022), 87 FR 80266 (Dec. 29,              14 See preexisting 17 CFR 242.612(a). For
                                                                                                                                                                       series of adjustments to the minimum
                                                 2022) (‘‘Proposing Release’’ or ‘‘Regulation NMS           quotations and orders of NMS stocks priced less            pricing increments over time. For many
                                                 Proposal’’).                                               than $1.00 per share, Rule 612 required the
                                                    12 Whether a limit order can be executed                minimum pricing increment to be $0.0001. See               decades, the U.S. equity markets used
                                                 immediately depends on the limit price in relation         preexisting 17 CFR 242.612(b). However, most               fractions of a dollar as minimum pricing
                                                 to the current market price. For example, a buy            exchanges require stocks listed on their exchanges         increments (e.g., 1⁄8, 1⁄16, and 1⁄32 of a
                                                 order with a limit price of $10.00 means the               to maintain a price greater than $1.00 per share, and      dollar).26 Prior to 1997, the minimum
                                                 investor would like to buy as soon as possible, but        consequently $0.01 is the prevailing tick size for
                                                 only when the current market price is at $10.00 or         most quotes and orders for NMS stocks. See infra
                                                                                                                                                                         20 See infra section VII.B.2.
                                                 less. By contrast, a ‘‘market order’’ is a type of order   section VII.C.1.a.
                                                                                                               15 See infra section VII.C.1.a. (discussing retail         21 See infra section VII.B.2; see also 17 CFR
                                                 by which the investor specifies that it wishes to buy
                                                 or sell a security at the current market price,            programs).                                                 242.600(b)(16).
                                                                                                               16 When Rule 612 was adopted, the Commission               22 See infra section VII.B.2 (providing a similar
                                                 regardless of what the market price is. See
                                                 generally, Securities Exchange Act Release No.             stated that ‘‘[g]reater use of limit orders will           example showing how a minimum pricing
                                                 96495 (Dec. 14, 2022), 88 FR 128, 132–33 (Jan. 3,          increase price discovery and market depth and              increment could double the width of a bid-ask
                                                 2023); Regulation NMS Adopting Release, supra              liquidity’’ and that ‘‘if orders lose execution priority   spread).
                                                                                                            because competing orders step ahead for an                    23 See infra section VII.C.1.b (discussing
                                                 note 4, at 37505 n.53.
                                                    13 Limit orders may be ‘‘marketable’’ meaning that      economically insignificant amount, liquidity could         percentage of share volume likely to be tick-
                                                 its specified price allows an immediate execution          diminish.’’ See Regulation NMS Adopting Release,           constrained). See also infra section VII.B.2
                                                 because it matches a contra-side order, or they may        supra note 4, at 37505, 37553. The Commission was          (discussing the definition of ‘‘tick-constrained’’).
                                                 be ‘‘non-marketable’’ meaning that its specified           concerned that stepping ahead of displayed limit              24 See infra section VII.B.2.

                                                 price does not allow for an immediate execution            orders by insignificant amounts would deter the               25 See infra section VII.B.2.

                                                 and therefore it must wait until a contra-side order       submission and display of limit orders, which                 26 See Staff Report to Congress on Decimalization,
                                                 comes in to trade with it. Non-marketable limit            would negatively impact price discovery and
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                                                                                                                                                                       Commission (July 2012) (‘‘Staff Decimalization
                                                 orders that are submitted to an exchange are placed        market depth and liquidity. See id. at 37553. See          Report’’), available at https://www.sec.gov/files/
                                                 on the order book and, if displayable, the price and       also infra section VII.A (discussing the importance        decimalization-072012.pdf, at 4. Staff reports,
                                                 size will be displayed in the national market system       of minimum pricing increments).                            Investor Bulletins, and other staff documents
                                                                                                               17 But with the minimum pricing increment of a
                                                 if it is the best priced order to buy or sell for such                                                                (included those cited herein) represent the views of
                                                 exchange. The Commission has recognized                    penny, that same market participant would be               Commission staff and are not a rule, regulation, or
                                                 displayed limit orders as ‘‘a critically important         required to post a bid of $10.01 instead.                  statement of the Commission. The Commission has
                                                                                                               18 See infra sections VII.A, VII.B.2, and VII.D.1.
                                                 element of efficient price discovery.’’ See                                                                           neither approved nor disapproved the content of
                                                 Regulation NMS Adopting Release, supra note 4, at             19 See infra sections VII.A, VII.B.2, and VII.D.1.b.i   these staff documents, and, like all staff documents,
                                                 37517.                                                     for additional analysis of pennying.                       they have no legal force or effect, do not alter or



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                                                 pricing increment on the New York                       $1.00 per share. The Commission stated                 a TWAQS of $0.015 or less.38 The
                                                 Stock Exchange LLC (‘‘NYSE’’) for                       that, at the time, it did not believe that             Commission is not adopting a minimum
                                                 stocks above $1.00 per share was 1⁄8 of                 the potential benefits of marginally                   pricing increment for trades.39
                                                 a dollar (or 12.5 cents).27 In 1997, NYSE               better prices offered by allowing sub-
                                                 and the Nasdaq Stock Market LLC                         penny quoting in securities were likely                B. Rule 610 Fees for Access to
                                                 (‘‘Nasdaq’’) revised their rules to use the             to justify the costs of permitting such                Quotations and Transparency of Fees
                                                 minimum pricing increment of 1/16 of                    quotes.33                                              1. Background
                                                 a dollar (6.25 cents).28 In January 2000,                  When the Commission adopted Rule
                                                 the Commission mandated decimal                         612 in 2005, it acknowledged that the                     Trading centers 40 can choose to
                                                 pricing (i.e., moving from fractional                   markets could evolve over time and                     charge an access fee, or pay a rebate, to
                                                 increments to penny increments) in                      shift the balance of the costs and                     the participants—liquidity providers
                                                 certain securities,29 and by April 2001,                benefits of the adopted tick size.34 Two               (market participants with orders resting
                                                 the market had fully converted to                       decades later, the market has evolved                  at the trading center) and liquidity
                                                 decimal pricing.30                                      considerably, and amendments to Rule                   takers (market participants who submit
                                                    Up to this point, minimum pricing                    612 are necessary to continue to further               incoming orders to execute against
                                                 increments for NMS stocks were set by                   the objectives of the Exchange Act. Data               orders resting at the trading center)—
                                                 the individual trading venues. But in                   analysis shows that stocks with                        who trade at their venue. As discussed
                                                 2004, as part of Regulation NMS and                     sufficiently narrow bid-ask spreads                    in section VII.C.2.b, the predominant
                                                 pursuant to the authority under the                     would trade better, namely it would be                 exchange fee structure is maker-taker, in
                                                 1975 Amendments, the Commission                         easier and less costly for investors to                which an exchange charges a fee to
                                                 proposed Rule 612 to implement                          transact, if they were allowed to quote                liquidity takers and pays a rebate to
                                                 market-wide uniform minimum pricing                     at increments smaller than one penny.35                liquidity providers, and the rebate is
                                                 increments for quoting in NMS stocks.31                 Indeed, for these stocks, the risks of                 typically funded through the access
                                                 The Commission stated that, while the                   ‘‘stepping ahead’’ are lowered while the               fee.41
                                                 benefits of decimal pricing had justified               benefits of greater price competition                     As adopted in 2005, Rule 610(c) set
                                                 the costs, there was a potential for costs              from relaxing the ‘‘tick constraint’’ are              the access fee cap for protected
                                                 to investors and the markets to surpass                 greater.36
                                                 the benefits if the minimum pricing                                                                            quotations 42 priced at $1 or more at 30
                                                 increment decreased beyond a certain                    2. Proposed and Adopted Amendments                     cents per 100 shares (‘‘30 mils’’ per
                                                 level, and the proposed rule was                                                                               share) for NMS stocks. Rule 610(c) also
                                                                                                            Accordingly, the Commission                         applies to any other quotation of a
                                                 designed to address the scenario where                  proposed amendments to Rule 612 to
                                                 market participants attempt to step                                                                            trading center that is the best bid or
                                                                                                         introduce three minimum pricing                        offer of an exchange or association.43
                                                 ahead of competing limit orders at the                  increments that were less than $0.01
                                                 smallest economic increment possible.32                                                                        The access fee cap was based, in part,
                                                                                                         (i.e., $0.005, $0.002, $0.001) for quotes              upon the prevailing fees that were
                                                 Thus, the Commission adopted Rule 612                   and orders priced $1.00 or more for                    charged by certain trading centers at
                                                 in 2005, which established the                          certain NMS stocks based upon each                     that time.44 For NMS stocks priced
                                                 minimum pricing increments of $0.01                     stock’s time weighted average quoted
                                                 for quotations and orders of NMS stocks                                                                        below $1, the fee cap was set at 0.3%
                                                                                                         spread (‘‘TWAQS’’).37 The proposed                     of the quotation price.45 Rule 610 was
                                                 priced at, or greater than, $1.00 per                   amendments would have assigned sub-
                                                 share, and $0.0001 for quotations and                                                                          adopted at the same time as Rule 611,
                                                                                                         penny minimum pricing increments to                    the Order Protection Rule, which
                                                 orders of NMS stocks priced under                       any NMS stock that had a TWAQS of                      established intermarket protection
                                                                                                         $0.04 or less. This proposed amendment
                                                 amend the applicable law, and create no new or          was designed to address the issues                       38 See infra section III.C.
                                                 additional obligations for any person.
                                                    27 See Self-Regulatory Organizations; New York
                                                                                                         related to tick-constrained stocks                       39 See infra section III.D.

                                                 Stock Exchange, Inc.; Order Granting Approval to        described above that have arisen since                    40 17 CFR 242.600(b)(106) (providing a definition

                                                 Proposed Rule Change Relating to Trading                2005. The Commission also proposed to                  of the term ‘‘trading center’’). This discussion
                                                 Differentials for Equity Securities, 62 FR 42847,       impose these minimum pricing                           focuses on exchange fees because, currently,
                                                 42848 n.5 (Aug. 8, 1997). See also Division of          increments for trades, subject to certain              exchanges are the only trading centers that have
                                                 Market Regulation, Market 2000: An Examination of                                                              quotations that are subject to the access fee caps
                                                 Current Equity Market Developments (1994),              exceptions.                                            under Rule 610(c). See infra note 367.
                                                 available at https://www.sec.gov/divisions/                As explained below, in response to                     41 See also infra sections VII.B.3 and VII.C.2.c,
                                                 marketreg/market2000.pdf, at 37–38, fn. 43              commenters, the Commission is                          table 5 and table 6 (showing the predominance of
                                                 (describing NYSE’s tick size of 1⁄8 of a dollar in                                                             both dollar and share exchange trading volume
                                                 1994).
                                                                                                         adopting modified amendments to Rule
                                                                                                                                                                occurs on maker-taker venues).
                                                    28 See Staff Decimalization Report, supra note 26,   612 to introduce one minimum pricing                      42 17 CFR 242.610(c). A protected quotation is
                                                 at 4–5.                                                 increment that is less than $0.01, i.e.,               defined in Rule 600(b)(82) as ‘‘a protected bid or
                                                    29 See Securities Exchange Act Release No. 42360     $0.005, for quotes and orders priced                   protected offer.’’ 17 CFR 242.600(b)(82). A protected
                                                 (Jan. 28, 2000), 65 FR 5003 (Feb. 2, 2000).             $1.00 or more for NMS stocks that have                 bid or protected offer is defined as ‘‘a quotation in
                                                    30 See Staff Decimalization Report, supra note 26,                                                          an NMS stock that: (i) Is displayed by an automated
                                                 at 5–6.                                                                                                        trading center; (ii) Is disseminated pursuant to an
                                                                                                           33 See Regulation NMS Adopting Release, supra
                                                    31 See Securities Exchange Act Release No. 49325                                                            effective national market system plan; and (iii) Is an
                                                 (Feb. 26, 2004), 69 FR 11126, 11171 (Mar. 9, 2004)      note 4, at 37553 (‘‘Even assuming that quoting in      automated quotation that is the best bid or best offer
                                                 (‘‘2004 Regulation NMS Proposing Release’’) (‘‘the      sub-penny increments would reduce spreads, the         of a national securities exchange, or the best bid or
                                                 Commission is proposing a rule that would prohibit      Commission continues to believe, on balance, that      best offer of a national securities association.’’ 17
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                                                 every national securities exchange, national            the costs of sub-penny quoting are not justified by    CFR 242.600(b)(81).
                                                 securities association, ATS (including ECNs),           the benefits.’’).                                         43 For purposes of this discussion, references to
                                                                                                           34 Id. (‘‘Nevertheless, the Commission
                                                 vendor, broker or dealer from ranking, displaying,                                                             protected quotations under Rule 610(c) also include
                                                 or accepting from any person a bid or offer, an         acknowledges the possibility that the balance of       manual quotations that are the best bid or best offer
                                                 order, or an indication of interest in any NMS stock    costs and benefits could shift in a limited number     of an exchange or association.
                                                 in an increment less than $0.01.’’).                    of cases or as the markets continue to evolve.’’).        44 See Regulation NMS Adopting Release, supra
                                                                                                           35 See infra section VII.D.1.
                                                    32 See Regulation NMS Adopting Release, supra                                                               note 4, at 37545.
                                                                                                           36 See infra sections VII.B.2 and VII.D.1.b.
                                                 note 4, at 37551–52 (citing 2004 Regulation NMS                                                                   45 See Regulation NMS Adopting Release, supra

                                                 Proposing Release at 11165).                              37 See Proposing Release, supra note 11, at 80280.   note 4, at 37544 n.406.



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                                                 against trade-throughs 46 for all NMS                     dealer order routing, by providing                      As discussed in detail below, in
                                                 stocks. Rule 610(c) was designed to                       incentives for a broker-dealer to route              response to comments, the Commission
                                                 preclude trading centers that posted                      customer orders to certain exchanges to              is adopting amendments to Rule 610(c)
                                                 protected quotations from raising their                   receive higher rebates or avoid higher               with modifications from the proposal.
                                                 fees in an attempt to take improper                       fees based on their own economic                     Specifically, in light of the amendments
                                                 advantage of the trade-through                            interest.53 This potential conflict of               to Rule 612, the Commission is adopting
                                                 protections adopted under Rule 611.47                     interest is exacerbated if broker-dealers            only the proposed 10 mil per share
                                                 The Commission designed the access fee                    do not fully pass on the fees and rebate             access fee cap for all protected
                                                 caps to preserve the benefits of both the                 to their customers, since rebate-seeking             quotations priced $1.00 or more.57 For
                                                 strengthened price protection under                       by broker-dealers may come at the cost               protected quotations priced less than
                                                 Rule 611 and the more efficient linkages                  of execution quality of customers.54 In              $1.00, the Commission is adopting an
                                                 among trading centers that were                           addition, exchanges use complex fee                  access fee cap of 0.1% of the quotation
                                                 developed under Regulation NMS to                         schedules. Generally, the higher the                 price per share.58 As discussed in
                                                 access protected quotations because the                   access fee cap, the wider the range of               section VII.D.2.b, the adopted
                                                 benefits could be compromised if                          possible fees and rebates, which results             amendments to the access fee caps will
                                                 substantial fees were charged.48                          in more complex pricing schedules.                   not impede the ability of exchanges to
                                                    Since an access fee that is too high                   Such complexity makes it more costly                 fund their execution services.
                                                 when compared to the tick size can                        for market participants to design and                   Second, to facilitate the ability of
                                                 create pricing distortions, the access fee                implement order execution strategies.                market participants to understand and
                                                 caps need to be adjusted in conjunction                                                                        calculate the total price of transactions
                                                                                                              Finally, exchanges’ fee and rebate
                                                 with the reduction in tick size to                                                                             at the time of execution, the
                                                                                                           schedules are typically calculated at
                                                 prevent such distortions.49 In addition,                                                                       Commission proposed an amendment to
                                                                                                           month’s end, which requires market
                                                 as discussed below, many exchanges                                                                             Rule 610 to add subpart (d) to require
                                                                                                           participants to make trading decisions
                                                 charge the maximum fee allowed to                                                                              that all exchange fees charged, and
                                                 access protected quotes, and primarily                    without the ability to determine their               rebates paid, for the execution of an
                                                 use those fees to pay rebates to market                   full trading costs at the time of                    order in an NMS stock be determinable
                                                 participants that provide liquidity.50                    execution.55 In turn, this lack of                   at the time of execution. As discussed
                                                 This practice raises a number of                          transparency impedes a market                        in detail below, the Commission is
                                                 concerns and may interfere with section                   participant’s ability to evaluate fully              adopting Rule 610(d) as proposed.
                                                 11A’s objectives of ensuring the fairness                 where to send its orders because the
                                                                                                           market participant cannot calculate the              C. Transparency of Better Priced Orders
                                                 and usefulness of quotation
                                                 information.51                                            fees and rebates that will apply to the              1. Background
                                                    First, the actual prices, inclusive of                 order contemporaneous with
                                                                                                           execution.56 Concerns with such lack of                 The widespread availability of timely
                                                 fees and rebates, for investors and other                                                                      information with respect to quotations
                                                 market participants to trade a stock are                  price transparency are exacerbated
                                                                                                           when various exchanges have different                for and transactions in NMS stocks
                                                 not fully transparent. In general, the                                                                         (‘‘NMS information’’) is critical to the
                                                 higher the permitted level of access fees,                fee schedules, as it is difficult for market
                                                                                                           participants to compare net prices                   ability of market participants to
                                                 the higher the rebates, and the greater                                                                        participate effectively in the U.S.
                                                 the potential discrepancy between                         across markets.
                                                                                                                                                                securities markets.59 NMS information
                                                 displayed quoted prices on the one                        2. Proposed and Adopted Amendments                   is currently disseminated within the
                                                 hand, and actual prices on the other.52                                                                        national market system by the exclusive
                                                    Furthermore, exchanges’ use of fees                      Accordingly, the Commission                        plan processors (‘‘exclusive securities
                                                 and rebates creates a potential conflict                  proposed to amend Rule 610 in two                    information processors’’ or ‘‘SIPs’’).60
                                                 of interest between broker-dealers and                    ways. First, to accommodate the
                                                 their customers with respect to broker-                   proposed smaller minimum pricing                       57 See infra section IV.D.
                                                                                                           increments under proposed Rule 612, as                 58 See id.
                                                   46 A trade-through occurs when a trading center
                                                                                                           well as to address the distortions that                 59 NMS information is made widely available to
                                                 executes an order at a price that is inferior to the      have developed under the access fee                  investors through the national market system and
                                                 price of a protected quotation that is displayed by                                                            ‘‘serves an essential linkage function by helping to
                                                 another trading center. See 17 CFR 242.600(b)(105)        caps, the Commission proposed to
                                                                                                                                                                assure that the public is aware of the best displayed
                                                 for the definition of trade-through under Regulation      reduce Rule 610(c)’s 30 mil cap for                  prices for a stock, no matter where they may arise
                                                 NMS.                                                      executions against protected quotations              in the national market system.’’ See Securities
                                                    47 See Regulation NMS Adopting Release, supra
                                                                                                           priced $1.00 or more as follows: a                   Exchange Act Release No. 61358 (Jan. 14, 2010), 75
                                                 note 4, at 37544 and 37595.                                                                                    FR 3594 (Jan. 21, 2010) (‘‘Concept Release on Equity
                                                    48 See Regulation NMS Adopting Release, supra          $0.001 (or 10 mils) access fee cap for
                                                                                                                                                                Market Structure’’) at 3600. The availability of NMS
                                                 note 4, at 37544.                                         NMS stocks that would have been                      information also ‘‘enables investors to monitor the
                                                    49 See infra sections IV.D.1 and VII.D.2.a. See also   assigned a minimum pricing increment                 prices at which their orders are executed and assess
                                                 Proposing Release, supra note 11, at 80348 (stating       larger than $0.001; and a $0.0005 (or 5              whether their orders received best execution.’’ Id.
                                                 ‘‘the access fee cap should not be greater than 1⁄2                                                               60 There are three effective national market
                                                 of the tick size in order to preserve coherence
                                                                                                           mils) access fee cap for NMS stocks that
                                                                                                                                                                system plans that govern the collection,
                                                 between net and nominal price rankings of trading         would have been assigned a $0.001                    consolidation, processing and dissemination of
                                                 venues.’’).                                               minimum pricing increment. For                       quotation and transaction information for NMS
                                                    50 See infra sections VII.B.3 and VII.C.2.
                                                                                                           protected quotations in NMS stocks                   stocks: the Consolidated Tape Association Plan
                                                    51 See infra sections IV.D.1 and VII.B.3. See also                                                          (‘‘CTA Plan’’); the Consolidated Quotation Plan
                                                                                                           priced under $1.00 per share, the
                                                 Regulation NMS Adopting Release, supra note 4, at                                                              (‘‘CQ Plan’’); and the Joint Self-Regulatory
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                                                 37545 (‘‘For quotations to be fair and useful, there
                                                                                                           Commission proposed to reduce the                    Organization Plan Governing the Collection,
                                                 must be some limit on the extent to which the true        0.3% fee cap to 0.05% of the quotation               Consolidation, and Dissemination of Quotation and
                                                 price for those who access quotations can vary from       price.                                               Transaction Information for Nasdaq-Listed
                                                 the displayed price.’’).                                                                                       Securities Traded on Exchanges on an Unlisted
                                                    52 See infra sections IV.B.2, VII.D.2, and VII.E.1.
                                                                                                            53 See infra sections IV.B.2, IV.D and VII.D.3.
                                                                                                                                                                Trading Privileges Basis (‘‘UTP Plan’’) (together the
                                                 In certain cases, the disparity between market                                                                 ‘‘Equity Data Plans’’). Currently, the Securities
                                                                                                            54 See text accompanying infra note 1518.
                                                 quotations and actual transaction costs may be                                                                 Industry Automation Corporation (‘‘SIAC,’’ an
                                                                                                            55 See infra sections IV.E, VII.C.2, and VII.D.3.
                                                 substantial. See, e.g., Proposing Release, supra note                                                          affiliate of the NYSE) is the exclusive SIP for the
                                                 11, at 80328.                                              56 See infra sections IV.E, VII.C.2, and VII.D.3.   CTA and CQ Plans, and Nasdaq is the exclusive SIP



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                                                    In 2020, the Commission adopted                         stocks, exchange rules define a round                       For the reasons explained in the MDI
                                                 amendments to Regulation NMS to                            lot as 100 shares.67 Market participants                 Adopting Release, the MDI Rules
                                                 modernize the NMS information                              interested in quotation data for orders                  sequenced the implementation of these
                                                 provided within the national market                        that have a size less than a round lot,                  definitions in the later stages of the
                                                 system for the benefit of market                           i.e., odd-lots, must purchase individual                 implementation schedule.73 The
                                                 participants and to better achieve                         exchange proprietary feeds.68 This odd-                  implementation of the MDI Rules began
                                                 section 11A’s goals of assuring ‘‘the                      lot order information is highly relevant                 with the filing of amendments to the
                                                 availability to brokers, dealers, and                      to market participants, including for                    effective national market system plan(s)
                                                 investors of information with respect to                   investors who trade small numbers of                     as required under Rule 614(e) (‘‘MDI
                                                 quotations for and transactions in                         shares.                                                  Plan Amendments’’).74 The Operating
                                                 securities that is prompt, accurate,                          The MDI Rules expanded the NMS                        Committees of the CTA/CQ Plan and
                                                 reliable, and fair’’ (‘‘MDI Rules’’).61 In                 information that will be made available                  UTP Plan 75 filed the proposed MDI Plan
                                                 light of delays in the implementation of                   for dissemination within the national                    Amendments on November 5, 2021,76
                                                 the MDI Rules, the Commission is                           market system in order to increase                       which the Commission disapproved.77
                                                 accelerating the implementation of the                     transparency about better prices                         As a result, the participants to the
                                                 round lot and odd-lot information                          available in the market.69 The                           effective national market system plan(s)
                                                 definitions adopted as part of the MDI                     Commission, in the MDI Rules,                            will need to develop and file new
                                                 Rules so that investors will benefit                       amended Regulation NMS to include a                      proposed amendments pursuant to Rule
                                                 sooner from greater transparency and                       definition of ‘‘round lot’’ that assigns                 608.78
                                                 accessibility of better priced orders 62                   each NMS stock to a round lot size
                                                 and improved ability to assess the                         based on the stock’s average closing                     available and help to facilitate more informed order
                                                 execution quality of their orders, as                      price. The round lot definition, once                    routing decisions and the best execution of investor
                                                                                                                                                                     orders.’’ See MDI Adopting Release, supra note 10,
                                                 explained below.63                                         implemented, will increase                               at 18602 and 18613. Unlike orders in the round lot
                                                    Until the full implementation of the                    transparency about smaller sized orders                  sizes adopted pursuant to the MDI Rules, odd-lots
                                                 MDI Rules, NMS information                                 in higher priced stocks by assigning                     are not ‘‘protected quotations.’’ See 17 CFR
                                                 disseminated within the national market                                                                             242.600(b)(16), (81), (82).
                                                                                                            NMS stocks priced over $250 to round                        73 See MDI Adopting Release, supra note 10, at
                                                 system by the exclusive SIPs includes,                     lot sizes that are less than the                         18698. Pursuant to the implementation schedule of
                                                 for each NMS stock, the price, size, and                   predominant 100 shares.70 The                            the MDI Rules, the round lot definition was set to
                                                 exchange of each last sale, each                           Commission also adopted a definition of                  be implemented as part of the last phase and odd-
                                                 exchange’s current highest bid and                         odd-lot information as part of the MDI                   lot quotation information was set to be
                                                                                                                                                                     implemented during a ‘‘parallel operation period.’’
                                                 lowest offer and the shares available at                   Rules.71 Once implemented,                               See id. at 18700–01. As originally adopted, during
                                                 those prices (the best bid and best offer                  information regarding the prices and                     the parallel operation period, the exclusive SIPs
                                                 or ‘‘BBO’’), the national best bid and                     sizes of odd-lot orders priced better than               would have continued to disseminate the data that
                                                 national best offer (‘‘NBBO’’), odd-lot 64                                                                          they currently disseminate and competing
                                                                                                            the NBBO will be made available within                   consolidators would have been permitted to offer
                                                 transaction information, and certain                       the national market system and is                        consolidated market data products, including odd-
                                                 regulatory and administrative data (‘‘SIP                  expected to be made widely available to                  lot information. Because the round lot definition
                                                 data’’).65 Information on NMS stock                        investors.72                                             would have been implemented during a later phase,
                                                 quotations is provided in round lots,                                                                               the exclusive SIPs and competing consolidators
                                                                                                                                                                     would have collected, consolidated and
                                                 and, until the round lot definition                        exchange, or the primary listing exchange for the        disseminated NMS information based on then
                                                 adopted in the MDI Rules is                                stock, discretion to define it otherwise. See, e.g.,     current exchange definitions of round lot. Id. at
                                                 implemented, round lots are defined in                     NYSE Rule 7.5 (‘‘A ‘round lot’ is 100 shares, unless     18699–18701.
                                                                                                            specified by the primary listing market to be fewer         74 17 CFR 242.614(e). The Commission’s approval
                                                 rules of the exchanges.66 For most NMS                     than 100 shares.’’).                                     of amendments to the effective national market
                                                                                                              67 According to NYSE Trade and Quote (‘‘TAQ’’)
                                                                                                                                                                     system plan(s) filed pursuant to rule 614(e) will be
                                                 for the UTP Plan. See MDI Adopting Release, supra          Data, as of Nov. 28, 2023, 11 NMS stocks have a          the starting point for the rest of the MDI Rules
                                                 note 10, at 18728. Each exclusive SIP is the plan          round lot size other than 100. Nine NMS stocks           implementation schedule, which includes a 180-
                                                 processor for one of the Equity Data Plans.                have a round lot size of 10 and two NMS stocks           day development period, during which competing
                                                    61 See MDI Adopting Release, supra note 10.             have a round lot size of one share.                      consolidators can register with the Commission,
                                                    62 ‘‘Better priced orders’’ refers to orders that are     68 See Proposing Release, supra note 11, at 80294;     and ends with the cessation of the operations of the
                                                 priced superior to the national best bid and national      MDI Adopting Release, supra note 10, at 18599.           exclusive SIPs and testing and implementation of
                                                 best offer but are not included in NMS information           69 See Proposing Release, supra note 11, at 80270.     the changes necessary to implement the round lot
                                                 because they consist of too few shares. See infra            70 17 CFR 242.600(b)(93). In the MDI Adopting          definition. See MDI Adopting Release, supra note
                                                 notes 66–68 and accompanying text. The MDI                 Release, the Commission stated that ‘‘[d]efining         10, at 18699–701; Proposing Release, supra note 11,
                                                 Rules’ round lot and odd-lot information definitions       smaller-sized orders in higher-priced stocks as          at 80295.
                                                 will allow better priced orders to be included in          round lots, in addition to providing transparency           75 See supra note 60.
                                                 NMS information so that market participants that           into such quotations, ensures that these smaller-           76 See Securities Exchange Act Release Nos.
                                                 subscribe to the exclusive SIP feeds (that otherwise       sized orders can establish the [national best bid and    93615 (Nov. 19, 2021), 86 FR 67800 (Nov. 29, 2021);
                                                 would not be able to view these orders without             national best offer], receive order protection, and      93625 (Nov. 19, 2021), 86 FR 67517 (Nov. 26, 2021);
                                                 purchasing exchange proprietary feeds) will be able        invoke the applicability of several other rules under    93620 (Nov. 19, 2021), 86 FR 67541 (Nov. 26, 2021);
                                                 to view and access these orders.                           Regulation NMS.’’ See MDI Adopting Release,              93618 (Nov. 19, 2021), 86 FR 67562 (Nov. 26, 2021).
                                                    63 See infra sections V.C.1.a and VII.D.4.
                                                                                                            supra note 10, at 18613.                                    77 See Securities Exchange Act Release Nos.
                                                    64 Odd-lot is defined in Rule 600(b)(68) as an            71 Preexisting 17 CFR 242.600(b)(69). ‘‘Odd-lot        95848 (Sept. 21, 2022), 87 FR 58544 (Sept. 27,
                                                 order for the purchase or sale of an NMS stock in          information’’ is defined as (1) odd-lot transactions,    2022); 95849 (Sept. 21, 2022), 87 FR 58592 (Sept.
                                                 an amount less than a round lot. 17 CFR                    and (2) odd-lots at a price greater than or equal to     27, 2022); 95850 (Sept. 21, 2022), 87 FR 58560
                                                 242.600(b)(68).                                            the national best bid and less than or equal to the      (Sept. 27, 2022); 95851 (Sept. 21, 2022), 87 FR
                                                    65 See Proposing Release, supra note 11, at 80294.      national best offer, aggregated at each price level at   58613 (Sept. 27, 2022).
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                                                 Under the decentralized consolidation model                each national securities exchange and national              78 On Sept. 1, 2023, the Commission ordered the
                                                 established by the MDI Rules, NMS information              securities association. Id.                              exchanges and the Financial Industry Regulatory
                                                 will consist of ‘‘consolidated market data,’’ as             72 The Commission stated that the inclusion of         Authority, Inc. (‘‘FINRA’’) to file a new single
                                                 defined in the MDI Rules. 17 CFR 242.600(b)(24).           this odd-lot quotation information would allow           national market system plan regarding consolidated
                                                    66 See Proposing Release, supra note 11, at 80294       market participants ‘‘to trade in a more informed        equity market data. See Securities Exchange Act
                                                 n.328. A ‘‘round lot’’ is not defined in the Exchange      and effective manner,’’ and that ‘‘the new definition    Release No. 98271, 88 FR 61630 (Sept. 7, 2023). On
                                                 Act and, prior to the MDI Rules, it was not defined        of round lot and the increased availability of better    Jan. 19, 2024, the Commission published notice of
                                                 in Regulation NMS. Exchange rules typically define         priced odd-lot information will provide investors        filing of a National Market System Plan for
                                                 a round lot as 100 shares, but they also allow the         with valuable information about the best prices                                                     Continued




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                                                 2. Proposed and Adopted Amendments                       commenters urged the Commission to                           Some commenters agreed that Rules
                                                    In light of the delays in the                         promptly adopt the Regulation NMS                         610 and 612 should be amended but
                                                 implementation of the MDI Rules, the                     Proposal.84 One commenter urged the                       recommended that the proposed
                                                 Commission proposed to accelerate the                    Commission to revise and adopt the                        amendments be modified and that the
                                                 implementation of the round lot and                      Rule 605 Proposal as well as the                          Commission consider more modest,
                                                 odd-lot information definitions, to allow                Regulation NMS Proposal without                           incremental changes to minimize the
                                                 investors to benefit sooner from greater                 delay.85 Another commenter suggested                      possibility of unintended consequences
                                                 transparency and accessibility of better                 that the Commission prioritize the                        and to enable the Commission and
                                                 priced orders and improved execution                     adoption of the Regulation NMS                            market participants to evaluate the
                                                 quality.79 As discussed further below,                   Proposal 86 stating that, of the four EMS                 impact of the changes on trading and
                                                 the Commission is accelerating the                       Proposals related to equity market                        execution quality.89
                                                 implementation of the round lot and                      structure, the Regulation NMS Proposal                       The issues related to the amended
                                                 odd-lot information definitions but is                   ‘‘is the least controversial and the least                rules have been considered by the
                                                 providing the industry with more time                    interdependent on the other three, and                    Commission and market participants for
                                                 to make the necessary systems changes                    so is the easiest one for the Commission                  several years.90 Further, the
                                                 to implement these definitions than                      to move forward’’ 87 and ‘‘has garnered                   Commission has analyzed data provided
                                                 what was proposed.80                                     the most consensus and support from                       by market participants and conducted
                                                    Additionally, the Commission                          various market participants.’’ 88                         its own data analysis to inform the
                                                 proposed to amend the definition of                                                                                amendments that were included in the
                                                 odd-lot information to include a new                     definition are important steps towards promoting          Proposing Release and in this release.91
                                                                                                          fair and transparent pricing across trading               The Commission has evaluated the
                                                 data element for the best odd-lot orders                 venues.’’); Keith Noble dated Apr. 1, 2023; Chris
                                                 available in the market, which would be                  Miller dated Apr. 1, 2023; Kristen Palmer dated
                                                                                                                                                                    national market system and its
                                                 made available to investors broadly. The                 Apr. 1, 2023; Amanda Kappes dated Apr. 1, 2023;           operation in light of changes in the
                                                 Commission is adopting the best odd-lot                  Ian Rohel, dated Apr. 1, 2023; Riley Hume dated           market and has sought input from
                                                                                                          Apr. 1, 2023; Matt Kelleher dated Apr. 1, 2023;           market participants throughout this
                                                 order to buy and the best odd-lot order                  Keagan Wethington dated Mar. 31, 2023; J.W.
                                                 to sell as part of odd-lot information as                Verret, Associate Professor, George Mason
                                                                                                                                                                    process.92 After considering the
                                                 proposed.81                                              University Antonin Scalia Law School, dated Jan.          comments, which are discussed in
                                                                                                          12, 2024 (‘‘Verret Letter III’’) at 26 (‘‘. . . the       context below, the Commission is
                                                 D. Overarching Comments on the                           proposed amendments to Reg NMS rules regarding            adopting amendments to these rules
                                                 Proposing Release                                        minimum pricing increments and the proposed               with certain modifications from the
                                                                                                          reforms to volume/access fees both support the core
                                                    The Commission received comments                      principles of free market economics and will lead         Proposing Release.
                                                 from a variety of market participants on                 to a more competitive, transparent, and efficient            The Commission received several
                                                 the Proposing Release.82                                 market landscape.’’); Eric Budish, Paul G.                comments that addressed the interaction
                                                                                                          McDermott Professor of Economics and                      between the different individual
                                                    Many commenters broadly supported                     Entrepreneurship, The University of Chicago Booth
                                                 the Regulation NMS Proposal.83 Two                       School of Business, dated Jan. 18, 2024 (‘‘Budish
                                                                                                                                                                    proposed rule amendments that made
                                                                                                          Letter’’) at 1 (‘‘. . . this set of rules changes—        up the Regulation NMS Proposal. One
                                                 Consolidated Equity Market Data. See Securities          primarily, a finer tick-size for tick-constrained         commenter stated that adopting the
                                                 Exchange Act Release No. 99403, 89 FR 5002 (Jan.         stocks, a lower access fee cap, and harmonization         proposed changes to the minimum
                                                 25, 2024). On April 23, 2024, the Commission             of pricing increments for on-exchange and off-
                                                                                                          exchange trading—will reduce both investors’ costs
                                                                                                                                                                    pricing increments in proposed Rule
                                                 instituted proceedings pursuant to Rule 608(b)(2)(i)
                                                 of Regulation NMS to determine whether to                and the overall complexity of U.S. equity                 612 along with the proposed
                                                 approve or disapprove the proposed plan or to            markets.’’); Stephen W. Hall, Legal Director and          acceleration of the round lot definition
                                                 approve the proposed plan with any changes or            Securities Specialist, and Brady Williams, Legal          and the proposed access fee caps in
                                                 subject to any conditions the Commission deems           Counsel, Better Markets, Inc., dated Mar. 31, 2023        Rule 610 ‘‘would impact the value of
                                                 necessary or appropriate after considering public        (‘‘Better Markets Letter I’’) at 8–17; Joseph Saluzzi,
                                                 comment. See Securities Exchange Act Release No.         Partner, Themis Trading LLC, dated Mar. 31, 2023          providing liquidity on public markets
                                                 100017, 89 FR 33412 (Apr. 29, 2024). On July 11,         (‘‘Themis Letter’’) at 2–8; John Ramsay, Chief            and consequently would raise costs for
                                                 2024, the Commission extended the period within          Market Policy Officer, Investors Exchange LLC,
                                                 which to conclude proceedings regarding the              dated Mar. 20, 2023 (‘‘IEX Letter I’’); Letter Type A,    numerous roundtables and proceedings of the SEC’s
                                                 proposed plan to 240 days from the date of               of which 22 comments were received; Letter Type           Investor Advisory Committee and SEC’s Equity
                                                 publication of the notice. See Securities Exchange       C, of which 5 comments were received; Letter Type         Market Structure Advisory Committee.’’).
                                                 Act Release No. 100500 (Jul. 11, 2024), 89 FR 58235      D, of which 255 comments were received; Letter              89 See, e.g., infra note 92.
                                                 (Jul. 17, 2024).                                         Type E, of which 14 comments were received;                 90 See, e.g., EMSAC Archives, supra note 4 (Rule
                                                    79 See Proposing Release, supra note 11, at 80299;    Letter Type G, of which 652 comments were
                                                                                                                                                                    610 was considered at the EMSAC), see also supra
                                                 see also infra sections V.B.2. and V.C.1. In addition,   received; Letter Type H, of which 853 comments
                                                                                                                                                                    note 4 (discussing the EMSAC); infra note 362 and
                                                 as discussed below, the Commission is amending           were received; Letter Type I, of which 22 comments
                                                                                                                                                                    accompanying text for a discussion of previous
                                                 the definition of round lot so that the frequency of     were received; Letter Type J, of which 15 comments
                                                                                                                                                                    considerations of Rule 610. For a discussion of
                                                 round lot changes will be consistent with the            were received; Letter Type K, of which 22
                                                                                                                                                                    previous considerations of Rule 612, see Proposing
                                                 frequency of minimum pricing increment changes           comments were received; and Letter Type L, of
                                                                                                                                                                    Release, supra note 11, at 80272.
                                                 under amended Rule 612. See infra section V.B.3.b.       which 4 comments were received; available at                91 See infra sections V.B.1; V.B.3.b.iv and VII.D.
                                                 The Commission is not changing the calculation           https://www.sec.gov/comments/s7-30-22/
                                                                                                                                                                      92 See also Proposing Release, supra note 11, at
                                                 used to assign round lots or the round lot tiers in      s73022.htm.
                                                                                                                                                                    80272 (discussing considerations of minimum
                                                 the round lot definition adopted in the MDI Rules.          84 See, e.g., Letters from Tyler Gellasch, President
                                                                                                                                                                    pricing increments since Rule 612 was adopted)
                                                    80 See infra sections V.B.3, V.C.1, and VI.C.         & CEO, Healthy Markets Association, dated Mar. 31,
                                                                                                                                                                    and 80287 (discussing considerations of access fee
                                                    81 See infra section V.C.2.                           2023 (‘‘Healthy Markets Letter I’’) at 28, 31; J. W.
                                                                                                                                                                    caps since Rule 610 was adopted). See also IEX
                                                    82 The comment letters on the Proposing Release       Verret, Associate Professor, George Mason
                                                                                                                                                                    Letter I at 5 (describing steps taken by the
                                                 (File No. 7–30–33) are available at https://             University Antonin Scalia Law School, dated Sept.
                                                                                                                                                                    Commission since the adoption of Regulation NMS
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                                                 www.sec.gov/comments/s7-30-22/s73022.htm.                20, 2023 (‘‘Verret Letter I’’) at 1–2, 4, 5.
                                                                                                             85 See Healthy Markets Letter I at 28, 31.
                                                                                                                                                                    in 2005 to review the impact of Regulation NMS,
                                                    83 See, e.g., Letters from Mark Rogers dated Mar.                                                               including the solicitation of input from
                                                                                                             86 See Verret Letter I at 1.
                                                 30, 2023 (‘‘I approve of the proposed changes to                                                                   stakeholders, further stating, ‘‘[t]he history shows
                                                                                                             87 Verret Letter I at 1–2.
                                                 Regulation NMS’’); Omar Fakhro dated Mar. 28,                                                                      that the Commission’s current Proposals do not
                                                 2023 (‘‘I as a household investor strongly support          88 See Verret Letter I at 2 (stating that the          arise in a vacuum. In fact, the Commission has
                                                 this rule for a better and fair market for               Regulation NMS Proposal is supported by ‘‘a wealth        deliberately considered the views of multiple
                                                 EVERYONE’’); Danielle Ball dated Mar. 27, 2023           of prior work by the Commission in the form of a          stakeholders over years of review, and its current
                                                 (‘‘The proposed tick size regime, variable minimum       pilot tick size study, comments submitted to the          Proposals grow out of and build on that ongoing
                                                 pricing increment model, and revised round lot           SEC regarding the transaction fee pilot, and              review.’’).



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                                                 investors,’’ and urged the Commission                      increment will likely require market                   this commenter, the Commission has
                                                 to review how these changes would                          participants to incur new technology                   carefully considered the interacting
                                                 together impact liquidity.93 The                           costs to manage the new data, fewer                    effects of access fees, minimum pricing
                                                 Commission has considered the impact                       changes are being adopted than were                    increments, and round lot sizes, see
                                                 of the amendments on liquidity and                         proposed and these changes are                         section VII. While the Commission
                                                 does not believe that they will raise                      necessary and justified to address the                 acknowledges that staging amendments
                                                 costs for investors.94 On the contrary, as                 issues related to constraints that have                may make them easier to study, the
                                                 discussed further below, the                               developed with the $0.01 minimum                       nature of the adopted amendments will
                                                 amendments will enhance the ability of                     pricing increment.98 Further, the costs                still make such study possible, even if
                                                 market participants to price their orders                  related to implementing the round lot                  implemented together. Namely, the set
                                                 in a competitive manner, reduce the                        definition were considered as part of the              of stocks for which the tick size change
                                                 amount of fees for accessing protected                     MDI Rules and the acceleration of the                  applies tends to differ from the set of
                                                 quotations, help to ensure that exchange                   timing of implementation does not                      stocks for which round lot changes
                                                 fees are knowable when an order is                         increase those costs. Although the                     apply.103 Access fee changes apply to
                                                 placed and provide transparency about                      Commission is modifying the round lot                  some stocks that will not be directly
                                                 orders in the market that are priced                       definition from the definition adopted                 affected by either round lot reform or
                                                 better than the NBBO. These changes                        in the MDI Rules, the modifications will               tick size changes. Further, staging the
                                                 will enhance the operation of the                          reduce ongoing round lot                               amendments would delay the
                                                 national market system and provide                         implementation costs because round                     significant benefits of the
                                                 significant benefits to investors.                         lots will be assigned less frequently, i.e.,           amendments.104
                                                    Another commenter stated that the                       from a monthly basis to a semiannual
                                                                                                                                                                      Several commenters suggested
                                                 Regulation NMS Proposal would                              basis, which means that systems will
                                                                                                                                                                   implementing the proposed accelerated
                                                 increase ‘‘market data costs’’ because                     have to be updated less frequently.
                                                 retail brokers would have to take in and                                                                          implementation of the round lot and
                                                                                                            Synchronizing the dates of the changes
                                                 store an increased amount of market                                                                               odd-lot information definitions so that
                                                                                                            to round lots and minimum pricing
                                                 data to comply with the changing                                                                                  the effects of these definitions could
                                                                                                            increments should also lower ongoing
                                                 minimum pricing increments, the MDI                                                                               inform other proposed changes.105
                                                                                                            implementation costs for market
                                                 Rules’ round lot definition, and the odd-                                                                         Other commenters suggested that round
                                                                                                            participants by potentially decreasing
                                                 lot information requirements and to                                                                               lots should be implemented before the
                                                                                                            the number of updates needed for their
                                                 update their systems accordingly, and                                                                             proposed changes to the minimum
                                                                                                            trading systems.99 Finally, the costs
                                                 because the exclusive SIPs may cause                                                                              pricing increments, so that data based
                                                                                                            related to implementing the odd-lot
                                                 third-party data vendors to require                        information definition were considered                 on the MDI Rules’ round lots could
                                                 additional hardware to support higher                      in the Proposing Release.100 The                       inform changes to the minimum pricing
                                                 message rates.95 As discussed below,96                     adopted amendments, which will result                  increments.106
                                                 the Commission is adopting                                 in fewer systems changes than                             While the dissemination of odd-lot
                                                 amendments to the minimum pricing                          anticipated in the Proposing Release,                  information will result in the display of
                                                 increments with modifications from the                     will result in lower implementation                    narrower spreads based on odd-lots, the
                                                 proposal, which will lessen the                            costs than were contemplated in the                    calculation of the TWAQS for
                                                 potential costs identified by the                          proposal 101 and reduce the amount of                  determining minimum pricing
                                                 commenter. Specifically, the                               data disseminated by the exclusive SIPs
                                                 Commission is adopting one minimum                         and any future competing consolidators                 Structure Specialist, Global SPDR Business, State
                                                 pricing increment for a smaller universe                   as compared to what was contemplated                   Street Global Advisors, dated Mar. 30, 2023 (‘‘State
                                                                                                                                                                   Street Letter’’) at 5 (suggesting that the amendments
                                                 of NMS stocks than was proposed and                        in the Proposing Release.                              to reduce the access fee caps should be
                                                 is reducing the frequency of minimum                          One commenter stated that the                       implemented before the minimum pricing
                                                 pricing increment updates from a                           implementation of various components                   increments to isolate the impact of the effects) and
                                                 quarterly to a semiannual basis.97 While                   of the Proposing Release at or around                  infra section VII.D.2.c (responding to the State
                                                                                                            the same time (specifically access fees,               Street Letter).
                                                 this additional minimum pricing                                                                                      103 See infra note 801 for analysis identifying only
                                                                                                            minimum pricing increments and round                   two stocks that would have qualified for both the
                                                    93 See Letter from Naureen Hassan, President,           lot sizes) could complicate the                        tick reduction and a reduction in the round lot as
                                                 UBS Americas, Robert Karofsky, President, UBS              Commission’s ability to assess the                     of Nov. 30, 2023. See also infra section VII.D.4.a for
                                                 Investment Bank, and Suni Harford, President, UBS          impact of a specific change and                        a discussion of the small overlap of the round lot
                                                 Asset Management, dated Mar. 31, 2023 (‘‘UBS                                                                      definition and the tick size change.
                                                 Letter’’) at 10. See infra section V.B.3.b.i and section
                                                                                                            ‘‘whether other consequences will                         104 See, infra, section II. The Commission
                                                 VII.D.4.a for discussions of the interaction between       ensue.’’ 102 To the specific concerns of               recognizes that delaying the rule would likewise
                                                 the round lot definition and the proposed changes                                                                 delay costs to affected parties.
                                                 to the minimum pricing increments.                            98 See infra section VII.A; section VII.D.1.c          105 See, e.g., Letters from Jennifer W. Han,
                                                    94 See infra section VII.D.4.a (explaining that the
                                                                                                            (responding to comments raising concerns about         Executive Vice President, Chief Counsel & Head of
                                                 interaction of the reduction in tick size and the MDI      increased message traffic increasing costs and         Global Regulatory Affairs, Managed Funds
                                                 Rules’ round lot definition would not have a               stating: ‘‘[t]he Commission recognizes the potential   Association, dated Mar. 30, 2023 (‘‘MFA Letter’’) at
                                                 material impact on the NBBO for affected stocks as         for these costs articulated by the commenters but,     14; Sarah A. Bessin, Deputy General Counsel, and
                                                 such stocks would be exceptionally liquid, which           considering additional information provided by         Nhan Nguyen, Assistant General Counsel,
                                                 should protect their NBBO from material                    commenters, expects these effects to be mild—          Investment Company Institute, dated Mar. 31, 2023
                                                 deterioration).                                            including the effect on CAT costs.’’).                 (‘‘ICI Letter I’’) at 2, 7; Gerald O’Reilly, Co-CEO and
                                                    95 See Letter from Derrick Chan, Head of Equities,         99 See infra notes 1594–1595 and accompanying
                                                                                                                                                                   Chief Investment Officer, and Ryan Wiley, Global
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                                                 Fidelity Capital Markets, dated Mar. 31, 2023              text.                                                  Head of Equity Trading, Dimensional Fund
                                                 (‘‘Fidelity Letter’’) at 17. The commenter described          100 See Proposing Release, supra note 11, at        Advisors LP, dated Mar. 31, 2023 (‘‘Dimensional
                                                 ‘‘market data costs’’ as those related to systems          80334.                                                 Letter’’) at 2.
                                                 changes necessary to implement the new minimum                101 See infra section VII.D.5.                         106 See Letter from Hubert De Jesus, Managing
                                                 pricing increments, round lot definition, and odd-            102 See Letter from Rich Steiner, Head of Global    Director, Global Head of Market Structure and
                                                 lot information definition.                                Market Structure, RBC Capital Markets, dated Mar.      Electronic Trading, and Samantha DeZur, Managing
                                                    96 See infra section III.C.
                                                                                                            31, 2023 (‘‘RBC Letter’’) at 2. See also Letter from   Director, Global Public Policy Group, BlackRock,
                                                    97 See infra section III.C.7.a; section III.C.8;        Nathaniel N. Evarts, Managing Director, Head of        Inc., dated Mar. 31, 2023 (‘‘BlackRock Letter’’) at 17;
                                                 section VII.D.1.d and section VII.F.1.c.                   Trading, Americas, and Kimberly Russell, Market        Dimensional Letter at 2.



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                                                 increments is based on round lots.107                    odd-lot information would be                            adoption of the Rule 605 Proposal is not
                                                 Therefore, odd-lot information will not                  burdensome on the industry,112 or                       a prerequisite to adoption of the other
                                                 have an impact on determining                            would delay the implementation of the                   equity market structure proposals.119
                                                 minimum pricing increments under                         round lot definition by increasing the                  However, some commenters stated that
                                                 Rule 612. Further, for the reasons                       development work needed to be                           the Commission should consider an
                                                 discussed below, the interaction of the                  performed by the industry,113 or that                   incremental approach and stagger the
                                                 reduction in tick size and the MDI                       implementation of the odd-lot                           implementation of the four EMS
                                                 Rules’ round lot definition will likely                  information definition ‘‘could lead                     Proposals because of the extent to which
                                                 not have a material impact on the NBBO                   investors to expect prices that are not                 the proposed changes could impact the
                                                 of affected stocks since only the most                   available.’’ 114 For the reasons discussed              market and investors.120 Some
                                                 exceptionally liquid stocks would have                   above, the implementation of both of
                                                 prices over $250 and a TWAQS equal to                    these definitions is important to                       Association, dated Feb. 8, 2023 (‘‘SIFMA Letter I’’);
                                                 or less than $0.015.108 Therefore, it is                 enhancing transparency for investors.                   Joanna Mallers, Secretary, FIA Principal Traders
                                                                                                                                                                  Group, dated Feb. 15, 2023 (‘‘FIA PTG Letter I’’);
                                                 not necessary to postpone amending the                   The Commission has provided more                        Hope M. Jarkowski, General Counsel, NYSE Group,
                                                 minimum pricing increments until data                    time for implementing these data                        Inc., dated Mar. 13, 2023 (‘‘NYSE Letter I’’); John
                                                 is analyzed using the MDI Rules’ round                   elements to accommodate the systems                     A. Zecca, Executive Vice President, Global Chief
                                                 lots.                                                    changes that will be necessary, therefore               Legal, Risk & Regulatory Officer, Nasdaq, Inc., dated
                                                                                                                                                                  Mar. 30, 2023 (‘‘Nasdaq Letter I’’); Stephen John
                                                    In addition, the dissemination of odd-                lessening implementation and                            Berger, Managing Director, Global Head of
                                                 lot information in conjunction with the                  development burdens on the                              Government & Regulatory Policy, Citadel Securities,
                                                 MDI Rules’ round lot sizes will increase                 industry.115 Further, as discussed                      dated Mar. 31, 2023 (‘‘Citadel Letter I’’); Adrian
                                                 transparency about better priced orders                  below, market participants may decide                   Griffiths, Head of Market Structure, MEMX LLC,
                                                                                                                                                                  dated Mar. 31, 2023 (‘‘MEMX Letter’’); Mehmet
                                                 and therefore should be implemented                      to provide information to their                         Kinak, Vice President and Global Head of Equity
                                                 within a similar time frame.109 Odd-lot                  customers about the changes that are                    Trading, and Jonathan Siegel, Vice President and
                                                 information will be provided for all                     being implemented, such as how to                       Managing Legal Counsel (Legislative & Regulatory
                                                 NMS stocks, not just those NMS stocks                    understand the different prices, and                    Affairs), T. Rowe Price Associates, Inc., dated Mar.
                                                                                                                                                                  31, 2023 (‘‘T. Rowe Price Letter’’); Bill Foster,
                                                 that may be assigned a smaller round                     how the changes may impact their order                  French Hill, Henry Cuellar, Bill Huizenga, Wiley
                                                 lot. As discussed below, the number of                   entry requirements. Investor notification               Nickel, Andy Barr, Ritchie Torres, Ann Wagner,
                                                 NMS stocks that may be assigned a                        and education can help investors                        Brittany Pettersen, Dan Meuser, Josh Gottheimer,
                                                 smaller round lot as of November 30,                     understand the operation and impact of                  Mike Flood, Vicente Gonzalez, Byron Donalds,
                                                                                                                                                                  Mike Quigley, Michael V. Lawler, David Scott,
                                                 2023 is 163 NMS stocks.110 Therefore,                    these data elements.116                                 Andrew R. Garbarino, Gregory W. Meeks, Monica
                                                 while the MDI Rules’ round lot sizes                     II. Equity Market Structure Initiatives                 De La Cruz, Sean Casten, Scott Fitzgerald, Bradley
                                                 will provide transparency about some                                                                             S. Schneider, Erin Houchin, Jim Himes, Young Kim,
                                                                                                          and the Regulation NMS Proposal                         Steven Horsford, Ralph Norman, Gwen Moore, Tom
                                                 better priced orders in higher priced                                                                            Emmer, Marc Veasey, and Zach Nunn, United
                                                 stocks, they will not enhance                               In December 2022, the Commission
                                                                                                                                                                  States House of Representatives, dated Sept. 26,
                                                 transparency about those orders that                     issued three other proposals related to                 2023 (‘‘Foster et al. Letter’’). See also Form Letter
                                                 continue to be defined as odd-lots and                   separate aspects of equity market                       Type E, of which 14 comments were received, Form
                                                 will not increase transparency for NMS                   structure and Regulation NMS.117 A                      Letter Type F, of which 1,703 comments were
                                                                                                          number of commenters provided                           received, and Form Letter Type G, of which 652
                                                 stocks priced at $250 or less. This                                                                              comments were received, available at https://
                                                 transparency is important for investors                  comments on all four EMS Proposals                      www.sec.gov/comments/s7-30-22/s73022.htm.
                                                 as it will enhance their ability to assess               jointly.118 One commenter stated that                      119 See Letter from John Ramsay, Chief Market

                                                                                                                                                                  Policy Officer, Investors Exchange LLC, dated Oct.
                                                 the current pricing in the market for                                                                            13, 2023 (‘‘IEX Letter III’’) at 3–5 (explaining how
                                                                                                          LLC, dated Mar. 31, 2023 (‘‘Hudson River Letter’’)
                                                 certain NMS stocks. Therefore, the odd-                  at 2; Joanna Mallers, Secretary, FIA Principal          adoption of the amendments to rule 605 should not
                                                 lot information definition and the round                 Traders Group, dated Mar. 31, 2023 (‘‘FIA PTG           delay adoption of the access fee cap and minimum
                                                 lot definition each represents important,                Letter II’’) at 4–5; BlackRock Letter at 12. See also   increment amendments, and stating, ‘‘the premise
                                                                                                          infra section V.C.1.a. for a discussion of comments     that Rule 605 updates must be a precondition to any
                                                 but different information that will                                                                              other changes looks more like a calculated stall than
                                                                                                          received on the accelerated implementation of the
                                                 enhance the usefulness of quotation                      odd-lot information definition.                         an argument for careful, reasoned decision
                                                 information.                                                112 See FIA PTG Letter II at 4–5; Hudson River       making’’).
                                                    Some commenters recommended                           Letter at 2.
                                                                                                                                                                     120 See, e.g., T. Rowe Price Letter at 3; BlackRock

                                                 implementing the round lot definition                       113 See FIA PTG Letter II at 4–5.                    Letter at 17; FIA PTG Letter II at 2; Dimensional
                                                                                                                                                                  Letter at 1, 3; State Street Letter at 1–2; Letters from
                                                 but not the odd-lot information                             114 Schwab Letter II at 36.
                                                                                                                                                                  Jameson Schriber, Managing Director, Goldman
                                                                                                             115 See infra section VI.C.
                                                 definition,111 stating that implementing                                                                         Sachs & Co. LLC, dated Mar. 31, 2023 (‘‘Goldman
                                                                                                             116 See infra section V.B.3.a.
                                                                                                                                                                  Sachs Letter’’) at 8–9; Kirsten Wegner, Chief
                                                                                                             117 See Securities Exchange Act Release Nos.
                                                   107 See infra section III.C.7.b.                                                                               Executive Officer, Modern Markets Initiative, dated
                                                   108 See infra section V.B.3.b.i (identifying only
                                                                                                          96943 (Dec. 14, 2022), 88 FR 3786 (Jan. 20, 2023)       Mar. 24, 2023 (‘‘MMI Letter’’) at 2; William Capuzzi,
                                                                                                          (proposal to amend rule 605 of Regulation NMS)          Chief Executive Officer, Apex Fintech Solutions,
                                                 two stocks—both highly liquid—that would have            (‘‘Rule 605 Proposal’’); 96945 (Dec. 14, 2022), 88 FR   Inc., dated Mar. 31, 2023 (‘‘Apex Letter’’) at 14, 19;
                                                 qualified for both a tick reduction and a reduction      128 (Jan. 3, 2023) (proposal to adopt a new rule        Michael Markunas, Deputy General Counsel, Chief
                                                 in the round lot as of Nov. 30, 2023).                   under Regulation NMS that would enhance
                                                   109 See infra section VII.D.4.
                                                                                                                                                                  Compliance Officer, B. Riley Securities, Inc., dated
                                                                                                          competition for the execution of marketable orders      Mar. 31, 2023 (‘‘B. Riley Letter’’) at 1; Kristen
                                                   110 Id.
                                                                                                          of individual investors) (‘‘OCR Proposal’’); and        Malinconico, Director, Center for Capital Markets
                                                   111 See, e.g., Letters from Michael Blaugrund,         96946 (Dec. 14, 2022), 88 FR 5440 (Jan. 27, 2023)       Competitiveness, U.S. Chamber of Commerce, dated
                                                 Chief Operating Officer, NYSE, Jason Clague,             (proposal to establish Commission rule-based best       Mar. 31, 2023 (‘‘Chamber of Commerce Letter’’) at
                                                 Managing Director, Head of Operations, Charles           execution standards) (‘‘Best Execution Proposal’’)      2; Ellen Greene, Managing Director, Equity and
                                                 Schwab & Co., and Joseph Mecane, Head of                 (together, with the Proposing Release, the ‘‘EMS        Options Market Structure, Securities Industry and
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                                                 Execution Services, Citadel Securities, dated Mar. 6,    Proposals’’). The Rule 605 Proposal was adopted on      Financial Markets Association, dated Mar. 31, 2023
                                                 2023 (‘‘NYSE, Schwab, and Citadel Letter’’) at 2;        Mar. 6, 2024. See Rule 605 Amendments, supra            (‘‘SIFMA Letter II’’) at 2, 22–23; William C. Thum,
                                                 Jason Clague, Managing Director, Head of                 note 10.                                                Managing Director and Assistant General Counsel,
                                                 Operations, Charles Schwab & Co., Inc., dated Mar.          118 See, e.g., Letters from Thom Tillis, Bill        Securities Industry and Financial Markets
                                                 31, 2023 (‘‘Schwab Letter II’’) at 6, 36; Ryan           Hagerty, Mike Crapo, Cynthia Lummis, and Kevin          Association Asset Management Group, dated Mar.
                                                 Kwiatkowski, Chairman of the Board, and James            Cramer, United States Senate, dated Jan. 20, 2023       31, 2023 (‘‘SIFMA AMG Letter I’’) at 2; Peter D.
                                                 Toes, President & Chief Executive Officer, Security      (‘‘Tillis et al. Letter’’); Ellen Greene, Managing      Stutsman, Global Head of Equity Trading, and
                                                 Traders Association, dated Apr. 3, 2023 (‘‘STA           Director, Equity and Options Market Structure,          Timothy J. Stark, Head of Equity Markets and
                                                 Letter’’) at 8; Adam Nunes, Hudson River Trading         Securities Industry and Financial Markets               Transaction Research, The Capital Group



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                                                 commenters suggested implementing                        commenters stated that, in light of the                   lower transaction costs and introduce
                                                 only some of the proposed equity                         Commission’s approval of the                              greater competition on price into the
                                                 market structure changes, such as the                    amendments to rule 605, the                               market. The adopted amendments to
                                                 Rule 605 Amendments or portions of                       Commission should defer or suspend                        Rule 610 will lower costs for investors
                                                 the Regulation NMS Proposal.121 Some                     action on the Regulation NMS Proposal                     and other market participants by
                                                 commenters stated that the Rule 605                      (and the two remaining EMS Proposals)                     reducing the access fee caps and will
                                                 Proposal should be implemented first                     and re-evaluate whether to proceed after                  help to address distortions in the market
                                                 and that data from the changes                           the amendments to rule 605 have been                      associated with the preexisting fee caps.
                                                 implemented in the Rule 605 Proposal                     implemented and the data collected                        Additionally, the amendments will
                                                 should be analyzed to assess whether                     following implementation has been                         require all exchange fees charged and
                                                 the changes proposed in the Regulation                   analyzed.123 One commenter suggested                      rebates paid for the execution of an
                                                 NMS Proposal should be made.122 Some                     implementing the round lot and odd-lot                    order to be determinable at the time of
                                                                                                          information definitions after                             execution, allowing investors and other
                                                 Companies, Inc., dated Mar. 31, 2023 (‘‘Capital          implementation of the Rule 605                            market participants the ability to know
                                                 Group Letter’’) at 2, 5; Ann Wagner, United States       Proposal, and thereafter pausing to                       with certainty the costs of their
                                                 House of Representatives, dated Nov. 28, 2022
                                                 (‘‘Wagner Letter’’) at 2.
                                                                                                          assess the impact of the changes on the                   transactions at the time of the trade and
                                                    121 See, e.g., Letters from Stephen John Berger,      markets.124                                               to allow investors to more readily
                                                 Managing Director, Global Head of Government &             The Commission disagrees with                           request details about the fees and
                                                 Regulatory Policy, Citadel Securities, dated Mar. 31,    comments urging delayed                                   rebates applicable to their orders.
                                                 2023 (‘‘Equity Market Structure Citadel Letter’’) at     implementation of the Regulation NMS                      Accelerating the implementation of the
                                                 21; Ellen Greene, Managing Director, Equities &
                                                 Options Market Structure, and Joseph Corcoran,           Proposal, either in its entirety or                       MDI Rules’ round lot and odd-lot
                                                 Managing Director, Associate General Counsel,            portions of it, as delaying these                         information definitions will provide
                                                 Securities Industry and Financial Markets                amendments will delay significant                         investors and other market participants
                                                 Association, dated Aug. 24, 2023 (‘‘SIFMA Letter         benefits for investors.125 The
                                                 III’’) at 3; Steven M. Greenbaum, Senior Vice
                                                                                                                                                                    that use SIP data with transparency
                                                 President, General Counsel, TradeStation                 amendments adopted in this release                        about better priced quotes and orders
                                                 Securities, Inc., dated Mar. 30, 2023 (‘‘TradeStation    revise several provisions of Regulation                   that are available in the market but only
                                                 Letter’’) at 7; Gregory Davis, Managing Director and     NMS to benefit investors. The                             visible to subscribers of exchange
                                                 Chief Investment Officer, and Matthew Benchener,         Commission is adopting amendments to
                                                 Managing Director, Personal Investor, The
                                                                                                                                                                    proprietary data feeds sooner than
                                                 Vanguard Group, Inc., dated Mar. 31, 2023                Rule 612 that will benefit investors and                  originally planned. The amendments
                                                 (‘‘Vanguard Letter’’) at 2; Michael Camacho, Chief       other market participants by allowing                     provide important investor benefits,
                                                 Executive Officer, Wealth Management Solutions,          certain NMS stocks to be priced in                        which are discussed throughout.
                                                 George C.W. Gatch, Chief Executive Officer, J.P.         increments that are smaller than the
                                                 Morgan Asset Management, and Jason E. Sippel,
                                                                                                                                                                    Therefore, the Commission is not
                                                 Chief Executive Officer, J.P. Morgan Securities LLC,     preexisting rule allowed, which will                      delaying adopting the amendments.
                                                 JPMorgan Chase & Co., dated Mar. 31, 2023                                                                             With respect to the Rule 605
                                                 (‘‘JPMorgan Letter’’) at 2; Jiřı́ Król, Deputy Chief   Letter at 1, 2; Capital Group Letter at 5; Morgan         Amendments, the Commission does not
                                                 Executive Officer, Global Head of Government             Stanley Letter at 2, 6–7; Fidelity Letter at 2, 5, 27;    agree with commenters that stated that
                                                 Affairs, Alternative Investment Management               Letter from Ann Wagner, Andrew R. Garbarino,
                                                 Association, dated Mar. 31, 2023 (‘‘AIMA Letter’’)       Frank D. Lucas, Bill Huizenga, Tom Emmer, Dan
                                                                                                                                                                    amended rule 605 data must be
                                                 at 3; John L. Thornton, Co-Chair, Hal S. Scott,          Meuser, Zach Nunn, Pete Sessions, French Hill,            analyzed before adoption of the changes
                                                 President, and R. Glenn Hubbard, Co-Chair,               Bryan Steil, Michael V. Lawler, Erin Houchin,             in this release.126 The amendments
                                                 Committee on Capital Market Regulation, dated            United States House of Representatives, dated June        adopted in this release are not
                                                 Mar. 31, 2023 (‘‘CCMR Letter’’) at 46; Douglas A.        27, 2024 (‘‘Wagner et al. Letter’’). Some commenters
                                                 Cifu, Chief Executive Officer, Virtu Financial, Inc.,    suggested adopting only the Rule 605 Amendments           dependent on rule 605 data nor is the
                                                 dated Mar. 30, 2023 (‘‘Virtu Letter II’’) at 4; Andrew   and portions of the Regulation NMS Proposal and           data from rule 605 reports necessary
                                                 M. Saperstein, Co-President, Morgan Stanley, dated       then evaluating the impact of those changes on the        before the Commission makes changes
                                                 Mar. 31, 2023 (‘‘Morgan Stanley Letter’’) at 2–3, 6      market. See Letter from Melanie Ringold, Head of          to better protect investors and benefit
                                                 and 7; Steve Quirk, Chief Brokerage Officer,             Legal, Americas, and Will Geyer, Global Head of
                                                 Robinhood Markets, dated Mar. 31, 2023                   Capital Markets, Invesco Ltd., dated Mar. 31, 2023        the markets more broadly.127 While the
                                                 (‘‘Robinhood Letter’’) at 46; MFA Letter at 14; FIA      (‘‘Invesco Letter’’) at 2, 5; Hudson River Letter at 1–   Rule 605 Amendments will bring
                                                 PTG Letter II at 2, 4, 7; NYSE Letter I at 10–11;        2; TradeStation Letter at 7.                              improvements to disclosures for order
                                                 SIFMA Letter II at 11, 23; State Street Letter at 3;        123 See, e.g., Letters from Barbara Comstock,
                                                                                                                                                                    executions of NMS stocks,128 the
                                                 Chamber of Commerce Letter at 1; STA Letter at 10–       Executive Director, American Consumer & Investor
                                                 11; T. Rowe Price Letter at 3; Verret Letter I at 1,     Institute, dated May 20, 2024 (‘‘ACII Letter II’’) at     Regulation NMS amendments address
                                                 5, 11; MMI Letter at 2–3; BlackRock Letter at 17;        1 and 3; Ellen Greene, Managing Director, Equities        other structural concerns relating to
                                                 Capital Group Letter at 5; UBS Letter at 1–2; Foster     & Options Market Structure, SIFMA, and Joseph             investors’ trading and the lack of
                                                 et al. Letter at 1, 2; Fidelity Letter at 2, 5.          Corcoran, Managing Director, Associate General            transparency in the national market
                                                    122 See, e.g., Letters from David Howson,             Counsel, SIFMA, dated 14, 2024 (‘‘SIFMA Letter
                                                                                                          IV’’); Ellen Greene, Managing Director, Equities &        system. For example, quoted spreads for
                                                 Executive Vice President, Global President, Cboe
                                                 Global Markets, Nathaniel N. Evarts, Managing            Options Market Structure, SIFMA, Joseph Corcoran,         NMS stocks could not get tighter than
                                                 Director, Head of Trading, Americas, State Street        Managing Director and Associate General Counsel,          $0.01 under preexisting Rule 612 for all
                                                 Global Advisors, Kimberly Russell, Market                SIFMA, William C. Thum, Managing Director and             quotes and orders in NMS stocks that
                                                 Structure Specialist, Global SPDR Business, State        Associate General Counsel, dated Aug. 13, 2024
                                                                                                          (‘‘SIFMA AMG Letter II’’) at 1–2; Thomas H.               were priced equal to, or greater than,
                                                 Street Global Advisors, Mehmet Kinak, Global Head
                                                 of Equity Trading, T. Rowe Price, Todd Lopez,            Merritt, Deputy General Counsel, Virtu Financial,         $1.00 per share.
                                                 Americas Head of Execution Services, UBS                 Inc., dated June 21, 2024 (‘‘Virtu Letter III’’). See        The Commission disagrees with the
                                                 Securities LLC, and Douglas A. Cifu, Chief               also Letters from Dan Meuser, Ann Wagner, Frank           commenter that stated that the
                                                 Executive Officer, Virtu Financial Inc., dated Mar.      Lucas, Pete Sessions, Bill Huizenga, French Hill,
                                                                                                          Andrew Garbarino, Young Kim, Byron Donalds,               Commission should implement the
                                                 24, 2023 (‘‘Cboe, State Street, et al. Letter’’) at 1–
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                                                 2, 3; Michelle Bryan Oroschakoff, Managing               Michael V. Lawler, Zach Nunn, United States
                                                                                                          House of Representatives, dated June 27, 2024               126 See supra note 122.
                                                 Director, Chief Legal Officer, LPL Financial LLC,
                                                 dated Mar. 31, 2023 (‘‘LPL Financial Letter’’) at 4;     (‘‘Meuser et al. Letter’’) at 2; Michael V. Lawler,         127 Although the amendments adopted in this

                                                 Schwab Letter II at 6, 37; UBS Letter at 1–2; Apex       United States House of Representatives, dated July        release are not dependent on the implementation of
                                                 Letter at 14–15; MFA Letter at 6; SIFMA Letter II        9, 2024 (‘‘Lawler Letter’’) at 1; Wagner et al. Letter    the Rule 605 Amendments, the amendments
                                                 at 11, 22; SIFMA AMG Letter I at 2; T. Rowe Price        at 1–2.                                                   adopted in this release will enhance the usability
                                                                                                             124 See State Street Letter at 3.                      of information in the recently amended rule 605
                                                 Letter at 3; Vanguard Letter at 2, 7; JPMorgan Letter
                                                 at 2; AIMA Letter at 3; CCMR Letter at 46; UBS              125 See supra notes 121–124 and accompanying           reports. See infra section VII.D.6.a.ii.
                                                 Letter at 1–2, 10; Virtu Letter II at 4; Foster et al.   text. See also supra note 104.                              128 See Rule 605 Amendments, supra note 10.




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                                                 round lot and odd-lot information                         to analyze the effects of these                              of members of Congress recommended
                                                 definitions after the implementation of                   amendments.                                                  that no equity market structure rule
                                                 the Rule 605 Amendments and then                            Some commenters stated that the EMS                        ‘‘should be finalized or implemented’’
                                                 wait to assess the effects of these                       Proposals would have an impact on                            until the Commission ‘‘[c]onduct[s] a
                                                 changes.129 The commenter stated that                     each other.135 Some commenters stated                        comprehensive cost-benefit analysis of
                                                 it supported the round lot and odd-lot                    that the EMS Proposals should have                           the aggregate impact of [these rules] and
                                                 information definitions but stated,                       been analyzed together to assess how                         seek[s] public comment on this
                                                 without providing details or any other                    the proposals would relate to, and                           analysis[,]’’ and the Commission
                                                 support, that ‘‘these changes could have                  operate with, each other.136 One group                       proposes ‘‘a reasonable, workable, and
                                                 unintended impacts on price discovery,                                                                                 staggered schedule for public comment
                                                                                                              135 See, e.g., NYSE, Schwab, and Citadel Letter at
                                                 routing complexity, and trading                                                                                        on the adoption and implementation of
                                                                                                           2; STA Letter at 4, 10–11; T. Rowe Price Letter at
                                                 costs.’’ 130 The Commission adopted the                   3; RBC Letter at 2 and 5; Nasdaq Letter I at 1, 6;
                                                                                                                                                                        the proposals, considering their
                                                 definitions in 2020 to provide                            Dimensional Letter at 1–2; FIA PTG Letter II at 2;           overlapping nature, significant
                                                 transparency about better priced orders                   Schwab Letter II at 3, 37; Apex Letter at 14–15, 19;         compliance and operational burdens,
                                                 that are available in the market but are                  JPMorgan Letter at 2–3; Chamber of Commerce                  and if they may be insurmountable for
                                                                                                           Letter at 2; BlackRock Letter at 3, 17; MMI Letter
                                                 not fully transparent in NMS                              at 2–3, 9; B. Riley Letter at 2; Capital Group Letter
                                                                                                                                                                        smaller or emerging firms.’’ 137
                                                 information. These definitions will                       at 5; Letters from Ari Rubenstein, CEO, GTS                     As discussed below in the economic
                                                 result in the provision to market                         Securities LLC, dated Mar. 31, 2023 (‘‘GTS Letter’’)         analysis, the Commission uses as a
                                                                                                           at 4, 9; Jatin Suryawanshi, Managing Director, Head          baseline the world as it exists at the time
                                                 participants of important information                     of Global Quantitative Strategies, and Anna Ziotis
                                                 about the prices at which market                          Kurzrok, Managing Director, Head of Market
                                                                                                                                                                        of adoption, including adopted rules but
                                                 participants are willing to trade and                     Structure, Jefferies, LLC, dated May 2, 2023                 not proposed rules.138 Each release, like
                                                 therefore will enhance price discovery.                   (‘‘Jefferies Letter’’) at 1. See also Letters from Patrick   this release and the Rule 605
                                                                                                           McHenry, French Hill, Frank Lucas, Pete Sessions,            Amendments (which were adopted
                                                 Market participants may have to assess                    Bill Posey, Blaine Luetkemeyer, Bill Huizenga, Ann
                                                 their order routing decisions based on                    Wagner, Andy Barr, Roger Williams, Tom Emmer,                prior to the amendments in this release),
                                                 this enhanced transparency of better                      Barry Loudermilk, Alexander X. Mooney, Warren                explains fully the rationale for the
                                                 priced orders that are available in the                   Davidson, John Rose, Bryan Steil, William                    particular rulemaking and includes a
                                                                                                           Timmons, Ralph Norman, Dan Meuser, Scott                     robust economic analysis of the rules
                                                 market.131                                                Fitzgerald, Andrew R. Garbarino, Young Kim,
                                                                                                           Byron Donalds, Mike Flood, Michael V. Lawler,                being adopted, including the possible
                                                    As discussed below, the data analysis
                                                                                                           Zach Nunn, Monica De La Cruz, Erin Houchin, and              economic effects that commenters raised
                                                 performed by the Commission and other                     Andy Ogles, United States House of                           with regard to specific interactions
                                                 market participants to assess changes in                  Representatives, dated Sept. 26, 2023 (‘‘McHenry et          between the amendments and the Rule.
                                                 minimum pricing increments and the                        al. Letter’’) at 2; Ronald C. Parker, President and
                                                                                                           CEO, National Association of Securities                      In addition, comments on how the
                                                 access fee caps were not derived from
                                                                                                           Professionals, dated Feb. 28, 2023 (‘‘NASP Letter’’)         adoption of the amendments should
                                                 rule 605 reports.132 While one                            at 4; State Street Letter at 2.                              affect the timing or sequence of the
                                                 commenter stated that rule 605 data                          136 See, e.g., SIFMA Letter I at 1; SIFMA Letter
                                                                                                                                                                        other EMS Proposals will be considered
                                                 should be used to assess the                              II at 3, 8–9, 11, 12–13; SIFMA AMG Letter I 4–5;
                                                                                                           GTS Letter at 4–5; Hudson River Letter at 1; UBS             if and when those rules are adopted.
                                                 amendments adopted in this release, the
                                                                                                           Letter at 2; NYSE, Schwab, and Citadel Letter at 1;          The economic analysis considers
                                                 Commission has utilized relevant and                      Citadel Letter I at 2, 28–29; Schwab Letter II at 2–         potential economic effects arising from
                                                 sufficient data other than rule 605 data                  3, 37; Virtu Letter II at 5, 19–20, 31–35, 55–57; MMI        any overlap in compliance dates
                                                 that fully and robustly support the                       Letter at 2; Nasdaq Letter I at 6–7; Invesco Letter
                                                                                                           at 2; Goldman Sachs Letter at 3; Robinhood Letter            between these amendments and other
                                                 amendments.133 One commenter states
                                                                                                           at 7, 22, 24, 42, 44; Apex Letter at 14, 15; McHenry         recent amendments.139 Similarly, the
                                                 that if this proposal were to be finalized                et al. Letter at 1, 2; CCMR Letter at 46; Chamber of         effects of the amended rules are
                                                 along with the amendments to Rule 605,                    Commerce Letter at 3; Equity Market Structure                measured against the existing regulatory
                                                 ‘‘it appears that market participants and                 Citadel Letter at 13–14; Letters from JJ Kinahan,
                                                                                                           President, Tastytrade, Inc., dated Mar. 30, 2023             baseline, which includes recently
                                                 regulators would be unable to accurately
                                                                                                           (‘‘Tastytrade Letter’’) at 2; Jason Clague, Managing         adopted rules.140
                                                 assess the true impact of the market                      Director, Head of Operations, Charles Schwab &                  Commenting on the Proposing Release
                                                 structure changes contained in this                       Co., dated Mar. 22, 2023 (‘‘Schwab Letter I’’) at 2;         together with the other EMS Proposals,
                                                 Proposal, precluding an ‘apples-to-                       Eric J. Pan, President and CEO, and Susan Olson,
                                                                                                                                                                        some commenters requested that the
                                                 apples’ before-and-after                                  General Counsel, Investment Company Institute,
                                                                                                           dated Aug. 17, 2023 (‘‘ICI Letter II’’) at 2–3, 7–9;         Commission publicly release
                                                 comparison.’’ 134 However, market                         Mary Lou H. Ivey, Chairman of the Boards and                 anonymized subsets of CAT data 141
                                                 participants have other data with which                   Independent Trustee, David J. Urban, Independent
                                                                                                           Trustee, and Theo H. Pitt, Jr., Independent Trustee,         Deputy Assistant Attorney General, David
                                                   129 See State Street Letter at 3.                       Independent Trustees of ETF Opportunities Trust              Lawrence, Policy Director, Karina Lubell, Chief,
                                                   130 See State Street Letter at 3.                       and World Funds Trust, dated Mar. 31, 2023                   Competition Policy & Advocacy Section, Ihan Kim,
                                                   131 See Rule 605 Amendments, supra note 10, at
                                                                                                           (‘‘Independent Trustees Letter’’) at 1–2; Stephen            Attorney Advisor, Competition Policy & Advocacy
                                                                                                           John Berger, Managing Director, Global Head of               Section, and Owen M. Kendler, Chief, Financial
                                                 26482 (stating, ‘‘Rule 605’s price improvement            Government & Regulatory Policy, Citadel Securities,
                                                 statistics that are relative to the best available                                                                     Services, Fintech & Banking Section, United States
                                                                                                           dated Dec. 5, 2023 (‘‘Citadel Letter II’’) at 1, 10;         Department of Justice, dated Apr. 11, 2023 (‘‘DOJ
                                                 displayed price will not be required to be reported       Christopher A. Iacovella, President & Chief
                                                 until six months after odd-lot order information                                                                       Letter’’) at 6.
                                                                                                           Executive Officer, American Securities Association,             137 See McHenry et al. Letter at 2.
                                                 needed to calculate the best available displayed          dated Mar. 31, 2023 (‘‘ASA Letter’’) at 2, 3; Seth A.
                                                 price is made available pursuant to an effective          Miller, President, Cambridge Investment Research,
                                                                                                                                                                           138 See infra section VII.C.

                                                 national market system plan.’’).                          Inc. dated Mar. 31, 2023 (‘‘Cambridge Letter’’) at 3;
                                                                                                                                                                           139 See infra sections VII.C and VII.D.6.
                                                   132 See infra section VII.D.6.a.iii (stating that the                                                                   140 The OCR Proposal and the Best Execution
                                                                                                           Nicolas Morgan, Founder and President, Investor
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                                                 Commission did not rely on rule 605 data in its           Choice Advocates Network, dated Mar. 31, 2023                Proposal Release mentioned by commenters remain
                                                 analyses in the Proposing Release and in this             (‘‘ICAN Letter’’) at 2; Rebekah Goshorn Jurata,              at the proposal stage. To the extent that the
                                                 release).                                                 General Counsel, American Investment Council,                Commission takes final action on either of those
                                                   133 See id. The Commission also has considered                                                                       proposals, the baseline in each of those subsequent
                                                                                                           dated Aug. 8, 2023 (‘‘AIC Letter’’) at 2, 5, 10; James
                                                 the interaction of the compliance dates of the            Angel, Associate Professor of Finance, Georgetown            rulemakings will reflect the regulatory landscape
                                                 adopted amendments with the compliance date of            University, dated Mar. 31, 2023 (‘‘Angel Letter’’) at        that is current at that time. See infra section VII.C,
                                                 the Rule 605 Amendments. See infra section VI;            2; see also Letter from Jonathan Kanter, Assistant           note 1047.
                                                 section VII.D.6.b.                                        Attorney General, Doha Mekki, Principal Deputy                  141 The CAT database contains confidential
                                                   134 See Citadel Letter I at 29.                         Assistant Attorney General, Maggie Goodlander,               market information. See, e.g., Securities Exchange



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                                                 used in connection with the tables and                   increments (also known as minimum                      increment for quotes and orders that
                                                 figures in the EMS Proposals’ economic                   price variations or tick sizes) for                    would allow for tighter spreads. While
                                                 analyses.142 In the Proposing Release,                   quotations and orders in NMS stocks.                   the Commission could not estimate the
                                                 unlike certain of the other EMS                          Specifically, preexisting Rule 612 stated              number of stocks that would have a
                                                 Proposals, CAT data was not used in                      that ‘‘[n]o national securities exchange,              TWAQS of $0.008 or less due to the
                                                 any tables and figures.143 Rather, the                   national securities association,                       preexisting Rule 612 requirement that
                                                 Proposing Release used CAT data to                       alternative trading system, vendor, or                 all orders priced equal to greater than
                                                 determine the numbers of affected                        broker or dealer shall display, rank, or               $1.00 per share have a $0.01 minimum
                                                 broker-dealers in the baseline and                       accept from any person a bid or offer,                 pricing increment, the Commission
                                                 compliance cost discussion in the                        an order, or an indication of interest in              could estimate that 1,707 stocks, which
                                                 economic analysis, as well as to                         any NMS stock priced in an increment                   represented approximately 64% of share
                                                 determine statistics in a reasonable                     smaller than $0.01 if that bid or offer,               volume and 37.9% of dollar volume in
                                                 alternative to the proposed amendment                    order, or indication of interest is priced             January through May 2022, had TWAQS
                                                 that would have imposed a minimum                        equal to, or greater than, $1.00 per                   that were less than $0.016.148
                                                 pricing increment for trades.144 The                     share.’’ 145 Preexisting Rule 612(b) had               Additionally, 2,648 stocks, which
                                                 CAT information used in this adopting                    similar language that applied to bids,                 represented approximately 17.9% of
                                                 release is narrower still. Specifically,                 offers, orders, and indications of interest            share volume and 22.3% of dollar
                                                 the Commission uses CAT information,                     in any NMS stock priced less than $1.00                volume in January through May 2022,
                                                 consisting of lists of firm names,                       per share and specified that the                       traded with a spread that was greater
                                                 including firm identifier numbers and                    minimum pricing increment could not                    than $0.016 and less than or equal to
                                                 account type information, only to                        be smaller than $0.0001. Preexisting                   $0.04. More recently, the Commission
                                                 determine the numbers of affected firms.                 Rule 612 of Regulation NMS did not                     analyzed NMS stocks in 2023 and
                                                 The Commission is not releasing                          establish or include minimum pricing                   identified 2,420 NMS stocks that had a
                                                 anonymized versions of the CAT                           increments for transactions.146                        TWAQS of $0.015 or less; these NMS
                                                 information used in this release because                                                                        stocks represent about 74% of share
                                                                                                          A. Issues Raised in the Existing Market
                                                 releasing an anonymized list of firm                                                                            volume and about 47% of dollar
                                                                                                          Structure Related to Tick Sizes
                                                 names would provide no meaningful                                                                               volume.149
                                                 information beyond the total number of                      The Proposing Release contains an                      Prior to the Proposing Release, certain
                                                 affected firms, which is the same                        extensive discussion of the development                market participants conducted data
                                                 information provided in this release.                    and the consideration by the                           analyses on the effects of Rule 612 and
                                                 The Commission described in the                          Commission and market participants of                  concluded that a $0.01 minimum
                                                 Proposing Release and describes in this                  Rule 612 since its adoption.147 Since the              quoting increment may not be
                                                 release the CAT data and methodology                     adoption of Rule 612, there has been a                 appropriate for all NMS stocks that are
                                                 used in connection with its estimates.                   marked increase in the trading volume                  priced greater than or equal to $1.00.150
                                                                                                          of NMS stocks that would likely be                     The Commission discussed these data
                                                 III. Final Rule 612 of Regulation NMS—                   priced with tighter spreads if their                   analyses in the Proposing Release.151
                                                 Minimum Pricing Increment                                pricing was not constrained by the                     One of these market participants, Cboe,
                                                    Rule 612 of Regulation NMS                            uniform $0.01 minimum pricing                          submitted updated data analysis in two
                                                 establishes minimum pricing                              increment required by preexisting Rule                 comment letters to the Proposing
                                                                                                          612 for quotes and orders all NMS                      Release.152
                                                 Act Release No. 67457 (Jul. 18, 2012), 77 FR 45722,      stocks priced equal to, or greater than,
                                                 45782 (Aug. 1, 2012) (stating that maintaining the       $1.00 per share. Easing constraints on                   148 See Proposing Release, supra note 11, at

                                                 confidentiality of customer and other information        ticks for these NMS stocks will reduce                 80280.
                                                 reported to CAT ‘‘is essential’’ and that ‘‘[w]ithout                                                             149 See infra section VII.D.1.b, table 3.

                                                 adequate protections, market participants would
                                                                                                          transaction costs for market                             150 See, e.g., The Tick-Constrained Stock Problem
                                                 risk the exposure of highly-confidential information     participants, including investors, and                 by Phil Mackintosh (Jan. 20, 2022), available at
                                                 about their trading strategies and positions’’); see     allow prices to be determined in a more                http://www.nasdaq.com/articles/the-tick-
                                                 also Securities Exchange Act Release No. 84696           competitive manner. In other words, the                constrained-stock-problem) (‘‘Nasdaq Paper’’). See
                                                 (Nov. 15, 2016), 81 FR 84696 (Nov. 23, 2016).                                                                   also Petition for Rulemaking to Amend Rule 612 of
                                                    142 See, e.g., SIFMA Letter I at 1–2, 3–4; Letters
                                                                                                          number and volume of NMS stocks that
                                                                                                                                                                 Regulation NMS to Adopt Intelligent Tick-Size
                                                 from Thomas M. Merritt, Deputy General Counsel,          could benefit from the ability to quote                Regime, dated Dec. 16, 2019, submitted by John A.
                                                 Virtu Financial, Inc., dated Feb. 24, 2023 (‘‘Virtu      in a minimum pricing increment that is                 Zecca, Executive Vice President, Chief Legal Officer
                                                 Letter I’’) at 1, 2; SIFMA Letter II at 2–3, 11, 22;     smaller than $0.01 (i.e., sub-pennies)                 & Chief Regulatory Officer, Nasdaq Inc. available at
                                                 SIFMA AMG Letter I at 5; Schwab Letter II at 3–          has grown.                                             https://www.sec.gov/rules/petitions/2019/petn4-
                                                 4; T. Rowe Price Letter at 3; Chamber of Commerce                                                               756.pdf (‘‘Nasdaq Intelligent Tick Proposal’’); The
                                                 Letter at 2–3; Robinhood Letter at 8; Equity Market         In the Proposing Release, the                       Impact of Tick-constrained Securities on the U.S.
                                                 Structure Citadel Letter at 16–17; Cambridge Letter      Commission considered data to evaluate                 Equity Market (available at http://www.nyse.com/
                                                 at 4; Jefferies Letter at 1; SIFMA AMG Letter II at      and determine which NMS stocks, by                     publicdocs/Tick_Constrained_Stocks.pdf) (‘‘NYSE
                                                 5–7; and SIFMA Letter IV at 6.                           number and by volume, would benefit                    White Paper’’) (no date available); and Cboe
                                                    143 See SIFMA Letter I at 7 (‘‘Regulation NMS:                                                               Proposes Tick-Reduction Framework to Ensure
                                                 Minimum Pricing Increments, Access Fees, and
                                                                                                          from a reduced minimum pricing                         Market Structure Benefits All Investors (available at
                                                 Transparency of Better Priced Orders—The                                                                        https://www.cboe.com/insights/posts/cboe-
                                                                                                            145 See 17 CFR 242.612.                              proposes-tick-reduction-framework-to-ensure-
                                                 following tables/figures within the Proposal use
                                                 CAT data: none.’’). The Commission responds to              146 As discussed in the Proposing Release, the      market-structure-benefits-all-investors/) (‘‘Cboe
                                                 specific comments on releasing the CAT data used         Commission granted exemptions from Rule 612 to         Proposal’’).
                                                 in the tables and figures of the specific EMS            various national securities exchanges’ retail            151 See Proposing Release, supra note 11, at
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                                                 Proposals in the relevant adopting release, where        liquidity programs (‘‘RLPs’’) as a way to allow them   80274–80278.
                                                 appropriate. See Rule 605 Amendments, supra note         to compete with over-the-counter (‘‘OTC’’) market        152 See Letters from Angelo Evangelou, Cboe
                                                 10.                                                      maker sub-penny price improvement. See                 Global Markets, Inc., dated Feb. 28, 2023 (‘‘Cboe
                                                    144 See, e.g., Proposing Release, supra note 11, at   Proposing Release, supra note 11, at 80271. Under      Letter I’’); Patrick Sexton, EVP, General Counsel &
                                                 80316, 80340–41. A commenter identifies this             the RLPs, exchanges can accept and rank certain        Corporate Secretary, Cboe Global Markets, Inc.,
                                                 limited use of CAT data in the Proposing Release         quotes and orders from certain participants in sub-    dated Mar. 31, 2023 (‘‘Cboe Letter II’’) at Appendix
                                                 but does not identify specific additional                penny increments as small as $0.001.                   A. See also Letter from Hope M. Jarkowski, General
                                                 information the Commission should provide. See              147 See Proposing Release, supra note 11, at        Counsel, NYSE Group, Inc., dated Mar. 27, 2023
                                                 Equity Market Structure Citadel Letter at 16–17.         80272–80273.                                                                                       Continued




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                                                 B. Proposal To Amend Rule 612                           competition and equal regulation                       calculate each NMS stock’s TWAQS.159
                                                   The Commission proposed variable                      between OTC market makers,                             Therefore, as adopted, a minimum
                                                 minimum pricing increments for quotes                   exchanges, and ATSs that compete for                   pricing increment of either $0.01 or
                                                 and orders for NMS stocks priced at, or                 retail liquidity by requiring that NMS                 $0.005 will be assigned to each NMS
                                                 greater than, $1.00 per share based on                  stocks trade with the same minimum                     stock for quotes and orders that are
                                                 the TWAQS of a particular NMS stock.                    pricing increment regardless of venue                  priced equal to or greater than $1.00 per
                                                 The Commission also proposed that the                   (i.e., on or off-exchange).157 The                     share twice a year and will be operative
                                                 minimum pricing increment for                           Commission also stated that proposed                   for a six-month period.160
                                                                                                         Rule 612 would promote price                              The amendment differs from the
                                                 executions be the same as, and correlate
                                                                                                         discovery and price competition,                       proposal because rather than adding
                                                 to, the minimum pricing increment for
                                                                                                         particularly for tick-constrained stocks               three proposed smaller minimum
                                                 quoting on all trading venues (i.e., on-
                                                                                                         and retail order flow, by permitting the               pricing increments for quotes and orders
                                                 exchange and OTC), subject to certain
                                                                                                         uniform quoting and trading of NMS                     ($0.005, $0.002, $0.001) to the current
                                                 exceptions.
                                                                                                         stocks across trading venues, in finer                 $0.01 increment, only one additional
                                                   Specifically, the Commission
                                                                                                         increments, based on objective criteria.               minimum pricing increment ($0.005) for
                                                 proposed that the minimum pricing
                                                                                                         The Commission preliminarily believed                  NMS stocks that have a TWAQS of
                                                 increments for quotations, orders and
                                                                                                         that the proposed Rule 612 amendments                  $0.015 or less will be added. In
                                                 executions in NMS stocks that are
                                                                                                         would result in the pricing of quotes                  addition, the amendment differs from
                                                 priced equal to or greater than $1.00 per
                                                                                                         and orders being more in alignment                     the proposal as it (1) does not include
                                                 share would be variable and no smaller                                                                         a minimum pricing increment for
                                                                                                         with the principles of supply and
                                                 than: (1) $0.001 if the TWAQS153 for the                                                                       trades, (2) modifies the Evaluation
                                                                                                         demand.
                                                 NMS stock during the Evaluation                                                                                Period, and (3) provides for an
                                                 Period 154 was equal to, or less than,                  C. Final Rule—Minimum Pricing                          implementation period.
                                                 $0.008; (2) $0.002, if the TWAQS for the                Increments for Orders Priced Equal to or
                                                 NMS stock during the Evaluation Period                  Greater Than $1.00 per Share                           1. General Comments and Discussion
                                                 was greater than $0.008 but less than, or                  After considering comments, and                        The Commission received many
                                                 equal to $0.016; (3) $0.005, if the                     analyzing additional data in response to               comments on the proposal to amend
                                                 TWAQS for the NMS stock during the                      those comments, the Commission is                      Rule 612.161 Some commenters
                                                 Evaluation Period was greater than                      modifying and adopting the proposed                    supported the need to amend Rule
                                                 $0.016 but less than, or equal to, $0.04;               amendments to Rule 612. As adopted,                    612.162 Many individual commenters
                                                 and (4) $0.01 if the TWAQS for the NMS                  Rule 612(b)(2) provides that no national               generally supported the proposed
                                                 stock during the Evaluation Period was                  securities exchange, national securities               amendments; 163 while some individual
                                                 greater than $0.04.155 Further, as                      association, ATS, vendor, or broker or
                                                 proposed, NMS stocks’ TWAQS would                       dealer shall display, rank, or accept                    159 See Rule 612(a)(1).

                                                 have been measured quarterly based on                   from any person a bid or offer, an order,                 160 Some commenters suggested that the

                                                 one month of trading data.156 In other                                                                         Commission consider wider quoting increments.
                                                                                                         or an indication of interest in any NMS                See, e.g., Nasdaq Letter I; ASA Letter at 4; MEMX
                                                 words, it was proposed that the                         stock in an increment smaller than                     Letter at 20; Cboe, State Street, et al. Letter at 2; BIO
                                                 assignment of minimum pricing                           required pursuant to either paragraph (i)              Letter at 3; Invesco Letter at 3; Robinhood Letter at
                                                 increments for the quoting and trading                  or (ii) below if that bid or offer, order,             39; Themis Letter at 5; Dimensional Letter at 2; and
                                                 of NMS stocks priced equal to or greater                or indication of interest is priced equal              Letter from Tim Gately, Managing Director, Head of
                                                                                                                                                                Equities Sales, Americas, Citigroup Global Markets,
                                                 than $1.00 per share be done on a                       to or greater than $1.00 per share:                    Inc., dated Mar. 31, 2023 (‘‘Citigroup Letter’’) at 5.
                                                 quarterly basis.                                           (i) $0.01, if the Time Weighted                     The Commission is not adopting a wider quoting
                                                   The Commission stated that it                         Average Quoted Spread for the NMS                      increment for NMS stocks or a subset of NMS stocks
                                                 preliminarily believed that the proposed                stock during the Evaluation Period was                 as part of these amendments. As discussed
                                                                                                                                                                throughout this release, the Commission is
                                                 Rule 612 amendments would promote:                      greater than, $0.015; or                               amending Rule 612 to address issues that developed
                                                 (1) fair and orderly markets and                           (ii) $0.005, if the Time Weighted                   related to the constraint that results from the $0.01
                                                 economically efficient executions,                      Average Quoted Spread for the NMS                      minimum pricing increment. A wider quoting
                                                 particularly for tick-constrained NMS                   stock during the Evaluation Period was                 increment would not address these specific issues.
                                                                                                                                                                   161 See supra note 82.
                                                 stocks and retail order flow; and (2) fair              equal to or less than $0.015.
                                                                                                                                                                   162 See, e.g., Form Letter Type A, of which 22
                                                                                                            Rule 612(b)(3) provides that no
                                                                                                                                                                comments were received; Form Letter Type D, of
                                                 (‘‘NYSE Letter II’’) (submitting for the record its     national securities exchange, national                 which 255 comments were received; Form Letter
                                                 paper entitled Price Improvement, tick                  securities association, alternative                    Type G, of which 652 comments were received,
                                                 harmonization & investor benefit (Aug. 22, 2022).       trading system, vendor, or broker or                   available at https://www.sec.gov/comments/s7-30-
                                                 This paper was described in the Proposing Release,                                                             22/s73022.htm; IEX Letter I at 6; Letters from David
                                                 supra note 11, at 80275; MEMX Letter, Appendix          dealer shall display, rank, or accept
                                                                                                                                                                Mechner, Chief Executive Officer, Pragma, LLC,
                                                 (submitting Tick-constrained Securities (Aug.           from any person a bid or offer, an order,              dated Mar. 23, 2023 (‘‘Pragma Letter’’); Citigroup
                                                 2021). This paper was described in the Proposing        or an indication of interest in any NMS                Letter at 4; MMI Letter at 3; Cboe, State Street, et
                                                 Release, supra note 11, at 80274. In the MEMX           stock priced in an increment smaller                   al. Letter at 2; Nasdaq Letter I at 2; Managed Funds
                                                 Letter, MEMX also submitted Tick-constrained                                                                   Letter dated March 30, 2023 at 11; letter from
                                                 Securities, The Tick Size Debate, Revisited (Jan.       than $0.0001 if that bid or offer, order,
                                                                                                         or indication of interest is priced less               Joseph Scafidi, Global Head of Trading, and Carlos
                                                 2022) which analyzed a set of reverse splits on                                                                Oliveira, Head of Trading Analytics and Market
                                                 certain low-priced ProShares exchange-traded            than $1.00 per share.158                               Structure, Brandes Investment Partners, L.P., dated
                                                 products (‘‘ETPs’’) and finding that the tick-             Further, as amended, minimum                        Mar. 23, 2023 (endorsed by Adam Conn, Director,
                                                 constrained ETPs analyzed traded with significantly
                                                                                                         pricing increments for quotes and orders               Baillie Gifford (Overseas) Ltd. et al.) (‘‘Brandes
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                                                 lower spreads post reverse split. This paper was                                                               Letter’’) at 1; Angel Letter at 5; TradeStation Letter;
                                                 described in the Proposing Release, supra note 11,      will be assigned on a semiannual basis
                                                                                                                                                                Vanguard Letter at 4; B. Riley Letter at 1; JPMorgan
                                                 at 80318.                                               using 3-months of trading data to                      Letter at 4; and UBS Letter at 10.
                                                    153 See infra section III.C.7.b. See also proposed
                                                                                                                                                                   163 See, e.g., Form Letter Type D, of which 255
                                                 Rule 612(a).                                              157 See Proposing Release, supra note 11, at 80273
                                                                                                                                                                comments were received; Form Letter Type E, of
                                                    154 See infra section III.C.7.a. See also proposed
                                                                                                         (discussing the competitive dynamic among              which 14 comments were received; and Form Letter
                                                 Rule 612(a).                                            exchanges, ATSs and OTC market makers).                Type G, of which 652 comments were received,
                                                    155 See proposed Rule 612(c).                          158 Rule 612(b)(3) is the same as preexisting Rule   available at https://www.sec.gov/comments/s7-30-
                                                    156 See proposed Rule 612(a).                        612(b).                                                22/s73022.htm; Letter from Bibambop RIP, dated



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                                                 commenters agreed that Rule 612                            the proposal, ‘‘[t]his means that the                      Commission is adopting amended Rule
                                                 should be amended but recommended                          pricing of stocks will be more precise                     612. Compared to the initial proposal,
                                                 that the proposal be modified.164                          and accurate, ensuring that I can get the                  the modified amendments will be easier
                                                    Broadly, many commenters stated that                    best possible price for my trades.’’ 171                   for market participants to implement
                                                 preexisting Rule 612 should be                             Another commenter stated that                              and adapt to.
                                                 amended in order to permit sub-penny                       ‘‘[a]llowing for sub-penny pricing will                       One commenter suggested that the
                                                 quoting.165 One commenter stated that                      enable buyers to obtain lower prices                       Commission use its exemptive authority
                                                 for those stocks that are tick-constrained                 from willing sellers and sellers to obtain                 to reduce minimum pricing increments
                                                 ‘‘[t]he one-cent increment for quoting                     higher prices from willing buyers,                         and access fees in a manner similar to
                                                 can make it difficult for liquidity                        resulting in a more efficient market.’’ 172                that requested by MEMX.176 MEMX
                                                 providers to fill orders and often results                 Comments from other market                                 requested an increment of $0.005 for
                                                 in higher trading costs.’’ 166 Another                     participants, including exchanges,173                      NMS stocks that are ‘‘tick-constrained’’
                                                 commenter stated that tick-constrained                     broker-dealers, and institutional                          (defined by MEMX as stocks that trade
                                                 stocks experience wider quoted spreads,                    investors 174 recommended modifying                        with an average quoted spread of $0.011
                                                 which results in ‘‘significantly increased                 the proposal to Rule 612 to reduce the                     or less).177 The commenter
                                                 transaction costs for investors,’’ and that                number of potential minimum quoting                        recommended this course of action as a
                                                 these securities generally have longer                     increments. Some commenters stated                         means to gather data on sub-penny
                                                 queues and trade with ‘‘outsized                           that further reduction of the minimum                      pricing increments to help determine
                                                 notional liquidity at the NBBO.’’ 167                      pricing increment for quotes and orders                    whether, and to what degree, the
                                                 Several commenters stated that the                         may be warranted for certain NMS                           proposed modifications were
                                                 ‘‘one-size-fits-all’’ requirement in Rule                  stocks ‘‘in the future’’ but that a $0.005                 warranted.178 The commenter also
                                                 612 should be revisited.168 One                            increment should be implemented and                        stated that using an exemption to test a
                                                 commenter stated that Rule 612                             studied before any further reductions.175                  reduction of minimum pricing
                                                 impedes the ability of market                              For the reasons discussed throughout, in                   increments and the access fee caps
                                                 participants to price some NMS stocks                      response to commenters, the                                could include an expiration and a ‘‘roll-
                                                 that would naturally be priced within                                                                                 back’’ plan should unintended
                                                 the penny spread.169 The adopted                           comments were received; Form Letter Type J, of             consequences become apparent.179
                                                                                                            which 15 comments were received; and Form Letter           Other commenters recommended that
                                                 minimum quoting increment of $0.005                        Type K, of which 22 comments were received,
                                                 will enable the targeted NMS stocks to                     available at https://www.sec.gov/comments/s7-30-
                                                                                                                                                                       the Commission reduce the minimum
                                                 be more naturally priced based on the                      22/s73022.htm.                                             pricing increments for a sample of
                                                 principles of supply and demand within
                                                                                                               171 Letter from John dated Feb. 23, 2023.               stocks so that data could be gathered
                                                 the penny spread.
                                                                                                               172 Letter from Nevin Varghese dated Dec. 26,           and evaluated before changes were
                                                                                                            2022.                                                      adopted on a more widespread basis.180
                                                    Generally, comments from                                   173 See IEX Letter I at 6; Cboe, State Street, et al.

                                                 individuals supported the proposal                         Letter at 2; Nasdaq Letter I at 14; MEMX Letter at
                                                                                                                                                                       Finally, one commenter recommended
                                                 without any additional suggested                           18; and Cboe Letter II at 3.                               that the Commission establish a
                                                 changes.170 One commenter stated of
                                                                                                               174 See Capital Group Letter at 4; ICI Letter I at      ‘‘transparent structured process to
                                                                                                            5–6; Vanguard Letter at 4–5; Invesco Letter at 3;          evaluate whether proposed changes to
                                                                                                            Schwab Letter II at 6; T. Rowe Price Letter at 4;          minimum pricing increments and access
                                                 Mar. 16, 2023; Letter from Binh Tran, dated Mar.           Fidelity Letter at 14; Brandes Investment Letter
                                                 4, 2023; Letter from Jerry Pang, dated Mar. 4, 2023;       dated March 31, 2023 at 2; Ontario Teachers,               fees are actually improving the
                                                 Letter from Charlie Chen, dated Mar. 1, 2023; Letter       Alberta Investment, CalSTRS, CalPERS, Canada               execution experience’’ and that a
                                                 from Daniel Song, dated Jan. 12, 2023; Letter from         Pension, and Texas Retirement Letter dated Mar.            ‘‘clearly articulated off-ramp/kill-switch
                                                 Deok Park, dated Dec. 26, 2023; and Letter from            31, 2023 at 2 (‘‘Ontario Teachers et al. Letter’’);
                                                 Clarissa West, dated Apr. 1, 2023.
                                                                                                                                                                       to unwind these changes’’ be in place to
                                                                                                            BlackRock Letter at 5; Dimensional Letter at 2; B.
                                                    164 See, e.g., Form Letter Type H, of which 853         Riley Letter at 1; and Letter from Christopher P.          return to current minimum pricing
                                                 comments were received, available at https://              Bowker Jr., Director of Global Equity Trading,             increments and the access fee caps.181
                                                 www.sec.gov/comments/s7-30-22/s73022.htm.                  Boston Partners Global Investors, Inc., Joe Mariano,       Another commenter stated that if the
                                                    165 See, e.g., Letter from Stephen W. Hall, Legal       Senior Vice President, Global Head of Trading,             Commission adopted a modified
                                                 Director and Securities Specialist, Better Markets,        Calamos Advisors LLC, Melissa F. Hinmon, Director
                                                 Inc., dated Oct. 31, 2023 (‘‘Better Markets Letter II’’)   of Equity Trading, Glenmede Investment                     amendment to Rule 612 that such
                                                 at 3; SIFMA Letter II; Brandes Letter at 1; ICI Letter     Management, Dan Royal, Global Head of Equity               modification should be re-proposed for
                                                 I; BlackRock Letter; B. Riley Securities Letter;           Trading, Janus Henderson Investors US LLC, dated           public comment.182
                                                 JPMorgan Letter at 4; Cambridge Letter at 6; Invesco       Apr. 6, 2023 (‘‘Boston Partners, Calamos Advisors,            An exemption, other temporary
                                                 Letter at 3; UBS Letter at 10; Citigroup Letter at 4;      Glenmede Investment, and Janus Henderson
                                                                                                            Letter’’); State Street Letter at 3; NYSE, Schwab, and
                                                                                                                                                                       course of action, such as a pilot or
                                                 TradeStation Letter at 6; letters from individuals,
                                                 including the Form Letter Type D, of which 255             Citadel Letter at 2; Letter from John Zhu, Head of         sample reduction, or a re-proposal of the
                                                 comments were received; Form Letter Type G, of             Trading, Optiver US LLC, dated Mar. 15, 2023
                                                 which 652 comments were received; and Form                 (‘‘Optiver Letter’’) at 4; Pragma Letter at 1; Cboe,          176 See Jefferies Letter. See also Proposing

                                                 Letter Type H, of which 853 comments were                  State Street, et al. Letter at 2; Letter from Milan        Release, supra note 11, at 80277 for a discussion of
                                                 received, available at https://www.sec.gov/                Galik, Chief Executive Officer, Interactive Brokers        the MEMX request for exemption.
                                                 comments/s7-30-22/s73022.htm.                              Group, Interactive Brokers LLC, dated Mar. 30, 2023           177 See Proposing Release, supra note 11, at 80277
                                                    166 See ASA Letter at 4.                                (‘‘Interactive Brokers Letter’’) at 5; RBC Letter at 3;    for a discussion of the MEMX request for
                                                    167 See MEMX Letter at 9.
                                                                                                            Morgan Stanley Letter at 3–4; JPMorgan Letter at 4–        exemption.
                                                                                                            5; Letter from at 2; Joe Wald, Managing Director &            178 See Jefferies Letter at 2.
                                                    168 See, e.g., SIFMA Letter II at 33; BlackRock
                                                                                                            Co-Head of Electronic Trading, Eric Stockland,                179 Id. at 4.
                                                 Letter at 5; Citigroup Letter at 4; and MMI Letter         Managing Director, Global Markets, Brad A.
                                                 at 5; UBS Letter at 10; Letter from Lawrence Harris,       Rothbaum, Managing Director & Head U.S. Global
                                                                                                                                                                          180 See, e.g., Cboe, State Street, et al. Letter at 2;

                                                 Ph.D., CFA, Professor of Finance and Business              Markets, Chief Operating Officer & Head of the U.S.        letter from Carlo Passeri, Vice President
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                                                 Economics, U.S.C. Marshall School of Business,             Branches, and Michael Forlenza, Managing Director          Biotechnology Innovation Organization (‘‘BIO
                                                 dated Dec. 18, 2023 (‘‘Harris Letter’’) at 8.              & Head of U.S. Capital Markets Compliance, BMO             Letter’’), dated Mar. 30, 2023; and State Street Letter
                                                    169 See Better Markets Letter II at 8.
                                                                                                            Capital Markets Corp., dated Mar. 31, 2023 (‘‘BMO          at 3; MMI Letter at 3–7.
                                                                                                                                                                          181 See Citigroup Letter at 6. With regard to the
                                                    170 See, e.g., Form Letter Type A, of which 22          Letter’’); Brandes Investment Letter dated March 23,
                                                 comments were received; Form Letter Type D, of             2023 at 2; B Riley Letter at 1; Themis Letter; UBS         comment about an ‘‘off-ramp/kill-switch,’’ should
                                                 which 255 comments were received; Form Letter              Letter at 10; Citigroup Global Letter at 4–5; and          the Commission observe trends detrimental to
                                                 Type E, of which 14 comments were received; Form           Jefferies Letter at 3.                                     investors, the Commission could take appropriate
                                                 Letter Type G, of which 652 comments were                     175 See, e.g., BlackRock Letter at 6 and B. Riley       action.
                                                 received; Form Letter Type I, of which 22                  Letter at 1.                                                  182 See Citadel Letter II at 3.




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                                                 adopted amendments is not warranted.                       Some individual commenters did not                    increments were ‘‘not an effective
                                                 The Commission and market                               support the proposal.189 One of those                    solution to address concerns related to
                                                 participants already have provided data                 commenters stated that the minimum                       tick-constrained stocks’’ and suggested a
                                                 and analyses that support amending                      pricing increment for quotes and orders                  uniform $0.001 minimum pricing
                                                 Rule 612 to address tick constraints.183                should be ‘‘based solely on that which                   increment for all NMS stocks.194 A
                                                 As discussed throughout this release,                   can be spent in real life; no less than a                uniform $0.001 minimum pricing
                                                 the adopted amendments to Rule 612                      single penny.’’ 190 Preexisting Rule 612                 increment for all NMS stocks goes
                                                 will allow NMS stocks that are                          allowed quotes and orders in NMS                         beyond what is necessary to address the
                                                 experiencing tick constraints with the                  stocks priced less than $1.00 per share                  issues related to NMS stocks that are
                                                                                                         to be accepted, ranked and displayed in                  currently constrained by the $0.01 tick.
                                                 $0.01 minimum pricing increment to be
                                                                                                         an increment as small as $0.0001.                        A $0.001 minimum pricing increment
                                                 priced more competitively (i.e., reduce
                                                                                                         Similarly, certain RLP Programs for                      would be significantly smaller than the
                                                 quoted spreads) and reduce transaction                  national securities exchanges have been                  current uniform $0.01 minimum pricing
                                                 costs for liquidity demanders. The                      granted Commission exemptions to                         increment for quotes and orders for
                                                 amendments to minimum pricing                           permit quotes and orders in NMS stocks                   NMS stocks that are priced equal to, or
                                                 increments are designed to                              priced equal to, or greater than, $1.00                  greater than, $1.00 per share. A sub-
                                                 appropriately address significant                       per share to be accepted, ranked and                     penny increment for NMS stocks that is
                                                 concerns related to Rule 612.184 One of                 displayed in an increment as small as                    too small would increase the incidence
                                                 the primary goals of the proposal and                   $0.001. Sub-penny increments also                        of stepping ahead (i.e., pennying) 195
                                                 the adopted amendments is to alleviate                  existed in the market for many years,                    and costs would not justify the benefits.
                                                 tick constraints.                                       even prior to the adoption of Rule 612
                                                                                                                                                                  2. Specific Comments on the Proposed
                                                    Reducing the minimum quoting                         in 2005.191 Sub-penny increments can
                                                                                                                                                                  Minimum Pricing Increments
                                                 increment for quotes and orders to                      allow market participants to better
                                                                                                         convey prices at which they are willing                     A few commenters did not support
                                                 $0.005 for certain NMS stocks will                                                                               the implementation of the smallest
                                                 enable such stocks to quote with tighter                to trade, which can promote better price
                                                                                                         competition and lead to better price                     proposed sub-penny increments (i.e.,
                                                 spreads, which in return reduces the                                                                             $0.002 and $0.001), and referenced
                                                                                                         discovery. Further, as discussed above,
                                                 transaction costs of investors.185 As                   sub-penny trading occurs frequently,                     certain concerns, including stepping
                                                 discussed below, the Commission has                     whether at the midpoint or in other sub-                 ahead of displayed orders, quote
                                                 conducted analysis to show that quoted                  penny increments.192 Thus, sub-penny                     flickering that occurs when the price of
                                                 and effective spreads are likely to                     increments are not a novel concept. As                   a trading center’s best displayed
                                                 decline such that costs of executing                    discussed above, $0.005 is a common                      quotations changes multiple times in a
                                                 small and medium trades will likely                     trading increment because of the use of                  single second, and decreased depth.196
                                                 decline.186 Further, Rule 612, as                       midpoint orders under current Rule 612,                  Each of these were articulated as
                                                 amended, while simplified compared to                   and the ability to use such orders will                  concerns by the Commission when Rule
                                                 the proposal, continues to be designed                  not change under amended Rule 612.                       612 was first adopted.197
                                                 to address constraint concerns with                     Nonetheless, the Commission                                 Some commenters stated that having
                                                 respect to those NMS stocks. Market                     understands that market participants                     ticks that are too small would result in
                                                 participants and investors will be able                 may decide to provide investor notice                    queue jumping 198 and decreased
                                                 to more easily adapt to the amended tick                and education about the availability of                  depth.199 In the Regulation NMS
                                                 regime because they will only need to                   the new increment.193                                    Adopting Release, the Commission
                                                                                                            Another commenter stated that the                     discussed concerns related to stepping
                                                 accommodate, and adjust for, one
                                                                                                         proposed variable minimum pricing                        ahead of displayed quotations with
                                                 additional minimum pricing increment                                                                             orders priced in economically
                                                 that is already familiar for a limited,                    189 See, e.g., letters from Joshua Russell dated      insignificant increments (i.e., to gain
                                                 readily discernable, group of NMS                       Dec. 27, 2022; Matthew Gayvin Mutman dated Mar.
                                                 stocks.187 The $0.005 minimum pricing                   7, 2023; Aswin Joy dated Mar. 7, 2023.                      194 See Letter from Matthew Gayvin Mutman
                                                                                                            190 See Letter from Joshua Russell dated Dec. 27,
                                                 increment for quotes and orders, one of                                                                          dated Mar. 7, 2023. The commenter suggested a
                                                                                                         2022. But see letter from Anonymous dated Apr. 1,        uniform $0.001 minimum pricing increment for all
                                                 the three additional ticks proposed by                  2023 (stating ‘‘[g]etting more precise increment         NMS stocks. Comments related to the level of
                                                 the Commission, was widely supported                    should be easy enough with our modern computers.         minimum pricing increment are addressed in the
                                                 by commenters.188 Price improvement                     At the gas station I get charged down to the .000th      next section.
                                                                                                         place, so why shouldn’t our markets work the
                                                 on exchanges and ATSs often occurs                      same? Seems fair to me.’’).
                                                                                                                                                                     195 See infra note 994 defining pennying. See also

                                                                                                                                                                  infra section VII.D.1 for additional discussion of
                                                 through midpoint executions in an                          191 Prior to decimalization, quotes and orders
                                                                                                                                                                  this topic.
                                                 increment of $0.005. Accordingly,                       were made in increments that were fractions of a            196 See, e.g., Form Letter Type G Nasdaq Letter I;
                                                                                                         dollar, including 1⁄8, 1/16 and 1/32, which resulted
                                                 $0.005 is an appropriate increment to                   in sub-penny pricing.
                                                                                                                                                                  MFA Letter; Letter from Douglas Friedman, General
                                                 introduce smaller, sub-penny minimum                       192 See supra section III.A.
                                                                                                                                                                  Counsel, Tradeweb Markets Inc., dated Mar. 30,
                                                                                                                                                                  2023 (‘‘Tradeweb Markets Letter’’); Virtu Letter II;
                                                 pricing increments in the national                         193 One commenter stated that to the extent the
                                                                                                                                                                  State Street Letter; RBC Letter; Invesco Letter; ICI
                                                 market system for quotes and orders                     minimum quoting increment is reduced, FINRA              Letter I; Cboe Letter II; SIFMA Letter II; Vanguard
                                                                                                         would need to update the Manning Rule (FINRA             Letter; JPMorgan Letter; Hudson River Letter; T.
                                                 priced equal to or greater than $1.00.                  rule 5320 which protects customer limit orders by        Rowe Price Letter at 4; Goldman Sachs Letter;
                                                                                                         requiring a minimum amount of price improvement          Fidelity Letter; Citadel Letter I; Robinhood Letter;
                                                   183 See, e.g., MEMX Letter, Pragma Letter; IEX        for a firm to execute an order on a proprietary basis    GTS Letter; BlackRock Letter; Citigroup Letter;
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                                                                                                         while holding an unexecuted customer limit               Fidelity Letter at 11; Themis Letter at 3; and
                                                 Letter I; and Nasdaq Letter I. See infra section
                                                                                                         order—the minimum amount of price improvement            Tastytrade Letter at 20.
                                                 VII.D.1.b.                                              is currently $0.01 for orders equal to or greater than
                                                   184 See supra section III.A.                                                                                      197 See Regulation NMS Adopting Release, supra
                                                                                                         $1) in an equivalent manner. See Citadel Letter I at
                                                   185 See infra section VII.D.1.b.ii.                   8. The compliance date of the adopted rule provides      note 4, at 37551.
                                                                                                                                                                     198 See, e.g., MFA Letter at 11, State Street Letter
                                                   186 See infra section VII.D.1.b.ii.                   sufficient time for FINRA to determine whether it
                                                                                                         would want to amend the Manning Rule in light of         at 3, and RBC Letter at 3.
                                                   187 See infra section VII.D.1.a.
                                                                                                         the amendments to Rule 612 and to file a proposed           199 See, e.g., Nasdaq Letter I at 13; MFA Letter at
                                                   188 See, e.g., MEMX Letter at 15–16. See also note
                                                                                                         rule change pursuant to section 19(b) of the             11, Virtu Letter II at 15, State Street Letter at 3, and
                                                 219 and accompanying text.                              Exchange Act and rule 19b–4 thereunder.                  RBC Letter at 3.



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                                                 execution priority) which can deter the                   ticks between the spread which will                        related to the $0.01 increment for
                                                 display of aggressively-priced limit                      lessen the potential price changes                         certain NMS stocks by only adding the
                                                 orders that would narrow the spread.200                   between the spread.                                        $0.005 minimum pricing increment and
                                                 In light of these comments, amended                          Other commenters stated that the                        not adding minimum pricing
                                                 Rule 612 has been simplified compared                     proposed minimum quoting increments                        increments of $0.002 and $0.001. The
                                                 to what was proposed. Thus, the                           of $0.002 and $0.001 were too small,207                    $0.005 minimum pricing increment for
                                                 Commission is only adding the $0.005                      would introduce too many intra-spread                      constrained NMS stocks will allow
                                                 minimum pricing increment for quotes                      ticks,208 and could harm trading by                        these stocks to quote more naturally and
                                                 and orders for those NMS stocks that                      substantially increasing fragmentation                     efficiently, and thereby reduce
                                                 have a TWAQS of $0.015 or less.                           of liquidity.209 The Commission also                       transaction costs for investors without
                                                 Because the $0.005 minimum pricing                        considered the impact of sub-penny                         the concerns that would attach if the
                                                 increment is based on the TWAQs of the                    quoting on market depth,210 i.e., the                      minimum pricing increments were
                                                 NMS stock, the $0.005 minimum                             number of shares available at the NBBO                     smaller.
                                                 pricing increment, relative to the                        when it originally adopted quoting
                                                 spread, will be economically significant                  increments.211 Decreased depth could                       3. Comments on the Number of
                                                 for these stocks.201                                      lead to increased transaction costs and                    Proposed Increments
                                                    Some commenters stated that smaller                    fragmentation.212 Adopting only one                          Some commenters supported
                                                 tick sizes would cause flickering                         additional minimum quoting increment                       reducing the minimum pricing
                                                 quotations.202 In the Regulation NMS                      instead of the proposed four-tier                          increment for quotes and orders to
                                                 Adopting Release, the Commission                          approach, should help address                              address those NMS stocks that are tick-
                                                 considered issues related to quote                        commenters’ concerns with respect to                       constrained, but overall did not support
                                                 flickering.203 The Commission stated                      fragmented liquidity 213 because there                     the proposal’s four minimum quoting
                                                 that quote flickering can result in                       will be fewer price levels at which                        increments.217 Many commenters stated
                                                 broker-dealers having difficulties in                     liquidity aggregates, which will result in                 that the proposed quoting increments
                                                 satisfying their best execution                           less fragmentation. The modified                           were too numerous.218 Instead, a
                                                 obligations and other regulatory                          amendment of Rule 612 does not                             number of commenters recommended
                                                 responsibilities.204 Because computer                     include the proposed smaller minimum                       that the Commission adopt a modified,
                                                 algorithms and ultra-fast connections                     pricing increments for quotes and orders                   simpler amendment to Rule 612 and
                                                 dominate today’s trading and quoting                      of $0.001 and $0.002, and thus                             suggested only adopting one additional
                                                 activities such concerns are not as acute                 commenters’ concerns related to those
                                                                                                                                                                      minimum quoting increment of $0.005
                                                 or prevalent as they were at the time of                  increments (e.g., decreased depth at the
                                                                                                                                                                      for tick-constrained NMS stocks.219 One
                                                 the adoption of Rule 612.205 Today’s                      NBBO) are not applicable.214 As
                                                                                                                                                                      commenter said that ‘‘reducing the tick
                                                 quotations are calculated and displayed                   discussed, the Commission has
                                                                                                                                                                      size to one-half cent for stocks with
                                                 in microseconds, which is significantly                   determined to take an incremental
                                                                                                                                                                      narrower spreads will address the
                                                 faster than in 2005 and while flickering                  approach in amending Rule 612 by only
                                                                                                                                                                      current market need.’’ 220 Commenters
                                                 quotations can exist today, computer                      adding a $0.005 minimum pricing
                                                                                                                                                                      opposed the proposed four minimum
                                                 systems are much better able to process                   increment for those NMS stocks that are
                                                                                                                                                                      quoting increments based on complexity
                                                 them such that they should not cause                      constrained by the preexisting, uniform
                                                                                                                                                                      for market participants to program into
                                                 compliance difficulties or investor                       minimum pricing increment based on
                                                                                                           an objective standard that is designed to                  their systems these increments,221
                                                 confusion.206 Accordingly, because of
                                                                                                           have fewer ticks between the spread                        potential increased costs for
                                                 technological advancements, today’s
                                                 market structure, compared to 2005, can                   than the proposal.215 As adopted, those
                                                                                                                                                                         217 See, e.g., SIFMA Letter II at 34; AIMA Letter
                                                 more readily handle rapid changes to a                    NMS stocks that are assigned the $0.005
                                                                                                                                                                      at 2; STA Letter at 6–7; Citadel Letter I at 30;
                                                 trading center’s best bid or offer.                       minimum pricing increment will result                      Citigroup Letter at 4; Dimensional Letter at 2;
                                                 Further, the concerns about the                           in three ticks intra-spread, which falls                   BlackRock Letter at 3; Public Pension Letters dated
                                                 potential for flickering quotes should be                 in the middle of the 2 to 4 ticks intra-                   Mar. 31, 2023; MMI Letter at 3; Brandes Letter at
                                                                                                           spread suggested as potentially optimal                    1; Schwab Letter II at 35–36; Invesco Letter at 3; B.
                                                 mitigated to some extent because the                                                                                 Riley Letter at 1; JPMorgan Letter at 4; Cambridge
                                                 amendments do not include the smaller                     by many commenters.216 Finally, the                        Letter at 6; and Tastytrade Letter at 18.
                                                 proposed increments (i.e., $0.001 and                     Commission addresses its primary                              218 See, e.g., MFA Letter at 12; Capital Group

                                                 $0.002) and are designed to have fewer                    concern of relieving the constraint                        Letter at 3; ICI Letter I ; Angel Letter at 6 ; Vanguard
                                                                                                                                                                      Letter at 5; and Meuser et al. Letter at 1.
                                                                                                              207 See, e.g., SIFMA Letter II at 33; Vanguard             219 See id. See also Nasdaq Letter I; MFA Letter;
                                                    200 See Regulation NMS Adopting Release, supra
                                                                                                           Letter at 5; Schwab Letter II at 35; Fidelity Letter       MEMX Letter; Capital Group Letter; ICI Letter I;
                                                 note 4, at 37551.
                                                    201 See infra section VII.D.1.b.ii and notes 1300–     at 11; JPMorgan Letter at 4; UBS Letter at 12;             Citadel Letter I; Citigroup Letter at 4; BlackRock
                                                                                                           Citigroup Letter at 4; and Harris Letter at 7.             Letter; Apex Letter; Ontario Teachers et al. Letter
                                                 1303 and accompanying text.                                                                                          at 2; Citigroup Letter; GTS Letter; ICI Letter I;
                                                                                                              208 See, e.g., Pragma Letter, Robinhood Letter at
                                                    202 See, e.g., MFA Letter at 11, State Street Letter
                                                                                                           40; IEX Letter I at 9; and Angel Letter at 6. The          Invesco Letter; Robinhood Letter; SIFMA Letter II;
                                                 at 3, RBC Letter at 3, and Invesco Letter at 3.                                                                      STA Letter; UBS Letter; Vanguard Letter;
                                                    203 See Regulation NMS Adopting Release, supra
                                                                                                           adopted $0.005 minimum pricing increment will
                                                                                                           provide for at least three ticks intra-spread. See         TradeStation Letter at 6; Cboe Letter; IEX Letter;
                                                 note 4, at 37551.                                         infra section VII.D.1.                                     Nasdaq Letter I; and NYSE Letter I; Brandes Letter
                                                    204 Id. at 37552.                                                                                                 at 2; Invesco Letter at 2; Fidelity Letter at 14;
                                                                                                              209 See, e.g., Interactive Brokers Letter at 4; Virtu
                                                    205 See MDI Adopting Release, supra note 10, for
                                                                                                           Letter II at 4; and Themis Letter at 3.                    Themis Letter at 6; B. Riley Letter at 1; JPMorgan
                                                 a discussion about market data latencies. Flickering         210 See infra section VII.D.1.b.                        Letter at 4; Morgan Stanley Letter at 4; State Street
                                                 quotations is more of a concern when there is quote                                                                  Letter at 3; Dimensional Letter at 2; BMO Capital
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                                                                                                              211 See Regulation NMS Adopting Release, supra
                                                 latency, in other words, when the displayed                                                                          Letter at 2; and Meuser et al. Letter at 1.
                                                                                                           note 4, at 37552.
                                                 quotations do not reflect the actual quotations. For         212 See Regulation NMS Adopting Release, supra
                                                                                                                                                                         220 See ASA Letter at 5. See also TradeStation

                                                 example, when the quote is being updated faster                                                                      Letter at 6.
                                                 than the quote can be displayed, the price discovery      note 4, at 37552.                                             221 See, e.g., CTA/UTP Letter dated March 29,
                                                                                                              213 See Citadel Letter I at 7. See also Virtu Letter
                                                 mechanism may not be benefitted.                                                                                     2023; Nasdaq Letter I; State Street Global Letter;
                                                    206 See Regulation NMS Adopting Release, supra         II at 2 and 6–7.                                           RBC Letter; ICI Letter I; Vanguard Letter; Cboe
                                                                                                              214 See infra section VII.D.1.b.i.
                                                 note 4, at 37553–37554 (discussing the concerns                                                                      Letter II; SIFMA Letter II; Fidelity Letter; Brandes
                                                                                                              215 See infra section III.C.6.
                                                 with flickering quotes when Rule 612 was adopted                                                                     Letter at 2; Robinhood Letter at 20; Morgan Stanley
                                                 and acknowledging that the market could evolve).             216 See infra note 1299 and accompanying text.          Letter at 4; and Meuser et al. Letter at 2.



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                                                 investors,222 and potential investor                      addresses the concerns raised by                      Commission analyzed data from that
                                                 confusion with respect to minimum                         commenters related to the proposed                    pilot program for purposes of the
                                                 pricing increments that could change                      $0.002 and $0.001 minimum pricing                     amendments.232 Another pilot program
                                                 periodically as proposed.223 Another                      increments. The adopted amendments                    is not necessary because the
                                                 commenter stated that the four-tier                       also address commenters’ concerns                     Commission and market participants
                                                 proposal would favor ‘‘high-frequency                     about complexity and potentially                      have demonstrated with data the issues
                                                 traders who have a long history of                        advantaging certain types of market                   related to tick constraints that have
                                                 leveraging complexity to their advantage                  participants by reducing the number of                increased since the preexisting rule was
                                                 and to the detriment of ordinary                          new increments and the universe of                    adopted.233 Further, the modified
                                                 investors.’’ 224 One commenter stated                     NMS stocks that may be eligible for a                 amendment will not introduce
                                                 that the proposed variable minimum                        smaller minimum pricing increment.                    increments that are ‘‘too granular’’ for
                                                 pricing increments ‘‘as small as $0.001                   The adopted $0.005 minimum pricing                    any NMS stock; only those NMS stocks
                                                 goes well beyond what is necessary, and                   increment for those NMS stocks that                   that have a TWAQS of $0.015 or less
                                                 would also be cost prohibitive and                        have a TWAQS of $0.015 will address                   will be assigned the new $0.005
                                                 complicated to implement.’’ 225 One                       the immediate concerns about the                      increment, or three ticks or fewer within
                                                 commenter questioned the impact of                        constraints that have developed in the                the spread. These NMS stocks are
                                                 smaller increments on Rule 611 of                         national market system as a result of                 constrained by the preexisting
                                                 Regulation NMS and recommended that                       preexisting Rule 612.                                 increment and the amendment will
                                                 if the Commission ‘‘proceed[ed] with                      4. Comments on Small- and Mid-Sized                   alleviate this regulatory constraint to
                                                 their sub-penny quoting proposal. . . .’’,                Stocks                                                allow competitive forces of supply and
                                                 it should consider amending Rule 611 to                                                                         demand to better establish bid and ask
                                                 include all displayed depth of book                          A few commenters stated that the                   prices.234
                                                 quotes.226                                                proposal to reduce minimum pricing
                                                                                                           increments did not consider the impact                5. Comments on Market Resiliency
                                                    After considering the comments and
                                                 analyzing data,227 the Commission is                      on small and mid-sized stocks.228 One                    A few commenters raised concerns
                                                 amending Rule 612 to only add one new                     commenter opposed the Regulation                      related to market resiliency risks.235 The
                                                 minimum pricing increment of $0.005                       NMS Proposal because of concerns that                 commenter stated that ‘‘[b]ecause the
                                                 for those NMS stocks that have a                          it did not ‘‘address the needs and                    Commission’s proposal would increase
                                                 TWAQS of $0.015 or less, rather than                      possible unintended consequences for                  the number of ticks inside the weighted
                                                                                                           small and mid-sized stocks’’ and that                 average spread for many stocks, we
                                                 also adopting the additional two $0.002
                                                                                                           the Commission should ‘‘not take any                  could expect a significant increase in
                                                 and $0.001 pricing increments as
                                                                                                           action until such time as a pilot has                 message traffic that would result from
                                                 proposed. The Commission’s basis for
                                                                                                           been launched and its effects studied                 the Commission’s proposal.’’ 236 The
                                                 the new minimum pricing increment of
                                                                                                           and verified by a committee of market                 commenter asked the Commission to
                                                 $0.005 is rooted by the current midpoint
                                                                                                           participants and academics.’’ 229                     consider the potential increased
                                                 increment when the NBBO is at its
                                                                                                           Another commenter stated that the                     message traffic that could result from
                                                 narrowest (or smallest) spread. The
                                                                                                           proposed tick sizes were ‘‘too granular’’             the proposed minimum pricing
                                                 midpoint increment of the current $0.01
                                                                                                           for small to mid-sized stocks and would               increments and stated that the proposal
                                                 minimum quoting spread is calculated
                                                                                                           result in fewer liquidity providers.230               would result in a significant increase in
                                                 as (NBB plus NBO) divided by 2, and                          The assignment of the smaller
                                                 when the spread is at its narrowest, the                                                                        message traffic.237 The commenter
                                                                                                           minimum pricing increment is not                      recommended the Commission take a
                                                 midpoint increment is equal to $0.005.                    based on market capitalization because
                                                 For example, if the NBB is 10.01 and the                                                                        measured and phased approach for
                                                                                                           the economics of being tick-constrained               reducing the minimum pricing
                                                 NBO is 10.02, the midpoint would be                       do not depend on market capitalization.
                                                 10.015 ((10.01 + 10.02)/2) = 10.015).                                                                           increment for quoting to apply the
                                                                                                           Rather, whether a stock is experiencing               minimum quoting increment initially to
                                                 Further, the new minimum quoting                          constraint depends on its spread. In
                                                 increment is at a price level familiar to                                                                       a limited number of stocks and
                                                                                                           other words, since a stock’s spread                   additional groups of stocks in
                                                 all market participants and is already                    relative to the tick size does not depend
                                                 programmed into many computer                                                                                   subsequent phases, with review of
                                                                                                           on whether it has a small or mid-sized                market resiliency during each phase.
                                                 systems. This modified approach                           market capitalization, such a stock                      The amendments modifying Rule 612
                                                   222 See, e.g., Dimensional Letter at 2.
                                                                                                           could still trade with a quoted spread                will result in less message traffic, fewer
                                                    223 See, e.g., Tastytrade Letter at 5, 18; SIFMA       constrained by $0.01 minimum pricing                  systems changes and lower costs related
                                                 Letter II at 7; Morgan Stanley Letter at 3, 4; Fidelity   increment. With respect to                            to updating ticks for NMS stocks
                                                 Letter at 13; SIFMA Letter II at 34; Better Markets       implementing a pilot program to assess                compared to the original proposal and
                                                 Letter I at 14; Robinhood Letter at 20; Citadel Letter    the needs and potential consequences of
                                                 I at 8; and STA Letter at 5.
                                                    224 See Better Markets Letter II at 4. See also
                                                                                                           the proposal for small and mid-sized                  available at https://www.sec.gov/dera/staff-papers/
                                                 Fidelity Letter at 12; Themis Letter at 6; Ontario        stocks, the Commission previously                     working-papers/dera_wp_tick-sizes-and-market-
                                                 Teacher et al. Letter at 2; and Harris Letter at 7.       conducted a tick size pilot program for               qualityrevisiting-tick-size-pilot.
                                                                                                                                                                    232 See infra section VII.D.1.
                                                    225 See TradeStation Letter at 6.                      small- and mid-sized stocks to assess                    233 See infra section VII.D.1.b.ii.
                                                    226 See Themis Letter at 5. As discussed, the
                                                                                                           the impact of wider minimum quoting                      234 See also infra section VII.D.1.b.i and VII.B.2
                                                 Commission is adopting a modified amendment to            and trading increments.231 The
                                                 Rule 612 to introduce only a $0.005 minimum                                                                     for additional discussion.
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                                                                                                                                                                    235 See, e.g., Letter from Howard Meyerson,
                                                 pricing increment for certain NMS stocks, not the
                                                                                                             228 See BIO Letter at 1–2, 3 and STA Letter at 5.
                                                 smaller proposed increments of $0.002 and $0.001.                                                               Managing Director, Financial Information Forum,
                                                                                                             229 See BIO Letter at 1–2, 3.                       dated Mar. 31, 2023 (‘‘FIF Letter’’) at 6; and
                                                 Therefore, the commenter’s recommendation is no
                                                 longer germane because without the proposed                 230 See STA Letter at 5.                            Goldman Sachs Letter at 8.
                                                 smaller $0.002 and $0.001 increments, the liquidity         231 See Proposing Release, supra note 11, at           236 See FIF Letter at 7.

                                                 would not be as dispersed throughout the depth of         80272–73 for a discussion of the tick size pilot         237 See FIF Letter at 7. See also Robinhood Letter
                                                 the book which would not necessitate protection of        program. See also Tick Sizes and Market Quality:      at 41; Morgan Stanley Letter at 3; UBS Letter at 12;
                                                 the full depth of the book.                               Revisiting the Tick Size Pilot by Yashar H.           Citigroup Letter at 4; TradeStation Letter at 7; and
                                                    227 See infra section VII.D.1.                         Barardehi, Peter Dixon, Qiyu Liu, and Ariel Lohr,     Goldman Sachs Letter at 9.



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                                                 therefore there should pose less of a                   commenter recommended that the                           hand, another commenter stated that a
                                                 concern related to market resiliency.                   Commission estimate the potential                        larger number of ticks across a large
                                                 The modified amendment adopts a                         increase in message traffic, provide                     number of stocks would lead to
                                                 single sub-penny increment that                         those estimates to CAT LLC, obtain                       increased message traffic, which would,
                                                 impacts a smaller universe of NMS                       estimates from the CAT LLC of the                        in turn, increase data and infrastructure
                                                 stocks compared to the proposal, which                  increased CAT costs that would result                    costs and market latency.247 One
                                                 included three sub-penny increments                     from this increased message traffic, and                 commenter added that increased
                                                 that would have impacted more NMS                       factor the estimated costs into the cost                 message traffic would lead to increased
                                                 stocks. The need for a phased approach                  benefit analysis of the proposed                         latency, which would harm market
                                                 is significantly reduced because fewer                  minimum pricing increments changes.                      participants by disrupting trading
                                                 NMS stocks will be impacted by the one                  Another commenter also stated that the                   strategies and impairing market
                                                 additional minimum quoting increment,                   Commission failed to consider whether                    functionality and liquidity.248 As stated
                                                 and there will be fewer ticks between                   the increase in message traffic will                     above, the adopted amendment to Rule
                                                 the spread.                                             increase the CAT operating budget.242                    612 is significantly less complex than
                                                    The commenter stated that the                        The Commission estimates the impact of                   the proposal and will not result in the
                                                 potential costs to industry members                     the adopted amendments on message                        larger number of ticks across a large
                                                 from increased message traffic would                    traffic, and thus on the CAT operating                   number of stocks as the commenter
                                                 include purchasing additional computer                  budget in section VII.D.1.c. As                          suggested. The proposal’s four
                                                 hardware such as servers and that the                   discussed further below, the                             minimum tick increment has been
                                                 costs would also apply to production,                   Commission estimates the increase in                     simplified to one additional new tick at
                                                 backup, test, and development                           CAT costs associated with adopting the                   $0.005, and the proposal’s reduction of
                                                 environments.238 The commenter stated                   additional minimum pricing increment                     minimum pricing increments for NMS
                                                 that the actual costs would be multiples                to be approximately $4.1 million per                     stocks that had a TWAQS of $0.04 or
                                                 of the estimated costs from the proposal.               year.243 The Commission does not                         less has been reduced to those NMS
                                                 However, the adopted amendment to                       believe it is appropriate to delay action                stocks that have a TWAQS equal to or
                                                 Rule 612 will result in less message                    on Rule 612 to have CAT LLC engage in                    less than $0.015, which results in fewer
                                                 traffic than the proposal because it has                its own analysis of the potential costs.                 expected NMS stocks being assigned a
                                                 fewer quoting increments.                                  Commenters raised the issue of                        smaller minimum pricing increment.249
                                                 Consequently, the modified                              increased market data volume on                          These adopted changes may result in
                                                 amendments that are being adopted will                  competing consolidators, which are not                   significantly less message traffic than
                                                 reduce computer hardware and                            yet in operation.244 Likewise, the                       under the commenter’s assumption on
                                                 developmental costs for the industry                    possible costs to potential competing                    the proposal. While message traffic may
                                                 compared to the proposal. In the                        consolidators will be reduced vis-à-vis                 increase over today’s message traffic,
                                                 Proposing Release, the Commission                       the proposal. The Commission                             any increase in message traffic will be
                                                 considered the message traffic of the                   recognizes that while the costs may be                   significantly less than in the options
                                                 options markets, and the systems for the                lower than the proposed rule, the                        market, and the options market
                                                 options markets that handle many times                  adopted rule could nevertheless create                   participants have over the years
                                                 more messages compared to (1) the                       increased message traffic than the                       adjusted to increasingly higher message
                                                 current NMS stock market or (2) the                     preexisting rule. It follows that more                   traffic.250
                                                 estimated additional message traffic                    message traffic could lead to more
                                                                                                         possible costs for competing                             6. Comments on Proposed Criteria for
                                                 from the adopted amendments.239 One                                                                              Assigning Minimum Pricing Increments
                                                 commenter submitted data that                           consolidators. However, this new
                                                 supported this conclusion.240                           message traffic should still be within the                  The Commission proposed to measure
                                                    The commenter also raised concerns                   operational capacity of the existing                     the TWAQS when determining the
                                                 that increased quote message traffic                    computer systems.245                                     appropriate minimum pricing increment
                                                 could significantly increase the costs of                  One commenter stated that even with                   for NMS stocks and proposed four
                                                 the operation of the CAT system.241 The                 the largest potential increases in                       ranges of the TWAQS to determine the
                                                                                                         messages, equity messaging traffic                       corresponding minimum pricing
                                                    238 See FIF Letter at 9. See also Citigroup Letter   would remain well below that of the                      increments. The four proposed TWAQS
                                                 at 2. See infra section VII.D.5.a.                      options market and that ‘‘the increase in                ranges were: (1) equal to or less than
                                                    239 See Proposing Release, supra note 11, at         messaging activity from adopting finer
                                                 80279, notes 196 and 197 (stating that in the second    tick increments is now well within the                     247 See MFA Letter at 11.
                                                 quarter of 2011, the average peak message per           industry’s capability.’’ 246 On the other                   248 See Tradeweb Letter at 2–3 (‘‘Even trading
                                                 second for Tapes A and B reported by the CTA/CQ                                                                  platforms with the most advanced technological
                                                 Plan was 1,015,000 and for Tape C reported by the                                                                infrastructure will need to expend considerable
                                                                                                            242 See Citadel Letter II at 5. The commenter
                                                 UTP Plan was 408,300 versus 36.4 million reported                                                                amounts of time and resources to prepare the
                                                 by the Options Price Reporting Authority                added that increased message traffic increases costs     accommodate increased message traffic, since any
                                                 (‘‘OPRA’’)). See also section VII.E.1.                  for all market participants, including higher fees       increase in latency (even at the millisecond level)
                                                    240 See NYSE Letter I at 11–13.                      charged by CAT and the exclusive SIPs. See also          would disrupt trading strategies, impair market
                                                    241 See FIF Letter at 10 (‘‘FIF members are          Citadel Letter I at 9 and Virtu Letter II at 6–7.        functionality and liquidity, and, ultimately, harm
                                                                                                            243 See infra section VII.D.1.c.
                                                 concerned that increased message traffic could                                                                   market participants.’’); see also Virtu Letter II at 6
                                                                                                            244 See, e.g., Citadel Letter II at 9 (‘‘A material
                                                 significantly increase the costs for the operation of                                                            (‘‘This increase in message traffic. . . will
                                                 the CAT system as increased quote volumes               increase in total message traffic increases costs for    significantly add to the overall content of market
                                                 (including increased frequency of quote updates)        all market participants, including due to the            data.’’). See also NYSE Letter I at 6 and Nasdaq
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                                                 would increase the number of CAT-reportable             resulting higher fees charged by industry utilities,     Letter I at 9 (‘‘Securities with too many ticks not
                                                 events. 100% of these increased CAT costs would         such as the [CAT] and the [SIP]’’) and Virtu Letter      only have wider spreads, but they also have more
                                                 be charged to broker-dealers and exchanges. The         II at 6–7 (‘‘The Commission has failed to analyze        odd lots, and more message traffic, leading to a
                                                 operating expenses for CAT were $84.5 million for       the impact of the significantly increased volume of      more fragile NBBO.’’).
                                                 2020 and $146.5 million for 2021. CAT LLC, the          market data on competing consolidators.’’).                 249 See infra section VII.D.1.a.
                                                                                                            245 See infra section VII.D.1.
                                                 operator of the CAT system, has estimated the total                                                                 250 See Options Clearing Corporation Daily

                                                 expenditures for CAT for 2022 at $178.9 million.           246 See NYSE Letter II at 11 (stating that OPRA       Volume report, available at https://
                                                 These costs are in excess of the costs that were        handles many times more messages than the equity         www.theocc.com/Market-Data/Market-Data-
                                                 contemplated in the CAT NMS Plan.’’).                   markets).                                                Reports/Volume-and-Open-Interest/Daily-Volume.



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                                                       USCA Case #24-1319                             Document #2078748                                 Filed: 10/08/2024                     Page 23 of 159
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                                                 $0.008; (2) greater than $0.008 but less                    necessarily experiencing constraint with                  which is consistent with the results of
                                                 than or equal to $0.016; (3) greater than                   the $0.01 minimum pricing increment.                      the Commission’s analysis.262
                                                 $0.016 but less than or equal to $0.04;                        Some commenters stated that the                           Some commenters agreed that the
                                                 and (4) greater than $0.04. Preliminarily,                  TWAQS of $0.011 should be used for                        TWAQS was the appropriate measure
                                                 the Commission believed that NMS                            identifying NMS stocks that are                           for determining the relevant minimum
                                                 stocks with a TWAQS of $0.04 or less                        experiencing tick constraint.254                          pricing increment.263 Several
                                                 would have benefited from smaller                           However, one commenter recommended                        commenters stated that as many stocks
                                                 minimum pricing increments. After                           that NMS stocks that ‘‘could easily                       as possible should be identified as
                                                 considering the comments, the                               become tick-constrained’’ should have                     eligible for a smaller tick size.264 Other
                                                 Commission is retaining TWAQS as the                        their minimum pricing increment                           commenters suggested that a multi-
                                                 measure to determine when an NMS                            reduced.255 Other commenters offered                      factor approach be taken in evaluating
                                                 stock will be assigned smaller minimum                      other recommendations as to the                           whether to reduce the minimum pricing
                                                 pricing increment but has modified the                      TWAQS threshold for reducing                              increment for certain NMS stocks.265
                                                 threshold to be equal to or less than                       minimum pricing increments, including                     Commenters suggested that such factors
                                                 $0.015.                                                     a TWAQS threshold of $0.02 or less,256                    include average quoted size,266 ratio of
                                                                                                             a TWAQS threshold of $0.016 or less,257
                                                   Many commenters stated that tick-                                                                                      262 See, e.g., Nasdaq Letter I at 8, 18; Pragma
                                                                                                             and a TWAQS threshold of 0.015 or
                                                 constrained stocks would benefit from                                                                                 Letter at 1; RBC Letter at 3; CCMR Letter at 23;
                                                                                                             less.258                                                  Letter from Eric Swanson, Chief Executive Officer,
                                                 smaller minimum pricing
                                                                                                                As discussed further below, the                        XTX Markets LLC, dated Mar. 30, 2023 (‘‘XTX
                                                 increments.251 Commenters, however,                                                                                   Letter’’) at 4; MMI Letter at 5; and Harris Letter at
                                                                                                             Commission is adopting the TWAQS
                                                 raised concerns about reducing the                                                                                    7. See also infra notes 1293–1299 and
                                                                                                             threshold of $0.015 or less in order to
                                                 minimum pricing increment for NMS                                                                                     accompanying text.
                                                                                                             identify NMS stocks that will be eligible                    263 See, e.g., IEX Letter I at 7 (‘‘[w]e agree that
                                                 stocks that were not experiencing tick
                                                                                                             for the $0.005 minimum pricing                            TWAQS is a reasonable and appropriate measure to
                                                 constraint with the $0.01 minimum
                                                                                                             increment.259 This amendment will                         define which securities should be subject to a
                                                 pricing increment.252 One commenter                                                                                   narrower tick size.’’); MEMX Letter; and BMO
                                                                                                             generally result in these NMS stocks
                                                 stated that ‘‘a reduction in tick sizes for                                                                           Capital Letter.
                                                                                                             having a bid-ask spread with one to                          264 See, e.g., Form Letter Type K, of which 22
                                                 those stocks that are merely near-tick-
                                                                                                             three ticks, which will improve market                    comments were received, available at https://
                                                 constrained will not result in
                                                                                                             quality.260 Data analysis supports that                   www.sec.gov/comments/s7-30-22/s73022.htm;
                                                 meaningful price-improvements and                                                                                     Anonymous Letter dated Mar. 6, 2023; letter from
                                                                                                             liquidity and market quality will
                                                 will not be worth the increased risk of                                                                               Victor Piousbox dated Mar. 6, 2023; letter from
                                                                                                             improve if NMS stocks with a TWAQS                        Jimit Raithatha dated Mar. 7, 2023; letter from
                                                 diminished liquidity to bids and offers
                                                                                                             of $0.015 or less are assigned to the                     Munib Mian dated Mar. 7, 2023; letter from Peter
                                                 being spread too thinly across too many                                                                               Unum dated Mar. 19, 2023; letter from Anonymous
                                                                                                             $0.005 minimum pricing increment.261
                                                 price points.’’ 253 As adopted, the new                                                                               dated Mar. 22, 2023; and letters from Chris and
                                                                                                             Commenters provided analysis and                          Donna Graves, dated Mar. 26, 2023; Spencer
                                                 $0.005 minimum pricing increment will
                                                                                                             cited studies that suggest that 2 to 4                    Neukam dated Mar. 26, 2023; Samuel Cressy dated
                                                 be assigned to those NMS stocks that
                                                                                                             ticks intra-spread is optimal for trading,                Mar. 24, 2023; and Zaf Khan dated Mar. 24, 2023.
                                                 have a TWAQS of $0.015 or less. These                                                                                    265 See, e.g., Cboe Letter II at 3 (‘‘The most critical

                                                 NMS stocks are experiencing constraint                         254 See, e.g., NYSE Letter I; Vanguard Letter; Cboe
                                                                                                                                                                       step in any tick-size regime reform is first
                                                 with the $0.01 minimum pricing                                                                                        establishing an objective methodology designed to
                                                                                                             Letter I; and Schwab Letter II at 35–36. But see also     address truly tick-constrained securities. In this
                                                 increment and will benefit from being                       Invesco Letter at 3 (stating that $0.011 was overly       regard, we recommend using a multi-factor
                                                 able to be quoted in the smaller                            broad and would result in unnecessary tick                methodology, such as Cboe’s Tick Size Reduction
                                                 increment. As adopted, the Commission                       reductions for stocks that are not tick-constrained.).    Framework.’’); Themis Letter at 7 (supporting
                                                                                                                255 See, e.g., IEX Letter I at 7 (‘‘IEX agrees with    Cboe’s methodology); Cboe, State Street, et al.
                                                 has modified the amendment so as not
                                                                                                             the premise that tick sizes should be reduced for         Letter; Optiver Letter (discussing the European
                                                 to assign the smaller $0.005 increment                      stocks that are currently ‘‘tick-constrained’’ or could   Union’s tick regime as considering stock price and
                                                 to those NMS stocks that are not                            easily become tick-constrained because of the             liquidity); NYSE Letter I; ICI Letter II at 11 (stating
                                                                                                             current one-cent limitation.’’).                          that applying other factors would lessen concerns
                                                    251 See, e.g., Pragma Letter at 6 (‘‘tick-constrained
                                                                                                                256 See IEX Letter I at 7, 13 (‘‘We believe that       about an overbroad tick reduction and mitigate
                                                                                                             reducing the tick size and applying it to all             concerns about an adverse market outcome);
                                                 stocks will benefit from smaller tick sizes with
                                                                                                             securities with a TWAQS up to two cents will              BlackRock Letter at 5 (stating that quoted spread is
                                                 narrower spreads.’’); MEMX Letter; NYSE, Schwab,
                                                                                                             substantially improve the efficiency of displayed         one-dimensional and does not provide sufficient
                                                 and Citadel Letter; IEX Letter I at 7; Nasdaq Letter
                                                                                                             trading . . .’’).                                         context for determining the optimal tick size);
                                                 I at 2 (‘‘Nasdaq supports adjusting the minimum                                                                       Citigroup Letter (recommending a new $0.005
                                                                                                                257 See BMO Capital Letter at 2 and Form Letter
                                                 pricing increment (‘‘tick size’’) to better reflect the                                                               quoting increment for the most liquid tick-
                                                 trading dynamics of Regulation National Market              Type H, of which 853 comments were received,
                                                                                                             available at https://www.sec.gov/comments/s7-30-          constrained stocks); T. Rowe Price Letter (stating
                                                 System (‘‘Reg. NMS’’) securities.’’); Brandes Letter                                                                  that a multi-factor approach would allow the
                                                 at 2; Schwab Letter II at 35; and Robinhood Letter          22/s73022.htm.
                                                                                                                258 See Pragma Letter at 6 (‘‘While perhaps not        Commission to measure whether a tick size is
                                                 at 46.                                                                                                                properly calibrated); STA Letter at 6
                                                    252 See, e.g., IEX Letter I; Pragma Letter; Invesco      conclusive, the lines of evidence from our analysis
                                                                                                                                                                       (recommending that the Commission use a
                                                 Letter; ICI Letter II at 14 (stating that the               also suggest that the Proposal’s range of 4 to 8 ticks
                                                                                                                                                                       multifactor approach); Virtu Letter II at 6 (stating
                                                 Commission should not apply sub-penny                       is too many and will force wider spreads and higher
                                                                                                                                                                       ‘‘one must consider many factors, not just quoted
                                                 increments to stocks that are not tick-constrained);        trading costs on the market than necessary. This
                                                                                                                                                                       spread’’ and describing methods proposed by Cboe
                                                 ASA Letter (‘‘we strongly oppose the application of         leads to our primary recommendation: stocks               and Nasdaq); NYSE, Schwab, and Citadel Letter at
                                                 a one-half cent tick size to any stock outside of the       should be moved to a smaller tick size only when          1 (‘‘We define ‘tick-constrained’ to mean symbols
                                                 most liquid (narrower spread) stocks.’’); Nasdaq            their average spread is less than 1⁄5 in the preceding    that have an average quoted spread of 1.1 cents or
                                                 Letter I at 14 (‘‘We propose that securities fall into      month; and moved to a larger tick size only when          less and a reasonable amount of available liquidity
                                                 this new $0.005 tick bucket only if they are tick-          their spread is greater than 4 ticks in the preceding     at the NBBO.’’); and Cambridge Letter at 6 (stating
                                                 constrained.’’); and Cboe Letter II.                        month.’’).                                                that securities should have an average quoted
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                                                                                                                259 See infra section VII.D.1.b for more discussion
                                                    253 See Invesco Letter at 3. See also e.g., ICI Letter                                                             spread of 1.1 cents and be ‘‘reasonably liquid’’). See
                                                 II (stating that there is no market failure or harm         on TWAQS.                                                 also SIFMA Letter II at 36 (‘‘SIFMA believes that
                                                                                                                260 See infra note 1303 and accompanying text.
                                                 identified for stocks that are not tick-constrained.)                                                                 a more robust analysis is necessary to evaluate the
                                                 and Brandes Letter at 2 (favoring a reduction to            See also Nasdaq Letter I at 18 (stating that ‘‘quoting    most appropriate tick sizes for purposes of
                                                 $0.005 for those stocks that are experiencing               outside of the optimal 2–3 tick spreads leads to          achieving the best balance between available
                                                 constraint with the $0.01 increment and stating that        queues for tick-constrained securities and slower         liquidity at the inside quotation versus narrower
                                                 the proposed reduction in a minimum pricing                 price formation for securities with overly-wide           spreads.’’).
                                                 increment for stocks that had a TWAQS of $0.04 or           spreads.’’).                                                 266 See, e.g., BlackRock Letter at 6 (‘‘ . . . if

                                                 less was too broad).                                           261 See infra section VII.D.1.b.                       material size was present at the National best Bid



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                                                 average quoted size to average traded                      constrained by the minimum tick                        proprietary data. Supplementing
                                                 size,267 daily traded volume,268 queue                     size.’’ 276 Another commenter suggested                TWAQS with quoted size, turnover
                                                 length,269 quotes on multiple                              that in addition to a TWAQS of $0.011,                 calculations, quote stability, and the
                                                 exchanges,270 or stock price.271 One                       there should be ‘‘balance or near                      other recommend criteria would
                                                 commenter recommended the inclusion                        equilibrium of multiple bids and offers                similarly add additional complexity and
                                                 of factors such as large quoted displayed                  at the top of the central order book’’ as              responsibilities to the primary listing
                                                 size and a relatively high level of                        this would ‘‘imply that market forces of               exchanges assigned to calculating
                                                 liquidity based on average daily trading                   supply and demand would naturally                      TWAQS.283 The additional criteria
                                                 volume.272                                                 force the bid/ask spread tighter through               suggested by commenters are
                                                    One commenter suggested that in                         market competition.’’ 277 One                          unnecessary because TWAQS is a
                                                 addition to the TWAQS, ‘‘quote                             commenter that recommended a multi-                    sufficient, comprehensive and objective
                                                 stability’’ should be measured.273                         factor approach to identify NMS stocks                 way to determine whether NMS stocks
                                                 According to the commenter, quote                          suggested that in addition to average                  are experiencing issues of constraint
                                                 stability would be measured by looking                     quoted spread, a high quoted size to                   related to the $0.01 minimum pricing
                                                 at a change in a stock’s quote after                       traded size ratio and a high average                   increment for quotes and orders.284
                                                 execution; if the quote widens after an                    daily notional turnover should be                      Specifically, the Commission concluded
                                                 execution, ‘‘the quoted liquidity may                      examined when identifying NMS stocks                   that harm is unlikely to result if the
                                                 not be sufficient for the liquidity                        that are tick-constrained.278 According                other data factors suggested by
                                                 demanded, suggesting that the quote                        to the commenter, a high quoted size to                commenters (e.g., price, volume, or
                                                 increment is not actually constraining                     traded size ratio is ‘‘an objective signal             depth-based criteria) are not
                                                 quoting activity.’’ 274 Another                            that shows even though there is an                     included.285 Accordingly, the
                                                 commenter suggested that the                               abundance of liquidity, the current                    Commission is not adopting factors
                                                 Commission consider using ‘‘spread                         $0.01 tick constraint disincentivizes                  other than the TWAQS to measure
                                                 leeway,’’ which the commenter defined                      investors to cross the spread due to high              which NMS stocks would be assigned a
                                                 as equal to the average quoted spread                      costs, resulting in a lack of trade                    minimum pricing increment of $0.005.
                                                 divided by the minimum tick size.275                       executions.’’ 279 Further, the commenter                  One commenter suggested that issuers
                                                 The commenter stated that spread                           stated that a high average daily notional              should be able to select the minimum
                                                 leeway could ‘‘effectively quantify the                    turnover is ‘‘an objective signal because              pricing increment for the quotes and
                                                 extent to which bid-ask spreads are                        it focuses the tick reduction effort on                orders of their stock.286 The
                                                                                                            high turnover securities that would                    Commission disagrees. Rule 612 is an
                                                 and Offer (‘NBBO’) or a significant proportion of          benefit from the ability to be traded in               important rule under Regulation NMS
                                                 executions were occurring at sub-penny prices, this        finer increments.’’ 280 Other commenters               and serves to link the markets within
                                                 would be a clear indication of fierce order book
                                                 competition and interest to tighten the spread and         supported this approach.281                            the national market system by
                                                 trade in smaller increments.’’); T. Rowe Price Letter;        After analyzing data to determine                   establishing uniform minimum pricing
                                                 and Citadel Letter I.                                      whether the suggested additional factors               increments for all NMS stocks. This
                                                    267 See, e.g., Cboe Letter II at 3 (‘‘we started with
                                                                                                            would be helpful in eliminating NMS                    important linkage function would be
                                                 the complete universe of NMS securities, and                                                                      undermined by allowing increments to
                                                 applied three constraints—quoted spread, quoted-
                                                                                                            stocks that could be harmed by a
                                                 size-to-trade-size ratio, and notional turnover            smaller minimum pricing increment,282                  be individually assigned to each NMS
                                                 ratio—to arrive at a group of securities that are          the Commission has concluded that                      stock in a non-uniform manner. Rule
                                                 quantifiably tick-constrained.’’) and BlackRock            TWAQS is the appropriate measure to                    612, as originally adopted and as
                                                 Letter.                                                                                                           amended, standardizes minimum
                                                    268 See, e.g., BlackRock Letter at 5 (‘‘BlackRock
                                                                                                            determine whether an NMS stock
                                                 recommends that in addition to the time weighted           should be eligible for a smaller                       pricing increments based on transparent
                                                 quoted spread, the Commission should incorporate           minimum pricing increment.                             and objective criteria in order to ensure
                                                 other factors for designating tick sizes, such as the      Specifically, TWAQS provides a                         that minimum pricing increments are
                                                 average quoted size, ratio of average quoted size to                                                              applied uniformly. Introducing issuer
                                                 average traded size, daily traded volume, or stock
                                                                                                            transparent and objective basis to
                                                 price.’’); Optiver Letter; T. Rowe Price Letter; and       determine whether the $0.01 minimum                    choice would eliminate such
                                                 Citadel Letter I.                                          pricing increment results in a quoted                  standardization and enable individual
                                                    269 See, e.g., T. Rowe Price Letter at 4 (‘‘Other
                                                                                                            spread that is too wide for a particular               issuers to choose different minimum
                                                 factors that could be considered include queue             NMS stock. Other possible factors, such                pricing increments based on their
                                                 length and quoted size at the top of the order book,                                                              specific, unique individual preferences
                                                 turnover, and whether the stock is quoted on               as average quoted size, ratio of average
                                                 multiple exchanges.’’) and Citadel Letter I.               quoted size to average trade size, the                 which would likely result in random
                                                    270 See, e.g., T. Rowe Price Letter at 4.               average daily traded volume, queue                     and inconsistent application of
                                                    271 See, e.g., BlackRock Letter at 5 and Optiver
                                                                                                            length, quotes on multiple exchanges or                increments across NMS stocks that
                                                 Letter (‘‘[w]e recommend that the Commission               stock price, would add unwarranted and                 otherwise share several relevant trading
                                                 undertake further analysis of the optimal level of                                                                characteristics. Minimum pricing
                                                 tick granularity, leveraging price and volume to           additional complexity that would be
                                                 define appropriate tick sizes.’’).                         difficult and costly for market                        increment for quotes and orders of NMS
                                                    272 See ICI Letter I at 11. See also Cambridge          participants to monitor because some of                stocks priced greater than, or equal to,
                                                 Letter at (stating that minimum pricing increments         these measures require the purchase of                 $1.00 per share based on unpredictable,
                                                 should be reduced for those stocks that have a                                                                    opaque, non-standard criteria of
                                                 TWAQS of $0.011 or less and ‘‘are reasonably                 276 Id. at 5.                                        individual issuers would result in
                                                 liquid.’’) and Citigroup Letter at 4.
                                                    273 See, e.g., NYSE Letter I at 3. See also B. Riley
                                                                                                              277 See Invesco Letter at 3.                         unnecessary complication, such as
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                                                 Letter.
                                                                                                              278 See Cboe Letter I and Cboe Letter II at 3. See   varied minimum quoting increments
                                                    274 Id.                                                 also Cboe, State Street, et al. Letter; State Street
                                                    275 See MMI Letter (stating that spread leeway. . .     Letter at 3.                                              283 See Proposing Release, supra note 11, at
                                                                                                              279 See Cboe Letter I at 2.
                                                 ‘‘quantifies the extent to which bid-ask spreads are                                                              80274.
                                                                                                              280 Id.                                                 284 See infra section VII.D.1.b.iii.
                                                 constrained by the minimum tick size . . . is equal
                                                                                                              281 See, e.g., SIFMA Letter II at 40; Tastytrade        285 See infra section VII.D.1.b.iii.
                                                 to the average quoted spread divided by the
                                                 minimum tick size. Prior studies have suggested a          Letter at 18; and Themis Letter at 4.                     286 See Angel Letter at 5. But see Harris Letter at

                                                 spread leeway of 3–9 as optimal for tick sizes to be         282 See infra section VII.D.1.b.iii. for further     8 (opposing suggestions that issuers should choose
                                                 neither too small, nor too large.’’).                      discussions of alternative criteria.                   ticks).



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                                                 and investor confusion, to the national                    Several commenters stated that one                     stated ‘‘[w]e would expect more
                                                 market system. Further, market                          month was too short a period for                          frequent smaller updates to reduce how
                                                 participants would likely incur                         measuring and calculating TWAQS.289                       often and how long a stock’s tick stays
                                                 additional costs related to, for example,               One commenter stated that an analysis                     outside the optimal range.’’ 298 Another
                                                 the monitoring and tracking of the                      of one month’s data ‘‘has the potential                   commenter, however, suggested that the
                                                 minimum pricing increments for                          to disproportionally weigh systemic and                   Commission align tick adjustments with
                                                 issuers.                                                idiosyncratic events (including                           other elements in the proposal.
                                                                                                         corporate actions) resulting in                           Specifically, this commenter
                                                 7. Rule 612(a)—Definitions                              unrepresentative tick sizes.’’ 290 Another                recommended that ‘‘the Commission
                                                    As adopted, amended Rule 612(a)                      commenter stated that ‘‘longer                            reduce the frequency of changes and
                                                 contains two definitions for purposes of                evaluation periods will reduce the risk                   synchronize the intervals for revising
                                                 the rule—‘‘Evaluation Period’’ and                      that short-term aberrations will have an                  market structure parameters by updating
                                                 ‘‘Time Weighted Average Quoted                          outsized impact on market structure.                      both round lots and tick sizes on a
                                                 Spread.’’ The primary listing exchanges                 Using too short of an evaluation period,                  quarterly or semi-annual basis.’’ 299
                                                 will use these definitions in identifying               especially during periods of heightened                   Another commenter suggested an
                                                 the required minimum pricing                            volatility, could lead to                                 annual consideration as a means to
                                                 increments for NMS stocks.                              unrepresentative price variations that                    reduce burdens on market participants
                                                                                                         ultimately result in illogical minimum                    and reduce operational risks.300
                                                 a. Evaluation Period                                    price increments.’’ 291 A few                                After considering the comments on
                                                    The Commission proposed to define                    commenters recommended providing a                        the length of the Evaluation Period, the
                                                 ‘‘Evaluation Period’’ as the last month of              longer period for conducting data                         amended rule will require that the
                                                 a calendar quarter (March in the first                  analysis. Specifically, one commenter                     TWAQS be measured over a longer
                                                 quarter, June in the second quarter,                    suggested that the time frame be                          period of time than proposed, i.e., using
                                                 September in the third quarter and                      ‘‘coterminous with the time between                       three months’ worth of trading data
                                                 December in the fourth quarter) of a                    tick size changes. In other words, if tick                instead of one month, and minimum
                                                 calendar year during which the primary                  sizes are adjusted every quarter, then                    pricing increments will be assigned on
                                                 listing exchange shall measure the                      the evaluation period should be every                     a less frequent basis, i.e., every six
                                                 TWAQS of an NMS stock that is priced                    quarter . . .’’ 292 Another commenter                     months instead of every three months.
                                                 equal to, or greater than, $1.00 to                     suggested that the Evaluation Period                      The Commission conducted analysis to
                                                 determine the minimum pricing                           should be at least one quarter.293                        evaluate the length of the data analysis
                                                 increment to be in effect for the next                  Another commenter recommended that                        for the TWAQS and the length of time
                                                 calendar quarter, as set forth by                       the Evaluation Period be performed on                     between minimum pricing increment
                                                 proposed paragraph (c). In other words,                 an annual basis so as to reduce costs                     assignments.301 This revised definition
                                                 the minimum pricing increment for                       and operational risks that may be                         balances the concerns raised by
                                                 quotes and orders would have been                       created by needing to update relevant                     commenters that a TWAQS measured
                                                 evaluated every quarter based on one                    systems.294 Finally, one commenter                        over too short a time frame could
                                                 month’s worth of data and could have                    suggested that the evaluation of NMS                      potentially be skewed by high volatility
                                                 potentially changed once every quarter.                 stocks be conducted on a semi-annual                      or unique events, such as corporate
                                                    After considering the comments, the                  basis, based on six-months of data, to                    actions,302 but that a TWAQs measured
                                                 Commission is adopting a revised                        reduce variability and complexity.295                     over too long of a time period would
                                                 definition of Evaluation Period. Rule                      A few commenters provided                              increase the probability of assigning a
                                                 612(a)(1) defines Evaluation Period as (i)              suggestions as to the length of time                      stale minimum pricing increment for
                                                 the three months from January through                   between tick adjustments.296 One                          quotes and orders that does not reflect
                                                 March of a calendar year and (ii) the                   commenter stated that ticks should be                     the prevailing trading characteristics.
                                                                                                         adjusted on a monthly basis rather than                   Further, an annual evaluation would
                                                 three months from July through
                                                                                                         a quarterly basis.297 The commenter                       potentially cause some NMS stocks to
                                                 September of a calendar year during
                                                 which the TWAQS of an NMS stock                                                                                   remain in a sub-optimal minimum
                                                                                                         note 305 and accompanying text. See also Harris           pricing increment for too long, while a
                                                 shall be measured by the primary listing                Letter at 7.
                                                 exchange to determine the minimum                          289 See, e.g., Optiver Letter at 2; MMI Letter at 6;
                                                                                                                                                                   monthly evaluation of NMS stocks
                                                 pricing increment for each NMS stock.                   FIA PTG Letter II at 2; and UBS Letter at 13. See         would raise concerns about investor
                                                    The Commission received comments                     also Cboe Letter I at 5 (stating that the framework       confusion with frequent re-assignments
                                                                                                         for reevaluating the parameters for revising tick
                                                 on the proposed definition of the                       changes according to their proposed methodology             298 See id.
                                                 Evaluation Period.287 Two commenters                    should be quarterly or bi-annually so that the               299 See BlackRock Letter at 10. See also SIFMA
                                                 generally supported the definition as                   parameters ‘‘remain nimble to changing market
                                                                                                         conditions.’’).                                           Letter II (commenting on three different elements—
                                                 proposed.288                                               290 See Optiver Letter at 2.
                                                                                                                                                                   ticks, access fee caps and round lots—that would
                                                                                                            291 See FIA PTG Letter II at 2–3. See also MMI
                                                                                                                                                                   have to be updated and stating ‘‘[b]roker-dealers
                                                    287 See, e.g., IEX Letter I; Optiver Letter; NYSE                                                              will be required under the Tick Size Proposal to
                                                                                                         Letter at 6 (‘‘The evaluation period preceding the        update their systems to appropriately account for
                                                 Letter I; Pragma Letter; MMI Letter; FIA PTG Letter     change should be at least one quarter to avoid
                                                 II; BlackRock Letter; SIFMA Letter II; T. Rowe Price                                                              all three of these variable changes, which carries
                                                                                                         capturing instances of market volatility, or events       inherent risks (and costs) of inadvertent errors
                                                 Letter; Cboe Letter I and Cboe Letter II; UBS Letter;   such as stock splits that may indirectly drive
                                                 and JPMorgan Letter at 4.                                                                                         relative to today’s environment where each of these
                                                                                                         trading interest that cause the behavior and              variables are static.’’). See also section V.B.3.b.iii for
                                                    288 See, e.g., IEX Letter I and NYSE Letter I
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                                                                                                         characteristics of a stock to depart dramatically         a discussion of the modifications to the round lot
                                                 (stating that the quarterly updates based on the last   from its history.’’).
                                                 month of a quarter’s data would ‘‘ensure that the                                                                 definition.
                                                                                                            292 See FIA PTG Letter II at 2–3.
                                                                                                                                                                      300 See UBS Letter at 12.
                                                 next quarter’s universe of tick-constrained names is       293 See MMI Letter at 6.
                                                                                                                                                                      301 See infra section VII.D.1.d for additional
                                                 selected using the most recent and relevant basis          294 See UBS Letter at 13.
                                                 and allows for monitoring of other securities that                                                                discussion on the three-month period.
                                                                                                            295 See JPMorgan Letter at 4.
                                                 are not yet tick-constrained but maybe starting to                                                                   302 See supra note 290 and accompanying text.
                                                                                                            296 See Pragma Letter; UBS Letter; and BlackRock
                                                 exhibit tick-constrained behavior.’’). IEX, however,                                                              The suggestion that minimum pricing increments
                                                 recommended that the second month of a quarter          Letter. See also SIFMA Letter II.                         be updated on a monthly basis would raise these
                                                 be used for calculating the TWAQS. See also infra          297 See Pragma Letter at 1.                            concerns.



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                                                 and increase operational risks due to the                  constraint of stocks that are quoting at               difference between the NBB and NBO
                                                 need for frequent systems updates. The                     the $0.01 minimum pricing increment.                   during regular trading hours where each
                                                 adopted semiannual evaluation                                 As discussed below, the Commission                  instance of a unique NBB and a unique
                                                 addresses the potential burdens and                        has aligned the semiannual evaluation                  NBO is weighted by the length of time
                                                 concerns of an Evaluation Period that is                   and implementation of minimum                          that the quote prevailed as the NBB or
                                                 either too long or too short.                              pricing increments and the dates for                   NBO. The Commission did not receive
                                                                                                            implementing any minimum pricing                       any comments on the definition of
                                                    Finally, two commenters                                 increments with the timing for changes
                                                 recommended adding an                                                                                             TWAQS.312 The definition in Rule
                                                                                                            to NMS stocks round lot assignment.309                 612(a)(2) is adopted as proposed.
                                                 implementation time period between                         The Commission agrees with
                                                 the calculation of the TWAQS and the                       commenters who recommended that                        8. Rule 612(b)(1)—Semiannual
                                                 potential change to an NMS stock’s                         these two evaluations and updates be                   Operative Dates
                                                 minimum pricing increment.303 One                          conducted at the same time. This will
                                                 commenter stated that the proposed rule                                                                             Rule 612, as adopted, contains
                                                                                                            lessen the burdens on the primary
                                                 ‘‘leaves little to no time for the industry                                                                       amended paragraph (b)(1), which
                                                                                                            listing exchanges and market
                                                 to communicate the change and update                                                                              defines the operative dates for the
                                                                                                            participants of implementing new
                                                 systems to reflect the new tick sizes.’’ 304                                                                      minimum pricing increments assigned
                                                                                                            minimum pricing increments and round
                                                 Both commenters suggested that the rule                                                                           to each NMS stock and provides a
                                                                                                            lots. Further, it will lessen operational
                                                 should provide one month between the                                                                              month-long time period to implement
                                                                                                            risks associated with frequent system
                                                 end of the data collection and the                                                                                potentially new minimum pricing
                                                                                                            updates.
                                                 effectiveness of any new minimum                              Rule 612(a)(1) also requires that the               increments at the end of each
                                                 pricing increments.305 One commenter                       TWAQS be measured for all NMS stocks                   Evaluation Period. Specifically,
                                                 stated that one month between the                          by the primary listing exchange. One                   minimum pricing increments for quotes
                                                 calculation of the TWAQS and the                           commenter requested clarification as to                and orders will be operative on the first
                                                 implementation of new tick sizes would                     what would occur in volatile situations                business day of May following the
                                                 ‘‘give the industry adequate time to                       ‘‘where a low-priced stock (e.g., sub                  Evaluation Period from January through
                                                 process changes and minimize                               $1.00) suddenly jumps to a higher price                March and the first business day of
                                                 errors.’’ 306 Another commenter stated                     (e.g., $8.00).’’ 310 This situation could              November following the Evaluation
                                                                                                            occur under preexisting Rule 612 as the                Period from July through September.313
                                                 that the quarterly changes with short
                                                                                                            relevant minimum pricing increment is                  In adopting these operative dates, the
                                                 transition time would raise operational
                                                                                                            based on the price of the order or quote.              Commission seeks to reduce the risk
                                                 risk in the market and at individual
                                                                                                            However, because orders in an NMS                      that market participants may not be
                                                 firms.307 This commenter also stated
                                                                                                            stock can be submitted with prices at or               fully staffed during the time that
                                                 that ‘‘[f]requent changes to tick sizes
                                                                                                            above $1.00 and below $1.00 depending                  technology changes are necessary to
                                                 will require considerable investor
                                                                                                            on its current market price, under the                 implement new minimum pricing
                                                 education.’’ 308 The Commission agrees
                                                                                                            amended rule, each NMS stock must                      increments. Further, in addition to
                                                 with commenters’ suggestions and is
                                                                                                            have its TWAQS measured so that a                      providing market participants with
                                                 also adopting an implementation period
                                                                                                            minimum pricing increment will be                      adequate time to make necessary
                                                 for introducing new minimum pricing
                                                                                                            assigned for those orders that are priced              systems changes, the implementation
                                                 increments after an Evaluation Period.                                                                            period will also provide adequate time
                                                 As adopted, market participants will                       at or above $1.00. Therefore, as
                                                                                                            amended, all NMS stocks will be                        for investors to be notified about the
                                                 have one month to implement any new                                                                               minimum pricing increment for the
                                                 minimum pricing increments. This will                      assigned a minimum pricing increment
                                                                                                            based on its TWAQS and investors will                  quotes and orders of NMS stocks that
                                                 reduce concerns about operational risk                                                                            are priced equal to or greater than
                                                 and will provide market participants                       be able to understand the relevant
                                                                                                            minimum pricing increment for their                    $1.00.314
                                                 with time to inform investors of any
                                                 changes in placing orders. One month is                    orders when priced at or over $1.00 and                  Two commenters requested
                                                 an adequate time period for market                         when priced under $1.00. Under the                     clarification as to how stock splits
                                                 participants to adapt and make any                         rule, as adopted, quotes and orders in                 would be handled.315 Once assigned
                                                 required systems change to reflect the                     NMS stocks that are priced less than                   under Rule 612(b)(1), minimum pricing
                                                 change, if any, in minimum pricing                         $1.00 will continue to have a minimum                  increments will remain operative until
                                                 increment of the quotes and orders of an                   pricing increment of $0.0001.311 The                   the next operative date (i.e., May or
                                                 NMS stock that is priced greater than, or                  operation of the amended rule is                       November). Therefore, a stock split will
                                                 equal to, $1.00 per share. A longer                        consistent with how the preexisting rule               not impact an NMS stock’s minimum
                                                 period could partially nullify the                         operates in that quotes and orders for a               pricing increment until the next cycle.
                                                 objectives of the adopted rule to                          particular NMS stock may be required to                In order to avoid the complexity and
                                                 ameliorate issues related to the                           be priced in a $0.01 or $0.005 increment               confusion that could occur if the
                                                                                                            when the price of an order is equal to                 minimum pricing increment of NMS
                                                   303 See T. Rowe Price Letter and IEX Letter.
                                                                                                            or greater than $1.00 and may also be                  stocks were reassigned at unpredictable
                                                   304 See T. Rowe Price Letter at 4.                       priced in a $0.0001 increment when the                 times, minimum pricing increments will
                                                    305 See IEX Letter I at 7 (suggesting that the          price of an order is less than $1.00.
                                                 Commission provide ‘‘one month between the end                                                                       312 As discussed above, the Commission received
                                                                                                            b. Time Weighted Average Quoted
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                                                 of data collection and the beginning of trading with                                                              comment on whether there should be factors in
                                                 the reallocated tick sizes, in order to avoid any          Spread                                                 addition to the TWAQS for determining whether an
                                                 unanticipated disruptions.’’) and T. Rowe Price                                                                   NMS stock is tick-constrained. See supra section
                                                 Letter.
                                                                                                               The Commission proposed to define                   III.C.6.
                                                    306 See T. Rowe Price Letter at 4.                      TWAQS as the average dollar value                         313 See supra section III.C.7.a, for a discussion of
                                                    307 See Fidelity Letter at 13.                                                                                 the adopted Evaluation Period.
                                                    308 See Fidelity Letter at 13. See also Harris Letter    309 See also infra section V.B.3.b.iv.                   314 See supra note 303 and accompanying text.
                                                                                                             310 See SIFMA Letter I at 43.
                                                 at 7 (recommending mechanisms to ensure traders                                                                      315 See SIFMA Letter II at 42 and Virtu Letter II

                                                 can determine relevant ticks).                              311 See Rule 612(b)(3).                               at 20.



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                                                 not be changed during the time between                    important information about the                       above $1.00 would vary and correlate to
                                                 operative dates.                                          relevant minimum pricing increment for                one of the four proposed minimum
                                                                                                           each NMS stock. This indicator will                   pricing increments for quoting (i.e.,
                                                 9. Rule 612(c)—New NMS Stocks
                                                                                                           help market participants, including                   $0.001, $0.002, $0.005 and $0.01),
                                                    Commenters asked for clarification on                  investors, with submitting orders in the              subject to proposed exceptions for
                                                 how new NMS stocks would be handled                       relevant increment. Because the                       midpoint trades and benchmark
                                                 under Rule 612.316 One commenter                          minimum pricing increment can change                  trades.328 The proposed minimum
                                                 questioned how new NMS stocks and                         on a semiannual basis depending on the                pricing increments for trades would
                                                 IPOs would be assigned minimum                            TWAQS on an NMS stock, this indicator
                                                 pricing increments and stated that                                                                              have harmonized trading increments (1)
                                                                                                           will enable market participants to trade              with the proposed variable minimum
                                                 allowing exchanges to assign different                    in a more informed manner. The
                                                 initial tick sizes could lead to ‘‘arbitrage                                                                    pricing increments for quotes and orders
                                                                                                           indicator will be included in SIP data                (in this release, ‘‘Quote and Trade
                                                 of issuers choosing the exchange that                     that is disseminated by the exclusive
                                                 offers the most favorable initial tick                                                                          Harmonization’’), and (2) across all
                                                                                                           SIPs and consolidated market data 321
                                                 size.’’ 317 Another commenter stated that                                                                       trading venues (in this release, ‘‘Venue
                                                                                                           disseminated by competing
                                                 ‘‘the simplest and most intuitive                         consolidators, which will help to ensure              Harmonization’’). Specifically, Quote
                                                 alternative would be to use                               the wide availability of information                  and Trade Harmonization would have
                                                 specifications which were previously                      about the applicable minimum pricing                  required all trading to occur in the same
                                                 considered to be the standard unit, such                  increment for each NMS stock.                         increments as those required of quotes
                                                 as a $0.01 tick size.’’ 318 The                             One commenter supported the                         and orders subject to certain exceptions
                                                 Commission agrees. New NMS stocks                         minimum pricing increment indicator                   for midpoint and benchmark trades.
                                                 will be assigned the same initial                         stating that it would make the new                    Venue Harmonization would have
                                                 minimum pricing increment under Rule                      increments easier to implement.322 This               required all trading on exchanges, ATSs
                                                 612(c), which requires all securities that                commenter suggested that the exclusive                and OTC to occur in the same pricing
                                                 become an NMS stock to be assigned to                     SIPs publish the indicator every                      increments.
                                                 the minimum pricing increment of                          morning, in a machine-readable format,
                                                 $0.01.319 Thereafter, the TWAQS of the                                                                             In the Proposing Release,329 the
                                                                                                           and free of charge.323                                Commission stated that it was
                                                 NMS stock will be calculated during the                     The exclusive SIPs currently provide
                                                 next Evaluation Period to determine                                                                             concerned about the competitive
                                                                                                           certain information that comprises                    dynamic between exchanges, ATSs, and
                                                 which minimum pricing increment will                      regulatory data as part of SIP data.324
                                                 be required under Rule 612(b)(2). Sub-                                                                          OTC markets and that a potential
                                                                                                           Under the rule, the exclusive SIPs will               contributing factor was the ability of
                                                 penny increments are limited to quotes                    be required to collect and disseminate a
                                                 and orders priced $1.00 or more for                                                                             OTC market makers to execute orders in
                                                                                                           new regulatory data element, the
                                                 those NMS stocks that have a                                                                                    price increments that are smaller than
                                                                                                           minimum pricing increment indicator,
                                                 demonstrated narrow TWAQS during                          and collect and disseminate this                      the price increments that exchanges and
                                                 the defined Evaluation Period; new                        regulatory data element as part of SIP                ATSs can practically provide.330 The
                                                 NMS stocks that become eligible for                       data.325 To the extent that the exclusive             Commission stated that applying the
                                                 trading during an operative period will                   SIPs charge fees for this new regulatory              minimum pricing increment to trades
                                                 not satisfy this requirement. New NMS                     data element, such fees will be required              across all venues would promote equal
                                                 stocks will have their TWAQS                              to be filed under rule 608 of Regulation              regulation and fair competition among
                                                 calculated during the next Evaluation                     NMS and must be fair and reasonable                   market participants such as exchanges,
                                                 Period after they start trading.                          and not unreasonably discriminatory.326               OTC market makers and ATSs,
                                                 10. Rule 600(b)(89)—Regulatory Data                       The Commission has not required a                     particularly as it relates to retail order
                                                                                                           specific format for SIP data, including               flow; 331 and that it was ‘‘reasonable to
                                                    The Commission proposed to amend
                                                                                                           regulatory data; such format will be                  assume that . . . [applying] a minimum
                                                 the definition of regulatory data in Rule
                                                 600(b)(78) 320 to require the primary                     developed by the Operating                            pricing increment to trades . . ., could
                                                                                                           Committees’ for the Equity Data Plans                 result in greater competition between
                                                 listing exchange for each NMS stock to
                                                                                                           consistent with regulatory                            exchanges and ATSs with other
                                                 calculate and provide to competing
                                                                                                           requirements.327                                      OTC market makers, including
                                                 consolidators, self-aggregators, and the
                                                 exclusive SIPs an indicator of the                        D. Minimum Pricing Increment for                      wholesalers . . .’’ 332 However, the
                                                 applicable minimum pricing increment                      Trades                                                Commission also stated that it could not
                                                 required under Rule 612. The                                                                                    anticipate how OTC market makers
                                                                                                             The Commission proposed to amend                    would adjust to increased competitive
                                                 Commission is adopting the minimum
                                                                                                           Rule 612 to introduce minimum pricing                 pressure and whether a market-wide
                                                 pricing increment indicator, as
                                                                                                           increments for trades of NMS stocks                   trading increment would yield a
                                                 proposed, under the definition of
                                                                                                           where the minimum pricing increment
                                                 regulatory data in Rule 600(b)(89)(i)(F).
                                                                                                           for trading NMS stocks priced at or
                                                 A minimum pricing increment indicator                                                                             328 The Commission also proposed to impose a

                                                 will be useful to market participants,                                                                          minimum pricing increment for trades for quotes
                                                                                                             321 See rule 600(b)(24).
                                                                                                                                                                 and orders priced less than $1.00 that would have
                                                 including investors, by providing                           322 See MMI Letter at 6.
                                                                                                                                                                 been the same as the minimum pricing increment
                                                                                                             323 See MMI Letter at 6.                            for quotes, i.e., $0.0001. See Proposing Release,
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                                                   316 See SIFMA Letter II at 42; BlackRock Letter at        324 See MDI Adopting Release, supra note 10, at     supra note 11, at 80283.
                                                 10; Virtu Letter II at 18.                                18729 for a description of the regulatory messages      329 See Proposing Release, supra note 11, at
                                                   317 See SIFMA Letter II at 42; Virtu Letter II at 18.   that are disseminated by the exclusive SIPs.          80268–69.
                                                   318 See BlackRock Letter at 10.                           325 See Rule 600(b)(89)(iv).                          330 See Proposing Release, supra note 11, at
                                                   319 See also section V.B.3.b.iii.                         326 Sections 11A(c)(1)(C) and 11A(c)(1)(D) and      80283.
                                                   320 Preexisting Rule 600(b)(78) was subsequently        Rule 603(a). See MDI Adopting Release, supra note       331 See Proposing Release, supra note 11, at

                                                 renumbered to Rule 600(b)(89) by the Rule 605             10, at 18684.                                         80283.
                                                 Amendments. See Rule 605 Amendments, supra                  327 The SIP data format will be available at the      332 See Proposing Release, supra note 11, at

                                                 note 10.                                                  SIP’s website, https://www.ctaplan.com/index.         80303.



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                                                 ‘‘positive, negative or neutral’’ net effect                minimum quoting increment should be                     The Commission’s simplified,
                                                 on retail price improvement.333                             that it helps to partially address the               incremental approach to amending Rule
                                                    The Commission received several                          concerns related to fair competition                 612 focuses on addressing issues that
                                                 comments on the proposal to establish                       between exchanges, ATSs, and OTC                     have developed regarding quoting
                                                 minimum pricing increments for trades,                      markets that proposing a market-wide                 constraints for certain NMS stocks
                                                 including comments related to Quote                         trading increment was designed to                    because of the $0.01 minimum pricing
                                                 and Trade Harmonization,334 Venue                           address.                                             increment. Further, the amendment to
                                                 Harmonization,335 statutory                                    Amended Rule 612 will reduce the                  Rule 612 will facilitate the transition of
                                                 authority,336 rationale,337 impact on                       minimum pricing increment for quotes
                                                                                                                                                                  market participants and investors to the
                                                 price improvement,338 exceptions to                         and orders to $0.005 for certain NMS
                                                                                                                                                                  new tick size regime and the wider use
                                                 minimum pricing increment for                               stocks that are priced equal to, or greater
                                                 trades,339 and exchange RLP                                 than, $1.00 per share which in turn also             of sub-penny quoting. The amendment,
                                                 programs.340 After considering                              effectively reduces the increment that               as adopted, also reduces the anticipated
                                                 comments and in light of changes from                       such stocks are able to trade in. Under              implementation costs compared to the
                                                 the proposal that the Commission is                         amended Rule 612, OTC markets will                   proposed amendments to Rule 612.
                                                 making to amended Rule 612, the                             continue to be able to trade more readily            Finally, under amended Rule 612: (1)
                                                 Commission has decided, consistent                          in comparatively smaller increments                  RLPs 343 that operate pursuant to
                                                 with one of the Reasonable Alternatives                     (e.g., $0.001 or $0.0001) than exchanges             Commission exemptions that either
                                                 set forth in the Proposing Release,341 not                  and ATSs, however, exchanges and                     permit certain quoting and trading in
                                                 to adopt a minimum pricing increment                        ATSs will now be able to trade more                  increments of $0.001,344 or aggregate
                                                 for trades. As described above, the                         regularly at smaller increments (i.e.,               order flow at the midpoint,345 will be
                                                 Commission is amending Rule 612 to                          $0.005 or $0.0025), compared to                      able to continue to operate without
                                                 adopt one smaller minimum pricing                           preexisting Rule 612, for those NMS                  interruption and without changes to
                                                 increment for quotes and orders that                        stocks that are assigned the $0.005                  exchange rules or the grant of further
                                                 primarily focuses on those NMS stocks                       minimum pricing increment. By                        exemptive relief by the Commission; (2)
                                                 that are experiencing constraint with the                   effectively reducing the trading                     sub-penny price improvement will
                                                 $0.01 minimum pricing increment. A                          increment for such NMS stocks, which                 continue to be permitted consistent with
                                                 secondary impact of the changes to the                      represent a significant amount of the                the requirements of the rule; (3) and
                                                                                                             daily trading volume (approximately                  investors will continue to be able to
                                                    333 See Proposing Release, supra note 11, at             58%) and dollar volume (approximately
                                                 80326.                                                                                                           manage their order flow and implement
                                                                                                             43%),342 the potential trade pricing
                                                    334 See, e.g., Nasdaq Letter I at 17; Citadel Letter                                                          trading strategies through the use of
                                                 I at 31; State Street Letter at 4; Citigroup Letter at
                                                                                                             discrepancy between exchanges, ATSs
                                                                                                             and OTC markets, while not                           midpoint orders and benchmark trades.
                                                 5; MFA Letter at 7, Letter from Nandini Sukumar,
                                                 Chief Executive Officer, World Federation of                harmonized, will be reduced. Market                  IV. Final Rule 610 of Regulation NMS—
                                                 Exchanges, dated Mar. 30, 2023 (‘‘World Federation          participants will be able to better
                                                 of Exchanges Letter’’) at 5, STA Letter at 7, NYSE                                                               Fees for Access to Quotations
                                                 Letter I at 6; Nasdaq Letter I at 17, NYSE, Schwab,
                                                                                                             compete based on the pricing of quotes
                                                 and Citadel Letter at 2, Brandes Letter at 2; Schwab        and orders. Thus, because reducing the                  The Commission is adopting
                                                 Letter II at 6, Cambridge Letter at 6; B. Riley Letter      minimum quoting increment for a                      amendments to Rule 610(c)(1)(ii) as
                                                 at 1, Vanguard Letter at 5, Robinhood Letter at 40,         significant amount of volume of NMS                  proposed with technical modifications
                                                 55; JPMorgan Letter at 6.
                                                    335 See, e.g., Cboe Letter II at 9, IEX Letter I at 2,   stocks, whether measured by trading or               to remove the reference to the minimum
                                                 Nasdaq Letter I at 2, Citigroup Letter at 5, Pragma         dollars, also effectively reduces the                pricing increment. The Commission is
                                                 Letter at 1, Luke Peterson Letter; Chris Miller Letter,     trading increments for those stocks, the             not adopting proposed Rule 610(c)(1)(i)
                                                 Amanda Kappes Letter.                                       concerns related to the ability of OTC
                                                    336 See Citadel Letter I at 4 and Robinhood Letter
                                                                                                                                                                  because it is unnecessary.346 Further,
                                                                                                             market makers to trade in comparatively              the Commission is adopting
                                                 at 28.
                                                    337 See Citigroup Letter at 5, Nasdaq Letter I at 16,    finer increments raised by the                       amendments to Rule 610(c)(2) as
                                                 World Federation of Exchanges Letter at 4, Better           Commission in the Proposing Release                  proposed with modifications to align
                                                 Markets Letter I at 13, Vanguard Letter at 4, IEX           will be partially addressed so that the
                                                 Letter III at 5, Drew Ferguson Letter at 1, Max                                                                  the access fee caps for protected
                                                                                                             Commission has determined not to
                                                 Garrison Letter at 1, Lukas Boller Letter at 1, Trent                                                            quotations in NMS stocks priced below
                                                 Miller Letter at 1, Phillip Worts Letter at 1, James
                                                                                                             adopt the minimum pricing increment
                                                                                                             for trading.                                         $1.00 and those priced $1.00 and
                                                 Letter at 1, Andrew Garley Letter at 1, Larry Douglas
                                                 Letter at 1, Steve Sullivan Letter at 1, Luke Czarnota         However, because the amendment to                 above.347 Finally, the Commission is
                                                 Letter at 1, Charles S Letter at 1, Melisa Virginillo       Rule 612 only partially addresses the                removing outdated references to the
                                                 Letter at 1, Melissa Hyer Letter at 1, Keagan               competitive dynamic between OTC                      ‘‘The Nasdaq Stock Market, Inc.’’ in
                                                 Wethington Letter at 1, DH Letter at 1, Alex Riley
                                                 Letter at 1, Trevor Capestany at 1, Marco Daeblitz          market makers and exchanges and ATSs                 Rule 610(c), as proposed, because the
                                                 at 1, Steven Sullivan Letter at 1. See also Patrick         described in the Proposing Release, and              Nasdaq Stock Market is now a national
                                                 Sexton, EVP, General Counsel & Corporate                    furthermore allows OTC market makers
                                                 Secretary, Cboe Global Markets, Inc., dated Aug. 23,
                                                 2023 (‘‘Cboe Letter III’’) at 9.
                                                                                                             to continue to execute trades in                       343 See supra note 146.

                                                    338 See, e.g., SIFMA Letter II at 4, Citigroup Letter    comparatively finer increments, the                    344 See, e.g., NYSE Rule 7.44 and BX Rule 4780.

                                                 at 5, TradeStation Letter at 6, CCMR Letter at 27,          Commission staff will continue to                       345 See, e.g., NYSE Arca Rule 7.44–E and IEX Rule

                                                 Virtu Letter II at 7, Fidelity Letter at 13, BlackRock      monitor sub-penny trading to evaluate                11.232.
                                                                                                                                                                     346 The Commission is not adopting the proposed
                                                 Letter at 9, Robinhood Letter at 20, JPMorgan Letter        whether further action is appropriate for
                                                 at 6, Morgan Stanley Letter at 4, TastyTrade Letter                                                              5 mils access fee cap because it is not adopting the
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                                                 at 20 and Nasdaq Letter I at 18.                            the protection of investors and to assure            $0.001 minimum pricing increment. As proposed,
                                                    339 See, e.g., JPMorgan Letter at 5; ICI Letter I at     ‘‘fair competition among brokers and                 all protected quotes in NMS stocks priced $1.00 or
                                                 17–18, Vanguard Letter at 5; IEX Letter I at 17 and         dealers, among exchange markets, and                 more that would have been assigned a minimum
                                                 BlackRock Letter at 9.                                      between exchange markets and markets                 pricing increment other than $0.001 would have
                                                    340 See, e.g., Cboe Letter III at 10–11, IEX Letter                                                           been subject to the proposed 10 mils access fee cap.
                                                                                                             other than exchange markets’’ in the                 The Commission is adopting this same model—all
                                                 I at 17–18, JPMorgan Letter at 6, Ontario Teachers
                                                 et al. Letter at 2, NYSE Letter I at 6.                     national market system.                              protected quotes in NMS stocks priced $1.00 or
                                                    341 See Proposing Release, supra note 11, at                                                                  more will be subject to the 10 mils access fee cap.
                                                 80339.                                                       342 See infra section VII.D.1.a.                       347 See infra section VII.D.2.a.




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                                                 securities exchange and the language is                    Rule 610 was adopted at the same                      B. Issues Raised in the Existing Market
                                                 redundant.348                                           time as Rule 611, the Order Protection                   Structure and the Need for the
                                                   Specifically, under Rule 610(c), as                   Rule, which established intermarket                      Amendments
                                                 amended, a trading center 349 will not be               protection against trade-throughs 353 for
                                                 permitted to impose, or permit to be                                                                                The national market system of 2024 is
                                                                                                         all NMS stocks. Rule 610(c) was
                                                 imposed, any fee or fees for the                                                                                 significantly different than the national
                                                                                                         designed to preclude trading centers                     market system that existed when
                                                 execution of an order against a protected               that posted protected quotations from
                                                 quotation of the trading center or against                                                                       Regulation NMS was adopted in
                                                                                                         raising their fees in an attempt to take                 2005.358 Since Regulation NMS was
                                                 any other quotation of the trading center               improper advantage of the trade-through
                                                 that is the best bid or best offer of a                                                                          adopted, new trading practices, order
                                                                                                         protections adopted under Rule 611.354                   types, and routing strategies have
                                                 national securities exchange or the best                The Commission designed the access fee
                                                 bid or best offer of a national securities                                                                       developed that did not exist when Rule
                                                                                                         caps to preserve the benefits of the                     610 was adopted.359 In addition,
                                                 association in an NMS stock that exceed
                                                                                                         strengthened price protection under                      exchanges have developed complex fee
                                                 or accumulate to more than $0.001 per
                                                                                                         Rule 611 and more efficient linkages                     structures that charge the outer limits
                                                 share if the price of the protected
                                                 quotation or other quotation is $1.00 or                among trading centers that were                          permitted for accessing protected
                                                 more, and the fee or fees will not be                   developed under Regulation NMS to                        quotations and use those fees to fund
                                                 permitted to exceed or accumulate to                    access protected quotations that could                   rebates, which have the effect of
                                                 more than 0.1% of the quotation price                   be disrupted if substantial fees were                    creating a discrepancy between
                                                 per share if the price of the protected                 charged.355 At the time of adoption, the                 displayed prices and net prices.360
                                                 quotation or other quotation is less than               Commission recognized the importance                     Finally, the national market system has
                                                 $1.00.                                                  of protecting the best displayed and                     seen a proliferation of new exchanges,
                                                   The Commission is also adopting Rule                  accessible prices in promoting deep and                  often within the same exchange group,
                                                 610(d) as proposed to require that all                  stable markets that minimize investor                    that implement varied pricing models to
                                                 exchange fees and rebates be                            costs. In this regard, the Commission                    attract specific market participants to
                                                 determinable at the time of execution.                  stated that Rule 611 would help to                       their markets.361 The Commission has
                                                 For the reasons discussed below, these                  minimize investor transaction costs,                     monitored these developments and
                                                 amendments to Rule 610 are appropriate                  which is ‘‘the hallmark of efficient                     engaged extensively with market
                                                 for the modern national market system.                  markets’’ and a ‘‘primary objective of                   participants about the impact of the
                                                                                                                                                                  modern fee structures on fair and
                                                 A. Background                                           the [national market system].’’ 356 Rule
                                                                                                                                                                  efficient access to protected quotations
                                                                                                         610 is an important component in
                                                    Rule 610(c) was adopted in                                                                                    as well as the usefulness and accuracy
                                                                                                         supporting these goals.                                  of such quotations.362
                                                 furtherance of the Congressional
                                                 directives in section 11A of the                           Market participants, including                           Market participants have considered
                                                 Exchange Act and was designed to                        investors, need fair and efficient access                and suggested reductions in the access
                                                 promote fair and non-discriminatory                     to the best priced quotations in the                     fee caps for many years to address
                                                 access to quotations displayed in the                   national market system. Therefore, Rule                  market distortions (as further discussed
                                                 national market system.350 Rule 610(c)                  610(c) remains an important part of the
                                                 seeks to ensure the fairness and                        national market system to achieve the                       358 See Proposing Release, supra note 11, at

                                                 accuracy of displayed quotations by                     purposes of the Exchange Act, preserve                   80289. See also Letter from John Ramsay, Chief
                                                 establishing an outer limit on the cost of              the benefits of price protection, and                    Market Policy Officer, Investors Exchange LLC,
                                                                                                                                                                  dated Oct. 19, 2023 (‘‘IEX Letter IV’’) at 5–10;
                                                 accessing such quotations 351 and was                   help ensure that displayed quotations                    Nasdaq Letter I at 4.
                                                 designed to help to ensure that orders                  reflect something close to actual costs                     359 See also Letter from Theodore R. Lazo,

                                                 placed in the national market system                    incurred for the transaction.357                         Managing Director & Associate General Counsel,
                                                 reflect the best prices available. The                                                                           SIFMA, to Brent J. Fields, Secretary, Commission,
                                                                                                                                                                  dated Mar. 29, 2017, at 8 (stating exchanges have
                                                 access fee caps are necessary to achieve                                                                         developed order types primarily designed to avoid
                                                                                                            353 A trade-through occurs when a trading center
                                                 the purposes of the Exchange Act,                                                                                paying high fees, market participants implement
                                                 including section 11A(c)(1)(B) of the                   executes an order at a price that is inferior to the     complex routing strategies (consistent with their
                                                                                                         price of a protected quotation that is displayed by      best execution obligations) to avoid paying high
                                                 Exchange Act, which authorizes the                      another trading center. See 17 CFR 242.600(b)(105)       exchange access fees in favor of lower costs ATSs
                                                 Commission to adopt rules assuring the                  for the definition of trade-through under Regulation     and the market place has seen a high level of
                                                 fairness and usefulness of quotation                    NMS.                                                     fragmentation ‘‘driven by each exchange group’s
                                                 information. The Commission has stated                     354 See Regulation NMS Adopting Release, supra        desire to provide a variety of pricing models within
                                                 that for quotations to be fair and useful,              note 4, at 37544 and 37595.                              the wide pricing range between 0 and 30 mils.’’)
                                                                                                                                                                  (‘‘SIFMA 2017 Letter’’).
                                                 ‘‘there must be some limit on the extent                   355 See Regulation NMS Adopting Release, supra
                                                                                                                                                                     360 See infra section VII.C.2, note 1107 and
                                                 to which the true price for those who                   note 4, at 37545.
                                                                                                                                                                  accompanying text and note 1457 (showing that the
                                                 access quotations can vary from the                        356 See Regulation NMS Adopting Release, supra
                                                                                                                                                                  primary reason that access fees remain near 30 mils
                                                 displayed price.’’ 352                                  note 4, at 37498.                                        on most exchanges is to fund rebates) and Panel A
                                                                                                            357 The access fee caps were calculated based         of table 4, infra section VII.C.2.c.
                                                                                                         upon the then current fees that were charged by             361 See infra tables 4 and 5 showing within the
                                                   348 See Proposing Release, supra note 11, at
                                                                                                         certain trading venues. See Regulation NMS               large exchange groups multiple exchanges each
                                                 80292.                                                                                                           with different fee and rebate models. See also e.g.,
                                                   349 17 CFR 242.600(b)(106).
                                                                                                         Adopting Release, supra note 4, at 37545 (stating
                                                                                                                                                                  SIFMA 2017 Letter, supra note 359 at 8 (stating ‘‘the
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                                                   350 The Commission also stated that by imposing
                                                                                                         ‘‘the $0.003 fee limitation is consistent with current
                                                                                                         business practices, as very few trading centers          high level of fragmentation . . . is in part driven by
                                                 a uniform fee limitation of $0.003 per share, Rule                                                               each of the exchange group’s desire to provide a
                                                 610(c) will promote equal regulation of different       currently charge fees that exceed this amount . . .
                                                                                                                                                                  variety of pricing models within the wide pricing
                                                 types of trading centers. See Regulation NMS            [and those that do] do not account for a large           range between 0 and 30 mils.’’).
                                                 Adopting Release, supra note 4, at 37595.               percentage of the trading volume.’’). At the time the       362 For example, the EMSAC considered, among
                                                   351 See Regulation NMS Adopting Release, supra        access fee caps were adopted, the minimum pricing        other things, whether the access fee cap should be
                                                 note 4, at 37502.                                       increment for quotes and orders priced $1.00 or          modified. See EMSAC Archives, supra note 4. See
                                                   352 See Regulation NMS Adopting Release, supra        greater was $0.01 as Rule 612 was adopted at the         also Concept Release on Equity Market Structure,
                                                 note 4, at 37545.                                       same time as Rule 610(c).                                supra note 59.



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                                                 below) 363 and better reflect evolutions                ‘‘[d]igital innovations and efficiencies                 stocks. Because the Commission is
                                                 in the market since Regulation NMS was                  since 2005 have undoubtedly reduced                      adopting the smaller $0.005 increment,
                                                 adopted.364 One commenter stated that                   the costs of collecting, storing,                        it is also amending the preexisting
                                                                                                         processing, and transmitting                             access fee caps in Rule 610(c) to prevent
                                                    363 See, e.g., infra notes 371–376 and
                                                                                                         information’’ and that ‘‘despite reduced                 introducing new pricing distortions in
                                                 accompanying text and infra section IV.B.2 and          costs, increased efficiency, and all the
                                                 IV.D.
                                                                                                                                                                  the market.366 For protected quotations
                                                    364 See, e.g., Letter from Theodore R. Lazo,
                                                                                                         new data and computing power                             priced $1.00 or more, the Commission is
                                                 Managing Director & Associate General Counsel,          available, the access fee cap has                        adopting a 10 mil access fee cap and has
                                                 SIFMA, to Brent J. Fields, Secretary, Commission,       remained fixed at an inflated level that                 decided that this level is appropriate
                                                 dated May 24, 2018, at 2 (commenting on File No.        reflects the technology capabilities of                  based on several additional
                                                 S7–05–18 ‘‘Transaction Fee Pilot for NMS Stocks’’)      2005.’’ 365
                                                 (stating ‘‘On several occasions, SIFMA has                                                                       considerations, as discussed in the
                                                 recommended that the Commission reduce the              1. Amendments to Rule 612                                following sections.
                                                 access fee cap to no more than five cents per 100
                                                 shares because the cap has not been adjusted to            As discussed above, the Commission                    2. Exchange Fee Models
                                                 reflect market developments since Regulation NMS        is adopting a smaller minimum pricing
                                                 was adopted more than a decade ago.’’) (‘‘SIFMA         increment of $0.005 for certain NMS                         The exchange fee structures in the
                                                 2018 Letter’’); Goldman 2018 Letter at 1 (stating ‘‘a                                                            national market system that have
                                                 reduction in the Fee Cap from $0.0030 to $0.0010
                                                 per share could be supported today [2018] and           types designed to avoid access fees and capture          developed under Rule 610 are complex
                                                 would be better calibrated with the present-day         rebates, and that proliferation, in turn, adds           and consist of fees charged and rebates
                                                 trading and execution costs, which have decreased       complexity to the system, requires continuing
                                                                                                         technology changes and creates potential for market
                                                                                                                                                                  paid to market participants. As stated
                                                 substantially since 2005’’); SIFMA 2017 Letter,
                                                 supra note 359, at 3 (stating the Commission should     instability. The Securities and Exchange                 above, exchanges using a ‘‘maker-taker’’
                                                 consider ‘‘reducing the access fee cap to no more       Commission should reduce the current cap on              pricing model, pay a rebate to a ‘‘maker’’
                                                                                                         access fees to no more than 5 cents per 100 shares,
                                                 than $0.0005 for all securities’’ because ‘‘[s]ince
                                                                                                         and indeed should consider eliminating access fees
                                                                                                                                                                  or provider of liquidity, which is funded
                                                 Reg. NMS was adopted, spreads have narrowed and                                                                  by the fees charged to a ‘‘taker’’ of
                                                 commissions have decreased, making the existing         altogether.’’); Bradley Hope & Scott Patterson,
                                                 cap of access fees outsized relative to today’s
                                                                                                         ‘‘NYSE Plan Would Revamp Trading,’’ WALL ST.             liquidity.367 The exchange earns as
                                                                                                         J. (Dec. 17, 2014), available at http://www.wsj.com/     revenue the difference between the fee
                                                 market realities.’’); Letter from Theodore R. Lazo,
                                                                                                         articles/intercontinental-exchangeproposing-major-
                                                 Managing Director & Associate General Counsel,
                                                                                                         stock-market-overhaul-1418844900 (stating that           paid by the taker and the rebate paid to
                                                 SIFMA, to Mary Jo White, Chair, Commission,
                                                 dated May 24, 2015, at 2–3 (supporting reduction
                                                                                                         since 2005, when the fee cap of $0.003 per share         the provider or maker.368 For maker-
                                                                                                         was chosen, competitive and technological                taker exchanges, the amount of the taker
                                                 in access fee to ‘‘no more than five cents per
                                                                                                         advancements have led to decreased costs (spreads
                                                 hundred shares’’ because access fees are ‘‘an
                                                                                                         and commissions), and as a result, access fees have
                                                                                                                                                                  fee is limited by the access fee caps
                                                 outsized element of transaction costs that in turn                                                               imposed by Rule 610(c). The Rule 610(c)
                                                                                                         become a larger portion of overall transaction costs);
                                                 distorts price discovery and contributes to market
                                                 complexity, both on- and off-exchange’’ and further
                                                                                                         ICE’s Six Recommendations for Reforming                  access fee caps apply to the fees
                                                                                                         Markets,’’ WALL ST. J. (Dec. 18, 2014), available at     assessed on an incoming order that
                                                 stating ‘‘market participants regularly implement       http://blogs.wsj.com/moneybeat/2014/12/18/ices-
                                                 complex order routing strategies . . . that divide,     six-recommendations-for-reformingmarkets/                executes against a resting protected
                                                 route and re-route orders and parts of orders, when     (recommending reduction in the access fee cap to         quote, but do not apply to the rebates.
                                                 possible, to market centers that enable them to
                                                 avoid paying excessive access fees’’ and also stating
                                                                                                         $0.0005 in conjunction with adoption of a ‘‘trade        However, the Rule 610(c) access fee
                                                                                                         at’’ rule, ‘‘eliminating maker-taker pricing’’ and
                                                 ‘‘access fees have increased complexity on              stating ‘‘[w]ith myriad different make-take and take-
                                                                                                                                                                  caps indirectly limit the average amount
                                                 exchanges . . . through the proliferation of            make pricing models in existence today, we believe       of the rebates that an exchange offers to
                                                 exchange order types designed to avoid access           the potential conflicts and complexity that ensue        about $0.0030 per share in order to
                                                 fees.’’); Letter from Daniel Keegan, Managing           from the maker-taker models outweigh any
                                                 Director, Head of Americas Equities, Citigroup                                                                   maintain net positive transaction
                                                                                                         perceived benefits. We believe there are better
                                                 Global Markets Inc. to Elizabeth Murphy, Secretary,     options available to incentivize market-makers to        revenues. Thus, an exchange may
                                                 Commission, dated Aug. 7, 2014, at 5 (‘‘Citigroup       maintain two-sided quotes and reduce intraday            charge higher access fees to fund higher
                                                 2014 Letter’’) (commenting on Concept Release on        volatility’’ including incentive programs that would
                                                 Equity Market Structure and stating ‘‘[t]he SEC         obligate market makers to provide liquidity); Joe          366 See infra section VII.D.2.a.
                                                 should explore the impacts on the overall markets       Ratterman, Chief Executive Officer, & Chris                 367 See SRO fee schedules, which are available on
                                                 of complex market structure issues such as maker/       Concannon, President, BATS, ‘‘Open Letter to U.S.
                                                 taker pricing and access fees’’ and ‘‘[a]t a minimum,   Securities Industry Participants Re: Market              each SRO’s website. See also infra section VII.C.2.c,
                                                 the cap on access fees should be reduced to below       Structure Reform Discussion,’’ at 1 (Jan. 6, 2015),      table 4. This discussion focuses on exchange fees
                                                 10 mils’’); Letter from Theodore R. Lazo, Director      available at http://cdn.batstrading.com/resources/       because, currently, exchanges are the only trading
                                                 & Associate General Counsel, SIFMA, to Mary Jo          newsletters/OpenLetter010615.pdf (stating access         centers that display protected quotations. If an ATS
                                                 White, Chair, Commission, dated Oct. 24, 2014, at       fee cap ‘‘requires a substantial reduction and           or OTC market maker displayed a protected
                                                 2 (providing ‘‘Recommendations for Equity Market        restructuring’’ and further stating the cap ‘‘has        quotation, its fees would be subject to the access fee
                                                 Structure Reforms’’ including ‘‘that exchange access    remained unchanged for far too long and has never        caps under Rule 610(c).
                                                 fees be significantly reduced, to no more than five                                                                 368 A few exchanges have adopted a ‘‘taker-
                                                                                                         been reevaluated for potential market distortions
                                                 cents per 100 shares’’); NYT Dealbook OpEd: How         given the substantially altered broker models and        maker’’ pricing model (also called an inverted
                                                 to Improve Market Structure, Curt Bradbury, Chief       reductions in commissions since the                      model), in which they charge a fee to the provider
                                                 Operating Officer, Stephen’s Inc. and Kenneth E.        implementation of Regulation NMS.’’).                    of liquidity and pay a rebate to the taker of
                                                 Bentsen, Jr., President and CEO, SIFMA (SIFMA              365 See IEX Letter IV at 8. See also e.g., Letter     liquidity. See, e.g., Nasdaq BX fee schedule
                                                 Market Structure Task Force Recommendations),           from Paul M. Russo, Managing Director, Goldman           available at http://www.nasdaqtrader.com/
                                                 dated July 14, 2014 (stating ‘‘Access fees charged by   Sachs & Co. LLC, to Brent J. Fields, Secretary,          trader.aspx?id=bx_pricing (as of Feb. 2024); NYSE
                                                 exchanges and other venues should be dramatically       Commission, at 3 (May 24, 2018), available at            National fee schedule available at https://
                                                 reduced, if not eliminated. While brokers are legally   https://www.sec.gov/comments/s7-05-18/s70518-            www.nyse.com/publicdocs/nyse/regulation/nyse/
                                                 required to route their orders to the exchange that     3711788-162473.pdf (‘‘Goldman 2018 Letter’’)             NYSE_National_Schedule_of_Fees.pdf (as of Jan. 1,
                                                 is quoting the best price—so called ‘protected          (commenting on File No. S7–05–18 ‘‘Transaction           2024); Cboe BYX fee schedule available at https://
                                                 quotes’—the exchanges are permitted to charge           Fee Pilot for NMS Stocks’’) at 2 (stating in 2018 ‘‘In   www.cboe.com/us/equities/membership/fee_
                                                 relatively high fees for accessing these quotes:                                                                 schedule/byx/ (as of Feb. 2024); and Cboe EDGA fee
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                                                                                                         the thirteen years since the Commission adopted
                                                 currently 30 cents for every 100 shares. These fees     the Fee Cap, spreads have considerably narrowed          schedule available at https://www.cboe.com/us/
                                                 have distorted market pricing as they are a             and commission rates have contracted. However,           equities/membership/fee_schedule/edga/ (as of
                                                 significant percentage of overall trading costs and     the Fee Cap has remained unadjusted. There is a          Feb., 2024). See also infra section VII.C.2.c, table 4.
                                                 are several times higher than the fees charged by       well-developed, general consensus among market           For taker-maker exchanges, the amount of the
                                                 off-exchange venues. As a result, brokers often         participants that a [30 mil] per share Fee Cap is an     maker fee charged to the provider of liquidity is not
                                                 avoid routing their orders to exchanges. Exchanges      outdated benchmark for execution costs in today’s        bounded by the Rule 610(c) access fee cap because
                                                 also rebate most of their access fee revenue through    trading environment. As a limit, it creates an upper-    such fee is not a charge to access the market’s best
                                                 price structures such as ‘maker/taker.’ These           range that is simply too high and far from               bid/offer for NMS stocks, but such fees typically are
                                                 developments have led to a proliferation of order       representative of true prices in the marketplace.’’).    no more than $0.0030.



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                                                 liquidity rebates.369 Some exchanges                        pennies; 372 (3) introduce unnecessary                     while facing potentially conflicting
                                                 state that rebates are necessary in order                   market complexity through the                              economic incentives to avoid fees or
                                                 for them to attract trading volume.370                      proliferation of new exchange order                        earn rebates from the trading centers to
                                                    In recent years, a variety of concerns                   types (and new exchanges) designed                         which they direct those orders for
                                                 have been stated about the prevailing                       solely to take advantage of pricing                        execution.376
                                                 maker-taker fee model, and particularly                     models; 373 (4) drive orders to non-
                                                 the rebates paid by the exchanges.                          exchange trading centers that do not                       a. Transparency
                                                 Those include that the fee/rebate                           display quotes as market participants
                                                 models: (1) undermine market                                                                                             The chart below illustrates with a
                                                                                                             seek to avoid the higher fees that
                                                 transparency since displayed prices do                      exchanges charge to subsidize the                          hypothetical example the Commission’s
                                                 not account for exchange transaction                        rebates they offer to attract liquidity; 374               concern that exchange fee/rebate models
                                                 fees or rebates and therefore do not                        and (5) benefit sophisticated market                       can undermine price transparency.
                                                 reflect the net economic costs of a                         participants like market makers and                        While some investors may invest
                                                 trade; 371 (2) serve as a way to effectively                proprietary traders at the expense of                      heavily to fully map out the fee
                                                 quote in sub-penny increments on a net                      other market participants.375 Further,                     schedules, these schedules are complex
                                                 basis when the effect of a maker-taker                      the prevailing access fee structure                        and thus doing so would be costly,
                                                 exchange’s sub-penny rebate is taken                        creates potential conflicts of interest for                consequently it is likely that not all
                                                 into account even though the minimum                        broker-dealers, who must provide the                       investors fully map out fee schedules.377
                                                 quoting increment is expressed in full                      best execution to their customers’ orders


                                                                                            Example of hypothetical stock, best bid net of fees t>est and worst 'take' tiers shown}


                                                                  $21)_56300


                                                                  $21)_56200


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                                                            !!
                                                            D..
                                                            ~ $2()_55900


                                                                  $21)_55800




                                                                                                                                                                                            $21)_557111

                                                                  $20_55600
                                                                                Ex£hance A (Maker-Tam, no     Ex£hange B (Inverted, volume tiers)   Exchange C [Maker-Take,-, no    Exchange D (Maker-Take,-, volume
                                                                                      volume tie,-s)                                                      volume tiers)                          tiers}



                                                   The Commission examined data for                          for a hypothetical stock, with four                        participants. Furthermore, due to
                                                 NMS stocks to demonstrate the price                         exchanges all displaying the same best                     volume-based price fee tiers, some
                                                 variations that can occur under the                         bid of $20.56. However, due to differing                   exchanges’ net bids differ for different
                                                 exchange fee and rebate schedules. The                      fee schedules, each of the four                            market participants. The fee schedules
                                                 chart above shows a common scenario                         represents a different net bid to market                   used to create this example are taken

                                                    369 This was one of the concerns the Commission             372 See, e.g., Larry Harris, ‘‘Maker-Taker Pricing      Financial Economics 124, no. 3 (2017) at 503–534,
                                                 identified when it approved the access fee caps. See        Effects on Market Quotations,’’ at 24–25 (Nov. 14,         available at https://www.mit.edu/∼zhuh/
                                                 Regulation NMS Adopting Release, supra note 4, at           2013).                                                     MenkveldYueshenZhu_2017JFE_dark.pdf; RBC
                                                                                                                373 See, e.g., Curt Bradbury, Market Structure          Capital Letter at 2.
                                                 37545. (‘‘[T]he fee limitation is necessary to achieve
                                                 the purposes of the Exchange Act. Access fees tend          Task Force Chair, Board of Directors, SIFMA, and             375 See, e.g., RBC Capital Letter at 2–4; Letter from

                                                 to be highest when markets use them to fund                 Kenneth E. Bentsen Jr., President and Chief                Mehmet Kinak, Vice President—Global Head of
                                                                                                             Executive Officer, SIFMA, Opinion, ‘‘How to                Systematic Trading & Market Structure, and
                                                 substantial rebates to liquidity providers, rather
                                                                                                             Improve Market Structure,’’ N.Y. Times (July 14,           Jonathan Siegel, Vice President—Senior Legal
                                                 than merely to compensate for agency services.’’).          2014), available at http://dealbook.nytimes.com/
                                                    370 See, e.g., Letter from Patrick Sexton, EVP,                                                                     Counsel (Legislative & Regulatory Affairs), T. Rowe
                                                                                                             2014/07/14/how-to-improve-market-structure/?_r=0           Price, to Brent J. Fields, Secretary, Commission,
                                                 General Counsel & Corporate Secretary, Cboe Global          (stating that the ‘‘proliferation of order types           dated June 12, 2018, at 2, available at https://
                                                 Markets, Inc., dated Apr. 5, 2024 (‘‘Cboe Letter IV’’)      designed to avoid access fees and capture rebates          www.sec.gov/comments/s7-05-18/s70518-3832746-
                                                 at 2–5; Letter from Brett Kitt, Vice President,             . . . adds complexity to the system, requires
                                                                                                                                                                        162769.pdf (sec.gov) (commenting on File No. S7–
                                                 Deputy General Counsel, Nasdaq, Inc., dated Mar.            continuing technology changes and creates
                                                                                                                                                                        05–18 ‘‘Transaction Fee Pilot for NMS Stocks).
                                                 25, 2024 (‘‘Nasdaq Letter IV’’) at 3–5; Nasdaq Letter       potential for market instability’’ and recommending
                                                                                                                                                                          376 See, e.g., Stanislav Dolgopolov, ‘‘The Maker-
                                                                                                             access fees charged by exchanges be ‘‘dramatically
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                                                 III at 2–5.                                                                                                            Taker Pricing Model and its Impact on the
                                                    371 See, e.g., Letter from Richard Steiner, Global
                                                                                                             reduced, if not eliminated’’); RBC Capital Letter at
                                                                                                             2; and Letter from Haim Bodek, Managing Principal          Securities Market Structure: A Can of Worms for
                                                 Equities Liaison to Regulatory & Government                 and Stanislav Dolgopolov, Regulatory Consultant,           Securities Fraud?’’ 8 Va. L. & Bus. Rev. 231, 270
                                                 Affairs, RBC Capital Markets, to Elizabeth Murphy,          Decimus Capital Markets, LLC, dated Apr. 25, 2016,         (2014), available at http://papers.ssrn.com/sol3/
                                                 Secretary, Commission, at 2–3 (Nov. 22, 2013),              at 3 and 11 (‘‘Decimus 2016 Letter’’); Vanguard            papers.cfm?abstract_id=2399821 (retrieved from
                                                 available at https://www.sec.gov/comments/s7-02-            Letter at 6.                                               SSRN Elsevier database).
                                                 10/s70210-411.pdf (‘‘RBC Capital Letter’’)                     374 See, e.g., Menkveld, Albert J., Bart Zhou             377 See infra section VII.C.2.c and table 4 therein

                                                 (commenting on potential equity market structure            Yueshen, and Haoxiang Zhu, ‘‘Shades of darkness:           for additional analysis and discussion of the
                                                                                                                                                                                                                                  ER08OC24.000</GPH>




                                                 initiatives).                                               A pecking order of trading venues.’’ Journal of            complexity of fee and rebate schedules.



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                                                 from various exchange fee schedules as                    potential benefits should be balanced                    an access fee paid by liquidity takers,
                                                 of June 2024. Exchange A charges the                      against the market distortions associated                acts as a wealth transfer from liquidity
                                                 maximum allowed access fee of 30 mils,                    with the fee and rebate models                           takers to liquidity providers. This
                                                 and so market participants that trade                     mentioned above.380 Further, rebates                     wealth transfer in turn unnecessarily
                                                 with the Exchange A bid receive a net                     paid to liquidity providers under maker-                 incentivizes the provision of liquidity
                                                 price of $20.557 per share ($20.56                        taker fee schedules may narrow                           (i.e., encourages providing liquidity in
                                                 minus a $0.003 fee). Exchange B has an                    displayed spreads in some securities by                  order to earn the rebate), thereby
                                                 inverted ‘‘taker-maker’’ fee schedule and                 subsidizing liquidity providers (i.e., by                creating an environment with too much
                                                 so pays a rebate to participants who                      allowing a maker to post a more                          liquidity supplied relative to liquidity
                                                 remove liquidity, with differing rebates                  aggressive price than it may have in                     demanded and leading to rebates for
                                                 based on volume tiers. In this example,                   absence of a rebate), and these prices                   faster liquidity suppliers and a higher
                                                 a market participant that trades with the                 may not reflect the underlying                           cost to liquidity takers.387 In other
                                                 bid on Exchange B receives a net price                    economics for the NMS stock.381 In                       words, excessive quoting in tick-
                                                 of $20.5616 if in the best tier ($20.56                   turn, that displayed liquidity may                       constrained securities to earn rebates
                                                 plus a $0.0016 rebate). Exchange C                        establish the NBBO,382 which is often                    undermines price transparency because
                                                 charges an access fee of 29.5 mils,                       used as the benchmark for marketable                     displayed prices and the associated size
                                                 meaning that a market participant that                    order flow, including retail order flow,                 at those prices do not reflect the
                                                 trades with the Exchange C bid would                      that is executed off-exchange by either                  underlying economics of supply and
                                                 receive a net price of $20.55705 per                      matching or improving upon those                         demand, but rather reflect the impact of
                                                 share ($20.56 minus the $0.00295 fee).                    distortive prices.383 Accordingly,                       fees or rebates.388
                                                 Lastly, Exchange D charges an access fee                  rebates may distort quotation prices that
                                                                                                           are displayed in the national market                     c. Potential Conflicts of Interest
                                                 of 29 mils to those in the best tier, so
                                                 such a participant trading with                           system.384                                                  As more fully discussed below and in
                                                 Exchange D receives a net price of                           High rebates also incentivize                         the Economic Analysis, access fees and
                                                 $20.5571. Despite all four exchanges                      excessive intermediation,385 especially                  rebates create potential broker-dealer
                                                 showing the same bid of $20.56, the                       in very liquid securities, to the extent                 conflicts of interest in order routing,
                                                 bids net of fees vary from a low of                       rebates induce or exacerbate an                          particularly to the extent the fees and
                                                 $20.557 to a high of $20.5616, a                          oversupply of liquidity at the best bid or               rebates are not passed through to the
                                                 substantial difference of $0.0046 per                     offer.386 As discussed below, some                       customer.389 For example, this structure
                                                 share (nearly half the current minimum                    stocks will trade with a quoted spread                   can create an incentive for a broker-
                                                 pricing increment).                                       one tick wide, whether the tick size is                  dealer that fully absorbs transaction
                                                                                                           $0.01 or $0.005. In those cases, quoted                  costs or rebates potentially to route
                                                 b. Liquidity and the NBBO                                 spread is unable to adjust lower due to                  customer orders to an exchange in order
                                                    The price of liquidity for investors in                the tick size, so the rebate paid to                     to avoid fees that are paid by the broker-
                                                 terms of buying and then later selling a                  liquidity providers, which is funded by                  dealer or to receive the highest rebate
                                                 security is the spread between the best                                                                            paid.390 Lowering the access fees caps
                                                 bid and the best offer, which is reflected                (‘‘Nasdaq Letter II’’) at 5–6; Larry Harris, ‘‘Maker-    will help alleviate potential conflicts of
                                                                                                           Taker Pricing Effects on Market Quotations,’’ at 5
                                                 by the NBBO. For those market                             (Nov. 14, 2013), available at https://en-
                                                                                                                                                                    interest.391
                                                 participants that provide liquidity, such                 coller.tau.ac.il/sites/nihul_en.tau.ac.il/files/media_   d. Market Complexity
                                                 as market makers, this spread similarly                   server/Recanati/management/seminars/account/
                                                 represents the market price for                           Maker.pdf; Letter from Richie Prager, Managing             Exchange fee and rebate models under
                                                                                                           Director, Head of Trading and Liquidity Strategies,      preexisting Rule 610(c) have also led to
                                                 providing those liquidity services at any                 BlackRock, Inc., to Mary Jo White, Chair, SEC, at
                                                 given point in time. More recently,                       2 (Sept. 12, 2014), available at https://www.sec.gov/    the development of a variety of complex
                                                 trading center models that pay rebates to                 comments/s7-02-10/s70210-419.pdf; Michael                order types, including those that allow
                                                 liquidity providers (which rebates are                    Brolley & Katya Malinova, ‘‘Informed Trading and         market participants to avoid paying
                                                                                                           Maker-Taker Fees in a Low Latency Limit Order            access fees or to ensure that rebates are
                                                 funded on a transaction basis by                          Market,’’ at 2 (Oct. 24, 2013), available at http://
                                                 charging an access fee to the taker of                    papers.ssrn.com/sol3/papers.cfm?abstract_                collected.392 Further, exchange fee and
                                                 liquidity) pay an additional return to the                id=2178102.                                              rebate models are another way
                                                 liquidity provider separate from what
                                                                                                              380 As discussed throughout, these concerns
                                                                                                                                                                    exchanges differentiate themselves from
                                                                                                           include, for example, undermining price                  each other and from other trading
                                                 would be captured though the spread,                      transparency, introducing unnecessary complexity
                                                 which may then lead those liquidity                       through the proliferation of new exchange order          centers to attract order flow. The
                                                 providers to lower the spread (that is,                   types and order routing strategies, added market
                                                                                                           fragmentation, creating or exacerbating potential          387 See infra section VII.D.2.
                                                 the implicit price for their liquidity                    conflicts of interest between brokers and their            388 See infra note 1005 and accompanying text.
                                                 provision services) more than they                        customers, and in NMS stocks that are tick                  389 See infra sections IV.D.1.b and VII.D.2.c. See
                                                 would otherwise.378 These prices are                      constrained, assessing a higher cost to liquidity        also Proposing Release, supra note 11, at 80330.
                                                 reflected in the NBBO, which is                           demanders.                                                  390 See, e.g., Vanguard Letter at 6.
                                                                                                              381 See also infra sections VII.B.3 and VII.C.2.
                                                 disseminated in the national market                          382 See also infra sections VII.B.3 and VII.C.2.
                                                                                                                                                                       391 See infra section VII.D.2.d.

                                                 system.                                                      383 See, e.g., Concept Release on Equity Market
                                                                                                                                                                       392 Examples of such complex order types include

                                                    Others have stated that the maker-                                                                              post-only orders or add-liquidity only orders that
                                                                                                           Structure, supra note 59 (evaluating broadly the         seek to only provide liquidity to gain a rebate and
                                                 taker model has positive effects by                       performance of market structure since Regulation         will not upon entry, execute against a resting order
                                                 enabling exchanges to compete with                        NMS, particularly for long-term investors and for        on the other side of the market so as to avoid paying
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                                                 non-exchange trading centers and by                       businesses seeking to raise capital, and soliciting      a transaction fee. See, e.g., BZX Rule 11.9(c)(6)
                                                                                                           comment on whether regulatory initiatives to             (defining a BZX Post Only Order); MEMX Rule
                                                 narrowing quoted spreads through                          improve market structure are needed).                    11.16(i)(6) (defining Post Only); Nasdaq Equity,
                                                 subsidizing posted prices,379 but these                      384 See infra section VII.A and infra notes 1733
                                                                                                                                                                    Rule 4702(4)(A)(defining a Post-Only Order); NYSE
                                                                                                           and 1734 and accompanying text.                          Rule 7.31(e)(2) (defining an ALO Order); NYSE Arca
                                                   378 See also infra section VII.B.3.                        385 See infra note 1005.
                                                                                                                                                                    Rule 7.31(e)(2) (defining an ALO Order). See also
                                                   379 See, e.g., Letter from John A. Zecca, Executive        386 See Proposing Release, supra note 11, at          Staff Report on Algorithmic Trading in the U.S.
                                                 Vice President, Global Chief Legal, Risk and              80292. See also infra note 1005 and accompanying         Capital Markets (Aug. 5, 2020), available at https://
                                                 Regulatory Officer, Nasdaq, Inc., dated Aug. 9, 2023      text.                                                    www.sec.gov/files/Algo_Trading_Report_2020.pdf.



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                                                 variability of fee and rebate models                    commenters. For protected quotations                  the security is distorted by the subsidy
                                                 (often within the same exchange group)                  priced $1.00 or more, the Commission is               provided by the rebate), or to access a
                                                 introduces additional market                            adopting a 10 mil access fee cap. This                protected quotation at a particular price
                                                 complexity and fragmentation because it                 level is appropriate based on several                 (i.e., the displayed price does not reflect
                                                 encourages the creation of new                          considerations. First, because the                    the additional cost of the access fee).402
                                                 exchanges that offer different pricing                  Commission is adopting the $0.005                     The negative impact on price
                                                 structures to attract different types of                increment for certain NMS stocks under                transparency is exacerbated when
                                                 market participants or trading strategies.              amended Rule 612, it is also reducing                 various exchanges have different fees
                                                 Moreover, the drive to establish novel                  the level of the preexisting access fee               and rebates and make frequent updates
                                                 and competitive fee schedules results in                caps in Rule 610(c) in order to prevent               to those rates, making the comparison of
                                                 frequent fee schedule changes (typically                the price distortions that would occur if             net prices unnecessarily complex and
                                                 on a monthly basis), which adds                         access fees were able to be set at more               difficult.403
                                                 uncertainty and complexity to the                       than half of the minimum pricing                         Further, reducing the level of the
                                                 marketplace because market                              increment (i.e., a protected quotation                access fee caps to the adopted levels
                                                 participants must continually update                    with an access fee that exceeds half the              will reduce complexity in the market
                                                 their routing tables to reflect these price             minimum pricing increment                             because it will (1) reduce the incentives
                                                 changes.393 A higher cap allows for a                   economically would be represented at                  to use certain complex order types that
                                                 wider range of possible access fees (i.e.,              the next less aggressive pricing                      are designed to avoid high fees/garner
                                                 $0–$0.0030) and more variability in                     increment).397 A 10 mil access fee cap                large rebates, (2) potentially reduce the
                                                 exchange fees, which introduces                         is sufficiently below the smallest                    number of fee changes in the market and
                                                 additional complexity to the market.394                 minimum pricing increment (i.e.,                      accompanying frequent changes to
                                                 C. Proposal To Amend 610(c)                             $0.005) so as to not create new pricing               complex order routing strategies, and (3)
                                                                                                         distortions.398                                       may discourage further market
                                                   To accommodate the amendments to                         Second, in adopting the 10 mil access              fragmentation.404 Reducing the amount
                                                 Rule 612 and to address the issues that                 fee cap, the Commission also considered               of rebates by reducing the access fee
                                                 have developed with the fee schedules                   the impact of the reduction on the                    caps to 10 mils also will reduce the
                                                 for protected quotes under Rule 610(c),                 agency market business model. A 10 mil                magnitude of potential conflicts of
                                                 the Commission proposed to amend                        access fee cap is at a level that will                interest in the market.
                                                 Rule 610(c) by reducing the level of the                allow the exchanges to maintain their
                                                 access fee caps for all protected                                                                                Finally, in determining to adopt the
                                                                                                         current net capture for executions of                 10 mil access fee cap, the Commission
                                                 quotations in NMS stocks. For protected                 NMS stocks priced $1.00 or greater.399
                                                 quotations in all NMS stocks priced                                                                           has considered input from commenters,
                                                                                                            The 10 mil access fee cap also should              including market participants.
                                                 $1.00 or more, the proposal introduced                  help to reduce distortions and
                                                 two lower access fee caps to                                                                                  Commenters stated that the reduced 10
                                                                                                         complexities under the fee structures                 mil access fee cap will better reflect
                                                 accommodate the proposed minimum                        that have developed under the
                                                 pricing increments under proposed Rule                                                                        current market rates and the increased
                                                                                                         preexisting access fee caps levels.400 As             efficiencies from electronic trading and
                                                 612 for quotations priced equal to or                   discussed above, under the preexisting
                                                 greater than $1.00 per share.395                                                                              other market structure changes, all of
                                                                                                         access fee caps, many exchanges charge                which have reduced trading costs since
                                                 Specifically, for all protected quotations              access fees at or near the highest
                                                 in NMS stocks priced $1.00 or more per                                                                        Rule 610 was originally adopted.405
                                                                                                         permitted levels under preexisting Rule
                                                 share and assigned a proposed                                                                                    In addition, the Commission is
                                                                                                         610(c) as a means to fund rebates.401
                                                 minimum pricing increment greater                                                                             retaining the uniform access fee cap
                                                                                                         Access fees charged at the highest level              structure whereby the access fee caps
                                                 than $0.001, the Commission proposed                    permitted under the preexisting rule
                                                 a 10 mil access fee cap; and for all                                                                          are assigned based solely upon the price
                                                                                                         and the rebates they fund harm price                  of the protected quotation. In other
                                                 protected quotations in NMS stocks
                                                                                                         transparency because the displayed                    words, the Commission is adopting the
                                                 priced $1.00 or more per share and
                                                                                                         price does not accurately reflect the                 10 mil access fee cap for all protected
                                                 assigned the proposed $0.001 minimum
                                                                                                         underlying economics of a decision to                 quotes priced $1.00 or more.
                                                 pricing increment, the Commission
                                                                                                         post a protected quotation at a particular            Maintaining the preexisting uniform
                                                 proposed a 5 mil access fee cap. For all
                                                                                                         price (i.e., the market participant’s                 structure of the access fee caps helps
                                                 protected quotations in NMS stocks
                                                                                                         assessment of the price of liquidity for              ensure that the requirements under Rule
                                                 priced less than $1.00 per share, the
                                                 Commission proposed to reduce the                         397 See Proposing Release, supra note 11, at
                                                                                                                                                               610(c) do not increase the fee structure
                                                 access fee cap to 0.05% of the quotation                80290. See also infra notes 1423–1424                 complexity or introduce unintended
                                                 price.396                                               accompanying text and sectionVII.D.2.a. As            consequences (such as oscillations) that
                                                   The Commission received many                          discussed in greater detail below, the amendments     would create additional costs for market
                                                 comments on the proposed amendments                     to Rule 612 do not include the proposed $0.001        participants.406
                                                                                                         minimum pricing increment, as proposed.
                                                 to Rule 610(c). The comments are                        Therefore, although the Commission proposed a 5
                                                 discussed more fully below.                             mil access fee cap to correspond to the $0.001          402 See infra section VII.D.2.a.

                                                                                                         minimum pricing increment, the 5 mil access fee         403 See infra note 1096 and adjacent text and
                                                 D. Final Rule 610(c)                                    cap is not necessary because the Commission is not    section VII.C.2.c, table 4 (analyzing fee and rebate
                                                   The amended access fee caps reflect                   adopting the proposed $0.001 minimum increment.       schedules and stating the current structure of fees
                                                                                                         See infra section IV.D.1.a.                           and rebates is complex and constantly changing).
                                                 several considerations by the
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                                                                                                           398 See infra section VII.D.2.a.                      404 See infra section VII.D.2.d.
                                                 Commission as well as input from                          399 See infra sections IV.D.1.c and VII.D.2.b.        405 See, e.g., Better Markets Letter I at 16; Brandes
                                                                                                           400 See infra sections IV.D.1.c. and IV.D.1.d.      Letter at 3; Ontario Teachers et al. Letter at 1–2; IEX
                                                   393 See infra note 1081 and accompanying text.
                                                                                                           401 See Proposing Release, supra note 11, at        Letter IV at 7–8; Verret Letter III at 5–6; Letter from
                                                   394 See supra note 361 and infra note 1764.
                                                                                                         80288. See also infra sections IV.D.1.b.and           John Ramsay, Chief Market Policy Officer, Investors
                                                   395 See Proposed Rule 610(c); Proposing Release,                                                            Exchange LLC, dated Apr. 19, 2024 (‘‘IEX Letter
                                                                                                         VII.C.2.c, specifically table 4. While Rule 610(c)
                                                 supra note 11, at 80269.                                limits the fees assessed against an incoming order    VI’’) at 4. See also supra IV.D.1 (discussing
                                                   396 See Proposed Rule 610(c); Proposing Release,      that executes against a resting protected quote, it   comment letters).
                                                 supra note 11, at 80269.                                does not address the rebates that may be paid.          406 See infra section VII.D.2.d.




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                                                    Further, the Commission is also                        of the fee cap to 10 mils.412 The                          have experienced the high costs of
                                                 reducing the level of the access fee cap                  Commission has balanced the                                access fees, which can be a significant
                                                 for NMS stocks priced under $1.00 to                      competing interests of reducing the cap                    portion of my trading costs. The
                                                 0.1% of the quotation price in order to                   to address the amendments to Rule 612                      proposed reduction in access fee caps
                                                 maintain the preexisting structure as                     and market distortions associated with                     will help to lower my costs, which will
                                                 well as to harmonize that cap with the                    the fee/rebate models that have                            allow me to take advantage of more
                                                 adopted 10 mils cap for NMS stocks                        developed under the preexisting fee                        trading opportunities and ultimately
                                                 priced at $1.00 or more. The                              caps, with the importance of preserving                    benefit from a more efficient
                                                 harmonization will prevent different                      the viability of multiple agency market                    market.’’ 416 Other commenters also
                                                 fees on quotes above and below $1.00                      business models. The amended 10 mils                       stated that a reduction in the access fee
                                                 that could negatively impact price                        access fee cap will lead to improved                       caps would reduce trading costs for
                                                 formation.407 These considerations are                    market quality because it will reduce                      investors.417
                                                 consistent with the analysis and                          distortions in the market and preserve                        Some commenters stated that the
                                                 rationale the Commission used when it                     the integrity of displayed prices, which                   proposal would enhance
                                                 adopted the access fee caps in 2005.408                   will support sufficient price discovery,                   transparency 418 and would reduce
                                                                                                           and will reduce costs for investors.413                    complexity.419 As discussed above, the
                                                    Lowering the access fee caps to these                                                                             reduced access fee caps will enhance
                                                 levels and maintaining the preexisting                    1. Comments on Proposed Rule 610(c)
                                                                                                                                                                      transparency of protected quotes and
                                                 uniform structure will promote the                           Many comments from a broad cross                        reduce complexity in the market by
                                                 statutory objectives of fair and efficient                section of market participants supported                   reducing the need for complex order
                                                 access to protected quotes and will help                  the need to reduce the access fee caps                     types that have developed to
                                                 to ensure the fairness and usefulness of                  in preexisting Rule 610(c).414 Many                        accommodate the fee/rebate models.
                                                 protected quotations 409 because the                      individual commenters stated that the
                                                                                                                                                                         Among the commenters that
                                                 amended access fee caps will lead to                      reduced access fee caps would help to
                                                                                                                                                                      supported a reduction in the access fee
                                                 transaction pricing that is better aligned                reduce trading costs.415 One individual
                                                                                                                                                                      caps,420 several stated that the
                                                 with today’s market dynamics.410                          commenter stated ‘‘[a]s a retail trader, I
                                                                                                                                                                      amendments to Rule 612 to reduce tick
                                                 Recalibrating the level of the caps will                                                                             sizes would necessitate a reduction in
                                                                                                              412 See infra section IV.D.1.c. See also Proposing
                                                 yield savings for investors and help to                                                                              the access fee caps for those securities
                                                                                                           Release, supra note 11, at 80290–91.
                                                 address distortions in the markets while                     413 See infra section VII.D.2. See also Proposing       assigned a smaller tick,421 while many
                                                 maintaining the ability of the trading                    Release, supra note 11, at 80292 and at 80309              others stated that the preexisting access
                                                 centers that display protected                            (stating because ‘‘compensation is above what              fee cap should be lowered to 10 mils per
                                                 quotations to continue to provide                         would exist in a competitive market there is an
                                                                                                           increased incentive to provide liquidity via limit         share for protected quotations in all
                                                 execution services, innovate and                          orders, so queues of limit orders tend to be longer,       NMS stocks priced at $1.00 or more
                                                 compete because they will be able to                      wait times to get a limit order executed also tend         regardless of whether there was a
                                                 retain the same fees (net of any rebates)                 to be longer, and, thus the likelihood that the
                                                                                                                                                                      reduction in tick size.422 As discussed
                                                                                                           market moves away from an investor’s limit order
                                                 for executions that are priced $1.00 or                   increases, leading to lower overall fill rates for limit
                                                 more,411 notwithstanding the reduction                    orders’’) and at 80329 (stating ‘‘[t]he primary              416 Julio Tello, dated Feb. 24, 2023.
                                                                                                           beneficiaries of the reduction in the access fee cap          417 See, e.g., Ontario Teachers et al. Letter at 2;
                                                   407 See infra section VII.D.2.c.                        would be liquidity demanders. For stocks with              Brandes Letter at 3; Boston Partners, Calamos
                                                    408 See generally, Regulation NMS Adopting
                                                                                                           narrow spreads such as tick-constrained stocks, a 30       Advisors, Glenmede Investment, and Janus
                                                                                                           mil access fee can increase the cost of demanding          Henderson Letter.
                                                 Release, supra note 4.
                                                                                                           liquidity by as much as 60%. Consequently,                    418 See, e.g., Grant Medford Letter, dated Mar. 30,
                                                    409 Section 11A(c)(1)(B) of the Exchange Act. See
                                                                                                           reducing the access fee significantly reduces the          2023; Verret Letter III at 24; BlackRock Letter at 10–
                                                 Regulation NMS Adopting Release, supra note 4, at         cost of demanding liquidity in the predominant
                                                 37545.                                                                                                               11.
                                                                                                           maker-taker trading environment. This effect                  419 See, e.g., Budish Letter at 1; Boston Partners,
                                                    410 See infra section VII.D.2.b. As discussed
                                                                                                           coupled with the expected decrease of liquidity
                                                 below, the level of the adopted access fee cap for        suppliers can be expected to decrease competition          Calamos Advisors, Glenmede Investment, and Janus
                                                 protected quotes in NMS stocks priced $1.00 or            to provide liquidity. Less competition to provide          Henderson Letter.
                                                                                                                                                                         420 See, e.g., IEX Letter IV at 1; MEMX Letter at
                                                 more is consistent with the current level charged by      liquidity means that queue lengths could decrease
                                                 some trading centers that do not post protected           and fill rates increase because it would be easier to      22; Biotechnology Innovation Organization Letter at
                                                 quotes and therefore are not subject to the               get to the front of the order book. This effect could      1; Brandes Letter at 3; Letter from Allison Bishop,
                                                 preexisting access fee caps under Rule 610(c).            allow non high frequency traders more opportunity          President, Proof Services LLC, dated Mar. 31, 2023
                                                 Specifically, the fees charged by some ATSs for           to fill orders using liquidity-providing instead of        (‘‘Proof Letter’’) at 1; BlackRock Letter at 10–11;
                                                 execution services are often in the range of 10 mils      liquidity-demanding transactions.’’). See also IEX         Verret Letter I at 1, 2 and 4; MFA Letter at 13.
                                                 for access to their liquidity. See infra note 1118 and    Letter IV at 2, 6–8.                                          421 SIFMA Letter II at 39; Invesco Letter at 4;

                                                 accompanying text and infra section VII.C.2. This            414 See, e.g., IEX Letter IV at 1; IEX Letter VI at     Nasdaq Letter I at 19; Better Markets Letter II at 3–
                                                 level reflects a competitive rate for providing access    1; Better Markets Letter II at 1; We The Investors         4.
                                                 to liquidity, and hence represents a reasonable level     Letter dated Mar. 30, 2023 at 2; Letters from Chris           422 IEX Letter IV at 1; IEX Letter I at 6 and 21;
                                                 for amending the access fee caps for protected            Robinson, dated Mar. 3, 2023; William Bledsoe, Jr.,        Better Markets Letter I at 16; Better Markets Letter
                                                 quotes. See also e.g., Goldman 2018 Letter at 4           dated Feb. 28, 2023; Ryan Macarthur, dated Feb. 24,        II at 4; Ontario Teachers et al. Letter at 2; Brandes
                                                 (stating ‘‘a reduction of the Fee Cap to $0.0010 per      2023; Julio Tello, dated Feb. 24, 2023; David Genco,       Letter at 3; Boston Partners, Calamos Advisors,
                                                 share is reasonable and would be better calibrated        Jr., dated Feb. 24, 2023; John, dated Feb. 23, 2023;       Glenmede Investment, and Janus Henderson Letter
                                                 with today’s market pricing.’’). According to one         Citigroup Letter at 3; BlackRock Letter at 10–11;          (supporting Brandes’ Letter); Healthy Markets Letter
                                                 commenter, while the ‘‘overwhelming proportion of         Better Markets Letter I at 16; ASA Letter at 5;            I at 24; Themis Letter at 7–8; Letter from Andrew
                                                 transaction volume executed on national stock             Vanguard Letter at 2; Invesco Letter at 2; JPMorgan        Hartnett, President and Deputy Commissioner, Iowa
                                                 exchanges is subject to the maximum access fee of         Letter at 6; Ontario Teachers et al. Letter at 1–2;        Insurance Division, North American Securities
                                                 30 mils. . .volume executed on ATS’s and other            Budish Letter at 1; Mark Rogers Letter, dated Mar.         Administrators Association, Inc., dated Mar. 31,
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                                                 venues outside of exchanges is typically subject to       30, 2023; Grant Medford Letter, dated Mar. 30, 2023        2023 (‘‘NASAA Letter’’) at 1 and 9; ASA Letter at
                                                 substantially lower costs of access, in the range of      ; Jared Albert Letter, dated Mar. 28, 2023; Steven         5; Vanguard Letter at 6; JPMorgan Letter at 6;
                                                 ten mils and lower.’’). IEX Letter IV at 8.               Tripari Letter (‘‘Tripari Letter’’), dated Mar. 28,        Capital Group Letter at 4; Pragma Letter at 7;
                                                    411 See also infra sections VII.C.2 and VII.D.2, and   2023; Peter McKornack Letter, dated Mar. 29, 2023;         Invesco Letter at 4; Verret Letter I at 8; XTX Letter
                                                 table 14. As discussed below, the Commission              Verret Letter III at 26.                                   at 5; Letter from Jeffrey P. Mahoney, General
                                                 estimates for purposes of this release that exchange         415 See, e.g., Julio Tello, dated Feb. 24, 2023; Ryan   Counsel, Council of Institutional Investors, dated
                                                 net capture is 2 mils while also recognizing that net     Macarthur, dated Feb. 24, 2023; David Genco, Jr.,          Mar. 30, 2023 (‘‘Council of Institutional Investors
                                                 capture can range from approximately 2 to 6 mils.         dated Feb. 24, 2023; John, dated Feb. 23, 2023;            Letter’’) at 3; BMO Letter at 3; and BlackRock Letter
                                                 See infra note 1103.                                      Budish Letter at 1.                                        at 10–11.



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                                                 below, the Commission has decided to                     forces should inform access fees.’’ 428                  the access fee caps continue to be
                                                 maintain the uniform access fee cap                      Another commenter stated that the                        necessary in order to support the
                                                 structure and continue to apply the caps                 ‘‘solution is to let brokers take fees into              objectives of fair and efficient access to
                                                 to all protected quotes based on price.                  consideration in their order routing . . .               protected quotations, which ‘‘is
                                                 The Commission has decided that                          and route to the market with the best                    necessary to support the integrity of the
                                                 reducing the caps for all protected                      all-in costs,’’ which would obviate the                  price protection requirement established
                                                 quotes, not just those that may be                       need for the Commission to ‘‘get into the                by the adopted the Order Protection
                                                 assigned the smaller $0.005 minimum                      price control business.’’ 429                            Rule.’’ 433 In adopting Rule 611, the
                                                 pricing increment, is appropriate to                        While some commenters suggested                       Commission stated that strong
                                                 address the distortions that exist in the                that access fees be further reduced or                   intermarket price protection offers
                                                 national market system. Further,                         eliminated altogether, the Commission                    greater assurance that investors who
                                                 maintaining the uniform structure will                   is not eliminating fees for access to                    submit market orders will receive the
                                                 help to ensure that the rule does not                    protected quotes. Rule 610(c) establishes                best readily available prices for their
                                                 increase complexity in the national                      limits on the amount of fees that can be                 trades.434 Rule 611 was designed to
                                                 market system.                                           charged for access and when the                          ‘‘strengthen the protection of displayed
                                                    Several commenters stated that                        Commission adopted Rule 610(c), the                      and automatically accessible quotations
                                                 modifications to reflect the significant                 Commission recognized that agency                        in NMS stocks.’’ 435 The Commission
                                                 evolution in market conditions since the                 market trading centers have historically                 recognized that such objectives could be
                                                 caps were established almost two                         relied, at least in part, on charging fees               undermined if ‘‘outlier’’ markets could
                                                 decades ago are long overdue.423 One                     for access. Eliminating or prohibiting                   charge high fees to market participants
                                                 commenter stated that the current                        access fees entirely would unduly harm                   who would be required to pay such high
                                                 access fee caps are ‘‘antiquated.’’ 424                  the business model of agency market                      fees to access a protected quotation
                                                 Another commenter stated that the                        trading centers by not allowing them to                  because of Rule 611. The comments that
                                                 access fee caps are ‘‘outdated’’ and                     collect fees for the execution services                  suggest eliminating the access fee caps
                                                 ‘‘counter to the interests of long term                  they provide.430 As discussed below,                     and allowing a consideration by brokers
                                                 investors.’’ 425 The Commission is                       the national securities exchanges are the                of all-in costs or relying solely on
                                                 reducing the access fee caps to                          only trading centers at this time that                   competition, do not address the concern
                                                 accommodate the amendments to Rule                       display protected quotations and they                    that led to the adoption of the access fee
                                                 612. Further, retaining a uniform access                 should be able to continue to charge for                 caps, namely that outlier markets would
                                                 fee cap structure will benefit the market                the execution services they provide.431                  take advantage of Rule 611 by imposing
                                                 by introducing less complexity and help                     However, while recognizing the                        high fees for access.436 The access fee
                                                 to address market distortions that have                  importance of the agency market                          caps remain necessary for the reasons
                                                 arisen under the current fee caps. The                   business model to the national market                    they were adopted.
                                                 current market structure has                             system, in adopting the access fee caps                     Some commenters stated that the
                                                 experienced significant changes in                       the Commission also was mindful that                     Commission should act to prohibit
                                                 trading dynamics and operates under a                    ‘‘[a]ccess fees tend to be highest when                  rebates.437 While in many cases rebates
                                                 fee structure that is different from when                markets use them to fund substantial
                                                 Rule 610(c) was adopted and                              rebates to liquidity providers, rather                      433 See Regulation NMS Adopting Release, supra

                                                 problematic for the reasons articulated                  than merely to compensate for                            note 4, at 37502–37503 (stating ‘‘protecting the best
                                                                                                                                                                   displayed prices against trade-throughs would be
                                                 throughout this release. As discussed                    execution services’’ and artificially high               futile if broker-dealers and trading centers were
                                                 above and in the Economic Analysis,                      access fees (i.e., those that are used                   unable to access those prices fairly and
                                                 the amendment modernizes Rule 610(c)                     primarily to fund rebates) can                           efficiently.’’) See also IEX Letter V at 2 (stating
                                                 to reflect current trading dynamics and                  undermine price discovery because ‘‘the                  proposal is designed to ‘‘prevent high fees from
                                                                                                                                                                   undermining Regulation NMS’s price protection
                                                 mitigate distortions associated with the                 published quotations of such markets                     privileges afforded to exchanges’’).
                                                 preexisting caps while preserving its                    would not reliably indicate the true                        434 See Regulation NMS Adopting Release, supra

                                                 original objectives.                                     price that is actually available to                      note 4, at 37501.
                                                    Some individual commenters                            investors or that would be realized by                      435 See Regulation NMS Adopting Release, supra

                                                 recommended that the proposal be                         liquidity providers.’’ 432                               note 4, at 37501.
                                                                                                                                                                      436 See supra note 355 and accompanying text.
                                                 modified to go further to address                           Further, notwithstanding
                                                                                                                                                                      437 See, e.g., Steven Tripani, dated Mar. 28, 2023;
                                                 distortions in the market related to the                 commenters’ statements to the contrary,
                                                                                                                                                                   Michael Dudek, dated Mar. 31, 2023 at 4; Betty
                                                 current fee and rebate models.426 A few                                                                           Waters Letter dated Mar. 31, 2023. One commenter
                                                 commenters stated that the access fee                      428 Cboe Letter II at 2 and 8. See also Angel Letter
                                                                                                                                                                   suggested that the Commission should prohibit or
                                                 caps should be eliminated entirely.427                   at 7.                                                    restrict the use of CADV-tiers. We the Investors
                                                                                                            429 See Angel Letter at 7.
                                                 One commenter stated that ‘‘competitive                                                                           Letter, dated Mar. 30, 2023 at 7. As discussed
                                                                                                            430 See Regulation NMS Adopting Release, supra         below, the Commission is adopting Rule 610(d) as
                                                                                                          note 4, at 37544–45 (stating the Commission              proposed which will enhance the transparency of
                                                   423 See, e.g., IEX Letter IV at 5; Brandes Letter at
                                                                                                          considered market participants’ views stating that       fees and rebates, including fees that may be tiered.
                                                 3; Citigroup Letter at 5; BlackRock Letter at 10–11;     agency markets must be allowed to charge access          The Commission notes that it continues to assess
                                                 DOJ Letter at 5; Harris Letter at 1; BMO Letter at       fees for their services, as well as those that stated    volume-based exchange transaction pricing. See
                                                 4.                                                       that access fees distort quotation prices and should     Securities Exchange Act Release No. 98766 (Oct. 18,
                                                    424 IEX Letter IV at 5. See also IEX Letter III at    be banned. In adopting the 30 mil access fee cap,        2023), 88 FR 76282 (Nov. 6, 2023) (proposing new
                                                 5.                                                       the Commission recognized that ‘‘agency trading          rule 6b-1 under the Exchange Act, which would
                                                    425 Brandes Letter at 3.                              centers perform valuable agency services in              prohibit exchanges from offering volume-based
                                                    426 See, e.g., Tripari Letter, dated Mar. 28, 2023;   bringing buyers and sellers together, and that their     transaction pricing in connection with the
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                                                 Francisco Gil, dated Mar. 28, 2023; We The               business model historically has relied, at least in      execution of agency or riskless principal orders in
                                                 Investors Letter dated Mar. 30, 2023 at 7; Adam          part, on charging fees for execution of orders against   NMS stocks) (‘‘Fee Tiers Proposal’’). As discussed
                                                 Abreu, dated Apr. 30, 2023 at 2; Michael Dudek,          their displayed quotations.’’ The Commission             below, Rule 610(d) will provide certainty regarding
                                                 dated Mar. 31, 2023 at 4; Larry Douglas, dated Apr.      concluded that ‘‘prohibiting access fees entirely        the amount of the fee to be assessed and the rebate
                                                 1, 2023 at 1 and 3; We The Investors Letter I dated      would unduly harm this business model.’’). See           to paid at the time of the time of the trade, which
                                                 Mar. 15, 20234; Betty Waters Letter, dated Mar. 31,      infra sections VII.C.2.b and VII.D.2.b.                  is separate and distinct from the Commission’s
                                                 2023; Harris Letter at 1 & 4.                              431 Id. See also infra section IV.D.1.c.
                                                                                                                                                                   consideration of other regulatory action regarding
                                                    427 See Cboe Letter II at 2 and 8; Angel Letter at      432 See Regulation NMS Adopting Release, supra         volume-based transaction pricing. See infra section
                                                 7.                                                       note 4, at 37545.                                        IV.E.



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                                                 are funded by the access fees that are                   sizes. Accordingly, the Commission                        pricing distortions.454 Therefore,
                                                 collected, Rule 610(c) does not apply to                 should consider reducing the access fee                   because the Commission is reducing the
                                                 rebates.438 The Commission is adopting                   cap even if it ultimately decides not to                  minimum pricing increments for certain
                                                 amendments to Rule 610(c) to reduce                      proceed with the proposed tick size                       NMS stocks as set forth in Rule 612, the
                                                 the access fee caps for the reasons                      changes.’’ 446 Another commenter,                         Commission is also reducing the Rule
                                                 discussed herein, but is not expanding                   however, ‘‘strongly disagreeing’’ with                    610(c) access fee caps to prevent
                                                 its application to apply to rebates or to                commenters’ suggestion that regulatory                    introducing pricing distortions that can
                                                 eliminate them.439 The adopted                           reform of exchange fees could proceed                     occur if an access fee is greater than
                                                 amendments to Rule 610(c) maintain                       independently, stated that ‘‘[c]alls for                  one-half of the tick. Maintaining an
                                                 fidelity to the original objectives of the               regulatory mandated reductions in                         access fee cap that is less than one-half
                                                 rule, but recalibrate the fee cap amounts                exchange access fee caps fail to                          of the tick size will preserve
                                                 to reflect current market structure. As a                recognize that exchange access fee caps                   coherence 455 and result in lower
                                                 practical matter, however, the reduced                   were adopted and justified to facilitate                  transaction costs for investors.456
                                                 access fee caps in amended Rule 610(c)                   effective intermarket linkages.’’ 447                        Further, lowering the access fee cap to
                                                 will likely reduce the rebates paid 440                     Other commenters stated that the                       10 mils for those NMS stocks assigned
                                                 and, as a result, the amended access fee                 levels of the access fee caps and the                     a lower tick will address the
                                                 caps will reduce the distortions created                 minimum pricing increments are                            distortionary effect on price
                                                 by the existing fee structures that use                  connected.448 One commenter stated                        transparency that would result absent
                                                 access fees as a means to fund the                       ‘‘[a] reduction in the minimum tick size                  adjustment to the access fee cap.457 To
                                                 payment of rebates in the market.441                     without reducing access fees could                        illustrate, if the access fee cap remained
                                                    One commenter stated that the                         permit fees to become a higher                            at $0.003, which would fund rebates at
                                                 Commission should require the                            percentage of the minimum pricing                         a similar level, and the tick size was
                                                 exchanges to ‘‘revert to traditional fees                increment, which would almost                             adjusted to $0.005, the effect on the
                                                 imposed on buyers or sellers or both                     certainly undermine price                                 price of a stock could be as follows. An
                                                 without regard to the maker-taker                        transparency.’’ 449 Commenters stated                     executed trade could be displayed at a
                                                 status.’’ 442 Rule 610(c) does not require               that the access fee caps should be                        price of $10.005 followed by another
                                                 any particular fee structure, like a flat                reduced to help ensure that access fees                   executed trade at a price of $10.010.
                                                 fee structure suggested by a                             do not become an outsized portion of                      Many investors would interpret this as
                                                 commenter.443 Instead, the access fee                    displayed quotes in light of proposed                     a sign that a stock was increasing in
                                                 caps set an upper limit on the amount                    changes to the minimum pricing                            value. However, with an access fee of
                                                 of fees that can be charged for access to                increments.450 One commenter stated                       $0.003, the net price of the first order if
                                                 protected quotations. Within this                        that it was ‘‘recommend[ing] keeping                      it represents a market order to buy
                                                 construct, trading centers can continue                  fees strictly less than 1⁄2 of the tick size’’            would be $10.008 (the buyer pays
                                                 to develop fee structures that are                       in order to prevent ‘‘price instability                   $10.005 and pays $0.003 in fees),
                                                 consistent with Rule 610 as well as any                  and quote flickering’’ and stated ‘‘[i]f                  whereas the net price of the second
                                                 other regulatory requirements that may                   fees reach 1⁄2 the tick size, it means that               order if it is a market order to sell would
                                                 be relevant to a particular trading                      the same effective price point can be                     be $10.007 (the seller receives $10.010
                                                 center.444                                               achieved multiple ways on an all-in                       and pays $0.003 in fees). In this
                                                 a. Access Fees and Minimum Pricing                       basis with different nominal prices (e.g.,                example, the price has fallen, not risen.
                                                 Increments                                               an offer at 10.000 with a $0.0005 rebate,                 Lowering the access fee cap to 10 mils
                                                                                                          or a bid of 10.001 with a $0.0005                         will mitigate this problem.458
                                                    Several commenters stated the                                                                                      The Commission also agrees that the
                                                 Commission should lower the access fee                   rebate).’’ 451 Another commenter stated
                                                                                                          ‘‘if the access fee cap were to exceed                    access fee caps should be lowered for all
                                                 caps regardless of whether any changes                                                                             NMS stocks regardless of whether a
                                                 are made to the minimum pricing                          half of the tick size, the paper trail can
                                                                                                          be not only confusing but can literally                   stock is assigned the lower pricing
                                                 increments and stated that such changes                                                                            increment of $0.005 or retains a $0.01
                                                 are warranted even if the Commission                     misrank trades.’’ 452
                                                                                                             As recognized by several commenters,                   minimum pricing increment to address
                                                 elects not to proceed with the proposed                                                                            market distortions attributable to the fee
                                                 tick changes.445 One commenter stated                    access fees and tick sizes are related in
                                                                                                          certain instances.453 Specifically, an                    structures that have developed under
                                                 ‘‘the current harms associated with the
                                                                                                          access fee that is too high when                          the access fee caps and align the fee
                                                 $0.003 access fee cap and maker-taker
                                                                                                          compared to the tick size can create                      caps with current market dynamics. The
                                                 pricing models exist at the current tick
                                                                                                                                                                    Commission is reducing the access fee
                                                   438 See supra section IV.B.2. See also infra section     446 See Vanguard Letter at 6.                           caps for all NMS stocks and maintaining
                                                 IV.D.1.b.                                                  447 Cboe Letter III at 1–2.                             the structure that was originally
                                                   439 See infra note 590 and accompanying text.             448 See, e.g., SIFMA Letter II at 39 (stating ‘‘the    adopted, i.e., assigning an access fee cap
                                                   440 See infra section VII.C.2.                         Commission appropriately recognized that tick             based on the price of the protected
                                                   441 See infra section IV.D.1.b and VII.D.2.            sizes and access fees are linked with each other’’);      quotation. And, as discussed above,
                                                   442 See Harris Letter at 1 and 4.                      Nasdaq Letter I at 19 (‘‘support[ing] adjusting the
                                                                                                          access fee cap to accommodate new tick sizes’’);
                                                                                                                                                                    maintaining a uniform access fee cap
                                                   443 See Harris Letter at 4.
                                                   444 National securities exchanges establish and
                                                                                                          Better Markets Letter II at 3–4; MEMX Letter at 22        structure will help to ensure that the
                                                 amend their fee schedules by filing proposed fee
                                                                                                          (‘‘access fees and tick sizes are inherently linked’’).   requirements under Rule 610(c) do not
                                                 rule changes, pursuant to section 19(b) of the
                                                                                                             449 Better Markets Letter II at 3–4.
                                                                                                                                                                    increase the fee structure complexity.
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                                                                                                             450 See, e.g., Invesco Letter at 4; NASAA Letter at
                                                 Exchange Act and rule 19b–4 thereunder, for                                                                           Some commenters were generally
                                                 Commission review. See 15 15 U.S.C. 78f(b)(4) and        9; JPMorgan Letter at 6; Better Markets Letter II at
                                                                                                          4; Healthy Markets Letter I at 22; Pragma Letter at
                                                                                                                                                                    supportive of an access fee cap
                                                 (5)(requiring the rules of the exchange provide for
                                                 the equitable allocation of reasonable dues, fees,       7; Budish Letter at 6; AIMA Letter at 4.
                                                                                                             451 Pragma Letter at 7.                                 454 See infra section VII.D.2.a.
                                                 and other charges among members, and issuers and
                                                                                                             452 Budish Letter at 6.                                 455 See infra section VII.D.2.a.
                                                 other persons using its facilities and not be
                                                                                                                                                                     456 See id.
                                                 designed to permit unfair discrimination).                  453 See, e.g., MEMX Letter at 22; SIFMA Letter II
                                                   445 See, e.g., Healthy Markets Letter I at 24;                                                                    457 See id.
                                                                                                          at 39; Better Markets Letter II at 3–4; Nasdaq Letter
                                                 Vanguard Letter at 6. See also supra note 422.           I at 19. See also infra section VII.D.2.                   458 See id.




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                                                 reduction because of the changes to the                   proposal went ‘‘far beyond what is                       stocks that are assigned a higher tick
                                                 minimum pricing increment, but offered                    needed’’ to achieve that purpose ‘‘to the                increment.’’ 473 One commenter stated
                                                 no or few specifics as to the amount or                   detriment of market quality and the                      that setting different fee caps based on
                                                 percentage of the reduction.459 Other                     NBBO’’ because reducing the caps                         tick size would ‘‘allow exchanges to
                                                 commenters urged the Commission to                        would implicitly reduce rebates, which                   impose a ‘penalty fee’ for participants
                                                 reduce the access fee caps in a manner                    would impede exchanges’ ability to                       looking to access quotes in stocks that
                                                 that is proportionate to any reduction in                 attract liquidity and encourage tighter                  are less actively traded’’ and further
                                                 the tick (e.g., for a $0.005 tick, the                    spreads.465 As an alternative to the                     stated that ‘‘there is no justification in
                                                 access fee cap should be 15 mils).460                     proposal, the commenter recommended                      logic or regulatory purpose to make that
                                                    Some commenters stated that the                        the Commission adopt a fee cap of 15                     distinction.’’ 474 However, other
                                                 access fee caps should be 30% of the                      mils for NMS stocks assigned to a                        commenters disfavored a ‘‘one-size-fits-
                                                 minimum pricing increment in order to                     $0.005 minimum pricing increment and                     all’’ model.475 One commenter
                                                 remain consistent with the percentage                     retain the preexisting 30 mils access fee                suggested the Commission consider a
                                                 level under the preexisting rule.461                      cap for NMS stocks that retain the $0.01                 ‘‘dynamic tick size approach with the
                                                 These commenters recommended                              minimum pricing increment.466                            access fee cap proportionally tied to
                                                 maintaining the current 30% ratio                         According to this commenter, this                        both smaller and larger tick sizes’’ 476
                                                 between tick size and access fee cap                      alternative ‘‘would cut access fees by                   and recommended the access fee caps
                                                 because they were primarily concerned                     half for securities in the $0.005 tick                   be a certain percentage of the minimum
                                                 that the proposal would result in access                  bucket, while preserving room for                        pricing increment, but did not propose
                                                 fees that were 50% of the tick (an                        exchanges to continue [to] offer rebates                 a particular percentage that should be
                                                 increase in fee to tick ratio) for the                    that are needed to bolster market quality                adopted.477
                                                 smallest proposed tick size (i.e., the                    and the NBBO.’’ 467 This commenter                          Other commenters disagreed that the
                                                 proposed $0.001 tick would have been                      further stated that although the                         level of the access fee cap should be tied
                                                 assigned a 5 mils access fee cap). Other                  Commission intends the proposal to                       to the pricing increment assigned. One
                                                 commenters expressed concern                              help the exchanges compete for retail                    exchange commenter stated that the
                                                 regarding application of a two-tiered                     order flow by reducing the cost for                      ‘‘original justification for access fee caps
                                                 access fee cap structure to a four-tiered                 broker-dealers to access liquidity on the                had nothing to do with tick sizes’’ and
                                                 reduction in minimum pricing                              exchange, compressing the access fee                     instead ‘‘centered around ensuring that
                                                 increments.462 These commenters’                          caps would make it more expensive to                     transaction fees did not unduly distort
                                                 concerns regarding both the increase in                   provide liquidity to the exchanges and                   the price of a quote that the Commission
                                                 fee to tick ratio and asymmetrical                        thus any benefit would be                                was protecting by rule [611].’’ 478 This
                                                 structure of the proposal, however, have                  undermined.468                                           commenter also stated that
                                                 been obviated because the Commission                         Several commenters stated that there                  ‘‘[m]odifications to access fee caps
                                                 is neither adopting the $0.001 tick, nor                  should be a uniform fee cap to ‘‘avoid                   should only be discussed in the context
                                                 the corresponding 5 mils cap.                             any additional market complexity.’’ 469                  under which they were conceived’’
                                                    Other commenters stated that the                                                                                which was ‘‘to ensure that market
                                                                                                           Some commenters stated that the
                                                 access fee caps should be reduced only                                                                             centers displaying the best price did not
                                                                                                           proposed tiered access fee caps and the
                                                 for NMS stocks that are assigned a                                                                                 impose access fees that compromised
                                                                                                           proposed variable minimum pricing
                                                 smaller minimum pricing increment                                                                                  the value of the better price.’’ 479
                                                                                                           increments would add unnecessary
                                                 and only in proportion to the amount of                                                                               The Commission agrees that one of
                                                                                                           complexity.470 One commenter stated
                                                 a stated corresponding decrease in the                                                                             the purposes of the access fee cap was,
                                                 tick size, i.e., NMS stocks that were                     that it ‘‘strongly favor[ed] a single,                   and remains, to help to ensure that
                                                 assigned a smaller $0.005 tick size                       consistent standard, rather than                         transaction fees do not unduly distort
                                                 would be subject to a 15 mils access fee                  multiple caps tied to different ticks,                   the price of protected quotations.
                                                 cap.463 Similarly, several exchange                       which would create unnecessary                           However, the Commission does not
                                                 groups commented on the proposal and                      complexity.’’ 471 Another commenter                      agree that goal is best achieved by
                                                 offered alternative approaches to modify                  stated that applying a uniform cap                       adopting certain commenters’
                                                 Rule 610(c) to reflect the change in                      across all NMS stocks would help to                      recommendation to reduce the access
                                                 minimum pricing increments.464 One                        address market distortions such as                       fee caps proportionally (i.e., to 15 mils)
                                                 exchange group commenter supported                        routing conflicts arising from the maker-                and only for those NMS stocks that are
                                                 the need to adjust the access fee caps to                 taker fee model.472 Another commenter                    assigned a smaller minimum pricing
                                                 accommodate the proposed new tick                         stated that continuing to apply a                        increment. A proportional reduction for
                                                 sizes, but stated its view that the                       uniform cap will more effectively                        a limited universe of NMS stocks would
                                                                                                           achieve the objectives of Rule 610                       allow higher access fees and rebates
                                                    459 See, e.g., AIMA Letter at 4; Cambridge Letter      because absent such adjustment, ‘‘the                    along with related market distortions to
                                                 at 6; ICI Letter I at 16; STA Letter at 8.                ability of exchanges to abuse their status               continue for the NMS stocks that retain
                                                    460 See, e.g., Pragma Letter at 7; MFA Letter at 13;
                                                                                                           as protected markets will be no less for                 the $0.01 increment and would
                                                 Schwab Letter II at 6 and 36; SIFMA Letter II at 45;
                                                 MEMX Letter at 22; Jefferies Letter at 2; NYSE Letter       465 Nasdaq Letter I at 2 and 19.
                                                                                                                                                                    perpetuate unwarranted complexity
                                                 I at 7; Nasdaq Letter I at 29; NYSE, Schwab, and             466 Nasdaq Letter I at 2, 19 and 29. See also NYSE    (e.g., complex orders types, market
                                                 Citadel Letter at 1–2.
                                                    461 See, e.g., FIA PTG Letter II at 3; Hudson River    Letter I at 7.
                                                                                                              467 Nasdaq Letter I at 2.                               473 See, e.g., IEX Letter VI at 2.
                                                 Letter at 4; MMI Letter at 7; Robinhood Letter at 46,
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                                                                                                              468 Nasdaq Letter I at 20.                              474 IEX Letter VI at 2.
                                                 56–59. See also MEMX at 22.
                                                                                                              469 Better Markets Letter I at 16. See also e.g.,        475 See, e.g., T. Rowe Price Letter at 4; BlackRock
                                                    462 See, e.g., JPMorgan Letter at 6; MFA Letter at

                                                 13.                                                       Better Markets Letter II at 4; Brandes Letter at 3;      Letter at 10–11; Citigroup Letter at 5–6; Letter from
                                                    463 See, e.g., Fidelity Letter at 14–15; Cambridge     BlackRock Letter at 11; JPMorgan Letter at 6;            Phil Mackintosh, Nasdaq, Inc., dated May 7, 2024,
                                                 Letter at 6; NYSE, Schwab, and Citadel Letter at 2;       Invesco Letter at 4.                                     at 2 (‘‘Nasdaq Letter V’’).
                                                                                                              470 See, e.g., JPMorgan Letter at 6; Brandes Letter      476 Morgan Stanley Letter at 3.
                                                 MEMX Letter at 23; Jefferies Letter at 2; Schwab
                                                 Letter II at 6.                                           at 3.                                                       477 Morgan Stanley Letter at 3–4.

                                                    464 See Nasdaq Letters I and II; NYSE Letter I; and       471 Brandes Letter at 3.                                 478 See Cboe Letter IV at 2.

                                                 Cboe Letters I–IV.                                           472 Capital Group Letter at 4.                           479 See Cboe Letter IV at 2.




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                                                 fragmentation, complex fee and rebate                    transparency and routing practices.486                  trip buy and sell trade could result in
                                                 schedules and frequent changes to                        According to one commenter, ‘‘there is                  access fees equal to the spread’’ and
                                                 complex order routing strategies to                      evidence that exchanges that pay the                    expressing concern that ‘‘at 50% of the
                                                 adjust to fee changes) to the current                    highest rebates often provide worse                     spread, rebates of greater than half of the
                                                 market structure.480 Applying a uniform                  execution quality.’’ 487 Another                        minimum pricing increment could lead
                                                 10 mil access fee cap to access protected                commenter provided data it said                         to market distortion.’’ 492 Because the
                                                 quotations in all NMS stocks priced                      demonstrates that ‘‘poor execution                      amendment to Rule 612 does not
                                                 $1.00 or greater will avoid injecting                    quality is directly linked to high access               include the $0.001 minimum pricing
                                                 complexity 481 in the market and will                    fees.’’ 488                                             increment, the Commission is not
                                                 continue to guard against ‘‘outlier’’                       Lowering the cap to 10 mils for all                  adopting the 5 mils access fee cap.
                                                 markets undermining the objectives of                    NMS stocks, both those that are                         Specifically, with the elimination of the
                                                 Rule 611.                                                assigned a $0.005 tick and those that                   proposed $0.001 minimum pricing
                                                                                                          retain the $0.01 tick, will benefit market              increment,493 the proposed 5 mil access
                                                    While the Commission agrees with                                                                              fee cap is unnecessary.494 Accordingly,
                                                                                                          participants, including investors, by
                                                 commenters that tick size and access                                                                             the Commission is adopting the
                                                                                                          lessening the incentives to route to a
                                                 fees are relational in so far as the access                                                                      proposed 10 mils access fee cap as
                                                                                                          market in order to receive a rebate.
                                                 fee cannot be more than half of the                         The Commission proposed a two-level                  proposed.495 The Commission is
                                                 minimum pricing increment (for the                       access fee cap structure for access to                  removing the proposed tiered approach
                                                 reasons discussed above), maintaining                    protected quotes in NMS stocks priced                   to the access fee caps and instead
                                                 the current proportionality of the access                at $1.00 or more to accommodate the                     maintaining the preexisting single,
                                                 fee to tick could perpetuate distortions                 proposed variable minimum pricing                       uniform access fee cap structure for
                                                 in the market. As stated by one                          increment structure and specifically to                 protected quotes priced $1.00 or
                                                 commenter, ‘‘when the cap was set in                     prevent the access fee caps from                        more.496 The amendment will introduce
                                                 2005, neither the Commission nor                         creating pricing distortions with the                   fewer variables, less complexity and
                                                 commenters ever suggested that the cap                   smallest proposed minimum pricing                       lower cost and operational risk as
                                                 should be exactly equal to a fixed                       increment (i.e., 5 mils access fee cap for              compared to the proposed two-level
                                                 proportion of the tick size.’’ 482                       NMS stocks that would have been                         access fee cap structure.497 More
                                                    Further, lowering the access fee cap                  assigned a $0.001 pricing increment and                 specifically, as is the case today, there
                                                 for only those NMS stocks that are                       10 mils cap for NMS stocks that would                   will be one access fee cap for NMS
                                                 assigned a lower minimum pricing                         have been assigned a pricing increment                  stocks priced at $1.00 or more and a
                                                 increment (i.e., those NMS stocks that                   greater than $0.001).489 Specifically, the              separate access fee cap that applies to
                                                 are constrained by the $0.01 minimum                     proposed 5 mil access fee cap was                       NMS stocks priced below $1.00.
                                                 pricing increment) and maintaining the                   necessary to accommodate the proposed                   b. Impact on Liquidity and the NBBO
                                                 preexisting (30 mils) fee cap for all other              lowest $0.001 minimum pricing
                                                 NMS stocks priced $1.00 or greater                       increment because imposing the                             Some commenters stated that
                                                 could increase the probability that some                 proposed 10 mil access fee cap on the                   lowering the access fee cap to 10 mils
                                                 stocks will oscillate from one tick size                 $0.001 minimum pricing increment                        would not impinge on the exchanges’
                                                 to another rather than settling on an                    would have created distortions in                       ability to offer incentives and attract
                                                 appropriate tick. This oscillation creates               quoting and negatively impact pricing                   liquidity and instead stated that
                                                 additional cost for market participants,                 transparency.490                                        reducing the caps would likely draw
                                                 introduces complexity in the markets                        Several commenters raised concerns                   liquidity back to the exchanges.498
                                                                                                          about the proposed 5 mil access fee cap                 According to one commenter, ‘‘ATSs
                                                 and creates operational risk.483 In
                                                                                                          and its ratio as compared to the                        and other off-exchange venues generally
                                                 addition, continuing to apply a 30 mil
                                                                                                          minimum pricing increment.491 One                       charge rates much lower than the access
                                                 access fee cap to those NMS stocks that
                                                 continue to be assigned a $0.01 pricing                  commenter stated that ‘‘[a]t 50% of the                   492 Hudson River Letter at 4.
                                                 increment would ignore the efficiencies                  minimum pricing increment, a round                        493 See supra section III.C and supra note 346.
                                                 in trading 484 that have been realized in                                                                           494 This approach is consistent with some
                                                                                                            486 See, e.g., IEX Letter IV at 2–4; Better Markets
                                                 the intervening 19 years since the caps                                                                          commenters’ recommendations. See, e.g., Better
                                                                                                          Letter I at 16.                                         Markets Letter I at 16 (stating ‘‘the Commission
                                                 were adopted and would not address                          487 Better Markets Letter I at 16. See also IEX
                                                                                                                                                                  should just dispense with the $0.001 tick size
                                                 the distortive effects of access fee                     Letter VI at 7; NASAA at 9.                             altogether’’ because doing so would eliminate ‘‘the
                                                 structures that assess access fees at or                    488 IEX Letter VI at 7.                              need for a separate [5 mil] access fee cap.’’ This
                                                 near the current cap in order to                            489 See Proposing Release, supra note 11, at 80348   commenter stated that proceeding in this manner
                                                 maximize the amount of the rebate that                   (stating ‘‘the access fee cap should not be greater     would maintain a single uniform cap for all stocks
                                                                                                          than 1⁄2 of the tick size in order to preserve          and avoid introducing additional complexity).
                                                 can be offered.485                                                                                                  495 See supra note 346.
                                                                                                          coherence between net and nominal price rankings
                                                    In addition, as discussed below, and                  of trading venues. This would not be possible with         496 Several commenters expressed support for

                                                 supported by some commenters, fees                       an access fee cap of $0.001 and a lowest possible       expanding the application of the access fee caps in
                                                                                                          proposed tick size of the same amount, as would         certain ways. See, e.g., infra notes 614–616.
                                                 and rebates which are currently                          be the case for the smallest tick size tier from the    Expanding or altering the structure of the cap
                                                 benchmarked against the 30 mil cap                       proposal.’’).                                           would add complexity to the national market
                                                 have a negative impact on price                             490 See Proposing Release, supra note 11, at 80267   system. As discussed above, in response to
                                                                                                          & 80289–90 (stating ‘‘[a] reduction in the minimum      commenters, amended Rule 610(c) introduces fewer
                                                                                                          pricing increment without reducing the access fee       variables and less complexity into the national
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                                                   480 See infra section VII.D.2.
                                                                                                          caps could permit fees to become a higher               market system. Expanding the application of Rule
                                                   481 See infra section VII.D.2.d.
                                                                                                          percentage of the minimum pricing increment,            610(c) and/or modifying its structure as these
                                                   482 IEX Letter V at 7.
                                                                                                          which could potentially undermine price                 commenters suggest would be inconsistent with
                                                   483 See infra section VII.F.2.a.                                                                               this approach.
                                                                                                          transparency and exacerbate the other concerns
                                                   484 See supra note 405 and accompanying text           with maker-taker fees.’’).                                 497 See Regulation NMS Adopting Release, supra

                                                 (discussing trading efficiencies due to technology          491 See, e.g., Schwab Letter II at 6 and 36; SIFMA   note 4, at 37595.
                                                 changes and reduced costs), infra note 598, and          Letter II at 45; Citadel Letter I at 23; Hudson River      498 See IEX Letter IV at 18–19, 22; Themis Letter
                                                 infra section IV.D.1.d.                                  Letter at 4; AIMA Letter at 4; Robinhood Letter at      at 8; Better Markets Letter I at 16; BMO Letter at
                                                   485 See infra section IV.D.1.d.                        57–58.                                                  3–4; ASA Letter at 5.



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                                                 fees imposed by most exchanges.                            According to one commenter, ‘‘the                     more price distortion and misaligned
                                                 Because their cost of access is so much                    current fee levels foster and enable                  incentives.’’ 515
                                                 higher than on other venues, exchanges                     significant market distortions in today’s                Other commenters opposed any
                                                 become the venue of ‘last resort.’ ’’ 499                  marketplace’’ and ‘‘the fees charged by               changes to the existing access fee caps
                                                 This commenter further stated that                         exchanges often serve as powerful                     because they stated that reducing the
                                                 ‘‘modernizing the access fee cap and                       disincentives for market participants to              caps would limit the exchanges’ ability
                                                 bringing exchange access fees in line                      access that liquidity.’’ 509 Another                  to offer rebates to incentivize liquidity
                                                 with off-exchange trading venues will                      commenter ‘‘recognize[d] that access                  providers, as access fees typically fund
                                                 reduce the need for exchange avoidance                     fees and the rebates that they fund serve             such rebates and this could negatively
                                                 and naturally result in a better                           an important function in incentivizing                impact liquidity on exchange
                                                 experience for liquidity providers, one                    liquidity provision for thinly-traded                 markets.516 Some commenters stated
                                                 that will not need to be ‘offset’ by rebate                securities and compensating market                    that the reduction in the access fee caps,
                                                 payments.’’ 500 Another commenter                          makers for adverse selection,’’ but also              which would reduce rebates, would
                                                 stated that ‘‘[b]rokers’ avoidance of                      stated that ‘‘[p]rudent regulation must               result in wider spreads, and less quoted
                                                 these fees is a significant contributor for                appropriately . . . balance the                       size which would increase trading
                                                 brokers often choosing to internalize or                   beneficial effect of access fees on                   costs.517 One commenter stated that the
                                                 first route to ATSs or OTC market                          liquidity against the potential for market            ‘‘cost of widening spreads that would
                                                 makers, rather than to exchanges with                      distortions’’ associated with                         result from removing fees and rebates
                                                 their customers’ orders.’’ 501 Another                     maintaining the 30 mil cap.510                        would cost retail investors . . . as much
                                                 commenter stated that ‘‘the 30-mil cap                                                                           as $687 million per year.’’ 518 Some
                                                                                                            According to this commenter, ‘‘lowering
                                                                                                                                                                  commenters stated that the reduction of
                                                 is among the factors driving the shift                     fees would mitigate the detrimental
                                                                                                                                                                  rebates would impact spreads, which
                                                 away from displayed trading.’’ 502 One                     effect of access fees on order routing,
                                                                                                                                                                  (according to those commenters)
                                                 commenter stated ‘‘reduced displayed                       price transparency, and market quality
                                                                                                                                                                  suggests that rebates have an impact on
                                                 trading is a problem because it impedes                    in many securities.’’ 511 Further, another
                                                                                                                                                                  displayed pricing.519 Other commenters
                                                 the fair and transparent distribution of                   commenter stated that when the                        stated that the reduction in rebates
                                                 pricing and transaction information that                   Commission adopted the preexisting                    would have a negative impact on market
                                                 Congress directed the Commission to                        caps, ‘‘its focus was on limiting the                 liquidity.520 One commenter stated that
                                                 protect . . . [and] the 30-mil cap is                      distortive impact of disproportionate                 the current access fee cap levels ‘‘help[ ]
                                                 among the factors driving the shift away                   access fees, not on facilitating the ability          improve liquidity and provide narrower
                                                 from displayed trading.’’ 503 And                          of markets to pass them through as                    quotes than otherwise would be
                                                 another commenter stated that lower                        rebates.’’ According to this commenter,               available in the marketplace.’’ 521
                                                 access fees will impose lower costs on                     the only way in which the Commission                  Similarly, another commenter stated
                                                 investors, ‘‘removing a disincentive for                   viewed access fees and rebates as                     support for further ‘‘examining changes
                                                 trading on exchanges.’’ 504                                related was that ‘‘a fee limit was needed             to the access fee cap,’’ but cautioned
                                                    Other commenters stated that                            to avoid distortive pricing of the type               ‘‘that wholesale reductions, particularly
                                                 lowering the access fee caps would                         that occurs when access fees are                      when combined with other changes . . .
                                                 address other concerns regarding market                    primarily passed through to other                     will disincentivize liquidity provision,
                                                 distortions associated with the payment                    participants in the form of rebates.’’ 512            reduce market maker support, widen
                                                 of high rebates.505 One commenter                          This commenter further stated that the                bid-ask spreads, and increase volatility
                                                 stated that ‘‘[r]ebates distort supply and                 ‘‘bulk of executions against displayed                in thinly-traded securities.’’ 522 Some
                                                 demand and harm the price discovery                        quotes pay the maximum fee, with the                  commenters stated that certain
                                                 process.’’ 506 One commenter stated that                   overwhelming share of that revenue                    securities may ‘‘require rebates larger
                                                 reducing the cap to 10 mils would                          being passed through as rebates.’’ 513                than 10 mils to incentivize tight
                                                 ‘‘provide ample room for exchanges to                         Finally, one commenter stated ‘‘the                quotes.’’ 523 However, another
                                                 create incentives, charge premium or                       pricing distortions the Commission was                commenter stated that claims of
                                                 discounted prices, and earn a profit, all                  concerned about when it adopted                       ‘‘hidden costs to investors, in the form
                                                 while lowering the distortive effects                      Regulation NMS have become acute                      of worse NBBO prices, wider spreads,
                                                 they have on the equity market.’’ 507 In                   today due to changed market                           higher costs for retail investors, in the
                                                 addition, some commenters stated that                      conditions’’ resulting in brokers being
                                                 reducing the cap would alleviate the                       incentivized to ‘‘route orders away from                515 IEX Letter IV at 5.

                                                 potentially distortive effects of the                      best-displayed exchange quotes in order
                                                                                                                                                                     516 See, e.g., World Federation of Exchanges

                                                 maker-taker pricing model.508                                                                                    Letter at 4; Virtu Letter II at 8, 16–17; Citadel Letter
                                                                                                            to avoid the high fees—precisely the                  I at 22.
                                                                                                            result the Commission sought to avoid                    517 See, e.g., State Street Letter at 4, Interactive
                                                   499 IEX Letter IV at 18.
                                                   500 IEX Letter IV at 18–19.
                                                                                                            when it first adopted the cap.’’ 514 This             Brokers Letter at 5, Nasdaq Letter I at 23, Nasdaq
                                                                                                            commenter also stated that ‘‘the                      Letter II at 5–6, Letter from Brett Kitt, Associate
                                                   501 Healthy Markets Letter I at 21.
                                                                                                                                                                  Vice President, Principal Associate General
                                                   502 IEX Letter IV at 6. See also ASA Letter at 5.        introduction of ‘inverted’ venues that                Counsel, Nasdaq, Inc., dated Feb. 14, 2024 (‘‘Nasdaq
                                                   503 IEX Letter IV at 6.                                  pay rebates to access rather than provide             Letter III’’) at 5, Cboe Letter III at 8.
                                                    504 Better Markets Letter I at 16. See also IEX         displayed orders, and the use of highly-                 518 Nasdaq Letter III at 5.

                                                 Letter VI at 1.                                            skewed rebate tiers, has created even                    519 See, e.g., Cboe Letter II at 8–9; Cboe Letter III
                                                    505 See IEX Letter IV at 10–11, 16; Themis Letter                                                             at 8; Nasdaq Letter I at 2; Nasdaq Letter I at 22.
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                                                 at 7.                                                                                                               520 See, e.g., CCMR Letter at 27, Interactive
                                                    506 Themis Letter at 7. See also IEX Letter IV at       also infra section VII.D.2 (discussing market         Brokers Letter at 5.
                                                                                                            distortions).
                                                 16; Verret Letter III at 11, 13–14.                          509 Healthy Markets Letter I at 21.
                                                                                                                                                                     521 Fidelity Letter at 14.
                                                    507 BMO Letter at 4. See also Tripari Letter; Verret                                                             522 State Street Letter at 4. See also CCMR Letter
                                                                                                              510 BlackRock Letter at 10–11.
                                                 Letter III at 13; Proposing Release, supra note 11,                                                              at 27; Interactive Brokers Letter at 5; Nasdaq Letter
                                                                                                              511 Id. at 10.
                                                 at 304.                                                                                                          I at 23; Nasdaq Letter II at 5–6; Nasdaq Letter III
                                                                                                              512 IEX Letter IV at 5.
                                                    508 See, e.g., BMO Letter at 4; Brandes Letter at                                                             at 5.
                                                                                                              513 Id.
                                                 3; Healthy Markets Letter I at 21; Themis Letter at                                                                 523 Fidelity Letter at 14. See also e.g., Nasdaq

                                                 7; Council of Institutional Investors Letter at 3. See       514 IEX Letter IV at 5.                             Letter II at 6; State Street Letter at 4.



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                                                 form of worse NBBO prices, wider                          underpin the NBBO’’ 531 and stated that                 as a means of promoting
                                                 spreads, higher costs for retail investors                the NBBO is ‘‘comprised exclusively of                  competition.’’ 539
                                                 and less liquidity for thinly-traded                      trading interest displayed on public                       Other commenters stated that the
                                                 securities’’ did not have a factual basis                 exchanges. . . [and] limit[ing]                         Commission had clear statutory
                                                 and did not account for the ‘‘tangible                    exchanges’ ability to gather liquidity                  authority to adopt Rule 610 and to make
                                                 cost reductions that would arise from                     . . . would weaken the public reference                 subsequent adjustments to the access fee
                                                 lower access fees.’’ 524                                  price.’’ 532 According to this commenter,               caps.540 One commenter stated that ‘‘a
                                                    Certain exchanges also opposed any                     ‘‘rebates are essential to market quality               plethora of items in the 34 Act, the
                                                 changes to the access fee caps, stating                   as they encourage market participants to                SEC’s prior 50 years of regulation of the
                                                 that reducing the access fee caps would                   act as market makers and provide two-                   National Market System, and related
                                                 impede their ability to offer competitive                                                                         constitutional precedent regarding the
                                                                                                           sided quotes that make the equity
                                                 rebates and meaningful price                                                                                      private non-delegation doctrine specific
                                                                                                           markets function soundly.’’ 533 This
                                                 differentiation, hindering their ability to                                                                       to self-regulatory organizations (SROs)—
                                                                                                           commenter further stated that rebates                   not only give the SEC sufficient
                                                 attract liquidity and compete with off-                   provide ‘‘integral value to the operation
                                                 exchange trading venues for order                                                                                 delegation of authority to adopt the
                                                                                                           of well-functioning, fair, and orderly                  pending NMS proposal, they compel the
                                                 flow.525 One commenter stated that                        equity markets’’ because they serve to
                                                 ‘‘[c]ompressing the caps further . . .                                                                            SEC to exercise its authority that
                                                                                                           cushion market makers against the risks                 oversees a dynamically changing
                                                 [would] introduce additional concerns
                                                                                                           of adverse selection and price volatility,              national market system.’’ 541
                                                 with implications for competition and
                                                                                                           thereby incenting them to continue to                      As discussed above,542 section
                                                 market quality.’’ 526 In addition, this
                                                 commenter stated that rebates, which                      make markets, even in thinly-traded or                  11A(c)(1)(B) of the Exchange Act
                                                 are funded by access fees, are                            volatile securities, and to do so with                  authorizes the Commission to adopt
                                                 ‘‘innovative and critically important                     tighter spreads than they would                         rules assuring the fairness and
                                                 tools that enhance market depth,                          otherwise.’’ 534 According to the same                  usefulness of quotation information.543
                                                 promote tighter bid-ask spreads, and                      commenter, a reduction in rebates                       Further, Congress explicitly granted the
                                                 encourage order flow to be routed to lit                  would lead to greater market                            Commission ‘‘broad authority to oversee
                                                 exchanges’’ and any diminution in the                     complexities because there would be                     the implementation, operation, and
                                                 access fee caps would ‘‘in fact disrupt                   more ‘‘speedbump or ‘quote protection’                  regulation of the national market
                                                 current business practices and                            markets’’ and a ‘‘[g]reater focus on                    system’’ and the ‘‘clear responsibility to
                                                 competitive dynamics.’’ 527 This                          segmentation.’’ 535 This commenter also                 assure that the system develops and
                                                 commenter also stated that reducing the                   stated that the proposal would                          operates in accordance with
                                                 access fee caps could ‘‘have significant                  ‘‘potentially undermine the competitive                 Congressionally determined goals and
                                                 revenue consequences,’’ 528 but                           positions of the exchanges and the                      objectives’’ which requires balancing
                                                                                                           market makers that quote on them by                     different, and often competing, interests
                                                 provided no specifics. Another
                                                                                                           seeking to limit their ability to charge                and components of the complex
                                                 commenter stated that reducing rebates
                                                                                                                                                                   national market system.544 The access
                                                 ‘‘discourages on-exchange market                          fees and collect rebates for their
                                                 making,’’ which could deteriorate the                                                                             fee caps in preexisting Rule 610(c) were
                                                                                                           respective services.’’ 536 Another
                                                 NBBO as it ‘‘would be drawn from a                                                                                adopted through rulemaking pursuant to
                                                                                                           commenter stated that ‘‘it is entirely
                                                 smaller and less representative pool of                                                                           the Exchange Act, including section
                                                                                                           inappropriate to experiment with
                                                 displayed liquidity.’’ 529 According to                                                                           11A, and recalibration of the levels of
                                                                                                           exchange pricing models for fear of                     the access fee caps falls squarely within
                                                 this commenter, although the proposal                     broker failings’’ and ‘‘exchange fees are               the Commission’s statutory authority.
                                                 might make it cheaper for broker-dealers                  extremely transparent . . . and receive                 The commenter that questioned the
                                                 to access liquidity, costs for liquidity                  a significant amount of SEC review.’’ 537               Commission’s authority to reduce the
                                                 providers and market makers would
                                                                                                              Finally, one commenter ‘‘question[ed]                level of the access caps to 10 mils
                                                 increase, and spreads would widen,
                                                                                                           the Commission’s authority to reduce                    acknowledged the Commission’s
                                                 which in turn would result in higher
                                                                                                           the fee cap beyond what is needed to                    authority to reduce the access fee caps
                                                 ‘‘all-in’’ costs for investors.530 Further,
                                                                                                           accommodate the new, smaller tick                       ‘‘to accommodate the new, smaller tick
                                                 one commenter stated that the proposal
                                                                                                           sizes, thereby with the implicit aim of                 sizes’’ 545 and in an earlier comment
                                                 ‘‘risks weakening the NBBO by
                                                 restricting exchanges’ ability to offer                   limiting the ability of exchanges to                    letter stated it ‘‘supports adjusting the
                                                 meaningful rebates to encourage more                      provide meaningful rebates to market                    access fee cap to accommodate new tick
                                                 liquidity and tighter spreads that                        participants.’’ 538 According to this                   sizes.’’ 546 The Commission’s authority
                                                                                                           commenter, the Commission ‘‘lacks the                   set forth in the Exchange Act is not
                                                   524 See IEX Letter IV at 22.                            authority to enact radical changes to                   circumscribed in the manner suggested
                                                    525 See Cboe Letter II at 8–9; Cboe Letter III at 8;   exchange access fees without explicit
                                                                                                                                                                     539 Nasdaq Letter VI at 2.
                                                 Nasdaq Letter I at 2; Nasdaq Letter I at 22. See also     congressional mandate’’ and ‘‘the
                                                                                                                                                                      540 See, e.g., IEX Letter IV at 3; Letter from J.W.
                                                 e.g., Virtu Letter II at 8; Citadel Letter I at 22.       Commission’s charge to establish a
                                                    526 See Cboe Letter II at 8. See also Cboe Letter                                                              Verret, Associate Professor, George Mason
                                                 IV at 2; Nasdaq Letter I at 22–29; Nasdaq Letter IV
                                                                                                           national market system evidences no                     University, dated Aug. 27, 2024 (‘‘Verret Letter IV’’).
                                                 at 8.                                                     express intent for the Commission to                       541 Verret Letter IV at 2.

                                                    527 Cboe Letter III at 4. See also Cboe Letter IV at   impose price controls upon exchanges                       542 See supra section IV.A. See also sections I and

                                                 3; Nasdaq Letter I at 20.                                                                                         I.B.
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                                                    528 Cboe Letter IV at 3.                                                                                          543 15 U.S.C. 78k–1(c)(1)(B). Section 23 of the
                                                                                                            531 Nasdaq Letter I at 2, 22.
                                                    529 Nasdaq Letter II at 7. See also Nasdaq Letter
                                                                                                            532 Nasdaq Letter I at 22.
                                                                                                                                                                   Exchange Act also authorizes the Commission ‘‘to
                                                 I at 19; Nasdaq Letter III at 5–6. But see IEX Letter                                                             make such rules and regulations as may be
                                                                                                            533 Nasdaq Letter I at 22
                                                 IV at 10–11 (stating ‘‘[t]here is ample evidence that                                                             necessary or appropriate to implement the
                                                                                                            534 Nasdaq Letter I at 22.
                                                 maintaining the access fee cap at its current level                                                               provisions’’ of the Act. 15 U.S.C. 78w(a)(1).
                                                                                                            535 Nasdaq Letter IV at 8.                                544 See supra notes 2–3 and accompanying text.
                                                 has led to distortions the Commission sought to
                                                                                                            536 Nasdaq Letter I at 21.
                                                 avoid.’’).                                                                                                           545 Nasdaq Letter VI at 1 and Nasdaq Letter I at
                                                    530 Nasdaq Letter I at 20; Nasdaq Letter II at 6–       537 Cboe Letter III at 5–6.                            2.
                                                 7.                                                         538 Nasdaq Letter VI at 1.                                546 Nasdaq Letter I at 2.




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                                                 by this commenter. Congress granted the                 will attract liquidity to a market. The                    The access fee caps set an outer limit
                                                 Commission broad authority to oversee                   adopted amendments will continue to                     on the cost of accessing protected
                                                 the national market system and ensure                   allow for trading centers to develop                    quotations to ‘‘assure[ ] order routers
                                                 that it is meeting the investment needs                 different fee models while also                         that displayed prices [are] within a
                                                 of the public. The reductions in the                    preserving the objectives of Rule 610(c).               limited range, true prices.’’ 557 In setting
                                                 access fee caps adopted herein are                      Further, market participants that post                  the maximum level for the access fees
                                                 designed to improve market quality for                  non-marketable orders are able to price                 trading centers could charge market
                                                 market participants accessing protected                 their orders to accommodate the risk of                 participants to access a protected
                                                 quotations in all NMS Stocks, not just                  adverse selection and rebates are not                   quotation in 2005, the Commission
                                                 those that will be assigned a new                       necessary for compensating this risk.                   specifically recognized that ‘‘some
                                                 minimum pricing increment. As                              Reducing the access fee caps will help               markets might choose to charge lower
                                                 discussed throughout, the adjusted level                to alleviate the distortive effects of the              fees, thereby increasing their ranking in
                                                 of the caps also will allow trading                     preexisting level of access fees and the                the preferences of order routers. . .
                                                 centers to retain their net capture for                 rebates they fund. The access fee caps                  while [o]thers might charge the full
                                                 transactions of protected quotations                    were designed to protect limit orders                   $0.003 and rebate a substantial
                                                 priced $1.00 or more and therefore                      and to assure that orders could be                      proportion to liquidity providers.’’ 558
                                                 trading centers who wish to use rebates                 routed to those markets that were                       The Commission left it to the markets
                                                 to attract liquidity may continue to do                 displaying the best-priced quotations.552               and competition to determine what
                                                 so. Accordingly, the Commission has                     As the Commission stated when it                        strategies would be successful in
                                                 considered and balanced policy                          adopted the access fee caps, ‘‘[a]ccess                 attracting order flow, subject to the
                                                 objectives in this complex area and                     fees tend to be highest when markets                    maximum access fee cap.559 Without an
                                                 reached an appropriate policy                           use them to fund substantial rebates to                 access fee cap, the Commission was
                                                 decision.547                                            liquidity providers, rather than merely                 concerned that certain markets would
                                                    Although some commenters stated                      to compensate for execution services. If                charge high fees and pass most of them
                                                 that rebates are essential to attract                   outlier markets are allowed to charge                   through as rebates, which would
                                                 liquidity on exchanges,548 the access fee               high fees and pass most of them through                 undermine price discovery and price
                                                 caps were not established to support                    as rebates, the published quotations of                 transparency.560 The Commission’s
                                                 trading centers’ ability to offer rebates or            such markets would not reliably                         concerns when it adopted Regulation
                                                 to ensure a particular level of rebate                  indicate the true price that is actually                NMS, that access fees might gravitate to
                                                 payment; they were developed as a                       available to investors or that would be                 the highest level permitted by Rule 610
                                                 means to help ensure fair, efficient, and               realized by liquidity providers.’’ 553 The              and the impact on price transparency,
                                                 ready access to protected quotes, to                    Commission also discussed the                           have been realized to the detriment of
                                                 preserve the integrity of displayed                     potential distortionary effect of high fees             investors.561
                                                 prices and to ensure that the objectives                and rebates on displayed quotes and                        As discussed below, the reduction in
                                                 of Rule 611 would not be undermined                                                                             the access fees will improve market
                                                                                                         sought to assure that displayed prices
                                                 by trading centers who might seek to                                                                            quality.562 For those NMS stocks that
                                                                                                         were within a limited range of net
                                                 charge exorbitant fees to those now                     prices.554
                                                 required to access their protected                                                                                 557 Regulation NMS Adopting Release, supra note
                                                                                                            In the current national market system,               4, at 37502. See also IEX Letter IV at 4 and 15
                                                 quotations.549 The Commission
                                                                                                         fees for access to protected quotes are                 (stating ‘‘[t]he purpose [for capping access fees] is
                                                 disagrees that rebates are essential to                                                                         not, and has never been, to allow exchanges to
                                                                                                         typically charged at the highest amount
                                                 attract liquidity on national securities                                                                        maintain rebate payments at current high levels.’’).
                                                                                                         allowed under Rule 610(c) and the vast
                                                 exchanges or the only means of                                                                                     558 Regulation NMS Adopting Release, supra note
                                                                                                         majority of the fees collected are paid                 4, at 37545 (stating that establishing the $0.003 cap
                                                 attracting liquidity.550 The Commission
                                                                                                         out as rebates.555 This practice results in             to ‘‘limit the outlier business model [and] plac[ing]
                                                 stated in 2005 that markets have                        displayed quotations prices that are not                all markets on a level playing field in terms of the
                                                 ‘‘significant incentives to be near the top             reflective of underlying economics of                   fees they can charge and the rebates they can pass
                                                 in order-routing priority’’ 551 and                     liquidity supply and demand, but rather
                                                                                                                                                                 on to liquidity providers. Some markets might
                                                 displaying the best protected quotation                                                                         choose to charge lower fees, thereby increasing their
                                                                                                         displayed quotations prices that have                   ranking in the preferences of order routers. Others
                                                                                                         been calculated to account for the                      might charge the full $ 0.003 and rebate a
                                                    547 See Regulation NMS Adopting Release, supra
                                                                                                                                                                 substantial proportion to liquidity providers.
                                                 note 4, at 37498. As was the case when the              receipt of a rebate.556 The Commission                  Competition will determine which strategy is most
                                                 Commission adopted the preexisting fee caps, the        is concerned that this structure impairs                successful.’’). See also Proposing Release, supra
                                                 rulemaking process has required the Commission to       the fairness and accuracy of displayed                  note 11 at 80348 (stating ‘‘The Commission
                                                 ‘‘grapple with many difficult and contentious issues    quotations.                                             recognizes that an access fee cap of 10 mils for
                                                 that have lingered unresolved for many years’’ and                                                              stocks . . . would provide exchanges with enough
                                                 after examining these issues and assessing the                                                                  pricing freedom to continue to offer economically
                                                 views of commenters, particularly those that               552 See Regulation NMS Adopting Release, supra       meaningful rebate-tiering.’’). One commenter stated
                                                 disagree with the proposal, ‘‘decisions must be         note 4, at 37545.                                       that ‘‘diminished reliance on the maker-taker
                                                 made and contentious issues must be resolved so            553 See Regulation NMS Adopting Release, supra       economics would encourage a variety of alternative
                                                 that the markets can move forward with certainty.’’     note 4, at 37545. See also IEX Letter V at 3 (stating   market models for providing liquidity,’’ which in
                                                 Id. While the Commission always seeks to achieve        ‘‘there is an obvious and direct connection between     this commenter’s view would be consistent with the
                                                 a consensus, ‘‘consensus can mean indefinite            high access fees and the extent to which displayed      outcome the Commission anticipated in 2005, but
                                                 gridlock that ultimately could damage the               prices deviate from the true prices at which            which has not been realized. Decimus 2016 Letter
                                                 competitiveness of the U.S. equity markets [ ]. [T]he   participants are prepared to trade.’’).                 at 11.
                                                 time has come to make the difficult decisions              554 See Regulation NMS Adopting Release, supra          559 Regulation NMS Adopting Release, supra note
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                                                 necessary to modernize and strengthen the national      note 4, at 37502.                                       4, at 37545.
                                                 market system.’’ Id.                                       555 See infra section VII.C.2 and section VII.B.3       560 Id. See also Better Markets Letter II at 3
                                                    548 See, e.g., Cboe Letter III at 6–7; World
                                                                                                         (stating most exchanges charge the maximum fee (in      (lowering access fees would ‘‘ensure that the fees
                                                 Federation of Exchanges Letter at 4; Virtu Letter II    the range of 30 mils) and provide the maximum           charged to access a protected quotation do not
                                                 at 8, 16–17; Citadel Letter I at 22.                    rebate (in the vicinity of 30 mils) and stating that    distort the true price that is available to investors.’’).
                                                    549 See Regulation NMS Adopting Release, supra
                                                                                                         the primary reason that access fees remain near 30         561 See Proposing Release, supra note 11, at 80292
                                                 note 4, at 37503.                                       mils on most exchanges is to fund rebates) and infra    n.317 and accompanying text and 80290 n.302. See
                                                    550 See id. at 37596.                                section VII.C.2.c, table 4.                             also infra section VII.A.
                                                    551 Id.                                                 556 See infra section VII.B.3.                          562 See infra section VII.B.




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                                                 are not experiencing a constraint on the                 would go a long way in mitigating order                   The 10 mils access fee cap is
                                                 quoted spread due to the minimum                         routing conflicts.572                                     appropriate because it will mitigate the
                                                 pricing increment, transaction costs will                   Another commenter, however, stated                     potential conflicts of interest associated
                                                 remain largely unchanged under the                       that the Commission did not provide                       with the current fee and rebate models,
                                                 amendments as spreads will adjust on                     any new data to support its position that                 while still allowing exchanges to use
                                                 average to offset the reduction in access                access fees and rebates are ‘‘actually                    rebates to attract liquidity.
                                                 fees and rebates.563 For those NMS                       harmful to the market’’ and further
                                                                                                          stated that ‘‘the Commission’s                            c. Agency Market Business Model
                                                 stocks that do experience constraint on
                                                 the quoted spread due to the preexisting                 supposition that rebates present harmful                     Several commenters stated that the
                                                 minimum pricing increment,                               conflicts-of-interest to brokers is not                   Commission should not consider
                                                                                                          supported with evidence, and it ignores                   whether the proposed lowered access
                                                 transaction costs for liquidity seekers
                                                                                                          the countervailing benefits associated                    fee caps would unduly impair current
                                                 will go down and the oversupply of
                                                                                                          with rebates, which are essential tools                   agency market business models 580 as a
                                                 liquidity will be reduced, which will
                                                                                                          for gathering the displayed quotes that                   factor in its analysis.581 According to
                                                 allow for shorter queues and higher fill                                                                           one commenter, ‘‘setting access fee caps,
                                                                                                          form the NBBO.’’ 573 Another
                                                 rates.564 For these NMS stocks, the                                                                                or designing any aspect of market
                                                                                                          commenter stated that ‘‘half of the
                                                 access fee functions as a tax on liquidity                                                                         structure, specifically to preserve or
                                                                                                          rebates on Cboe accrue to non-agency
                                                 demand.565 Reducing the access fee in                    market-making activity—thus, there is                     protect existing exchange fee models is
                                                 these constrained stocks will result in                  no real or perceived conflicts of                         an inappropriate policy rationale.’’ 582
                                                 savings for investors.566                                interest’’ and for agency order flow,                     Similarly, another commenter stated
                                                    Further, while some commenters                        some of that flow is ‘‘‘directed’ meaning                 that it ‘‘is not the Commission’s role to
                                                 stated that exchange volume would                        clients give specific instructions for the                ensure that trading centers ‘maintain
                                                 decline and that OTC trading would                       order to be routed to a particular venue                  their current net capture rate.’ ’’ 583
                                                 increase if the access fee caps were                     for execution’’ and thus there similarly                  Further, one commenter stated that
                                                 reduced, as discussed below,567 analysis                 is no conflict.574 This commenter                         while, in its opinion, it would be
                                                 indicates that liquidity providers would                 further stated, ‘‘brokers have a duty of                  appropriate for the Commission to
                                                 not be deterred from quoting on                          best execution regardless of the pricing                  ‘‘assess the impact of the proposed
                                                 exchange because they will be able to                    model used by the exchange.’’ 575                         access fee cap on market participants’
                                                 widen their quote to reflect the reduced                    The Commission disagrees with those                    varying business models,’’ it must ‘‘then
                                                 rebate, thereby receiving the same                       commenters that questioned the                            account for the impact of the proposed
                                                 economic profit as they received with                    existence of potential conflicts of                       access fee cap on all market participants
                                                 the rebate. Liquidity demanders would                    interest. The Commission has received                     and attempt to create the most
                                                 not be worse off because the reduction                   comments from market participants that
                                                 in access fee would offset, or, in the case              have stated that potential conflicts of                   may ‘‘create misaligned incentives and potential
                                                                                                          interest are a concern because of the fee/                conflicts of interest for broker dealers’ routing and
                                                 of stocks with an economic spread of                                                                               execution decisions . . . because broker dealers
                                                                                                          rebate models. Some commenters stated
                                                 less than a tick, more than offset, the                                                                            may elect to post non-marketable limit orders on
                                                                                                          that fees and rebates that are currently                  market venues offering the highest rebate and
                                                 increase in spread.568
                                                                                                          benchmarked against the 30 mil cap                        bypass those venues where there is greater
                                                    Some commenters stated that the                       have a negative impact on routing                         likelihood of execution, but a higher fee.’’ Goldman
                                                 reduced access fee caps would help to                                                                              2018 Letter at 3–4. This market participant went on
                                                                                                          practices 576 and one commenter offered                   to state that ‘‘[b]y maintaining the Fee Cap at the
                                                 address potential conflicts of interest in               evidence that ‘‘exchanges that pay the                    level adopted in 2005 as spreads have narrowed
                                                 routing decisions that may harm                          highest rebates often provide worse                       and commissions have decreased over the past 13
                                                 execution quality of customer orders.569                 execution quality.’’ 577 Another                          years, these misaligned incentives and potential
                                                                                                                                                                    conflicts of interest have grown.’’ Id. at 4.
                                                 One commenter stated that ‘‘lowering                     commenter provided data it said                           According to this market participant, adjusting the
                                                 the access fee cap would lead to a                       demonstrates that ‘‘poor execution                        access fee cap to 10 mils ‘‘would reduce the effect
                                                 reduction in broker conflicts of                         quality is directly linked to high access                 of these misaligned incentives and the potential
                                                 interests.’’ 570 Another commenter                       fees.’’ 578 Moreover, the Commission has                  conflicts of interest.’’ Id. Further, a decade ago, one
                                                                                                                                                                    commenter stated ‘‘[a] reduction in the cap [to 10
                                                 stated that the proposal ‘‘will help to                  heard similar concerns about potential                    mils] . . . would naturally move more executions
                                                 reduce the extent of the conflict of                     conflicts of interest created by the fee                  back to exchanges.’’ Citigroup 2014 Letter at 7.
                                                 interest in agency routing decisions.’’ 571              and rebate schedules and their impact                     Another commenter stated in 2015 that a reduction
                                                 Another commenter stated ‘‘[w]e have                     on market quality for many years.579                      in the access fee cap to 5 mils (half of the amended
                                                                                                                                                                    level adopted) would ‘‘still allow room for
                                                 long supported the Commission                                                                                      exchanges to provide rebates to market participants
                                                                                                            572 Capital Group Letter at 4.
                                                 addressing the conflict faced by brokers                                                                           in order to incentivize liquidity, while at the same
                                                                                                            573 Nasdaq Letter I at 2 (stating ‘‘It would be
                                                 related to incentives created by access                                                                            time significantly reducing the market distortions
                                                                                                          arbitrary and capricious for the Commission to            and unnecessary complexity that access fees have
                                                 fees and rebates in the maker/taker                      proceed with the Proposal in the absence of               caused.’’ Letter from Theodore R. Lazo, Managing
                                                 model’’ and that ‘‘a simple reduction of                 evidence that the current fee cap is actually harmful     Director & Associate General Counsel, SIFMA, to
                                                 access fees across all venues to $0.001                  to the market and without meaningfully weighing           Mary Jo White, Chair, Commission, dated May 24,
                                                                                                          the costs and benefits of those reductions.’’);           2015, at 2–3 (stating its support for BATS’ 2015
                                                                                                          Nasdaq Letter III at 6 (stating the Commission ‘‘did      Petition for Rulemaking to, among other things,
                                                   563 See infra section VII.D.
                                                                                                          not cite any new research conducted subsequent to         reduce the baseline access fee cap to 5 mils).
                                                   564 See infra section VII.D.2.c.
                                                                                                          the Transaction Fee Pilot to support the SEC’s               580 See Proposing Release, supra note 11, at 80270
                                                   565 See infra section VII.D.2.c.                       change of position that access fees and rebates are       n.35 (stating ‘‘[a]gency market trading centers are
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                                                   566 See infra section VII.D.2.                         actually harmful.’’).                                     those that bring together buyers and sellers and
                                                   567 See infra note 1469, and accompanying text.          574 Cboe Letter III at 5–6.
                                                                                                                                                                    typically charge a fee for their execution services.’’).
                                                   568 See infra section VII.D.2.c.                         575 Cboe Letter III at 5–6.
                                                                                                                                                                    See also Regulation NMS Adopting Release, supra
                                                    569 See, e.g., Proof Letter at 1; RBC Letter at 4;      576 See, e.g., IEX Letter IV at 2; Better Markets       note 4, at 37545.
                                                 Ontario Teachers et al. Letter at 2; NASAA Letter        Letter I at 16.                                              581 See, e.g., Citadel Letter I at 22–23; Schwab

                                                 at 9; Vanguard Letter at 6; BlackRock Letter at 10;        577 Better Markets Letter I at 16.                      Letter II at 36; SIFMA Letter II at 39–40.
                                                 Capital Group Letter at 4; Themis Letter at 7.             578 IEX Letter VI at 7.                                    582 SIFMA Letter II at 39–40.
                                                    570 RBC Letter at 4.                                    579 For example, in 2018, one market participant           583 Schwab Letter II at 36. See also Virtu Letter
                                                    571 Proof Letter at 1.                                stated that the preexisting level of the access fee cap   II at 17–18.



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                                                 competitive and effective environment                     above, the Commission stated that if                    securities.592 Exchanges are also
                                                 on an overall basis, rather than doing so                 markets are allowed to charge high                      responsible for certain important
                                                 exclusively for exchanges.’’ 584                          access fees and pass most of them                       processes in the national market system,
                                                    In considering whether to adjust the                   through as rebates, the published                       including openings, re-openings, and
                                                 level of the access fee caps, and if so,                  quotations of such markets will not                     closings on the primary listing market;
                                                 by what amount, the Commission has                        reliably indicate the true price that is                trading halts; initial public offerings and
                                                 considered the impact of such                             available and investors may be                          exclusively listed securities. The
                                                 modifications on market participants to                   overcharged for taking liquidity.588 As                 exchanges, along with FINRA, are also
                                                 help ensure that all investors will                       discussed below, the Commission                         responsible for producing data for the
                                                 continue to have fair and non-                            estimated the current net capture of the                consolidated market data feeds as well
                                                 discriminatory access to protected                        exchanges at approximately 2 to 6 mils                  as the operation of the exclusive SIPs.
                                                 quotations and the Commission has not                     and anticipates that will remain the                    In addition, the Commission has
                                                 prioritized exchange revenues over                        same under amended Rule 610(c).589                      recognized these functions as ‘‘critical’’
                                                 other considerations. When the                                                                                    to the operation of the securities
                                                 Commission adopted the access fee caps                       As was the case with the original                    markets for purposes of imposing
                                                 in Regulation NMS, it considered the                      access fee caps, the amended fee caps                   requirements under Regulation SCI,
                                                 impact of the caps on the agency market                   will preserve the agency business model                 which established a regulatory
                                                 business model, as it has done in this                    because trading centers will continue to                framework for oversight of the core
                                                 release as well.585 Agency market                         be able to assess fees for transaction                  technology of the U.S. securities
                                                 trading centers have historically charged                 services at a level that will result in the             markets.593 Therefore, it continues to be
                                                 transaction fees for their agency services                same net capture as they earn today if                  appropriate to consider the impact on
                                                 in bringing together buyers and sellers                   they so choose. In this manner, the                     this business model, i.e., the agency
                                                 to execute transactions. The                              amended fee cap for protected stocks                    market business model, when
                                                 Commission is not prohibiting agency                      priced $1.00 and above has been                         considering amendments to the access
                                                 market trading centers from continuing                    ‘‘drafted to have minimal impact on                     fee caps.
                                                 to assess fees for providing execution                    competition and individual business
                                                 services to access protected quotations.                  models while furthering the objectives                  d. Comments on the Proposed 10 Mils
                                                                                                           of the Exchange Act by preserving the                   Access Fee Cap
                                                 As discussed above, it was appropriate
                                                 and consistent with its responsibilities                  fairness and usefulness of                                 There was divergence of opinion
                                                 under the Exchange Act for the                            quotations.’’ 590 In determining the new                around the appropriate level of the
                                                 Commission to consider the impact of                      levels of the access fee caps, the                      access fee cap for protected quotations
                                                 the original access fee caps on the                       Commission has considered many                          priced at $1.00 or greater.594 A number
                                                 ongoing viability of different trading                    factors, including allowing for a                       of commenters viewed 10 mils as the
                                                 centers. Because of the important role                    diversity of business models.591 The                    appropriate level.595 Commenters stated
                                                 agency market trading centers continue                    amendments to Rule 610(c) will                          that a reduction in the level of the
                                                 to play in the national market system, it                 continue to allow the exchanges to                      access fee cap to 10 mils is warranted
                                                 is similarly consistent with the                          provide execution services using their                  because, among other reasons, it will
                                                 Exchange Act for the Commission to                        current business models, innovate and                   result in lower costs to investors to
                                                 undertake a similar analysis today in                     compete for order flow, while also                      access protected quotes; 596 align access
                                                 adjusting the level of the caps.                          reducing the costs to investors who                     fees with other elements of investor
                                                    The Proposing Release estimated the                    must access protected quotations                        transaction costs (all of which have
                                                 effect on exchange net capture because                    because access fees are being reduced to                decreased); 597 recalibrate the access fee
                                                 exchanges are the only trading centers                    amounts above the exchanges’ net                        cap levels to reflect increased
                                                 that impose fees for access to protected                  capture rates.                                          efficiencies, technological
                                                 quotations at this time and, therefore,                      Exchanges are the only trading centers                  592 Rule 610(c) imposes the access fee caps on
                                                 are subject to the access fee caps.586                    that currently display protected quotes                 trading centers, which are defined to include other
                                                 Further, the Commission’s analysis in                     in the national market system, and they                 types of entities that can display protected quotes,
                                                 the Proposing Release appropriately                       play an important role in bringing                      including ATSs, OTC market makers and any
                                                 considered the impact of proposed                         together multiple buyers and sellers of                 broker or dealer that executes orders internally. 17
                                                 changes to Rule 610(c) on entities                                                                                CFR 242.600(b)(106).
                                                                                                                                                                      593 Securities Exchange Act Release No. 73639
                                                 employing an agency market business                       current business practices to continue while            (Nov. 19, 2014), 79 FR 72252 (Dec. 5, 2014) at 72277
                                                 model because Rule 610(c) applies to                      adjusting access fee levels to align with the           (Final Rule ‘‘Regulation Systems Compliance and
                                                 those entities and the Commission was                     proposed lower minimum pricing increments as            Integrity’’).
                                                 cognizant of not compressing the access                   well as reflect market innovations and technological       594 See, e.g., supra notes 460, 463, 466
                                                                                                           efficiencies that have driven transaction costs down    (recommending a reduction in fee cap to $0.0015).
                                                 fee caps so far as to effectively eliminate               since rule 610(c) was adopted.’’).                         595 See, e.g., ASA Letter at 5 (strongly supporting
                                                 such business models.587 As discussed                        588 See Regulation NMS Adopting Release, supra
                                                                                                                                                                   10 mils access fee cap for all NMS stocks); Better
                                                                                                           note 4, at 37584.                                       Markets Letter I at 16; BlackRock Letter at 10–11;
                                                   584 Virtu Letter II at 18.                                 589 See infra sections VII.C.2 and VII.D.2.b and     BMO Letter at 3–4; Brandes Letter at 3; Boston
                                                    585 See Regulation NMS Adopting Release, supra         notes 1101–1103 and accompanying text.                  Partners, Calamos Advisors, Glenmede Investment,
                                                 note 4, at 37545 (‘‘stating ‘‘the adopted [30 mils] fee      590 See Regulation NMS Adopting Release, supra       and Janus Henderson Letter; Budish Letter; Capital
                                                 limitation will not impair the agency market              note 4, at 37545. For the reasons discussed, the new    Group Letter at 4; Council of Institutional Investors
                                                 business model.’’).                                       access fee caps will continue to ‘‘provide the          Letter at 3; IEX Letter IV at 1; Healthy Markets
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                                                    586 The Commission used these same estimates to        necessary support for the proper functioning of the     Letter I at 24; Ontario Teachers et al. Letter at 1–
                                                 determine the changes in the amount that liquidity        Order Protection Rule, and private linkages, while      2; Themis Letter at 7–8; Vanguard Letter at 2 & 6;
                                                 demanders would pay and the amounts that                  leaving trading centers otherwise free to set fees      Invesco Letter at 2 and 4; JPMorgan Letter at 6;
                                                 liquidity providers would receive. See Proposing          subject only to other applicable standards (e.g.,       NASAA Letter at 9; Pragma Letter at 7; XTX Letter
                                                 Release, supra note 11, at section V.D.3 (discussing      prohibiting unfair discrimination.’’). Id.              at 5; and Verret Letter II. See also supra note 422.
                                                 impact of the proposed lower access fee caps on              591 See infra section VII.D.2.b. As discussed           596 See, e.g., Ontario Teachers et al. Letter at 2;

                                                 exchanges’ net capture).                                  below, the fees charged by ATSs for execution           ASA Letter at 5; Council of Institutional Investors
                                                    587 See Proposing Release, supra note 11, at           services are often in the range of 10 mils. See infra   Letter at 3; Better Markets Letter I at 16.
                                                 80290–91 (proposing new caps designed to ‘‘allow          section VII.C.2, note 1118 accompanying text.              597 IEX Letter VI at 1–2.




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                                                 advancements and structural changes in                      commenters stated that the proposed                        participants required to access protected
                                                 the markets since Rule 610(c) was                           reduction of the access fee caps would                     quotes and 10 mils is consistent with
                                                 adopted; 598 continue to allow for                          be beneficial to retail investors, as well                 the range of rates assessed by such
                                                 competitive business models and                             as institutional investors and long-term                   trading centers.612
                                                 innovation; 599 and align on-exchange                       investors.605                                                 Other commenters recommended
                                                 pricing more closely with off-exchange                        Several commenters stated their                          applying different access fee caps
                                                 venues such as ATSs.600 One                                 support for reducing the amount of the                     depending on the liquidity profile of a
                                                 commenter stated a 10 mil cap ‘‘would                       access fee caps, but cautioned that                        particular security.613 Further, some
                                                 have the added benefit of aligning                          further analysis is necessary to                           commenters suggested specific
                                                 exchange fees with prevailing ATS fees                      determine the appropriate amount and                       alternative models and/or levels of
                                                 and creating a more equitable                               parameters of any reduction to avoid                       access fee caps.614 A few commenters
                                                 competitive landscape across trading                        unintended consequences.606 The                            stated that the access fee caps should be
                                                 venues’’ 601 and another stated that                        Commission disagrees for a number of                       expanded to cover full depth-of-book
                                                 ‘‘[t]he economic difference to a broker                     reasons. Further delay is not warranted                    quotations 615 or auctions.616 However,
                                                 between routing to an . . . ATS [ ]                         because the access fee caps have been                      one commenter disagreed with these
                                                 versus an exchange would be much                            extensively considered for many                            concerns and stated that ‘‘the fee cap
                                                 smaller than it is today, if a $.0005–                      years.607 In addition, the Commission                      has been equally applied to all stocks
                                                 $.0010 access fee cap replaces the                          has weighed several factors in                             regardless of price, spread, or trading
                                                 current $.0030 mil cap.’’ 602 According                     determining to reduce the access fee                       volume since it was enacted’’ and
                                                 to one commenter, lowering the cap to                       caps to 10 mils and, as discussed further                  further stated that ‘‘[e]xchange
                                                 10 mils should ‘‘(1) lead to an increase                    below in the Economic Analysis,                            processing costs are exactly the same’’
                                                 in investor interaction with displayed                      concludes that this reduced level                          regardless of these varying
                                                 quotes, (2) provide an economic reason                      appropriately accommodates various                         characteristics.617
                                                 for all participants to submit displayed                    competing interests.608 The adopted                           As discussed above, the access fee
                                                 quotes to an exchange, and (3) end the                      level of 10 mils for access to protected                   caps under Rule 610 establish the upper
                                                 corrosive and discriminatory nature of                      quotes priced $1.00 or more reflects the                   limit for fees that trading centers can
                                                 the current exchange fee and rebate                         views of many commenters to the                            charge for access to protected
                                                 system.’’ 603 Another commenter stated                      Proposing Release 609 and has been                         quotations. The access fee caps do not
                                                 that reducing the level of the cap from                     suggested by market participants in                        apply to depth-of-book quotations or
                                                 30 mils to 10 mils would ‘‘remove                           other contexts.610 Further, as discussed                   auctions because these are not protected
                                                 barriers to entry for new market                            above, a 10 mil cap strikes an                             quotations. As discussed throughout,
                                                 participants,’’ especially smaller trading                  appropriate balance between reducing                       the access fee caps are designed to
                                                 firms and retail investors.604 Further,                     the cap to help to address distortions in                  preserve fair and efficient access to
                                                                                                             the market associated with the                             protected quotations, regardless of the
                                                    598 See, e.g., Ontario Teachers et al. Letter at 1–      preexisting fee caps, while also                           liquidity profiles of NMS stocks.
                                                 2; Brandes Letter at 3; Invesco Letter at 4; Vanguard       preserving the ability of the national                     Trading centers are able to develop
                                                 Letter at 6; Verret Letter I at 5; Verret Letter III at     securities exchanges to continue to                        different fee structures within this
                                                 4–5; Letter from John Ramsey, Chief Market Policy                                                                      construct and in a manner that is
                                                 Officer, IEX, dated Feb. 23, 2024 (‘‘IEX Letter V’’)
                                                                                                             operate with their current net capture
                                                 at 2–3; IEX Letter VI at 4.                                 rates.611 Finally, the Commission has                      consistent with the Exchange Act. The
                                                    599 See, e.g., Proof Letter at 1; BMO Letter at 4;       reviewed the fees charged by trading                       Commission is not setting the access fee
                                                 Verret Letter I at 9; Ontario Teachers et al. Letter        centers that do not have protected                         caps to a specific percentage of the
                                                 at 1–2; Verret Letter III at 22.                            quotes so do not have an incentive to
                                                    600 See, e.g., RBC Letter at 4; BlackRock Letter at
                                                                                                             charge excessive fees to market                               612 See infra note 1118. The Commission
                                                 11; Verret Letter I at 7; Verret Letter III at 4–5; IEX                                                                acknowledges variability within the rates assessed
                                                 Letter V at 5; IEX Letter VI at 5. But see Letter from                                                                 by ATSs, with some transactions subject to fees
                                                 Kevin R. Edgar, Partner, Baker & Hostetler LLP,             NMS changes could harm retail investors by                 above 10 mils and some below 10 mils based on
                                                 dated Feb. 7, 2024, (‘‘Equity Markets Association           ‘‘making the process of buying and selling stock           attaining certain levels of volume as well as other
                                                 Letter’’) at 2 (stating ‘‘alleg[ations] . . . that access   more difficult and potentially reinstating barriers to     variability within the fee schedules. Commenters
                                                 fees are excessive, both in an absolute sense and           entry’’); Nasdaq Letter II at 2–3 (stating ‘‘the cost of   have stated that the fees they experience are often
                                                 relative to ATSes’’ are improper and further stating        access fees has actually fallen since 2005 by one-         in the range of 10 mils, which is informative in
                                                 there is ‘‘no basis for such conclusions other than         third’’ and ‘‘the burden of access fees relative to the    considering an appropriate level of the access fee
                                                 by making bald assumptions about exchanges’ costs           all-in trading costs of participants has not grown         caps because such statements reflect the current
                                                 . . . .[N]et transaction fees are far lower on              over time; instead, it has remained relatively flat.’’).   market rate paid for execution services as reported
                                                                                                                605 See, e.g., Council of Institutional Investors
                                                 exchanges than they are on ATSes.’’); Nasdaq Letter                                                                    by participants. See infra notes 658–659 and
                                                 III at 3 (stating commenters’ analysis of ATS-Ns            Letter at 3; Ontario Teachers et al. Letter at 2;          accompanying text.
                                                 revealed ‘‘large variations among ATS fees and              Themis Letter at 8; IEX Letter IV at 13, 23; Better           613 See, e.g., BlackRock Letter at 10–11; T. Rowe
                                                 some of them are similar or higher than exchange            Markets Letter I at 16.                                    Price at 4–5; Citigroup Letter at 5–6.
                                                                                                                606 See, e.g., STA Letter at 7–8; ICI Letter I at 16;
                                                 fees . . . including fees as high as $0.06); Nasdaq                                                                       614 See, e.g., MEMX Letter at 3 and 24–28; Nasdaq
                                                 Letter IV at 7–8 (providing data regarding range of         Nasdaq Letter I at 2 and 19.                               Letter I at 19; William O’Brien, Former CEO, Direct
                                                 ATSs minimum/maximum fees and stating ATS                      607 See supra notes 362 and 364.
                                                                                                                                                                        Edge, dated Apr. 13, 2023 (‘‘O’Brien Letter’’) at 5;
                                                 fees are highly variable and 10 mils is not                    608 See infra section VII.D.2.
                                                                                                                                                                        Optiver Letter at 3.
                                                 representative of transaction fees on- or off-                 609 See supra note 595.                                    615 See, e.g., Citadel Letter I at 25; FIA PTG Letter
                                                 exchanges).                                                    610 See Goldman 2018 Letter at 1–2 (stating             II at 3.
                                                    601 BlackRock Letter at 11.
                                                                                                             commenter’s support for reducing the access fee cap           616 MEMX Letter at 3, 24–28.
                                                    602 RBC Letter at 4.
                                                                                                             to $0.0010 because a 10 mil cap would be calibrated           617 IEX Letter VI at 3. This commenter further
                                                    603 ASA Letter at 5.                                     with then-present-day [2018] trading and execution
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                                                                                                                                                                        stated that the ‘‘benefits that exchanges have
                                                    604 See Verret Letter I at 9; Verret Letter III at 22.   costs, would better ensure displayed prices reflect        received from technological advances and increased
                                                 But see Letter from Barbara Comstock, Executive             the actual economic costs of an execution, and             efficiencies in determining their own costs to
                                                 Director, American Consumer and Investor                    would allow exchanges to continue maintain their           process orders . . . apply exactly in the same way
                                                 Institute, dated June 1, 2023 (‘‘ACII Letter I’’) at 6      current net capture rates, while also choosing to          for trading in all classes of securities’’ and therefore
                                                 (commenting generally that fundamental changes to           offer rebates to incentivize liquidity provision if        retaining a uniform, lower ‘‘fee cap across all stocks
                                                 existing market structure could roll back                   they chose to do so). Further, the EMSAC also              (priced greater than $1.00 per share) avoids further
                                                 innovations that have ‘‘opened up today’s markets           considered, among other things, whether the access         complexity to trading decisions from fees that can
                                                 to millions of new and diverse investors.’’); NASP          fee cap should be modified. See supra note 4.              vary for the same stock based on changes in the
                                                 Letter at 2 (commenting generally that proposed                611 See infra section VII.D.2.                          applicable tick size.’’ Id.



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                                                 minimum pricing increments in part                        significant determinants of access fee                   reduced, and providing statements of
                                                 because they address different                            levels.’’ 625 Further, this commenter also               market participants to support this
                                                 regulatory objectives. An important                       stated that ‘‘exchange platform costs’’                  statement,634 was suggesting that the
                                                 objective of an access fee cap (to                        (i.e., the constellation of related services             access fee cap ‘‘no longer bears a
                                                 preserve access to protected quotes) is                   of which transaction services are only                   reasonable relationship to the actual
                                                 distinct from an objective of tick size                   one part) to market participants have                    costs of a trade.’’ 635 This misconstrues
                                                 (e.g., to prevent stepping ahead of                       ‘‘remained competitive over time.’’ 626                  the Commission’s statement recognizing
                                                 displayed orders).618 However, as                         Finally, according to this commenter,                    that the markets are different than they
                                                 discussed above, because the                              ‘‘access fees and rebates represent more                 were in 2005. Under the preexisting
                                                 Commission is reducing the minimum                        than the simple economic costs to an                     access fee caps, fee and rebate structures
                                                 pricing increment under Rule 612, it is                   exchange of effecting a trade; they also                 have developed such that access fees are
                                                 also reducing the levels of the access fee                reflect the value of the information that                predominantly used to pay rebates to
                                                 caps to prevent the distortions that                      quotes provide to the market, and the                    liquidity providers and these structures
                                                 would occur if an access fee is more                      value to participants of having access to                have resulted in distortions in the
                                                 than one half of the tick.619                             those quotes.’’ 627 Another commenter                    market.
                                                    Further, amending Rule 610 to adopt                    stated that the current cap was ‘‘rather                    The Commission considered many
                                                 variable caps to reflect different                        arbitrarily selected’’ and in its view has               factors and the views of commenters,
                                                 liquidity profiles of different stocks                    ‘‘resulted in continued industry                         and balanced competing factors when it
                                                 would expand and change the objective                     disagreement.’’ 628                                      adopted the original fee caps in 2005.636
                                                 of the rule, which is to ensure the                          However, another commenter                            Likewise, as discussed above, the
                                                 fairness and accuracy of protected                        disagreed, stating ‘‘the current access                  Commission again has considered and
                                                 quotations by establishing an outer limit                 fees are unreasonably high when taking                   balanced many factors,637 including the
                                                 on the cost of accessing such                             into consideration the lower exchange                    effects on liquidity and trading costs for
                                                 quotations.620 The access fee caps were                   costs stemming from increased                            market participants 638 in coming to the
                                                 not designed to establish fees for                        efficiencies and technology                              determination that the 10 mils access
                                                 executions, they were designed to limit                   advancements that have occurred since                    fee cap is appropriate for all protected
                                                 the amount of fees that can be charged                    2005.’’ 629 Although other trading costs                 quotations priced $1.00 or more.639 As
                                                 for access to the best priced quotes in                   have decreased, access fees have not                     discussed throughout this release, the
                                                 the national market system. Trading                       and, according to this commenter, such                   Commission has reduced the caps to a
                                                 centers may adopt fees (and rebates) to                   fees ‘‘now represent an outsized portion                 level that is sufficient to mitigate the
                                                 incentivize trading in NMS stocks with                    of transaction costs.’’ 630 The commenter                market distortions associated with the
                                                 different liquidity profiles in a manner                  further stated it was appropriate for the                fee schedules that have been developed
                                                 consistent with the Exchange Act,                         Commission to rely on reduced costs to                   under preexisting access fee caps and to
                                                 including the limits imposed by the                       justify the reduction in the access fee                  accommodate the new minimum pricing
                                                 access fee caps.                                          cap.631 The commenter stated because                     increments under amended Rule 612,
                                                    Another commenter stated that there                    ‘‘the 30-mil cap exceeds the typical cost                while also preserving the viability of the
                                                 is no valid basis to support a claim that                 to trade on non-protected venues, it                     agency market business model.640
                                                 the current fee cap is excessive.621 This                 encourages investors to seek alternatives                   Most exchanges provide access to
                                                 commenter stated that the Commission                      to accessing displayed quotes’’ which                    protected quotations and retain an
                                                 did not substantiate reduced costs as a                   drives order flow to off-exchange
                                                                                                                                                                    estimated net capture of 2 mils.641
                                                 justification for lowering the access fee                 venues.632
                                                 caps.622 This commenter also stated                          As discussed throughout this                              634 See Proposing Release, supra note 11, at 80290

                                                 that, ‘‘the Commission present[ed] no                     release,633 market participants have                     n.293.
                                                 cost-based methodology for arriving at                    stated that the access fee caps are                          635 Nasdaq Letter I at 21. See also Nasdaq Letter


                                                 the levels of access fee caps it                          outdated and no longer reflect the                       II.

                                                 proposes’’ 623 and therefore the                          current market structure. One                                636 See generally, Regulation NMS Adopting

                                                                                                           commenter stated that the Commission,                    Release, supra note 4.
                                                 proposed caps are ‘‘arbitrary and                                                                                      637 See supra note 608 and surrounding text.
                                                                                                           by identifying that the markets have
                                                 capricious’’ because the caps do not                                                                                   638 See infra section VII.D.2.c (analyzing the
                                                                                                           changed due to market innovations and                    effects of rebates for providing liquidity).
                                                 ‘‘bear a reasonable relationship to the
                                                                                                           technological efficiencies and that                          639 Several commenters stated that access fees
                                                 actual costs of executing trades on the
                                                                                                           transaction and trading costs had been                   under the preexisting caps have become a larger
                                                 exchanges.’’ 624 The commenter further                                                                             portion of overall transaction costs because such
                                                 stated that ‘‘[t]echnology costs, and                        625 Nasdaq Letter II at 4. See also Nasdaq Letter     costs have decreased significantly since the access
                                                 improvements thereto, are not                             III at 2.                                                fee cap levels were established almost two decades
                                                                                                              626 Nasdaq Letter II at 4–5.                          ago. See, e.g., infra notes 1438–1441 and
                                                   618 See supra section III.A and section III.C.1.           627 Nasdaq Letter I at 21; Nasdaq Letter II at 4.
                                                                                                                                                                    accompanying text and supra 364 and 365 and
                                                    619 See infra section VII.D.2.a and notes 1419 and
                                                                                                                                                                    supra notes 597–598 (describing reasons why costs
                                                                                                              628 Cboe Letter II at 8.
                                                                                                                                                                    have decreased). The Commission has considered
                                                 1425.                                                        629 IEX Letter IV at 8. See also Better Markets
                                                                                                                                                                    costs, and specifically commenters’ concerns
                                                    620 See also note 351.
                                                                                                           Letter I at 16 (‘‘There is certainly no economic         relating to costs, as one of several factors in its
                                                    621 Nasdaq Letter III at 2.                            justification in terms of defraying the exchanges’       analysis and determination that a 10 mils access fee
                                                    622 See Nasdaq Letter I at 21; Nasdaq Letter II at     costs of processing and matching trades, as those        cap is appropriate. As the Commission stated in
                                                 4. This commenter stated that ‘‘determining such          costs have dropped with the advent of advances in        2005, reaching appropriate policy decisions in a
                                                 costs and setting appropriate rates based upon those      technology.’’); Verret Letter III at 13 (‘‘Access fees   complex area such as fees for access to the best
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                                                 costs are inherently difficult’’ and further stated       charged to broker-dealers and other market               quotations displayed in the national market system
                                                 that ‘‘a government agency like the Commission is         participants simply to access liquidity on certain       requires balancing policy objectives that sometimes
                                                 ill-suited to tackle [such a task]’’ and should refrain   exchanges often greatly exceed the actual costs          may not point in precisely the same direction. See
                                                 from doing so. Nasdaq Letter I at 22. See also Cboe       associated with providing that liquidity access.’’).     Regulation NMS Adopting Release, supra note 4, at
                                                                                                              630 IEX Letter IV at 8. See also Goldman Sachs
                                                 Letter III at 5; Nasdaq Letter III; Equity Markets                                                                 37498.
                                                 Association Letter at 2.                                  2018 Letter at 1–2.                                          640 See supra section IV.D.1.c. and infra section
                                                    623 Nasdaq Letter II at 4–5.                              631 See IEX Letter IV at 6.
                                                                                                                                                                    VII.D.2.b.
                                                    624 Nasdaq Letter II at 4. See also Nasdaq Letter         632 IEX Letter IV at 8.                                   641 See supra section IV.D.1.c. and infra sections

                                                 III at 2; Nasdaq Letter I at 22.                             633 See, e.g., supra section IV.B.2.                  VII.C.2 and VII.D.2.b and notes 1101—1103 and



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                                                 However, as discussed below,642 a net                   accessing immediate liquidity.’’ 648 In                     ‘protected quote’ status’’ which is ‘‘what
                                                 capture of 2 mils is not uniform across                 addition, according to this commenter,                      the SEC sought to prevent in 2005, in
                                                 all exchanges and some have an                          exchange pricing is ‘‘designed to attract                   furtherance of the statutory goal of fair
                                                 estimated net capture that is higher than               quotes, whereas ATS pricing is designed                     distribution of quotation
                                                 2 mils.643 This suggests that the                       only for trades’’ and ATSs ‘‘leverage lit                   information.’’ 655
                                                 preexisting levels of the access fee caps               quotes’’ produced by exchanges to                              The fees charged by many ATSs that
                                                 are higher than necessary to preserve                   determine ATS’s transaction pricing.649                     provide execution services similar to
                                                 the viability of the agency market                      Finally, this commenter stated that the                     exchanges are often reflected in a range
                                                 business models. The adopted level of                   rates charged by off-exchange venues                        and sometimes are based on volume
                                                 10 mils for access to protected quotes                  ‘‘vary significantly in structure,                          transacted, and ATSs typically do not
                                                 priced $1.00 or more is appropriate                     functionality, and fees’’ to the extent                     pay rebates.656 As stated above, several
                                                 because it will allow trading centers to                they are actually known publicly and                        commenters stated that a 10 mils access
                                                 continue to provide access to protected                 disagreed with the conclusion that ‘‘10                     fee cap would be consistent with the
                                                 quotations and retain a net capture to                  mils is a representative fee for accessing                  access fees charged by ATSs.657 These
                                                 fund their transaction services.                        liquidity off exchange.’’ 650                               statements are informative in
                                                 Recalibrating the level of the cap with                    Other commenters disagreed.651                           considering an appropriate level of the
                                                 a consideration of current market rates                 According to one commenter, certain                         access fee caps because they reflect the
                                                 to provide execution services is                        ATSs provide specialty services such as                     current market rate paid for execution
                                                 appropriate and consistent with how the                 block trading and the ability to use                        services as reported by market
                                                 Commission set the preexisting rates.644                conditional order types to achieve                          participants.658 This, in concert with the
                                                    Finally, as stated above, the access fee             certain trading strategies, and typically                   net capture rates discussed above,
                                                 caps were not developed as a means to                   charge higher than 10 mils for such                         suggests that the current access fee caps
                                                 enable the payment of rebates. However,                 specialized services.652 However,                           may not be consistent with current
                                                 under the preexisting access fee caps,                  according to this commenter, ATSs that                      market rates for providing execution
                                                 access fees are predominantly used to                   operate a continuous book market are                        services.659
                                                                                                         similar to exchanges that provide                              Considering the rates charged by
                                                 fund the rebates paid to liquidity
                                                                                                         similar services and those ATSs charge                      trading centers is consistent with the
                                                 providers. As also stated above and
                                                                                                         ‘‘a maximum rate of 10 mils’’ for such                      analysis the Commission conducted to
                                                 discussed further below, liquidity
                                                                                                         services and such venues collectively                       determine the appropriate level of the
                                                 providers are able to post bid and offer
                                                                                                         represent approximately 42% of all ATS                      preexisting access fee caps when it
                                                 prices that account for the risk of
                                                                                                         volume during 2023.653 According to                         adopted them. Specifically, the
                                                 displaying protected quotations without
                                                                                                         this commenter, ‘‘this data is strong                       Commission considered the access fees
                                                 needing the payment of a rebate.645                                                                                 charged by ECNs and other types of
                                                                                                         evidence that the standard comparative
                                                    In deciding to adopt a single 10 mil                 rate for immediate access to liquidity in                   trading centers, including self-
                                                 fee cap for all protected quotes in NMS                 NMS stocks on ATSs that offer this                          regulatory organizations (‘‘SROs’’),
                                                 stocks priced $1.00 or more, the                        [continuous book] service is, in fact, 10                   when it adopted the preexisting 30 mil
                                                 Commission has also considered the                      mils per share.’’ 654 This commenter
                                                 rates charged by other agency markets                   further stated that exchanges are ‘‘able                       655 IEX Letter IV at 6. But see Nasdaq Letter V at

                                                 for access to non-protected quotation                   to charge higher prices than other                          2 (stating ‘‘ATSes enjoy advantages [including the
                                                 liquidity because such trading centers                                                                              ability to segment order flow] that would persist,
                                                                                                         markets, precisely because of the                           and likely increase, with a lower cap on access
                                                 are not subject to the preexisting 30 mils                                                                          fees.’’).
                                                 access fee cap and therefore the rates for                648 Nasdaq Letter IV at 8.                                   656 See infra sections VII.C.2.b and VII.D.2, note
                                                 execution services established by such                    649 Id.                                                   1118 and accompanying text. See also Proposing
                                                 markets are subject to competitive                         650 Nasdaq Letter IV at 7. This commenter further        Release, supra note 11, at 80314 (stating a review
                                                 market forces that are not capped.646                   stated ‘‘nothing beyond anecdotal reports suggests          of form ATS-Ns on which ATSs provide a range of
                                                                                                         that 10 mils is a representative fee for accessing          the fees charged shows such fees are often in the
                                                    One commenter stated that ATS fees                   liquidity off exchange.’’ Id.                               range of 10 mils).
                                                 are not a good benchmark to determine                      651 See, e.g., IEX Letter VI at 5 (stating ‘‘ATSs that      657 See supra note 651.

                                                 the appropriate level of exchange access                accept and process orders for NMS stocks in the                658 See, e.g., IEX Letter I at 22–23; IEX Letter IV

                                                 fees because, in their view, exchange                   same way as exchanges do characteristically charge          at 14–15; IEX Letter V at 5–6; BlackRock Letter at
                                                                                                         in the range of 10 mils per share.’’); BlackRock            11; Verret Letter II at 4. See also Letter from Stacey
                                                 access fees should be higher than off-                  Letter at 11 (stating that 10 mil cap ‘‘would have          Cunningham, President, NYSE, to Brent Fields,
                                                 exchange venues’ access fees.647 This                   the added benefit of aligning exchange fees with            Secretary, Commission, dated Oct. 2, 2018
                                                 commenter stated that ‘‘[e]xchange                      prevailing ATS fees and creating a more equitable           (commenting on File No. S7–05–18 ‘‘Transaction
                                                 access fees compensate for the risk                     competitive landscape across trading venues’’);             Fee Pilot for NMS Stocks’’) (stating reducing the
                                                                                                         Verret Letter I at 7 (lowering access fee cap from          access fee cap to 10 mils will bring the access fees
                                                 associated with posting lit quotes as                   30 mils to 10 mils would be ‘‘more in line with the         exchanges charge to remove liquidity in line with
                                                 well as the value associated with                       fees charged by most ATS platforms,’’); IEX Letter          the rates charged by ATSs). According to one
                                                                                                         V at 5 (stating because ATS fees ‘‘are affected by          commenter, ‘‘the rates charged by ATSs to access
                                                                                                         market forces and not pegged by regulation, they are        liquidity allow comparison to market-based prices
                                                 accompanying text. As discussed below in the
                                                                                                         highly relevant to the question of where to set an          that are not affected by prices imposed by
                                                 Economic Analysis, the Commission estimates for
                                                                                                         updated fee cap.’’). See also Letter from Stacey            exchanges to access protected quotes . . . [and] an
                                                 purposes of this release that exchange net capture
                                                                                                         Cunningham, President, NYSE, to Brent Fields,               informal survey of ATS operators indicates that the
                                                 is 2 mils, while also recognizing that net capture
                                                                                                         Secretary, Commission, dated Oct. 2, 2018                   standard access fee charged by most ATSs is
                                                 can range from approximately 2 to 6 mils. See infra
                                                                                                         (commenting on File No. S7–05–18 ‘‘Transaction              approximately 10 mil.’’). See also supra note 651
                                                 note 1103.
                                                                                                         Fee Pilot for NMS Stocks’’) (stating reducing the           and accompanying text.
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                                                    642 See id.
                                                                                                         access fee cap to 10 mils will bring the access fees           659 See Letter from Theodore R. Lazo, Managing
                                                    643 See id.
                                                                                                         exchanges charge to remove liquidity in line with           Director & Associate General Counsel, SIFMA, to
                                                    644 See infra note 357 and discussion below.         the rates charged by ATSs).                                 Brent J. Fields, Secretary, Commission, dated Mar.
                                                    645 See supra section IV.B.2.b. See also infra          652 IEX Letter VI at 5–6; IEX Letter V at 5–6.
                                                                                                                                                                     9, 2017, at 8 (stating ‘‘a significant portion of access
                                                 section VII.D.2.c and note 1458 and accompanying           653 IEX Letter VI at 5 (referencing public data
                                                                                                                                                                     fees are used to subsidize rebates with the
                                                 text.                                                   showing ATS access fees in the range of 10 mils and         exchanges’ net capture reflecting today’s market
                                                    646 See infra notes 1116–1118 and accompanying       below). See also IEX Letter V at 5–6.                       norms for accessing liquidity, which is
                                                 text.                                                      654 IEX Letter VI at 5 (stating 10 mils is the           approximately 3–5 cents per 100 shares traded . . .
                                                    647 Nasdaq Letter IV at 8.                           relevant comparative rate charged by ATSs).                 or 3–5 mils.).’’



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                                                 access fee cap to gain insight into the                  exchanges apply towards developing                     against the offer and negatively impact
                                                 then current market rates for execution                  innovative solutions that contribute to                incentives for accurate price
                                                 services.660 At the time of adoption in                  the robustness of the U.S.                             formation.672
                                                 2005, the $0.0030 fee limitation was                     marketplace.’’ 666                                       The Commission understands that
                                                 based on the then-prevailing market                         One commenter stated that reducing                  reducing the access fee cap for stocks
                                                 rates for execution services and general                 the access fee cap generally would                     priced below $1.00 could reduce
                                                 business practices, as very few trading                  reduce the disincentive to trade on                    exchange revenue.673 This is because
                                                 centers charged fees in excess of that                   exchanges because costs would be                       exchanges typically charge the
                                                 amount.661 As it did in 2005 in                          lower.667 Another commenter stated                     maximum fee of .3% for accessing
                                                 establishing the preexisting fee caps, to                that the estimated loss in net capture                 protected quotes priced less than $1.00
                                                 determine the appropriate level of the                   due to the reduction in the access fees                and do not offer rebates, or offer rebates
                                                 amended access fee caps, the                             for protected quotation priced below                   in small amounts.674 Accordingly,
                                                 Commission has similarly considered                      $1.00 ‘‘will not harm the major                        exchanges typically retain the full
                                                 the current market rate for execution                    exchanges.’’ 668                                       amount of the access fee charged.
                                                 services as measured by the rates                           The Commission is adopting a                        However, in order to prevent the
                                                 charged by other trading centers as a                    modified access fee cap of 0.1% of the                 distortions that would occur if a higher
                                                 factor in considering the level of the                   share price for protected quotations                   access fee cap were applied to protected
                                                 adopted access fee caps.662 This factor                  priced under $1.00. The Commission                     quotes priced less than $1.00, the
                                                 is useful in calculating the level of the                proposed a lower access fee cap of                     Commission is adopting the percentage
                                                 access fee caps, but it is not the only                  0.05% of the quotation price per share                 cap that is aligned with the access fee
                                                 factor. The Commission is balancing the                  in light of the proposed 5 mils access fee             cap that is applicable to protected
                                                 need to set a level of the access fee caps               cap. Since the 5 mils access fee cap is                quotes priced $1.00 or more to preserve
                                                 to allow for fair and efficient access                   not being adopted, the Commission has                  continuity at the $1.00 cutoff.
                                                 while also seeking to ensure that trading                modified the access fee cap for
                                                 centers are not impaired in their ability                protected quotes priced under $1.00 so                 f. Comments on Implementation
                                                 to provide execution services.                           that it is consistent with the 10 mils                   Some commenters stated that the
                                                                                                          access fee cap for protected quotes                    Commission should build in an
                                                 e. Protected Quotes Priced Under $1.00                   priced $1.00 or more.                                  evaluation process to assess the benefits
                                                    With respect to the access fee cap for                   The adopted 0.1% access fee cap will                and any potential degradations to
                                                 protected quotations priced under                        align this cap with the 10 mils access                 market quality resulting from changes to
                                                 $1.00, one commenter stated its view                     fee cap that will apply to protected                   the access fee caps.675 One commenter
                                                 that ‘‘the negative impact of the                        quotations in NMS stocks priced $1.00                  stated that the rule should ‘‘include a
                                                 proposed access fee caps is much more                    or greater.669 This alignment is                       mechanism in the rule to periodically
                                                 pronounced for securities priced less                    consistent with the access fee caps that               re-evaluate the access fee caps set in the
                                                 than $1.00.’’ 663 The commenter stated                   apply under the preexisting rule, which                proposal to ensure that access fee levels
                                                 that for protected quotations priced less                are 30 mils and 0.3% respectively.
                                                                                                                                                                 continue to have the anticipated
                                                 than $1.00, the ‘‘estimated revenue                      Alignment of the access fee caps for
                                                                                                                                                                 benefits.’’ 676 Others recommended
                                                 impact to exchanges providing rebates                    protected quotations in NMS stocks
                                                                                                                                                                 application of the new access fee caps
                                                 in these securities [those priced below                  priced below $1.00 and those priced
                                                                                                                                                                 to a smaller subset of NMS stocks before
                                                 $1] is not insignificant’’ and that ‘‘the                $1.00 and above is necessary to preserve
                                                                                                                                                                 rolling it out to all NMS stocks.677 One
                                                 access fee cap must remain unchanged                     continuity at the $1.00 cutoff to ensure
                                                                                                                                                                 commenter stated that changes to access
                                                 to support competition, differentiation,                 that cost to access a protected quote for
                                                                                                                                                                 fees should be adopted as part of a pilot
                                                 and liquidity provision.’’ 664 This                      an NMS stock that is priced below $1.00
                                                                                                                                                                 to allow for a study of the effects on
                                                 commenter also stated that ‘‘[s]implistic                is not more compared to the cost to
                                                                                                                                                                 market quality.678 Another commenter
                                                 proportionality is not a sufficient                      access a protected quote for the same
                                                                                                          NMS stock that is priced $1.00 or                      stated the Commission should first
                                                 justification for this reduction’’ and
                                                                                                          more.670 For example, an NMS stock                     collect more data and industry input
                                                 instead ‘‘[a]nalysis of whether there will
                                                                                                          could have a protected bid that is priced              and conduct further analysis to
                                                 be proportionate outcomes is necessary
                                                                                                          below $1.00 and a protected offer that                 determine the optimal access fee cap
                                                 to overcome the arbitrary and capricious
                                                 nature of this reduction.’’ 665 Finally,                 is priced above $1.00. If the access fee               levels before proceeding.679 One
                                                 this commenter stated that the reduction                 cap for protected quotes priced below                  commenter, however, disagreed that any
                                                 would ‘‘likely impact exchanges’ ability                 $1.00 remained at the preexisting level,               delay to collect further data or conduct
                                                 to differentiate, as well as materially                  the access fee for the protected bid                   additional analysis was warranted.680
                                                 limit the transaction revenue that                       would be almost three times higher than                  672 See also infra section VII.D.2.c.
                                                                                                          the access fee for the protected offer.671               673 See table 14, infra section VII.D.2.b.
                                                   660 See Regulation NMS Adopting Release, supra         In such an instance, it would cost more                  674 See infra note 1433 and accompanying text.
                                                 note 4, at 37545.                                        to trade against the bid than to trade                    675 See, e.g., Citigroup Letter at 6; NASAA Letter
                                                   661 See Regulation NMS Adopting Release, supra
                                                                                                                                                                 at 9; MEMX Letter at 41; Nasdaq Letter I at 2; and
                                                 note 4, at 37545 (stating that the $0.0030 per share
                                                 cap largely codified the then-prevailing fee level set
                                                                                                            666 Cboe Letter II at 9.                             Nasdaq Letter IV at 12.
                                                                                                            667 Better Markets Letter I at 16.                      676 NASAA Letter at 9.
                                                 through competition among the various trading
                                                                                                            668 Themis Letter at 7.                                 677 See, e.g., STA Letter at 8; State Street Letter
                                                 centers).
                                                   662 See supra note 357 and infra section VII.D.2.        669 See infra section VII.D.2.c. As the price of a   at 5; CCMR Letter at 27; GTS Letter at 6–7; Nasdaq
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                                                   663 Cboe Letter II at 9. The Commission conducted      stock moves across the $1.00 cutoff, its access fee    Letter I at 30.
                                                                                                          would not experience a discontinuous jump                 678 CCMR Letter at 27.
                                                 similar analysis when it adopted preexisting Rule
                                                 610(c), and as discussed below, having different         because 0.1% of $1.00 is 0.1 cents, i.e., 10 mils.        679 See, e.g., T. Rowe Price Letter at 3–5. See also

                                                 access fee caps apply to a bid that is priced under      Such alignment prevents the anomalous result that      SIFMA Letter II at 39–40; Chamber of Commerce
                                                 $1.00 and an offer that is priced over $1.00 in the      could occur if the NBB was priced under $1.00 and      Letter at 1; Cboe, State Street, et al. Letter at 3;
                                                 same NMS stock would create pricing distortions.         the NBO was priced over $1.00 and each protected       Citadel Letter I at 24–25.
                                                 See infra section VII.D.2.c.                             quote would be subject to a different access fee.         680 See IEX Letter III at 4 (‘‘There is clear evidence
                                                   664 Cboe Letter II at 9.                                 670 See also infra section VII.D.2.c.
                                                                                                                                                                 that the 30-mil ‘limit’ has acted to keep access fees
                                                   665 Cboe Letter II at 9.                                 671 See also infra section VII.E.2.b.                artificially high, leading to price distortions and



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                                                 According to this commenter, there is a                     an NMS stock unless such fee, rebate or                 to potential conflicts of interest.685 One
                                                 ‘‘mountain of evidence supporting a                         other remuneration can be determined                    commenter stated that proposed Rule
                                                 reduction in the access fee cap from                        by the market participant at the time of                610(d) would ‘‘shed greater
                                                 current levels’’ and ‘‘general consensus                    execution. As the Commission                            transparency on the use of fee and
                                                 in favor of reducing the cap.’’ 681                         explained in the Proposing Release,                     rebate tiers and their impact on
                                                    The Commission disagrees with                            under proposed Rule 610(d), any                         individual trades’’ and ‘‘help to address
                                                 commenters’ suggestions that further                        national securities exchange that                       concerns related to conflicts of interest[ ]
                                                 study be conducted before adopting the                      imposes a fee or provides a rebate that                 because . . . investors will be in a better
                                                 amendment or that the amendment                             is based on a certain volume threshold,                 position to identify and seek the
                                                 should be incrementally rolled out. A                       or establishes tier requirements or tiered              recovery of rebates that accrue
                                                 delayed or incremental approach to                          rates based on minimum volume                           specifically to their orders . . .’’ 686
                                                 reducing the preexisting access fee caps                    thresholds, would be required to set                    Further, one commenter stated that such
                                                 would delay the benefits to investors of                    such volume thresholds or tiers using                   a change is ‘‘a great step forward and
                                                 the reduced caps. The Commission has                        volume achieved during a stated period                  long overdue,’’ 687 and another
                                                 extensively considered the adopted                          prior to the assessment of the fee or                   commenter stated that it would be ‘‘a
                                                 amendments, reviewed all comments                           rebate so that market participants are                  positive outcome for the industry and
                                                 letters and conducted extensive                             able to determine what fee or rebate                    investors and w[ould] reduce market
                                                 economic analysis in deciding to adopt                      level will be applied to any submitted                  complexity and increase
                                                 this amendment. The amended access                          order at the time of execution.682 For                  transparency.’’ 688 One commenter
                                                 fee caps will provide savings for                           example, if an exchange proposed a                      stated that Rule 610(d) ‘‘has the
                                                 investors and should be implemented.                        lower fee for members that reach a                      potential to facilitate broker-dealers in
                                                                                                             certain level of trading volume in a                    passing-through access fees and rebates
                                                 E. Final Rule 610(d) Requiring That All                                                                             to their customers, and in doing so, it
                                                 Exchange Fees and Rebates Be                                month, the required level of trading
                                                                                                             volume would have to be achieved                        could alleviate concerns [ ] about
                                                 Determinable at the Time of an                                                                                      perceived conflicts-of-interest
                                                 Execution                                                   based on a month prior to the
                                                                                                             imposition of the fee or payment of the                 associated with the maker-taker model
                                                    Many exchange fees and rebates are                       rebate.683                                              and the provision of exchange rebates to
                                                 calculated at the end of the month,                            The Commission has considered                        broker-dealers.’’ 689
                                                 which impedes the ability of market                         commenters’ views (as discussed below)                     Other commenters’ support for Rule
                                                 participants, including investors, to                       and is adopting Rule 610(d) as                          610(d) was more measured because they
                                                 understand at the time of execution the                     proposed. Investors can use this                        stated that the proposal did not go far
                                                 full cost of their transaction. For                         information to assess their broker-                     enough to address market distortions
                                                 example, the exchanges have developed                       dealer’s routing decisions and such                     resulting from fee and rebate tiers.690
                                                 complex fee and rebate schedules, some                      information will help to inform market                  One such commenter stated that
                                                 of which include tiers or other                             participants’ best execution analysis.                  although it was ‘‘encouraged about
                                                 incentives based on a market                                                                                        eliminating the retroactive attributes of
                                                 participant’s relative monthly trading                      1. General Comments                                     exchange volume tiers,’’ it felt a ‘‘more
                                                 volume or relative volume compared to                          The Commission received comments                     optimal solution [ ] would be to remove
                                                 the consolidated trading volume in the                      from a broad range of commenters who                    them entirely’’ 691 because ‘‘exchange
                                                 current month, with higher volume tiers                     stated that proposed Rule 610(d) would
                                                 receiving a higher (lower) per unit                                                                                 Boiler Letter II’’) at 3 (agreeing with Angel Letter);
                                                                                                             provide enhanced transparency                           Citigroup Letter at 6; BMO Letter at 4; Council of
                                                 rebate (fee). This means that the exact                     surrounding transaction fees and                        Institutional Investors at 4. See also Comment Letter
                                                 fee or rebate amount for an order cannot                    rebates 684 and alleviate concerns related              Type H, available at https://www.sec.gov/
                                                 be determined until the end of the                                                                                  comments/s7-30-22/s73022.htm.
                                                                                                                                                                        685 See, e.g., BMO Letter at 4; NASAA Letter at
                                                 month, after an execution occurs, and is                      682 National securities exchanges establish and

                                                                                                             amend their fee schedules by filing proposed fee        9.
                                                 not known to the parties to the trade at                                                                               686 IEX Letter I at 28–29. See also Letter from
                                                                                                             rule changes, pursuant to section 19(b) of the
                                                 the time of execution. Further,                             Exchange Act and rule 19b-4 thereunder, for             Stanislav Dolgopolov, Chief Regulatory Officer,
                                                 uncertainty regarding the fee amount at                     Commission review. National securities exchange         Decimus Capital Markets, LLC, dated Mar. 31, 2023,
                                                 the time of execution can hinder the                        fee schedules are posted on their websites. See Rule    at 3 (‘‘Decimus 2023 Letter’’).
                                                                                                                                                                        687 Angel Letter at 8. See also BMO Letter at 4;
                                                 ability of market participants to conduct                   19b–4(l). Some national securities exchanges
                                                                                                             currently use volume calculated on a monthly basis      Healthy Markets Letter I at 25.
                                                 best execution analyses and can affect                      to determine the applicable threshold or tier rate.        688 Fidelity Letter at 15. See also ICI Letter I at
                                                 order routing decisions.                                    See, e.g., fee schedules of Nasdaq PSX available at     17.
                                                    To provide further transparency                          https://www.nasdaqtrader.com/                              689 Nasdaq Letter I at 32. See also Letter from

                                                 regarding transaction pricing, the                          Trader.aspx?id=PSX_pricing (as of Mar. 2024)            Tyler Gellasch, President & CEO, Healthy Markets
                                                                                                             (calculating fees based on ‘‘average daily volume       Association, dated Aug. 1, 2023 (‘‘Healthy Markets
                                                 Commission proposed to amend Rule                           during the month’’) and Cboe EDGA available at          Letter II’’) at 11.
                                                 610 to add a new subsection (d)                             https://www.cboe.com/us/equities/membership/fee_           690 See, e.g., RBC Letter at 5; ASA Letter at 5; IEX
                                                 ‘‘Transparency of Fees,’’ which would                       schedule/edga/ (as of Mar. 2024) (calculating fees      Letter I at 29; Letters from Kelvin To, Founder and
                                                 prohibit a national securities exchange                     based on ‘‘average daily volume’’ and ‘‘total           President, Data Boiler Technologies, LLC, dated
                                                                                                             consolidated volume’’ on a monthly basis).              Mar. 31, 2023 (‘‘Data Boiler Letter I’’) at 5; Themis
                                                 from imposing, or permitting to be                            683 This amendment to Rule 610 does not alter an      Letter at 1 (expressing support for the proposal, but
                                                 imposed, any fee or fees, or providing,                     exchange’s ability to determine the measurement         expressing disappointment that the Commission
                                                 or permitting to be provided, any rebate                    period during which volume is calculated (e.g., a       did not go further and calling for the elimination
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                                                 or other remuneration (e.g., discounted                     week prior, two weeks prior, or prior monthly),         of rebates); Healthy Markets Letter I at 24 (‘‘If two
                                                 fees, other credits, or forms of linked                     rather the rule will instead require the measurement    different brokers send the exact same order to an
                                                                                                             period to be prior to the date of execution so that     exchange, they should get the same pricing for that
                                                 pricing) for the execution of an order in                   market participants can determine the amount of         order. Pricing should be based on the order being
                                                                                                             the fee at the time of execution.                       sent, not the other business or trading by the party
                                                 increasing costs to institutional investors in                684 See, e.g., Ontario Teachers et al. Letter at 2;   sending it.’’).
                                                 particular.’’).                                             ASA Letter at 6; Angel Letter at 8; Letter from            691 RBC Letter at 5. See also Proof Letter at 1–2
                                                    681 IEX Letter III at 4. See also Verret Letter II at    Kelvin To, Founder and President, Data Boiler           (supporting requiring exchange pricing to be
                                                 4; IEX Letter III.                                          Technologies, LLC, dated Apr. 12, 2023 (‘‘Data                                                       Continued




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                                                 volume tiers create barriers to entry that                the ability of broker-dealers to pass back               better order execution and more
                                                 only benefit the largest, most active                     to their customers, if the customer                      transparency regarding the fees/rebates
                                                 trading firms at the expense of smaller                   requests and the customer and the                        applicable to a particular order.
                                                 competitors.’’ 692 One commenter stated                   broker-dealer both are able to                              Other commenters voiced support for
                                                 its support for Rule 610(d), but also                     accommodate the pass-through of fees,                    the Commission’s objectives in
                                                 stated that the Commission should ‘‘take                  rebates, and other forms of                              proposing Rule 610(d), but suggested
                                                 additional steps . . . to prohibit or                     remuneration in a more timely                            certain modifications. One commenter
                                                 restrict the use of CADV-based tiers,’’                   fashion.696 Today, lower fees or higher                  stated that it ‘‘did not object in principle
                                                 which in this commenter’s view are ‘‘by                   rebates based on volume achieved in a                    to . . . requir[ing] exchanges to set
                                                 their nature [ ] highly anti-competitive                  current trading month can lead to                        volume-based access fees and rebates as
                                                 and discriminatory.’’ 693 Further, one                    routing for purposes of achieving a                      of the time of execution’’ provided other
                                                 commenter ‘‘encouraged the                                certain level of volume or attaining a                   market centers would be held to ‘‘the
                                                 Commission to review and address the                      possible tier level rather than routing                  same standards of transparency.’’ 699 As
                                                 issue of ‘bespoke’ pricing tiers prevalent                solely to achieve best execution. While                  discussed in the Proposing Release,
                                                 in today’s volume tiered pricing                          tiers that are based on volume from a                    exchange fees and the fees of non-
                                                 models.’’ 694 Another commenter, while                    previous time-period may still                           exchange trading centers are treated
                                                 agreeing with the objective of fee                        incentivize routing by a broker-dealer to                differently under the Federal securities
                                                 transparency, was skeptical that Rule                     try to secure a higher rebate/lower fee                  laws.700 Specifically, non-exchange fees
                                                 610(d) ‘‘would ‘materially reduce’                        tier in the following month, certainty                   are not subject to the requirements
                                                 uncertainty regarding the fee amount at                   regarding what tier applies at the time                  applicable to exchange fees under
                                                 the time of execution’’ and stated that                   of trade will facilitate the ability of a                sections 6(b) and 19(b) of the Exchange
                                                 the proposal would provide ‘‘little                       broker-dealer to pass those fees and                     Act 701 and rule 19b–4 thereunder.702
                                                 practical transparency for most Market                    rebates through to their customers, if                   Exchange fees are subject to the
                                                 Participants.’’ 695                                       they so decide,697 on a more timely                      requirements of the Exchange Act and
                                                    Rule 610(d) will provide additional                    basis because they will be known at the                  the rules thereunder, which requires,
                                                 certainty, transparency and clarity to                    time of the trade.698 Requiring certainty                among other things, that every exchange
                                                 exchange fee structures, which will                       regarding the amount of the fee/rebate is                post and maintain a current and
                                                 assist investors and other market                         an incremental step toward addressing                    complete version of the entirety of each
                                                 participants in assessing their order                     commenters’ concerns regarding the                       and every fee, due, and charge assessed
                                                 placement. Further, certainty about the                   ability of exchanges and brokers to pass                 by an exchange,703 and that such
                                                 cost of a transaction at the time of the                  back the actual fee or report on each                    exchange rules applicable to fees must
                                                 trade will help broker-dealers make                       transaction.                                             provide for the equitable allocation of
                                                 more informed order routing decisions,                       If market participants pass through in                reasonable dues, fees, and other charges
                                                 particularly benefitting customers that                   their entirety the exchange fees/rebates                 among its members and issuers and
                                                 are sensitive to transaction costs at the                 to their customers, an ancillary benefit                 other persons using its facilities and not
                                                 execution venue, because broker-dealers                   of the new rule will be that the potential               be designed to permit unfair
                                                 and their customers will know with                        inducement to broker-dealers to route                    discrimination between customers,
                                                 more certainty the cost of an exchange                    orders based on garnering the highest                    issuers, brokers or dealers.704 Rule
                                                 transaction at the time of the trade.                     rebate/paying the lowest fee will be                     610(d) is consistent with that statutory
                                                 Investors will be able to obtain or                       reduced since a broker-dealer would no                   framework as it provides members and
                                                 request at the time of execution details                  longer retain for itself the transaction                 their customers with more certainty and
                                                 about the exchange fees and rebates                       pricing benefit from its routing decision.               transparency at the time of trade when
                                                 assessed on their orders without having                   The new rule also will facilitate a                      exchange transaction pricing may be
                                                 to wait weeks until that pricing is                       customer’s ability to obtain more timely                 relevant to, and impactful on, the
                                                 determined and invoiced.                                  information about what exchange                          broker-dealer’s order routing decision.
                                                    In addition, because the rule will                     transaction pricing the broker-dealer                    New Rule 610(d) is narrowly tailored to
                                                 allow market participants to know the                     receives, which may increase                             improve certainty and transparency
                                                 amount of fees and rebates that are                       accountability of the broker-dealer to                   regarding exchange fees and rebates
                                                 applicable to their transactions at the                   the customer in ways that could lead to                  within the current regulatory
                                                 time of the trade, the rule will facilitate                                                                        framework.
                                                                                                              696 However, a broker-dealer may choose not to           One commenter stated that the
                                                 computable at the time of the trade but questioning       offer pass-through of fees, rebates and other forms      proposal might make it more difficult
                                                 what, if any, impact this will have on complexity         of remuneration to its customers or may choose not
                                                 of existing pricing tiers and expressing preference       to pass through the entirety of the incentive it           699 Nasdaq Letter I at 2, 31–32.
                                                 that the Commission adopt a ‘‘more drastic policy         receives, or the customer may not want or be able
                                                                                                                                                                       700 See Proposing Release, supra note 11, at
                                                 change.’’); IEX Letter I at 6.                            to accommodate such pass-throughs. In these cases,
                                                    692 RBC Letter at 5. See also Citigroup Letter at      a conflict of interest would continue to exist           80287. If an ATS or OTC market maker displayed
                                                 6; Proof Letter at 1–2.                                   between the broker-dealer and its customer when          a protected quotation, its fees would be subject to
                                                    693 IEX Letter I at 29. See also Citigroup Letter at   the broker-dealer routes the customer’s order for        the access fee caps under rule 610(c). However,
                                                                                                           execution based on the broker-dealer’s economic          exchange fees and the fees of non-exchange trading
                                                 6; John Ramsay, Chief Market Policy Officer,
                                                 Investors Exchange LLC, dated Sept. 20, 2023 (‘‘IEX       benefit from its routing decision. Notwithstanding,      centers are treated very differently under the
                                                 Letter II’’) at 4; Healthy Markets Letter II at 3–6.      even if pass-through of fees, rebates and other forms    Federal securities laws. For example, one of the
                                                 However, not all commenters agree that volume-            of remuneration to customers does not happen,            distinguishing features of registered national
                                                 based fee/rebate tiers are anticompetitive. See, e.g.,    Rule 610(d) will provide certainty regarding the         securities exchanges is that—unlike non-exchange
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                                                 Cboe Letter III at 6–7 (arguing ‘‘volume-based tiers      applicable fee/rebate at the time of execution,          trading centers—their fees are subject to the
                                                 do not restrain trade or represent a burden on            which will facilitate a customer’s ability to evaluate   principles-based standards set forth in the Exchange
                                                 competition . . . By contrast, limiting volume-           their broker’s routing decisions and could improve       Act, as well as the rule filing requirements
                                                 based rebate tiers would in fact harm competition         broker-dealer accountability, provide greater            thereunder.
                                                                                                                                                                       701 15 U.S.C. 78(f)(b) and (s)(b).
                                                 and disadvantage the very small and mid-sized             transparency regarding executions and lead to
                                                 brokers who support this myth.’’).                        improved order execution for customers. See infra           702 17 CFR 240.19b–4.

                                                    694 BMO Letter at 4. See also Fidelity Letter at 15;   section VII.D.3.                                            703 17 CFR 240.19b–4(m)(1).

                                                 Proof Letter at 1–2.                                         697 See id.                                              704 15 U.S.C. 78f(b)(4) and (5). See also Proposing
                                                    695 Pragma Letter at 7–8.                                 698 See infra section VII.D.3.                        Release, supra note 11, at 80287.



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                                                 for smaller broker-dealers to compete                     anticipated benefits that might flow                    proposed rule addressing volume-based
                                                 against established firms because                         from this change.’’ 712                                 transaction pricing because the
                                                 ‘‘participation in the exchanges’ growth                     The new rule does not prohibit                       proposals are ‘‘inextricably linked’’ and
                                                 programs’’ might become more                              exchange liquidity provision incentives                 ‘‘so contradictory and indeterminate
                                                 expensive in the initial month of                         nor add complexity as suggested by                      that the public has not had a reasonable
                                                 participation and ‘‘limit exchanges’                      some commenters. It instead shifts the                  opportunity to comment on what the
                                                 ability to incent market makers and                       time of calculating fees or rebates so that             Commission is actually proposing.’’ 715
                                                 other participants to quote at the NBBO                   investors and other market participants                    The Commission disagrees. The Fee
                                                 and to do so in a large number of                         are informed, when placing an order, of                 Tiers Proposal remains a proposal. As
                                                 securities, including thinly-traded                       the amount of the fee or rebate that will               explained throughout this section, the
                                                                                                           be assessed. Rule 610(d) does not alter                 increased certainty and transparency
                                                 securities.’’ 705 The commenter did not
                                                                                                           an exchange’s ability to offer incentive                Rule 610(d) will require will provide
                                                 provide detail as to how these impacts
                                                                                                           programs based on volume tiers or any                   benefits to investors and other market
                                                 would arise, but requested the                            another metric; rather it will provide                  participants on its own. Further, the two
                                                 Commission to ‘‘exempt growth                             prospective certainty regarding what                    proposals are not contradictory because
                                                 programs and special pricing programs                     fee/rebate the market participant will                  Rule 610(d) applies to all exchange fees
                                                 that reward market makers and other                       incur/earn by achieving the requisite                   and rebates not just those that are
                                                 participants for quoting at the NBBO                      benchmark. Therefore, exceptions for                    volume-based, whereas the Fee Tiers
                                                 and providing market quality’’ from the                   liquidity provision incentives are not                  Proposal specifically concerns volume-
                                                 requirements of Rule 610(d).706                           appropriate or necessary. Further, Rule                 based pricing and agency-related orders
                                                    Finally, some commenters did not                       610(d) does not require exchange fees,                  as well as a disclosure requirement that
                                                 support proposed Rule 610(d) because                      rebates or other remuneration to be                     would be fully compatible with Rule
                                                 they stated it would negatively impact                    based on activity from a specific                       610(d). Accordingly, both proposals are
                                                 the ability to incentivize liquidity                      measurement period provided the                         compatible in their different scopes,
                                                 provision, ‘‘disrupt[ ] existing economic                 metric used can be achieved prior to the                objectives, and application and so are
                                                 incentives without justification,’’ 707 add               time of execution, nor does it impose                   not in conflict. In addition, Rule 610(d)
                                                 ‘‘an unnecessary layer of                                 any obligations or additional costs on                  is not indeterminate but rather
                                                 complexity,’’ 708 and inappropriately                     market participants to perform any new                  straightforward; the public has had the
                                                 ‘‘wade into the business of telling                       calculations, make new projections or                   opportunity to comment and many
                                                                                                           forecasts, or undertake any new                         have, in fact, so commented.
                                                 private companies how to charge their                                                                                Another commenter stated the
                                                                                                           responsibilities. The Commission is not
                                                 customers.’’ 709 One commenter stated                                                                             Commission should revise proposed
                                                                                                           requiring market participants to
                                                 that ‘‘existing fee constructs such as                    undertake any obligations regarding the                 Rule 610(d) to require fees and rebates
                                                 volume-based pricing tiers are                            calculation of the applicable fee/rebate.               to be known ‘‘before the time of
                                                 important tools that allow exchanges to                   Instead, Rule 610(d) will facilitate a                  execution’’ and require ‘‘all affected
                                                 compete with one another and with                         market participant’s ability to know the                trading venues to publish their fees in
                                                 non-exchanges.’’ 710 This commenter                       amount of the fee/rebate based on                       machine-readable format’’ to allow
                                                 further stated that volume-based tiers                    historical (rather than future) volume, so              market participants to more readily
                                                 are entirely consistent with the                          that it can understand how a volume-                    consume a trading venue’s fee schedule
                                                 Exchange Act and vital tools exchanges                    based fee/rebate will apply at the time                 and update participant systems.716
                                                 use to ‘‘incentivize greater participation                of execution.713 Rule 610(d) will allow                 Implicit in the requirement that fees/
                                                 and improve liquidity and market                          market participants to calculate the                    rebates be determinable at the time of
                                                 quality.’’ 711 Finally, one commenter                     amount of the fee/rebate using data                     execution is use of historical, rather
                                                 stated that the Commission ‘‘include[d]                   available at the time of execution rather               than future, volume to benchmark any
                                                 no data [ ] showing this change would                     than have to forecast or estimate the cost              qualifying criteria for a particular fee/
                                                 cure any harm, nor does it claim any                      of their transaction. As discussed below,               rebate and thus the fee/rebate would be
                                                                                                           this certainty and transparency                         calculatable or determinable before the
                                                   705 Nasdaq Letter I at 33.                              regarding the fee and rebate that will                  time of execution. For a fee to be
                                                   706 Id. at 33.                                          apply to a particular transaction will                  determinable at the time of execution, it
                                                    707 Cboe Letter II at 9–10 (stating that removing
                                                                                                           benefit market participants and improve                 must be ascertainable before or
                                                 incentives provided by exchange rebate tiers would        market quality.714                                      contemporaneously with the execution.
                                                 drive liquidity off-exchange and negatively impact
                                                 exchange liquidity provision). See also Data Boiler
                                                                                                              Further, one commenter requested the                 Otherwise, the purpose of Rule 610(d)—
                                                 Letter I at 28–29 (stating that determinable              Commission withdraw proposed Rule                       to provide certainty and transparency
                                                 requirement will lead to increased costs that will be     610(d) in light of its subsequent                       regarding what fee/rebate will apply at
                                                 passed along to customers as higher commissions                                                                   the time of execution—would be
                                                 or reduced services and could lead to higher
                                                 barriers to entry because the requirement may cause
                                                                                                             712 Virtu Letter III at 9–10.
                                                                                                                                                                   undermined. No change or clarification
                                                                                                             713 Implicit in the use of historical rather than
                                                 a ‘‘direct hit to broker-dealers’ bottom line’’ which                                                             of Rule 610(d) is necessary because
                                                                                                           future volume is that market participants will know
                                                 will force them to ‘‘find alternative ways to squeeze,    the amount of the fee/rebate that will apply at the
                                                                                                                                                                   implicit in the requirement that fees/
                                                 exploit, or rent seek to cover their losses’’ and         time of the execution. As discussed above,
                                                 urging adoption of ‘‘Copyright Licensing                  exchange fees are subject to the requirements of the       715 Citadel Letter II at 6 (stating that comments on
                                                 mechanism’’ instead.).                                    Exchange Act and the rules thereunder, which            Rule 610(d) were provided ‘‘on the basis that
                                                    708 Virtu Letter II at 9–10 (stating the ‘‘effort
                                                                                                           require, among other things, that every exchange        volume-based fee tiers were explicitly not being
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                                                 required to understand the volume fee system,             post and maintain a current and complete version        prohibited’’ and requesting the Commission
                                                 forecast volume fees for an upcoming period, and          of the entirety of each and every fee, due, and         ‘‘propose and publish an analysis assessing the
                                                 confirm that fees are indeed being calculated             charge assessed by an exchange, Because                 cumulative effect of the two proposals that allows
                                                 appropriately will especially disadvantage smaller        information necessary to calculate the amount of        commenters to consider the broader implications
                                                 brokers, who typically have less resources . . . for      the fee or rebate will be knowable at the time of       (and the Commission’s analysis of those
                                                 needless work such as this.’’).                           execution, Rule 610(d) will provide market              implications) of prohibiting volume-based
                                                    709 Virtu Letter II at 9.
                                                                                                           participants with the ability to determine the fee or   transaction pricing for certain orders.’’).
                                                    710 Cboe Letter III at 2.                              rebate due at the time of execution.                       716 FIA PTG Letter II at 4. See also Citadel Letter
                                                    711 Cboe Letter III at 6–7.                              714 See infra section VII.D.3.                        I at 25; Healthy Markets Letter I at 26.



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                                                 rebates be determinable at the time of                  amendments to the round lot definition                 are aggregated into round lots pursuant
                                                 execution is the ability to calculate the               that will require less frequent round lot              to exchange rules.732
                                                 fee/rebate prior to execution.                          adjustments—i.e., semiannually, rather                    The MDI Rules were designed to
                                                    Finally, new Rule 610(d) enhances                    than monthly—by defining a round lot                   increase transparency into, among other
                                                 transparency regarding exchange fees                    ‘‘Evaluation Period’’ and by specifying                things, the best priced quotations
                                                 and rebates but does not require a                      an operative period.723 In addition, the               available in the market.733 Under the
                                                 specific format for publication of the                  Commission is adopting the best odd-lot                MDI Rules’ phased transition plan, the
                                                 information. Exchange fees are required                 order data element, as proposed.                       round lot and odd-lot information
                                                 to be posted on exchange websites 717
                                                                                                         A. Background                                          definitions were scheduled to be
                                                 and, as is true today, if market
                                                                                                                                                                implemented during later phases in
                                                 participants need a specific format, they
                                                                                                            The MDI Rules expanded NMS                          order to avoid imposing costs on the
                                                 can make such requests to the
                                                                                                         information and established a                          exclusive SIPs, which will be retired
                                                 exchanges.
                                                                                                         decentralized consolidation model,                     upon full implementation of the MDI
                                                 V. Final Rule—Transparency of Better                    pursuant to which competing                            Rules.734 Due to the delays in the MDI
                                                 Priced Orders                                           consolidators will eventually replace                  Rules’ implementation, as discussed in
                                                    The Commission, among other things,                  the exclusive SIPs for the collection,                 the Proposing Release,735 the
                                                 adopted new definitions of round lot 718                consolidation, and dissemination of                    Commission is adopting an accelerated
                                                 and odd-lot information 719 under the                   NMS information.724 The Commission                     implementation schedule, with some
                                                 MDI Rules to enhance the transparency                   adopted a phased transition plan for the               modifications from the proposal, so that
                                                 for investors and other market                          MDI Rules,725 which has been                           market participants, including investors,
                                                 participants of quotes and orders in                    delayed.726 Accordingly, NMS                           will be provided with the enhanced
                                                 NMS stocks that have better prices than                 information is currently collected,                    transparency benefits earlier than
                                                 what has been provided in SIP data.720                  consolidated and disseminated within                   anticipated in the MDI Rules.
                                                 In the Proposing Release, the                           the national market system by the                      B. Final Rule—Round Lots
                                                 Commission proposed: (1) to accelerate                  exclusive SIPs as SIP data.727
                                                 the implementation of these two                                                                                   The Commission is amending the
                                                                                                            Because the MDI Rules are not yet
                                                 definitions adopted under the MDI                                                                              implementation schedule for the round
                                                                                                         implemented, NMS stock quotation
                                                 Rules, (2) an amendment to the                                                                                 lot definition that was adopted in the
                                                 definition of ‘‘regulatory data’’ in Rule               information that is included in SIP data
                                                                                                                                                                MDI Rules. The round lot definition will
                                                 600(b)(78)(iv),721 (3) to require each                  is provided in round lots, as defined in
                                                                                                                                                                be implemented on the first business
                                                 exclusive SIP to represent quotation                    exchange rules,728 and for most NMS
                                                                                                                                                                day of November 2025. This adopted
                                                 sizes in consolidated information in                    stocks a round lot is defined as 100
                                                                                                                                                                compliance date is modified from the
                                                 terms of the number of shares, rounded                  shares.729 Under Rule 600(b)(93), as
                                                                                                                                                                proposal, which required compliance
                                                 down to the nearest multiple of a round                 adopted by the MDI Rules,730 round lot
                                                                                                                                                                with the round lot definition 90 days
                                                 lot, and (4) to amend the definition of                 sizes are assigned to each NMS stock
                                                                                                                                                                from Federal Register publication of
                                                 odd-lot information to include a best                   based on its average closing price and
                                                                                                                                                                any Commission adoption of an earlier
                                                 odd-lot order. As discussed in detail                   those NMS stocks that have an average
                                                                                                                                                                implementation of the round lot
                                                 below, the Commission is: (1) adopting                  closing price in the prior month greater               definition.736 The Commission has
                                                 an accelerated implementation schedule                  than $250.00 will be assigned a round                  provided more time than what was
                                                 for the round lot and odd-lot                           lot in a size that is less than 100 shares.            proposed so that market participants
                                                 information definitions, with                              Moreover, because the MDI Rules are                 can update and modify their systems.737
                                                 modifications to the proposed                           not yet implemented, information about                 However, the adopted compliance date
                                                 implementation schedule; (2) adopting                   orders in NMS stocks that have a size                  still accelerates the time by which the
                                                 the amendment to the definition of                      less than a round lot, i.e., odd-lot orders,           definition will be implemented as
                                                 ‘‘regulatory data’’, as proposed; 722 (3)               is available on individual exchange                    compared to the preexisting schedule
                                                 requiring each exclusive SIP to                         proprietary data feeds, and market                     adopted in the MDI Rules.738
                                                 represent quotation sizes in                            participants interested in quotation
                                                 consolidated information in terms of the                                                                          In addition, the Commission is
                                                                                                         information for individual odd-lot                     amending the round lot definition to
                                                 number of shares, rounded down to the                   orders must purchase these proprietary
                                                 nearest multiple of a round lot, as                                                                            include a new definition for an
                                                                                                         feeds.731 SIP data includes odd-lot                    ‘‘Evaluation Period’’ and a provision
                                                 proposed; and (4) modifying the                         transaction information but does not
                                                 Commission’s approach in the                                                                                   specifying the operative dates for round
                                                                                                         include odd-lot quotation information,                 lot assignments. These amendments will
                                                 Proposing Release by adopting                           except to the extent that odd-lot orders               align the dates for assigning round lots
                                                   717 See rule 19b–4(m)(1). 17 CFR 240.19b–4(m)(1).
                                                                                                           723 The Commission is not changing the                 732 See MDI Adopting Release, supra note 10, at
                                                   718 The MDI Rules adopted the definition of
                                                                                                         calculation used to assign round lots or the round     18727.
                                                 round lot in rule 600(b)(82). This provision was
                                                                                                         lot tiers in the round lot definition adopted in the     733 MDI Adopting Release, supra note 10, at
                                                 subsequently renumbered to Rule 600(b)(93) by the
                                                                                                         MDI Rules.                                             18601–02, 18617; see also 17 CFR 242.600(b)(93).
                                                 Rule 605 Amendments. 17 CFR 242.600(b)(93); Rule          724 See MDI Adopting Release, supra note 10.
                                                 605 Amendments, supra note 10.                                                                                   734 See MDI Adopting Release, supra note 10, at
                                                                                                           725 See Proposing Release, supra note 11, at 80295
                                                   719 The MDI Rules adopted the definition of odd-                                                             18700–01; see also Proposing Release, supra note
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                                                 lot information in rule 600(b)(59). This provision      (describing the phased transition plan for the MDI     11, at 80295, 80298–99.
                                                 was subsequently renumbered to Rule 600(b)(69) by       Rules).                                                  735 See Proposing Release, supra note 11, at
                                                                                                           726 See supra notes 74–78 and accompanying text.
                                                 the Rule 605 Amendments. 17 CFR 242.600(b)(69);                                                                80295.
                                                                                                           727 See supra notes 63–65 and accompanying text
                                                 Rule 605 Amendments, supra note 10.                                                                              736 See Proposing Release, supra note 11, at
                                                   720 See MDI Adopting Release, supra note 10.          for a description of SIP data.                         80300–01.
                                                   721 See supra note 320.                                 728 See supra note 66.                                 737 See infra section VI.C.
                                                   722 The Commission is adopting this amendment           729 See supra note 67.                                 738 See Proposing Release, supra note 11, at
                                                                                                           730 See supra note 718.
                                                 to the definition of regulatory data in Rule                                                                   80295; see also supra notes 74–78 and
                                                 600(b)(89)(iv). See supra note 320.                       731 See supra notes 67–68 and accompanying text.     accompanying text.



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                                                 to the dates for assigning minimum                                         regarding the better priced quotations                                     modifications to the round lot definition
                                                 pricing increments under Rule 612.739                                      available in the market and the ability                                    to require less frequent round lot
                                                   Finally, the Commission is also                                          of market participants to access these                                     adjustments so that they occur on a
                                                 adopting, as proposed, the amendment                                       quotations.744                                                             semiannual basis, rather than on a
                                                 to the ‘‘regulatory data’’ definition in                                     In the MDI Adopting Release, the                                         monthly basis and the calculation of the
                                                 Rule 600(b)(89)(iv).740                                                    Commission analyzed data from May                                          average closing price on the primary
                                                                                                                            2020 on the portion of all corporate                                       listing exchange will be based on a one-
                                                 1. Round Lot Definition                                                    stock and ETF volume executed on an                                        month ‘‘Evaluation Period.’’ 747 The
                                                    Rule 600(b)(93), as adopted by the                                      exchange, transacted in a quantity less                                    updated analysis accounts for the
                                                 MDI Rules,741 defines a round lot for                                      than 100 shares, at a price better than                                    modifications to the round lot definition
                                                 NMS stocks that have an average closing                                    the prevailing NBBO, occurring in a                                        and is based on data from October 23–
                                                 price on the primary listing exchange                                      quantity that would be defined as a                                        27, 2023, using a March 2023 Evaluation
                                                 during the prior calendar month of: (1)                                    round lot under the MDI Rules.745 The                                      Period to be consistent with the adopted
                                                 $250.00 or less per share as 100 shares;                                   Proposing Release repeated this analysis                                   rule.748 The updated analysis
                                                 (2) $250.01 to $1,000.00 per share as 40                                   using data for the dates March 25–31,                                      demonstrates that the round lot
                                                 shares; (3) $1,000.01 to $10,000.00 per                                    2022.746 Both analyses demonstrated                                        definition, as amended, will capture
                                                 share as 10 shares; and (4) $10,000.01 or                                  that the round lot definition adopted in                                   significant percentages of better priced
                                                 more per share as 1 share.742 For any                                      the MDI Rules will capture significant                                     odd-lot orders.
                                                 new NMS stock for which the prior                                          percentages of better priced odd-lot                                          Tables 1 and 2 examine the portion of
                                                 calendar month’s average closing price                                     orders for NMS stocks with an average                                      all corporate stock and ETP share
                                                 is not available, a round lot is 100                                       closing price greater than $250.00.                                        volume and trades executed on an
                                                 shares. As a result of the MDI Rules’                                        The Commission has updated this                                          exchange, transacted in a quantity less
                                                 round lot definition, each exchange’s                                      analysis from the Proposing Release                                        than 100 shares, at a price better than
                                                 BBO and the NBBO for an NMS stock                                          with data from October 2023. As                                            the prevailing NBBO, occurring in a
                                                 could be based upon smaller,                                               discussed below, upon further                                              quantity defined as a round lot under
                                                 potentially better priced orders,743                                       consideration and evaluation of                                            the MDI Rules, as amended by the
                                                 which would improve transparency                                           comments, the Commission is adopting                                       Commission.

                                                                                                                                                        TABLE 1
                                                                                                                                                                                                                             Round lot size
                                                                                                                           Round lot tier                                                                                                      Percent 1
                                                                                                                                                                                                                               (shares)

                                                 $0–$250.00 ..............................................................................................................................................................             100             0.00
                                                 $250.01–$1,000.00 ..................................................................................................................................................                   40            52.89
                                                 $1,000.01–$10,000.00 .............................................................................................................................................                     10            76.89
                                                 $10,000.01 or more .................................................................................................................................................                    1           100.00
                                                   1 Portion of all corporate stock and ETP share volume executed on an exchange, transacted in a quantity less than 100 shares, at a price bet-
                                                 ter than the prevailing NBBO, occurring in a quantity that would be defined as a round lot under the MDI Rules as amended, for Oct. 23–27,
                                                 2023.
                                                   Source: Equity consolidated data feeds (CTS and UTDF), as collected by MIDAS; NYSE Daily TAQ.




                                                   739 See supra section III.C.8.                                           and 40% of those odd-lot transactions (representing                        trades in 2023. Accordingly, accelerating the
                                                   740 See supra note 320.                                                  approximately 35% of all odd-lot volume) occurred                          implementation of the round lot and odd-lot
                                                   741 See supra note 718.                                                  at a price better than the NBBO’’). More recent data                       information definitions will increase the pre-trade
                                                    742 17 CFR 242.600(b)(93). The definition of                            and updated analyses confirm that these pricing                            transparency of better priced orders that are
                                                 regulatory data adopted in the MDI Rules also                              patterns in odd-lot trading have continued. See                            prevalent in the national market system.
                                                 requires that a round lot indicator be included in                         Proposing Release, supra note 11, at 80296.                                   745 See MDI Adopting Release, supra note 10, at
                                                                                                                               744 See MDI Adopting Release, supra note 10, at
                                                 NMS information so that market participants will                                                                                                      18612 (table 1).
                                                 know the size of a round lot for each NMS stock.                           18601, 18615, 18742, 18744–45. In the MDI                                     746 See Proposing Release, supra note 11, at
                                                 The primary listing exchange must provide, among                           Proposing Release, the Commission explained the                            80296–97 (tables 1 and 2).
                                                 other things, an ‘‘indicator of the applicable round                       importance of increasing transparency into odd-lot                            747 See infra section V.B.3.b.iv. Amended Rule
                                                 lot size’’ to competing consolidators and self-                            quotation information by demonstrating that odd-
                                                                                                                                                                                                       600(b)(93)(iii) defines the Evaluation Period as (A)
                                                 aggregators. 17 CFR 242.600(b)(89); MDI Adopting                           lot transactions make up a significant proportion of
                                                                                                                            transaction volume in NMS stocks (including                                all trading days in Mar. for the round lot assigned
                                                 Release, supra note 10, at 18634. In addition, the
                                                                                                                            ETPs), through provision of the daily exchange odd-                        on the first business day in May and (B) all trading
                                                 MDI Rules require competing consolidators to
                                                 represent quotation sizes for certain core data                            lot rate (i.e., the number of exchange odd-lot trades                      days in Sept. for the round lot assigned on the first
                                                 elements in terms of the number of shares, rounded                         as a proportion of the number of exchange trades)                          business day of Nov. during which the average
                                                 down to the nearest multiple of a round lot. 17 CFR                        for corporate stocks and ETPs in 2018 and in June                          closing price of an NMS stock on the primary listing
                                                 242.600(b)(26)(iii); MDI Adopting Release, supra                           2019. See Securities Exchange Act Release No.                              exchange shall be measured by the primary listing
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                                                 note 10, at 18615.                                                         88216 (Feb. 14, 2020), 85 FR 16726, 16739 (Mar. 24,                        exchange to determine the round lot for each NMS
                                                    743 Orders currently defined as odd-lots often                          2020) (‘‘MDI Proposing Release’’). For this release,                       stock.
                                                                                                                                                                                                          748 See infra section V.B.3.b.iv. The analysis used
                                                 reflect superior pricing. See MDI Adopting Release,                        Commission staff repeated this analysis to
                                                 supra note 10, at 18616 n.241 (describing analysis                         determine the daily exchange odd-lot rate for 2023.                        the average closing price of the NMS stocks on their
                                                 of data from May 2020 that found that                                      Based on data from the Commission’s MIDAS                                  primary listing exchange for all trading days in Mar.
                                                 ‘‘approximately 45% of all trades executed on                              analytics tool, the daily exchange odd-lot rate for                        2023 and used those average prices to determine the
                                                 exchange and approximately 10% of all volume                               all corporate stocks ranged from approximately                             size of the round lot for each stock in the universe.
                                                 executed on exchange in corporate stocks and ETFs                          61% to 70% of trades and the daily exchange odd-                           Those round lots were then applied to the analysis
                                                 occurred in odd-lot sizes (i.e., less than 100 shares),                    lot rate for all ETPs ranged from 31% to 42% of                            of the stocks’ trading data for Oct. 23–27, 2023.



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                                                                                                                                                        TABLE 2
                                                                                                                                                                                                                             Round lot size
                                                                                                                           Round lot tier                                                                                                     Percent 1
                                                                                                                                                                                                                               (shares)

                                                 $0–$250.00 ..............................................................................................................................................................             100            0.00
                                                 $250.01–$1,000.00 ..................................................................................................................................................                   40           13.79
                                                 $1,000.01–$10,000.00 .............................................................................................................................................                     10           26.63

                                                 $10,000.01 or more .................................................................................................................................................                     1         100.00
                                                   1 Portion of all corporate stock and ETP trades executed on an exchange, transacted in a quantity less than 100 shares, at a price better than
                                                 the prevailing NBBO, occurring in a quantity that would be defined as a round lot under the MDI Rules as amended, for Oct. 23–27, 2023.
                                                   Source: Equity consolidated data feeds (CTS and UTDF), as collected by MIDAS; NYSE Daily TAQ.


                                                    The Proposing Release also included                                     a competing consolidator feed that                                         2. Proposed Acceleration of Round Lot
                                                 the results of a simulation conducted by                                   provides quotation information for a                                       Definition
                                                 the Commission, using exchange direct                                      sample of NMS stocks priced at or over                                        The Commission proposed to
                                                 feed data from MIDAS for every trading                                     $250.01 using the priced-based round                                       accelerate the implementation of the
                                                 day in March 2022, to create a mockup                                      lot sizes adopted in the MDI Rules’                                        round lot definition set forth in Rule
                                                 competing consolidator feed that                                           round lot definition as opposed to the                                     600(b)(93).755 Specifically, the
                                                 included quotation information for a                                       round lot sizes that are defined in                                        Commission proposed to require
                                                 sample of NMS stocks priced at or over                                     current exchange rules (typically 100                                      compliance with the round lot
                                                 $250.01 using the priced-based round                                       shares).752 Snapshots of this simulated                                    definition 90 days from Federal Register
                                                 lot sizes adopted in the MDI Rules’                                                                                                                   publication of any Commission
                                                                                                                            feed were compared against snapshots
                                                 round lot definition as opposed to the                                                                                                                adoption of an earlier implementation of
                                                                                                                            of the exclusive SIP feed for that NMS
                                                 round lot sizes that are defined in                                                                                                                   the round lot definition.756
                                                 current exchange rules (typically 100                                      stock at the same point in time. For two
                                                                                                                            of the three price tiers and                                                  In the MDI Adopting Release, the
                                                 shares).749 Snapshots of this simulated                                                                                                               Commission stated that ‘‘sequencing
                                                 feed were compared against snapshots                                       corresponding round lot sizes, the
                                                                                                                            simulated feed showed better prices, on                                    [round lot implementation] after the
                                                 of the exclusive SIP feed for the sample                                                                                                              parallel operation period is important to
                                                 of NMS stocks at the same point in time.                                   average, than the exclusive SIP feed.753
                                                                                                                                                                                                       avoid either: (1) potential confusion and
                                                 For two of the three round lot price tiers                                 For stocks priced between $250.01 and
                                                                                                                                                                                                       market disruption that could result from
                                                 above $250.01, the simulated competing                                     $1,000.00 per share, which will have a
                                                                                                                                                                                                       two different round lot structures
                                                 consolidator feed showed better prices,                                    round lot size of 40 under the round lot                                   operating at the same time; or (2)
                                                 on average, than the exclusive SIP                                         definition, the price reflected in the                                     imposing reprogramming costs on the
                                                 feed.750                                                                   simulated competing consolidator feed                                      exclusive SIPs for a limited time period
                                                    The Commission has updated this                                         was better than the exclusive SIP feed                                     prior to their retirement.’’ 757 However,
                                                 analysis using exchange direct feed data                                   31.93% of the time and worse less than                                     because full implementation of the MDI
                                                 from MIDAS for every trading day in                                        .1% of the time. For stocks priced                                         Rules as adopted pursuant to the phased
                                                 November 2023 and to account for the                                       between $1,000.01 and $10,000.00 per                                       transition plan 758 likely will not occur
                                                 modifications to the round lot                                             share, which will have a round lot size                                    until at least two years after new
                                                 definition.751 Like the prior analysis, the                                of 10 under the round lot definition, the                                  proposals to amend the effective
                                                 Commission conducted a simulation of                                       price reflected in the simulated                                           national market system plan(s) are
                                                   749 See supra note 66.
                                                                                                                            competing consolidator feed was better                                     developed, filed and approved by the
                                                    750 See Proposing Release, supra note 11, at 80297                      than the exclusive SIP feed 80.77% of                                      Commission,759 the Commission
                                                 (stating, ‘‘[f]or stocks priced between $250.01 and                        the time and worse less than .2% of the
                                                 $1,000.00 per share, which will have a round lot                           time. The updated analysis continues to                                       755 See supra note 718.
                                                 size of 40 under the round lot definition, the price                                                                                                     756 See Proposing Release, supra note 11, at
                                                 reflected in the simulated competing consolidator                          demonstrate that the simulated
                                                                                                                                                                                                       80300.
                                                 feed was better than the exclusive SIP feed 21.47%                         competing consolidator feed, which                                            757 MDI Adopting Release, supra note 10, at
                                                 of the time and worse less than .1% of the time.                           reflects the round lot sizes adopted in                                    18701. The Commission stated that ‘‘the
                                                 For stocks priced between $1,000.01 and $10,000.00
                                                 per share, which will have a round lot size of 10                          the MDI Rules’ round lot definition,                                       consolidated market data products offered by
                                                                                                                            provides better prices than the exclusive                                  competing consolidators during the initial parallel
                                                 under the round lot definition, the price reflected
                                                                                                                                                                                                       operation period would be based on the current
                                                 in the simulated competing consolidator feed was                           SIP feeds, which reflect the prior round
                                                 better than the exclusive SIP feed 64.67% of the                                                                                                      definition of round lot.’’ Id. at 18700. However,
                                                 time and worse less than .1% of the time.’’). For the                      lot size, in NMS stocks priced over                                        because the Commission is accelerating the
                                                 third round lot price tier above $250.01, for stocks                       $250.01, even with the modifications to                                    implementation of the round lot definition, the
                                                 priced $10,000.01 or more, the Proposing Release                                                                                                      exclusive SIPs will be providing SIP data that
                                                                                                                            the round lot definition.754                                               reflects the new round lot sizes during the initial
                                                 stated that there was one stock that was priced over
                                                 $10,000 per share and was already quoted in one-                                                                                                      parallel operation period. Further, the acceleration
                                                 share round lots on the exclusive SIP feed;                                                                                                           of the implementation of the round lot definition
                                                 therefore, the simulated feed and exclusive SIP feed                                                                                                  will result in its use during the parallel operation
                                                 showed the same prices for the stock. Id. at 80297                            752 See supra note 66.                                                  period by both the exclusive SIPs and competing
                                                 n.369.                                                                       753 In the third price tier, which defines a round                       consolidators. See supra note 73 for a discussion of
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                                                    751 The Commission assigned a sample of NMS
                                                                                                                            lot for stocks priced $10,000.01 or more per share                         the parallel operation period; infra section VI.C for
                                                 stocks to a round lot tier based upon their average                                                                                                   a discussion of the modified compliance deadline.
                                                                                                                            as an order for the purchase or sale of an NMS stock                          758 See supra notes 73–78 and accompanying text.
                                                 closing prices on the primary listing exchange                             of one share, only one stock, which is already                                759 See Proposing Release, supra note 11, at
                                                 during Sept. 2023 to account for the adopted                               quoted in one share round lot on the exclusive SIP
                                                 definition of Evaluation Period under the round lot                                                                                                   80295. See also MDI Adopting Release, supra note
                                                                                                                            feed, was priced over $10,000 per share, so the                            10, at 18699–701. The two-year estimated
                                                 definition, which states that the Evaluation Period
                                                 for the round lot assigned on the first business day                       simulated feed and exclusive SIP feed showed the                           timeframe includes the implementation of the
                                                 of Nov. would be all trading days in Sept. See                             same prices for this stock.                                                round lot definition, which was scheduled to occur
                                                 amended Rule 600(b)(93)(iii).                                                754 See supra note 750.                                                  at the end of the transition plan.



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                                                 proposed to amend the phased                            3. Comments and Response                                   implementation of the round lot
                                                 transition schedule of the MDI Rules to                 a. Comments Supporting the Proposed                        definition because the commenter said
                                                 allow the benefits of the round lot                     Change                                                     it would narrow the NBBO spread by
                                                 definition to be made available to                                                                                 incorporating current odd-lot interest
                                                                                                            The Commission received comments
                                                 investors sooner.760 The benefits                                                                                  and ‘‘mak[ing] the notional size
                                                                                                         in support of the proposed acceleration
                                                 identified in the MDI Adopting Release                                                                             associated with the NBBO more uniform
                                                                                                         of the implementation of the round lot
                                                 justify the costs of accelerating the                   definition from individuals,768 firms,769                  across stock price levels.’’ 778 Another
                                                 implementation of the round lot                         exchanges,770 and associations.771                         commenter supported the proposal
                                                 definition in this rulemaking.761                       Several commenters supported the                           because the round lot definition ‘‘would
                                                    Further, as part of accelerating the                 proposed acceleration of the                               enhance the accuracy of the NBBO for
                                                 implementation of the round lot                         implementation of the round lot                            high-priced stocks.’’ 779 Some
                                                 definition, the Commission proposed to                  definition because they said that it                       commenters supported the proposed
                                                 amend the definition of ‘‘regulatory                    would improve transparency 772 and                         acceleration of the implementation of
                                                 data’’ in Rule 600(b)(78) to require the                enhance price discovery.773 Several                        the round lot definition because they
                                                 indicator of the applicable round lot                   commenters stated that the proposed                        stated that this change would restore
                                                 size to be provided to the exclusive SIPs               change would result in more accurate                       public trust,780 or because this change
                                                 for collection and dissemination.762 The                prices,774 allow investors to make more                    and the dissemination of odd-lot
                                                 preexisting definition of ‘‘regulatory                  informed trading decisions,775 improve                     information by the exclusive SIPs would
                                                                                                         execution quality,776 and reduce                           enhance reporting efficiency and reduce
                                                 data’’ required the primary listing
                                                                                                         transaction costs and inefficiencies.777                   delays.781 Commenters also supported
                                                 exchange for an NMS stock to provide                       One commenter supported the
                                                 to competing consolidators and self-                                                                               the proposed acceleration of the
                                                                                                         proposed acceleration of the                               implementation of the round lot
                                                 aggregators an indicator of applicable
                                                 round lot size.763 The Commission                          768 See Comment Letters Type E, F, G, H, I, J, K,
                                                                                                                                                                    definition because they stated that the
                                                 proposed to add new paragraph (iv) to                   available at https://www.sec.gov/comments/s7-30-           round lot definition would result in lot
                                                 the definition of ‘‘regulatory data’’ to                22/s73022.htm; see, e.g., Letters from Aron                sizes that would better suit the needs of
                                                                                                         Tastensen (Feb. 23, 2023); Aswin Joy (Mar. 7, 2023);       investors.782
                                                 require the primary listing exchanges to                Abraham (Mar. 14, 2023); Andrew A. (Mar. 19,
                                                 also make the indicator available to the                2023).                                                        In the MDI Adopting Release, as well
                                                                                                            769 See, e.g., XTX Letter at 5; BMO Letter at 2;
                                                 exclusive SIPs.764 Referencing the round                                                                           as the Proposing Release, the
                                                                                                         Schwab Letter II at 36; Citigroup Letter at 3; Hudson
                                                 lot indicator adopted with regard to                    River Letter at 2; Fidelity Letter at 9, 16; BlackRock     Commission described the benefits of
                                                 competing consolidators in the MDI                      Letter at 11–12; Vanguard Letter at 2.                     the adopted round lot definition.783 The
                                                 Rules, the Commission stated that such                     770 See, e.g., NYSE Letter I at 7; Nasdaq Letter I
                                                                                                                                                                    Commission stated that the new round
                                                                                                         at 3; MEMX Letter at 2, 4, 5–6; Cboe Letter II at 2,
                                                 an indicator will ‘‘help market                         10; IEX Letter I at 6, 30; Cboe Letter III at 10 and
                                                                                                                                                                    lot definition will ‘‘narrow NBBO
                                                 participants ascertain the applicable                   n.18. The Commission also received comment                 spreads for most stocks with prices
                                                 round lot size for each NMS stock on an                 letters submitted by both exchanges and firms that         greater than $250,’’ 784 improve
                                                                                                         supported the accelerated implementation of the
                                                 ongoing basis’’ 765 and ‘‘reduce                        round lot definition. See Cboe, State Street, et al.
                                                                                                                                                                    transparency and ‘‘the
                                                 confusion as market participants adjust                 Letter at 2; NYSE, Schwab, and Citadel Letter at 2.        comprehensiveness of and usability of
                                                 to the new round lot sizes.’’ 766 For these                771 See, e.g., MFA Letter at 3, 13–14; Better           core data, facilitate the best execution of
                                                 same reasons, the Commission proposed                   Markets Letter I at 16–17; SIFMA AMG Letter I at           customer orders, and reduce
                                                                                                         9; CCMR Letter at 22; FIA PTG Letter II at 4–5; ICI
                                                 to require this indicator to be provided                Letter I at 6–7; SIFMA Letter II at 34, 44; STA Letter     information asymmetries.’’ 785 The
                                                 to the exclusive SIPs for collection and                at 8. See also AIMA Letter at 3 (stating that the          Commission also stated that the reduced
                                                 dissemination.767                                       Commission should prioritize the implementation            round lot size for high priced NMS
                                                                                                         of the round lot definition and the Rule 605
                                                                                                         Proposal).                                                 stocks would ‘‘better ensure the display
                                                   760 See Proposing Release, supra note 11, at
                                                                                                            772 See Comment Letter Type E, I, available             and accessibility of significant liquidity
                                                 80300–01.
                                                                                                         athttps://www.sec.gov/comments/s7-30-22/                   for high-priced stocks.’’ 786 Some
                                                                                                         s73022.htm; see, e.g., Letters from Bill Gilbert (Mar.
                                                   761 See infra section VII.D.5.
                                                                                                         7, 2023); Richard Pasquali (Mar. 16, 2023); IEX
                                                                                                                                                                    commenters supported the proposed
                                                   762 Under the MDI Rules, the definition of            Letter I at 6; MFA Letter at 13–14; XTX Letter at          acceleration of the implementation of
                                                 regulatory data requires the primary listing            5; Better Markets Letter I at 16–17; BlackRock Letter      the round lot definition but stated that
                                                                                                         at 11–12 (stating that accelerated implementation of
                                                 exchange to make an indicator of the applicable
                                                                                                         the round lot and the odd-lot information
                                                                                                                                                                    more time than proposed was needed
                                                 round lot size to competing consolidators and self-     definitions would increase pre-trade transparency
                                                 aggregators. See Rule 600(b)(89)(i)(E), 17 CFR          for investors); FIA PTG Letter II at 4; Hudson River         778 See Hudson River Letter at 2.
                                                 242.600(b)(89)(i)(E). See also supra note 320.          Letter at 2; ICI Letter I at 6.                              779 See CCMR Letter at 22.
                                                   763 17 CFR 242.600(b)(89)(i)(E).                         773 See, e.g., XTX Letter at 5 (also referring to the
                                                                                                                                                                       780 See, e.g., Letters Type E, G, J, available at
                                                   764 See Proposing Release, supra note 11, at          proposed publication on the exclusive SIPs of odd-         https://www.sec.gov/comments/s7-30-22/
                                                 80299.                                                  lots priced better than the NBBO); Cboe Letter II at       s73022.htm; see also e.g., Letters from Christopher
                                                   765 See Proposing Release, supra note 11, at
                                                                                                         10, Cboe Letter I at 10 (stating that the proposed         Nieto (Mar. 31, 2023); Michael Montalban (Mar. 31,
                                                                                                         acceleration of the round lot definition and the           2023).
                                                 80299. For more details, see MDI Proposing Release,     display of odd-lot orders would improve price                 781 See, e.g., Letter Type K, available at https://
                                                 supra note 744, at 16762.                               discovery and reduce spreads); ICI Letter I at 6.
                                                   766 See Proposing Release, supra note 11, at             774 See, e.g., IEX Letter I at 6 (referring to the
                                                                                                                                                                    www.sec.gov/comments/s7-30-22/s73022.htm.
                                                                                                                                                                       782 See, e.g., IEX Letter I at 30; BlackRock Letter
                                                 80299; MDI Adopting Release, supra note 10, at          proposed acceleration of the implementation of the
                                                                                                         round lot definition as well as the display of odd-        at 11 (stating that the proposed acceleration of the
                                                 18619.
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                                                                                                         lot orders).                                               implementation of both the round lot and odd-lot
                                                   767 See Proposing Release, supra note 11, at
                                                                                                            775 See, e.g., MFA Letter at 13–14; Better Markets      definitions would increase the usefulness of the
                                                 80299. As discussed below, since the MDI Rules                                                                     exclusive SIPs because of the prevalence of current
                                                                                                         Letter I at 16–17; FIA PTG Letter II at 4.
                                                 already require the primary listing exchanges to           776 See, e.g., MFA Letter at 13–14; Better Markets      odd-lot sizes); MEMX Letter at 4; STA Letter at 8.
                                                 provide an indicator of the applicable round lot size   Letter I at 16–17; BlackRock Letter at 11 (stating that
                                                                                                                                                                       783 See Proposing Release, supra note 11, at

                                                 to competing consolidators and self-aggregators, the    accelerated implementation of the round lot and the        80296.
                                                 incremental cost of providing this indicator to the                                                                   784 Id.
                                                                                                         odd-lot information definitions would result in
                                                 two exclusive SIPs should be low. See infra section     enhanced execution quality for investors).                    785 Id.

                                                 VIII.G.                                                    777 See FIA PTG Letter II at 4.                            786 Id.




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                                                 for compliance.787 As discussed later in                   SIP and force more participants to                    the amendments to the minimum
                                                 this release, the Commission is                            purchase costly direct feeds to maintain              pricing increments and round lots
                                                 providing more time to implement the                       the same level of transparency of                     should be limited.798 Specifically, in
                                                 round lot definition than the 90-days                      liquidity.’’ 794                                      response to comments expressing
                                                 that was proposed for                                         Although the Commission agrees that                concerns about the combined impact of
                                                 implementation.788                                         both the round lot definition adopted in              the proposed smaller minimum pricing
                                                   One commenter supported the                              the MDI Adopting Release and the                      increments and the implementation of
                                                 proposed acceleration of the                               amended minimum pricing increments                    the round lot definition,799 the
                                                 implementation of the round lot                            will impact the NBBO and will result in               Commission conducted the analysis to
                                                 definition subject to ‘‘regulatory and                     a narrower spread for impacted NMS                    determine the magnitude of NMS stocks
                                                 industry-wide education to investors on                    stocks, the NMS stocks that would be                  that would be impacted by both
                                                 the changes.’’ 789 As with many                            subject to both the round lot definition              changes. According to the Commission’s
                                                 regulatory changes, investor education                     and the amended minimum pricing                       analysis, as of November 30, 2023, only
                                                 and notification may be useful so that                     increments are likely to be very small in             163 NMS stocks were priced above
                                                 investors better understand the                            number and also extremely liquid,                     $250.00 per share and would have been
                                                 implications of the size of their orders.                  which could counteract any potential                  potentially eligible to be assigned to a
                                                                                                            harm to liquidity resulting from the                  round lot size smaller than 100 shares,
                                                 b. Comments Objecting to the Proposed                      interaction of both changes. The round                out of a universe of 11,200 NMS stocks
                                                 Change                                                     lot definition adopted in the MDI                     on that date.800 Further, based on
                                                    The Commission also received                            Adopting Release and the amended                      Commission review of the 163 NMS
                                                 comments that raised objections to                         minimum pricing increments each will                  stocks that would have been assigned to
                                                 specific aspects of the proposed                           impact the NBBO and each will result                  a round lot less than 100 shares, as of
                                                 acceleration of the implementation of                      in a narrower spread for those NMS                    November 30, 2023, only two out of the
                                                 the round lot definition. These                            stocks that are assigned a smaller round              163 had an average quoted spread over
                                                 comments are addressed below.                              lot 795 or a smaller minimum pricing                  the previous thirty trading days of
                                                 i. Comments on the Interaction Between                     increment.796                                         $0.015 or less and therefore may have
                                                                                                               The round lot definition will narrow               been potentially eligible to have been
                                                 the Round Lot Definition and the
                                                                                                            the spread for NMS stocks that have an                assigned to the smaller $0.005 minimum
                                                 Proposed Minimum Pricing Increments
                                                                                                            average closing price over $250 per                   pricing increment.801 The two NMS
                                                    The Commission received comments                        share by showing better prices for these              stocks—SPY and QQQ—are among the
                                                 that expressed concern about the                           stocks. The amended minimum pricing                   most liquid exchange-traded
                                                 potential impact of both the                               increments will reduce the spread for                 products.802 For the month of November
                                                 implementation of the round lot                            those NMS stocks that have a narrow                   2023, SPY had the highest average daily
                                                 definition and the proposed changes to                     TWAQS and will allow these stocks to                  traded value, while QQQ was ranked
                                                 the minimum pricing increments.790                         be priced more competitively in smaller               second in average daily traded value.803
                                                 Specifically, some commenters raised                       increments, which will more accurately
                                                 concerns about the potential impact of                     reflect supply and demand.                               798 See infra section VII.D.4.a. (discussing the

                                                 both proposed changes on liquidity and                     Accordingly, the smaller round lot and                impact of the acceleration of the implementation of
                                                 NBBO depth.791 One commenter stated                                                                              the round lot definition and reduced tick sizes and
                                                                                                            the smaller minimum pricing increment                 stating that the number of stocks trading over $250
                                                 that smaller round lot sizes would make                    narrow spreads in different ways. In                  with spreads narrower than $0.015 is ‘‘likely very
                                                 the NBBO ‘‘less robust, as a smaller                       response to the comment stating that the              small’’).
                                                 amount of liquidity would now                              round lot definition and the proposed                    799 See, e.g., Virtu Letter II at 10; Citadel Letter

                                                 establish the NBBO benchmark,’’                                                                                  I at 26; ASA Letter at 6.
                                                                                                            tick size changes are duplicative                        800 The Proposing Release stated that, based on
                                                 compounded by the proposed reduction                       because they would both result in                     average closing prices on the primary listing
                                                 in quoting tick sizes that would require                   narrow spreads,797 both requirements                  exchange in Mar. 2022, there were 181 NMS stocks
                                                 liquidity to be dispersed in finer pricing                 will narrow spreads, but they are not                 priced over $250. See Proposing Release, supra note
                                                 increments.792 One commenter stated                        duplicative.                                          11, at 80300 n.407.
                                                                                                                                                                     801 These NMS stocks were ETFs: SPY and QQQ.
                                                 that the proposed minimum pricing                             Although there may be NMS stocks                   As of Nov. 30, 2023, the last sale price for SPY was
                                                 increments and ‘‘the round lot reforms’’                   that are assigned both a smaller round                $454.30 and its average bid-ask spread over the
                                                 would be duplicative because they                          lot and a smaller minimum pricing                     previous 30 trading days was $0.0105. For QQQ, as
                                                 would both result in narrow spreads.793                    increment, Commission analysis of data                of Nov. 30, 2023, the last sale price was $386.70 and
                                                 In addition, one commenter stated that                                                                           the average bid-ask spread over the previous 30
                                                                                                            discussed below shows that this                       trading days was $0.0116. This analysis was
                                                 the round lot definition and proposed                      overlapping universe of NMS stocks is                 conducted using Bloomberg data. See also supra
                                                 minimum pricing increments ‘‘would                         very small. In other words, most NMS                  section III for a discussion of the amended
                                                 significantly reduce transparency on the                   stocks will not be assigned both a round              minimum pricing increments. The calculation of a
                                                                                                                                                                  TWAQS for NMS stocks will occur during an
                                                                                                            lot that is less than 100 shares and a                Evaluation Period for purposes of assigning
                                                    787 See, e.g., NYSE Letter I at 7; Nasdaq Letter I
                                                                                                            smaller $0.005 minimum pricing                        minimum pricing increments. See Rule 612(a)(1).
                                                 at 3; Fidelity Letter at 16; Cboe Letter III at 10 n.18.
                                                    788 See infra section VI.C.
                                                                                                            increment and therefore will not                         802 SPY and QQQ are also among the most liquid

                                                    789 See Fidelity Letter at 16.
                                                                                                            experience a combined impact on the                   NMS stocks. Using Bloomberg data, for the period
                                                                                                            NBBO spread or depth. As explained in                 Jan. 22, 2024–Feb. 16, 2024, SPY had the highest
                                                    790 See, e.g., Virtu Letter II at 10; Citadel Letter
                                                                                                                                                                  average daily traded value of all NMS stocks, while
                                                 I at 26; ASA Letter at 6; Tastytrade Letter at 22;         the analysis, since only a few NMS                    QQQ was ranked fourth. Specifically, for this
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                                                 SIFMA Letter II at 34; Morgan Stanley Letter at 3.         stocks are expected to be subject to both             period, the average daily traded value per day for
                                                 See also Nasdaq Letter I at 34 (stating that ‘‘an          a smaller round lot and a smaller tick                SPY was $36,581,363,712, or 5.9% of total value
                                                 effective tick reform proposal may alleviate the                                                                 traded of all U.S. equity trading, and for QQQ the
                                                 need to speed implementation of the round and odd          size, the potential combined impact of
                                                                                                                                                                  average daily traded value per day was
                                                 lot proposals.’’).                                                                                               $18,632,960,000, or 3.5% of total value traded of all
                                                    791 See, e.g., Virtu Letter II at 10; Citadel Letter     794 See Virtu Letter II at 10.
                                                                                                                                                                  U.S. equity trading.
                                                 I at 26.                                                    795 See infra section VII.D.4.a.                        803 Based on daily average traded value for Nov.
                                                    792 See Virtu Letter II at 10.                           796 See infra section VII.B.2; section VII.D.1.
                                                                                                                                                                  1, 2023–Nov. 30, 2023, using Bloomberg data. For
                                                    793 See ASA Letter at 6.                                 797 See ASA Letter at 6.                             SPY, the daily average traded value for Nov. 2023



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                                                    Based on this information, while the                  NBBO.809 The new $0.005 increment                       competitive and better available
                                                 Commission recognizes that the                           will also result in the NBBO reflecting                 prices.817
                                                 interaction of the minimum pricing                       better prices because the smaller                          Commenters also expressed concern
                                                 increment and the round lot definition                   increment will allow orders to be priced                that the implementation of the round lot
                                                 may result in some reduction of depth                    in a manner that is more reflective of the              definition and the proposed changes to
                                                 for the very few NMS stocks that may                     supply and demand of liquidity for the                  the minimum pricing increments would
                                                 be subject to both a smaller tick size and               stock.810 Accordingly, each of these                    confuse investors.818 One commenter
                                                 a round lot size of less than 100                        amendments will result in narrower                      warned that changes to round lots and
                                                 shares,804 the impact of the reduction of                NBBO spreads and better prices.811
                                                                                                                                                                  tick sizes would confuse retail investors
                                                 NBBO depth should not be of such a                       Further, those market participants that
                                                                                                                                                                  and reduce trust in the market.819
                                                 level as to impede trading in the                        may need to trade in large sizes may be
                                                 affected NMS stocks because these                        able to see liquidity outside of the                       Because there are expected to be only
                                                 stocks are highly liquid, which should                   NBBO by considering the new odd-lot                     a small number of NMS stocks that
                                                 greatly mitigate the impact of reduced                   information that will be available in SIP               could be subject to both a change in a
                                                 depth at the NBBO.805 Furthermore,                       data as well as depth of book data that                 minimum pricing increment and a
                                                 these changes will benefit investors and                 is available via exchange proprietary                   change to the round lot size, the risk of
                                                 other market participants trading these                  data feeds.812                                          investor confusion is limited. Market
                                                 stocks through more accurate pricing                        In response to the comment that                      participants may choose to educate
                                                 and a reduction in spreads. While the                    raised concerns about the potential for                 investors about the new round lot and
                                                 extent of any reduced depth at the                       the proposed variable minimum pricing                   amended minimum pricing increments,
                                                 NBBO is not known at this time, due to                   increments and the new round lots to                    as they sometimes choose to educate
                                                 the volume traded in these two NMS                       reduce transparency on the exclusive                    investors regarding other regulatory
                                                 stocks, any potential reduction will not                 SIPs,813 for the reasons discussed                      changes that impact how investors enter
                                                 impair market participants’ ability to                   above,814 the combined impact of the                    orders. Investors are already familiar
                                                 trade these stocks because these stocks                  adopted minimum pricing increments                      with three round lot sizes 820 and two
                                                 would be among the most liquid and                       and round lot definition should not                     minimum pricing increments,821 so the
                                                 therefore easily traded.806                              reduce transparency for most NMS                        addition of only one round lot size and
                                                                                                          stocks and the exclusive SIPs will                      one minimum pricing increment is
                                                    Additionally, some liquidity that is                  provide a more accurate NBBO once                       unlikely cause investor confusion.822
                                                 consolidated at the preexisting round                    these amendments are implemented.                       The Commission is also adopting new
                                                 lot 807 and $0.01 minimum pricing                        While the round lot will be smaller for                 indicators for dissemination on the
                                                 increment may be reflected in the                        certain NMS stocks, as described above,                 exclusive SIPs of the assigned round
                                                 adopted round lot sizes and smaller                      the NBBO based on the new round lots                    lots and minimum pricing increments to
                                                 minimum pricing increment.                               will in many cases reflect better                       alert market participants, including
                                                 Specifically, some odd-lot orders are                    prices.815 Therefore, while the actual                  investors, of the relevant round lot and
                                                 currently aggregated into the 100-share                  number of shares will be smaller for
                                                 round lot.808 Upon implementation of                                                                             minimum pricing increment for each
                                                                                                          certain NMS stocks, the disseminated                    NMS stock. These indicators will also
                                                 the round lot definition, some orders                    prices will likely be better.816 In
                                                 that were considered odd-lots may be of                                                                          help to mitigate concerns about any
                                                                                                          addition, as discussed above, the new                   potential for investor confusion.823
                                                 round lot size as defined. Further,                      minimum pricing increment required
                                                 interest that is displayed at the                        under Rule 612 for certain NMS stocks                   ii. Comments on the Round Lot
                                                 previously required $0.01 minimum                        will allow the NBBO that is                             Indicator
                                                 pricing increment may be reflected in                    disseminated by the exclusive SIPs to
                                                 orders that are entered in the smaller                   reflect more competitive pricing. These                   The Commission proposed to amend
                                                 tick size. Once these amendments are                     amendments will enhance the NBBO                        Rule 600(b)(78) to add a requirement to
                                                 implemented, the NBBO will reflect                       that is calculated and disseminated by                  make the indicator of the applicable
                                                 better prices, both because of the                       the exclusive SIPs by reflecting more                   round lot size available to the exclusive
                                                 smaller round lot size for some NMS
                                                 stocks and new $0.005 increment for                        809 See Proposing Release, supra note 11, at             817 See supra section III.C. See also MDI Adopting

                                                 some other NMS stocks. As smaller                        80294; MDI Adopting Release, supra note 10, at          Release, supra note 10, at 18744, 18745. See also
                                                                                                          18616.                                                  infra section VII.D.4.a. (stating that the round lot
                                                 sized orders in higher priced stocks are                   810 See infra section VII.D.1; section VII.D.1.b.i;   definition would shrink the NBBO for stocks priced
                                                 often priced better than orders that are                 section VII.D.1.b.ii; section VII.E.3.                  greater than $250, would increase transparency and
                                                 currently in round lots, the smaller                       811 See infra section VII.D.1 and note 1145 and       would result in better order execution).
                                                 round lot sizes will allow potentially                   accompanying text.                                         818 See, e.g., Tastytrade Letter at 22; SIFMA Letter

                                                 better priced orders to be the basis of the                812 Once implemented, the MDI Rules will add          II at 34; Morgan Stanley Letter at 3.
                                                                                                          depth of book information to consolidated market           819 See, e.g., Tastytrade Letter at 22.

                                                                                                          data, and this information will provide information        820 Under exchange rules, there are three different
                                                 was $31,652,396,337. For QQQ, it was                     about depth outside of the NBBO for those market        round lot sizes. See supra note 67. The MDI Rules’
                                                 $17,527,314,000.                                         participants that would find this information           round lot definition adds one more round lot size,
                                                    804 See infra section VII.D.4.a.                      useful. See infra section VII.D.4.a.; MDI Adopting      i.e., 40 shares. Consistent with its views stated here,
                                                    805 See infra section VII.D.4.a. (stating, ‘‘[t]he    Release, supra note 10, at 18728, 18730 (explaining     the Commission previously considered potential
                                                 exceptional liquidity of the affected stocks will        that SIP data currently only includes top-of-book       investor confusion with the additional round lot
                                                 likely protect their NBBO from material                  quotes). 17 CFR 242.600(b)(26)(I) (defining ‘‘core      size and did not believe it will be confusing to
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                                                 deterioration.’’).                                       data’’ to include depth of book data) and 17 CFR        investors. See MDI Adopting Release, supra note
                                                    806 Id.                                               242.600(b)(24)(i) (defining ‘‘consolidated market       10, at 18618.
                                                    807 See supra note 66.                                data’’ to include core data).                              821 Preexisting Rule 612 included two minimum
                                                                                                            813 See Virtu Letter II at 10.
                                                    808 See MDI Proposing Release, supra note 744, at                                                             pricing increments based on the price of a quote or
                                                                                                            814 See supra notes 807–812 and accompanying          order—$0.01 and $0.0001.
                                                 16738–39 (describing exchange rules on aggregating
                                                 odd-lot across multiple prices and providing them        text.                                                      822 See supra section III. See also infra notes
                                                                                                            815 See supra section V.B.1. (table 1 and table 2).   1589–1593 and accompanying text.
                                                 to the exclusive SIPs at the least aggressive price if
                                                 the combined odd-lot interest is equal to or greater       816 See MDI Adopting Release, supra note 10, at          823 See infra note 1385; MDI Adopting Release,

                                                 than a round lot).                                       18742, 18743.                                           supra note 10, at 18619.



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                                                 SIPs in Rule 600(b)(78)(iv).824 The                       information definition in the MDI                        iv. Modified Round Lot Assignment
                                                 Commission is adopting this                               Adopting Release.835                                     Frequency and Evaluation Period for
                                                 requirement as proposed in Rule                              One commenter stated that investors                   Round Lots
                                                 600(b)(89)(iv).825 The Commission did                     trading in options may be confused by                       Under the MDI Rules, each NMS stock
                                                 not receive comments specifically                         the round lot definition, stating that                   was assigned a round lot size every
                                                 supporting or objecting to the proposed                                                                            month based on its average closing price
                                                                                                           retail investors who trade options know
                                                 amendment. However, two commenters                                                                                 for the prior calendar month on its
                                                                                                           one options contract represents 100
                                                 cited this requirement as support for                                                                              primary listing exchange.843
                                                 their arguments that the proposed 90-                     shares or a ‘‘round lot.’’ 836 The
                                                                                                           Commission considered and addressed                      Commenters raised concerns about
                                                 day compliance deadline for the round                                                                              potential confusion and operational
                                                 lot and odd-lot information definitions                   the interaction of the new round lot
                                                                                                           definition and options trading in the                    risks arising due to the fact that round
                                                 would provide an insufficient amount of                                                                            lots and the proposed minimum pricing
                                                 time.826 As discussed below,827 the                       MDI Adopting Release.837 Further, it is
                                                                                                           unlikely that the acceleration of the                    increments would be changed at
                                                 Commission is providing more time for                                                                              different times,844 and several
                                                 compliance with the round lot                             round lot definition could confuse retail
                                                                                                           investors trading in options.                            commenters suggested aligning the
                                                 definition, which is a substantially                                                                               assignment of round lots and minimum
                                                 longer period for compliance than the                     Specifically, the round lot size will not
                                                                                                                                                                    pricing increments, either on a quarterly
                                                 90 days that was proposed.828 The                         change the size of the options contract
                                                                                                                                                                    or on a semiannual basis.845 One
                                                 Commission is providing a longer                          and precedent exists for standard                        commenter stated ‘‘having two to four
                                                 compliance period than proposed after                     options contracts on stocks with a round                 adjustments per year strikes the
                                                 considering the information provided by                   lot size less than 100 shares.838                        appropriate balance between having the
                                                 commenters that requested more time to                    Furthermore, corporate actions, such as                  optimal round lot and minimum pricing
                                                 comply with the implementation of the                     rights offerings, stock dividends, and                   increment with reducing the time that
                                                 round lot definition, including                           mergers can result in adjusted contracts                 market participants are adjusting to the
                                                 implementation of the round lot                           representing stock in amounts other                      changes.’’ 846 Another commenter
                                                 indicator.829 The additional time will                    than 100 shares, so investors have some                  warned that having differing assignment
                                                 provide market participants with time to                  familiarity already with options on                      schedules for round lot sizes and
                                                 make the changes necessary to                             underlying NMS stocks that have a                        minimum pricing increments ‘‘will
                                                 implement the round lot indicator.                        ‘‘round lot’’ that is less than 100                      materially elevate systemic risk since it
                                                 iii. Comments on the Round Lot                            shares.839                                               only requires a single large market
                                                 Definition                                                   Several commenters also suggested                     participant to create widespread
                                                                                                           eliminating the concept of round lots                    disruption by failing to properly modify
                                                   The Commission received comments
                                                                                                           altogether.840 The Commission is not                     their systems.’’ 847 The commenter
                                                 on the round lot definition that was
                                                                                                           eliminating the concept of round lots.                   suggested reducing the frequency of
                                                 adopted in the MDI Rules.830
                                                                                                                                                                    changes to quarterly or semiannually
                                                 Commenters raised concerns about the                      As the Commission stated in the MDI
                                                                                                                                                                    and synchronizing the round lot and
                                                 defined round lot sizes,831 the                           Adopting Release, round lot orders
                                                                                                                                                                    minimum pricing increment changes.848
                                                 determination of round lot size based on                  continue to play an important role in                       After further consideration, the
                                                 price,832 the impact of smaller round lot                 the national market system by                            Commission agrees with the concerns
                                                 sizes on the relevance of the NBBO,833                    delineating orders of meaningful size
                                                 and the impact of the round lot                           and focusing regulatory requirements                        843 MDI Adopting Release, supra note 10, at
                                                 definition as well as the odd-lot                         and protections—such as those set forth                  18617.
                                                 information definition on bandwidth.834                   in rules 602, 604 and 611 of Regulation                     844 See, e.g., FIF Letter at 13; Hudson River Letter

                                                 The Commission considered and                             NMS—on such orders.841 Further, as the                   at 2, 4; BlackRock Letter at 9, 10. See also SIFMA
                                                 addressed issues related to adopting the                                                                           Letter II at 34, 35 (stating that ‘‘The Tick Size
                                                                                                           Commission stated in the MDI Adopting                    Proposal would make dynamic three components of
                                                 round lot definition and the odd-lot                      Release, eliminating the concept of a                    trading that are static today: (i) tick sizes; (ii) access
                                                                                                           round lot could also cause investor                      fees; and (iii) round lots. Exacerbating this
                                                    824 See Proposing Release, supra note 11, at                                                                    complication, tick sizes would adjust quarterly,
                                                 80299.
                                                                                                           confusion and other unintended                           while round lots would change monthly. Tick sizes
                                                    825 See supra note 320.                                consequences.842                                         would be based on average quoted spread, while
                                                    826 See NYSE Letter I at 7–8; Letter from Robert                                                                round lots are based on a stock’s price.’’); Morgan
                                                                                                                                                                    Stanley Letter at 3 (stating that the proposed
                                                 Books, Chair of the Operating Committee, Operating           835 See MDI Adopting Release, supra note 10, at
                                                                                                                                                                    amendments would require ‘‘market participants to
                                                 Committees of the CTA Plan, CQ Plan and UTP               18615–22.                                                make frequent changes to their systems . . .’’ that
                                                 Plan, dated Mar. 28, 2023 (‘‘CTA, CQ, UTP Plans              836 See Tastytrade Letter at 22.                      ‘‘. . . the risk of technology failure created by
                                                 Operating Committees Letter’’) at 3. See also infra
                                                                                                              837 See MDI Adopting Release, supra note 10, at       monthly and/or quarterly changes to systems by the
                                                 section VI.C.
                                                                                                                                                                    buy-side, sell-side, exchanges and vendors
                                                    827 See infra section VI.C.                            18619, 18747.
                                                                                                                                                                    (including security information processors) may
                                                    828 See Proposing Release, supra note 11, at              838 For example, as of Oct. 26, 2023, one NMS
                                                                                                                                                                    introduce new market and operational risks . . . ’’
                                                 80300–01.                                                 stock has a round lot size of 10 shares while also       and that ‘‘. . . this dynamic aspect of the proposal
                                                    829 See supra note 826; infra section VI.C.            possessing an option contract size of 100 shares.        could create investor confusion and potentially
                                                    830 See, e.g., RBC Letter at 5; Tastytrade Letter at      839 See MDI Adopting Release, supra note 10, at       drive trading inefficiencies.’’).
                                                 21; T. Rowe Price Letter at 4; Pragma Letter at 8–        18619. See also infra section VII.D.4.a.                    845 Two commenters suggested aligning the
                                                 9; Data Boiler Letter I at 8 and Data Boiler Letter          840 See, e.g., Nasdaq Letter I at 34–35; XTX Letter   assignment of round lots and minimum pricing
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                                                 II at 2.                                                                                                           increments on a quarterly or semiannual basis. See
                                                    831 See, e.g., Pragma Letter at 1, 8, 9; T. Rowe
                                                                                                           at 5; Angel Letter at 2–3; Anonymous Letter (Feb.
                                                                                                                                                                    Hudson River Letter at 2, 4; BlackRock Letter at 10.
                                                                                                           12, 2023) (stating that order sizes should be treated
                                                 Price Letter at 4.                                                                                                 One commenter suggested aligning both
                                                    832 See, e.g., Tastytrade Letter at 21.                the same, regardless of status as a round lot or an      assignments on a quarterly basis. See FIF Letter at
                                                    833 See, e.g., RBC Letter at 5.
                                                                                                           odd-lot).                                                13. See also infra notes 849–853 and accompanying
                                                                                                              841 See MDI Adopting Release, supra note 10, at       text.
                                                    834 See Data Boiler Letter I at 8; see also Data

                                                 Boiler Letter II at 2. The commenter raised concerns      18618 n.274.                                                846 Hudson River Letter at 4.

                                                                                                              842 See MDI Adopting Release, supra note 10, at          847 BlackRock Letter at 10.
                                                 about the round lot and odd-lot information
                                                 definitions.                                              18618 n.274.                                                848 See id.




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                                                 raised by the commenters. Frequent                          Further, amended Rule 600(b)(93)(iv)               increments will reduce potential
                                                 systems changes and updates can                           will provide time for market                         confusion for investors because they
                                                 introduce risks for market participants                   participants to implement any                        will only have to understand two round
                                                 and the market, and frequent changes to                   reassignments of round lots and                      lot assignments per year instead of
                                                 the terms of how an order is entered for                  provides that the assigned round lots                twelve.
                                                 an NMS stock can potentially cause                        will be operative until the next                        The Commission is not changing the
                                                 investor confusion. Therefore, the                        semiannual date for a new round lot                  round lot sizes, pricing tiers or the
                                                 Commission is amending the round lot                      change. Specifically, round lots                     calculation used to assign round lots. As
                                                 definition to make the timing for                         assigned under Rule 600(b)(93) shall be              originally adopted, round lots were
                                                 assigning round lots consistent with the                  operative on (A) the first business day              assigned based on the average closing
                                                 timing for assigning minimum pricing                      of May for the March Evaluation Period               price of the prior month on the primary
                                                 increments. Such alignment on a                           and continue through the last business               listing exchange. Under Rule
                                                 semiannual basis will help to facilitate                  day of October of the calendar year, and             600(b)(93)(iii), round lots will be
                                                 an orderly market and help reduce                         (B) the first business day of November               assigned based on the average closing
                                                 operational risks and investor                            for the September Evaluation Period and              price during a specified month, e.g.,
                                                 confusion.                                                continue through the last business day               March or September on the primary
                                                    As described above, the Commission                     of April of the next calendar year. For              listing exchange.
                                                 is adopting a definition of Evaluation                    both round lots and minimum pricing                     In the MDI Adopting Release, the
                                                 Period under Rule 612 that will result                    increments, the adopted semiannual                   Commission explained that assigning a
                                                 in the assignment of minimum pricing                      assignment dates will be the first                   round lot size based on the NMS stock’s
                                                 increments on a semiannual basis                          business day in May and the first                    average closing price on the primary
                                                 instead of on a quarterly basis, as                       business day of November.                            listing exchange for the prior calendar
                                                 proposed.849 The Commission has                             Like amended Rule 612, in amended                  month would strike ‘‘an appropriate
                                                 therefore decided to amend the round                      Rule 600(b)(93)(iv) the Commission is                balance between using accurate, up-to-
                                                 lot definition to change the frequency of                 adopting a one-month time period                     date pricing information and avoiding
                                                 round lot changes from a monthly basis                    between the conclusion of each                       the cost and complexity of over-frequent
                                                 to a semiannual basis (the round lot                      Evaluation Period and each operative                 computation and potential round lot
                                                 sizes and price tiers for assigning round                 date (i.e., the date on which the round              reassignment.’’ 854 The Commission also
                                                 lots adopted in the MDI Adopting                          lot assignment becomes effective) to                 stated that market participants are
                                                 Release have not changed). Specifically,                  provide market participants with time to             accustomed to monthly updates, so
                                                 the Commission is amending Rule                           implement any new round lot                          monitoring for round lot size changes
                                                 600(b)(93) to require round lots to be                    assignments. These changes address                   and implementing systems changes to
                                                 assigned on a semiannual basis instead                    concerns about operational risks and                 account for the monthly calculation
                                                 of on a monthly basis, which will match                   will help to ensure the orderly                      ‘‘would not be overly burdensome or
                                                 the minimum pricing increment                             implementation of the systems changes                costly.’’ 855
                                                 assignment frequency of amended Rule                      necessary to implement the new round                    In light of the concerns raised by
                                                 612.850 Amended Rule 600(b)(93)(i) will                   lots and minimum pricing increments.                 commenters about potential confusion
                                                 assign each NMS stock to a round lot                      Further, market participants will be able            and potential operational risks due to
                                                 size based on the NMS stock’s average                     to use the one-month implementation                  the fact that round lots and minimum
                                                 closing price on the primary listing                      period to communicate with investors                 pricing increments would be changed at
                                                 exchange during a one month                               about any upcoming changes, which                    different times, the Commission
                                                 Evaluation Period. Amended Rule                           will help to minimize potential investor             reviewed data that compared how often
                                                 600(b)(93)(iii) will define the Evaluation                confusion.                                           round lot sizes would change if subject
                                                 Period as (A) all trading days in March                     These amendments are responsive to                 to monthly evaluations, as the MDI
                                                 for the round lot assigned on the first                   commenters who suggested aligning the                Rules previously required, to how often
                                                 business day in May and (B) all trading                   assignment of round lots and minimum                 they would change if subject to a
                                                 days in September for the round lot                       pricing increments.852 By aligning the               semiannual evaluation based on one
                                                 assigned on the first business day of                     timing for assigning round lot sizes to              month of prices.856 The Commission
                                                 November during which the average                         the timing for assigning minimum                     examined the average closing prices of
                                                 closing price of an NMS stock on the                      pricing increments, there will be fewer              NMS stocks from January 2019 through
                                                 primary listing exchange shall be                         modifications to market participants’                September 2023 (6,052 stocks) using
                                                 measured by the primary listing                           systems and they will have more time
                                                 exchange to determine the round lot for                   to implement such systems changes.                      854 See MDI Adopting Release, supra note 10, at
                                                 each NMS stock.851                                        These amendments to the round lot                    18619.
                                                                                                           definition address commenter concerns                   855 Id.
                                                    849 While the Commission proposed in Rule                                                                      856 See infra section VII.D.1.d for a discussion of
                                                                                                           about systemic risk and the risk of
                                                 612(a) to define a quarterly tick evaluation period,                                                           the semiannual evaluation of minimum pricing
                                                 it is adopting a semiannual tick Evaluation Period
                                                                                                           market disruptions because market                    increments. As discussed above, the Commission is
                                                 in amended Rule 612(a)(1). See supra section              participants will only have to make                  aligning the assignment of round lots and minimum
                                                 III.C.7.a.                                                systems changes two times per year for               pricing increments. A longer round lot assignment
                                                    850 The Commission’s amendments to Rule                                                                     frequency, such as annual assignments, would more
                                                                                                           round lot assignments and tick
                                                 600(b)(93) will also renumber the sub-provisions                                                               likely result in round lot sizes calculated based on
                                                 within rule 600(b)(93). The round lot tiers in
                                                                                                           reassignments rather than twelve and                 prices not reflective of current trading. Limiting
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                                                 preexisting Rule 600(b)(93)(i)–(iv) will be               four times per year, respectively.853                round lot reassignments to a frequency of once
                                                 renumbered as Rule 600(b)(93)(i)(A)–(D).                  These amendments to make the                         every six months was determined to be sufficient
                                                 Preexisting Rule 600(b)(93)(v) will be amended and        assignment of round lots uniform with                to achieve the goals stated in the MDI Adopting
                                                 renumbered as Rule 600(b)(93)(ii). Preexisting Rule                                                            Release, while reducing costs and complexity for
                                                 600(b)(93)(iii)–(iv) will contain provisions related to
                                                                                                           the assignment of minimum pricing                    market participants. See also infra notes 1594–1595
                                                 a new ‘‘Evaluation Period.’’                                                                                   and accompanying text (discussing the impact of
                                                                                                             852 See Hudson River Letter at 2, 4; BlackRock
                                                    851 Amended Rule 600(b)(93) and amended Rule                                                                the semiannual evaluation period and the lag
                                                 612(a)(1) each define ‘‘Evaluation Period’’               Letter at 10.                                        between evaluation and implementation on the
                                                 differently.                                                853 Id.                                            accuracy of round lot assignments).



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                                                 Bloomberg data. During this time, only                  period and have not yet been an NMS                       The Commission proposed to divide
                                                 323 NMS stocks moved above or below                     stock during an Evaluation Period.                     Rule 603(b) into three new subsections
                                                 the round lot tiers of $250.01 per share,                                                                      to reflect the requirements under Rule
                                                                                                         C. Final Rule—Odd-Lot Information
                                                 $1,000.01 per share, and $10,000.01 per                                                                        603(b) until the MDI Rules are
                                                 share. If round lot sizes were updated                    The Commission is adopting an                        implemented. As proposed, Rule
                                                 on a monthly basis, there would have                    accelerated implementation schedule                    603(b)(1) governs the applicability of
                                                 been 1,012 total changes over the past                  for odd-lot information definition that is             Rules 603(b)(2) and (b)(3) by describing
                                                 five years, for an average of 17 changes                modified from the proposal in order to                 the compliance dates set forth in the
                                                 per month. If round lot sizes were                      provide a longer time for market                       MDI Rules. Proposed Rule 603(b)(2)
                                                 updated every six months, there would                   participants to update and modify their                governs the provision of consolidated
                                                 have been 454 total changes over the                    systems.859 Further, the Commission is                 market data by competing consolidators
                                                 past five years, for an average of 50                   adopting amendments to Rule 603(b)                     and self-aggregators pursuant to the
                                                 changes every six months.857 The data                   under Regulation NMS, as proposed, to                  decentralized consolidation model set
                                                 suggests that lengthening the time                      require the exclusive SIPs to collect,                 forth in the MDI Rules. Proposed Rule
                                                 between assigning round lots will                       consolidate and disseminate odd-lot                    603(b)(3) governs the provision of NMS
                                                 reduce the number of re-assignments.                    information. Finally, the Commission is                information by the exclusive SIPs,
                                                 Some of the re-assignments identified                   adopting amendments to the definition                  including the new requirements
                                                 using the monthly reassignment were                     of odd-lot information to include the                  regarding the collection, consolidation,
                                                 the result of some NMS stocks shifting                  best odd-lot order, as proposed.                       and dissemination of odd-lot
                                                 between round lots sizes from month to                                                                         information.
                                                                                                         1. Proposed Acceleration of Odd-Lot
                                                 month. The shifting of round lot size                                                                             Therefore, proposed Rule 603(b)(1)(i)
                                                                                                         Information Definition                                 states that compliance with Rule
                                                 tiers from month to month may increase
                                                 the potential for investor confusion.                      The Commission proposed to                          603(b)(3) is required until the date
                                                 This is similar to the concerns                         accelerate the implementation of the                   indicated by the Commission in any
                                                 expressed by commenters about having                    odd-lot information definition under                   order approving amendments to the
                                                 asynchronous round lot and minimum                      Rule 600(b)(59) 860 by requiring SROs to               effective national market system plan(s)
                                                 pricing increments changes.                             provide the data necessary to generate                 to effectuate a cessation of the
                                                                                                         odd-lot information to the exclusive                   operations of the plan processors that
                                                    Finally, the Commission is amending                  SIPs and to require the exclusive SIPs to              disseminate consolidated information
                                                 Rule 600(b)(93)(v), which previously                    collect, consolidate, and disseminate                  regarding NMS stocks. Proposed Rule
                                                 stated that a round lot for an NMS stock                odd-lot information.861 Specifically, the              603(b)(1)(ii) states that compliance with
                                                 for which the prior calendar month’s                    Commission proposed to amend Rule                      proposed Rule 603(b)(2) is required 180
                                                 average closing price is not available is               603(b) under Regulation NMS to require                 calendar days from the date of the
                                                 an order for the purchase or sale of 100                the national securities exchanges and                  Commission’s approval of the
                                                 shares. This preexisting provision                      national securities associations to make               amendments to the effective national
                                                 assigned new NMS stocks to a 100-share                  all data necessary to generate odd-lot                 market system plan(s) required under
                                                 round lot because such NMS stocks that                  information available to the exclusive                 rule 614(e).863
                                                 started trading intra-month did not have                SIPs and to require the exclusive SIPs to                 Preexisting Rule 603(b), which
                                                 an average closing price from the prior                 collect, consolidate, and disseminate                  imposes requirements on the
                                                 calendar month upon which to make a                     odd-lot information.862                                dissemination of consolidated market
                                                 round lot assignment.858 As amended,                                                                           data by national securities exchanges
                                                 preexisting section (v) will be                           859 See infra section VI.C.                          and national securities associations, was
                                                 renumbered as Rule 600(b)(93)(ii) and                      860 The MDI Rules adopted the definition of odd-
                                                                                                                                                                proposed to be renumbered as Rule
                                                 will be amended to state instead that                   lot information in rule 600(b)(59). This provision     603(b)(2). Proposed Rule 603(b)(3)
                                                 any security that becomes an NMS stock                  was subsequently renumbered to Rule 600(b)(69) by
                                                                                                         the Rule 605 Amendments. 17 CFR 242.600(b)(69);
                                                                                                                                                                requires every national securities
                                                 during an operative period as described                 Rule 605 Amendments, supra note 10.                    exchange on which an NMS stock is
                                                 under new paragraph (iv) shall be                          861 Pursuant to the implementation period for the   traded and national securities
                                                 assigned a round lot of 100 shares. This                MDI Rules, odd-lot information will be collected,      association to act jointly pursuant to one
                                                 provision is consistent with the                        consolidated, and disseminated by competing            or more effective NMS plans to
                                                 preexisting provision. New NMS stocks                   consolidators, beginning during the parallel
                                                                                                         operation period. See Proposing Release, supra note    disseminate consolidated information,
                                                 that begin trading during an operative                  11, at 80298.                                          including a national best bid and
                                                 period will not be able to have an                         862 See proposed Rule 603(b)(3). While the MDI      national best offer and odd-lot
                                                 average closing price calculated during                 Rules do not require competing consolidators to        information, on quotations for and
                                                 an Evaluation Period. Further, this new                 disseminate all consolidated market data elements,     transactions in NMS stocks, and the
                                                                                                         such as odd-lot information, in consolidated market
                                                 language will make the round lot                        data products, the Commission proposed to require      effective plan or plans must provide for
                                                 definition similar to Rule 612 in                       the exclusive SIPs to collect, consolidate, and        the dissemination of all consolidated
                                                 identifying those NMS stocks that                       disseminate odd-lot information. Under the             information for an individual NMS
                                                 become NMS stocks during an operative                   decentralized consolidation model, competing           stock through a single plan processor.
                                                                                                         consolidators will be permitted to design
                                                                                                         consolidated market data products with different       The single plan processor must
                                                    857 The Commission’s analysis revealed that
                                                                                                         elements of consolidated market data for their         represent quotation sizes in such
                                                 certain NMS stocks shifted above and below the          subscribers and subscribers will be able to choose     consolidated information in terms of the
                                                 $250 per share threshold, which resulted in the         competing consolidators and consolidated market
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                                                 difference in number of changes between the
                                                                                                                                                                number of shares, rounded down to the
                                                                                                         data products that meet their needs. See MDI
                                                 monthly round lot updates and the semiannual            Adopting Release, supra note 10, at 18659. Under
                                                                                                                                                                nearest multiple of a round lot.
                                                 round lot updates. For example, one NMS stock           the existing exclusive SIP model, the exclusive SIPs
                                                 would have changed round lot size 24 times over         are the only source of consolidated NMS                collected, consolidated, and disseminated by the
                                                 five years if round lot sizes were adjusted monthly,    information and—while proprietary data products        exclusive SIPs. Therefore, the Commission
                                                 as compared to four times if round lot sizes were       offer some of the same data content, including odd-    proposed that the exclusive SIPs be required to
                                                 adjusted semiannually.                                  lot quotations—subscribers would have no               disseminate odd-lot information.
                                                    858 See MDI Adopting Release, supra note 10, at      alternative providers of consolidated NMS                863 17 CFR 242.614(e). See also MDI Adopting

                                                 18619.                                                  information if such data were not required to be       Release, supra note 10, at 18700 n.1355.



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                                                 Additionally, every national securities                    the quality of SIP data and ‘‘make more                  ahead of other elements of MDI Rules,
                                                 exchange on which an NMS stock is                          data accessible to investors at lower                    (2) simultaneously with minimum
                                                 traded and national securities                             prices by introducing competition into                   pricing increments, and (3)
                                                 association shall make available to a                      an otherwise monopolistic data                           simultaneously with the changes to the
                                                 plan processor all data necessary to                       market.’’ 868                                            round lot definition,873 investors and
                                                 generate odd-lot information.                                 Certain market participants stated that               market participants should be provided
                                                    The Commission did not receive any                      accelerating the implementation of odd-                  with the benefits of odd-lot information
                                                 comments on proposed Rule 603(b)(1),                       lot information is not necessary and                     sooner than the originally adopted
                                                 which added the compliance dates                           overly burdensome given the other                        implementation schedule in the MDI
                                                 already adopted in the MDI Rules, or the                   components of the proposal.869 One                       Adopting Release,874 and the adoption
                                                 renumbering of current Rule 603(b) as                      commenter supported the acceleration                     of the acceleration of the odd-lot
                                                 Rule 603(b)(2), and is adopting these                      of the MDI Rules with respect to odd-                    information requirements should occur
                                                 changes, as proposed. The Commission                       lots but stated that ‘‘[o]ver the long run,              contemporaneously with adoption of
                                                 discusses proposed Rule 603(b)(3) 864                      eliminating round lots altogether . . .                  the other requirements outlined in the
                                                 herein, which the Commission is                            may be a better resolution.’’ 870 In                     Proposing Release. Timelier
                                                 adopting as proposed.                                      contrast, two commenters opposed                         implementation of the odd-lot
                                                 a. General Comments and Response                           accelerating the implementation of the                   information definition allows investors
                                                                                                            odd-lot information definition, stating                  to benefit from greater transparency and
                                                    The Commission received comments                        that it would increase the amount of                     accessibility of better priced orders and
                                                 in support of the proposed acceleration                    development work required of market                      improved execution quality; waiting to
                                                 of the implementation of the odd-lot                       participants and therefore ‘‘delay the                   implement the definition would delay
                                                 information consistent with the MDI                        additional transparency that could be                    these benefits for market participants.875
                                                 Rules from individuals, firms,                             afforded by solely modifying the round                   Further, the implementation of the MDI
                                                 exchanges, and associations.865                            lot definition.’’ 871 Additional                         Rules continues, although on a delayed
                                                 Generally, individual commenters                           commenters supported acceleration of                     basis as compared to the adopted
                                                 supported the proposed acceleration of                     the revised round lot definition but not                 implementation schedule. The
                                                 the implementation of the odd-lot                          the odd-lot information definition,                      implementation of odd-lot information
                                                 information definition because it would
                                                                                                            without providing a specific reason for                  on an accelerated schedule will not
                                                 increase transparency and ‘‘because
                                                                                                            the distinction, and generally urged the                 impede the further implementation of
                                                 odd-lots represent the majority of
                                                                                                            Commission to revisit comments on                        the remaining MDI Rules.876
                                                 trades.’’ 866 Certain other market
                                                                                                            odd-lot dissemination.872                                  Apart from comments regarding
                                                 participants also supported the
                                                                                                               The Commission is adopting                            sequencing, certain industry
                                                 proposed acceleration of the odd-lot
                                                                                                            proposed Rule 603(b)(3) with respect to                  participants expressed concern that
                                                 information definition for similar
                                                                                                            the provision of odd-lot information, as                 adding odd-lot information, including
                                                 reasons, stating greater transparency
                                                                                                            proposed. The provision of odd-lot                       the BOLO, to the exclusive SIPs will
                                                 would enhance price discovery,
                                                                                                            information within the national market                   increase message traffic and therefore
                                                 improve decision-making with respect
                                                                                                            system will provide significant benefits                 increase costs.877 One commenter stated
                                                 to order routing, and reduce spreads.867
                                                                                                            to investors by increasing transparency                  that the proposal would add odd-lot
                                                 Commenters further supported the
                                                                                                            about better priced orders that are                      information to exclusive SIP data
                                                 acceleration of odd-lot information
                                                                                                            available in the market. The round lot                   without disclosing how much the SROs
                                                 requirements because it would improve
                                                                                                            definition will not provide transparency                 would charge retail investors and
                                                   864 See infra section V.C.1.a; section V.D.              about those orders that remain odd-lots,                 broker-dealers for the new data fields.878
                                                   865 The Commission also received comment on              i.e., odd-lot quotation information. As                  The commenter, while recommending
                                                 the timing proposed to implement the odd-lot               discussed above, only those NMS stocks                   that the Commission proceed with
                                                 information and round lot definitions. These               that are priced greater than $250 will be                implementation of the MDI Rules and
                                                 comments are discussed below in section VI.C.              assigned a smaller round lot size. These
                                                   866 See, e.g., Form Letter Type I, of which 22
                                                                                                                                                                     governance changes, stated that
                                                 comments were received, available at https://
                                                                                                            NMS stocks may still have odd-lots                       exclusive SIP data fees are ‘‘complex
                                                 www.sec.gov/comments/s7-30-22/s73022.htm. See              available at prices better than the round                and often opaque’’ and that while SIP
                                                 also e.g., Form Letter Type D, of which 255                lot price. Further, the odd-lot                          data costs are charged to retail
                                                 comments were received, Form Letter Type J, of             information definition will provide                      customers on a per investor basis, the
                                                 which 15 comments were received, and Form Letter
                                                 Type K, of which 22 comments were received,
                                                                                                            transparency about better priced odd-lot                 cost to produce SIP data does not scale
                                                 available at https://www.sec.gov/comments/s7-30-           orders for all NMS stocks.                               on a per investor basis.879
                                                 22/s73022.htm; Letters from Aric Ott (Mar. 6, 2023);          While some commenters suggested
                                                 Austin Peck (Mar. 31, 2023); Colin Clarry (Mar. 6,         that the Commission consider                                873 See, e.g., ICI Letter I at 2, 7; FIA PTG Letter
                                                 2023); Aron Tastensen (Feb. 23, 2023); Dave and
                                                 Paula Wager (Mar. 6, 2023); Mark Rogers (Mar. 30,
                                                                                                            alternative sequencing of the proposal                   II at 4–5; Robinhood Letter at 5, 44. See also supra
                                                                                                            and expressed concern regarding the                      section I.D (discussing overarching comments on
                                                 2023); Erik Jansen (Mar. 31, 2023).                                                                                 the proposal in general).
                                                   867 See, e.g., Cboe Letter II at 10 (stating that odd-   acceleration of the implementation of                       874 See Proposing Release, supra note 11, at
                                                 lot transactions represent a majority of trades, odd-      the odd-lot information definition: (1)                  80295.
                                                 lot quotations represent significant price                                                                             875 As discussed below, the Commission is
                                                 improvement on Cboe’s exchanges and stating ‘‘the            868 See, e.g., Robinhood Letter at 5; Proof Letter     adopting an accelerated implementation schedule
                                                 inclusion of odd-lot quotations on the SIPs is long
                                                                                                            at 1.                                                    for the odd-lot information definition that is
                                                 overdue’’); IEX Letter I at 6; Nasdaq Letter I at 3,
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                                                                                                               869 See, e.g., FIA PTG Letter II at 4; Hudson River   modified from the proposal in order to provide a
                                                 10; MFA Letter at 13–14; Better Markets Letter I at
                                                                                                            Letter at 2; NYSE, Schwab, and Citadel Letter at 2;      longer period of time for market participants to
                                                 16–17; NYSE Letter I at 7; Cboe Letter II at 2; SIFMA
                                                                                                            STA Letter at 8; Schwab Letter II at 6; BlackRock        update and modify their systems. See infra section
                                                 AMG Letter I at 9; JPMorgan Letter at 2; Letter from
                                                                                                            Letter at 12; MEMX Letter at 7.                          VI.C.
                                                 Tom Davin, Senior Vice President, Software &                                                                           876 See infra section V.E.
                                                                                                               870 Nasdaq Letter I at 3, 10.
                                                 Information Industry Association, Managing
                                                                                                               871 See FIA PTG Letter II at 4; Hudson River Letter      877 See, e.g., FIF Letter at 13; FIA PTG Letter II
                                                 Director, Financial Information Services Division,
                                                 Financial Information Services Division of the             at 2.                                                    at 5; Fidelity Letter at 17; FISD Letter at 3.
                                                                                                               872 See, e.g., NYSE, Schwab, and Citadel Letter at       878 See Fidelity Letter at 17.
                                                 Software & Information Industry Association, dated
                                                 Mar. 29, 2023 (‘‘FISD Letter’’) at 1, 3.                   2; STA Letter at 8; Schwab Letter II at 6.                  879 See id.




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                                                    While the addition of odd-lot                         exclusive SIPs propose to increase SIP                  prices of actual orders that have been
                                                 quotation information to the exclusive                   data fees because of the addition of odd-               submitted by market participants. This
                                                 SIPs will increase the number of                         lot information, any such new proposed                  information will provide investors with
                                                 messages that the exclusive SIPs will                    fees must be filed with the Commission                  valuable information about the prices at
                                                 have to collect and consolidate and the                  pursuant to rule 608, published for                     which other market participants are
                                                 number of messages that will be made                     public comment and approved by the                      willing to trade. However, as with any
                                                 available to market participants, the                    Commission before they can take                         change, market participants may have to
                                                 exclusive SIPs and market participants                   effect.887 Further, as discussed in the                 educate investors as to the existence of
                                                 can handle such increased message                        Proposing Release, expediting the                       odd-lot quotation information on the
                                                 traffic. As discussed in the Proposing                   inclusion of odd-lot information to the                 exclusive SIPs.
                                                 Release, the systems used by exchanges                   exclusive SIPs can provide additional
                                                 and other market participants can                        competition to the segment of the                       2. Proposed Amendment to Odd-Lot
                                                 handle many levels of data messages at                   market that subscribes to proprietary                   Information Definition for Best Odd-Lot
                                                 extreme low latency and should be able                   data with odd-lot information for use in                Orders
                                                 to adjust to the addition of odd-lot                     visual display settings.888                               The odd-lot information definition
                                                 quotation information.880 Further, the                      One commenter requested                              includes (1) odd-lot transactions,893 and
                                                 exclusive SIPs have been discussing the                  confirmation that exchange proprietary                  (2) odd-lots at a price greater than or
                                                 addition of odd-lot quotation                            data feeds could be used to provide odd-                equal to the national best bid and less
                                                 information to SIP data for several                      lot information to the exclusive SIPs                   than or equal to the national best offer,
                                                 years 881 and should be able to make the                 consistent with statements in the MDI                   aggregated at each price level at each
                                                 necessary adjustments to their                           Adopting Release that odd-lot                           national securities exchange and
                                                 processors in the adopted timeframe.882                  information could be made available to                  national securities association.894
                                                 To the extent that increased message                     competing consolidators and self-                       Accordingly, once implemented,
                                                 traffic increases costs for the exclusive                aggregators (under the decentralized                    information on odd-lot orders priced
                                                 SIPs, the Commission estimated those                     consolidation model) using ‘‘existing                   better than the NBBO will be included
                                                 costs in the Proposing Release, which                    proprietary data feeds, a combination of                in the NMS information that is made
                                                 are discussed below.883                                  proprietary data feeds, or a newly                      available to market participants within
                                                    The Commission discussed the                          developed consolidated market data                      the national market system.
                                                 potential for new fees related to                        feed.’’ 889 As previously stated by the                   The Commission proposed to amend
                                                 consolidated market data, which                          Commission, the use of proprietary data                 the definition of odd-lot information to
                                                 includes odd-lot information, in the                     feeds for delivering odd-lot information                include a BOLO as new Rule
                                                 MDI Adopting Release.884 Fees imposed                    is consistent with the MDI Rules in the                 600(b)(59)(iii). Specifically, for each
                                                 by the exclusive SIPs are subject to the                 context of the decentralized                            NMS stock, the best odd-lot order to buy
                                                 Exchange Act and the rules thereunder.                   consolidation model.890 The use of                      would mean the highest priced odd-lot
                                                 The Commission discussed the statutory                   proprietary data feeds for purposes of                  order to buy that is priced higher than
                                                 standards for any potential fees for                     providing data to the exclusive SIPs                    the national best bid, and the best odd-
                                                 consolidated market data, which                          may require consideration by the                        lot order to sell would mean the lowest
                                                 includes odd-lot information, in the                     exclusive SIPs and the Operating                        priced odd-lot order to sell that is priced
                                                 MDI Adopting Release.885 Specifically,                   Committees of the technical                             lower than the national best offer.
                                                 the statutory standards that apply to fees               specifications that may be necessary for                Similar to the definition of the NBBO,
                                                 proposed by the effective market system                  purposes of collecting and distributing                 in the event that two or more national
                                                 plan(s) include section 11A(c)(1)(C)–(D)                 such information to the exclusive                       securities exchanges or associations
                                                 of the Exchange Act and rule 603(a)                      SIPs.891                                                provide odd-lot orders at the same price,
                                                 under Regulation NMS. Proposed fees                         One commenter stated that
                                                                                                                                                                  the exclusive SIPs, competing
                                                 must be fair and reasonable and not                      ‘‘disseminating odd lot quotes on the
                                                                                                                                                                  consolidators and self-aggregators
                                                 unreasonably discriminatory. As                          SIP could lead investors to expect prices
                                                                                                                                                                  would be required to determine the best
                                                 discussed in the MDI Adopting Release,                   that are not available.’’ 892 Odd-lot
                                                                                                                                                                  odd-lot order by ranking all such
                                                 the Commission has historically                          quotation information will reflect actual
                                                                                                                                                                  identical odd-lot buy orders or odd-lot
                                                 assessed fees for data, such as the data                                                                         sell orders (as the case may be) first by
                                                 content underlying consolidated market                      887 See 17 CFR 242.608(b). See also Rescission of

                                                                                                          Effective-Upon-Filing Procedure for NMS Plan Fee        size (giving the highest ranking to the
                                                 data of which odd-lot information is a
                                                                                                          Amendments and Modified Procedures for                  odd-lot buy order or odd-lot sell order
                                                 part, using a reasonably related to cost                 Proposed NMS Plans and Plan Amendments,                 associated with the largest size), and
                                                 standard.886 To the extent that the                      Securities Exchange Act Release No. 89618 (Aug.
                                                                                                          19, 2020), 85 FR 65470 (Oct. 15, 2020).
                                                                                                                                                                  then by time (giving the highest ranking
                                                    880 See Proposing Release, supra note 11, at 80279       888 See Proposing Release, supra note 11, at 80338   to the odd-lot buy order or odd-lot sell
                                                 (discussing the potential increased system traffic for   (discussing how expediting the inclusion of odd-lot     order received first in time).895
                                                 the proposed minimum pricing increments).                data into the exclusive SIPs would impact
                                                    881 See Proposing Release, supra note 11, at 80297    competition among data providers).                         893 Odd-lot transaction information is currently
                                                                                                             889 MEMX Letter at 7.
                                                 (discussing a 2019 proposal by the CTA/CQ and                                                                    collected, consolidated, and disseminated by the
                                                 UTP Plans to add odd-lot information to the                 890 See MDI Adopting Release, supra note 10, at      exclusive SIPs. See Securities Exchange Act Release
                                                 exclusive SIPs).                                         18653.                                                  Nos. 70793 (Oct. 31, 2013), 78 FR 66788 (Nov. 6,
                                                    882 See infra section VI.C (revising the compliance      891 Under rule 603(a), an SRO is prohibited from     2013) (order approving Amendment No. 30 to the
                                                 timeframe from 90 days as proposed to 18 months          making its core data available to vendors on a more     UTP Plan to require odd-lot transactions to be
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                                                 from the effective date of the Adopting Release).        timely basis than it makes such data available to the   reported to the consolidated tape); 70794 (Oct. 31,
                                                    883 See infra sections VII.D.5 and VIII; see also
                                                                                                          exclusive SIPs. In the MDI Adopting Release, the        2013), 78 FR 66789 (Nov. 6, 2013) (order approving
                                                 Proposing Release, supra note 11, at 80299, 80301.       Commission stated that rule 603(a) prohibits an         Eighteenth Substantive Amendment to the Second
                                                    884 See MDI Adopting Release, supra note 10, at       SRO from making its NMS information available to        Restatement of the CTA Plan to require odd-lot
                                                 18684.                                                   any person on a more timely basis (i.e., by any time    transactions to be reported to consolidated tape).
                                                    885 See MDI Adopting Release, supra note 10, at       increment that could be measured by the SRO) than          894 17 CFR 242.600(b)(69); MDI Adopting Release,

                                                 18650, 18684.                                            it makes such data available to the exclusive SIPs.     supra note 10, at 18613.
                                                    886 See MDI Adopting Release, supra note 10, at       See MDI Adopting Release, supra note 10, at 18656.         895 See 17 CFR 242.600(b)(60) (defining NBBO

                                                 18684 n.1158.                                               892 See Schwab Letter II at 36.                      and setting forth the manner in which the NBBO



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                                                 a. General Comments and Response                            investor confusion.903 Some of these                     Further, rule 605 reports present
                                                    The Commission received comments                         commenters stated that confusion                         information, including price
                                                 supporting the requirement to identify                      would arise from the fact that a                         improvement, in order size categories
                                                 the BOLO from individuals 896 and                           customer would expect to receive the                     based on notional order size and
                                                 market participants.897 As stated above,                    BOLO price even though it is not a                       whether the order is for a fractional
                                                 many individual commenters supported                        protected quote.904 One commenter                        share, odd-lot, or round lot.910 These
                                                 publishing odd-lot information,                             stated that the round lot and odd-lot                    provisions provide more context for
                                                 including the BOLO, in the exclusive                        requirements outlined in the MDI                         price improvement statistics that
                                                 SIPs in order to further transparency                       Adopting Release sufficiently provide                    consider the best available odd-lot price
                                                 and aid investors in making more                            increased transparency while                             and thus mitigate concerns about
                                                 informed trading decisions.898                              minimizing confusion.905 One                             ‘‘gaming’’ execution quality reports.
                                                 Similarly, certain other commenters                         commenter stated that the transparency                   Further, rule 605 reports represent
                                                 viewed the additional information as a                      of odd-lot orders may be ‘‘gameable’’                    monthly, aggregated execution quality
                                                 useful measure for all investors and                        such that a limit order to buy one share                 statistics and thereby dilute the effect of
                                                 their agents to better evaluate the best                    could change all execution quality                       an odd-lot price at one specific point in
                                                 prices in NMS stocks and would                              benchmarks for brokers.906                               time.
                                                 enhance the ability to trade and route                         As discussed below, the Commission                       Several commenters stated that odd-
                                                 orders effectively as well as facilitate                    is adopting the amendment to odd-lot                     lot quotations should be included in the
                                                 best execution.899 Certain market                           information to include a BOLO, as                        NBBO.911 Odd-lot quotations are
                                                 participants that support the publication                   proposed.907 While initially market                      currently included in the calculation of
                                                 of the BOLO cautioned against requiring                     participants may need to explain to                      the NBBO when they are aggregated into
                                                 broker-dealers to use the metric as a                       their customers about the existence of                   round lots for purposes of providing an
                                                 benchmark against execution quality.900                     the BOLO, this new data element is not                   exchange’s best bids and offers to the
                                                 One of the commenters requested                             expected to confuse investors. Investors                 exclusive SIPs.912 Pursuant to
                                                 guidance regarding whether ‘‘market                         are already able to see odd-lot                          Regulation NMS, bids and offers can
                                                 participants would be expected to clear                     transaction information and, upon                        only be in round lot sizes,913 therefore,
                                                 the best odd-lot orders as part of ISO                      implementation, the BOLO will provide                    the NBBO can only be reflected in
                                                 routing, notwithstanding that the odd-                      them with information about the best                     round lot sizes. The round lot definition
                                                 lot orders are not protected                                odd-lot quotations. The BOLO is an                       as adopted in the MDI Rules, will
                                                 quotations.’’ 901 Finally, a number of                      informative, useful piece of information                 categorize certain orders that are
                                                 individual commenters that expressed                        for investors to use when considering                    currently odd-lots as round lots based
                                                 support for including odd-lot                               prices related to NMS stocks. Among                      on their price, and as a result,
                                                 information in the exclusive SIPs urged                     other uses, the BOLO may serve as the                    quotations and orders that were
                                                 the Commission to include ‘‘odd-lot                         benchmark execution price for                            previously defined as odd-lots will be
                                                 transactions’’ in the NBBO, citing the                      execution quality statistics in rule 605                 eligible to establish the NBBO.914
                                                 fact that odd-lot transactions are now a                    reports that measure price improvement                   Orders that remain odd-lots under the
                                                 majority of the market and most                             relative to the best available displayed                 new definitions are not bids and offers
                                                 prevalent among retail investors.902                        price.908 However, in rule 605 reports,                  and therefore do not independently
                                                    The Commission also received                             the price improvement statistics relative                contribute to establishing the NBBO.
                                                 comments opposing the requirement to                        to the best available displayed price will                  The identification of a BOLO will
                                                 identify the BOLO, stating the                              be a supplement to, rather than a                        assist investors in assessing the current
                                                 information would create ambiguity or                       replacement for, price improvement                       state of the market for individual NMS
                                                                                                             statistics relative to the NBBO.909                      securities. The BOLO will reflect the
                                                 is determined ‘‘in the event two or more market                                                                      best odd-lot price consolidated across
                                                                                                               903 See, e.g., Data Boiler Letter II at 3; JPMorgan
                                                 centers transmit to the plan processor, a competing                                                                  all national securities exchanges and
                                                 consolidator or a self-aggregator identical bids or         Letter at 2, 7.
                                                                                                               904 See JPMorgan Letter at 7 (stating further if the
                                                                                                                                                                      national securities associations and is
                                                 offers for an NMS security’’).
                                                    896 See, e.g., Comment Letter Type D; Letters from       protected price is lower than the BOLO then ‘‘Rule       therefore consistent with the goals set
                                                 Aron Tastensen (Feb. 23, 2023); Bill Goerger (Mar.          605 could show misleading negative price                 forth in section 11A of the Exchange Act
                                                 19, 2023); Carson Bruenderman (Mar. 7, 2023).               improvement while ignoring the order’s size’’);          because it will make information about
                                                                                                             Fidelity Letter at 16; SIFMA Letter II at 43.
                                                    897 See, e.g., IEX Letter I at 6; Cboe, State Street,
                                                                                                               905 JPMorgan Letter at 7.
                                                                                                                                                                      quotations in NMS stocks available to
                                                 et al. Letter at 2; ASA Letter at 5; SIFMA Letter II                                                                 broker-dealers and investors and will
                                                 at 4, 32; BlackRock Letter at 12. The Commission              906 Fidelity Letter at 16 (supporting ‘‘adding

                                                 also received a comment that said that the                  better-priced odd lots to the SIP when this              enhance the usefulness of odd-lot
                                                 Commission should not amend rule 603(c) to                  information provides actionable information to the       information. Although odd-lot liquidity
                                                 require the display of odd-lot information, but did         marketplace, such as helping broker-dealers meet         better than the NBBO often resides at
                                                 not discuss the costs (or benefits) of such a               their best execution obligations’’ but urging the
                                                 requirement. See FIF Letter at 13. The Commission           Commission to ‘‘balance the advantages and
                                                                                                                                                                      multiple price levels and information
                                                 is not amending rule 603(c) in this release.                disadvantages of odd-lot transparency,’’ such as the
                                                                                                                                                                        910 See Rule 605 Amendments, supra note 10.
                                                    898 See, e.g., Comment Letter Type D, I, and K,          ability to influence execution quality statistics).
                                                 available at https://www.sec.gov/comments/s7-30-              907 The Commission is adopting this amendment            911 See supra note 902.

                                                 22/s73022.htm; see supra notes 866 and 896.                 to the definition of odd-lot information in Rule            912 See, e.g., NYSE Rule 7.36(b)(3); Nasdaq Equity
                                                    899 See, e.g., IEX Letter I at 30–31; ICI Letter I at    600(b)(69)(iii). See supra note 860.                     4, Rule 4756(c)(2); Cboe BZX Rule 11.9(c)(2). See
                                                 6; Cboe Letter II at 10; BlackRock Letter at 12.              908 See 17 CFR 242.600(b)(14) (defining best           also supra note 732.
                                                    900 See, e.g., ASA Letter at 5; Fidelity Letter at 16;   available displayed price) and 17 CFR                       913 17 CFR 242.600(b)(16) (defining ‘‘bid or offer’’
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                                                 SIFMA Letter II at 4, 32.                                   242.605(a)(1)(ii)(M) through (Q) (requiring rule 605     to mean ‘‘the bid price or the offer price
                                                    901 SIFMA Letter II at 34, 43.                           statistics relative to the best available displayed      communicated by a member of a national securities
                                                    902 See, e.g., Comment Letter Type D, I and K;           price). Entities that prepare rule 605 reports will be   exchange or member of a national securities
                                                 Letters from Chris Eastvedt (Mar. 6, 2023); M B             required to use the BOLO to compare the best             association to any broker or dealer, or to any
                                                 (Mar. 6, 2023); Prakash Tamang (Mar. 6, 2023);              available odd-lot price to the NBBO and determine        customer, at which it is willing to buy or sell one
                                                 Adam Aiello (Mar. 7, 2023); Shayne Gallagher (Mar.          the best available displayed price. In some cases,       or more round lots of an NMS security, as either
                                                 7, 2023); Aswin Joy (Mar. 7, 2023); Daryll Fogal            the best available displayed price may be the            principal or agent, but shall not include indications
                                                 (Mar. 15, 2023); Bill Goerger (Mar. 19, 2023); Allie        NBBO.                                                    of interest.’’).
                                                 Birge (Mar. 31, 2023); Eileen Loh (Mar. 19, 2023).            909 See Rule 605 Amendments, supra note 10.               914 See supra section V.B.1.




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                                                 reflecting all of these odd-lot prices is               buy order at $25.00 for a stock with a                    MDI Rules. The Commission discussed
                                                 already included in the definition of                   100-share round lot would be                              the reasons for adopting the display
                                                 odd-lot information, requiring the                      disseminated as ‘‘200.’’ 919 Accelerated                  requirement in the MDI Adopting
                                                 identification and dissemination of the                 implementation of the round lot                           Release.924 However, in response to the
                                                 best of all such inside the NBBO odd-                   definition will require the exclusive                     commenter that suggested the inclusion
                                                 lots on both the buy and sell side will                 SIPs to revise their systems to reflect                   of both the round lot and odd-lot
                                                 help inform market participants of the                  this change. Therefore, in proposed Rule                  portions of mixed lot orders,925 since
                                                 best possible prices at which their                     603(b)(3), the Commission proposed to                     odd-lot information will be
                                                 orders (or their customers’ orders)                     require each exclusive SIP to, among                      disseminated by the exclusive SIPs,926
                                                 could—in whole or in part—be                            other things, represent quotation sizes                   the total number of shares of odd-lots
                                                 executed. The identification and                        in consolidated information in terms of                   priced at or better than the NBBO will
                                                 dissemination of the price, size, and                   the number of shares, rounded down to                     be included in SIP data. Through the
                                                 market of the best odd-lot orders will                  the nearest multiple of a round lot.                      definition of odd-lot information, the
                                                 also enhance the ability of market                                                                                MDI Rules require odd-lots priced at or
                                                                                                         1. Comments and Response
                                                 participants to make effective trading                                                                            better than the NBBO to be represented
                                                 and order routing decisions using NMS                      The Commission received comments                       in the aggregate at each price level at
                                                 information and facilitate best                         on the display requirement adopted as                     each national securities exchange or
                                                 execution. One commenter requested                      part of the MDI Rules.920 One                             national securities association rather
                                                 guidance on how to treat odd-lot orders                 commenter stated that, for mixed lot                      than on an order-by-order basis.927
                                                 for order routing purposes.915 The                      orders, the total number of shares—both                     In response to the commenter that
                                                 Commission stated in the MDI Adopting                   the round lot and odd-lot portions—                       stated that displaying quotations in
                                                 Release that odd-lot information may be                 should be included as consolidated                        round lot sizes would undermine the
                                                 relevant to a broker-dealer’s ability to                market data.921 Another commenter                         usability and competitiveness of
                                                 analyze and achieve best execution.916                  stated that, by requiring that the number                 consolidated market data as compared
                                                 As the Commission stated in the MDI                     of shares at each price level be                          to exchange proprietary data feeds,928
                                                 Adopting Release, while odd-lot                         displayed at the round lot level, the                     the Commission described the reason
                                                 information, which will now include                     display requirement would make                            for displaying quotations in round lot
                                                 the BOLO, ‘‘may be relevant to broker-                  consolidated market data less useful and                  sizes in the MDI Adopting Release,
                                                 dealers’ best execution analyses and, in                less competitive relative to exchange                     which remains relevant to the
                                                 many cases, will facilitate the ability of              proprietary data feeds, which display                     implementation of the round lot
                                                 broker-dealers to achieve best execution                the total number of shares at a price                     definition by the exclusive SIPs.929
                                                 for their customer orders, the                          level.922 The commenter also stated that                  Further, the Commission recognized in
                                                 Commission . . . is not setting forth                   basing quotations on the number of                        the MDI Adopting Release that different
                                                 minimum data elements needed to                         shares rounded to the nearest round lot                   market participants need differing
                                                 achieve best execution and does not                     (rather than based on round lots) could                   amounts of information to meet
                                                 expect that all market participants will                result in operational risk and investor                   different trading objectives.930 The MDI
                                                 need to purchase the most                               confusion.923                                             Rules are intended to reduce
                                                 comprehensive or fastest consolidated                      As stated above, the display                           information asymmetries between users
                                                 market data product available.’’ 917                    requirement was adopted as part of the                    of proprietary feeds and users of SIP
                                                                                                                                                                   data by enhancing the content of
                                                 D. Display of Round Lots and Odd-Lot                    242.600(b)(26)(iii). See also 17 CFR 242.600(b)(26)       information made available in the
                                                 Information                                             (defining ‘‘core data’’). The MDI Rules adopted the
                                                                                                                                                                   national market system to enable market
                                                                                                         definition of ‘‘core data’’ in rule 600(b)(21). This
                                                    Currently, the exclusive SIPs                        provision was subsequently renumbered to rule             participants to trade efficiently and
                                                 represent quotation sizes in SIP data in                600(b)(26) by the Rule 605 Amendments. See Rule           competitively.931 For example, the
                                                 terms of number of round lots. For                      605 Amendments, supra note 10.                            inclusion of odd-lot quotations and the
                                                                                                            919 See MDI Adopting Release, supra note 10, at
                                                 example, for an NMS stock for which a                                                                             round lot definition will allow investors
                                                                                                         18615. Through the definition of ‘‘odd-lot
                                                 round lot is 100 shares, a bid for 200                  information,’’ the MDI Rules also require odd-lots        to see, and more readily access, better
                                                 shares of that stock would be                           priced at or better than the NBBO to be represented       priced orders in smaller sizes.932 As
                                                 represented as a bid for ‘‘2’’ in SIP data.             in the aggregate at each price level at each national     discussed above, the total number of
                                                    Under the MDI Rules, competing                       securities exchange or national securities
                                                                                                         association rather than on an order-by-order basis.       shares of odd-lots priced at or better
                                                 consolidators are required to represent a               17 CFR 242.600(b)(69)(ii). See also 17 CFR                than the NBBO will be included in data
                                                 round lot as the number of shares                       242.600(b)(26)(i)(H) (including ‘‘odd-lot                 that is made available by the exclusive
                                                 rounded down to the nearest multiple of                 information’’ as an element of core data). The MDI        SIPs. Certain market participants may
                                                 a round lot.918 For example, a 275-share                Adopting Release explained that ‘‘[a]ggregating
                                                                                                         better-priced odd-lots at each price level at each        choose to continue to purchase
                                                                                                         exchange . . . . means that better-priced odd-lot         exchange proprietary data products if
                                                   915 See supra note 901.
                                                                                                         orders will be represented in core data in terms of
                                                   916 See MDI Adopting Release, supra note 10, at       the total number of shares available at each price          924 See MDI Adopting Release, supra note 10, at
                                                 18605 for a discussion of the implications of           level at each exchange rather than on an order-by-        18615.
                                                 expanded consolidated market data on the duty of        order basis. For example, if the NBB for XYZ, Inc.          925 See FIF Letter at 13.
                                                 best execution.                                         is 100 shares at $25.00, and there are three orders
                                                                                                                                                                     926 See amended Rule 603(b)(3).
                                                   917 Id. at 18605–06. Consolidated market data         of five shares and two orders of ten shares at $25.01
                                                                                                                                                                     927 17 CFR 242.600(b)(69)(ii). See also supra note
                                                 products will be developed by competing                 on Exchange A, a competing consolidator’s core
                                                 consolidators once the decentralized consolidation      data product would show 35 shares at $25.01 on            919.
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                                                                                                         Exchange A.’’ MDI Adopting Release, supra note 10,          928 See SIFMA Letter II at 42.
                                                 model is implemented. See rule 600(b)(25), 17 CFR
                                                 242.600(b)(25) (defining consolidated market data       at 18613 n.199. Therefore, quotations for odd-lot           929 See MDI Adopting Release, supra note 10, at

                                                 product).                                               orders priced better than the NBBO are required to        18615.
                                                   918 Under the MDI Rules, the definition of ‘‘core     be displayed as the number of shares available in           930 See MDI Adopting Release, supra note 10, at
                                                                                                         an odd-lot size that are aggregated at the same price.    18600.
                                                 data’’ requires competing consolidators to represent       920 See FIF Letter at 13; SIFMA Letter II at 34, 42.     931 See MDI Adopting Release, supra note 10, at
                                                 certain core data elements, including the best bid
                                                                                                            921 See FIF Letter at 13.
                                                 and best offer, the NBBO, and protected quotations                                                                18601.
                                                                                                            922 See SIFMA Letter II at 42.
                                                 in terms of the number of shares, rounded down to                                                                   932 See MDI Adopting Release, supra note 10, at

                                                 the nearest multiple of a round lot. 17 CFR                923 See SIFMA Letter II at 34.                         18601, 18607.



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                                                 they require more granular information                  implementation of the round lot and                       plan would modernize the governance
                                                 about odd-lots. Here, the Commission’s                  odd-lot information definitions. There                    of the existing Equity Data Plans.946
                                                 amendment is limited in reach—it                        should not be any new operational risks                      The Commission disagrees with
                                                 extends the MDI Rules’ display                          or investor confusion arising from this                   comments that recommended delaying
                                                 requirement to the exclusive SIPs as                    change because only the entity                            implementation of the Regulation NMS
                                                 part of the accelerated implementation                  responsible for displaying the                            Proposal until the full implementation
                                                 of the round lot and odd-lot information                information is changing.                                  of the MDI Rules.947 Due to the delayed
                                                 definitions, changing only the entity                     The Commission is adopting Rule                         implementation of the MDI Rules, the
                                                 responsible for displaying this                         603(b)(3) as proposed.                                    Commission proposed to accelerate the
                                                 information—from competing                                                                                        implementation of the round lot and
                                                 consolidators to the exclusive SIPs. This               E. MDI Rules Implementation                               odd-lot definitions because these
                                                 change by itself should not impact the                                                                            definitions can be efficiently
                                                                                                            Some commenters discussed the                          implemented under the current
                                                 utility or competitiveness of
                                                                                                         benefits of the MDI Rules 938 and                         exclusive SIP model.948 Not doing so
                                                 consolidated market data. With respect
                                                                                                         expressed concern that the accelerated                    would unnecessarily delay the benefits
                                                 to the commenter’s concerns that the
                                                                                                         implementation of the round lot and                       of the round lot and odd-lot information
                                                 display requirement would result in
                                                                                                         odd-lot information definitions could                     definitions to investors and market
                                                 operational risk and investor
                                                                                                         indefinitely delay implementation of the                  participants. One goal in adopting the
                                                 confusion,933 the required display of
                                                                                                         remainder of the MDI Rules,939 stating                    round lot definition was to increase
                                                 mixed lot orders rounded down to the
                                                 nearest multiple of a round lot was                     that these proposed changes were not a                    transparency about the better priced
                                                 previously adopted in the MDI Rules for                 substitute for implementation of all of                   orders available in the market by
                                                 competing consolidators.934 In the MDI                  the MDI Rules.940 Some commenters                         allowing each exchange’s BBO and the
                                                 Adopting Release, the Commission                        suggested that the changes proposed in                    NBBO for an NMS stock to be based
                                                 stated that the preexisting convention of               the Regulation NMS Proposal should be                     upon smaller, potentially better priced
                                                 displaying the number of round lots                     postponed until the full implementation                   orders, which will also improve market
                                                 ‘‘could be confusing’’ when applied to                  of the MDI Rules.941 Some commenters                      participants’ ability to access these
                                                 the MDI Rules’ round lot definition,                    also raised concerns that the                             orders.949 Waiting to implement the
                                                 which, once implemented, will assign                    Commission was separately accelerating                    round lot definition would delay these
                                                 varying round lot sizes to individual                   the implementation of the round lot and                   benefits for market participants. Further,
                                                 NMS stocks based on stock price.935                     the odd-lot information definitions apart                 full implementation of the MDI Rules
                                                 Further, the Commission explained that                  from the other components of the MDI                      will not address the issues discussed
                                                 rounding down to the nearest round lot                  Rules.942 One commenter stated that                       above related to the minimum pricing
                                                 multiple would ensure that the elements                 ‘‘full implementation of the MDI Rules’’                  increments for certain NMS stocks, the
                                                 of core data would reflect orders of                    is ‘‘a necessary first step for any                       access fee caps for protected quotations
                                                 meaningful size, and that for the NBBO,                 significant changes to market structure,’’                and exchange fees.950 Finally, as
                                                 rounding down would help ensure that                    and whether or not fully implemented,                     discussed below, the eventual
                                                 the protected portion of the order is                   ‘‘an indispensable component of the                       implementation of the MDI Rules is part
                                                 clearly represented, to address concerns                ‘baseline’ against which this proposal                    of the baseline for the amendments to
                                                 about impacts on investor confidence                    must be measured and justified.’’ 943                     Rules 610 and 612.951
                                                 and investor confusion that potentially                    Despite delays in the process,944 the
                                                 could result from the display of                        implementation of the MDI Rules                           VI. Compliance Dates
                                                 unprotected size at the NBBO.936 The                    continues to be a Commission priority.                      The Commission proposed different
                                                 Commission also stated that odd-lots                    In September 2023, the Commission                         compliance dates for the individual
                                                 priced at or better than the NBBO,                      issued an amended order directing the                     proposed rule amendments. As
                                                 including the odd-lot portion of a mixed                SROs to file a proposed new single                        discussed below in the relevant
                                                 lot order at the NBBO, will be included                 national market system plan regarding                     sections, the Commission received
                                                 in core data.937 The Commission is                      consolidated equity market data.945                       several comments on the proposed
                                                 extending this display requirement to                   Consolidation of the multiple Equity                      compliance dates.952 The Commission is
                                                 exclusive SIPs as part of the accelerated               Data Plans into a single, new equity data                 adopting compliance dates that are
                                                                                                                                                                   longer than proposed.953
                                                   933 See SIFMA Letter II at 34.
                                                                                                            938 See, e.g., Schwab Letter II at 36; FIA PTG
                                                   934 17 CFR 242.600(b)(26)(iii).
                                                                                                         Letter II at 5; Robinhood Letter at 46–47.                   946 Rule 614(e) of the MDI Rules requires that an
                                                   935 See MDI Adopting Release, supra note 10, at          939 See, e.g., JPMorgan Letter at 7; Citadel Letter    amendment to the effective national market system
                                                 18615.                                                  I at 26; ICI Letter I at 2–3 n.8; Robinhood Letter at     plan(s) be filed with the Commission to conform
                                                    936 See MDI Adopting Release, supra note 10, at                                                                such plan(s) to the decentralized consolidation
                                                                                                         5. See also Schwab Letter II at 36.
                                                 18615 n.236. Rule 611 of Regulation NMS requires           940 See SIFMA Letter II at 44. This commenter          model. 17 CFR 242.614(e).
                                                 trading centers to have policies and procedures that    and another commenter stated that the Commission             947 See, e.g., SIFMA Letter II at 44; Robinhood
                                                 are reasonably designed to prevent ‘‘trade-             has not taken action to ensure the implementation         Letter at 5; see also Robinhood Letter at 42, 49.
                                                 throughs’’ on that trading center of protected quotes   of the full set of MDI Rules since disapproving the          948 See Proposing Release, supra note 11, at 80296
                                                 in NMS stocks, subject to specified exceptions. 17      proposed fees and proposed amendments to the              n.359.
                                                 CFR 242.611. Rule 611 currently only applies to         current NMS plans for consolidated market data in            949 See Proposing Release, supra note 11, at
                                                 round lots. Specifically, rule 611 applies to           2022. Id.; SIFMA AMG Letter I at 9. See also              80294. For more details, see MDI Proposing Release,
                                                 ‘‘protected quotations’’ which means ‘‘protected        Fidelity Letter at 4; FIA PTG Letter II at 5.             supra note 744, at 16743.
                                                 bid[s] or [ ]protected offer[s].’’ 17 CFR
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                                                                                                            941 See, e.g., SIFMA Letter II at 44; Robinhood           950 See supra sections III.A, IV.C, and IV.E.
                                                 242.600(b)(82). ‘‘Protected bid or protected offer,’’
                                                                                                         Letter at 5.                                                 951 See infra section VII.C.3.
                                                 as defined in rule 600(b)(81), refers to ‘‘a               942 See, e.g., Robinhood Letter at 5, 38, 41–42, 43,      952 See, e.g., NYSE Letter I at 7–8; CTA, CQ, UTP
                                                 quotation,’’ defined in rule 600(b)(86), which in
                                                 turn refers to ‘‘a bid or an offer,’’ defined in rule   47, 48, 49; JPMorgan Letter at 7; Citadel Letter I at     Plans Operating Committees Letter at 3; FISD Letter
                                                 600(b)(16), which, as noted above, only applies to      26.                                                       at 2, 3, 4; Nasdaq Letter I at 3; Cboe Letter II at 11;
                                                                                                            943 Robinhood Letter at 49. See also Robinhood
                                                 round lots. See supra note 913 and accompanying                                                                   FIF Letter at 14; Cboe Letter III at 10 n.18.
                                                 text.                                                   Letter at 44, 46–49. See also infra section VII.C.3.         953 In addition, with respect to the compliance
                                                                                                            944 See supra notes 73–76 and accompanying text.
                                                    937 See MDI Adopting Release, supra note 10, at                                                                dates, several commenters requested the
                                                 18615 n.236; see also supra note 919.                      945 See supra note 78.                                                                              Continued




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                                                    Specifically, for the reasons discussed               in an implementation plan.954 Because                    must be completed and the date by
                                                 below, the amendments adopted herein                     the amendments to Rule 612 have been                     which the TWAQS can be calculated
                                                 will have the following compliance                       modified to require the addition of only                 during an Evaluation Period after the
                                                 dates:                                                   one minimum pricing increment, the                       systems changes could be completed.
                                                    Rules 600(b)(89)(i)(F) and 612: The                   compliance date discussed below will                     This compliance date is sufficient for
                                                 first business day of November 2025.                     provide the SROs and other market                        facilitating an orderly transition to the
                                                    Rules 600(b)(89)(iv), 600(b)(93) and                  participants sufficient time to                          amended Rule 612.
                                                 603(b)(3) (with respect to the                           implement the changes and a further
                                                 requirement that the effective national                                                                           B. Final Rule 610 Compliance Date
                                                                                                          phased implementation schedule is
                                                 market system plans to disseminate                       unnecessary. The move to                                    The Commission proposed that
                                                 consolidated information shall provide                   decimalization in 2000–2001 was more                     compliance with the amendments to
                                                 for the dissemination of all consolidated                complicated as it involved changes to                    Rule 610 would have occurred during
                                                 information for an individual NMS                        SRO rules that specified several                         the implementation period proposed for
                                                 stock through an exclusive SIP, and that                 different increments that were fractions                 the amendments to Rule 612, discussed
                                                 the exclusive SIPs must represent                        of a dollar and required systems changes                 above.956 The proposed access fee caps
                                                 quotation sizes in such consolidated                     to accommodate decimals instead of                       would have also had a staggered
                                                 information in terms of the number of                    fractions.955 The amendment to Rule                      implementation to reflect the proposed
                                                 shares, rounded down to the nearest                      612 will be less complicated because it                  implementation of the proposed
                                                 multiple of a round lot): The first                      will not require changes to SRO rules                    minimum pricing increments.
                                                 business day of November 2025.                           and the systems that are in place today,                 Specifically, compliance with the
                                                    Rule 610: The first business day of                   while needing updates, already can                       proposed 10 mils access fee cap would
                                                 November 2025.                                           accommodate sub-penny increments.                        have been at the same as the proposed
                                                    Rules 600(b)(69) and 603(b)(3) (with                  Further, the amendments adopted                          $0.005 minimum pricing increment, and
                                                 respect to the requirement that every                    require less changes than what were                      compliance with the proposed 5 mils
                                                 national securities exchange on which                    proposed.                                                access fee cap would have been at the
                                                 an NMS stock is traded and national                         The amendments to Rule 612 will                       same time as the proposed $0.001
                                                 securities association must make                         require the primary listing exchanges to                 minimum pricing increment.957
                                                 available to the exclusive SIPs all data                 evaluate each NMS stock during an                           As described above, the Commission
                                                 necessary to generate odd-lot                            Evaluation Period to calculate their                     has modified amendment to Rule 612
                                                 information, and the collection,                         TWAQS and the primary listing                            and has also modified the compliance
                                                 consolidation and dissemination of odd-                  exchanges will have to provide a                         date for the Rule 612 amendments.
                                                 lot information by the exclusive SIPs):                  minimum pricing increment indicator to                   Further, the Commission has modified
                                                 The first business day of May 2026.                      the exclusive SIPs for dissemination.                    the amendment to Rule 610 such that
                                                                                                          The Evaluation Periods will be                           the access fee cap structure is retained
                                                 A. Final Rule 612 Compliance Date                                                                                 and only the level of the caps has been
                                                                                                          conducted on a semiannual basis, rather
                                                    In the Proposing Release, the                         than a quarterly basis as proposed.                      reduced. The Commission is reducing
                                                 Commission detailed a staggered                          Further, the amendments will require                     the access fee caps under Rule 610 to
                                                 implementation period that would cover                   market participants to update and                        accommodate the new pricing
                                                 five quarters for the proposed                           modify their systems, such as order                      increments as well as to address
                                                 amendments to Rule 612. The                                                                                       distortions in the market associated
                                                                                                          handling and processing systems, to
                                                 Commission proposed the                                                                                           with fee and rebate models.958
                                                                                                          accommodate the one new minimum
                                                 implementation period to provide the                                                                              Accordingly, the Commission is
                                                                                                          pricing increment, rather than the three
                                                 market and market participants with                                                                               modifying the compliance date for the
                                                                                                          new minimum pricing increments that
                                                 time to implement the proposed                                                                                    final Rule 610 amendments to coincide
                                                                                                          were proposed. Market participants’
                                                 variable minimum pricing increments as                                                                            with the compliance date for Rule 612.
                                                                                                          systems will have to be updated and
                                                 well as to facilitate an orderly transition.                                                                      The national securities exchanges will
                                                                                                          modified to accommodate the
                                                 The adopted amendments to Rule 612                                                                                have to file proposed rule changes with
                                                                                                          assignment of minimum pricing
                                                 are modified from those that were                                                                                 the Commission pursuant to section
                                                                                                          increments for quotes and orders priced
                                                 proposed. Accordingly, the Commission                                                                             19(b) and rule 19b–4 959 to adjust their
                                                                                                          $1.00 or greater to each NMS stock on                    fee schedules to reflect the new lower
                                                 is adopting a modified implementation                    a semiannual basis, rather than a
                                                 schedule and compliance date.                                                                                     access fee caps. Further, the national
                                                                                                          quarterly basis as proposed. The                         securities exchanges will have to file
                                                    One commenter suggested that the                      systems updates necessary for
                                                 Commission direct the SROs to develop                                                                             proposed rule changes to adjust any fee
                                                                                                          implementing the amendment to Rule                       or rebate that is not determinable at the
                                                 a phased implementation schedule for                     612 are less burdensome than what was
                                                 the reduced minimum pricing                                                                                       time of execution.
                                                                                                          proposed.                                                   The Commission is adopting a first
                                                 increment, ‘‘[c]onsistent with the prior                    The Commission has considered the
                                                 implementation of decimalization’’ and                                                                            business day of November 2025
                                                                                                          systems changes that will be necessary                   compliance date for the amendments to
                                                 described several steps to be considered                 to implement the amendments to Rules                     Rule 610. This date provides the
                                                                                                          600(b)(89)(i)(F) and 612 and is assigning                national securities exchanges with time
                                                 Commission consider the interaction between the
                                                 proposed rules and other recent Commission rules.
                                                                                                          the compliance date for amended Rule                     to assess their fee schedules and file
                                                 In determining compliance dates, the Commission          612 to be the first business day of                      proposed rule changes pursuant to
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                                                 considers the benefits of the rules as well as the       November 2025. In determining this                       section 19(b) and rule 19b–4 to adjust
                                                 costs of delayed compliance dates and the potential      compliance date, the Commission
                                                 overlapping compliance dates. For reasons
                                                 discussed throughout the release, to the extent that
                                                                                                          considered the systems changes that                        956 See Proposing Release, supra note 11, at

                                                 there are costs from overlapping compliance dates,                                                                80284.
                                                                                                            954 See FIF Letter at 2, 8.                              957 See Proposing Release, supra note 11, at 80284
                                                 we expect the benefits of the rules to justify such
                                                 costs. See infra section VII.D.6 for a discussion of       955 For a description of the move to                   n.249.
                                                                                                                                                                     958 See supra section IV.D.1.
                                                 the interactions of the final rules with certain other   decimalization, see Staff Decimalization Report,
                                                 Commission rules.                                        supra note 26.                                             959 See 15 U.S.C. 78s(b); 17 CFR 240.19b–4.




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                                                 their fee schedules in order to comply                   market.’’ 966 The commenter urged the                   approximately 12 months after the
                                                 with Rule 610 as amended.                                Commission not to adopt the 90-day                      effective date, which is consistent with
                                                                                                          compliance timeframe and instead, after                 what commenters suggested was
                                                 C. Final Compliance Date for Round Lot
                                                                                                          adoption of the Proposing Release,                      necessary for systems changes and
                                                 and Odd-Lot Information
                                                                                                          allow time for industry consultation to                 testing. Second, the compliance date
                                                    In the Proposing Release, the                         develop an implementation plan.967                      provides sufficient time for any
                                                 Commission proposed to require                           Two commenters, while supporting the                    exchanges that have defined round lots
                                                 compliance with the odd-lot                              odd-lot information definition adopted                  in their rules to file proposed rule
                                                 information and round lot definitions,                   in the MDI Rules, recommended only                      changes pursuant to section 19(b) of the
                                                 including, as required under proposed                    implementing the BOLO due to the                        Exchange Act 976 and rule 19b–4 977
                                                 Rule 603(b), that national securities                    complexity and time it would take to                    thereunder to reflect the new round lot
                                                 exchanges and associations make the                      implement the odd-lot information                       definition.978
                                                 data available to the exclusive SIPs, that               definition by many market                                  The compliance date for the odd-lot
                                                 the exclusive SIPs represent quotation                   participants.968                                        information definition 979 and Rule
                                                 sizes in consolidated information in                        Three commenters suggested an                        603(b)(3) (with respect to the
                                                 terms of the number of shares, rounded                   implementation timeframe of at least                    requirement that every national
                                                 down to the nearest multiple of a round                  one year.969 One commenter explained                    securities exchange on which an NMS
                                                 lot, and that the exclusive SIPs                         that the changes to the round lot                       stock is traded and national securities
                                                 disseminate odd-lot information as                       definition would require programming                    association must make available to the
                                                 defined in Rule 600(b)(69) 960 90 days                   changes by the exclusive SIPs and the                   exclusive SIPs all data necessary to
                                                 from Federal Register publication of                     market participants that receive SIP                    generate odd-lot information, and the
                                                 any Commission adoption of an earlier                    data, as well as testing of the changes at              collection, consolidation and
                                                 implementation of the round lot and                      the exchanges, exclusive SIPs and                       dissemination of odd-lot information by
                                                 odd-lot information definitions.961 The                  customer levels,970 and that it would                   the exclusive SIPs) will be the first
                                                 Commission explained that the                            likely take longer than one year for the                business day of May 2026, which is
                                                 proposed compliance date would                           exclusive SIPs and exchanges to                         approximately 18 months after the
                                                 significantly move up the date by which                  implement the proposed odd-lot                          effective date of the Adopting Release.
                                                 round lot and odd-lot information                        changes.971 The Operating Committees                    The Commission is providing a
                                                 would be more widely available in the                    for the Equity Data Plans stated that the               modified compliance date for the odd-
                                                 national market system.962                               implementation timeframe for the                        lot information definition, consistent
                                                    Several commenters raised concerns                    exclusive SIPs would likely extend                      with what industry comment suggested
                                                 about the proposed compliance date,                      beyond one year due to, among other                     was necessary for technical and
                                                 stating that 90 days was not enough                      things, ‘‘the time needed for system                    operational requirements,980 due to
                                                 time to implement the round lot and                      design, [to] procure necessary                          several factors. First, the exclusive SIPs
                                                 odd-lot information definitions.963 In                   equipment, and accommodate industry                     will likely have to make more changes
                                                 stating that a longer timeframe was                      testing.’’ 972 Another commenter stated                 to their systems to accommodate the
                                                 needed, some commenters stated their                     that the proposed 90-day timeframe was                  odd-lot information definition than to
                                                 views of the challenges entailed in                      too aggressive, did not consider                        implement the round lot definition.
                                                 implementing the changes.964 One                         ‘‘technical realities,’’ and suggested an               Specifically, the exclusive SIPs will
                                                 commenter stated, ‘‘[t]he technical and                  implementation period of at least one                   need to collect more data, consolidate it,
                                                 operational requirements to implement                    year.973                                                and disseminate it as odd-lot
                                                 the definition changes will necessitate                     In light of the comments, the                        information. In addition, the exclusive
                                                 distinct product changes in the systems                  Commission is modifying the                             SIPs will need to calculate and
                                                 of literally hundreds of exchanges,                      compliance date for the round lot and                   disseminate the BOLO. The Commission
                                                 vendors, and subscribers, each with                      odd-lot information definitions. For                    continues to believe that both the
                                                 different development priorities and                     implementation of the round lot                         changes to the odd-lot information
                                                 system capabilities.’’ 965 The commenter                 definition 974 and the round lot                        definition and the dissemination of the
                                                 stated that 90 days would not be enough                  indicator,975 the compliance date will                  BOLO are independently important, and
                                                 time for the exclusive SIPs, data vendors                be the first business day of November                   the additional time allotted to comply
                                                 and subscribers to accommodate the                       2025. The Commission calculated this                    with the odd-lot information definition
                                                 changes, and cautioned that ‘‘hastily                    deadline based on two main factors.                     addresses the concerns from
                                                 made changes or missed delivery dates                    First, the compliance date is                           commenters regarding the complexity or
                                                 could result in not just a failure to                                                                            operational risks that may arise with
                                                 provide odd-lot quotation data but also                    966 Id.
                                                                                                                                                                  making odd-lot information changes in
                                                 disrupt the flow of other core data to the                  967 See FISD Letter at 4. The commenter stated
                                                                                                                                                                  a compressed timeline. Second, the
                                                                                                          that the Operating Committees of the Equity Data
                                                   960 See supra note 719.                                Plans considered a 10–12 month implementation           effective national market system plan(s)
                                                    961 See Proposing Release, supra note 11, at          process in their proposal to add odd-lot data to the    may also need to assess whether plan
                                                                                                          exclusive SIP feeds. Id.                                amendments will be necessary to
                                                 80300; see id. at n.399 and accompanying text.              968 See BlackRock Letter at 12. See also MEMX
                                                    962 See Proposing Release, supra note 11, at                                                                  conform such plans to the odd-lot
                                                                                                          Letter at 7.
                                                 80298.                                                      969 See NYSE Letter I at 8; CTA, CQ, UTP Plans       information definition, and to file any
                                                    963 See, e.g., NYSE Letter I at 7–8; CTA, CQ, UTP
                                                                                                                                                                  such amendments with the Commission
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                                                                                                          Operating Committees Letter at 3; Nasdaq Letter I
                                                 Plans Operating Committees Letter at 3; MEMX
                                                                                                          at 3.
                                                 Letter at 7; FISD Letter at 2, 3, 4; Nasdaq Letter I        970 See NYSE Letter I at 7.                            976 15 U.S.C. 78s(b).
                                                 at 3; Cboe Letter II at 11; FIF Letter at 14; Cboe
                                                                                                             971 See NYSE Letter I at 8.                            977 17 CFR 240.19b–4.
                                                 Letter III at 10 n.18. See also Fidelity Letter at 16.
                                                    964 See, e.g., NYSE Letter I at 7–8; CTA, CQ, UTP        972 CTA/CQ/UTP Plans Operating Committees              978 See Proposing Release, supra note 11, at 80300

                                                 Plans Operating Committees Letter at 2, 3; FISD          Letter at 2, 3.                                         n.408.
                                                                                                             973 See Nasdaq Letter I at 3.
                                                 Letter at 2, 3, 4; FIF Letter at 14; Cboe Letter II at                                                             979 Rule 600(b)(69).

                                                 11.                                                         974 Rule 600(b)(93).                                   980 See supra notes 969 and 973 (suggesting an
                                                    965 See FISD Letter at 3.                                975 Rule 600(b)(89)(i)(E) and Rule 600(b)(89)(iv).   implementation process of approximately one year).



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                                                 pursuant to rule 608. Finally, market                   2005 adoption of Rule 612 limited the                     rebate can lead to a loss of price
                                                 participants may need to update their                   scope of pennying, but it did so at the                   coherence when the spread is less than
                                                 systems that accept SIP data to reflect                 inevitable cost of introducing a floor,                   twice the fee. For stocks that remain tick
                                                 odd-lot information.                                    namely one cent, below which the                          constrained, as some may, the rebate
                                                   Accordingly, extending the                            quoted bid-ask spread could not fall.                     distorts the supply of liquidity. Finally,
                                                 compliance deadlines for the                               Though a minimum tick is necessary,                    fees and rebates that are high as a
                                                 implementation of the round lot and                     placing a floor on the spread introduces                  percentage of the quoted spread
                                                 odd-lot information definitions will                    distortions into the market. The price of                 introduce complexity, and potential
                                                 address the concerns raised by                          liquidity will be artificially high for                   conflicts of interest. Lowering the access
                                                 commenters and provide additional                       some stocks, leading to a surplus,                        fee to 10 mils restores price coherence
                                                 time for market participants to make the                similar to a goods market for which                       and alleviates these costs.
                                                 changes necessary to implement the                      prices were artificially high. This                          The Commission is also requiring that
                                                 definitions.                                            creates rents which accrue to some                        these fees and rebates be determinable
                                                                                                         market participants at the expense of                     at the time of trade execution. Opacity
                                                 VII. Economic Analysis
                                                                                                         others. By reducing the minimum                           and complexities in current exchange
                                                 A. Introduction                                         pricing increment for a defined subset of                 fees and rebates make these more
                                                    The most common method of trading                    stocks, the adopted amendments to Rule                    distortive than otherwise.986 With new
                                                 in NMS stocks by registered exchanges                   612 free the price of liquidity from its                  Rule 610(d), the Commission is taking
                                                 today is the limit order book matching                  current constraint, allowing it to                        an incremental step in ameliorating the
                                                 system, a mechanism that securities                     approach its natural level. At the same                   opacity in fees and rebates, reducing
                                                 exchanges use to bring together orders                  time, as described in greater detail                      information asymmetries and lessening
                                                 of multiple buyers and sellers of                       below, the adopted amendments                             the potential for agency conflict
                                                 securities and have those orders                        maintain a minimum (but smaller)                          between brokers and their customers.
                                                 interact. It acts as a central hub where                pricing increment necessary for the                          Finally, the Commission has
                                                 participants’ priced buy and sell orders                proper functioning of financial markets’                  accelerated the implementation of the
                                                 can be ranked, displayed, and matched                   limit order books.                                        round lot, and odd-lot information
                                                 based on programmed rules established                      Freeing the spread from the binding                    definitions while providing more time
                                                 by the providing registered exchange.                   constraint of one penny will bring a                      for the necessary systems changes to
                                                 As such, the limit order book matching                  number of benefits, including lower                       implement the definitional changes than
                                                 system facilitates efficient and                        transaction costs. For some stocks                        what was proposed. These amendments
                                                 competitive markets.981                                 currently constrained at a penny, the                     will allow the benefits of these rules to
                                                    Imagine an order book in which a                     spread will, under the amended rules, at                  accrue to market participants in a timely
                                                 buyer’s or seller’s order could be                      times be a half-penny, a substantial
                                                                                                                                                                   manner.
                                                 displayed at any pricing increment, no                  reduction in the quoted price of
                                                                                                                                                                      Below, we explain why these
                                                 matter how small. In this scenario,                     accessing liquidity. This reduction,
                                                                                                                                                                   amendments increase efficiency and
                                                 assume a liquidity provider wants to                    while beneficial, brings into the
                                                                                                                                                                   competition and bring benefits that will
                                                 buy a stock. The provider sees the book                 spotlight the cap on the access fee,
                                                                                                                                                                   accrue to the broad range of participants
                                                 with the prices at which others are                     which has been 0.30 cents. Absent a
                                                                                                                                                                   in U.S. equity markets. We also discuss
                                                 willing to buy. Because in this                         reduction in the maximum access fee, a
                                                                                                                                                                   the costs of these amendments. The
                                                 hypothetical market there are no                        round-trip buy and sell for stocks
                                                                                                                                                                   Commission has considered the
                                                 restrictions on an entry price point, the               quoted at the new half-penny tick
                                                                                                                                                                   economic effects of the amendments
                                                 liquidity provider can jump ahead of                    would require paying more in fees (0.60
                                                                                                         cents) than in the spread itself (0.50                    and, wherever possible, the Commission
                                                 those other providers by offering to buy                                                                          has quantified the likely economic
                                                 at a price that is infinitesimally higher.              cents).
                                                                                                            The practice of charging at or near the                effects of the amendments.987 The
                                                 This is what is known as                                                                                          Commission is providing both a
                                                                                                         access fee cap has persisted over time.
                                                 ‘‘pennying.’’ 982 The problem with                                                                                qualitative assessment and quantified
                                                                                                         Regulation NMS establishes the NBBO.
                                                 pennying is that it creates a disincentive              Because the NBBO is protected,985 many                    estimates of the potential economic
                                                 for liquidity providers to post buy or                  exchanges charge the maximum amount
                                                 sell orders, because they know that a                   allowed to access the quote. This allows
                                                                                                                                                                      986 As discussed in sections VII.D.2, VII.D.3, and

                                                 second trader can step ahead with an                                                                              VII.E.1, fees and rebates create a potential conflict
                                                                                                         the exchange to subsidize liquidity                       for a broker in situations where transaction fees,
                                                 infinitesimally better price. This leads                providers with a rebate, reducing                         which are paid by the broker, potentially conflict
                                                 to lower priced offers to buy and higher                spreads (to acquire more volume, due to                   with execution quality, which is incurred by the
                                                 priced offers to sell—namely a wider                    traders’ need to access the protected                     customer. This conflict, if acted on, can lead to
                                                 quoted bid-ask spread.                                                                                            inefficient order routing and worse transaction
                                                                                                         quote). While the quoted spread may be                    outcomes for customers; it can also lead to an
                                                    Recognizing this market failure, the                 lower, the cost to investors is not; this                 inefficient incorporation of information into stock
                                                 Commission in 2005 adopted 983 a                        is because gains from the lower spread                    prices, harming market efficiency.
                                                 market-wide requirement that venues                     are counteracted by the access fee. On                       987 Section 3(f) of the Exchange Act requires the

                                                 could not display, rank, or accept orders               the other hand, the high access fee and                   Commission, whenever it engages in rulemaking
                                                 in increments less than a penny.984 The                                                                           and is required to consider or determine whether
                                                                                                                                                                   an action is necessary or appropriate in the public
                                                                                                         exchange, national securities association, ATS,           interest, to consider, in addition to the protection
                                                   981 See Anthony Clarke, Demystifying the Central
                                                                                                         vendor, or broker or dealer from displaying,              of investors, whether the action will promote
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                                                 Limit Order Book (CLOB): Everything You Need to         ranking, or accepting quotations, orders, or              efficiency, competition, and capital formation.
                                                 Know (Apr. 21, 2023), available at https://             indications of interest in any NMS stock priced in        Additionally, section 23(a)(2) of the Exchange Act
                                                 www.nasdaq.com/articles/demystifying-the-central-       an increment smaller than $0.01 if the quotation,         requires the Commission, when making rules under
                                                 limit-order-book-clob-everything-you-need-to-know.      order, or indication of interest is priced equal to or    the Exchange Act, to consider the impact such rules
                                                   982 See supra section I.A.1.
                                                                                                         greater than $1.00 per share. If the quotation, order,    will have on competition. Exchange Act section
                                                   983 See generally, Regulation NMS Adopting            or indication of interest is priced less than $1.00 per   23(a)(2) prohibits the Commission from adopting
                                                 Release, supra note 4.                                  share, the minimum pricing increment is $0.0001.          any rule that would impose a burden on
                                                   984 Specifically, preexisting Rule 612 of               985 See supra note 42 and accompanying text             competition not necessary or appropriate in
                                                 Regulation NMS prohibited a national securities         discussing and defining protected quotes.                 furtherance of the purposes of the Exchange Act.



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                                                 effects of the amendments where                          2. Economics of Minimum Pricing                        narrower spreads, reducing costs for
                                                 feasible. The Commission incorporated                    Increments                                             investors. On the other hand, a smaller
                                                 data and other information to assist it in                  When a market has a minimum                         tick can also lead to pennying. Pennying
                                                 the analysis of the economic effects of                  pricing increment (hereafter ‘‘tick sizes’’            increases adverse selection costs for
                                                 the amendments. However, as explained                    or just ‘‘ticks’’), liquidity providers                slower liquidity providers by making it
                                                 in more detail below, the Commission is                  quote bid and ask prices that are                      more likely that they trade when prices
                                                 unable to quantify certain economic                      discrete whole number multiples of that                are moving in an unfavorable direction
                                                 effects because the Commission does                      tick. For example, if the tick is a penny,             relative to their positions.993 To
                                                 not have, and in certain cases cannot                    then a liquidity provider quotes prices                compensate for these costs, liquidity
                                                 reasonably obtain, data that may inform                  that are a multiple of a penny, such as                providers may post less aggressive
                                                 the Commission on certain economic                       $10.00 or $10.01, but not $10.015. There               quotes—lower bid prices and higher ask
                                                 effects. Further, even in cases where the                may, however, be a liquidity provider                  prices—resulting in a wider quoted
                                                 Commission has data, it is not                           willing to quote an ask of $10.015 and                 spread and worse liquidity.994 Both
                                                 practicable to quantify certain economic                 a bid of $10.005. Were this liquidity                  price competition and adverse selection
                                                 effects due to the number and type of                    provider to be allowed to do so, the                   from pennying lie on a continuum.995
                                                 assumptions necessary, which render                      stock would have a spread $0.01 (i.e.,                 As explained in infra section VII.D.1,
                                                 any such quantification unreliable. Our                  the difference between the lowest ask                  the degree to which pennying versus
                                                 inability to quantify certain costs,                     price and bid price). However, in the                  price competition dominates in
                                                 benefits, and effects does not imply that                presence of the $0.01 tick, liquidity                  determining whether increasing the tick
                                                 such costs, benefits, or effects are less                providers will quote at the best feasible              will improve market quality depends on
                                                 significant.                                             ask price above $10.015, which is                      the relation between the tick and the
                                                                                                          $10.02, and the best feasible bid price                spread. The greater the tick is in relation
                                                 B. Broad Economic Considerations                                                                                to the spread, the greater the effect of
                                                                                                          below $10.005, which is $10.00.991
                                                 1. Liquidity and Spread                                  Consequently, the stock’s quoted spread                price competition, and the lower the
                                                                                                          would be $0.02 instead of $0.01, twice                 risk of pennying.996 Accordingly, the
                                                    A key component of market liquidity
                                                                                                          as wide than it would otherwise be.                    Commission defines a stock to be tick-
                                                 is the limit order book. Liquidity                                                                              constrained if there is a reasonable
                                                 providers submit limit orders to buy                        Tick sizes present an economic
                                                                                                          tradeoff. As discussed in the Proposing                probability that the stock would
                                                 (‘‘bid’’) and sell (‘‘ask’’) stock at                                                                           otherwise trade with a spread less than
                                                 specified prices and quantities.                         Release, in determining what tick size is
                                                                                                          optimal for any given stock, there is a                the tick size in the course of normal
                                                 Liquidity demanders trade against these                                                                         trading, were it allowed to do so, or one
                                                 limit orders. The quoted (bid-ask)                       tradeoff between price competition on
                                                                                                          one hand, and incentives for liquidity                 for which the tick is a substantial
                                                 spread for a stock is the difference                                                                            portion of the quoted spread.997 That is,
                                                 between the lowest displayed ask price                   provision on the other.992 A smaller tick
                                                 and the highest displayed bid price.988                  allows liquidity providers to better
                                                                                                                                                                   993 Id., at 80305 n.481 and accompanying text.
                                                 As discussed in the Proposing Release,                   compete on price which can lead to                        994 Id. at 80305–06. Pennying is defined in the

                                                 standard economic theory suggests that                                                                          Proposing Release as occurring when a market
                                                                                                          than the price that equates liquidity supply and       participant gets to the front of the limit order queue
                                                 liquidity providers in a competitive                     demand.’’). In a number of places where the release    by posting economically trivial price improvement.
                                                 market will compete to provide                           employed the concept of economic spread, it arose      Id. at 80306 n.459. One commenter also described
                                                 liquidity until the spread—i.e., their                   in discussions about a stock that would trade at a     the economics of pennying using option theory and
                                                 compensation for providing liquidity—                    given price or spread absent the tick size. See        the Commission agrees with this characterization.
                                                                                                          Proposing Release, supra note 11, at 80304, 80309,     See Harris Letter at 6. According to the commenter,
                                                 is equal to the break-even point given                   and 80317. The spread is composed of several           pennying results in a payoff structure that has
                                                 the costs of liquidity provision.989                     elements: adverse selection, inventory risk, and       unlimited potential upside while the downside is
                                                 Absent fees, rebates, and a minimum                      processing costs. See Proposing Release, supra note    capped. By pennying, a fast trader jumps to the
                                                 pricing increment, this break-even point                 11, at 80304 n.447 and 80321. See generally, Roger     front of the queue and therefore has a high chance
                                                                                                          D. Huang & Hans R. Stoll, The Components of the        of executing his trade and capturing the upside if
                                                 for liquidity provision represents the                   Bid-Ask Spread: A General Approach, 10 Rev. Fin.       prices move favorably. If prices move in an
                                                 lowest bid-ask spread at which liquidity                 Stud. 995 (Winter 1997). As explained in the           unfavorable direction, the fast trader can unwind
                                                 providers (as a whole) are willing to                    Proposing Release, supra note 11, at 80304 and         his position against the slower liquidity supplier
                                                 provide liquidity (hereinafter                           n.447, the spread is unlikely to ever be zero due to   (whom he undercut); in this case, the cost to the
                                                                                                          inventory costs, adverse selection risks, the direct   fast trader—i.e., the cost of the option—is only one
                                                 ‘‘economic spread’’).990                                 costs associated with providing liquidity, and         tick. The fast trader thereby captures value from the
                                                                                                          trading rules meant to prevent the locking and         liquidity supplier and hence discourages slow
                                                    988 Investors can also execute trades on other        crossing of markets. See P.C. Kumar, Bid-Ask           traders from offering liquidity. A small tick means
                                                 ‘‘dark’’ venues that do not display quotes. But          Spreads in U.S. Equity Markets, 43 Q. J. Bus. & Econ   that the cost of pennying is low, which results in
                                                 because quotes are not displayed on these venues,        85 (2004).                                             more pennying and thus less incentive for liquidity
                                                 the investor could not be certain of the execution          991 As discussed in the Proposing Release, supra    provision. See also Lawrence E. Harris, Minimum
                                                 price or of the number of shares available. See          note 11, at 80309 nn.483–484 and accompanying          Price Variations, Discrete Bid–Ask Spreads, and
                                                 Proposing Release, supra note 11, at 80287               text, this assumes that stock prices are expected to   Quotation Sizes, 7 Rev. Fin. Stud. 149 (1994); Anne
                                                 (addressing trading centers that do not display          revert to the next worse level. This may occur         Dyhrberg, et al., When Bigger is Better: The Impact
                                                 protected quotes).                                       because standard economic theory suggests that in      of a Tiny Tick Size on Undercutting Behavior, 58
                                                    989 Proposing Release, supra note 11, at 80309        a competitive market liquidity providers will          J. Fin. & Quantitative Analysis (2023) (Dyhrberg et
                                                 n.483. See also Jonathan Brogaard & Corey Garriott,      compete to provide liquidity until the spread—i.e.,    al.).
                                                 High-Frequency Trading Competition, 54 J. Fin. &         their compensation for providing liquidity—is             995 Proposing Release, supra note 11, at 80305

                                                 Quantitative Analysis 1469 (2019) (documenting           equal to the break-even point for liquidity            n.458.
                                                 that as more high-frequency liquidity providers          provision. See also Jonathan Brogaard & Corey             996 See infra section VII.D.1.b.i.
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                                                 enter the market, spreads decrease until they            Garriott, High-Frequency Trading Competition, 54 J.       997 The Commission’s definition of tick-
                                                 converge to competitive levels).                         Fin. & Quantitative Analysis 1469 (2019)               constrained in this release eliminates an
                                                    990 Although the Proposing Release did not use        (documenting that as more high-frequency liquidity     unnecessary distinction drawn between tick-
                                                 the phrase ‘‘economic spread,’’ the release              providers enter the market, spreads decrease until     constrained and near-tick-constrained stocks that
                                                 employed the same concept in multiple places. See,       they converge to competitive levels). The range of     appears in the Proposing Release. Specifically, in
                                                 e.g., Proposing Release, supra note 11, at 80317 (‘‘In   infeasible quoting prices narrows somewhat in the      the Proposing Release’s economic analysis, the
                                                 a competitive market, and in the absence of rebates      presence of rebates for liquidity providers. section   Commission stated that it considered the term
                                                 or other price distortions, the prevailing bid or ask    VII.B.3 discusses these effects.                       ‘‘tick-constrained’’ to apply to ‘‘stocks that would
                                                 price would be the feasible price equal to just worse       992 Proposing Release, supra note 11, at 80305.                                                  Continued




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                                                 while tick constrained stocks are not the                because there are no price points at                      wide spread, due to a price floor
                                                 only ones to potentially benefit from a                  which to do so.1001 Because liquidity                     imposed by the tick constraint,
                                                 reduction in the tick size, they are the                 providers cannot establish price priority                 effectively subsidizes liquidity
                                                 ones most clearly likely to do so.998                    when the NBBO spread is one tick,                         provision. Because there is an increased
                                                    Benefits from a reduction in the tick                 establishing time priority becomes more                   incentive to provide liquidity via limit
                                                 size come in the form of higher market                   important.1002 Consequently, an                           orders, queues of limit orders tend to be
                                                 quality and lower transaction costs to                   environment where stocks are tick-                        longer, and wait times to get a limit
                                                 investors. As explained above, relaxing                  constrained with artificially wider                       order executed also tend to be longer.
                                                 the tick constraint (the price floor on                  spreads and longer order queues tends                     This makes it more likely that the
                                                 liquidity) directly allows competition                   to favor traders who are better able to                   market moves away from an investor’s
                                                 for market orders. Moving toward a                       establish positions more quickly so they                  limit order and leads to lower overall
                                                 more competitive market reduces                          can be at the front of the queue. Traders                 fill rates for limit orders.1004 Thus the
                                                 distortions and economic rents.                          who are at the back of the queue face                     floor on liquidity leads to rents accruing
                                                    As a general matter, a liquidity                      slower executions and the risk of not                     to fast liquidity providers 1005 at the
                                                 provider is incentivized to get its quote                being executed against at all (a lower fill               expense of slower ones as well as
                                                 to the front of the queue (i.e. establish                rate). In the latter case, they will need                 liquidity demanders.1006
                                                 price/time priority on an order book).999                to resubmit an order when the market
                                                 This is because stock exchange priority                  has moved in an unfavorable direction,                    3. Economics of Access Fees
                                                 rules give greater priority to better                    increasing transaction costs. Adverse                        Trading venues can choose to charge
                                                 priced orders and generally factor order                 selection amplifies these costs: the                      an access fee, or pay a rebate, to their
                                                 entry time into the priority of limit                    orders of slower traders are most likely                  participants—liquidity providers and
                                                 orders at the same price. When the                       to be executed when such an execution                     liquidity takers—who trade at their
                                                 NBBO is equal to the tick, liquidity                     is unfavorable to them and least likely                   venue. The trading venue can further
                                                 providers cannot establish price priority                when they would be favorable. For                         choose to levy the fee (or pay the rebate)
                                                 (other than by crossing the spread) 1000                 example, a sell order at the back of the                  on either the liquidity taker or liquidity
                                                                                                          queue will tend to be filled when there                   provider, or on both. As discussed in
                                                 otherwise trade with a spread less than the tick size,   are many buy orders, which tend to                        infra section VII.C.2.b, the most
                                                 were they allowed to do so.’’ Proposing Release,
                                                 supra note 11, at 80304. That economic analysis
                                                                                                          increase the price, implying that selling                 common fee structure is maker-taker, in
                                                 also stated that a ‘‘near-tick-constrained’’ stock was   is disadvantageous.                                       which liquidity takers are assessed an
                                                 ‘‘one that has a reasonable probability of becoming         To summarize, current wider quoted                     access fee and liquidity providers are
                                                 tick-constrained in the course of normal trading, or     spreads mean greater cost to liquidity                    paid a rebate, which is typically funded
                                                 one for which the tick is a substantial portion of the   demanders and greater revenue to
                                                 spread.’’ Id. Given the economics of minimum                                                                       through the access fee. That is, for a buy
                                                 pricing increments discussed in this section,            liquidity providers.1003 An artificially                  order the liquidity taker pays the price
                                                 distinguishing near-tick-constrained stocks from                                                                   plus the access fee. For a sell order, the
                                                 tick-constrained stocks is unnecessary. The              spread of $0.02. In the most common case of maker-
                                                 Proposing Release’s discussion of these terms in its     taker, the difference between the market and limit
                                                                                                                                                                    liquidity taker receives the price, less
                                                 economic analysis did not meaningfully                   order is even greater because the buyer using a
                                                 differentiate between the effects on stocks in each                                                                   1004 See, e.g., Barbara Rindi & Ingrid M. Werner,
                                                                                                          market order would pay $10.02 plus the fee,
                                                 of these groups. As a result, applying the singular      whereas the buyer using a limit order would pay           U.S. Tick Size Pilot (working paper Mar. 4, 2019),
                                                 term tick-constrained avoids confusion and               $10.00 minus the rebate.                                  available at https://ssrn.com/abstract=3041644
                                                 streamlines the discussion. In addition, the                1001 The liquidity provider could submit an order      (retrieved from SSRN Elsevier Database); Mao Ye &
                                                 Proposing Release’s empirical analysis employed          at an inverted exchange, though this is an                Chen Yao, Tick Size Constraints, Market Structure
                                                 separate numerical definitions for tick-constrained      inefficient solution. See section VII.C.2.c.              and Liquidity (working paper Dec. 26, 2019),
                                                 and near-tick-constrained stocks. Compare id. at            1002 Under typical exchange rules, an order with       available at https://ssrn.com/abstract=2359000
                                                 80268 n.17 (tick-constrained stocks are those with       time priority is executed first when multiple orders      (retrieved from SSRN Elsevier database); Phil
                                                 a Time Weighted Average Quoted Spread less than          are at the best price, regardless of how many orders      Mackintosh, Why Ticks Matter, NASDAQ (May 19,
                                                 .011) with id. at 80304 n.449 (near-tick-constrained     are at the best price. In longer order queues,            2022), available at https://www.nasdaq.com/
                                                 stocks are those with a Time Weighted Average            liquidity-providing orders deeper in the queue,           articles/why-ticks-matter; and MEMX, Tick-
                                                 Quoted Spread between .011 and .02). These               which do not have time priority, are less likely to       Constrained Securities (Aug. 2021) (‘‘MEMX
                                                 numerical definitions served as proxies for drawing      be filled in a timely manner and, conditional on          Report’’), available at https://memx.com/wp-
                                                 distinctions in the Proposing Releases’ empirical        being filled, the probability of the order having been    content/uploads/MEMX-Market-Structure-Report-
                                                 analysis. See, e.g., id. at 80304 nn.448–449; at         adversely selected tends to be greater compared to        Tick-Constrained-Securities.pdf.
                                                 80308 n.473 and accompanying text; and at 80319          orders with greater fill priority. Typically, liquidity      1005 This phenomenon is sometimes referred to as
                                                 n.549. Although we continue to include specific          providers compete to gain priority over other             excessive intermediation. In this context, excessive
                                                 explanations of what stocks are included in each of      resting orders by quoting a better price, but tick-       intermediation refers to excessive quoting in
                                                 our quantitative analyses where relevant, to further     constraints make doing so difficult. In the case          sufficiently liquid securities in order to profit from
                                                 simplify the discussion in the economic analysis,        when the spread is constrained to a single tick, it       the tick-constraint-induced price floor on liquidity,
                                                 we do not use the definitions employed in the            would be impossible to improve on the displayed           which crowds out investors from being able to
                                                 empirical analysis more broadly.                         price without locking markets. For tick-constrained       supply liquidity. Such price floors can increase
                                                    998 See Proposing Release, supra note 11, at 80309
                                                                                                          stocks, when the quoted spread may be greater than        quoting activity from high-frequency traders
                                                 and the discussion accompanying nn.474–477. See          a single tick, improving the price by an entire tick      looking to earn the artificially high spread. Because
                                                 also CCMR Letter at 18 (‘‘an MPI that is too wide        may be too much in the sense that doing so may            profiting off of the spread is easiest when the
                                                 may set an artificial constraint on permissible bids     narrow the spread beyond what the liquidity               marketable orders filled are small, obtaining high
                                                 and offers, which can result in an unnecessarily         providers could tolerate. A narrower tick de-             priority in the queue at each tick is essential to such
                                                 wide spread that can also increase transaction costs     emphasizes time priority on a stock exchange by           strategies. High-frequency, proprietary traders are
                                                 for investors’’).                                        making it easier to compete on price. See Edwin           generally better able to obtain such priority, and
                                                    999 Material presented in this paragraph was          Hu, et al., Tick Size Pilot and Market Quality (DERA      consequently investors may have less opportunity
                                                 discussed in the Proposing Release, supra note 11,       White Paper, Jan. 31, 2018), available at https://        to profitably fill their trades using limit orders.
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                                                 at 80309 and nn.478–481.                                 www.sec.gov/dera/staff-papers/white-papers/dera_          Rebates on limit orders further increase the
                                                    1000 ‘‘Crossing the spread’’ refers to switching      wp_tick_size-market_quality; and Todd G. Griffith &       incentives of these traders to engage in such
                                                 from posting a (non-marketable) limit order to           Brian S. Roseman, Making Cents of Tick Sizes: The         intermediation, thereby exacerbating the problem.
                                                 sending a market order. For example, if the national     Effect of the 2016 U.S. SEC Tick Size Pilot on Limit         1006 In support of this point, one commenter

                                                 best bid were $10.00 and the national best offer         Order Book Liquidity, 101 J. Banking Fin. 104             stated that the subsidization of liquidity providers
                                                 were $10.02, a limit order to buy, if executed,          (2019).                                                   resulting from the tick constraint leads to greater
                                                 would entail paying $10.00 for the security.                1003 Market participants can use inverted              competition on the basis of speed to provide
                                                 However, a market order to buy would entail pay          exchanges or ISOs to help ameliorate some of the          liquidity, which increases complexity and related
                                                 $10.02, in other words, it would have crossed the        negative effects of tick size constraints.                costs to investors; See Budish Letter at 4.



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                                                 the fee. Assuming the broker-dealer is                  comment regarding the role of fees and                    a. Liquidity With Access Fees and
                                                 the principal to the trade, then the                    rebates on the supply of and demand for                   Rebates
                                                 economic price of accessing or                          liquidity.1010 Below, to address                             In the absence of ticks, the market for
                                                 providing liquidity would be equivalent                 comments, the Commission                                  liquidity, discussed in section VII.B.1,
                                                 to the displayed nominal price net of                   supplements its discussion on how                         may generally be represented by an
                                                 the applicable fees. If the broker-dealer               access fees and fee-funded rebates may                    economic model of supply and demand,
                                                 is an agent, then there maybe a wedge                   affect trading in the presence of the                     as shown below in panel A of figure
                                                 between economic price of accessing or                  commonly used maker-taker fee                             1.1012 The vertical axis represents the
                                                 providing liquidity and the price net of                structure.1011 This section addresses                     price of liquidity, here the quoted half-
                                                 the fee and rebate. It is possible that the             certain aspects of fees and rebates in                    spread (i.e. because the liquidity taker is
                                                 fee and rebate may be passed on directly                developing a basic framework for                          not typically on both sides of the trade,
                                                 to the customer. The fee and rebate may                                                                           we use the quoted half-spread to
                                                                                                         evaluating the principle economic
                                                 be passed on indirectly and in part                                                                               measure price of liquidity 1013), while
                                                                                                         effects and responding to comments.
                                                 through fees, commissions, or as part of                                                                          the horizontal axis represents the
                                                 a bundle of services to the customer.                   The remaining aspects and effects are
                                                                                                         considered in sections VII.C.2, VII.D.2,                  quantity of liquidity.1014 Liquidity
                                                    Section VII.C.2 describes the current
                                                                                                         and VII.D.3.                                              providers supply liquidity, and the
                                                 market structure as it relates to access
                                                                                                                                                                   supply curve is upward sloping because
                                                 fees and rebates. A key feature of the
                                                                                                            1010 Specifically, commenters had different views      liquidity providers are willing to supply
                                                 current market structure is that many
                                                                                                         on whether reducing access fees and rebates will          more liquidity when the price of
                                                 exchanges charge at the current cap and
                                                                                                         adversely affect the provision of liquidity on            liquidity is higher. Liquidity takers
                                                 pay out nearly all of the fee as a rebate.              exchanges, either generally or for particular             demand liquidity, and the demand
                                                 For this reason, in practice the                        categories of stocks. Compare Cboe Letter II at 9;        curve is downward sloping because
                                                 Commission expects access fees to be                    Cboe Letter III at 6, 8; Cboe Letter IV at 3, 5; CCMR
                                                                                                                                                                   liquidity takers demand less liquidity at
                                                 near the cap under the amended rule,                    Letter at 27; IEX Letter I at 2; IEX Letter IV at 18,
                                                                                                         21; IEX Letter V at 4; IEX Letter VI at 7; Nasdaq         higher prices of liquidity (i.e., they trade
                                                 just as they are near the pre-existing cap
                                                                                                         Letter I at 2, 20, 22, 25; Nasdaq Letter II at 3, 6;      less when they have to pay higher
                                                 under the current structure. As
                                                                                                         Nasdaq Letter III at 2–3; Themis Letter at 7–8; Virtu     transaction costs). The supply and
                                                 discussed in the Proposing release,                     Letter II at 7–8. Commenters likewise had differing       demand curves intersect at the point
                                                 several basic economic considerations                   perspectives on whether reducing access fees and
                                                                                                                                                                   where the amount of liquidity supplied
                                                 are among those governing the analysis                  rebates will reduce overall transaction costs,
                                                                                                                                                                   equals the quantity demanded, which
                                                 of access fees. First, access fees should               thereby increasing demand for liquidity, or cause
                                                                                                         offsetting costs related to, e.g., wider spreads,         indicates the equilibrium price and
                                                 be such that net and quoted prices
                                                                                                         volatility, or a less representative NBBO (which          quantity of liquidity in the market.
                                                 satisfy coherence.1007 Second, under                    could reduce demand for liquidity). Compare Cboe
                                                 simplifying assumptions, fees and                       Letter III at 5–6; Cboe Letter IV at 5; CCMR Letter          1012 This model presents an abstraction of the
                                                 rebates are approximately neutral                       at 27; IEX Letter I at 26; IEX Letter IV at 16, 22–       market for liquidity. As explained in section
                                                 provided that the stock is not tick                     23; Nasdaq Letter I at 2, 20, 22–24; Nasdaq Letter        VII.B.2, the willingness to quote a bid or offer
                                                 constrained,1008 although outside of                    II at 4–7; Nasdaq Letter III at 5; Themis Letter at       depends in part on the degree of adverse selection
                                                                                                         7; Virtu Letter II at 8. As one example of this debate,   in the market which in turn depends on the tick
                                                 those simplifying assumptions lowering
                                                                                                         Nasdaq identifies a ‘‘vicious cycle’’ that could result   size. The key point in this section is that, for stocks
                                                 the access fee cap can have additional                  from a reduction in the minimum access fee,               that have a spread that is sufficiently wide,
                                                 benefits as discussed in section                        whereas IEX identifies a ‘‘virtuous cycle’’ from the      liquidity providers are indifferent between
                                                 VII.D.2.d. Finally, for tick constrained                identical change. See Nasdaq Letter II at 6; IEX          receiving compensation in the form of spread or in
                                                 stocks, access fees and rebates can                     Letter I at 26. See section VII.D.2 for a response to     the form of a rebate; similarly, liquidity demanders
                                                                                                         these comments on the effect of the reduction in the      are indifferent between paying the spread or access
                                                 distort liquidity supply and demand,                                                                              fee, and thus fees and rebates tend to be neutral
                                                                                                         access fee cap on liquidity and transaction costs.
                                                 increasing transaction costs for                           1011 The economic theory laid out below allows
                                                                                                                                                                   assuming a spread that is sufficiently wide. This
                                                 investors.1009                                          the Commission to create a common framework for
                                                                                                                                                                   point is unaffected by the presence of adverse
                                                    In response to the Proposing Release,                                                                          selection arising from a tick that may be too narrow.
                                                                                                         the competing claims of commenters and to                    1013 The price of liquidity is represented by the
                                                 the Commission received extensive                       disentangle the complex forces at work in                 quoted half-spread because the half-spread
                                                                                                         determining spreads. While the Commission has             represents the price which liquidity takers must pay
                                                   1007 See Proposing Release, supra note 11, at         supplemented this discussion from the Proposing           for the immediacy of executing their trade while
                                                 80348 (‘‘Net and nominal price rankings are             Release, the essential point in this framework—the        liquidity providers stand to capture the half-spread.
                                                 coherent if sorting trading venues on the               equilibrium resulting from the supply and demand             1014 Figure 1 shows the supply and demand for
                                                 competitiveness of their nominal quoted prices          for liquidity, modified as necessary for the presence     liquidity, with the quoted half-spread as
                                                 yields the same ordering as sorting on prices net of    of a minimum tick—was discussed throughout the            representing the price of liquidity on the y-axis.
                                                 fees and rebates.’’).                                   Proposing Release. See, e.g., Proposing Release,          This should not be confused with supply and
                                                   1008 Proposing Release, supra note 11, at 80328.
                                                                                                         supra note 11, at 80228–29, 80317, 80321, 80336,          demand for shares of the stock, where the price of
                                                   1009 Id.                                              80338.                                                    the stock would be on the y-axis.
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                                                                                                                                                   Figure 1

                                                                                                     Panel A                                                                         Panel B
                                                                       Pllce (Half.Spread)




                                                                                                                                                                                                                &ijJpttafter-




                                                                  Equiliblium
                                                              (Nominal) Pllce
                                                                  ofUqukffly




                                                                                                              EquilllHfUln                         Quanlly                                                  Quanllly
                                                                       Pllce (Hd,Spread)                  ll(luldlly SUpplled               (Amount of Uquldily)                                       (Amollnl of Uquldily)




                                                            Figure 1: The above figures illustrate the market for liquidity represented by a supply curve and a demand curve.

                                                  Liquidity suppliers contribute to the supply of liquidity by posting passive orders such as limit orders, while liquidity demanders

                                                  trade against the passive orders thereby taking liquidity. All other things equal, the quantity ofliquidity supplied increases as the

                                                 price of liquidity increases, while the quantity ofliquidity demanded decreases as the price of liquidity increases. The price of

                                                  liquidity is represented by the quoted half-spread because the half-spread represents the price which liquidity takers must pay for

                                                  the immediacy of executing their trade while liquidity providers stand to capture the half-spread The intersection ofthese curves

                                                  sets the equilibrium price ofliquidity (i.e., the half-spread) and the equilibrium quantity of liquidity. As demonstrated in the

                                                  supply-demand diagram on the right, rebates shift the supply curve so that there is more supply for a given quoted price of

                                                  liquidity. Fees increase the cost of demanding liquidity so the shift in the demand curve reflects that there will be less demand at

                                                  any given price of liquidity. Because both supply and demand curves vertical shifts are parallel, they continue to intersect at the

                                                  same value along the horizontal axis (the amount of liquidity supplied/demanded).
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                                                    Consider next the effect on liquidity                 (when fees and rebates are equal in size)                the spread and compensation from the
                                                 of a 30 mils access fee used to fund a                   does not affect the total costs of                       rebate. If a rebate is offered, the liquidity
                                                 30 mils rebate.1015 With a rebate of 30                  trading.1019 As one commenter put it,                    provider in a competitive market
                                                 mils, liquidity providers who submit                     ‘‘when liquidity suppliers are                           responds by accepting a lower spread.
                                                 buy orders are willing to increase their                 subsidized at the cost of liquidity takers,              However, if the quoted spread is already
                                                 bid price by 30 mils, while liquidity                    spreads decline. If they did not,                        at its floor, as specified by the tick, it is
                                                 providers who submit sell orders are                     everyone would want to be a liquidity                    not possible to further lower the spread.
                                                 willing to lower their ask price by 30                   supplier, and no trade would occur. So,                  In this case, unlike in section VII.B.3.a,
                                                 mils. For this reason, the bid-ask spread                maker-taker pricing created narrower                     the rebate and access fee are therefore
                                                 narrows by 60 mils, and the quoted half-                 quoted spreads on average, but it does                   not neutral. Rather, the floor creates
                                                 spread (i.e., price of liquidity) narrows                not affect the net cost of providing                     rents that in this case accrue to those
                                                 by 30 mils. Accordingly, in panel B of                   liquidity.’’ 1020                                        liquidity suppliers that are able to get to
                                                 figure 1, the supply curve for liquidity                    Academic work on the effect of a fee                  the front of the queue the fastest. These
                                                 shifts down by 30 mils. Likewise, the 30                 change on the Toronto Stock Exchange                     rents are earned at the expense of
                                                 mils access fee acts as a tax on liquidity               supports the model.1021 In 2005, the                     liquidity takers and slower liquidity
                                                 takers. This means that, for the same                    exchange began offering a rebate to                      providers.1023
                                                 amount of liquidity, liquidity takers will               liquidity suppliers in a pre-defined                        For stocks that are not constrained by
                                                 reduce the price they are willing to pay                 subset of securities. For securities in                  the tick, rebates and access fees are
                                                 by 30 mils to account for the access fee                 which the total fee remained constant                    again on average neutral, as we now
                                                 (since their net cost to take liquidity is               but was split into a maker rebate and a                  show. Consider, for example, a stock
                                                 the price they pay plus the access fee).                 taker fee, the authors find that quoted                  with an economic spread of 2 cents.
                                                 In panel B of figure 1, this effect is                   spreads narrow, but the net spread—                      Absent a fee or rebate, the quoted spread
                                                 represented by the liquidity demand                      which includes the quoted spread and                     would equal the economic spread
                                                 curve shifting down by 30 mils. Because                  the take fee—did not change.1022                         rounded up to the next smallest tick, or
                                                 both the supply curve and the demand                     b. Liquidity With Ticks, Access Fees,                    this case, also 2 cents.1024 Given a 30
                                                 curve shift down by 30 mils, they                        and Rebates                                              mil rebate, a liquidity provider would
                                                 continue to intersect at the same                                                                                 be willing to quote a spread of 1.4 cents
                                                 quantity of liquidity.1016 That is, the                     Section VII.B.3.a shows that the
                                                                                                                                                                   (the economic spread of 2 cents minus
                                                 equilibrium amount of liquidity remains                  quoted spread adjusts to a fee and rebate
                                                                                                                                                                   twice the 0.3 cents rebate, or 1.4 cents).
                                                 unchanged, but the displayed price is 30                 by narrowing by the amount of the fee
                                                                                                                                                                   However, given the tick, it is likely that
                                                 mils lower. The net cost to take liquidity               and the rebate. The supply and demand
                                                                                                                                                                   the quoted spread would be a full 2
                                                 is not affected since it equals the price                curves in section VII.B.3.a are
                                                                                                          continuous, whereas in fact displayed                    cents. If it were any lower, the profit-
                                                 of liquidity plus the 30 mils access                                                                              maximizing liquidity provider would
                                                 fee; 1017 similarly, the net proceeds from               liquidity has discrete price points,
                                                                                                          namely ticks (the focus of section                       incur a marginal cost (the economic
                                                 providing liquidity are not affected                                                                              spread of 2 cents) that exceeds the
                                                 since they equal the price of liquidity                  VII.B.2). In the presence of ticks, access
                                                                                                          fees and rebates need no longer be                       marginal benefit (i.e., the next smaller
                                                 plus the 30 mils rebate.1018 Thus, in the                                                                         quoted spread of 1 cent plus twice the
                                                 absence of frictions (e.g., discrete prices,             neutral, namely the quoted spread may
                                                                                                          not adjust in the same seamless way to                   0.3 cent rebate, or 1.6 cents). It is
                                                 minimum pricing increments, or agency                                                                             unlikely that the liquidity provider
                                                 problems), the level of fees and rebates                 the presence of a rebate. The basic
                                                                                                          intuition of section VII.B.3.a states that               would be willing to do this.1025 Now,
                                                    1015 This level of access fee and rebate is similar   a liquidity provider is indifferent                      consider the perspective of the market
                                                 to current fees and rebates on maker-taker lit           between receiving compensation from                      participant taking liquidity. Because the
                                                 exchanges and may vary based on pricing tier; see                                                                 liquidity taker is not typically on both
                                                 infra section VII.C.2.b. To illustrate the salient          1019 The term frictions here refers to factors that   sides of the trade, we use the half-
                                                 economic points, this discussion assumes that            prevent prices from perfectly reflecting the forces of   spread to measure their costs due to the
                                                 liquidity providers and demanders know what the          liquidity supply and demand. It does not imply that
                                                 resulting access fees and rebates from a transaction                                                              bid-ask spread.1026 This liquidity taker
                                                                                                          a frictionless market is the optimal market
                                                 will be. As discussed below in sections VII.C.2.b        construct. As discussed throughout this release, a
                                                                                                                                                                   pays the half-spread along with the
                                                 and VII.D.3, in the baseline this is only ever           tick size that is too small creates pennying concerns    access fee. In this case, the half-spread
                                                 approximatively true since fees and rebates are          which can harm market quality outcomes. See infra        is 1 cent and the access fee is 0.3 cents,
                                                 often determined using current and future volumes.       section VII.D.1.b for additional discussion.
                                                 But as long as market participants are able to              1020 Harris Letter at 2–3, describing the
                                                                                                                                                                   so the total is 1.3 cents. As stated above,
                                                 approximate their fees and rebates, then they will       equilibrium spreads model (citing Kalman J. Cohen,
                                                                                                                                                                   in the absence of rebates, the quoted
                                                 generally behave as described in this paragraph—         et al., Transaction Costs, Order Placement Strategy      spread would equal its economic spread
                                                 liquidity providers will adjust their quotes on          and Existence of the Bid-Ask Spread, 89 J. Pol.          of 2 cents. The half-spread would be 1
                                                 account of the expected rebate, and liquidity            Econ. 287 (1981)).
                                                 demanders will adjust the quoted price they are                                                                   cent, less than 1.3 cents, meaning that
                                                                                                             1021 See Katya Malinova & Andreas Park,
                                                 willing to pay on account of the expected fee.                                                                    the liquidity taker pays more when
                                                                                                          Subsidizing Liquidity: The Impact of Make/Take
                                                    1016 If the demand curve were vertical (namely if
                                                                                                          Fees on Market Quality, 70 J. Fin. 509 (2015).           there are fees and rebates.
                                                 liquidity demanders were not sensitive to price),           1022 The authors also present evidence suggesting        However, consider a stock with an
                                                 the curve would not shift. However, the
                                                 conclusions would be the same in that the supply
                                                                                                          that adverse selection costs decreased with the          economic spread of 2.5 cents. Given a
                                                                                                          introduction of the maker-taker model by increasing
                                                 curve shift would cause the same quantity to be          retail trader participation. See Malinova and Park         1023 See Budish Letter and Harris Letter; see also
                                                 supplied at a lower price.                               (2015), supra note 1021. In the United States, most
                                                    1017 The concept that net cost (or net spread) is                                                              supra notes 999 to 1008, and surrounding
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                                                                                                          retail orders in NMS stocks are handled by
                                                 the correct way to measure the cost of liquidity is                                                               discussion.
                                                                                                          wholesalers, who execute a large majority of the           1024 This stock may become tick-constrained in
                                                 supported by basic economics and by commenter            dollar volume of the retail orders they handle via
                                                 statements. See Citigroup Letter at 6 (stating, ‘‘Many   internalization. See, e.g., Lewis Letter attached to     the future, and indeed some stocks that have an
                                                 of CGMI’s institutional clients are increasingly         Virtu Letter II at p 8–12 and 40–45. Consequently,       average spread of 2 cents over a prior period could
                                                 measuring their execution costs all-in, inclusive of     should there be a decrease in retail participation,      be tick-constrained during that time.
                                                 exchange fees.’’).                                       we do not expect this to cause an increase in              1025 Equivalently, the liquidity provider is only
                                                    1018 This discussion refers to the cost to take       adverse selection on exchanges, because so much of       willing to quote at 1.4 cents or above, and therefore
                                                 liquidity and proceeds from providing liquidity at       retail order flow passes through a wholesaler before     the quoted spread must be at least 2 cents.
                                                 the time of the execution of the trade.                  being executed.                                            1026 See section VII.B.3.a.




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                                                 30 mil rebate, a liquidity provider                       also increase depth, it is possible that                  The previous argument for neutrality
                                                 would be willing to quote a spread of                     the costs of access fees for liquidity                 pertained to stocks for which the
                                                 1.9 cents (the economic spread of 2.5                     takers are more than offset by the tighter             economic spread was greater than one
                                                 cents minus twice the 0.3 cents rebate,                   spreads and depth that they create.’’ 1028             tick. For stocks for which the economic
                                                 or 1.9 cents). Again, given the tick, it is               The numerical example is as follows: A                 spread is less than 1 tick, however, fees
                                                 likely that the quoted spread would be                    liquidity taker wants to buy 1,000                     and rebates are not neutral. Rather,
                                                 a full 2 cents. The liquidity taker would                 shares, and the tick size is 1 cent.                   because the quoted spread cannot fall to
                                                 again pay 1.3 cents. In this case, in the                 Without access fees and rebates, the                   compensate for the rebate, provision of
                                                 absence of rebates, it is likely that the                 liquidity provider is willing to sell 651              liquidity is overpriced at the spread of
                                                 quoted spread would be 3 cents.                           shares at a price of $10.02 and 349                    one tick. Because the price is artificially
                                                 Otherwise, the profit-maximizing                          shares at a price of $10.03, in which                  high, the supply of liquidity is
                                                 liquidity provider would incur a                          instance the liquidity provider earns                  distorted,1033 leading to rents for
                                                 marginal cost (the economic spread of                     $10.02349 per share.1029 The liquidity                 liquidity providers who can get to the
                                                 2.5 cents) that exceeds the marginal                      taker then pays an average of $10.02349                top of the queue the fastest. It is harder
                                                 benefit (i.e., the next smallest quoted                   per share to buy the 1,000 shares.1030 In              as a result for slower liquidity
                                                 spread of 2 cents). Given that the quoted                 the presence of an access fee and rebate               providers, such as retail investors and
                                                 spread is 3 cents, the quoted half-spread                 of 30 mils per share (i.e., $0.003 per                 institutions to have their limit orders
                                                 would be 1.5 cents, so the liquidity                      share), the commenter states that the                  executed. It is also more expensive for
                                                 taker would likely pay more if there                      liquidity provider is willing to sell all              investors seeking to access liquidity. For
                                                 were no fees and rebates.                                 1,000 shares at $10.02, in which                       these stocks, lowering the access fees
                                                    This same reasoning can be used to                     instance the liquidity provider earns                  lowers rents and improves market
                                                 show that, except for stocks for which                    only $10.023 per share (i.e., $10.02 per               quality, making it cheaper to transact for
                                                 the economic spread is one cent or                        share + $0.003 rebate per share =                      investors as a whole.
                                                 below, the effect of fees and rebates                     $10.023 per share). The liquidity taker
                                                 cancels out mathematically.1027 The                       thus pays only $10.023 per share to buy                C. Baseline
                                                 main intuition is that, while liquidity                   the 1,000 shares in the presence of an
                                                                                                           access fee and rebate of 30 mils (i.e.,                  The baseline against which the costs,
                                                 providers will quote one tick lower if                                                                           benefits, and the effects on efficiency,
                                                 the rebate pushes the spread below the                    $10.02 per share + $0.003 access fee per
                                                                                                           share = $10.023 per share).                            competition, and capital formation of
                                                 next smaller tick, liquidity demanders                                                                           the amendments are measured consists
                                                 pay the access fee even if the rebate                        However, it is not clear from the
                                                                                                           example why the liquidity provider                     of the current state of the trading
                                                 does not change the quoted spread. We                                                                            environment for NMS stocks, including
                                                 show that the gains to liquidity                          would be willing to offer all of the 1,000
                                                                                                           shares at $10.02 per share and earn only               pricing increments; current practice as it
                                                 demanders from this situation are                                                                                relates to order routing, quotes, fees, and
                                                 exactly offset by their losses when the                   $10.023 per share in the presence of the
                                                                                                           rebate when it earned $10.02349 per                    rebates; and availability of data about
                                                 rebate does not result in quoting one                                                                            quotes, fees, and rebates; and the
                                                 tick lower, all provided that the                         share absent the rebate. Rather, in the
                                                                                                           presence of the rebate, the liquidity                  current regulatory framework. The
                                                 economic spread is greater than one                                                                              economic analysis appropriately
                                                 cent. Thus, the supply-demand curve                       provider would be willing to sell 951
                                                                                                           shares at $10.02 and 49 shares at $10.03,              considers existing regulatory
                                                 reasoning in section VII.B.3.a is robust                                                                         requirements, including recently
                                                 to the introduction of the tick, provided                 in which instance it would also earn
                                                                                                           $10.02349 per share on average.1031                    adopted rules, as part of its economic
                                                 that the economic spread is greater than                                                                         baseline against which the costs and
                                                 1 tick. In other words, for stocks for                    Depth does increase, as the commenter
                                                                                                           states. However, consistent with the                   benefits of the amendments are
                                                 which the economic spread exceeds 1                                                                              measured.1034
                                                 tick, fees and rebates are neutral on                     neutrality argument, the liquidity taker
                                                 average.                                                  pays exactly the same as without the
                                                                                                                                                                    1033 Proposing Release, supra note 11, at 80328–

                                                    One commenter provides a numerical                     fees and rebates. Thus, while tighter
                                                                                                                                                                  29.
                                                 example that might appear to go against                   spreads offset the cost of access fees,                   1034 See, e.g., Nasdaq v. SEC, 34 F.4th 1105,

                                                 this neutrality result. In particular, the                they do not ‘‘more than offset’’ these                 1111–15 (D.C. Cir. 2022). This approach also
                                                 commenter states that, ‘‘because rebates                  fees.1032                                              follows Commission staff guidance on economic
                                                                                                                                                                  analysis for rulemaking. See Current Guidance on
                                                                                                             1028 See Nasdaq Letter I at 23.                      Economic Analysis in SEC Rulemaking, (Mar. 16,
                                                   1027 Let S* equal the economic spread, R the
                                                                                                              1029 In the commenter’s example, prices account     2012), available at https://www.sec.gov/divisions/
                                                 rebate, and the tick size. Then, for any integer N ≥1,                                                           riskfin/rsfi_guidance_econ_analy_
                                                 the liquidity provider collects t¥ 2R more in profits     for the presence of a 1 cent tick. This explains why
                                                                                                           the liquidity provider is offering shares at $10.02    secrulemaking.pdf (‘‘The economic consequences of
                                                 under no rebates versus rebates when S* ∈ (tN, tN                                                                proposed rules (potential costs and benefits
                                                 + 2R], and 2R less in profits when S* e (tN + 2R,tN       and $10.03 and not at prices in between. The
                                                                                                           liquidity provider earns: ($10.02 * 651 + $10.03 *     including effects on efficiency, competition, and
                                                 + t]. These amounts sum to zero assuming a                                                                       capital formation) should be measured against a
                                                 uniform distribution over the interval. The liquidity     349)/1,000 = $10.02349 per share to sell 1,000
                                                                                                           shares.                                                baseline, which is the best assessment of how the
                                                 taker is on the other side of the trade; in total, the                                                           world would look in the absence of the proposed
                                                                                                              1030 ($10.02 * 651 + $10.03 * 349)/1,000 =
                                                 profits to providers are losses to takers, and so these                                                          action.’’); id. at 7 (‘‘The baseline includes both the
                                                 also sum to zero. In contrast, for N >1, the liquidity    $10.02349 per share to buy 1,000 shares.
                                                                                                              1031 (951 * $10.02 + 49 * $10.03)/1,000 + $0.003    economic attributes of the relevant market and the
                                                 provider collects profits 2R over the interval (0,t],                                                            existing regulatory structure.’’). The best assessment
                                                 The assumption of a uniform distribution over the         = $10.02349 per share, where $0.003 is the rebate
                                                                                                           per share.                                             of how the world would look in the absence of the
                                                 interval is not necessary for the result. It is a
                                                                                                                                                                  proposed or final action typically does not include
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                                                 reasonable and standard assumption given the lack            1032 See section VII.E.3 for discussion of the
                                                                                                                                                                  recently proposed actions, because that would
                                                 of specific information on the properties S* of over      commenter’s concerns regarding capital formation
                                                                                                                                                                  improperly assume the adoption of those proposed
                                                 intervals of length equal to the tick size.               as it relates to reduced depth at the NBBO.
                                                                                                                                                                  actions.




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                                                   Several commenters requested that                      Adopting Release,1039 the Dealer                         Position Reporting Adopting
                                                 the Commission consider interactions                     Adopting Release,1040 the Beneficial                     Release,1043 and the Rule 605
                                                 between the economic effects of the                      Ownership Adopting Release,1041 Rule                     Amendments.1044 The Commission has
                                                 proposed rule and other recent                           10c–1a Adopting Release,1042 the Short                   also considered the potential effects on
                                                 Commission rules.1035 Since the date of                                                                           entities that are implementing other
                                                 the Proposing Release, the Commission                    bolster the SEC’s regulatory oversight of private        recently adopted rules during the
                                                 has adopted eight rules mentioned by                     fund advisers and investor protection efforts. The       compliance period for these
                                                                                                          compliance date for the rule is Mar. 12, 2025.
                                                 commenters,1036 namely the Settlement                    February 2024 Form PF Adopting Release, section
                                                                                                                                                                   amendments, including the Treasury
                                                 Cycle Adopting Release,1037 the                          II.F.                                                    Clearing Adopting Release 1045 and the
                                                 February 2024 Form PF Adopting                              1039 Form PF; Event Reporting for Large Hedge

                                                 Release,1038 the May 2023 SEC Form PF                    Fund Advisers and Private Equity Fund Advisers;             1043 Short Position and Short Activity Reporting
                                                                                                          Requirements for Large Private Equity Fund Adviser       by Institutional Investment Managers, Securities
                                                    1035 See, e.g., CCMR Letter; Independent Trustees
                                                                                                          Reporting, Investment Company Act of 1940                Exchange Act Release No. 98738 (Oct. 13, 2023), 88
                                                                                                          Release No. 6297 (May 3, 2023), 88 FR 38146 (June        FR 75100 (Nov. 1, 2023) (‘‘Short Position Reporting
                                                 Letter; SIFMA Letter I; Citadel Letter I; Equity         12, 2023) (‘‘May 2023 SEC Form PF Adopting               Adopting Release’’). Under the new rule,
                                                 Market Structure Citadel Letter; ICAN Letter; Virtu      Release’’). The Form PF amendments adopted in            institutional investment managers that meet or
                                                 Letter II; AIC Letter; AIMA Letter; Antitrust            May 2023 require large hedge fund advisers and all       exceed certain specified reporting thresholds are
                                                 Division of the DOJ Letter; Wagner Letter; Danny         private equity fund advisers to file reports upon the    required to report, on a monthly basis using the
                                                 Mulson Letter. See also supra notes 135 to 137, and      occurrence of certain reporting events. The              related form, specified short position data and short
                                                 surrounding text, discussing these comments. Many        compliance dates were Dec. 11, 2023, for the event       activity data for equity securities. The compliance
                                                 commenters referred to the ‘‘Equity Market               reports in Form PF sections 5 and 6, and June 11,        date is Jan. 2, 2025. See Short Position Reporting
                                                 Structure Proposals’’ as a group, and we understand      2024, for the remainder of the Form PF                   Adopting Release, section VI. In addition, the
                                                 that commenters intended this to mean the four           amendments in the May 2023 SEC Form PF                   Commission adopted an amendment to the national
                                                 rulemaking proposals the Commission issued on            Adopting Release. See May 2023 SEC Form PF               market system (‘‘NMS’’) plan governing the
                                                 Dec. 14, 2022. Of those four, only one was adopted       Adopting Release, section II.E.                          consolidated audit trail (‘‘CAT’’) created pursuant
                                                 prior to these amendments. One commenter                    1040 Further Definition of ‘‘As a Part of a Regular   to the Exchange Act to require the reporting of
                                                 described ‘‘Interconnected Rules’’ to include those
                                                                                                          Business’’ in the Definition of Dealer and               reliance on the bona fide market making exception
                                                 four proposed rules issued on Dec. 14, 2023, as well
                                                                                                          Government Securities Dealer in Connection with          in the Commission’s short sale rules. The
                                                 as certain rules that were previously or later
                                                                                                          Certain Liquidity Providers, Securities Exchange         Commission published the text of the amendment
                                                 adopted, see infra notes 1036 to 1046; and a variety
                                                                                                          Act Release No. 34–99477 (Feb. 6, 2024), 89 FR           to the NMS plan governing the CAT (‘‘CAT NMS
                                                 of other proposed rules including Safeguarding
                                                                                                          14938 (Feb. 29, 2024) (‘‘Dealer Adopting Release’’).     Plan’’) in a separate notice. The compliance date for
                                                 Advisory Client Assets, Investment Advisers Act of       New Rules 3a5–4 and 3a44–2 further define the            the amendment to the CAT NMS Plan is July 1,
                                                 1940 Release No. 6384 (Aug. 23, 2023), 88 FR             phrase ‘‘as a part of a regular business’’ as used in    2025. See SEC, Notice of the Text of the
                                                 14,672 (Mar. 9, 2023). See AIC Letter at 1 n.3, 9 n.30   the statutory definitions of ‘‘dealer’’ and              Amendment to the National Market System Plan
                                                 (listing rules and proposed rules, but not explaining    ‘‘government securities dealer.’’ The compliance         Governing the Consolidated Audit Trail for
                                                 a specific connection to the Proposing Release).         date is Apr. 29, 2025, for persons engaging in           Purposes of Short Sale-Related Data Collection,
                                                    1036 In addition, commenters also mentioned the
                                                                                                          activities that meet the qualitative factors under the   Securities Exchange Act Release No. 98739 (Oct. 13,
                                                 proposal that was ultimately adopted as Private          final rules. See Dealer Definition Adopting Release,     2023), 88 FR 75079 (Nov. 1, 2023).
                                                 Fund Advisers; Documentation of Registered               section II.B.                                               1044 Rule 605 Amendments, supra note 10. The
                                                 Investment Adviser Compliance Reviews, Advisers             1041 Modernization of Beneficial Ownership            Commission adopted amendments to rules
                                                 Act Release No. 6383 (Aug. 23, 2023), 88 FR 63206        Reporting, Securities Act of 1933 Release No. 11253      requiring disclosures for order executions in NMS
                                                 (Sept. 14, 2023) (‘‘Private Fund Advisers Adopting       (Oct. 10, 2023), 88 FR 76896 (Nov. 7, 2023)              stocks, including expanding the scope of reporting
                                                 Release’’). On June 5, 2024, the Fifth Circuit issued    (‘‘Beneficial Ownership Adopting Release’’). Among       entities, modifying the scope of orders covered by
                                                 a ruling that vacated the rules and amendments           other things, the amendments generally shorten the       the rule, and modifying the information required to
                                                 adopted in the Private Fund Advisers Adopting            filing deadlines for initial and amended beneficial      be reported under the rule. The rule has an effective
                                                 Release. Nat’l Ass’n of Priv. Fund Managers v. SEC,      ownership reports filed on Schedules 13D and 13G,        date of June 14, 2024, and, with a few exceptions,
                                                 103 F.4th 1097 (2024).                                   and require that Schedule 13D and 13G filings be         a compliance date of Dec. 14, 2025. See Rule 605
                                                    1037 Shortening the Securities Transaction
                                                                                                          made using a structured, machine-readable data           Amendments, section VII.
                                                 Settlement Cycle, Securities Exchange Act Release        language. The amendments are effective Feb. 5,              1045 Standards for Covered Clearing Agencies for
                                                 No. 96930 (Feb. 15, 2023), 88 FR 13872 (Mar. 6,          2024. The new filing deadline for Schedule 13G           U.S. Treasury Securities and Application of the
                                                 2023) (‘‘Settlement Cycle Adopting Release’’). The       will not be required before Sept. 30, 2024, and the      Broker-Dealer Customer Protection Rule with
                                                 rules and rule amendments adopted in the                 rule’s structured data requirements will not be          Respect to U.S. Treasury Securities, Securities
                                                 Settlement Cycle Adopting Release shorten the            required until Dec. 18, 2024. Beneficial Ownership       Exchange Act Release No. 99149 (Dec. 13, 2023), 89
                                                 standard settlement cycle for most broker-dealer         Adopting Release, section II.G.                          FR 2714 (Jan. 16, 2024) (‘‘Treasury Clearing
                                                 transactions from two business days after the trade         1042 Reporting of Securities Loans, Securities        Adopting Release’’). Among other things, the
                                                 date to one business day after the trade date. To        Exchange Act Release No. 98737 (Oct. 13, 2023), 88       amendments require covered clearing agencies for
                                                 facilitate an orderly transition to a shorter            FR 75644 (Nov. 3, 2023) (‘‘Rule 10c–1a Adopting          U.S. Treasury securities to have written policies
                                                 settlement cycle, a new rule also establishes            Release’’). This rule requires any covered person        and procedures reasonably designed to require that
                                                 requirements related to completing allocations,          who agrees to a covered securities loan on behalf        every direct participant of the covered clearing
                                                 confirmations, and affirmations no later than the        of itself or another person to report specified          agency submit for clearance and settlement all
                                                 end of trade date for the processing of institutional    information about the covered securities loan to a       eligible secondary market transactions in U.S.
                                                 transactions subject to the rule; requires registered    registered national securities association (currently    Treasury securities to which it is a counterparty.
                                                 investment advisers to make and keep records of          FINRA is the only registered national securities         The compliance date was Mar. 18, 2024, for covered
                                                 each confirmation received, and of any allocation        association)—or rely on a reporting agent to do so—      clearing agencies to file any proposed rule changes
                                                 and each affirmation sent or received, with a date       and requires the registered national securities          pursuant to Rules 17Ad–22(e)(6)(i), 17Ad–
                                                 and time stamp for each allocation and affirmation       association to make certain information it receives      22(e)(18)(iv)(C), and 15c3–3, which must be
                                                 indicating when it was sent or received; and             available to the public. Covered persons will            effective by Mar. 31, 2025. With respect to the
                                                 requires clearing agencies that provide a central        include market intermediaries, securities lenders,       changes to Rule 17Ad–22(e)(18)(iv)(A) and (B), (i)
                                                 matching service to establish, implement, and            and broker-dealers, while reporting agents include       covered clearing agencies were required to file any
                                                 enforce policies and procedures reasonably               certain brokers, dealers, or registered clearing         proposed rule changes regarding those amendments
                                                 designed to facilitate straight-through processing       agencies. The rule’s compliance dates require that       no later than June 14, 2024, and (ii) those changes
                                                 and to file an annual report regarding progress with     the registered national securities association           must be effective by Dec. 31, 2025, for cash market
                                                 respect to straight-through processing. With certain     propose rules pursuant to Rule 10c–1a(f) by May 2,       transactions encompassed by section (ii) of the
                                                 exceptions, the rule has a compliance date of May        2024, and the proposed rules shall be effective no       definition of an eligible secondary market
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                                                 28, 2024. See Settlement Cycle Adopting Release,         later than Jan. 2, 2025; that covered persons report     transaction, and by June 30, 2026, for repo
                                                 section VII.                                             Rule 10c–1a information to a registered national         transactions encompassed by section (i) of the
                                                    1038 Form PF: Reporting Requirements for All          securities association on or by Jan. 2, 2026 (which      definition of eligible secondary market transactions.
                                                 Filers and Large Hedge Fund Advisers, Advisers Act       requires that the registered national securities         Finally, the Commission amended the broker-dealer
                                                 Release No. 6546 (Feb. 8, 2024), 89 FR 17984 (Mar.       association have implemented data retention and          customer protection rule to permit margin required
                                                 12, 2024) (‘‘February 2024 Form PF Adopting              availability requirements for reporting); and that the   and on deposit with covered clearing agencies for
                                                 Release’’). The Form PF amendments are designed          registered national securities association publicly      U.S. Treasury securities to be included as a debit
                                                 to enhance the Financial Stability Oversight             report Rule 10c–1a information by Apr. 2, 2026.          in the reserve formulas for accounts of customers
                                                 Council’s ability to monitor systemic risk as well as    Rule 10c–1a Adopting Release, section VIII.                                                         Continued




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                                                 Customer Notification Adopting                              display, rank, or accept quotations in                 penny increments also occurs as a result
                                                 Release.1046 These recently adopted                         NMS stocks beyond a certain minimum                    of broker-dealers, including some OTC
                                                 rules were not included as part of the                      quoting increment (or tick). This section              market makers known as wholesalers,
                                                 baseline in the Proposing Release                           discusses current regulation on tick                   internalizing customer order flow at
                                                 because they were not yet adopted at                        sizes and Commission analysis showing                  sub-penny prices.1052
                                                 that time, but they are part of the                         that the current tick size acts as a                      Sub-penny trading on registered
                                                 baseline in this analysis.1047 In response                  binding price floor on the quoted spread               exchanges may also occur as a result of
                                                 to commenters, this economic analysis                       a significant portion of the time for a                their RLPs. The Commission granted
                                                 considers potential economic effects                        large fraction of the share volume                     exemptions from Rule 612 to various
                                                 arising from any overlap in compliance                      transacted in NMS stocks.                              national securities exchanges’ RLPs as a
                                                 dates between these amendments and                                                                                 means to allow them to compete with
                                                 the other recent amendments.1048 It also                    a. Current Regulations                                 OTC sub-penny price improvement.1053
                                                 considers interactions between these                           Preexisting Rule 612 of Regulation                  Under the RLPs, exchanges can accept
                                                 amendments and the Rule 605                                 NMS, which came into effect on August                  and rank certain quotes and orders from
                                                 Amendments.1049                                             29, 2005, prohibited a national                        certain participants in sub-penny
                                                                                                             securities exchange, national securities               increments as small as $0.001.1054 The
                                                 1. Tick Sizes                                                                                                      national securities exchanges designed
                                                                                                             association, ATS, vendor, or broker or
                                                    Preexisting Rule 612 of Regulation                       dealer from displaying, ranking, or                    the RLPs to attract retail orders by
                                                 NMS restricts the ability of venues to                      accepting quotations, orders, or                       providing a potential for price
                                                                                                             indications of interest in any NMS stock               improvement at sub-penny levels
                                                 and proprietary accounts of broker-dealers, subject         priced in an increment smaller than                    because ‘‘most marketable retail order
                                                 to certain conditions. Compliance by the direct
                                                 participants of a U.S. Treasury securities covered          $0.01 if the quotation, order, or                      flow is executed in the OTC markets,
                                                 clearing agency with the requirement to clear               indication of interest is priced equal to              pursuant to bilateral agreements,
                                                 eligible secondary market transactions is not               or greater than $1.00 per share. If the                without ever reaching a public
                                                 required until Dec. 31, 2025, and June 30, 2026,            quotation, order, or indication of                     exchange’’ and OTC market makers
                                                 respectively, for cash and repo transactions. See
                                                 Treasury Clearing Adopting Release, section III.            interest is priced less than $1.00 per                 typically pay retail brokers for their
                                                    1046 Regulation S–P: Privacy of Consumer                 share, the minimum pricing increment                   order flow.1055 Quotes in RLP programs
                                                 Financial Information and Safeguarding Customer             is $0.0001. Most listing exchanges                     are not displayed. Instead, the
                                                 Information, Securities Exchange Act Release No.            require stocks listed on their exchanges               appropriate SIP disseminates a flag
                                                 100155 (May 15, 2024), 89 FR 47688 (June 3, 2024)
                                                 (‘‘Customer Notification Adopting Release’’). The           to maintain a price greater than $1.00                 indicating the side of the market for
                                                 Commission amended Regulation S–P to require                per share, and consequently $0.01 is the               which an exchange has an RLP quote
                                                 brokers, dealers, investment companies, registered          prevailing tick size for most quotes and               available at a price better than the
                                                 investment advisers, and transfer agents registered                                                                NBBO. Because the exclusive SIP does
                                                 with the Commission or another appropriate
                                                                                                             orders for NMS stocks.1050 Preexisting
                                                 regulatory agency to adopt written policies and             Rule 612 of Regulation NMS effectively                 not make known the price or the size of
                                                 procedures for incident response programs to                establishes $0.01 as the minimum                       the RLP quote, market participants do
                                                 address unauthorized access to or use of customer           spread that can be quoted for stocks                   not see the full liquidity available in
                                                 information. These must include procedures for                                                                     RLP programs.1056 To date, RLPs have
                                                 providing timely notification to individuals affected       priced equal to, or greater than, $1.00
                                                 by an incident involving sensitive customer                 per share because the NBBO is                          not attracted a significant volume of
                                                 information with details about the incident and             determined by the best displayed round                 retail order flow.1057
                                                 information designed to help affected individuals
                                                 respond appropriately. Among other things, the
                                                                                                             lot quotes, and exchanges are required                    1052 The term ‘‘wholesaler’’ is not defined in
                                                 amendments also broadened the scope of                      to have rules in place to avoid and                    Regulation NMS, but commonly refers to a broker-
                                                 information covered by the safeguards rule and the          reconcile locked and crossed                           dealer acting as an OTC market maker that
                                                 disposal rule, and extended the requirements to             quotations.1051                                        primarily focuses on attracting orders from broker-
                                                 safeguard customer records and information to all              While preexisting Rule 612 of                       dealers that service the accounts of a large number
                                                 transfer agents. The compliance date for larger                                                                    of individual investors, referred to in this release as
                                                 entities is Dec. 3, 2025, and for smaller entities,         Regulation NMS restricts quoting or                    ‘‘retail brokers.’’
                                                 June 3, 2026. Customer Notification Adopting                submitting orders in sub-penny                            1053 See Securities Exchange Act Release No.
                                                 Release, section II.F.                                      increments for NMS stocks priced                       67347 (July 3, 2012), 77 FR 40673 (July 10, 2012)
                                                    1047 Some commenters assumed that the four
                                                                                                             greater than or equal to $1.00, it does                (approving retail liquidity programs on a pilot basis
                                                 proposed rules issued on Dec. 14, 2022, would be                                                                   for NYSE and NYSE Amex and granting rule 612
                                                 implemented simultaneously, and therefore stated            not restrict trading in sub-penny                      exemption) (‘‘NYSE Retail Liquidity Program
                                                 that the baseline in the Proposing Release was              increments. Sub-penny trading on                       Approval Order’’); see also CBOE BYX Rule 11.24;
                                                 inaccurate to the extent it did not contemplate that        exchanges and ATSs occurs primarily as                 Securities Exchange Act Release No. 68303 (Nov.
                                                 the other rules have gone into effect. See, e.g.,           a result of midpoint orders and                        27, 2012), 77 FR 71652 (Dec. 3, 2012) (CBOE BYX
                                                 Equity Market Structure Citadel Letter at 15. As                                                                   Retail Pilot Program Approval Order); and Nasdaq
                                                 discussed above, however, our baseline does not             benchmark trades. Benchmark trades,                    BX Equity Rule 4780; Exchange Act Release No.
                                                 assume the adoption of proposed rules. Instead, the         such as volume weighted average price                  73702 (Nov. 28, 2014), 79 FR 72049 (Dec. 4, 2014)
                                                 baseline changes incrementally with each adopted            (‘‘VWAP’’) and time weighted average                   (NASDAQ BX Retail Pilot Program Approval
                                                 rule. To the extent those or other proposals are                                                                   Order).
                                                 adopted in the future, the baseline in those
                                                                                                             price (‘‘TWAP’’) orders, may not be                       1054 See discussion in supra section III.C.1.

                                                 subsequent rulemakings will reflect the existing            explicitly priced in an impermissible                     1055 See specifically, NYSE Retail Liquidity
                                                 regulatory requirements at that time.                       sub-penny increment, but the ultimately                Program Approval Order, supra note 1053, at
                                                    1048 See infra section VII.D.6.b.
                                                                                                             determined execution price may be in a                 40679. The Commission stated that ‘‘[i]nternalizing
                                                    1049 See, e.g., SIFMA Letter II (stating that variable
                                                                                                             sub-penny increment. Trading at sub-                   broker-dealer[s] can offer sub-penny executions,
                                                 tick sizes could diminish the ability to compare                                                                   provided that such executions do not result from
                                                                                                                                                                    impermissible sub-penny orders or quotations’’ by
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                                                 execution quality using the Rule 605 disclosures);
                                                                                                                1050 See, e.g., NYSE Continued Listing Standards,
                                                 Citadel Letter II (stating execution quality statistics                                                            ‘‘typically select[ing] a sub-penny price for a trade
                                                 are important to understanding the effects of these         § 802.01C, available at https://www.nyse.com/          without quoting at that exact amount or accepting
                                                 amendments on market quality); AIMA Letter                  listings/resources; Rulebook—The Nasdaq Stock          orders from retail customers seeking that exact
                                                 (suggesting finalization of the proposed Rule 605           Market, § 5400, available at https://listingcenter.    price.’’
                                                 amendments would, along with the MDI round lot              nasdaq.com/rulebook/nasdaq/rules.                         1056 See, e.g., UTP Participant Input Specification

                                                 order definition, provide a much more informed                 1051 See Reg NMS Rule 610(d). A locked market       (April 2024), available at https://www.utpplan.com/
                                                 economic baseline against which to assess other             occurs when the bid and ask price for a security are   DOC/UtpBinaryInputSpec_Fractional.pdf.
                                                 equity market structure proposals); see also infra          identical. A crossed market occurs when the bid is        1057 See Proposing Release, supra note 11, at

                                                 section VII.D.6.a, discussing this topic.                   higher than the ask.                                   80272 n.70 (citing to industry and academic



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                                                    One commenter stated the ability to                                spread ranges, defined in the Proposing                            in 2023, 65.2% of share trading volume
                                                 trade in increments of smaller than a                                 Release using the concept of                                       (31.5% of dollar volume) occurred in
                                                 penny in certain circumstances as                                     TWAQS.1059 To document the                                         stocks in the first average quoted spread
                                                 means of suggesting that there may be                                 prevalence of trading at different quoted                          bin of $0.011 or less. Table 3 also
                                                 no need for rulemaking.1058 However, it                               spread ranges, table 3 presents data on                            reports that an additional 9.1% of share
                                                 is not possible to post a displayed quote                             trading volume in 2023 based on                                    volume (15.3% of dollar volume)
                                                 at an increment other than a penny. The                               average time weighted quoted spreads                               occurred in stocks with quoted spreads
                                                 economic forces that govern the                                       throughout the entire year for NMS                                 between $0.011 and $0.015. In sum, in
                                                 tradeoffs in determining the tick size                                stocks with a quotation, order, or                                 table 3, in 2023, approximately 74.3% of
                                                 depend on the quote being displayed,                                  indication of interest priced equal to or                          share volume (46.8% of dollar volume)
                                                 ranked, and accepted. The empirical                                   greater than $1.00 per share.1060 The                              transacted in NMS stocks (specifically,
                                                 analysis also pertains to displayed                                   analysis breaks trading volume each day                            NMS stocks with a quotation, order, or
                                                 quotes.                                                               into one of 17 average quoted spread                               indication of interest priced equal to or
                                                                                                                       bins, beginning with stocks that have                              greater than $1.00 per share) which have
                                                 b. Analysis of Quoted Spreads Under
                                                                                                                       TWAQS less than or equal to $0.011.1061                            a quoted spread that is likely to be
                                                 Current Ticks
                                                                                                                       Table 3 also reports the daily average                             constrained by the minimum pricing
                                                   This section discusses empirical                                    number of stocks in each bin.                                      increment,1062 which as discussed both
                                                 analysis by the Commission on the                                        The data analysis in table 3 indicates                          above (section VII.B.2) and below
                                                 prevalence of trading at different quoted                             that under the current tick size regime                            (VII.D.1) increases transaction costs.

                                                                                                         TABLE 3—SHARE VOLUME BY QUOTED SPREAD 2023 a
                                                                                                                                                                                         Share volume      Dollar volume        Average #
                                                                                                        Quoted spread                                                                        (%)                (%)              stocks

                                                 Quoted Spread ≤ $0.011 .............................................................................................................             65.2                31.5               1,782
                                                 $0.011 < Quoted Spread <= $0.015 ...........................................................................................                      9.1                15.3                 638
                                                 $0.015 < Quoted Spread <= $0.02 .............................................................................................                     4.2                 5.2                 560
                                                 $0.02 < Quoted Spread <= $0.03 ...............................................................................................                    5.7                 8.4               1,036
                                                 $0.03 < Quoted Spread <= $0.04 ...............................................................................................                    3.6                 7.6                 811
                                                 $0.04 < Quoted Spread <= $0.05 ...............................................................................................                    2.1                 3.6                 673
                                                 $0.05 < Quoted Spread <= $0.06 ...............................................................................................                    1.5                 2.3                 582
                                                 $0.06 < Quoted Spread <= $0.07 ...............................................................................................                    1.2                 2.1                 522
                                                 $0.07 < Quoted Spread <= $0.08 ...............................................................................................                    1.0                 1.8                 445
                                                 $0.08 < Quoted Spread <= $0.09 ...............................................................................................                    0.8                 1.6                 377
                                                 $0.09 < Quoted Spread <= $0.10 ...............................................................................................                    0.7                 1.6                 317
                                                 $0.10 < Quoted Spread <= $0.11 ...............................................................................................                    0.6                 1.5                 271
                                                 $0.11 < Quoted Spread <= $0.12 ...............................................................................................                    0.5                 1.3                 222
                                                 $0.12 < Quoted Spread <= $0.13 ...............................................................................................                    0.4                 1.1                 187
                                                 $0.13 < Quoted Spread <= $0.14 ...............................................................................................                    0.3                 1.1                 163
                                                 $0.14 < Quoted Spread <= $0.15 ...............................................................................................                    0.3                 1.0                 144
                                                 $0.15 < Quoted Spread ...............................................................................................................             2.8                13.0               2,177
                                                    a This table provides share volume by stocks with different quoted spread profiles. To create this table, for each day the universe of stocks
                                                 (identified by a unique stock variable) covered in the WRDS Intra-Day Indicators data are assigned into one of the 17 quoted spread bins based
                                                 on that day’s time weighted quoted spread as computed by WRDS Intra-Day Indicators. Then all share and dollar trading volume across all trad-
                                                 ing days in 2023 is aggregated for each of the 17 quoted spread bins. Percentages based on these totals are then computed. This table also
                                                 presents the daily average number of stocks in each bin. To compute this variable, for each trading day in 2023, the number of stocks in each
                                                 bin is tabulated, then the average across all trading days is presented here. Certain items in this table 3 may also be affected by the MDI Rules
                                                 once they are fully implemented. See infra section VII.C.3.


                                                 c. Reverse Stock Splits                                               number of new shares. The new shares                               undergoes an 8-for-1 reverse split, eight
                                                                                                                       have a higher price, but there are fewer                           shares are exchanged for one share that
                                                   A reverse split exchanges a fixed                                   of them.1063 For example, if an issuer                             is worth the same as the eight,
                                                 number of existing shares for a smaller

                                                 discussions on why RLPs may not attract significant                      1061 Because of the $0.01 minimum quoting                       < Quoted Spread <= $0.02). For the dollar volume,
                                                 retail order flow).                                                   increment for NMS stocks priced equal to or greater                46.8% = 31.5% (i.e., Quoted Spread ≤ $0.011) +
                                                    1058 See Lewis Letter at 33–34, attached to Virtu                  than $1.00 per share, a stock cannot have a quoted                 15.3% (i.e., $0.015 < Quoted Spread <= $0.02). See
                                                                                                                       spread less than $0.01 unless markets become                       supra section VII.B.2 for a definition of tick-
                                                 letter II.
                                                                                                                       locked or crossed. The existence of locked and                     constrained; see also Proposing Release, supra note
                                                    1059 See Proposing Release, supra note 11, table
                                                                                                                       crossed markets can in some cases result in time                   11, table 4, which used the same methodology and
                                                 4.                                                                    weighted quoted spread that are very slightly lower                estimated that, in the first six months of 2022, 56%
                                                    1060 The data derived in table 3 was derived using                 than $0.01. However, even for stocks with spreads
                                                                                                                                                                                          of share volume transacted in NMS stocks with a
                                                 the same methodology as corresponding table 4 in                      most constrained by the tick, even a faction of a
                                                                                                                                                                                          quoted spread of < $0.011, while an additional 15%
                                                 the Proposing Release (PR table 4). See Proposing                     second spent with a higher spread would likely
                                                                                                                       result in an average quoted spread higher than                     of share volume traded in stocks with a quoted
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                                                 Release, supra note 11, at 80308. The only                                                                                               spread of $0.011 < and <= $0.02.
                                                                                                                       $0.01. For example, a large trade can exhaust
                                                 differences between the tables are that table 3 uses                                                                                        1063 See, e.g., General Electric, GE Reverse Stock
                                                                                                                       liquidity deeper in the limit order book such that
                                                 data for all trading days in 2023 (instead of from                    the stock’s quoted spread temporarily increases                    Split Frequently Asked Questions as of September
                                                 Jan. to May 2022 in PR table 4), and table 3, because                 from $0.01. Thus, time weighed quoted spreads will                 21, 2021, at 1, available at https://www.ge.com/
                                                 of our policy choice to set the minimum tick size                     virtually always be greater than $0.01. This makes                 sites/default/files/GE_Reverse_Stock_Split_
                                                 at 0.5c (for quotes and orders priced $1.00 or more                   $0.011 a more pragmatic minimum cutoff for                         FAQs.pdf (last accessed July 27, 2024). See also
                                                 for NMS stocks that have a TWAQS of $0.015 or                         empirical analysis than $0.01.                                     FINRA, Stock Splits, available at https://
                                                 less), adds tick size bins for quoted spreads from                       1062 For the share volume, 74.3% = 65.2% (i.e.,                 www.finra.org/investors/investing/investment-
                                                 1.1c to 1.5c and 1.5c to 2c.                                          Quoted Spread ≤ $0.011) + 9.1% (i.e., $0.015                       products/stocks/stock-splits.



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                                                 increasing the price by a factor of eight.              not wish to give the appearance of bad                   prevent trading centers from charging
                                                 All else equal, one would expect the                    news with a reverse split. Reverse splits                excessive fees to orders that were
                                                 quoted spread, which represents the                     also change the share price, which may                   required to trade with a protected
                                                 per-share trading costs to also rise by a               affect the trading characteristics of the                quote.1073 The 30 mil fee cap was also
                                                 factor of eight. Thus, the cost of                      stock.1069 In addition, the direct                       set based on existing market practices at
                                                 transacting in the stock, for a given                   administrative costs of a stock split for                the time.1074 Rule 610(c) only regulates
                                                 dollar exposure, would remain constant.                 a large issuer are estimated to be                       fees to access protected quotes; it does
                                                 However, if a stock were tick                           between $250,000 and $800,000 (as of                     not regulate fees to access non-protected
                                                 constrained, undergoing a reverse split                 2009).1070 Finally, an issuer may not                    quotes, nor does it regulate rebates that
                                                 would cause the tick to become smaller                  capture all of the benefits of the                       exchanges can offer. However, the 30
                                                 relative to the (higher) stock price,                   liquidity arising from the reverse split                 mil fee cap has become a central
                                                 thereby alleviating the tick constraint                 and the alleviated constraints. In sum,                  component of the structure of fees and
                                                 and reducing transaction costs.1064                     though reverse stock splits may address                  rebates as access fees for non-protected
                                                    Using this logic, one commenter                      tick constraints, they are an inefficient                quotes generally do not exceed the 30
                                                 pointed out that currently the problem                  solution for tick constrained securities.                mil fee cap, nor do typical rebates.1075
                                                 that the Commission identifies with                     One commenter agreed, stating that
                                                                                                                                                                  b. Current Practices at Exchanges
                                                 regard to tick constrained stocks could                 ‘‘while issuers can make pricing in their
                                                 be solved without Commission action                     securities more or less granular through                    The transaction fee structure on an
                                                 by issuers making the decision to                       reverse or forward splits, it’s not                      exchange currently takes one of three
                                                 undergo a reverse stock split.1065 The                  practical for the SEC and the industry to                forms. The most common is maker-
                                                 commenter further states, ‘‘[t]he fact that             rely on them to do so.’’ 1071                            taker, in which liquidity demanders
                                                 issuers do not discuss this indicates the                                                                        (i.e., takers) are assessed the access fee
                                                                                                         2. Access Fees                                           and liquidity providers (i.e., makers) are
                                                 issue is immaterial to them.’’ 1066 While
                                                 the Commission agrees that a reverse                       This section discusses current                        offered a rebate. Exchanges can also be
                                                 split alleviates the tick constraint, there             regulation on the access fee cap, the                    inverted (also known as taker-maker), in
                                                 may be reasons that an issuer may                       current practices at exchanges for                       which liquidity demanders are offered a
                                                 choose not to undergo a reverse split                   setting access fees and rebates, and                     rebate and liquidity providers are
                                                 apart from an assessment of the                         Commission analysis showing that most                    assessed an access fee.1076 The last form
                                                 immateriality of tick constraints.                      exchanges assess access fees close to the                of fee structure is flat; a flat exchange
                                                 Reverse splits have historically been                   current access fee cap and use these                     either charges one or both sides a fee but
                                                 associated with negative stock                          access fees to principally fund rebates.                 does not offer rebates. While the
                                                 returns.1067 Research suggests that this                                                                         exchanges are free to subsidize rebates
                                                                                                         a. Current Regulations
                                                 may be because the market views stock                                                                            beyond what they earn through
                                                                                                            Preexisting Rule 610(c) limits the fees               collecting access fees, in practice this
                                                 splits as a signal,1068 and issuers may                 that trading centers can charge for                      does not appear to happen.1077 The
                                                    1064 For example, suppose a stock trades at $10
                                                                                                         accessing protected quotations with                      difference between the average access
                                                 per share and is tick-constrained such that it trades   prices of $1.00 per share or greater to                  fee charged and the average rebate paid
                                                 with a quoted spread of $0.01, but could sustain a      $0.0030 per share (or 30 cents per 100
                                                 quoted spread of $0.004 if not for the penny tick.      shares). This level is commonly referred                    1073 See Regulation NMS Adopting Release, supra
                                                 If the stock undergoes a 5-for-1 reverse split, then    to as 30 mils.1072 Preexisting Rule 610                  note 4, at 37545 (justifying the 30 mil limit: ‘‘For
                                                 the share price would rise to $50 (5*$10) and the                                                                quotations to be fair and useful, there must be some
                                                 quoted spread would rise to $0.02 (5*$0.004). The       also prohibits access fees in excess of
                                                                                                                                                                  limit on the extent to which the true price for those
                                                 reverse split thereby alleviates the tick constraint.   0.3% of the price for stocks priced less                 who access quotations can vary from the displayed
                                                 The reverse split also reduces trading costs in this    than $1.00 per share. The 30 mil fee cap                 price . . . . To protect limit orders, orders must be
                                                 case. To see the reduction in costs, suppose an         was adopted as a part of Regulation                      routed to those markets displaying the best-priced
                                                 investor wants to submit a market order for $100                                                                 quotations. This purpose would be thwarted if
                                                 worth of the stock. With a $10 price and a $0.005
                                                                                                         NMS in conjunction with the order
                                                                                                                                                                  market participants were allowed to charge
                                                 half-spread, this would entail purchasing five          protection rule and was implemented to                   exorbitant fees that distort quoted prices’’); see also
                                                 shares and paying a transaction cost of $0.025 (i.e.,                                                            supra note 434 and surrounding discussion from
                                                 five times the half-spread of $0.005). With a $50       makes the measurement of the market reaction to          the Regulation NMS Adopting Release on the
                                                 price and a $0.01 half-spread, however, the market      the announcement of a reverse split imprecise.           potential—absent a fee cap—for high fee markets to
                                                 order would only entail purchasing two shares and       Once the reverse split is completed, however, the        take advantage of intermarket price protections.
                                                 paying a transaction cost of $0.02 (i.e., two times     academic literature documents negative returns—             1074 See id. at 37503 (the 30 mil access fee cap
                                                 the half-spread of $0.01), thus reducing transaction    see id.                                                  was chosen because ‘‘it will not seriously interfere
                                                 costs by 25%. See infra note 1295 and surrounding          1069 See, e.g., Kelly Shue & Robert Townsend, Can     with current business practices’’ and ‘‘[i]n the
                                                 discussion for empirical studies documenting a          the Market Multiply and Divide? Non-Proportional         absence of a fee limitation, some ‘outlier’ trading
                                                 reduction in trading costs when tick-constrained        Thinking in Financial Markets, 76 J. Fin 5 (Oct.         centers might take advantage of the requirement to
                                                 stocks complete a reverse split.                        2021). This paper documents greater return               protect displayed quotations by charging exorbitant
                                                    1065 See Virtu Letter II at 25.                                                                               fees to those required to access the outlier’s
                                                                                                         responses to news in lower-priced stocks and
                                                    1066 Id. at 25.                                      hypothesizes that some investors think about stock       quotations’’); see also supra note 357.
                                                    1067 See, e.g., Hemang Desai & Prem C. Jain, Long-   price changes in terms of dollars rather than               1075 See infra table 4 for a summary of

                                                 Run Common Stock Returns Following Stock Splits         returns. The paper studies reverse stock splits and      transaction-based fee schedules for U.S. national
                                                 and Reverse Splits, 70 J. Business 3 (July 1997); Kim   finds evidence consistent with this hypothesis.          equities exchanges as of Feb. 2024.
                                                                                                            1070 See Weld et al., The Nominal Share Price
                                                 et al., Return Performance Surrounding Reverse                                                                      1076 While Rule 611 creates incentives for

                                                 Stock Splits: Can Investors Profit?, 37 Fin. Mgmt.      Puzzle, 23 J. Econ. Perspectives 2 (Spring 2009).        exchanges to use high fees and rebates in order to
                                                 2 (Summer 2008).                                        The authors estimate the administrative costs of         quote at the NBBO—see infra note 1120—not all
                                                    1068 For a discussion on the signal conveyed by      stock splits. Reverse stock splits are likely to have    exchanges compete on this margin (e.g., inverted
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                                                 stock splits, see, e.g., Maureen McNichols & Ajay       similar administrative costs. After adjusting for        exchanges).
                                                 Dravid, Stock Dividends, Stock Splits, and              changes in the consumer price index from 2009 to            1077 See infra section VII.D.2 for more discussion

                                                 Signaling, 45 J. Fin. 3 (July 1990); David L.           2024, the paper’s estimated direct administrative        on why exchanges may not subsidize rebates from
                                                 Ikenberry et al., What Do Stock Splits Really           cost of a split for a large issuer in 2024 is $365,000   other sources of revenue; see also Eric Budish, et
                                                 Signal?, 31 J. Fin. & Quantitative Analysis 3 (Sept.    to $1,170,000.                                           al., A Theory of Stock Exchange Competition and
                                                                                                            1071 See The Tick Size Debate Revisited attached
                                                 1996). The academic literature on signaling                                                                      Innovation: Will the Market Fix the Market?
                                                 generally uses stock splits (rather than reverse        to MEMX Letter at 69.                                    (working paper May 22, 2019) available at https://
                                                 splits) because standard databases do not include          1072 See Proposing Release, supra note 11, at         ssrn.com/abstract=3391008 (retrieved from SSRN
                                                 the announcement date of reverse splits, which          80309.                                                   Elsevier database).



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                                                 is the net capture earned by the                          websites. While this means that the                        Hence, market participants currently
                                                 exchanges for facilitating a                              rebate and fee rates associated with each                  typically have to make trading decisions
                                                 transaction.1078                                          volume-based tier can be known at the                      without the ability to determine their
                                                    The regulatory access fee cap is most                  time a market participant trades, market                   full trading costs.
                                                 relevant for maker-taker markets where                    participants may not know which                               Broker-dealers trading in an agency
                                                 the trader accessing a protected quote                    volume-based tier they will fall under at                  capacity may pass fees and rebates
                                                 must pay the access fee. This is because                  the time of the trade (and thus the fee                    received from exchanges while working
                                                 the access fee cap applies only to fees                   or rebate rate that will apply to their                    a customer’s order through to the
                                                 for accessing protected quotations and                    particular trade) because the tier they                    customer, either directly or through a
                                                 does not apply to fees for posting                        will fall under is typically determined                    change in the commission charged for
                                                 quotations. On an inverted venue, the                     based on their trading volume during                       the order. One commenter stated that
                                                 exchange is not restricted by preexisting                 the current month, which is not                            passing through transaction fees and
                                                 Rule 610 in terms of the rebate that it                   finalized until the end of the month.1084                  rebates is not common.1087 The
                                                 can offer to access a protected quote or                  More specifically, the volume-based fees                   Commission is uncertain the extent to
                                                 the fee to post a protected quote.1079                    or rebates a market participant receives                   which transaction fees and rebates are
                                                 Flat rate venues, which do not offer                      from an exchange are often determined                      passed through to customers, or in what
                                                 rebates, do not appear to be                              by a market participant’s average total                    form. It is possible that fees and rebates
                                                 economically constrained by the                           daily traded share volume on the                           are passed through indirectly in the
                                                 preexisting Rule 610(c) as their fees for                 exchange during the month as a                             form of payment for order flow or in
                                                 both taking and adding liquidity are                      percentage of either the average total                     price improvement. For example, one
                                                 significantly lower than the 30 mil fee                   daily market volume reported by one of                     broker-dealer’s 606 reports, in
                                                 cap.1080                                                  the consolidated tapes during the month                    discussing orders routed to a
                                                    Fee/rebate schedules can be quite                      or as a percentage of the average total                    wholesaler, acknowledged that
                                                 complex, and the fee schedules change                     daily market volume reported by all                        exchange rebates may affect the
                                                 frequently.1081 As was discussed in the                   consolidated tapes during the                              wholesaler’s subsequent routing
                                                 Proposing Release,1082 the actual fee or                  month.1085 It is therefore, as one                         decision, but that those rebates could be
                                                 rebate that an exchange member is                         commenter stated, difficult for market                     used to provide price improvement to
                                                 assessed on most exchanges also                           participants to forecast trading costs.1086                the broker-dealer’s customers or order
                                                 generally depends on which tier a                                                                                    flow payments to the broker-dealer.1088
                                                 market participant falls into based on                       1084 See Chester Spatt, Is Equity Market Exchange       As discussed in the Proposing Release,
                                                 trading volume in that month, with                        Structure Anti-Competitive? (Dec. 28, 2020),               the Commission is uncertain of how
                                                 higher-volume market participants                         available at https://www.cmu.edu/tepper/faculty-
                                                                                                           and-research/assets/docs/anti-competitive-
                                                                                                                                                                      much demand currently exists for
                                                 typically receiving a higher rebate or a                  rebates.pdf. However, not all exchanges offer              rebates to be passed through to end
                                                 lower fee.1083 Exchanges file their fee                   volume-based tiers in their fee structures. For            customers.1089
                                                 and rebate schedules with the                             example, LTSE does not charge fees to transact. For           Market participants who are not
                                                 Commission and post them on their                         exchanges like these, it is possible to determine          themselves broker-dealers may access
                                                                                                           with certainty the cost to transact prior to executing
                                                                                                           a trade.                                                   information on exchange fees and
                                                    1078 See Proposing Release, supra note 11, at
                                                                                                              1085 The Equity Data Plans disseminate SIP data         rebates through reports available under
                                                 80291 n.304 (‘‘Net capture’’ is the amount earned         over three separate networks: (1) Tape A for               Rule 606. With respect to held orders,
                                                 by the trading center for facilitating a transaction,     securities listed on the New York Stock Exchange
                                                 which is typically the difference between the
                                                                                                                                                                      Rule 606(a)(1) requires broker-dealers to
                                                                                                           (‘‘NYSE’’); (2) Tape B for securities listed on
                                                 average access fee charged by the trading center and      exchanges other than NYSE and Nasdaq; and (3)
                                                                                                                                                                      produce quarterly public reports
                                                 the average rebate paid by the trading center’’). It      Tape C for securities listed on Nasdaq. These tapes        regarding their routing of non-directed
                                                 is common practice across exchanges to fund their         are referred to as the ‘‘consolidated tapes.’’ The         orders 1090 in NMS stocks that are
                                                 rebates with transaction fees. In principle rebates
                                                 could exceed access fees as, unlike access fees,
                                                                                                           CTA Plan governs the collection, consolidation,            submitted on a held basis. Along with
                                                                                                           processing, and dissemination of last sale                 other information, these reports require
                                                 there is no regulatory cap restricting the rebates that   information for Tape A and Tape B securities. The
                                                 can be offered. However, it is unlikely that trading      CQ Plan governs the collection, consolidation,             the broker-dealer to report both the total
                                                 venues would offer rebates in excess of the fees          processing, and dissemination of quotation                 dollar amount and per share average of
                                                 collected as doing so would expose them to the
                                                 possibility of large losses. See supra note 1101 and
                                                                                                           information for Tape A and Tape B securities.              net transaction fees paid and net
                                                                                                           Finally, the UTP Plan governs the collection,              transaction rebates received for different
                                                 accompanying text for further discussion on
                                                                                                           consolidation, processing, and dissemination of last
                                                 exchanges’ net capture rates.
                                                    1079 As can be seen from table 4, which presents
                                                                                                           sale and quotation information for Tape C
                                                                                                           securities. For details on exchange volume-based           of a trade at the time of execution and . . . [the]
                                                 information on access fees and rebates for the 16         fees and rebates, see, e.g., Add and Remove Rates,         ability to evaluate best execution and order
                                                 operating exchanges, in practice the fee that is          Nasdaq, available at http://www.nasdaqtrader.com/          routing.’ ’’).
                                                 charged on an inverted fee venue to post liquidity        Trader.aspx?id=PriceListTrading2; New York Stock             1087 See Harris Letter at 12 (‘‘Almost all retail and
                                                 is generally very close to the 30 mil access fee cap      Exchange Price List 2024, NYSE, available at               many institutional brokers pay the taker fee and
                                                 even though not constrained by Rule 610.                  https://www.nyse.com/publicdocs/nyse/markets/              keep the maker rebate when trading on behalf of
                                                    1080 As can be seen from table 4, the only flat
                                                                                                           nyse/NYSE_Price_List.pdf; and Cboe U.S. Equities           their clients.’’).
                                                 exchange (LTSE) is one that does not levy either a        Fee Schedules EDGX Equities, Cboe, available at              1088 See E*Trade.com, Morgan Stanley Smith
                                                 fee or rebate and prior to adopting a maker-taking        https://www.cboe.com/us/equities/membership/fee_           Barney LLC—Held NMS Stocks and Options Order
                                                 fee model another exchange (IEX) had charged both         schedule/edgx/. See also the Fee Tiers Proposal            Routing Public Report, 1st Quarter, 2024, at 2,
                                                 sides of the transaction 9 mils. See Proposing            supra note 437 at 76284–88, describing Commission          available at https://cdn2.etrade.net/1/
                                                 Release, supra note 11, at 80311.                         concerns about the effect of tiers on competition          24043013500.0/aempros/content/dam/etrade/
                                                    1081 See table 4 for information on how often                                                                     retail/en_US/documents/pdf/order-routing-reports/
                                                                                                           among exchange members, conflicts of interest
                                                 exchanges amend their fees.                               between members and their customers, and                   2024/606-MSWM-2024Q1.pdf.
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                                                    1082 See Proposing Release, supra note 11, at          competition between exchanges.                               1089 See Proposing Release, supra note 11, at

                                                 80292.                                                       1086 See Council of Institutional Investors Letter at   80330.
                                                    1083 See Letter from Richard Steiner, Electronic       4 (stating ‘‘It is our understanding that currently          1090 A ‘‘non-directed order’’ means any order from

                                                 Trading Strategist, RBC Capital Markets, to Brent         exchanges use volume-based tier schedules that             a customer other than a directed order. See 17 CFR
                                                 Fields, Secretary, Commission (Oct. 16, 2018),            depend on the current month’s trading volume. As           242.600(b)(56). A ‘‘directed order’’ means an order
                                                 available at https://www.sec.gov/comments/s7-05-          a result, the per-transaction fee or rebate cannot be      from a customer that the customer specifically
                                                 18/s70518-4527261-176048.pdf (commenting on the           known when the trade occurs. This significantly            instructed the broker or dealer to route to a
                                                 transaction fee pilot); see also the Fee Tiers            impedes the ability of institutional investors and         particular venue for execution. See 17 CFR
                                                 Proposal, supra note 437.                                 other market participants ‘to evaluate the total price     242.600(b)(27).



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                                                 order types for each trading venue to                                   c. Analysis of Current Access Fees and                  close to the 30 mils fee cap for protected
                                                 which the broker-dealer reports routing                                 Rebates                                                 quotes. The maximum rebate is
                                                 orders.1091 Additionally, Rule 606(b)(3)                                   The Commission analyzes, in table 4,                 generally in the vicinity of 30 mils,
                                                 requires broker-dealers to produce                                      current fee and rebate schedules, based                 further suggesting the 30 mils access fee
                                                 reports pertaining to order handling                                    on Rule 19b–4 filings with the                          cap effectively limits what the
                                                 upon the request of a customer that                                     Commission, for each of the equity                      exchanges offer as rebates. Some
                                                 places, directly or indirectly, one or                                  exchanges operating in the United                       exchanges offer different access fees and
                                                 more orders in NMS stocks that are                                      States as of February 8, 2024,1095 as well              rebate schedules for retail versus non-
                                                 submitted on a not held basis, subject to                               as the transaction prices that each                     retail trades.1098
                                                 a de minimis exception.1092 For each                                    exchange posts.1096 What is apparent                       Panel B of table 4 provides
                                                 venue to which the broker-dealer routed                                 from this analysis is that the current                  information on the exchange’s fee
                                                 the customer’s orders, these reports                                    structure of fees and rebates is complex                schedules for stocks priced lower than
                                                 require the broker-dealer to disclose,                                  and constantly changing.1097 Each
                                                                                                                                                                                 $1.00. For these transactions, the fee
                                                 among other things, the average net                                     exchange, except LTSE which does not
                                                                                                                                                                                 schedules tend to be simpler. Most
                                                 execution rebate or fee for shares of                                   charge transaction fees, filed an average
                                                                                                                         of 13.6 Rule 19b–4 equity market fee                    exchanges do not offer a rebate for
                                                 orders providing liquidity and the                                                                                              transactions lower than $1.00 even if the
                                                                                                                         filings with the Commission in 2023.
                                                 average net execution rebate or fee for                                                                                         exchange offers rebates for other
                                                                                                                         Market participants interacting with all
                                                 shares of orders removing liquidity.1093                                                                                        transactions—only three exchanges offer
                                                                                                                         exchanges had to adjust to 218 total fee
                                                 However, these reports provide market                                   filings in 2023. Each filing can contain                any sort of baseline rebate.1099
                                                 participants with information only on                                   changes for numerous fee and rebate                     Additionally, the exchanges tend to
                                                 historical average transaction fees and                                 categories.                                             charge an access fee of 0.1% with some
                                                 rebates and may not accurately reflect                                     The effect of the 30 mils fee cap as an              also charging the maximum access fee of
                                                 the current exchange fees and rebates a                                 anchor point is also apparent. For most                 0.3% of the share price. Only one
                                                 market participate will encounter at the                                exchanges the maximum fee assessed,                     exchange charges a fee of 0.1% to both
                                                 time of its transaction.1094                                            presumably for non-protected quotes, is                 sides of a transaction.
                                                         TABLE 4—SUMMARY OF TRANSACTION-BASED FEE SCHEDULES FOR U.S. NATIONAL EQUITIES EXCHANGES AS OF
                                                                                               FEBRUARY 2024 a
                                                                                                                                     Number of            Date of fee                 Fees                         Rebates
                                                            Exchange                                 Fee model                     revisions 2023          schedule             (# of categories)              (# of categories)

                                                                                                         Panel A: Fees and Rebates for Transactions Greater Than $1.00

                                                 Cboe BZX b        .....................   Maker-Taker ...................                       42           1/2/2024                $0.0030 (1)             $0.0016–$0.0031 (7)
                                                 Cboe BYX c .....................          Inverted ..........................                    9           2/1/2024       $0.0012–$0.0020 (10)             $0.0015–$0.0020 (4)
                                                 Cboe EDGA d ..................            Inverted ..........................                   14           2/7/2024       $0.0000–$0.0030 (12)             $0.0016–$0.0024 (5)
                                                 Cboe EDGX e ..................            Maker-Taker ...................                       44           2/1/2024       $0.00275–$0.0030 (3)             $0.0020–$0.0034 (8)
                                                 BX f ..................................   Inverted ..........................                    6           2/1/2024      $0.0020–$–$0.0030 (2)             $0.0005–$0.0018 (7)
                                                 Phlx (PSX) g ....................         Maker-Taker ...................                        4           2/1/2024                $0.0030 (1)             $0.0020–$0.0033 (5)
                                                 Nasdaq h ..........................       Maker-Taker ...................                        6           2/1/2024                 $0.0030(1)           $0.0013–$0.00305 (26)
                                                 NYSE Arca i .....................         Maker-Taker ...................                       11           2/1/2024        $0.0000–$0.0030 (6)             $0.0000–$0.0032 (6)
                                                 NYSE American ..............              Maker-Taker ...................                        7           1/3/2024        $0.0025–$0.0030 (3)             $0.0016–$0.0030 (3)
                                                 NYSE ..............................       Maker-Taker ...................                       16          1/12/2024       $0.0000–$0.00275 (5)            $0.0004–$0.0030 (11)
                                                 NYSE National ................            Inverted ..........................                    5           1/3/2024        $0.0022–$0.0029 (4)             $0.0007–$0.0030 (5)
                                                 NYSE Chicago ................             Maker-Taker ...................                        3           1/8/2024        $0.0010–$0.0030 (1)                     $0.0000 (0)
                                                 IEX j .................................   Maker-Taker ...................                        2          1/24/2024        $0.0000–$0.0010 (2)                     $0.0004 (1)
                                                 MEMX k ...........................        Maker-Taker ...................                       22           2/1/2024       $0.00295–$0.0030 (2)             $0.0015–$0.0033 (6)
                                                 MIAX Pearl l .....................        Maker-Taker ...................                       10          1/17/2024                $0.0024 (1)                    $0.00295 (1)
                                                 LTSE m ............................       Free ................................                 NA                N/A                $0.0000 (1)                     $0.0000 (1)

                                                    1091 Rule 606(a)(1) requires broker-dealers to                       of the customer’s orders for each calendar month        states that the fee schedule posted there is effective
                                                 report separate information for market orders,                          over the prior six months. The broker-dealer must       and the range of fees and rebates along with the
                                                 marketable limit orders, non-marketable limit order,                    issue these reports to the customer within seven        number of categories of fees and rebates for
                                                 and other orders. See 17 CFR 242.606(a)(1) for the                      business days of receiving the customer’s request.      transactions priced equal to, or greater than, $1.00
                                                 items that need to be disclosed in reports under rule                      1095 Table 4 is constructed using the same           per share.
                                                 606(a)(1).                                                              methodology as table 5 of the Proposing Release,           1097 Some commenters have also stated that
                                                    1092 See 17 CFR 242.606(b)(3). In addition, under                                                                            current transaction pricing practices introduce
                                                                                                                         supra note 11, at 80311; the only difference is that
                                                 rule 606(b)(5)’s customer-level de minimis                              table 4 herein uses data as of Feb. 2024 and            complexity into the market and reduce
                                                 exception, broker-dealers need not provide upon                         computes fee revisions during the 2023 calendar         transparency. See Themis Letter at 7; BMO Letter
                                                 request execution quality reports for customers that                    year, whereas table 5 of the Proposing Release used     at 3.
                                                 traded on average each month for the prior six                          data as of May 2022 and computed annual fee                1098 See, e.g., New York Stock Exchange (NYSE),
                                                 months less than $1,000,000 of notional value of                        revisions from 2018 to June of 2022. Any                Equity Fees and Charges, NYSE.com, available at
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                                                 not held orders in NMS stocks through the broker-                       differences between these two tables are due to         https://www.nyse.com/publicdocs/nyse/markets/
                                                 dealer. See 17 CFR 242.606(b)(5).                                       changes in exchange fee schedules from May 2022         nyse-arca/NYSE_Arca_Marketplace_Fees.pdf
                                                    1093 See 17 CFR 242.606(b)(3)(iii) and (iv).                         to Feb. 2024.                                           (accessed June 18, 2024); see also Virtu Letter II at
                                                    1094 Reports under rule 606(a)(1) are produced by                       1096 Panel A of table 4 provides the category of     23 suggesting that the Commission could consider
                                                 broker-dealers at the end of the quarter and disclose                   exchange, maker-taker, inverted, or flat/free, the      an alternative which would allow exchanges to
                                                 information on average fees and rebates for each                        number of fee revisions since Jan. 2018 as indicated    offer differing fee schedules to retail and non-retail
                                                 month in that quarter. Reports issued by broker-                        by the number of transaction fee specific rule 19b–     orders.
                                                 dealers to their customers under rule 606(b)(3)                         4 filings that the exchange has filed with the             1099 The three are Cboe EDGX, MEMX, and MIAX

                                                 disclose summarized information on the handling                         Commission, the date that each exchange’s website       Pearl.



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                                                                                                                                                                                                                                 Fee       Charged both
                                                                    Exchange                                                  Fee Model                                                   Rebate                                 (%)          sides

                                                                                                                Panel B: Fees and Rebates for Transactions Under $1.00

                                                 Cboe BZX ........................................         Maker-Taker ....................................         0 .......................................................       0.30
                                                 Cboe BYX ........................................         Inverted ............................................    0 .......................................................       0.10
                                                 Cboe EDGA .....................................           Inverted ............................................    0 .......................................................          0
                                                 Cboe EDGX .....................................           Maker-Taker ....................................         0.00009 (per share) .........................                   0.30
                                                 BX ....................................................   Inverted ............................................    0 .......................................................       0.10
                                                 Phlx (PSX) .......................................        Maker-Taker ....................................         0 .......................................................       0.30
                                                 Nasdaq ............................................       Maker-Taker ....................................         0 .......................................................       0.30
                                                 NYSE Arca ......................................          Maker-Taker ....................................         0 .......................................................       0.10
                                                 NYSE American ...............................             Maker-Taker ....................................         0 .......................................................       0.10
                                                 NYSE ...............................................      Maker-Taker ....................................         0 .......................................................       0.10
                                                 NYSE National .................................           Inverted ............................................    0 .......................................................          0
                                                 NYSE Chicago .................................            Maker-Taker ....................................         0 .......................................................       0.10   Yes.
                                                 IEX ...................................................   Maker-Taker ....................................         0 .......................................................       0.09
                                                 MEMX ..............................................       Maker-Taker ....................................         0.075% (of value) ............................                  0.10
                                                 MIAX Pearl ......................................         Maker-Taker ....................................         0.15% (of value) ..............................                0.250
                                                 LTSE ................................................     Free .................................................   0 .......................................................          0
                                                    a The number of fee revisions is obtained by counting each Rule 19b–4 filing for each exchange that is not clearly marked for a non-transaction
                                                 fee related purpose such as connectivity fees, listing fees, options fees, etc. To determine the fee and rebate information, the staff searched
                                                 each exchange’s webpage for its current posted access fee and rebate schedule and collected information on access fees and rebates per-
                                                 taining to non-auction trading in stocks priced equal to, or greater than, $1.00 per share. Sources for Current Access Fee Data were effective on
                                                 the dates shown in panel A of table 4, and were accessed during February 2024 at the websites shown beneath the table.
                                                    b https://www.cboe.com/us/equities/membership/fee_schedule/bzx/.
                                                    c https://www.cboe.com/us/equities/membership/fee_schedule/byx/.
                                                    d https://www.cboe.com/us/equities/membership/fee_schedule/edga/.
                                                    e https://www.cboe.com/us/equities/membership/fee_schedule/edgx/.
                                                    f https://www.nasdaqtrader.com/trader.aspx?id=bx_pricing.
                                                    g https://www.nasdaqtrader.com/trader.aspx?id=psx_pricing.
                                                    h https://www.nasdaqtrader.com/Trader.aspx?id=PriceListTrading2.
                                                    i All NYSE Exchange Family fees: https://www.nyse.com/markets/fees.
                                                    j https://exchange.iex.io/resources/trading/fee-schedule/. (Note: that the majority of IEX trading occurs via non-displayed orders. IEX only pays
                                                 rebates on displayed orders.)
                                                    k https://info.memxtrading.com/equities-trading-resources/us-equities-fee-schedule/.
                                                    l https://www.miaxglobal.com/sites/default/files/fee_schedule-files/MIAX_Pearl_Equities_Fee_Schedule_01172024.pdf.
                                                    m https://ltse.com/trading/faqs.
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                                                    Complex fee schedules and volume-                                      that the net capture for non-auction                             to fund rebates.1107 For stocks trading
                                                 based tiers mean that it is difficult for                                 trading in stocks that have a price equal                        below $1.00 the Commission estimates
                                                 the Commission to determine the net                                       to or greater than $1.00 is likely close to                      an average net capture of around 0.24%
                                                 capture on a given exchange (the                                          2 mils on most exchanges,1102 and in                             of the transaction volume.1108 This
                                                 difference between average fees levied                                    the analysis in later sections where the                         amount is close to the 0.30% access fee
                                                 and rebates paid).1100 Additionally,                                      net capture needs to be assumed, we use                          cap and arises because, as seen in panel
                                                 financial statements for exchange                                         2 mils unless otherwise stated.1103 A                            B of table 4, much of the trading for sub
                                                 groups generally do not break down                                        commenter agreed stating that the net                            $1.00 priced volume takes place on
                                                 performance on a per-venue level and                                      fee is typically only 2 mils per share,                          exchanges which set their baseline fee at
                                                 the financial statements generally                                        stating, ‘‘it is worth pausing to reflect on                     or near 0.30% but do not offer baseline
                                                 combine auction access fees collected                                     just how competitive this net fee is—                            rebates for transactions under $1.00. On
                                                 with regular trading access fees.                                         this is about as close to Bertrand price                         a per-share basis, this net capture of
                                                 Furthermore, some exchanges are                                           competition as one sees.’’ 1104 Another                          0.24% of transaction dollar volume
                                                 privately held and thus do not release                                    commenter reported estimated trading                             corresponds to a net capture of 7.3
                                                 the same financial statements that                                        related ‘‘all-in’’ costs to trade ranging                        mils.1109
                                                 public exchanges do. Using information                                    1.9 to 3.4 mils over the 2017 to 2021                              Table 5 presents tabulations of the
                                                 from the financial statements of the                                      period for the three largest exchange                            total share (Panel A) and dollar (Panel
                                                 three major exchange groups which                                         groups (Cboe, Nasdaq, and NYSE); 1105                            B) trading volume executed on the 16
                                                 collectively account for the                                              these estimates are broadly in line with                         exchanges in 2023.1110 This table
                                                 overwhelming majority of trading                                          the estimated net-capture rates and                              provides estimates for the total volume
                                                 volume on exchanges, the Commission                                       consistent with the 2 mil net capture                            that executed below $1.00, and that
                                                 estimates that the average total net                                      rate assumption used in the subsequent                           which executed above $1.00. These
                                                 capture is around 4 mils for all trading                                  analysis.1106 Given the low net capture                          numbers represent an estimate of the
                                                 types.1101 However, the Commission                                        rate of 2 mils on most exchanges, the                            total number of shares that will have
                                                 understands based on staff                                                primary reason that access fees remain                           been subject to the access fees and
                                                 conversations with industry members                                       near 30 mils on most exchanges is likely                         rebates discussed in this release.

                                                                                                TABLE 5—TRADING VOLUME BY EXCHANGE, EXCHANGE TYPE 2023 a
                                                                                                                                                                                          >=$1 Volume         >=$1 Volume            % of
                                                                                                                                                                          <$1 Volume
                                                                Exchange name                                                Exchange type                                                QS<= $0.015         QS > $0.015          Exchange
                                                                                                                                                                           (billions)       (billions)          (billions)          volume

                                                                                                                                             Panel A: Share Volume

                                                 Off-Exchange ....................................          ...........................................................           192.9              620.3             241.3
                                                 Nasdaq ..............................................      Maker-Taker .....................................                      26.8              226.2              88.9                26.9
                                                 NYSE Arca ........................................         Maker-Taker .....................................                      27.5              139.3              30.4                15.5
                                                 NYSE ................................................      Maker-Taker .....................................                       3.4              127.4              37.4                13.2
                                                 Cboe BZX .........................................         Maker-Taker .....................................                      14.0               86.3              20.9                 9.5
                                                 Cboe EDGX ......................................           Maker-Taker .....................................                      21.1               98.2              23.3                11.2
                                                 MEMX ...............................................       Maker-Taker .....................................                       8.1               61.9              12.0                 6.5
                                                 IEX ....................................................   Maker-Taker .....................................                       1.7               38.9              19.5                 4.7
                                                 Cboe EDGA ......................................           Inverted ............................................                   2.7               33.8               5.6                 3.3
                                                 Cboe BYX .........................................         Inverted ............................................                   2.6               20.4               2.8                 2.0
                                                 MIAX Pearl ........................................        Maker-Taker .....................................                       2.4               41.9               2.7                 3.7
                                                 NYSE National ..................................           Inverted ............................................                   0.5               11.0               1.4                 1.0

                                                    1100 Volume-based tiers imply that the net capture                        1103 One commenter stated that exchanges                         1107 See Retirement Coalition Letter at 1 (‘‘in

                                                 varies by exchange member. To calculate an                                subsidize rebates with other sources of revenue as               practice, this ‘cap’ has come to be used as the
                                                 exchange’s net capture would require knowing the                          manifest by the fact that some market participants               standard rate charged to access quotes at most
                                                 number and types of orders that are executed by                           could receive rebates in excess of the 30 mil fee cap.           exchanges, and almost all of those fees are then
                                                 each member, mapping these orders to the                                  See Healthy Markets Letter I at 23. Table 4 presents             ‘rebated’ to liquidity providers’’).
                                                 exchange’s fee schedule, calculating the net capture                      evidence consistent with the notion that in some                    1108 The estimate for the 0.24% net capture is
                                                 for each member, and then aggregating the net
                                                                                                                           cases rebates received may be in excess of 30 mils.              obtained by taking the total estimated net
                                                 capture over all exchange members.
                                                    1101 Intercontinental Exchange, the parent firm of
                                                                                                                           However, the commenter did not provide any                       transaction fee across all exchanges for trading in
                                                                                                                           analysis to suggest that the net capture of the                  shares priced below $1.00 ($83.2 million) and
                                                 NYSE, reports on page 53 of its 2021 Form 10–K
                                                 filing that their net capture for U.S. equity                             exchanges was, on average, negative. As discussed,               dividing this number by the total sub $1.00 dollar
                                                 transactions was approximately 4.2 mils in 2021.                          the Commission believes that most exchanges, on                  volume from Panel B of table 5 below ($34.2
                                                 Nasdaq did not report its net capture in its Form                         average, earn approximately 2 mils per transaction               billion). 100*83.2 million/34.2 billon %0.24.
                                                 10–K filing, however Nasdaq provides information                          priced greater than $1.00. One exception is IEX                     1109 To estimate the net capture in terms of mils,

                                                 on its investor relations web page which, when we                         which earns an estimated 6 mils based on the                     the Commission divides the dollar revenue from
                                                 average the relevant 2021 volumes, indicates that                         information in table 4.                                          fees by the number of shares traded. The dollar net
                                                 the average net capture across all Nasdaq platforms                          1104 See Budish Letter at 3. Bertrand competition
                                                                                                                                                                                            capture is 0.24%, see id.,) and the dollar volume is
                                                 for U.S. equity transactions was 5.9 mils. See                            is an economics model of competition on the basis                $34.2 billion, see table 5, Panel B, resulting in a
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                                                 Nasdaq 2022/2021 Monthly Volumes, Nasdaq,                                 of prices whereby firms set their price—net price in             dollar revenue of $82 million (0.0024*$34.2
                                                 available at https://ir.nasdaq.com/static-files/                          this instance—at marginal cost.                                  billion). With share volume of 112.6 billion, see
                                                 465d2157-c476-4546-a9f7-8d7ad0c9be77). Cboe                                  1105 The commenter also included similar
                                                 reports in its Form 10–K filing that its net capture                                                                                       table 5, Panel A, the net capture is 7.3 mils ($82
                                                 for U.S. equity transactions was approximately 2                          estimates for IEX which ranged from 6.8–8.9 mils,                million/112.6 billion).
                                                 mils.                                                                     see Nasdaq Letter II at 3.                                          1110 Table 5 is constructed using the same

                                                    1102 Non-auction orders exclude opening, closing,                         1106 Subsequent analysis in section VII.D.2                   methodology as table 6 of the Proposing Release,
                                                 and reopening auctions. See table 7, note a for                           assumes that the assumed 2 mil net capture will                  supra note 11, at 80313; table 5 herein uses data for
                                                 additional details regarding which orders are                             continue to be valid following the implementation                2023, whereas table 6 of the Proposing Release used
                                                 considered for estimation.                                                of the amendments.                                               data for the first half of 2022.



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                                                                                     TABLE 5—TRADING VOLUME BY EXCHANGE, EXCHANGE TYPE 2023 a—Continued
                                                                                                                                                                                          >=$1 Volume         >=$1 Volume            % of
                                                                                                                                                                          <$1 Volume
                                                                Exchange name                                                Exchange type                                                QS<= $0.015         QS > $0.015          Exchange
                                                                                                                                                                           (billions)       (billions)          (billions)          volume

                                                 Nasdaq OMX PSX ............................                Maker-Taker .....................................                       0.3               7.5                 1.9                 0.8
                                                 Nasdaq OMX BX ..............................               Inverted ............................................                   0.5               6.7                 2.6                 0.8
                                                 NYSE American ................................             Maker-Taker .....................................                       1.0               4.8                 1.0                 0.5
                                                 NYSE Chicago ..................................            Flat ...................................................                0.2               0.8                 1.8                 0.2
                                                 LTSE .................................................     Flat ...................................................                0.0               0.0                 0.0                 0.0

                                                       Total ...........................................    ...........................................................           305.5          1,525.4               493.5
                                                       Exchange Total ..........................            ...........................................................           112.6            905.1               252.2

                                                                                                                                             Panel B: Dollar Volume

                                                 Off-Exchange ....................................          ...........................................................            65.3         19,744.9            24,508.4
                                                 Nasdaq (TapeC) ...............................             Maker-Taker .....................................                       9.1          9,008.3             9,402.3                 30.4
                                                 NYSE Arca ........................................         Maker-Taker .....................................                       7.6          6,433.3             3,107.1                 15.8
                                                 NYSE ................................................      Maker-Taker .....................................                       1.5          3,985.9             3,658.6                 12.6
                                                 Cboe BZX .........................................         Maker-Taker .....................................                       3.1          3,711.6             2,479.9                 10.2
                                                 Cboe EDGX ......................................           Maker-Taker .....................................                       6.2          3,450.0             2,371.1                  9.6
                                                 MEMX ...............................................       Maker-Taker .....................................                       2.5          2,148.8             1,130.4                  5.4
                                                 IEX ....................................................   Maker-Taker .....................................                       0.8          1,383.8             2,119.0                  5.8
                                                 Cboe EDGA ......................................           Inverted ............................................                   1.0          1,038.0               494.8                  2.5
                                                 Cboe BYX .........................................         Inverted ............................................                   0.9            657.2               275.3                  1.5
                                                 MIAX .................................................     Maker-Taker .....................................                       0.7          1,297.3               268.4                  2.6
                                                 NYSE National ..................................           Inverted ............................................                   0.2            287.3               131.0                  0.7
                                                 Nasdaq OMX PSX ............................                Maker-Taker .....................................                       0.1            368.9               211.9                  1.0
                                                 Nasdaq OMX BX ..............................               Inverted ............................................                   0.2            274.9               258.7                  0.9
                                                 NYSE American ................................             Maker-Taker .....................................                       0.4            165.5                97.7                  0.4
                                                 NYSE Chicago ..................................            Flat ...................................................                0.1             39.6               236.0                  0.5
                                                 LTSE .................................................     Flat ...................................................                0.0              1.5                 1.6                  0.0

                                                       Total ...........................................    ...........................................................            99.4         53,996.9            50,752.2

                                                       Exchange Total ..........................            ...........................................................            34.2         34,252.0            26,243.9
                                                   a This table aggregates all trade information from the TAQ database for every trading day in 2023. Only trading volume reflecting normal trades
                                                 during regular trading is included. Normal trades are identified in TAQ data by sale conditions ‘‘blank, @, E, F, I, S, Y’’ which correspond to reg-
                                                 ular trades, intermarket sweep orders, odd-lot trades, split trades, and yellow flag regular trades. The remaining share volume was aggregated
                                                 by exchange, and the table denotes exchange type (maker-taker, inverted, flat, free). Share and dollar volume from exchange codes T and Q
                                                 were combined into ‘Nasdaq.’ Panel A presents share volume totals and panel B presents dollar volume totals. Certain items in table 5 may also
                                                 be affected by the MDI Rules once they are fully implemented. See infra section VII.C.3.


                                                    Transaction fees for trades in stocks                                  less.1112 These numbers provide the                                 Panels A and B of table 6 break down
                                                 priced equal to or greater than $1.00 are                                 basis for estimating the total amount of                         the share and dollar volume statistics
                                                 generally levied per share transacted.                                    access fees and rebates collected and                            presented in table 5 by venue type:
                                                 From table 5 we see that in 2023, there                                   distributed in transactions priced equal                         maker-taker, inverted, and flat/free.1113
                                                 were approximately 2 trillion shares                                      to, or greater than, $1.00 per share. For                        The overwhelming majority (over 90%)
                                                 transacted at prices equal to or greater                                  transactions less than $1.00 per share                           of both dollar and share exchange
                                                 than $1.00 per share across all venues,                                   the access fee is generally levied as a                          trading volume occurs on maker-taker
                                                 57% of which (1.16 trillion shares) were                                  percent of the transaction share price. In                       venues. Inverted exchanges capture
                                                 executed on a registered exchange.1111                                    panel B we see that in 2023 there was                            about 5–7% of dollar and share volume,
                                                 Of these on-exchange transactions                                         approximately $34 billion transacted on                          and the remaining share volume
                                                 priced equal to or greater than $1.00 per
                                                                                                                           exchanges in shares priced less than                             transact on flat/free exchanges.
                                                 share, approximately 78% were in
                                                                                                                           $1.00 per share.
                                                 stocks with quoted spreads of $0.015 or
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                                                    1111 2T ≡ shares 1.5T narrow spread shares + 493                       greater than or equal to $1.00 and a quoted spread               the fraction of these that a spread of $0.015 or less
                                                 billion wider spread shares. Also, off-exchange                           of $0.015 or less; the fifth column shows 252.2                  is 78% (905.1/1157.3).
                                                 trading volume has increased in recent years. See,                        billion shares traded on exchanges with a price                     1113 Table 6 is constructed using the same
                                                 e.g., Jonathan Brogaard & Jing Pan, Dark Pool                             greater than or equal to $1.00 and a quoted spread               methodology as table 7 of the Proposing Release,
                                                 Trading and Information Acquisition, 35 Rev. Fin.                         over $0.015. The total number of shares traded on                supra note 11, at 80314. The only difference is that
                                                 Stud. 2625 (2022).                                                                                                                         table 6 herein uses data for 2023, whereas table 7
                                                                                                                           exchanges with a price greater than or equal to
                                                    1112 The fourth column of Panel A shows 905.1                                                                                           of the Proposing Release used data for the first six
                                                                                                                           $1.00 is therefore 1157.3 billion (905.1+252.2), and
                                                 billion shares traded on exchanges with a price                                                                                            months of 2022.



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                                                                       TABLE 6—VOLUME BY EXCHANGE TYPE AND ESTIMATED ACCESS FEE/REBATE ESTIMATES 2023 a
                                                                                                                                                                                  Price>$1; TWAQS       Price>$1; TWAQS
                                                                                                                                                        Price<$1                                                                                    %
                                                                                                                                                                                       ≤ $0.015              > $0.015
                                                                                                                                                        (billions)                                                                                 Total
                                                                                                                                                                                       (billions)            (billions)

                                                                                                                       Panel A: Exchange Share Volume by Venue Type

                                                 Maker-Taker .............................................................................                           106.2                    832.4                         237.9                               92.7
                                                 Inverted ....................................................................................                         6.2                     71.9                          12.4                                7.1
                                                 Flat/Free ...................................................................................                         0.2                      0.8                           1.8                                0.2

                                                                                                                       Panel B: Exchange Dollar Volume by Venue Type

                                                 Maker-Taker .............................................................................                             31.9                 31,953.4                    24,846.4                               93.9
                                                 Inverted ....................................................................................                          2.2                  2,257.4                     1,159.8                                5.6
                                                 Flat/Free ...................................................................................                          0.1                     41.1                       237.6                                0.5

                                                                                                       Panel C: Estimated Fees Collected and Rebates Distributed (Billions)

                                                 Fees Collected .........................................................................        ..............................               $3.41     ..............................   ..............................
                                                 Rebates Distributed .................................................................           ..............................               $3.08     ..............................   ..............................
                                                 Exchange Capture ...................................................................            ..............................               $0.34     ..............................   ..............................

                                                                                                             Panel D: Total Estimated Net Fees by Liquidity Type (Billions)

                                                 Demander ................................................................................       ..............................                $2.97    ..............................   ..............................
                                                 Provider ....................................................................................   ..............................              ($2.63)    ..............................   ..............................
                                                 Exchange Capture ...................................................................            ..............................                $0.34    ..............................   ..............................
                                                   a Certain items in this table 6 may also be affected by the amendments in the MDI Rules once they are fully implemented. See infra section
                                                 VII.C.3.


                                                    Panel C provides an estimate of the                                    In 2023 liquidity demanders paid an                                   Table 4 indicates that many
                                                 total amount of access fees collected and                                 estimated $2.97 billion in net access                               exchanges charge the maximum allowed
                                                 rebates distributed.1114 In 2023 there                                    fees and liquidity providers received an                            fee, rebating nearly all of it as a
                                                 were an estimated $3.41 billion in                                        estimated $2.63 billion in rebates. The                             compensation for liquidity provision.
                                                 access fees collected across all                                          difference of $340 million is the                                   One commenter states, ‘‘access fees have
                                                 exchanges and $3.08 billion in rebates                                    exchanges’ estimated net capture.                                   been uniquely impervious to market
                                                 distributed, resulting in a net capture to                                   Although not subject to Rule 610(c),                             forces.’’ 1119 Rule 611 generally causes
                                                 all exchanges of $340 million.                                            because they do not post protected                                  marketable orders to be routed to those
                                                    Panel D of table 6 provides estimates                                  quotes, ATSs also often assess                                      markets displaying the best-priced
                                                 of the net access fee paid by liquidity                                   transaction fees.1116 As of the third                               quotations.1120 As discussed in section
                                                 demanders and liquidity suppliers.1115                                    quarter of 2023 there were 32 ATSs that
                                                                                                                           reported trading volume to FINRA                                    that 10 mils is a representative transaction fee
                                                   1114 These estimates are computed by assuming a
                                                                                                                           transacting a total of 73 billion                                   among ATSs.
                                                 30 mil access fee and 28 mil rebate on all                                                                                                       1119 See IEX letter V at 2, 3. See also Proposing
                                                                                                                           shares.1117 Unlike exchanges, the fees
                                                 transactions that occur on maker-taker or inverted                                                                                            Release, supra note 11, at 80305.
                                                 exchanges and a 10 mil access fee (and 4 mil rebate)                      that ATSs charge generally do not have                                 1120 More specifically, Rule 611 requires trading
                                                 on the volume priced equal to, or greater than,                           a standard structure and are often                                  centers to have policies and procedures that
                                                 $1.00 per share that occurs on IEX. For trading in                        negotiated between the ATS and the                                  reasonably prevent trade-throughs. See Proposing
                                                 sub $1.00 transactions, the various access fees and                       customer. Based on a review of item 19                              Release, supra note 11, at 80286. A trade-through
                                                 rebates for each exchange presented in Panel B of                                                                                             is a trade that executes at a price lower than a
                                                 table 4 are multiplied by the corresponding dollar                        in form ATS–N, ATSs generally do not                                protected bid or higher than a protected offer. The
                                                 volume of trade in transactions priced less than                          provide rebates, and when transaction                               NBBO is set by the best protected bid and offer;
                                                 $1.00 per share to compute the total access fees                          fees are explicitly discussed, they are                             therefore, a trade that executes outside the NBBO
                                                 collected and rebates distributed for this volume.                        often in the range of 10 mils.1118                                  is a ‘‘trade-through.’’ If an exchange does not have
                                                 The figures are summed together to provide the                                                                                                a limit order at the best quote, then it cannot
                                                 estimates of total access fees collected and rebates                                                                                          execute against an incoming marketable order;
                                                 distributed.                                                              to provide the estimates of total access fees                       rather the exchange would generally need to cancel
                                                    1115 This estimate presumes that for shares                            collected and rebates distributed.                                  the order or route it to another exchange with the
                                                                                                                              1116 IntelligentCross ATS, for example, offers
                                                 transacted in prices equal to or greater than $1.00                                                                                           best quote. The routing of marketable orders is
                                                 per share on maker-taker venues the liquidity                             matching processes for all NMS stocks eligible for                  prevalent. A recently published academic article
                                                 demander pays a 30 mil access fee and the liquidity                       trading, and disseminates bids and offers in real-                  finds that 34% of market orders sent to the NYSE
                                                 provider receives a 28 mil rebate. On inverted                            time to subscribers to the ATS’s proprietary data                   in 2010–11 are routed. See Sida Li et.al., Refusing
                                                 exchanges the opposite occurs. On IEX it is                               feed, but these are not protected quotes. See                       the Best Price? 2 J. FIN. ECON. 147 (February 2023).
                                                 presumed that liquidity demanders pay an 8 mil                            IntelligentCross, Form ATS–N, Item 15 (Display)                     For example, suppose two liquidity providers want
                                                 access fee and liquidity providers receive no rebate.                     (dated Apr. 11, 2022) available at https://                         to sell a share in exchange for $10.002, net of fees
                                                 For trading in sub $1.00 transactions the various                         www.sec.gov/Archives/edgar/data/1708826/                            and rebates. Suppose the first seller posts at
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                                                 access fees and rebates for liquidity suppliers and                       000170882622000002/xslATS-N_X01/primary_                            exchange X, which offers a 30mil rebate, while the
                                                 demanders are computed by taking the respective                           doc.xml.                                                            second seller posts at exchange Y, which offers a
                                                                                                                              1117 See FINRA, ATS Transparency Data
                                                 fees and rebates for sub $1.00 transactions for each                                                                                          10mil rebate. The seller on exchange X is willing
                                                 exchange presented in Panel B of table 4 and                              Quarterly Statistics, available at https://                         to quote at $10.00 to receive a net price of $10.003,
                                                 multiplying them by the corresponding dollar                              www.finra.org/filing-reporting/otc-transparency/ats-                while the seller on Y is not willing to quote at
                                                 volume of trade in transactions priced less than                          quarterly-statistics.                                               $10.00 because the net price would be only
                                                 $1.00 to compute the total access fees collected and                         1118 See infra note 1442 for commenter discussion                $10.001—the seller on Y must quote at $10.01. Rule
                                                 rebates distributed for liquidity-providing and                           on ATS transaction fees. See also IEX Letter VI at                  611 will therefore direct marketable orders to the
                                                 demanding trades. The figures are summed together                         5 for additional analysis supporting the conclusion                 lower quoted price at exchange X.



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                                                 VII.B.3, a liquidity provider is generally               can be used to achieve intra-tick                        priority-ranked based on even penny
                                                 indifferent between receiving                            pricing.1127 Specifically, the net price of              ticks) but where an order could provide
                                                 compensation in the form of a rebate or                  a trade is the quoted price adjusted for                 sub-penny price improvement if
                                                 in the form of a quoted spread, implying                 exchange fees and rebates; the quoted                    matched to a marketable order from a
                                                 that an exchange can use rebates to                      price is constrained by the tick, but the                counterparty that met certain objective
                                                 induce quoting lower spreads, and                        net price can be between ticks.1128 To                   conditions (such as being sourced from
                                                 hence the best prices.1121 The exchange                  the extent that intra-tick pricing on                    a retail customer).’’ 1132 The commenter
                                                 can fund the rebate with an access fee                   inverted venues is a solution to the                     proceeded to describe a second novel
                                                 charged to the liquidity demander,                       quoted price being constrained by the                    order type that could allow for sub-
                                                 relying on Rule 611 to reduce the loss                   tick, it is a costly one. First, quote                   penny price improvement through
                                                 of liquidity demanding customers that                    protection applies to the quoted bid or                  reduced access fees for retail
                                                 would otherwise occur from such an                       ask, not the net cost, implying that                     investors.1133 The order types the
                                                 increase in prices.1122 The exchanges                    routing a market order to an inverted                    commenter lists as examples appear to
                                                 profit from the difference between the                   venue runs the risk of the order being                   solve for the specific problem of retail
                                                 access fees collected and the rebates                    routed elsewhere if the inverted venue                   investors achieving price improvement
                                                 paid. Were exchanges to unilaterally                     is not at the NBBO. Research shows that                  on exchange, a solution that already
                                                 lower their access fees and rebates                      inverted venues are less likely to be at                 exists through RLPs (though which do
                                                 (without other exchanges making                          the NBBO, a result that follows from                     not have significant volume).1134 It is
                                                 similar changes), liquidity providers                    revenue from rebates and from spreads                    possible that a new order type designed
                                                 would likely route their orders to                       being interchangeable assuming the                       to mitigate this problem might not work
                                                 another exchange.1123 Notably, research                  market participant receives both.1129 As                 as intended. In contrast, allowing for
                                                 surrounding a Nasdaq experiment                          explained in section VII.D.1.b.ii, this                  more ticks in certain stocks as the
                                                 where it unilaterally lowered fees and                   leads to delays and increased cost.                      Commission is adopting is a more
                                                 rebates found that Nasdaq lost market                       Second, the existence of inverted                     straightforward and predictable way of
                                                 share to other maker-taker venues with                   venues fragments liquidity compared to                   achieving the same ends without
                                                 a higher rebate.1124 Table 4 also shows                  the situation where an exchange is able                  requiring the need for order types
                                                 that even the maximum rebates are close                  to offer orders to be placed at multiple                 designed to allow for sub-tick
                                                 to the access fees; doing otherwise                      prices within the quoted spread. One                     executions on exchanges.
                                                 would likely be unprofitable or                          commenter agreed when discussing
                                                                                                          inverted venues, stating that: ‘‘different               3. Round Lots, Odd-Lots, and Market
                                                 risky.1125
                                                    As discussed in the Proposing                         exchanges are optimal to use for                         Data Infrastructure
                                                 Release, and as table 4 shows, the                       different prices within the penny, which                    Currently, information on odd-lot
                                                 NYSE, Nasdaq, and Cboe exchange                          is a recipe for artificial fragmentation, a              quotes inside the NBBO is available
                                                 families each operate both a maker-taker                 confusing paper trail, and overall excess                only to investors who subscribe to
                                                 venue as well as an inverted venue,1126                  complexity. Excess complexity, in turn,                  proprietary data feeds, and
                                                 Commenters state that inverted venues                    is a recipe for excess rents, agency                     comprehensive odd-lot information is
                                                                                                          conflict and distrust.’’ 1130                            only available to market participants
                                                    1121 See Proposing Release, supra note 11, at            Lastly, one commenter stated that                     who subscribe to the proprietary data
                                                 80305 (‘‘the NBBO restricts the routing behavior of      exchanges could circumvent barriers                      feeds of all the exchanges. The
                                                 marketable orders and often forces liquidity                                                                      implementation of the MDI Rules will
                                                 demanders to pay the access fee to trade against a
                                                                                                          associated with the tick size and access
                                                 NBBO order. Exchanges are thus incentivized to           fees through innovation, such as new                     include odd-lot information inside the
                                                 attract more competitively priced liquidity with         order types.1131 The commenter stated                    NBBO.1135 The MDI Rules also defined
                                                 large rebates, which are funded by similarly large       that: ‘‘Lastly, if the tick size were really             a round lot, which previously had not
                                                 access fees, in order to capture more trading                                                                     been defined in a Commission rule.
                                                 volume’’). The high rebate allows the liquidity
                                                                                                          a significant barrier to competition for
                                                 supplier to offer a better quoted price—i.e., a higher   exchanges, they could innovate                           Specifically, the MDI Rules establish a
                                                 bid or a lower offer—because the liquidity supplier      solutions to solve for this. For example,                uniform round lot size of 100 shares for
                                                 only cares about the total proceeds from the sale        exchanges could develop an order type                    stocks priced $250 or less; 40 shares for
                                                 (the liquidity supplier does not care whether the
                                                 proceeds take the form of a rebate).
                                                                                                          that functions within the current                        stocks priced greater than $250 and less
                                                    1122 That is, the need to execute against the         structure (limit order pricing and                       than or equal to $1,000; 10 shares for
                                                 protected quote first, before executing at other                                                                  stocks priced greater than $1,000 and
                                                 prices, would maintain a strong incentive for               1127 See Larry Harris, Quarter Penny Tick             less than or equal to $10,000; finally, 1
                                                 broker-dealers to route orders to the exchange, even     (working paper, Mar. 9, 2022) attached to Letter         share for stocks priced greater than
                                                 in the face of high access fees.                         from Larry Harris (‘‘Quarter Penny Tick’’).
                                                    1123 See Proposing Release, supra note 11, at            1128 Suppose an exchange family operates both a
                                                                                                                                                                   $10,000. These amendments modify the
                                                 80305 n.457.                                             maker-taker venue and an inverted venue; further         round lot definitions set by the MDI
                                                    1124 See id.; see also Yiping Lin, et al., A Model    suppose that the maker-taker venue offers a 30mil        Rules by changing the evaluation period
                                                 of Maker-Taker Fees and Quasi-Natural                    rebate to liquidity suppliers, while the inverted        in which a stock’s share price is
                                                 Experimental Evidence (working paper Feb. 8,             venue charges a 30mil fee to liquidity suppliers.        measured. The MDI Adopting Release
                                                 2021), available at https://ssrn.com/                    Liquidity suppliers would therefore be able to
                                                 abstract=3279712 (retrieved from SSRN Elsevier           transact at two different net prices within the tick—    defined round lots based on the stock’s
                                                 database). Consequently, it could be harmful to an       e.g., the liquidity supplier could offer to sell at      average price in the preceding month—
                                                 exchange to unilaterally reduce access fees and          $10.00 on the maker-taker venue, which would             i.e., a stock’s round lot was updated
                                                 their associated rebates if other exchanges do not       result in a net price of $10.003; or the liquidity       every month based on the most recent
                                                 follow suit. Further, even if each of the exchanges      supplier could offer to sell at $10.00 on the inverted
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                                                 lowered its fees, there would be the risk that a new     venue to net $9.997. The variation in fee schedules      month’s data. These amendments
                                                 exchange would see the opportunity and enter the         across the venues therefore allows for intra-tick
                                                 market with high fees and rebates and thus capture       pricing. See also supra section VII.C.2.b for a            1132 See id.

                                                 market share, inducing the other exchanges to            discussion of current state of the fees and rebates        1133 See id.

                                                 abandon their low fee models to remain                   and the variation in pricing structure across              1134 See supra section VII.C.1.a for further
                                                 competitive.                                             exchanges.                                               discussion of exchange RLP programs.
                                                    1125 See discussion in section VII.D.2.b.                1129 See IEX Letter I at 14.                            1135 See supra section VI.C and section V.E for
                                                    1126 See Proposing Release, supra note 11, at            1130 See Budish Letter at 4.
                                                                                                                                                                   discussions on the expected time of the
                                                 80313.                                                      1131 See Virtu Letter II at 23.                       implementation of the MDI Rules.



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                                                 update round lots every six months,                       The following discussion reflects the                 information asymmetries between
                                                 with the round lot determined by the                    Commission’s assessment of the                          investors who currently have access to
                                                 stock’s average price with a one-month                  anticipated economic effects of the MDI                 odd-lot information through proprietary
                                                 lag—i.e., a stock’s round lot is updated                Rules described in the MDI Adopting                     data feeds and those who do not,
                                                 in May of every year using its average                  Release as they relate to the baseline for              leading to better order execution and
                                                 stock price in March, and the round lot                 the adoption of these amendments.1143                   price efficiency.1151 Providing an
                                                 is updated again in November using its                  The MDI Rules are part of the regulatory                alternative to proprietary data for some
                                                 average stock price in September.                       baseline for this rule because they have                market participants will allow these
                                                    In the MDI Adopting Release, the                     been adopted. Given that the MDI Rules                  market participants to reduce data
                                                 Commission established a transition                     have not yet been implemented, they                     expenses required for trading.1152 The
                                                 period for the implementation of the                    have not affected market practice and                   costs of including odd-lot information
                                                 MDI Rules.1136 The Commission’s                         therefore data that would be required for               inside the NBBO include: 1153 the cost of
                                                 approval of the MDI Plan Amendments                     a quantitative analysis of a baseline that              upgrading existing infrastructure and
                                                 will be the starting point for the rest of              includes the effects of the MDI Rules is                software to handle the dissemination of
                                                 the MDI implementation schedule.1137                    not available. It is possible that the                  additional core data message traffic; the
                                                 After approval of the MDI Plan                          baseline for this rule, and therefore the               cost to SROs to implement system
                                                 Amendments, the next step will be a                     economic effects relative to the baseline,              changes required in order to make
                                                 180-day development period, during                      could be different depending on how                     regulatory data and other data needed to
                                                 which competing consolidators can                       the MDI Rules are implemented.1144                      generate consolidated market data
                                                 register with the Commission.1138 Based                   When adopting the MDI Rules, the                      available to competing consolidators;
                                                 on the times provided in the transition                 Commission enumerated numerous                          the cost of technological investments
                                                 plan for implementation of the MDI                      economic effects specifically related to                market participants might have to make
                                                 Rules, the Commission estimated that                    changing the round lot definition and                   in order to receive the new core message
                                                 the full implementation of the MDI                      including odd-lot information as a part                 traffic; and the cost to users of
                                                 Rules will be at least two years after the              of core data. For the change in the                     proprietary data whose information
                                                 Commission’s approval of the plan                       definition of round lots, these effects                 advantage will dissipate somewhat.1154
                                                 amendment(s) required by Rule                           included: (1) a mechanically tighter                       The MDI Rules do not require the
                                                 614(e).1139                                             NBBO for higher priced stocks due to                    competing consolidators to disseminate
                                                                                                         the redefinition of the round lot                       odd-lot information. However, the
                                                    The Operating Committees of the                      sizes,1145 (2) increased transparency and
                                                 CTA/CQ Plan and UTP Plan filed the                                                                              Commission estimated that at least one
                                                                                                         better order execution,1146 and (3)                     competing consolidator will
                                                 MDI Plan Amendments on November 5,                      potentially more orders for high priced
                                                 2021.1140 The Commission disapproved                                                                            disseminate the odd-lot information
                                                                                                         stocks being routed to exchanges instead                because the Commission believed that
                                                 the proposed amendments on                              of ATSs.1147 The costs of changing the
                                                 September 21, 2022.1141 As a result, the                                                                        there will be demand for the data.1155
                                                                                                         round lot definition included upgrading
                                                 participants to the effective national                  systems to account for additional                       4. Affected Entities and Markets
                                                 market system plan(s) will need to                      message traffic, and modifying and
                                                 develop and file new proposed                           reprogramming systems.1148 The                             The amendments will affect trading in
                                                 amendments as required by Rule                          Commission also discussed the                           NMS stocks, particularly either on
                                                 614(e),1142 before the implementation                   expected effect that changing the round                 exchanges that charge high access fees
                                                 period prescribed by the phased                         lot definition will have on other rules                 or in stocks with lower quoted spreads,
                                                 transition plan can commence. Because                   and regulations.1149                                    many odd-lots inside the spread, or
                                                 the implementation of the MDI Rules                       For the inclusion of odd-lot                          higher prices. Therefore, the
                                                 has been delayed, the end date of the                   information inside the NBBO in core                     amendments will affect a wide variety
                                                 implementation period cannot be                         data,1150 these effects include reducing                of market participants, including
                                                 estimated with certainty.                                                                                       national securities exchanges, other
                                                                                                            1143 See MDI Adopting Release, supra note 10, at     trading venues, exclusive SIPs and their
                                                   1136 See MDI Adopting Release, supra note 10, at      18741–18799.                                            data users, any future competing
                                                 18698–18701.                                               1144 Commission staff will review and study the      consolidators, broker-dealers operating
                                                   1137 See id. at 18698.                                effects of the amendments adopted herein. See the       order entry and order routing systems,
                                                   1138 See id. at 18699–18700.                          introduction to section VII.D.
                                                                                                            1145 See MDI Adopting Release, supra note 10, at
                                                                                                                                                                 and others who engage in the trading of
                                                   1139 See id. at 18700–18701.
                                                   1140 The Operating Committees of CTA Plan and         18743 for the full discussion of the effect of          NMS stocks, including investors.1156
                                                 UTP Plan filed proposed amendments on Nov. 5,           changing the round lot size on the NBBO.
                                                                                                            1146 See MDI Adopting Release, supra note 10, at       1151 Id.
                                                 2021, which were published for comment in the
                                                 Federal Register. See Securities Exchange Act           18744, 18747 for the full discussion of the effect of     1152 Id.

                                                 Release Nos. 93615 (Nov. 19, 2021), 86 FR 67800         changing the round lot size on transparency and           1153 See MDI Adopting Release, supra note 10, at

                                                 (Nov. 29, 2021); 93625 (Nov. 19, 2021), 86 FR 67517     execution quality.                                      18759 for the full discussion of the costs associated
                                                                                                            1147 See MDI Adopting Release, supra note 10, at     with expanding core data to include odd-lot
                                                 (Nov. 26, 2021); 93620 (Nov. 19, 2021), 86 FR 67541
                                                 (Nov. 26, 2021); 93618 (Nov. 19, 2021), 86 FR 67562     18747 for the full discussion of the effect of          information inside the NBBO.
                                                 (Nov. 26, 2021).                                        changing the round lot size on exchange                   1154 Id.
                                                   1141 See Securities Exchange Act Release Nos.         competition and order routing.                            1155 See MDI Adopting Release, supra note 10, at
                                                                                                            1148 See MDI Adopting Release, supra note 10, at
                                                 95848 (Sept. 21, 2022), 87 FR 58544 (Sept. 27,                                                                  18752 n.1945 and surrounding text.
                                                 2022); 95849 (Sept. 21, 2022), 87 FR 58592 (Sept.       18748 for the full discussion of the expected costs       1156 According to the 2022 Survey of Consumer
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                                                 27, 2022); 95850 (Sept. 21, 2022), 87 FR 58560          of changing the round lot size.                         Finances, available at https://www.federal
                                                 (Sept. 27, 2022); 95851 (Sept. 21, 2022), 87 FR            1149 See MDI Adopting Release, supra note 10, at
                                                                                                                                                                 reserve.gov/econres/scfindex.htm?mod=article_
                                                 58613 (Sept. 27, 2022).                                 18749 for the full discussion of the effect of          inline, out of a total number of households of
                                                   1142 The Commission ordered the exchanges and         changing the round lot size on other rules and          approximately 131,000,000, 58% invested in
                                                 FINRA to file a new plan regarding consolidated         regulations.                                            equities in some fashion (e.g., held stock directly,
                                                 market data on Sept. 1, 2023. On Jan. 19, 2024, the        1150 See MDI Adopting Release, supra note 10, at     invested in a stock mutual fund, etc.). Bd Gov. Fed.
                                                 Commission published notice of filing of a National     18753 for the full discussion of the effect of          Res., Changes in U.S. Family Finances from 2019
                                                 Market System Plan for Consolidated Equity Market       including odd-lot information inside the NBBO in        to 2022: Evidence from the Survey of Consumer
                                                 Data. See supra note 78.                                its definition of core data.                            Finances (Oct. 2023) at 19, available at



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                                                    There are 16 national securities                     collection, consolidation, estimation,                    837 broker-dealers that originated NMS
                                                 exchanges on which NMS stocks are                       and dissemination of these data.1159 The                  stocks orders on behalf of institutional
                                                 traded that will be affected by the                     volume of data to be processed through                    investors.1163 Institutional investor
                                                 amendments. The exchanges compete                       these competing consolidators will be                     orders are typically ‘‘not held’’ orders,
                                                 with each other and other trading                       greater than that currently processed                     which provides the broker-dealer with
                                                 venues to attract order flow. Exchanges                 through exclusive SIPs, but competing                     more time and price discretion to
                                                 compete by setting the rules that dictate               consolidators will have flexibility to                    execute the order or to minimize price
                                                 how orders routed to them interact                      design data products tailored to                          impact.1164 In contrast, broker-dealers
                                                 given the broader requirements of the                   different user types. In addition to the                  must attempt to execute a marketable
                                                 Exchange Act and rules thereunder.                      exclusive SIPs, the exchanges also                        held order immediately; these orders
                                                 Such rules are coded into the systems of                disseminate market data to paying                         better suit retail investors because retail
                                                 exchanges that match buy and sell                       subscribers via proprietary data feeds.                   orders typically have much lower price
                                                 orders. Exchanges also compete via their                Some of these proprietary data feeds                      impact, which reduces the need for
                                                 services and fee structures; they                       provide more data than the exclusive                      discretion in order handling.1165
                                                 differentiate themselves with the access                SIPs and are provided at a lower                          Brokers-dealers serving individual
                                                 fees they charge or the rebates they pay                latency; however, the proprietary feeds                   investors often distinguish themselves
                                                 out for particular order types, as well as              are limited to individual exchanges                       by the customer service and financial
                                                 their data and connectivity options.1157                while the SIPs contain consolidated                       advice they provide and the
                                                 A subset of national securities                         data across all exchanges and also                        accessibility and functionality of their
                                                 exchanges, the five listing exchanges,                  contain all off-exchange trades.1160                      trading platforms.
                                                 also compete to attract stock listings by               Following the transition to a competing                      Many broker-dealers that handle
                                                 setting rules for listing standards for                 consolidator model for market data, the                   customer accounts do not directly
                                                 securities. The listing exchanges are also              Commission expects total fees for                         access national securities exchanges or
                                                 responsible for tracking certain                        market data are likely to decline.1161                    ATSs for their orders. They use other
                                                 regulatory information regarding their                     Broker-dealers typically route their                   broker-dealers to facilitate market access
                                                 listed stocks.                                          own orders or their customers’ orders                     for them through those broker-dealers’
                                                    Other trading venues, including 33                   for execution to trading venues. There                    order entry systems. The Commission
                                                 ATSs and 238 other FINRA members,                       were 3,494 registered broker-dealers as                   estimates that there are 1,161 broker-
                                                 including OTC market makers, also                       of Q2 2023.1162 A portion of these                        dealers with order entry systems that
                                                 compete with exchanges and each other                   broker-dealers focus their business on                    originate orders in NMS stocks in the
                                                 to attract order flow in NMS stocks and                 individual and/or institutional investors                 minimum pricing increments; the
                                                 can route orders to the various trading                 in the market for NMS stocks.                             amendments to Rule 612 may require
                                                 venues. The order flow they attract                     According to CAT data, as of the end of                   changes to these order entry
                                                 depends on a number of factors such as                  2022, there were approximately 1,006                      systems.1166 Of these broker-dealers, an
                                                 fees and price improvement over the                     registered broker-dealers that originated                 estimated 270 broker-dealers operate
                                                 NBBO, services such as order display                    NMS stock orders on behalf of                             smart order routers to facilitate order
                                                 features, segmentation of subscriber                    individual investors and approximately                    routing.1167
                                                 order flow and the ability of subscribers
                                                 to select which category of order flow to                  1159 While the Commission is uncertain about the       5. Amendments to Rule 605
                                                 interact with, among other aspects of                   number of competing consolidators that will enter
                                                                                                         the market when exclusive the SIPs are retired, the          Several commenters requested the
                                                 execution quality.                                      Commission believes that the most likely outcome          Commission consider interactions
                                                    Pending the full implementation of                   is three or more competing consolidators with at          between the economic effects of these
                                                 the MDI Rules, the market for market                    least one competing consolidator that is not              proposed amendments and the
                                                 data is serviced by the two exclusive                   affiliated with one of the exchanges currently
                                                                                                         operating the exclusive SIPs or an exchange that has      proposed amendments to Rule 605.1168
                                                 SIPs and exchange proprietary feeds.                    sufficient proprietary data revenue that would            The amendments to Rule 605 were not
                                                 The two exclusive SIPs collect trade,                   create conflicting profit incentives. See MDI             included as part of the baseline in the
                                                 quote, and regulatory data from the 16                  Adopting Release, supra note 10, at 18768–72 for
                                                 exchanges and three trade reporting                     further discussion on the number of competing                1163 Customer accounts are identified in CAT as
                                                                                                         consolidators that may enter the market.
                                                 facilities,1158 consolidate the data,                      1160 See supra note 862 and infra note 1780 and        accounts belonging to either the ‘‘Institutional
                                                 determine an NBBO, and disseminate                                                                                Customer’’ account type, defined as accounts that
                                                                                                         associated text for a further discussion on the
                                                                                                                                                                   meet the definition in FINRA Rule 4512(c), or the
                                                 those data directly to users or through                 nature of proprietary data feeds.
                                                                                                                                                                   ‘‘Individual Customer’’ account holder type,
                                                 vendors and broker-dealers. The                            1161 See MDI Adopting Release, supra note 10, at
                                                                                                                                                                   defined as accounts that do not meet the definition
                                                 exclusive SIPs can also collect                         18772–78.
                                                                                                                                                                   of FINRA Rule 4512(c) and are also not a
                                                                                                            1162 Based on information from broker-dealers’ Q2
                                                 information from the alternative display                                                                          proprietary account.
                                                                                                         2023 FOCUS Report Form X–17A–5 Schedule I.                   1164 See Securities Exchange Act Release No.
                                                 facility (‘‘ADF’’) operated by FINRA,                   This includes both carrying broker-dealers, who
                                                                                                                                                                   84528 (Nov. 2, 2018), 83 FR 58338 (Nov. 19, 2018)
                                                 though no one currently uses the ADF                    maintain custody of customer funds and securities,
                                                                                                                                                                   (adopting new order handling disclosure
                                                 to display quotes. Upon full                            and introducing broker-dealers, who accept
                                                                                                                                                                   requirements) at nn.59–60 and corresponding text.
                                                                                                         customer orders and introduce their customers to a
                                                 implementation of the MDI Rules, the                    carrying broker-dealer that will hold the customers’
                                                                                                                                                                      1165 FINRA’s best execution obligation requires

                                                 exclusive SIPs will be retired, and an                  securities and cash. In addition, the Commission          that, ‘‘A member must make every effort to execute
                                                                                                                                                                   a marketable customer order that it receives fully
                                                 unknown number of competing                             acknowledges that the total number of broker-
                                                                                                                                                                   and promptly.’’ See FINRA Rule 5310 (Best
                                                 consolidators will take over the                        dealers is likely to increase as a result of the recent
                                                                                                         Dealer Adopting Release. The Dealer Adopting              Execution and Interpositioning), Supplementary
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                                                                                                         Release adopted new rules to further define the           Material para. .01, available at https://
                                                 financeshttps://www.federalreserve.gov/                 phrase ‘‘as a part of a regular business’’ as used in     www.finra.org/rules-guidance/rulebooks/finra-
                                                 publications/files/scf23.pdf.                           the statutory definitions of ‘‘dealer’’ and               rules/5310 (accessed Jun. 18, 2024).
                                                    1157 Exchanges can also facilitate the routing of                                                                 1166 See infra note 1656.
                                                                                                         ‘‘government securities dealer.’’ The Dealer
                                                 orders to other exchanges.                              Adopting Release estimated that up to 43 entities            1167 See infra note 1660.
                                                    1158 Trade Reporting Facilities (TRFs) are           may be required to register with the Commission as           1168 See, e.g., SIFMA Letter II; Virtu Letter II;

                                                 facilities through which FINRA members report off-      a dealer or government securities dealer, which           Citadel Letter I; Equity Market Structure Citadel
                                                 exchange transactions in NMS stocks, as defined in      would increase the total number of broker-dealers         Letter; Citadel Letter II. See also Rule 605 Proposal,
                                                 SEC Rule 600(b)(47) of Regulation NMS.                  affected by the amendments.                               supra note 117.



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                                                 Proposing Release because they were                     the best available displayed price,                      NMLO share volume is submitted with
                                                 not adopted at that time. The                           which incorporates information about                     IOC designations as compared to other
                                                 Commission amended Rule 605 on                          the best priced odd-lot orders, in                       NMLOs, confirming that many of these
                                                 March 6, 2024,1169 and the requirements                 addition to the preexisting requirement                  orders are submitted by traders with the
                                                 of that rule are part of the baseline                   to report price improvement statistics                   intention of executing immediately
                                                 considered here. With certain                           relative to the NBBO.1176 The Rule 605                   against hidden or odd-lot inside-the-
                                                 exceptions, the amendments to Rule 605                  Amendments acknowledged that, while                      quote liquidity, and that these orders
                                                 have a compliance date of Dec. 14,                      under the MDI Rules odd-lot                              tend to have different execution
                                                 2025,1170 which is after the compliance                 information will include pricing                         characteristics than other types of
                                                 dates of the amendments made by this                    information about odd-lots priced better                 NMLOs.1180 Therefore, the Commission
                                                 adopting release. The following                         than the NBBO,1177 the MDI Rules have                    stated that market participants will
                                                 discussion reflects the Commission’s                    been approved but not yet implemented,                   benefit from an increase in transparency
                                                 assessment of the anticipated economic                  and thus this information is not yet                     by the separate reporting of these orders,
                                                 effects of the amendments to Rule 605                   available. Therefore, the Commission                     along with the required reporting of
                                                 described in the Rule 605 Amendments                    stated that Rule 605’s price                             certain execution quality statistics that
                                                 as they relate to the baseline for the                  improvement statistics that are relative                 measure the cost of executing
                                                 adoption of these amendments. Specific                  to the best available displayed price will               immediately, such as effective
                                                 interactions between the expected                       not be required to be reported until six                 spreads.1181
                                                 economic effects of the amendments to                   months after odd-lot order information                      Third, the amendments to Rule 605
                                                 Rule 605 and those of rules adopted                     needed to calculate the best available                   require the reporting of information
                                                 herein will be discussed in detail in a                 displayed price is made available                        regarding the extent to which orders
                                                 later section.1171                                      pursuant to an effective national market                 received an execution at prices at or
                                                    Rule 605 requires disclosures for                    system plan.1178                                         better than the quote for share quantities
                                                 order executions in NMS stocks.1172 The                    Second, the amendments to Rule 605                    greater than the displayed size at the
                                                 Rule 605 amendments modified                            require the separate reporting of non-                   quote, i.e., ‘‘size improvement.’’ This
                                                 reporting requirements in several ways.                 marketable limit orders that are priced                  information includes (1) a benchmark
                                                 First, the amendments expanded the                      at the midpoint of the NBBO or better                    metric that measures the displayed size
                                                 scope of reporting entities subject to the              (‘‘midpoint-or-better NMLOs’’), and                      at the time of order receipt, which can
                                                 rule to includelarger-broker-dealers 1173               additionally requires the reporting of                   then be compared to the number of
                                                 in addition to market centers.1174 The                  information about the price                              submitted shares to determine the
                                                 amendments also enhanced the                            improvement offered to these orders.1179                 extent to which a trading venue handled
                                                 accessibility of the reported execution                 An analysis by the Commission in the                     orders that outsized available displayed
                                                 quality statistics by requiring all                     Rule 605 Amendments indicates that a                     depth,1182 and (2) for orders that
                                                 reporting entities to make a summary                    high percentage of midpoint-or-better                    outsized available displayed depth, the
                                                 report available.1175                                                                                            number of shares that received size
                                                    The Rule 605 Amendments also                            1176 See 17 CFR 242.600(b)(14) (defining the ‘‘best   improvement.1183
                                                 included amendments to the                              available displayed price’’ as, with respect to an          The amendments to Rule 605 also
                                                 information required to be reported                     order to buy, the lower of: the national best offer      modified the definition of order size
                                                 under Rule 605, some of which are                       at the time of order receipt or the price of the best    categories from order size categories
                                                                                                         odd-lot order to sell at the time of order receipt as
                                                 expected to be relevant to the                          disseminated pursuant to an effective transaction
                                                                                                                                                                  based on numbers of shares, with orders
                                                 amendments to this Rule. First, the                     reporting plan or effective national market system       less than 100 shares excluded, to order
                                                 amendments to Rule 605 added                            plan; and, with respect to an order to sell, the         size categories based on a notional
                                                 requirements related to the reporting of                higher of: the national best bid at the time of order    dollar value range, along with an
                                                 price improvement statistics relative to                receipt or the price of the best odd-lot order to buy
                                                                                                         at the time of order receipt as disseminated
                                                                                                                                                                  indication that the category reflects
                                                                                                         pursuant to an effective transaction reporting plan      orders that were for an odd-lot, a round
                                                   1169 See Rule 605 Amendments, supra note 10.
                                                                                                         or effective national market system plan. With           lot, or less than a share.1184 The
                                                    1170 See supra note 1044. As an exception, after     respect to a midpoint-or-better limit order, the best    Commission stated in the Rule 605
                                                 odd-lot order information sufficient to calculate       available displayed price shall be determined at the
                                                 best available displayed price is made available        time such order becomes executable rather than the
                                                                                                                                                                  Amendments that one of the benefits of
                                                 pursuant to an effective NMS plan, market centers,      time of order receipt) and 17 CFR
                                                 brokers and dealers will have six months to begin                                                                   1180 See Rule 605 Amendments, supra note 10, at
                                                                                                         242.605(a)(1)(ii)(M) through (Q).
                                                 including price improvement statistics relative to         1177 See MDI Adopting Release, supra note 10, at      26528.
                                                 best available displayed price in their Rule 605        18753.                                                      1181 See Rule 605 Amendments, supra note 10, at
                                                 reports. See Rule 605 Amendments, supra note 10,           1178 In the Rule 605 Amendments, the                  26556–26557, 26568.
                                                 at 26497.                                               Commission acknowledged that it was still                   1182 See 17 CFR 242.600(b)(72) (defining the
                                                    1171 See infra section VII.E.6.a; see also supra
                                                                                                         considering the proposed changes discussed in the        ‘‘order size benchmark’’) and 17 CFR
                                                 section II.                                             Proposing Release and adopted herein, including          242.605(a)(1)(ii)(R).
                                                    1172 17 CFR 242.605.
                                                                                                         accelerating the implementation of the round lot            1183 See 17 CFR 242.605(a)(1)(ii)(S), requiring the
                                                    1173 The term ‘‘larger broker-dealer’’ refers to a
                                                                                                         and odd-lot information definitions contained in         reporting of ‘‘the sum of, for each execution of a
                                                 broker-dealer that meets or exceeds the ‘‘customer      the MDI Release and amending the definition of           covered order, the greater of: the total number of
                                                 account threshold,’’ as defined in Rule 605(a)(7) as    odd-lot information to include a new data element        shares executed with price improvement plus the
                                                 broker-dealers that carry or introduce orders on        for the best available odd-lot orders available in the   total number of shares executed at the quote minus
                                                 behalf of 100,000 or more customer accounts             market. In the Rule 605 Amendments the                   the order size benchmark, or zero.’’ The ‘‘total
                                                 through which transactions are affected for the         Commission stated that, if it determined to adopt        number of shares executed with price improvement
                                                 purchase sale of NMS stocks. See Rule 605               an amendment to the definition of odd-lot                plus the total number of shares executed at the
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                                                 Amendments, supra note 10, at 26428 n.61; 17 CFR        information to include a data element that identifies    quote minus the order size benchmark’’ (‘‘net size
                                                 242.605(a)(7).                                          the best odd-lot orders available in the market,         improvement’’) will only be a strictly positive
                                                    1174 Regulation NMS defines the term ‘‘market        reporting entities would be required to use such         number for those orders that are both eligible to
                                                 center’’ to mean any exchange market maker, OTC         information to determine the best available odd-lot      receive size improvement and actually receive size
                                                 market maker, ATS, national securities exchange, or     price. See Rule 605 Amendments, supra note 10, at        improvement, and thus is equivalent to a measure
                                                 national securities association. See 17 CFR             26428 n.719.                                             of shares that are eligible to and that received size
                                                 242.600(b)(55).                                            1179 See 17 CFR 242.600(b)(57) (defining              improvement. See Rule 605 Amendments, supra
                                                    1175 See Rule 605 Amendments, supra note 10, at      ‘‘midpoint-or-better orders’’) and 17 CFR                note 10, at 26428 n.1544.
                                                 26428.                                                  242.605(a)(1)(ii).                                          1184 See 17 CFR 242.600(b)(18).




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                                                 this change is to ensure that round lots                could also lead to better order execution               one minimum pricing increment that is
                                                 for stocks with prices greater than $250                by enhancing benchmarking. The                          less than $0.01, i.e., $0.005, for quotes
                                                 are not excluded from Rule 605 reports                  amendments will also impose                             and orders priced $1.00 or more for
                                                 following the change in round lot                       compliance costs on various market                      NMS stocks that have a TWAQS of
                                                 definition under the MDI Rules.1185                     participants.                                           $0.015 or less during the evaluation
                                                    In the Rule 605 Amendments, the                         The Commission continually                           period.1191 Hence, the amendments to
                                                 Commission stated that the amendments                   monitors the national market system                     Rule 612 will create a smaller tick size
                                                 to Rule 605 will promote increased                      and the operation of Federal securities                 for some NMS stocks.
                                                 transparency of order execution quality,                laws. As discussed above, the national
                                                                                                                                                                    The Commission expects that, on
                                                 particularly for larger broker-dealers                  market system continually changes and
                                                                                                                                                                 average, market quality will improve for
                                                 who were not required to disclose                       the Commission, consistent with its
                                                                                                                                                                 the stocks receiving the smaller tick
                                                 execution quality information under                     oversight of the national market system,
                                                                                                                                                                 size. A smaller tick has two competing
                                                 preexisting Rule 605, but also for market               will monitor the impact of the adopted
                                                                                                                                                                 effects on market quality. First, a
                                                 centers, whose execution quality                        rules. With regard to the amendments
                                                                                                                                                                 smaller tick leads to pricing that more
                                                 information will be more relevant and                   adopted herein, by May 2029 (three
                                                                                                                                                                 effectively balances liquidity supply
                                                 easier to access because of                             years from the last implementation
                                                                                                                                                                 and demand, limiting distortions, and
                                                 improvements to existing Rule 605                       date), Commission staff will review and
                                                 disclosure requirements.1186 The                                                                                thus lowering transaction costs. Second,
                                                                                                         study the effects of the amendments in
                                                 Commission stated in the Rule 605                                                                               a smaller tick fragments liquidity in the
                                                                                                         the national market system. Such a
                                                 Amendments that this increase in                                                                                order book into more price levels, which
                                                                                                         review and study might include, but
                                                 transparency is expected to increase the                                                                        can increase complexity associated with
                                                                                                         would not be limited to, an
                                                 extent to which market centers and                                                                              implementing trades, and increases the
                                                                                                         investigation of: (i) general market
                                                 broker-dealers compete on the basis of                                                                          incidence of pennying 1192—effects that
                                                                                                         quality and trading activity in reaction
                                                 execution quality, as well as                                                                                   can harm liquidity. A smaller tick can
                                                                                                         to the implementation of the variable
                                                 improvements in execution quality.1187                                                                          also increase message traffic which can
                                                                                                         tick size, (ii) the reaction of quoted
                                                 The Commission also stated that the                                                                             be costly for market participants. The
                                                                                                         spreads to the implementation of the
                                                 amendments to Rule 605 will result in                                                                           amendments will not change the tick for
                                                                                                         amended access fee cap, and (iii)
                                                 initial and ongoing compliance costs,                                                                           NMS stocks priced below $1.00, nor for
                                                                                                         changes to where market participants
                                                 the majority of which will be related to                                                                        stocks with time weighted average
                                                                                                         direct order flow, e.g., to exchange
                                                 expanding the scope of reporting                                                                                quoted spread always greater than
                                                                                                         versus off-exchange venues, following
                                                 entities to include larger broker-dealers,                                                                      $0.015 during an Evaluation Period and
                                                                                                         the implementation of the amendments.
                                                 but a significant portion of which will                    In studying the effect on market                     thus the tick size amendments are
                                                 result from the need for market centers                 quality, a number of different metrics                  expected to have minimal if any effect
                                                 to update their systems to process and                  could be examined including quoted,                     on the trading environment for these
                                                 store the data necessary to prepare the                 realized, and effective spreads;                        stocks.
                                                 amended reports.1188                                    cumulative depth from the midpoint                      a. Estimates of Percent of Trading
                                                                                                         across multiple price levels; and the                   Volume and Number of NMS Stocks
                                                 D. Benefits, Costs, and Other Economic
                                                                                                         cost of a round-trip trade for various                  Affected
                                                 Effects
                                                                                                         trade sizes.1189 In such analysis,
                                                    The Commission expects the adopted                   improvements in market quality for                         As discussed in section VII.C.1, prior
                                                 minimum quoting increment will                          stocks affected by Rule 612 would                       to these amendments, the tick size for
                                                 alleviate tick constraints and better                   correspond to reduced spreads                           orders in NMS stocks priced equal to or
                                                 allow prices to be determined by the                    (adjusting for fees or rebates) or a                    greater than $1.00 was $0.01, and the
                                                 forces of supply and demand, lowering                   reduced cost of a round-trip trade.1190                 tick size for orders in NMS stocks priced
                                                 transaction costs for investors. A lower                To isolate the effect of Rule 610, the                  less than $1.00 was and remains
                                                 access fee cap will further reduce the                  analysis might focus on those stocks not                $0.0001.1193 The amendments assign
                                                 transaction costs of liquidity demanders                directly affected by Rule 612. Such                     each NMS stock to one of two tick sizes:
                                                 in the predominant maker-taker                          analysis might focus on the effect of                   $0.005 or $0.01, depending on the
                                                 structure. Making fees and rebates                      Rule 610 on quoted spreads (e.g., to                    stock’s time weighted average quoted
                                                 determinable at the time of trade may                   examine how the quoted spread adjusts                   spread during an Evaluation Period
                                                 enhance broker-dealer order routing by                  in response to changes in fees and                      (specifically, assigning $0.005 for stocks
                                                 helping mitigate a potential conflict of                rebates), on whether Rule 610 leads to                  with a TWAQS of $0.015 or less).1194
                                                 interest and providing clarity in terms of              any change in effective spread off-                     Table 7 presents estimates of the
                                                 all in execution costs. Accelerating the                exchange (due to adjustments to on-                     amount of share and dollar trading
                                                 inclusion of odd-lot information into the               exchange quotes), and on any migration                  volume that would have been associated
                                                 exclusive SIPs, accelerating the                        of liquidity off-exchange.                              with the two tick sizes, as well as the
                                                 implementation of the round lot                                                                                 sub $1.00 tick size, based on 2023
                                                 definitions, and amending the definition                1. Modification of Rule 612 To Create a                 trading volumes. It also presents
                                                 of odd-lot information to include the                   Half-Penny Tick                                         estimates based on the Proposal which
                                                 best odd-lot order, will accelerate some                   The Commission is adopting                           would have reduced tick sizes for stocks
                                                 of the benefits of the MDI Rules, and                   amendments to Rule 612 that introduce                   with TWAQS of $0.040 or less.
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                                                   1185 See Rule 605 Amendments, supra note 10, at         1189 Compare table 8.                                   1191 See infra section III.C

                                                 26523.                                                    1190 One possible study design could focus on           1192 See supra section I.A.1 and note 994 for the
                                                   1186 Id. at 26543.
                                                                                                         stocks close to the TWAQS threshold. Comparing          definition and discussion of pennying.
                                                   1187 See Rule 605 Amendments, supra note 10, at       stocks with similar levels of liquidity ex ante would     1193 See supra section VII.C.1.a.
                                                 26543–26544.                                            better isolate the effect of the smaller tick size on     1194 See supra section III.C for further discussion.
                                                   1188 Id. at 26579–26580.                              market quality.



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                                                                          TABLE 7—ESTIMATED NUMBER OF STOCKS AND TRADING VOLUME IN EACH TICK SIZE GROUP a
                                                                                                                                                                                                     Number of        Estimated %          Estimated %
                                                                   Average quoted spread                                                                    Tick                                      stocks          share volume         dollar volume

                                                                                                                                                          All Stocks

                                                 Spread <= $0.015 ...........................................                 $0.005 ............................................................           1,788                 66.2                42.9
                                                 $0.015 < Spread .............................................                $0.01 ..............................................................          9,047                 33.8                57.1
                                                 Spread <= $0.04 .............................................                (Proposed Reduction to $0.005 or smaller) ...                                 4,333                 84.8                66.5

                                                                                                                                                          Price < $1

                                                  .........................................................................   $0.0001 ..........................................................            1,106                 12.3                  0.1
                                                    a In this table, quoted spreads, and thus tick sizes, are determined by computing the time weighted quoted spread during regular trading hours
                                                 as computed by the WRDS intra-day indicators for every sym_root and sym_suffix combination in the WRDS intra-day indicators dataset and tak-
                                                 ing the equal weighted average across all trading days in January–March 2023. Stocks with average quoted spreads less than $0.015 are as-
                                                 signed a $0.005 tick. All other stocks are assigned a $0.01 tick. A stock with a price less than $1.00 will still be assigned a tick size per the usual
                                                 process, which would be in force should the stock’s price rise above $1.00. As long as the stock’s price remains below $1.00 the $0.0001 tick
                                                 size would prevail. The designated tick size is applied to trading volume in May–October 2023 where share and dollar volume is obtained from
                                                 the universe of stocks in WRDS intra-day indicators. New stocks are given a tick size of $0.01. The number of stocks assigned to each group is
                                                 indicated in the Number of Stocks column and indicates the average number of stocks in each category (listings and de-listings can affect the
                                                 daily number of stocks trading as well as if a stock’s price falls below $1). If a stock has a VWAP of less than $1.00, then that stock, as well as
                                                 all of its trading volume for that day, is assigned to the $0.0001 tick size.
                                                    This estimate may be an upper bound. As discussed in section VII.B.3, supra and infra section VII.D.2, rebates can lower the quoted spread
                                                 (although not necessarily transaction costs). Thus, lowering the access fee, and thus the associated rebates, may lead to wider quoted spreads.
                                                 Because of this, some stocks may have quoted spreads that meet the threshold for the smaller tick size in the current environment but may not
                                                 meet that threshold once the access fee cap is reduced, leading to lower rebates offered. Additionally, all stocks, even those priced below $1.00,
                                                 will be assigned a tick size via the usual process. If a stock price falls below $1.00 the applicable tick size will be $0.0001. So not all stocks ini-
                                                 tially assigned the $0.005 tick size will trade differently than the baseline. This table differs from table 3 because table 3 is based on daily aver-
                                                 age TWAQs and does not attempt to analyze the effect of the adopted amendments.
                                                    Once implemented, the changes to the current arrangements for consolidated market data pursuant to the MDI Rules may impact the number
                                                 of stocks and their estimated percentage volumes anticipated for each tick level. In particular, under the MDI Rules, NMS stocks priced $250 or
                                                 more will receive reductions in round lot sizes which is anticipated to lower their quoted spreads; however, the effect on the reported numbers is
                                                 likely small both because these stocks make up less than 4% of share volume and because they are unlikely to have quoted spreads less than
                                                 $0.015. Based on an analysis of data from May–October 2023, the average quoted spread of a stock priced between $250 and $1,000 was
                                                 $0.71, far greater from the $0.015 that will trigger a smaller minimum increment. Similarly, for stocks priced between $1,000 and $10,000 the av-
                                                 erage quoted spread was $3.85 and the only stock that had a value weighted average price greater than $10,000 already has a round lot size of
                                                 one share and had an average quoted spread of $0.07.


                                                   Table 7 indicates that, had the                                             complexity concerns—which can harm                                    securities to ‘be priced more
                                                 amendments been in place in 2023,                                             market quality—and reducing pricing                                   aggressively within the spread.’ ’’ 1195
                                                 approximately 66% of share volume and                                         constraints—which can improve market                                     The theoretical discussion provided
                                                 43% of dollar volume, associated with                                         quality by reducing pricing distortions                               below supports characterizing a smaller
                                                 an estimated 1,788 individual stocks,                                         leading to an oversupply of liquidity                                 tick size as providing a pennying/
                                                 would likely have been assigned the                                           relative to competitive levels. The                                   complexity versus pricing constraint
                                                 $0.005 tick size. The adopted Rules                                           Commission believes that market                                       tradeoff, and the empirical analysis
                                                 represent a significant reduction in the                                      quality will, on average, improve for
                                                 scope of the Rule compared to the                                                                                                                   presented in table 8 as well as other
                                                                                                                               stocks receiving the smaller tick based                               empirical research suggests that, for
                                                 proposal. Table 7 provides estimates of                                       on theoretical discussion, the
                                                 the number of stocks and volume that                                                                                                                stocks with fewer than approximately
                                                                                                                               Commission’s empirical analysis, as                                   two ticks intra-spread,1196 a reduction
                                                 would have been affected if the                                               well as evidence and opinions
                                                 Commission had implemented the Rule                                                                                                                 in the tick size on average improves
                                                                                                                               expressed by commenters. For example,                                 market quality. A number of
                                                 with the tick size thresholds as
                                                                                                                               one commenter agreed with the                                         commenters agreed, and some
                                                 proposed (the proposal would have
                                                 lowered the tick size for all stocks with                                     presence of market distortions under                                  commenters presented analyses
                                                 TWAQS less than $0.04). The                                                   current tick sizes, stating: ‘‘[t]he SEC                              suggesting that 2 to 4 ticks intra-spread
                                                 Commission estimates that there would                                         correctly describes the problem of tick-                              may be optimal. Combined, this
                                                 have been 4,333 stocks receiving a                                            constrained securities. Such securities                               evidence suggests that the tick size
                                                 smaller tick accounting for 84.8%                                             are ‘not able to be priced by market                                  reduction associated with these
                                                 (66.5%) of share (dollar) volume if all                                       forces’ because the current ‘rule 612                                 amendments will, on average, improve
                                                 stocks with a TWAQS less than or equal                                        minimum pricing increment of $0.01
                                                 to $0.04 received a smaller tick size.                                        may now be too large for certain stocks,                                 1195 See Nasdaq Letter I at 11 (quoting the
                                                 Consequently, the number of stocks                                            which, in turn, results in the pricing of                             Proposing Release).
                                                 receiving a lower tick size is more than                                      such stocks being artificially                                           1196 We use the terminology ‘‘ticks intra-spread’’
                                                 halved under the adopted amendments.                                          constrained.’ Trading in these securities
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                                                                                                                                                                                                     or ‘‘ticks within the spread’’ to mean the number
                                                                                                                               would be improved ‘if competitive                                     of quoting increments between the NBB and NBO
                                                 b. Effects on Market Quality
                                                                                                                               market forces could establish prices in                               (the quoted spread). For example, if the quoted
                                                                                                                               sub-penny increments, which could                                     spread is one penny wide (in a stock priced above
                                                   For the stocks that will receive the
                                                                                                                                                                                                     $1), then we say that there is one tick intra-spread
                                                 $0.005 tick, the Commission expects                                           reduce quoted spreads,’ allowing these                                under the baseline. Under the baseline, symbols
                                                 market quality to improve. Smaller tick                                                                                                             priced above $1.00 with a quoted spread between
                                                 sizes present a market quality tradeoff                                                                                                             2 and 4 pennies would have 2 to 4 ticks intra-
                                                 between increasing pennying and                                                                                                                     spread.



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                                                 market quality for the subset of stocks                    achieve the same reduction in spread                       pennying could lead some orders that
                                                 receiving the lower tick size.1197                         would not require any change to the tick                   previously were at protected prices to be
                                                                                                            size: an ask of $1,001.50 and a bid of                     traded through.1208 However, it is not
                                                 i. Theoretical Discussion
                                                                                                            $1,000.50 are feasible even with a tick                    clear from the commenters’ letters why
                                                    Tick sizes present an economic                          size of one penny.                                         this would occur given the order
                                                 tradeoff.1198 All else equal, reducing the                    While a smaller tick size increases                     protection rule and broker’s best
                                                 tick size improves market quality by                       competition, thereby reducing                              execution responsibilities. One
                                                 reducing distortions associated with                       distortions and reducing transaction                       commenter also suggested that narrow
                                                 markets not being able to set prices that                  costs, there are potential costs raised in                 ticks could increase volatility.1209
                                                 equate liquidity supply and demand in                      the proposing release and also by                          However, existing research on the topic
                                                 the presence of a discrete pricing                         commenters which are discussed below.                      would suggest, if anything, an opposite
                                                 grid.1199 In a competitive market, and in                     Pennying: The proposing release and                     effect.1210
                                                 the absence of rebates or other price                      commenters identified pennying as a                           In contrast to the tick size pricing
                                                 distortions, the prevailing bid or ask                     risk of a smaller tick which can harm                      distortion discussed above, which is
                                                 price will be the feasible price equal to                  market quality.1202 Pennying occurs                        most relevant for stocks that are tick-
                                                 or just worse than the price that equates                  when limit order providers get to the                      constrained,1211 the pennying effect will
                                                 supply and demand for the underlying                       front of the queue by providing                            be most pronounced for stocks with
                                                 asset.1200 This is because liquidity                       economically trivial price improvement.                    wide quoted spreads because there are
                                                 providers will not post bids and offers                    It reduces the importance of time                          more intra-spread price levels and the
                                                 that would result in guaranteed trading                    priority.1203 The risk of being pennied                    cost of gaining priority over other
                                                 losses—i.e., they will not post prices                     could discourage liquidity provision in                    liquidity providers, by updating the best
                                                 that do not bring in sufficient revenue                    lit markets, particularly by market                        price by a single tick, is lower with a
                                                 to cover their marginal cost of providing                  participants that are slower to respond                    smaller tick.1212 For example, a stock
                                                 liquidity.1201 Since there is competition                  to changes in market conditions and                        with a quoted spread of ten cents, and
                                                 along a finite pricing grid, they choose                   could increase transaction costs for                       a $0.01 tick, will have 10 price levels
                                                 the closest feasible price just worse than                 these investors.1204 To compensate for                     within the quoted spread, whereas a
                                                 the competitive one. The gap between                       additional costs associated with a                         stock with a $1.00 quoted spread and a
                                                 the feasible price and the price that                      fragmented order book, liquidity                           $0.01 tick will have 100. Because price
                                                 equates liquidity supply and demand—                       providers may post less aggressive                         has first priority in order execution, in
                                                 i.e., the competitive price—is a price                     quotes leading to wider quoted spreads                     a price-time priority system where quote
                                                 distortion allowing liquidity providers                    and worse market quality.1205                              priority is awarded based on best price
                                                 to earn rents on liquidity provision.                         Market participants may respond to                      first and then arrival order second, a
                                                    This pricing distortion is most                         an increased risk of pennying by                           primary way to gain priority for a trader
                                                 relevant for stocks that are tick-                         increasing their use of hidden or off-                     providing liquidity is to price-improve
                                                 constrained and diminishes as quoted                       exchange orders that do not display                        over existing orders. Without a small
                                                 spreads widen. To understand this,                         prices, and thus avoid exposing the                        tick size relative to the quoted spread,
                                                 consider again the example of section                      price needed to beat in order to get to                    getting to the front of the queue via
                                                 VII.B.2. In that example, under a tick                     the front of the queue and increase the                    price improvement will be more costly,
                                                 size of $0.005, the ask would be $10.015                   likelihood of a fill.1206 Increased use of                 requiring larger relative price
                                                 and the bid $10.005. However, with a                       hidden orders has been associated with                     concessions.1213 Because the (beneficial)
                                                 tick size of $0.01, the ask would be                       worse market quality outcomes.1207                         pricing efficiency effect is greatest when
                                                 $10.02 and the bid $10.00, implying a                      Some commenters expressed their belief                     quoted spreads are narrow, whereas the
                                                 spread that is twice as wide. Now                          that a narrower tick and increased                         (detrimental) pennying effect is greatest
                                                 assume that the same issuer reduced the                                                                               when quoted spreads are wide, this
                                                                                                               1202 See, e.g., Robinhood Letter at 41, Virtu Letter
                                                 number of shares so that the stock
                                                                                                            II at 4, Tastytrade Letter at 20, AIMA Letter at 2,           1208 See Themis Letter at 5,Virtu Letter II at 6, 10
                                                 increases in price 100-fold, but the                       Brandes Letter at 2, UBS Letter at 10, and                 discussing how a smaller tick can weaken protected
                                                 underlying economics are the same. To                      TradeStation Letter at 5, Lewis Letter attached to         quotes.
                                                                                                            Virtu Letter II at p 33. See also supra note 994 and          1209 See, e.g., Virtu Letter II at 8. See, also Edwin
                                                    1197 The amendments will take stocks trading            section VII.B.2 for a definition and discussion of         Hu et al., 2018; supra note 1002; and Kee H. Chung
                                                 with 1–1.5 ticks intra-spread and increase the             pennying. See also Proposing Release, supra note           et al., Tick Size Liquidity for Small and Large
                                                 number of ticks intra-spread to up to 3.                   11 at section V.D.1.                                       Orders and Price Informativeness: Evidence From
                                                                                                               1203 See, e.g., Antitrust Division of the DOJ Letter
                                                    1198 See section VII.B.2                                                                                           the Tick Size Pilot Program, 136 J. Fin. Econ. 879
                                                    1199 See, e.g., Rindi and Graziani Letter at 2          at 5 and XTX Markets Letter at 3.                          (2020), who both report the opposite effect in the
                                                 (agreeing), see also Barardehi et al., supra note 231         1204 See Dyhrberg et al., supra note 994 studying       context of the Tick Size Pilot where stocks with
                                                 (for a more thorough discussion of this tradeoff).         the effects of imposing a tick size on a crypto            wider ticks experienced more volatility.
                                                 See also NASAA Letter at 9 (stating that the general       exchange that previously did not have a tick size.            1210 See id. see also e.g., Edwards, et al., (2021),

                                                 concept that a narrower tick size will increase            The authors report an improvement in market                supra note 1207.
                                                 pricing efficiency), as well as discussion in Ingrid       quality due largely to a reduction in pennying                1211 See supra this section.

                                                 M. Werner, et al., Tick Size, Trading Strategies and       behavior. See also Virtu Letter II at 25 and Better           1212 The pennying effect would be particularly
                                                 Market Quality, 69 Mgmt. Sci. 3818 (2023). See also        Markets Letter I at 8. See also Budish Letter at 5.        acute for wide-quoted spread stocks with lower
                                                 Budish Letter at 4 referring to a tick size that is too       1205 See, e.g., Virtu Letter II at 8, Fidelity Letter
                                                                                                                                                                       stock prices because a lower stock price reduces the
                                                 wide as producing rents via regulatory price               at 10.                                                     amount of capital needed to supply a round-lot
                                                 constraints.                                                  1206 See, e.g., IEX Letter I at 12, Danny Mulson        quote and hence make pennying less capital
                                                    1200 Any price better than this will lead to an         Letter at 1, Nasdaq Letter I at 2.                         intensive.
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                                                 excess of liquidity demand which will push prices             1207 See, e.g., Amy K. Edwards, et al., The Effect         1213 For example, if a stock has a quoted spread
                                                 out again.                                                 of Hidden Liquidity: Evidence from an Exogenous            of ten cents and a $0.01 tick, gaining priority
                                                    1201 Marginal cost in this context refers to the cost   Shock (working paper Mar. 1, 2021), available at           through price improvement would require
                                                 of providing an additional share of liquidity. If the      https://ssrn.com/abstract=3766512 (retrieved from          narrowing the half- quoted spread (i.e., the distance
                                                 revenue associated with providing a share of               SSRN Elsevier database) (‘‘Edwards, et al. (2021)’’).      between the current quote and the midpoint) by
                                                 liquidity is less than the cost of providing that          See also Danny Mulson Letter at 3 stating that a           20%. If instead a stock has a quoted spread of $1.00
                                                 share, then liquidity providers are better off not         smaller tick size would lead to more hidden orders,        with a $0.01 tick, a market participant would only
                                                 providing liquidity than incurring a loss to provide       specifically ‘peg offset dark orders’ which could          need to improve the half-quoted spread by 2% to
                                                 liquidity.                                                 harm price efficiency.                                     get to the front of the queue.



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                                                 analysis suggests setting a minimum                      transaction costs via increased price                     to speed. As noted in section VIII.B.2, a
                                                 quoting increment on the basis of                        impact.1220                                               narrower tick reduces rents that accrue
                                                 average spread. Commenters agreed.1214                      Quote Instability: Commenters also                     when a liquidity provider can be first in
                                                    Fragmenting liquidity: The proposing                  stated that less depth at the NBBO can                    line in a queue.1226 That is, narrowing
                                                 release and commenters also discussed                    lead to increased NBBO quote                              the tick would be expected to reduce
                                                 a cost of a lower tick size as spreading                 instability as trades are more likely to                  rents to speed. However, speed confers
                                                 the displayed orders over more price                     deplete depth at the NBBO prices.1221                     an advantage in implementing a
                                                 levels.1215 When tick increments are                     One commenter presented evidence that                     pennying strategy: a trader can not only
                                                 farther apart, all else equal, liquidity                 lower quote stability is empirically                      step ahead of another trader, but also
                                                 providers that may have various prices                   associated with increased market                          potentially sell (or buy) an asset back to
                                                 at which they are willing to provide                     making costs, which it states may deter                   the other trader if the market moves
                                                 liquidity must congregate their quotes at                liquidity provision.1222 While increased                  unfavorably, replicating an option-like
                                                 only the available quoting increments.                   quote instability may occur in stocks                     payoff.1227 The amendments are limited
                                                 Thus, there will be more depth at each                   receiving the lower tick, the lower tick                  to stocks with spreads for which
                                                 level including at the NBBO. With more                   itself will allow market forces to adjust                 pennying is unlikely to be a dominant
                                                 price levels due to a smaller tick size,                 the price of liquidity—i.e., the quoted                   effect. Nonetheless, to the extent that
                                                 market participants can more accurately                  spread—such that market makers are                        pennying increases, it has the potential
                                                 tailor their quotes to the prices at which               competitively compensated for the risks                   to increase the rents to speed.
                                                 they are willing to provide liquidity and                associated with providing liquidity.                         In the context of the proposal, one
                                                 thus liquidity will naturally spread over                Increased instability in the NBBO could                   commenter stated that a smaller tick
                                                 more levels and there will be fewer                      make it more difficult to determine                       size would be expected to increase the
                                                 resting orders at each price level,                      which exchange has the best price at a                    frequency of sniping because smaller
                                                 including the NBBO.1216                                  given point in time and thus where to                     ticks generate faster and more frequent
                                                    Fragmenting liquidity across multiple                 route an order.1223 This could be                         price changes.1228 While there will be
                                                 price levels may decrease costs                          particularly true when markets are                        more prices at which to trade, the
                                                 associated with smaller orders, which                    volatile.1224                                             underlying information is not changing
                                                 would be able to source liquidity at                        Increasing (or decreasing) rents to                    (prices may change more rapidly, but
                                                 improved prices due to a finer price                     speed: The Proposing Release stated that                  the information of each price change is
                                                 grid.1217 However, it can increase the                   ‘‘too small ticks may inefficiently award                 smaller). That is, sniping may become
                                                 complexity and cost associated with                      speed’’.1225 As discussed in the next few                 more frequent, but the profits per each
                                                 sourcing liquidity for larger orders,1218                paragraphs, commenters also                               individual snipe attempt would decline.
                                                 as the reduction in shares available at                  commented on the effects of tick size on                  However, and as stated above, the
                                                 the top of the book will render it more                  speed. Investments in speed are a fixed                   Commission does agree that a large
                                                 likely that a market participant must                    and largely irreversible cost that some                   number of ticks within the spread can
                                                 source liquidity beyond the NBBO in                      market participants choose to incur.                      make pennying more prevalent, and to
                                                 order to execute a trade.1219 It could                   Changing the tick size could change the                   the extent that profits are linked to
                                                 also increase the number of child orders                 profitability of such investments, that is,               speed, can increase the rents to speed.
                                                 a parent order needs to be divided into                  they could increase or decrease the rents                 The adopted amendments imply fewer
                                                 to execute, which could increase the                                                                               ticks intra-spread than the proposing
                                                                                                             1220 See, e.g., Citadel Letter I at 5, 9 and Virtu     amendments, reducing this effect. Thus,
                                                 overall complexity and likelihood of
                                                                                                          Letter II at 8, 10 discussing the price impact of large   the Commission does not expect slower
                                                 information leakage leading to increased                 trades under a regime of smaller ticks; stating that      traders to be disadvantaged by the
                                                                                                          smaller ticks could increase price impact.
                                                    1214 See Budish Letter at 4 and Harris Letter at 7       1221 Some commenters stated that smaller ticks
                                                                                                                                                                    adopted amendments.
                                                 supporting the use of quoted spread as the               would lead to more ‘‘flickering quotes,’’ which are
                                                                                                                                                                       Effect on thinly traded securities: One
                                                 determinate of the tick size. See also infra section     defined in the Reg NMS release as quotes that             commenter stated that narrower quoted
                                                 VII.D.1.b.iii.                                           flashed for a short period of time solely to earn         spreads due to a smaller tick would be
                                                    1215 See Proposing Release, supra note 11 at          market data revenues, but were not truly accessible       harmful for liquidity, particularly for
                                                 section V.D.1 for a discussion of fragmenting            and therefore did not add any value to the
                                                 liquidity. See also e.g., GTS Letter at 5 and CCMR       consolidated quote stream. However, the
                                                                                                                                                                    smaller and medium-sized companies
                                                 Letter at 24.                                            Commission believes that this is unlikely for             and for thinly-traded securities.1229 This
                                                    1216 See, e.g., GTS Letter at 5, CCMR Letter at 24,   reasons discussed in the Proposing Release note 195       is because narrower quoted spreads
                                                 and UBS Letter at 11.                                    and surrounding text relating to advances in              would discourage some liquidity
                                                    1217 See UBS Letter at 11.                            exchange technology. Other commenters defined
                                                                                                          ‘flickering quotes’ more broadly simply as periods
                                                                                                                                                                    providers from entering the market. The
                                                    1218 Id. See also TradeStation Letter at 6
                                                                                                          of time where the NBBO changes rapidly, see, e.g.,        Commission disagrees with this
                                                 mentioning as an example of increased complexity
                                                 that brokers would have to put systems in place to       IEX Letter I at 8 and Robinhood Letter at 20. Much
                                                 manage customers’ good-till-canceled trades that         of the concern these commenters expressed was                1226 See, e.g., Budish Letter at 1 (‘‘Reducing the

                                                 may remain open over a weekend when a tick size          with respect to the proposed $0.001 and $0.002 tick       tick-size constraint for tick-constrained stocks will
                                                 change is implemented. See also discussion in            sizes which are not part of the adopted                   reduce excess rents from artificially constrained
                                                 Lewis Letter attached to Virtu Letter II at 34–35.       amendments, see IEX Letter I at 8 and Robinhood           prices. These excess rents lead to a speed race to
                                                    1219 See, e.g., IEX Letter I at 13 discussing how     Letter at 20. As discussed here, the Commission           the top of the book, which increases complexity,
                                                                                                          acknowledges that a smaller tick will likely lead to      and the rents come at the expense of investors via
                                                 order shredding with smaller ticks can increase
                                                                                                          more frequent changes to the NBBO and discusses           a higher cost of liquidity.’’), Antitrust Division of
                                                 information leakage, such as when quotes on other
                                                                                                          those consequences herein.                                the DOJ Letter at 5, and XTX Markets Letter at 3.
                                                 exchanges are cancelled when limit orders on one            1222 See IEX Letter I at 11–12.                           1227 See supra note 993 for a discussion on the
                                                 exchange begin to be executed, potentially signaling
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                                                                                                             1223 See, e.g., Themis Letter at 6 and CCMR Letter     relationship between pennying and trading speed.
                                                 a large price moving trade. Brandes Letter at 2 states
                                                 that increased complexity associated with more           at 17 and MFA Letter at 1. Quote instability could        See supra note 1202 and accompanying text for
                                                 pricing increments would be to the detriment of          increase the complexity associated with complying         discussions regarding the amendments to Rule 612
                                                 longer-term investors. Equity Market Structure           with Rule 611 as it could make it harder to               and pennying.
                                                 Citadel Letter at 2 states that for institutional        determine which exchange currently has the best              1228 See Virtu Letter II at 23. Sniping pertains to

                                                 investors, ‘‘[l]arger orders will be more complex to     price.                                                    the ability to ‘‘pick off’’, by executing against a stale
                                                                                                             1224 See Citadel Letter I at 2, 7.                     quote in response to new information before it can
                                                 execute, as filling the entire order will require
                                                 accessing multiple price levels, which can increase         1225 See Proposing Release, supra note 11, at          be updated.
                                                 price impact.’’                                          80306.                                                       1229 See STA Letter at 5.




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                                                 characterization. The academic research                   increased the minimum tick increment                     learned from the TSP because it did not
                                                 on the Tick Size Pilot (TSP), which                       from $0.01 to $0.05 for a sample of                      involve sub-penny tick sizes.1241
                                                 increased the tick size for some smaller                  small cap stocks.1234 Most of the                           As explained in the following
                                                 stocks from $0.01 to $0.05 between 2016                   literature surrounding decimalization                    discussion, the Commission continues
                                                 and 2018, suggests that for many stocks                   suggests that, on average, decimalization                to believe that the TSP provides a
                                                 affected by the TSP, particularly those                   was associated with a decline in quoted                  meaningful environment to study the
                                                 with narrower quoted spreads, the TSP                     spreads consistent with the notion that                  potential effects of a tick size change for
                                                 led to worse market quality.1230                          lowering the tick size relieved                          the reasons articulated below, even as
                                                    Additionally, lowering excess rents                    distortions related to having a tick size                the TSP has limitations for determining
                                                 and the oversupply of liquidity caused                    that is too wide.1235                                    the exact effect of the amendments to
                                                 by tick size induced pricing distortions                     In the Proposing Release, the                         Rule 612.
                                                 is likely to reduce aggregate depth                       Commission supplemented existing                            First, the economics of being tick-
                                                 across all price levels. However, this                    research with its own analysis on the                    constrained do not depend on the
                                                 reduction is unlikely to be harmful to                    TSP.1236 As stated in the Proposing                      absolute size of the tick in question.
                                                 overall market quality, even for smaller                  Release, market dynamics have changed                    Rather, they depend on the relationship
                                                 or thinly traded securities, as it would                  dramatically in the more than two                        between the economic spread 1242
                                                 relieve a distortion resulting in an                      decades since decimalization. Most                       implied by the economics of the stock
                                                 oversupply of liquidity. As the amount                    notably over that period, electronic,                    and the quoted spread that is possible
                                                 of liquidity provision comes closer to                    algorithmic, and high-frequency trading                  given the tick size, regardless of the
                                                 equilibrium levels, quoted spreads                        have come to dominate the trading                        specific tick size. Specifically, when the
                                                 narrow and queue lengths shorten,                         landscape, whereas they were much less                   economic spread is narrower than a
                                                 lowering transaction costs and                            prominent in 2001. These changes                         single tick, the negative effects of being
                                                 increasing the likelihood that relatively                 diminish the relevance of evidence from                  tick-constrained are expected to emerge
                                                 slower fundamental and/or retail traders                  these prior periods, making it desirable                 for the reasons discussed in section
                                                 could interact with each other. This will                 to supplement existing studies with                      VII.D.1.b.i above.1243 Those reasons are
                                                 reduce total transaction costs for these                  evidence that is closer in time.                         independent of the absolute size of the
                                                 traders because one side would be                            Some commenters questioned using                      tick. They instead depend on the ratio
                                                 earning the quoted spread on the                          the TSP to estimate the effects of a                     of the market price of liquidity to the
                                                 transaction.1231                                          reduced minimum pricing impact                           tick, i.e., the lowest quoted spread
                                                                                                           because the TSP affected only a subset                   permitted by the tick size. In this
                                                 ii. Empirical Analysis                                    of small cap stocks, did not contain                     context, the TSP analysis has merit,
                                                    This section presents the                              ETPs, and did not affect access fee                      even as it includes some stocks with
                                                 Commission’s empirical analysis, as                       caps.1238 One of those commenters                        quoted spreads wider than 1.5 cents (the
                                                 well as a discussion of commenter                         suggested that the TSP analysis was not                  cutoff for the amendments), because its
                                                 analysis and views concerning the effect                  applicable because it focused on stocks                  purpose is to gain insight into how
                                                 of a tick size reduction on various                       with quoted spreads much wider than                      stocks with various numbers of tick
                                                 aspects of market quality. Based on                       the few cent quoted spreads                              increments intra-spread react to
                                                 these analyses, the Commission                            contemplated by the amendments.1239                      changing the tick. Addressing this
                                                 concludes that on average, stocks that                    The same commenter suggested that the                    question necessitates considering stocks
                                                 receive the smaller $0.005 tick size will                 TSP was not applicable because it                        with wider quoted spreads.
                                                 experience improved market quality—                       applied to a 5 to 1 tick size change,                       Second, as discussed above, a key
                                                 implying that, for these affected stocks,                 which is different from the tick size                    factor in the economics of being tick
                                                 the predominant market quality effect of                  change in the amendments.1240 Some                       constrained is the implied quoted
                                                 the smaller tick size will be an increase                 commenters went further and                              spread relative to the tick size, not the
                                                 in pricing efficiency.1232                                questioned whether anything could be                     market capitalization or any other the
                                                    The academic literature examining                                                                               qualifying factors for the TSP. Because
                                                 the effect of tick sizes on financial                        1234 See Edwin Hu, et al. (2018), supra note 1002,    the economics of being tick-constrained
                                                 markets largely studies two events:                       for additional details about the Tick Size Pilot.        do not depend on market capitalization,
                                                                                                              1235 See Hendrick Bessembinder, Trade Execution
                                                 decimalization, which occurred in                                                                                  the findings derived from the TSP can
                                                                                                           Costs and Market Quality After Decimalization, 38.
                                                 2001 1233 and reduced the tick from                       J. Fin. & Quantitative Analysis 747 (2003). See also     be usefully applied to a broader section
                                                 1⁄16th of a dollar ($0.0625) to $0.01; and                                                                         of the market. Also, one study,1244
                                                                                                           Michael A. Goldstein & Kenneth A. Kavajecz,
                                                 the TSP, which ran from October 2016                      Eighths, Sixteenths and Market Depth: Changes in         referenced in the Proposing Release,
                                                                                                           Tick Size and Liquidity Provision on the NYSE, 56
                                                 to October 2018 and temporarily                           J. Fin. Econ. 125 (2000) and Charles M. Jones &
                                                                                                                                                                    specifically examined only the most
                                                                                                           Marc L. Lipson, Sixteenths: Direct Evidence on
                                                    1230 See infra section VII.D.1.b.ii and Barardehi et                                                               1241 See Citadel Letter I at 12 (stating that the TSP
                                                                                                           Institutional Execution Costs, 59 J. Fin. Econ. 253
                                                 al., supra note 231 for additional discussion of the      (2001), both examining the earlier tick size change      ‘‘provides no information on what would be
                                                 tick size literature.                                     from 1⁄8 to 1⁄16 of a dollar. See also Sugato            expected to occur if minimum quoting increments
                                                    1231 See Retirement Coalition Letter at 2, Pragma      Chakravarty, Venkatesh Panchapagesan & Robert A.         were further reduced to levels that have never
                                                 Letter at 10.                                             Wood, Did Decimalization Hurt Institutional              before been tested’’); and Virtu Letter II at 3 (‘‘The
                                                    1232 See supra note 1199 and surrounding text for      Investors?, 8 J. Fin. Mkts. 400 (Nov. 2005) and          TSP studied the impact of a widened minimum
                                                 additional discussion of the tick size tradeoff.          Sugato Chakravarty, Bonnie F. Van Ness, & Robert         quoting and trading increment for certain small
                                                    1233 See, e.g., Order Directing the Exchanges and      A. Van Ness, The Effect of Decimalization on Trade       capitalization stocks, and offered no analysis, data,
                                                 the National Association of Securities Dealers, Inc.      Size and Adverse Selection Costs, 32 J. Bus. Fin. &      or conclusions on the potential impact that a
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                                                 to Submit a Phase-in Plan to Implement Decimal            Acc. 1063 (June/July 2005), both suggesting that         narrowed, sub-penny tick regime would have on the
                                                 Pricing in Equity Securities and Options; Pursuant        large institutional trades may have become more          marketplace, the investor experience, or issuers. It
                                                 to Section 11A(a)(3)(B) of the Securities Exchange        costly following decimalization.                         is an apples-to-oranges comparison and is irrelevant
                                                 Act of 1934, Securities Exchange Act Release No.
                                                                                                              1236 See Proposing Release, supra note 11, at         as a basis for support’’).
                                                 42914 (June 8, 2000), 65 FR 38010 (June 19, 2000);        80318–80322.                                                1242 See supra note 990 and surrounding text for

                                                 Commission Notice: Decimals Implementation Plan
                                                                                                              1238 See, e.g., CCMR Letter at 27, Virtu Letter II    discussion of the term economic spread id.
                                                 for the Equities and Options Markets, SEC (July 24,       at 64. Lewis Letter attached to Virtu Letter II at 34.      1243 See also id. for a discussion of the concept

                                                 2000), available at https://www.sec.gov/rules/other/         1239 See CCMR Letter at 27.                           of economic spread.
                                                 decimalp.htm.                                                1240 Id.                                                 1244 See Barardehi et al., supra note 231.




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                                                 liquid TSP stocks and removed stocks                    the trading environment.1248 It also                         Additionally, the need to address tick-
                                                 with very low prices.1245 The authors’                  expressed concern, as stated by                           constrained stocks has increased
                                                 results indicate that, in this subset of the            commenters, that further reducing the                     substantially in the subsequent nearly
                                                 most liquid TSP stocks, all key findings                tick size for all stocks could harm                       two decades as tick constraints have
                                                 of the TSP not only hold, but that the                  market quality via pennying and                           become more pervasive over time. Table
                                                 patterns of the results of the TSP on                   reduced liquidity at the top of the                       3 indicates that in 2023, about 74% of
                                                 market outcomes tend to strengthen.                     book.1249 When originally proposing                       share volume was associated with
                                                    Third, while the Commission                          Rule 612, the Commission also provided                    securities trading with quoted spreads at
                                                 acknowledges the difference between                     an analysis of sub-penny trading and                      or below $0.015; following the same
                                                 the TSP and the amendments with                         quoting and stated that there was, at the                 methodology, in 2005 the figure was
                                                 regard to tick size splits—the TSP was                  time, no industry standard for trading                    about 54%.1253 This statistic understates
                                                 a 1:5 tick size change while the                        and quoting increments.1250 The                           the true increase in trading in tick-
                                                 amendments provide a 1:2 tick size                      Commission’s sub-penny analysis                           constrained securities because overall
                                                 change for some stocks—the TSP                          suggested that, at the time, sub-penny                    average daily trading volume has more
                                                 provides meaningful information about                   trading was primarily used to facilitate                  than doubled over the same period of
                                                                                                         pennying because sub-penny trades                         time.1254 Thus, precisely because
                                                 the likely direction of the effects due to
                                                                                                         congregated at $0.001 and $0.009 rather                   average quoted spreads have been
                                                 a tick size change: that is, whether
                                                                                                         than having a uniform distribution or                     coming down, the benefits of alleviating
                                                 market quality improves or declines
                                                                                                         clustering midpoint prices (i.e., in                      the tick constraint have increased
                                                 when the tick size is changed. The
                                                                                                         $0.005 increments), justifying the use of                 substantially since 2005. Additionally,
                                                 actual effect of a 1:2 split may differ
                                                                                                         some minimum pricing increment.1251                       as discussed throughout this section,
                                                 from that observed from the TSP’s 1:5
                                                 split, but it is unlikely to go in the                     When adopting Rule 612, the                            there has been considerable research
                                                 opposite direction if the TSP were to                   Commission did not empirically analyze                    since the implementation of Rule 612 in
                                                 indicate a market quality improvement                   whether a minimum pricing increment                       2005 by the Commission, industry
                                                 when the tick size is reduced. This is                  of $0.005 would have harmed or helped                     members, and academics surrounding
                                                                                                         market quality for some stocks, and                       tick sizes that did not exist when Rule
                                                 because the potential negative effects of
                                                                                                         specifically did not opine on a tiered                    612 was adopted. This research
                                                 too many ticks intra-spread would be
                                                                                                         tick structure such as is being adopted.                  supports the notion that a tick size
                                                 stronger for the 1:5 split associated with
                                                                                                         The analysis provided therein was in                      below $0.01 will likely improve market
                                                 the TSP than with the 1:2 split
                                                                                                         the context of a uniform tick size                        quality for some stocks.
                                                 associated with the amendments.1246
                                                                                                         applicable to all stocks. Within this                        One commenter illustrated its
                                                 Thus, it is unlikely that, were the TSP
                                                                                                         context, the Commission concluded that                    disagreement with the Commission’s
                                                 to show an improvement in market
                                                                                                         ‘‘the marginal benefits of a further                      use of the TSP analysis by presenting a
                                                 quality associated with a 1:5 tick size
                                                                                                         reduction in the minimum pricing                          hypothetical TSP in which the tick size
                                                 split for certain stocks, that there would
                                                                                                         increment [below $0.01 for all stocks]                    is increased from $0.01 to $0.15.1255 The
                                                 have been an opposite effect with a 1:2
                                                                                                         are not likely to justify the costs to be                 commenter stated that such a change
                                                 tick size split.
                                                                                                         incurred by such a move’’ 1252 The                        ‘‘would have negatively impacted a
                                                    Some commenters stated that                          analysis provided in this release does
                                                 reducing the tick size below $0.01 was                                                                            greater range of stocks . . . and
                                                                                                         not disagree with that assessment.                        predictably liquidity conditions in those
                                                 opposed to the conclusions and analysis                 Applying a tick size lower than $0.01
                                                 provided by the Commission when                                                                                   stocks would have meaningfully
                                                                                                         for all stocks could cause harm to stocks                 improved at the end of the pilot when
                                                 adopting Rule 612 in 2005, and that the                 with wide quoted spreads due to
                                                 Commission did not provide analysis                                                                               the changes were reversed.’’ 1256 The
                                                                                                         pennying concerns and fragmenting                         commenter proceeded to state that ‘‘this
                                                 explaining why it was reversing its                     liquidity.
                                                 opinion.1247 The Commission disagrees                                                                             experiment would not suggest that
                                                 that the analysis and conclusions                                                                                 regulators should always reduce the
                                                                                                            1248 See 2004 Regulation NMS Proposing Release,
                                                 associated with the initial proposal and                                                                          minimum quoting increment for tick-
                                                                                                         supra note 31, at 11170.
                                                 adoption of Rule 612 are inconsistent                      1249 Id.; see also Proposing Release, supra note 11,   constrained symbols by a factor of
                                                 with the analysis provided in the                       at 80280 (‘‘Minimum pricing increments that are           fifteen.’’ 1257 The commenter further
                                                 Proposing Release and repeated here.                    too small can also add to complexity in trading and       stated that the TSP ‘‘merely reverted to
                                                                                                         increase the risk of stepping ahead’’); see also supra    the status quo after a failed
                                                 When initially proposing and adopting                   note 994 for the definition and discussion of
                                                 Rule 612, the Commission                                pennying.
                                                                                                                                                                   experiment’’, and this ‘‘reversion
                                                 acknowledged that lowering the tick                        1250 Id. at 11171. Although Nasdaq and the             provides no information on what would
                                                 size from fractions to $0.01 improved                   exchanges permitted quoting in single penny               be expected to occur if minimum
                                                                                                         increments, these markets allowed trades to be            quoting increments were further
                                                                                                         printed in increments below a penny. Although
                                                   1245 See Proposing Release, supra note 11, at         certain online brokers only accepted orders priced
                                                                                                                                                                      1253 These patterns are not driven by a change in
                                                 80273 n.85.                                             in one-cent increments, ECNs and Nasdaq market
                                                   1246 For example, the potential negative effects      makers accepted orders and executed trades in sub-        sub-dollar trading (which may benefit from a
                                                 from sub-pennying would be higher from a 1:5 split      penny increments. While market makers quoted              narrower tick size); the patterns are not materially
                                                 compared to a 1:2 splits because the cost of gaining    through Nasdaq only in penny increments, they             changed when symbol-days with average prices
                                                 priority over other liquidity providers, by updating    could display orders in ECNs in sub-pennies.              below $2 or $5 are dropped from the sample.
                                                                                                                                                                      1254 This statistic is computed by comparing the
                                                 the best price by a single tick, is lower with a        Exchanges, where the majority of trading volume
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                                                 smaller tick. The risk liquidity fragmenting across     occurred, were bound by the Decimals                      average daily share volume in all securities covered
                                                 price levels would also be higher with a 1:5 split      Implementation Plan, which was ordered by the             by WRDS Intra-day indicators in 2005 and 2023.
                                                 as compared to a 1:2 split. See supra section           Commission, and which ultimately established              Additionally, total trading volume has also more
                                                 VII.D.1.b.i for further discussion.                     $0.01 as the tick size for exchange quotes. Other         than doubled over that same time period. Thus,
                                                   1247 See, e.g., Equity Market Structure Citadel       market participants, however, were not so bound           there is more trading volume and more of it is
                                                 Letter at 17, Craig Louis Letter attached to Virtu      leading to non-standard quoting increments across         trading in a tick-constrained environment.
                                                                                                         various venues such as ECNs.                                 1255 See Citadel Letter I at 12.
                                                 Letter II at 32–33, and Virtu Letter II at 16. See
                                                                                                            1251 Id. at 11169.                                        1256 Id.
                                                 supra section VII.C.1.b for a discussion of the
                                                 Commission analysis referred to by commenters.             1252 Id. at 11170.                                        1257 Id. (emphasis in original).




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                                                 reduced to levels that have never before                   this assumption. The ability to make                     analysis also showed that some stocks
                                                 been tested.’’ 1258                                        this inference, that being tick-                         with wide spreads traded better with the
                                                    The Commission disagrees with this                      constrained worsens market quality, is                   $0.05 tick than with the $0.01 tick. The
                                                 assessment in several respects and                         precisely why analyzing the TSP is                       empirical analysis in the Proposing
                                                 continues to believe that analysis of the                  valuable because it provides the                         Release sought to identify the thresholds
                                                 TSP provides meaningful information                        empirical result which permits one to                    where the TSP tick size change
                                                 for the effects of the amendments. The                     employ with confidence the                               transitioned from harmful, to benign, to
                                                 TSP enables analysis that empirically                      commenter’s assumption in its                            beneficial. Specifically, table 8 provides
                                                 tests whether market quality depends on                    hypothetical.1261                                        analysis that examines the impact of the
                                                 being tick-constrained. The TSP                               With regard to the commenter’s                        end of the TSP on a wider range of
                                                 provides two events that can be used for                   statement that the TSP conclusion                        quoted spread profiles than simply tick-
                                                 this test: one at the start of the TSP                     ‘‘provides no information on what                        constrained or not. This analysis focuses
                                                 when tick sizes were increased for                         would be expected to occur if minimum                    on the end of the TSP, when the tick
                                                 certain stocks, and one at the end of the                  quoting increments were further                          size was reduced from $0.05 back to
                                                 TSP where tick sizes for those same                        reduced to levels that have never before                 $0.01, because that event more closely
                                                 stocks were decreased. Academic                            been tested,’’ 1262 while it is true that the            matches the amendments, which reduce
                                                 research shows that the effects of both                    tick sizes in the adopted amendments                     the tick size.
                                                 of these events are consistent with the                    are not among the tick sizes                                The analysis presented in table 8 uses
                                                 theory that stocks with few ticks intra-                   implemented in the TSP, this fact does                   a difference-in-differences methodology
                                                 spread have worse market quality.1259                      not render the TSP analysis                              to study the effect of lowering the tick
                                                 The Commission provided its own                            uninformative. The theory that stocks                    size from $0.05 to $0.01 on TSP stocks
                                                 analysis of the end of the TSP; the end                    that are tick-constrained will trade                     at the end of the TSP.1267 TSP treated
                                                 of the TSP involved a reduction in tick                    better with more ticks intra-spread,                     and control stocks are assigned near the
                                                 size, which directionally corresponds to                   successful as it was in predicting the                   end of the TSP into one of four bins
                                                 what will happen under the adopted                         market quality effects of the end of the                 ranging from the most tick-constrained
                                                 rule. This analysis found evidence to                      TSP, can be reasonably relied upon to                    in the first bin to the least constrained
                                                 support the theory that stocks with too                    help determine the effects of the                        in the fourth bin.1268 Key variables such
                                                 few ticks intra-spread have worse                          amendments. What matters is not the                      as quoted depth and spreads were
                                                 market quality. The Commission                             magnitude of the spread, or the size of                  measured before and after the tick size
                                                 therefore disagrees that the TSP analysis                  the tick, but the number of ticks intra-                 was lowered, and difference-in-
                                                 ‘‘provides no information’’ as to the                      spread.1263                                              differences estimation methods were
                                                 effects of the adopted rules.                                 One commenter stated that the
                                                    The commenter states that ‘‘the end of                  analysis in the Proposing Release                           1267 Difference-in-differences is a statistical

                                                 the Tick Size Pilot provides no basis for                  should have accounted for both fixed                     technique in which the effect that a treatment has
                                                 suggesting that regulators should always                   effects and volatility, as well as other                 on some response variable is estimated by
                                                                                                            variables.1264 Barardehi et al. (2022)                   comparing the average change in the response over
                                                 reduce the minimum quoting increment                                                                                time in the treatment group to the average change
                                                 for tick-constrained symbols by a factor                   provide estimates that account for fixed                 in the control group.
                                                 of five.’’ The Commission does not                         effects and a number of control variables                   1268 Bin assignments are calculated according to

                                                 reach the conclusion that regulators                       including volatility.1265 This paper                     the stock’s average quoted spreads for May and June
                                                 should always reduce the minimum                           shows that the results shown in the                      of 2018, near the end of the TSP. Specifically, we
                                                                                                                                                                     use WRDS Intra-day indicators to collect the time
                                                 quoting increment by a factor of five,                     Proposing Release and repeated below                     weighted quoted spread for all TSP and control
                                                 and indeed the Commission is not                           are robust to these effects.                             stocks for each trading day in May and June 2018.
                                                 adopting such a rule. As discussed                            Commission Empirical Analysis: The                    Then for each stock we calculate the equally-
                                                 earlier in this section, TSP analysis                      Proposing Release provided a review of                   weighted average quoted spread across all trading
                                                                                                                                                                     days. Based on this average, TSP and control stocks
                                                 indicates that for stocks with 1–2 ticks                   the existing TSP empirical academic                      are sorted into one of four bins. The first bin is for
                                                 intra-spread, reducing the tick size                       research.1266 This research consistently                 stocks with quoted spreads ($0.00, $0.06).
                                                 improves market quality on average.                        found that stocks that became tick-                      Empirically, for stocks in the TSP, this bin includes
                                                 While the Commission is reducing the                       constrained by the TSP, on average,                      stocks that nearly always traded at the minimum
                                                                                                                                                                     quoting increment of $0.05 during the TSP. The
                                                 tick size by a factor of two rather than                   traded better across many market                         second bin is for stocks with quoted spreads in the
                                                 five for some stocks, the direction is                     quality dimensions when their tick size                  range ($0.06, $0.09). For stocks in the TSP, this bin
                                                 likely to be the same as what was                          was reduced from $0.05 to $0.01. Some                    is said to include those stocks with one to two ticks
                                                 observed in the TSP, though the                                                                                     intra-spread during the TSP. The third bin is for
                                                                                                              1261 More specifically, the commenter’s                stocks that had quoted spreads of ($0.09, $0.15) or
                                                 magnitude may be different.1260                                                                                     approximately 2–3 ticks intra at a $0.05 tick
                                                                                                            hypothetical assumes that the start of a large tick
                                                    Furthermore, the commenter assumes                      size increase would worsen liquidity, then               increment. The fourth bin is for stocks with quoted
                                                 in the hypothetical experiment of a                        concludes this means that evidence from the end          spreads greater than $0.15. The TSP had three test
                                                 bigger increase in the tick size, that this                of the TSP is uninformative because it simply            groups: the first group applied the $0.05 tick only
                                                                                                            reverses the effect. But, this conclusion is incorrect   to quoting, the second group applied the $0.05 tick
                                                 increase would have ‘‘negatively                                                                                    to quoting and trading (with exceptions for
                                                                                                            because the TSP results from both the imposition
                                                 impacted’’ stocks. However, the fact that                  and conclusion of the TSP are what make the first        benchmark and midpoint trades and for certain
                                                 causing stocks to become tick-                             assumption credible.                                     retail price improvement trades), and the third
                                                 constrained worsens their market                             1262 See Citadel Letter I at 12.                       group applied the $0.05 tick to trades and quotes
                                                                                                                                                                     the same as the second group but also had a trade
                                                 quality is an assumption made by the                         1263 See infra section VII.F.1 for a discussion of
                                                                                                                                                                     at rule applied. Barardehi et al., supra note 231
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                                                 commenter. Absent evidence, such as                        reasonable alternative tick sizes.                       provide similar analysis, and also expand the
                                                                                                              1264 See Virtu Letter II at 15.
                                                 the evidence provided by the TSP, it is                                                                             analysis in many dimensions. Their analysis finds
                                                                                                              1265 See Barardehi et al., supra note 231. The
                                                 unclear upon what the commenter bases                                                                               evidence that all key results presented here are
                                                                                                            authors control for market capitalization, dollar        robust along many dimensions including the test
                                                                                                            volume, average quoted spread, and return                group analyzed and to many other factors including
                                                   1258 Id.
                                                                                                            volatility, see analysis associated with their table     fixed effects and volatility—factors that one
                                                   1259 See, e.g., Barardehi et al., supra note 231.        11.                                                      commenter suggested that the Commission should
                                                   1260 See supra note 1246 and surrounding text for          1266 See Proposing Release, supra note 11, section     consider in their TSP analysis, see Virtu Letter II
                                                 additional discussion.                                     V.D.1.                                                   at 17.



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                                                 used to examine how these variables                                         where the quantile regression
                                                 reacted to the tick size change. The                                        optimizes: 1272
                                                 analysis uses ordinary least squares 1269
                                                 and quantile (median) regressions 1270 to
                                                 estimate the following regression
                                                 model: 1271
                                                 Yj,t = a0 + apPilotj + aEEventt + b(Pilotj
                                                                                                                                  f3 E argmin
                                                                                                                                          ao,ap,a£,P
                                                                                                                                                            L     j,t
                                                                                                                                                                        Po.s('Uj,t)
                                                       × Eventt) + mj,t
                                                                            TABLE 8—EFFECTS OF A REDUCTION IN TICK SIZE ON QUOTING AND TRADING OUTCOMES a
                                                                                                                                                   OLS                                                     Quantile (median) regression

                                                                        Spread bin #                                             Quoted spread ($) May & June 2018                                  Quoted spread ($) May & June 2018

                                                                                                                          1st              2nd              3rd               4th             1st               2nd                3rd             4th

                                                 Depth (100 shares) ...........................................          *** ¥22.5       *** ¥5.30       *** ¥1.55              ¥0.51        *** ¥11.8         *** ¥3.16         *** ¥0.96       *** ¥0.21
                                                                                                                          [¥12.02]          [¥7.09]        [¥4.40]            [¥1.30]         [¥16.99]          [¥23.52]          [¥17.81]         [¥4.30]
                                                 Depth ($1,000) ..................................................       *** ¥16.7       *** ¥8.41       *** ¥4.67          *** ¥2.06        *** ¥11.2         *** ¥7.27         *** ¥3.96       *** ¥1.48
                                                                                                                          [¥14.58]        [¥10.94]         [¥7.82]            [¥3.66]         [¥22.04]          [¥20.70]          [¥12.58]         [¥4.14]
                                                 Quoted Spread ($) ............................................        *** ¥0.033       *** ¥0.027        *** 0.023            *** 0.12    *** ¥0.034        *** ¥0.031             ** 0.012        *** 0.12
                                                                                                                          [¥18.71]          [¥6.46]           [2.99]             [5.51]       [¥35.41]          [¥10.31]               [2.03]          [6.80]
                                                 Relative quoted Spread ....................................          *** ¥0.0049      * ¥0.00097          0.00034          *** 0.0046    *** ¥0.0041       *** ¥0.0014             0.00021      *** 0.0034
                                                                                                                           [¥9.59]          [¥1.80]            [0.53]            [3.30]        [¥8.54]            [¥6.89]              [0.74]          [4.66]
                                                 Effective spread ($) ...........................................      *** ¥0.027           ¥0.026        *** 0.029           ** 0.038     *** ¥0.026        *** ¥0.021           ¥0.0018         *** 0.051
                                                                                                                           [¥4.97]          [¥1.43]           [5.17]             [2.16]       [¥58.10]          [¥12.81]            [¥0.63]            [4.81]
                                                 Relative eff. spread ...........................................     *** ¥0.0039          0.00043           0.0055         *** 0.0028    *** ¥0.0030       *** ¥0.0010         ¥0.00013         *** 0.0016
                                                                                                                           [¥3.12]             [0.17]         [1.36]             [4.42]       [¥10.78]            [¥9.58]           [¥1.09]            [3.23]
                                                 Cancel-to-trade ..................................................         *** 5.10         *** 6.69       *** 7.56           *** 18.8         *** 4.56           *** 5.49          *** 6.87       *** 12.3
                                                                                                                              [5.99]           [6.38]         [6.79]             [8.84]           [7.75]             [7.79]           [10.44]        [10.61]
                                                 Odd-lot rate (%) ................................................          *** 4.89         *** 5.61       *** 2.85            ** 1.49         *** 5.59           *** 6.39          *** 3.29         ** 1.85
                                                                                                                              [9.62]           [8.04]          [4.35]            [2.15]           [8.02]             [8.99]             [4.72]         [2.51]
                                                 Realized spread ($) ...........................................       *** ¥0.014       *** ¥.0099           .00037          *** 0.040     *** ¥0.014        *** ¥0.013       *** ¥0.0068         *** 0.038
                                                                                                                          [¥27.94]          [¥7.43]           [0.12]             [4.45]       [¥48.36]          [¥17.96]            [¥5.13]            [5.64]
                                                 Relative real. spread .........................................       *** ¥.0024         ¥.00032         ¥.00039             ** .0014     *** ¥.0014       *** ¥.00054       *** ¥.00013         *** .0012
                                                                                                                          [¥11.82]          [¥1.36]        [¥1.25]               [2.37]       [¥14.08]          [¥12.52]            [¥2.77]            [3.65]
                                                 Volume (1,000 shares) ......................................                   26.5          ** 30.3           12.5            ¥5.41               19.1               3.35              0.20     ** ¥3.25
                                                                                                                              [1.30]           [2.13]          [1.32]         [¥1.07]             [1.42]             [0.40]             [0.04]     [¥2.44]
                                                 Cum Depth 10c from mdpt ...............................                 *** ¥0.17       *** ¥0.26        ** ¥0.27           ** ¥0.34        *** ¥0.49         *** ¥0.54         *** ¥0.45        ** ¥0.63
                                                                                                                           [¥3.93]          [¥5.00]        [¥2.59]            [¥2.37]          [¥5.51]            [¥6.29]           [¥4.91]        [¥3.15]
                                                 Cum Depth ¥10c from mdpt ............................                   *** ¥0.22       *** ¥0.19       *** ¥0.37           ** ¥0.45        *** ¥0.49         *** ¥0.42         *** ¥0.50        ** ¥0.79
                                                                                                                           [¥5.28]          [¥3.74]        [¥3.44]            [¥2.83]          [¥6.33]            [¥5.21]           [¥5.68]        [¥2.75]
                                                 CRT 10 round lots .............................................       *** ¥0.026           ¥0.001        *** 0.035            *** 0.14    *** ¥0.037            *** 0.085         *** 0.035       ** 0.075
                                                                                                                          [¥19.56]          [¥0.19]           [3.99]             [1.03]        [¥2.72]               [2.75]            [4.20]          [2.37]
                                                    a This table presents the effects of a reduction in minimum tick size from $0.05 to $0.01 cent on various quoting and trading outcome variables. The first bin is for
                                                 stocks with quoted spreads ($0.00, $0.06). The second bin is for stocks with quoted spreads in the range ($0.06, $0.09). The third bin is for stocks that had quoted
                                                 spreads of ($0.09, $0.15). The fourth bin is for stocks with quoted spreads greater than $0.15. A difference-in-differences regression with no control variables is esti-
                                                 mated using data covering Control, Test Group 2, and Test Group 3 TSP stocks from 08/01/2018–11/30/2018. All observations are at the stock day level. For each
                                                 outcome variable Yjt, listed in the left-hand side column, the table presents only the difference-in-differences coefficient estimates that indicate the effect of the TSP
                                                 on the dependent variable. Estimates are performed by past quoted spread subsamples that decompose the sample based on average quoted spreads during May–
                                                 June of 2018. Among the outcomes’ variables, the quoted spread refers to the distance between the NBBO midpoint and the NBBO quote. The effective spread is the
                                                 distance between the NBBO midpoint and the realized trade price; the realized spread is the distance between a future NBBO midpoint (5-minutes ahead) and the
                                                 trade price. Relative spread measures are calculated as the spread scaled by the NBBO midpoint. The cancel-to-trade ratio is the daily number of order cancellations
                                                 divided by the number of trades, for displayed orders. The odd-lot rate is the percentage of trades in a day which executed against an odd-lot quote. CRT 10, or the
                                                 cost of a round-trip trade of 10 round lots, measures the cumulative transaction costs from buying and then immediately selling 10 round lots. The CRT assumes that
                                                 an order that is larger than the displayed depth at the best price will not execute in full at that price. Instead, the assumed unfilled portion will execute at worse prices
                                                 until completely filled with displayed depth. All data are Winsorized at the 1% and 99% level. The numbers in the [ ] brackets reflect t-statistics that are based on two-
                                                 way stock-and-date clustered standard errors. Symbols *, **, and *** reflect statistical significance at 10%, 5%, and 1% type-1 error levels.


                                                   As discussed in the Proposing                                             of the TSP was associated with a                                shares available at the NBBO was the
                                                 Release, this analysis provides evidence                                    decrease in depth at the NBBO, when                             greatest for stocks with tighter quoted
                                                 of a fundamental tradeoff between                                           the tick size was reduced from $0.05 to                         spreads and smaller for stocks with
                                                 accurate pricing on one hand and                                            $0.01, as signified by the negative and,                        wider quoted spreads. The finding that
                                                 incentives for liquidity provision on the                                   in most cases, statistically significant                        tighter quoted spread stocks experience
                                                 other. Across all specifications, the end                                   coefficients reported. The reduction in                         the greatest decline in depth at the

                                                   1269 Ordinary least squares (OLS) regression refers                          1271 In this equation the variable Y denotes the             effects and not controlling for other criteria such as
                                                 to a statistical technique for estimating the linear                        response variable of interest such as quoted spread             volatility. See Virtu Letter II at 15. A very similar
                                                 relationship between an independent variable and                            and depth. The subscripts j and t serve to index                analysis, which did consider fixed effects and a
                                                 dependent variables by minimizing the sum of                                stocks and days respectively. a0, ap, ae, and b are             host of control variables including volatility, is
                                                 squared errors between the estimate and the
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                                                                                                                             coefficients (to be estimated), and uj,t is the error
                                                                                                                                                                                             included in Barardehi et al., supra note 231. Their
                                                 observed independent variable. The use of OLS and                           term. Pilotj is an indicator variable that equals 1 if
                                                 quantile regressions is common in the literature on                         stock j was in the treatment group, or 0 if stock j             analysis showed that all key results were
                                                 the TSP pilot.                                                              was in the control group. Eventt is an indicator                economically unchanged when considering fixed
                                                   1270 The primary advantage to quantile                                    variable which is equal to 1 if the day t was post              effects and a host of control variables.
                                                 regressions is that they are less sensitive to outliers                     the treatment event and equals 0 otherwise. Table                  1272 In this equation u is the error term from the
                                                                                                                                                                                                                       j,t
                                                 that can affect mean inference in OLS. Thus,                                8 reports the difference-in-differences estimator of            previous regression specification equation, supra
                                                 median regressions provide additional robustness to                         b for a different response variable Y across the                note 1271, and the loss function is defined as: rt(u)
                                                 the analysis and ensure that results are not driven                         different quoted spread bins. One commenter                     = t max(u,0) + (1-t) max(-u,0) ; where 0 < t < 1.
                                                                                                                                                                                                                                                                ER08OC24.002</GPH>




                                                 by outliers.                                                                criticized this model for failing to include fixed



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                                                 NBBO is consistent with the idea that,                   narrow quoted spreads by improving                    three ticks within the spread to ten to
                                                 for these stocks, the $0.05 tick was the                 competition. For the stocks in the third              fifteen ticks did not appear to reliably
                                                 most constraining, and so liquidity that                 and fourth bins, the story is different, as           help or harm transaction costs as
                                                 would have naturally spread out within                   the reduction in the tick size leads to               measured by effective spreads.
                                                 the quoted spread given a smaller tick,                  wider quoted spreads. These stocks                       These results, like the results for
                                                 bunched at the wider tick increments,                    went from having more than two or                     quoted spread, suggest that for stocks for
                                                 and that once the tick-constraint was                    more ticks within the quoted spread,                  which the narrowing of the tick size
                                                 relaxed this liquidity naturally spread                  with a $0.05 tick, to having more than                meant that the stock went from having
                                                 out over the additional price levels. For                10 ticks within the quoted spread, with               less than 2 ticks within the quoted
                                                 less tick-constrained stocks, the                        a $0.01 tick. This result is consistent               spread to 1–10 ticks within the quoted
                                                 bunching was less severe since liquidity                 with the idea that for wider quoted                   spread, the effect of reducing the tick
                                                 already had some room to spread out.                     spread stocks, the prevailing effect of               was beneficial in terms of reducing
                                                    One commenter stated that the                         reducing the tick size was to increase                transaction costs. For stocks with very
                                                 Commission did not provide any                           transaction costs and widen spreads by                wide quoted spreads, reducing the tick
                                                 analysis of the effect of the proposal on                fragmenting liquidity and increasing the              size appeared to harm liquidity, which
                                                 displayed liquidity and liquidity deeper                 risk of pennying which made trading                   is consistent with fragmentation and
                                                 in the book, including with respect to                   more costly leading to wider quoted                   pennying being the prevailing effect.
                                                 less liquid securities and during times                  spreads. This pattern of results—namely                  The theoretical discussion above
                                                 of market stress.1273 The Proposing                      narrower spreads for the first and                    suggests that executing a larger order
                                                 Release did examine the effect of a tick                 second bins and wider spreads for the                 may become more complex with a
                                                 reduction on displayed liquidity and                     fourth—holds regardless of whether                    smaller tick size—meaning it may take
                                                 cited academic literature for further                    dollar spreads, relative spreads, OLS, or             visiting more venues as well as
                                                 analysis.1274 The same commenter                         quantile regressions are used, suggesting             executing across more price levels to
                                                 stated that reducing the tick as                         this is a robust outcome of the end of                execute an order with a smaller tick
                                                 presented in the proposal would reduce                   the TSP.                                              size. This potential outcome is explored
                                                 depth at the NBBO by more than                                                                                 using the ‘‘cancel-to-trade’’ ratio. A
                                                                                                             The pattern for effective spreads is
                                                 82%.1275 The Commission                                                                                        higher ratio indicates more frequent
                                                                                                          similar to that observed for quoted
                                                 acknowledges that, given the magnitude                                                                         canceling of orders per the amount of
                                                                                                          spreads. Effective spreads measure the
                                                 of the reduction in the proposal, it is                                                                        trading volume, and it is an indication
                                                                                                          average realized transaction cost for
                                                 conceivable that such a reduction could                                                                        that market participants are more active
                                                                                                          trades as it measures the absolute
                                                 have occurred for some stocks.                                                                                 in managing their quotes and their order
                                                                                                          distance between the realized trade
                                                 Barardehi et al. (2022) document that                                                                          strategies. In this analysis, both the OLS
                                                                                                          price and the NBBO midpoint at the
                                                 depth at the NBBO was 50% lower with                                                                           and the quantile regressions confirm
                                                                                                          time of the trade. Effective spreads do
                                                 the $0.01 tick compared to the $0.05                                                                           that a smaller tick resulted in a
                                                                                                          not always equal quoted spreads
                                                 tick. However, this was only true for                                                                          statistically significant increase in the
                                                                                                          because trades can execute inside the
                                                 tick-constrained TSP stocks. For stocks                                                                        cancel-to-trade ratio, suggesting more
                                                                                                          NBBO for numerous reasons, such as
                                                 with wide quoted spreads, depth was                                                                            complexity. Additionally, the
                                                                                                          odd-lot trades, midpoint trades, and
                                                 only about 16% lower with the smaller                                                                          magnitude of the effect is increasing in
                                                                                                          hidden orders. For stocks in bin one—
                                                 tick size. The TSP was associated with                                                                         the quoted spread, with wider quoted
                                                                                                          i.e., stocks for which the $0.05 tick was
                                                 a 1:5 tick size split, and the proposal                                                                        spreads having larger coefficients,
                                                                                                          the most restrictive—all specifications
                                                 that the commenter was commenting on                                                                           suggesting a larger effect in the cancel-
                                                                                                          suggest that reducing the tick size was
                                                 would have created a 1:10 split for some                                                                       to-trade ratio for stocks with wider
                                                                                                          associated with a decrease in realized
                                                 stocks relative to the baseline. In                                                                            spreads. This pattern is consistent with
                                                                                                          transaction costs as measured by
                                                 contrast, the adopted amendments                                                                               pennying and increased complexity
                                                                                                          effective spreads. For stocks in bin four,
                                                 create a smaller split than either a 1:5                                                                       having a greater impact on stocks with
                                                                                                          those with the widest quoted spreads
                                                 or a 1:10 split. The Commission does                                                                           wider quoted spreads. These stocks are
                                                                                                          prior to the tick size reduction, all
                                                 expect depth at the NBBO to decrease                                                                           unlikely to receive the smaller tick size
                                                                                                          specifications suggest that the reduction
                                                 for stocks receiving the smaller tick size                                                                     under the adopted amendments.
                                                                                                          in the tick size leads to an increase in
                                                 with the TSP analysis providing a likely                                                                          The analysis also looks at the effect of
                                                                                                          transaction costs, measured by effective
                                                 higher end estimate of the magnitude of                                                                        lowering the tick size at the end of the
                                                                                                          spreads. For stocks in between these
                                                 the decrease since the TSP was a bigger                                                                        TSP on the usage of odd-lot orders.
                                                                                                          extremes in bins two and three, the
                                                 change to the baseline than the adopted                                                                        Across all quoted spread bins, the usage
                                                                                                          results are not as uniform. For stocks in
                                                 amendments.                                                                                                    of odd-lot orders increases when the
                                                                                                          bin two, the sign of the coefficients for
                                                    For stocks in the first or second bins,                                                                     tick size decreases. This finding is
                                                                                                          all estimates (dollar effective spreads,
                                                 table 8 demonstrates that lowering the                                                                         consistent with the notion that liquidity
                                                                                                          relative effective spreads, OLS, and
                                                 tick to $0.01 leads to significantly lower                                                                     will be spread out over more levels
                                                                                                          quartile regressions) suggests lowering
                                                 quoted spreads. These stocks went from                                                                         leading to an increased use of odd-lot
                                                                                                          the tick size decreased effective spreads,
                                                 having approximately 1–2 ticks inside                                                                          orders to allow liquidity providers to
                                                                                                          although not all specifications agree as
                                                 the quoted spread, with a $0.05 tick, to                                                                       offer smaller levels of liquidity at finer
                                                                                                          to statistical significance. The OLS
                                                 having 1–10 ticks inside the quoted                                                                            price increments.1276 This result also
                                                                                                          regressions suggest that the effect was
                                                 spread, with a $0.01 tick. This finding
                                                                                                          statistically insignificant, while the                suggests that a lower tick size increases
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                                                 is consistent with the idea that for
                                                                                                          quantile regressions found a statistically            the need for market participants to have
                                                 stocks that are tick-constrained the
                                                                                                          significant effect and suggest that                   ready access to odd-lot information
                                                 effect of decreasing the tick size will
                                                                                                          effective spreads decreased. For stocks               given that the lower tick size can be
                                                   1273 See Citadel Letter I at 9.                        in the third bin, the analysis did not                expected to increase the usage of odd-
                                                   1274 See Proposing Release, supra note 11, section     find a consistent, statistically significant          lot quotes.
                                                 V.D.1.                                                   change in effective spreads, or in other
                                                   1275 See Citadel Letter I at 5.                        words, moving from roughly two to                       1276 See also Virtu Letter II at 6.




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                                                    Effective spreads provide a measure of               then liquidity providers will need to be                 size also reduced the total depth
                                                 liquidity providers’ revenue for the                    compensated for these costs in order to                  available deeper in the book with the
                                                 immediate execution of an incoming                      provide liquidity and, thus, realized                    coefficient for bin 4—i.e., those with the
                                                 order and the contrasting economic                      spreads will increase. To the extent that                widest quoted spreads—being the
                                                 effects also have implications for how                  the two effects offset one another,                      largest in magnitude. This finding is
                                                 liquidity providers’ revenue will be                    realized spreads might not change.                       consistent with a smaller tick
                                                 affected by a lower tick. The effective                    For tick-constrained stocks in bin one,               discouraging the posting of displayed
                                                 spread captures the liquidity premium,                  the analysis indicates a decrease in                     liquidity due to pennying concerns for
                                                 paid by those submitting orders for                     realized spreads across all                              stocks with wide quoted spreads.
                                                 immediate execution, and can                            specifications, and when using dollar or                    These depth of book findings do not
                                                 theoretically be decomposed into two                    relative realized spreads when the tick                  directly imply that trading deeper in the
                                                 components: Effective Spread =                          size was reduced from $0.05 to $0.01.                    book became more expensive for two
                                                 Realized Spread + Price Impact.1277 One                 This result is consistent with the notion                reasons. First, research suggests the use
                                                 component of the effective spread is the                that liquidity providers’ non-adverse                    of non-displayed quotations increases
                                                 price impact or adverse selection                       selection revenues will decrease due to                  significantly when the tick size is
                                                 component. It is the change in the                      bid and ask prices being more reflective                 reduced.1281 Thus the decline in
                                                 NBBO midpoint at the time of trade to                   of supply and demand with a smaller                      liquidity that we document is only a
                                                 some point in the future. This                          tick. The opposite occurs for stocks with                decline in displayed liquidity. Second,
                                                 component of the effective spread                       wide quoted spreads in bin four, where                   quotes tend to congregate at the price
                                                 captures the portion of the effective                   realized spreads increase significantly—                 just worse than the quoter’s desired
                                                 spread liquidity providers lose from                    consistent with liquidity providers                      price so that the quoter does not lose
                                                 trading with investors who are more                     needing to be compensated for the                        money on a transaction. When a wider
                                                 informed than they are and is also                      increased cost and complexity                            tick is tightened, quotes that were
                                                 referred to as the adverse selection                    associated with trading a wide quoted                    previously congregated at the wide tick
                                                 component of the bid-ask spread. The                    spread stock in a small tick                             will spread out at prices better than the
                                                 remainder of the effective spread, after                environment. For stocks in the middle                    previous tick allowed. Thus, a market
                                                 removing the adverse selection                          two bins, the effect of lowering the tick                participant taking liquidity from
                                                 component, is the realized spread. This                 size on realized spreads is unclear, as                  multiple price layers in the order book
                                                 portion of the effective spread acts as a               about half of the specifications indicate                to fulfill an order will have some shares
                                                 proxy 1278 for the compensation to the                  no change in realized spreads while the                  that transact at superior prices than it
                                                 liquidity provider for its non-adverse                  other half indicate lower effective                      would have with the wider tick.1282
                                                 selection costs. If a smaller tick                      spreads.                                                    Table 8 also presents the effect of the
                                                 decreases revenue for liquidity                            One commenter states that the                         TSP conclusion on the round-trip cost
                                                 providers, by allowing bid and ask                      Proposing Release did not address how                    to transact a trade for 10 round lots
                                                 prices to more accurately reflect supply                the rule would affect institutional                      (1,000 shares).1283 This analysis
                                                 and demand, then this effect should                     transaction costs, given that                            suggests mixed results for the effect of
                                                 manifest as a decrease in realized                      institutional traders frequently trade,                  the tick size reduction on the cost of
                                                 spreads for liquidity providers.                        and are concerned with sourcing larger
                                                 However, if increased order book                        quantities.1279 However, as considered                      1281 See analysis presented in Nasdaq Intelligent

                                                                                                         here, and in the Proposing Release, the                  Tick Proposal, supra note 150; see also Justin Cox,
                                                 fragmentation and pennying risk                                                                                  et al., Increasing the Tick: Examining the Impact of
                                                 increase the cost of providing liquidity,               Commission considered multiple                           the Tick Size Change on Maker-Taker and Taker-
                                                                                                         measures of depth beyond the NBBO,                       Maker Market Models, 54 Fin. Rev. 417 (2019); Amy
                                                    1277 Effective spreads can be interpreted as what    and Barardehi et al. (2022) also                         K. Edwards, et al., The Effect of Hidden Liquidity:
                                                 liquidity providers expect to earn from providing                                                                Evidence from an Exogenous Shock (working paper
                                                                                                         considers more. This depth beyond the                    Mar. 1, 2021), available at https://ssrn.com/
                                                 liquidity, assuming that prices do not change before
                                                 the liquidity provider is able to unwind its position
                                                                                                         top of the book analysis uses MIDAS                      abstract=3766512 (2021) (retrieved from SSRN
                                                 and realize its profit. Under this interpretation,      data to study how the tick size change                   Elsevier database).
                                                 realized spreads would proxy for what liquidity         affected liquidity deeper in the book.                      1282 Consider a numeric example. A market with

                                                 providers actually earn, taking into account that the   Analyzing liquidity deeper in the book                   a $0.05 tick is quoting asks of 500 shares at $10.05
                                                 market price may have moved against the liquidity                                                                and 500 shares at $10.10. An investor wishing to
                                                 provider before it could unwind its position.           is valuable because it gives an                          purchase 700 shares would purchase 500 at $10.05
                                                 Effective Spread = Realized Spread + Price Impact.      indication of how trading larger orders,                 and 200 at $10.10 for a total price of $7,045. If the
                                                 For a full mathematical decomposition of effective      which must go deeper in the book to be                   tick shrinks to $0.01 and cumulative shares posted
                                                 spreads into realized spread and price impact           fulfilled may be affected by a change in                 decline by 20%—for example—but those shares are
                                                 components see Peter N. Dixon, Why Do Short                                                                      spread evenly over the finer grid then there would
                                                 Selling Bans Increase Adverse Selection and             the tick size. Specifically this analysis                be 80 shares at each price level from $10.01 to
                                                 Decrease Price Efficiency, 11 Rev. Asset Pricing        calculates the daily average cumulative                  $10.10. An investor wishing to buy 700 shares
                                                 Stud. 122 (2021) app. at 165.                           shares available at $0.10 above and                      would need to purchase 80 shares at each price
                                                    1278 Realized spreads do not measure the actual
                                                                                                         below the midpoint for control and                       level from $10.01 to $10.08 and 60 shares at $10.09
                                                 trading profits that market makers earn from                                                                     for a total purchase price of $7,034. So even though
                                                 supplying liquidity. In order to estimate the trading
                                                                                                         treated stocks, and uses the same                        total depth declined, the cost to execute a 500-share
                                                 profits that market makers earn, we would need to       difference-in-differences analysis to                    trade would decrease due to more efficiently
                                                 know at what times and prices the market maker          examine the effect of reducing the tick                  spreading liquidity across more price levels.
                                                 executed the off-setting position for a trade in        size on cumulative depth.1280 Our                           1283 A round-trip trade refers to executing an

                                                 which it supplied liquidity (e.g., the price at which                                                            order to buy or sell the stock and immediately
                                                 the market maker later sold shares that it bought
                                                                                                         analysis suggests that reducing the tick                 reversing the position with an equal countervailing
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                                                 when it was supplying liquidity). If market makers                                                               order. We compute the cost of a roundtrip trade
                                                                                                           1279 See MEMX Letter at 10.
                                                 offset their positions at a price and time that is                                                               following the methodology laid out in Griffith and
                                                 different from the NBBO midpoint at the time lag           1280 In the regressions we take the natural log of    Roseman (2019), supra note 1002 and Chung, et al.,
                                                 used to compute the realized spread measure (Rule       shares available. This conversion helps standardize      supra note 1209. The methodology uses MIDAS
                                                 605 realized spread statistics are measured against     shares available for stocks with different prices by     data to take snapshots of the order book at 15-
                                                 the NBBO midpoint 5 minutes after the execution         making the interpretation in terms of percentage         minute increments throughout the trading day and
                                                 takes place), then the realized spread measure is an    changes. See also e.g., STA Letter at 6 and CCMR         calculates the transaction costs associated with
                                                 imprecise proxy for the profits market makers earn      Letter at 24 suggesting that a smaller tick size could   walking the book up 5 or 25 round lots to execute
                                                 supplying liquidity.                                    affect depth deeper in the book.                         a large trade.



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                                                 executing a 10-round lot trade. For bin                 environment. Thus, trading in an                       more than 15 ticks intra-spread, a $0.05
                                                 1 stocks, the total round-trip cost of a                approximate 1–10 tick range intra-                     tick where there were only 3 ticks intra-
                                                 10-round lot trade decreased when the                   spread provided a superior environment                 spread, appeared to provide a superior
                                                 tick size was lowered—suggesting an                     to trading in a 1–2 ticks intra-spread                 trading environment. For stocks with
                                                 improvement in liquidity deeper in the                  range. One caveat here is that the                     quoted spread between $0.10 and $0.15,
                                                 book. For stocks in bin 2 (i.e., less tick-             analysis highlights a key tradeoff with a              it is not clear which tick size provided
                                                 constrained stocks), the effect was not                 smaller tick for stocks with narrow                    a superior trading environment.
                                                 clear. The OLS regressions suggested no                 quoted spreads. They tend to have less
                                                                                                         depth at the NBBO, but narrower quoted                    In figure 2, data analysis shows how
                                                 effect, while the quantile regressions                                                                         the quoted spread of a stock during the
                                                 suggested an increase in trading cost.                  spreads. Thus, the total effect of this
                                                                                                         tradeoff on execution costs is largely a               TSP (‘‘pre-shock dollar quoted spread’’)
                                                 For stocks in bins 3 and 4 (i.e., those
                                                                                                         function of the size of the trade being                correlates with how investor transaction
                                                 that were not tick-constrained by the
                                                                                                         implemented with smaller trades                        costs, as captured by effective spreads,
                                                 $0.05 tick), the effect of lowering the
                                                                                                         receiving improved terms while                         changed when the TSP ended. For
                                                 tick size was to increase transaction
                                                                                                         sufficiently large trades get worse terms              stocks with an average of fewer than two
                                                 costs for larger trades. These results
                                                                                                         with a narrower quoted spread.                         ticks intra-spread (i.e., those with pre-
                                                 cohere with the idea that when stocks
                                                                                                         However, as discussed in greater detail                shock quoted spreads of $0.10 or less),
                                                 are tick-constrained the pricing
                                                                                                         in Barardehi et al. (2022), for tick-                  a reduction in tick size from 5 cents to
                                                 efficiency made possible by a smaller
                                                                                                         constrained stocks the point in terms of               1 cent significantly reduces effective
                                                 tick improves liquidity, and for stocks
                                                                                                         trade size at which a tick size reduction              spreads.1285 For stocks with an average
                                                 with wider quoted spreads a smaller
                                                 tick harms liquidity by making                          harms execution quality is quite large,                of more than three ticks intra-spread
                                                 individuals less willing to post                        around 50 round lots.1284 Additionally,                (i.e., those stocks with pre-shock quoted
                                                 displayed liquidity due to complexity                   for stocks with quoted spreads greater                 spreads greater than $0.15), a narrower
                                                                                                         than $0.15, where a $0.01 tick implied                 tick size increases effective spreads.
                                                 and the risk of pennying.
                                                                                                                                                                These results are broadly consistent
                                                    In conclusion, the analysis provided                   1284 See Barardehi et al. (2022) Table 4. See also
                                                                                                                                                                with the findings reported in table 8.
                                                 here suggests that, for stocks that were                Citadel Letter I at 11 requesting an analysis of the
                                                 limited to just 1–2 ticks intra-spread by               joint impact on depth and quoted spread. See also
                                                                                                                                                                  1285 See Proposing Release, supra note 11, at
                                                                                                         Virtu Letter II at 18 stating that lower quoted
                                                 the $0.05 tick, the reduction to a $0.01                spreads would harm markets by reducing the             80322–80323, including figure 2, which is also in
                                                 tick provided an improved trading                       incentive to post liquidity.                           Barardehi et al., supra note 231.
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                                                                                Figure 2: Difference-in-Differences Effect of the end of the TSP on
                                                                                                     Dollar Effective Spreads
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                                                                                                  .06         .08     .1      .12      .14    .16                       .18
                                                                                                               Pre-shock dollar quoted spread

                                                                            Source: Stocks in the TSP imposition period 08/12/2016-12/14/2016, where tick size
                                                                            increased from 1¢ to 5¢ for pilot stocks, are grouped into overlapping 6¢ intervals of
                                                                            average May and June 2016, i.e., pre-shock, quoted spreads: {(0,6¢),(1¢, 7¢), ...
                                                                            ,(15¢, 21¢),(16¢, 22¢). Stocks in the TSP conclusion period 08/08/2018-11/20/2018,
                                                                            where tick size decreased from 5¢ to 1¢ for pilot stocks, are grouped into overlapping
                                                                            6¢ intervals of average May and June 2018, i.e., pre-shock, quoted spreads. For each
                                                                            intervals, the effect of a tick size change on dollar effective spreads is estimated via
                                                                            difference-in-differences quantile (median) regressions that control for date fixed
                                                                            effects and double-cluster standard errors by stock and date. Point estimates of the
                                                                            treatment effects along with the corresponding 95% confidence intervals are plotted
                                                                            against the median pre-shock quoted spread in the respective interval. See Proposing
                                                                            Release, supra note 11, at 80322-80323, figure 1. See also Barardehi et al., supra note
                                                                            231.


                                                    The Commission’s results in table 8                       results for bin 2 stocks suggest that                   reducing the tick size for stocks that
                                                 provide useful information for                               moving from 1–2 ticks intra-spread to 5–                generally have at most 1.5 ticks intra-
                                                 predicting how the tick size reduction                       10 ticks also generally improves market                 spread is likely to improve market
                                                 associated with the amendments may                           quality across most measures. In short,                 quality for these stocks. One concern
                                                 affect market quality for stocks priced                      the TSP analysis suggests that stocks                   discussed earlier in this section is that
                                                 at, or greater than, $1.00 per share and                     with fewer than 2 ticks intra-spread on                 a reduction that is too aggressive could
                                                 that receive the $0.005 tick size                            average benefited from a tick size                      harm market quality by providing too
                                                 compared to the current baseline. For                        reduction. Consequently, this analysis                  many ticks intra-spread. However, the
                                                 stocks with prevailing quoted spreads                        provides support for the belief that                    analysis provided in table 8 does not
                                                 less than $0.015 there would generally                                                                               support this outcome since the Tick
                                                 be at most 1.5 ticks intra-spread with a                     cfm?abstract_id=3763516 (retrieved from SSRN            Size Pilot stocks in bin 1 and bin 2 still
                                                 $0.01 tick, or 3 ticks intra-spread with                     Elsevier database). The paper suggests that stocks      saw market quality improvements,
                                                 a $0.005 tick. The analysis in table 8 for                   reach their optimal price whenever the quoted           implying that narrow tick concerns
                                                                                                              spread is two ticks wide. While the paper advocates     didn’t yet dominate the effect on these
                                                 bin one stocks suggests that 1–5 ticks                       for a lower tick size, particularly for tick-
                                                 intra-spread provides a better trading                       constrained stocks, the two-tick quoted spread          stocks, it is unlikely that the smaller tick
                                                                                                              conclusion is the result of a highly stylized trading   size reduction associated with this Rule
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                                                 environment than does just one tick
                                                 intra-spread.1286 Additionally, the
                                                                                                              model which does not take into account pertinent        would lead to small tick problems
                                                                                                              factors from outside the model which likely affect      diminishing market quality.
                                                                                                              quoted spreads such as considerations of time
                                                   1286 One academic theoretical paper suggests that          priority and pennying concerns. Conditional on             Additional Sources of Information:
                                                 having a two-tick quoted spread is optimal. See              there being non-infinitesimal tick and round-lot        Commenters also suggested additional
                                                 Sida Li & Mao Ye, Discrete Prices, Discrete                  sizes, their model suggests that a two-tick wide
                                                 Quantities, and the Optimal Price of a Stock                 quoted spread is optimal. Otherwise, their model
                                                                                                                                                                      settings to identify when stocks are
                                                 (working paper Mar. 8, 2021, revised Jul. 7, 2023),          suggests an optimal policy choice of infinitesimal      trading with the optimal number of ticks
                                                                                                                                                                                                                     ER08OC24.003</GPH>




                                                 available at https://papers.ssrn.com/sol3/papers.            tick and round-lot sizes.                               intra-spread. One commenter suggested


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                                                 that the Commission should have                            In addition, it could be difficult to                quality.1294 These researchers find that
                                                 considered the European Union’s tick                    apply such analysis to the U.S. setting                 a tick size reduction reduces quoted
                                                 size approach, associated with MiFID II,                due to a number of structural                           spreads for both the narrower and wider
                                                 which assigns one of over 20 variable                   differences between the European                        quoted spread stocks—although the
                                                 tick sizes based on trading price and                   market and the U.S. markets. Key among                  effects are considerably larger for
                                                 number of transactions per day, and                     these is that European financial markets                narrower quoted spread stocks. The
                                                 Japan’s tick size approach.1287                         are not as integrated as the U.S. national              results of this study are consistent with
                                                    One paper on the European                            market system. For example, there is                    those in this release as it documents that
                                                 experience cited by commenters studied                  currently no consolidated tape or                       for some stocks, particularly those with
                                                 the effects of a new tick regime                        requirement to route orders to the                      narrower quoted spreads, reducing the
                                                 introduced by MiFID II on 511 stocks                    exchanges with the best prices in the                   tick size can reduce quoted spreads.
                                                 listed on Euronext Paris and found                      E.U.1289 This fact can affect inference in              This study also documents that depth at
                                                 results similar to the TSP analysis in                  the context of analyzing this Rule                      the best prices also tends to decrease
                                                 table 8.1288 In this study the authors                  because it means that existing studies of               with a smaller tick. However, this study
                                                 point out that MiFID II led to tick size                the effect of the European tick size                    has limitations in the context of using
                                                 increases for 339 stocks and decreases                  regime are generally limited to one                     it to determine the optimal tick to quote
                                                 for 82 stocks. Tick increases were                      exchange (e.g., the London Stock                        size ratio because the authors do not
                                                 followed by a widening of the quoted                    Exchange).1290 This can be a significant                separate stocks using a nominal quoted
                                                 spread, an increase in depth near the                   limitation when trying to apply insights                spread threshold which would allow
                                                 top of the book, and a reduction in                     from European studies to U.S. markets                   inference about how stocks with quoted
                                                 message traffic. Like the TSP analysis in               because, as has been found in existing                  spreads above or below a certain
                                                 table 8, tick decreases were followed by                research, using data from one exchange                  threshold were affected by the tick size.
                                                 a narrowing of quoted spreads,                          as compared to across all exchanges can                 Rather, they simply bifurcate the sample
                                                 reductions in depth at the top of the                   lead to opposite market quality effects                 in half which doesn’t apply a specific
                                                 book, and an increase in message traffic;               being documented.1291                                   quoted spread threshold and so it is
                                                 for a relatively wide price interval,                      As discussed above, a commenter also                 difficult to discern from their study
                                                 depths remained unchanged. Table 8                      suggested that the Commission should                    what the optimal tick to quoted spread
                                                 finds a reduction in the cost of a round                have considered the effects of tick size                threshold will be.
                                                 lot trade when low quoted spread                        modifications in Japan to inform the                       One commenter presented two
                                                 securities experience a reduction in the                appropriate thresholds for the tick size                industry studies based on reverse stock
                                                 tick; similarly, the analysis of MiFID II               change considered in this Rule.1292 The                 splits showing large reductions in
                                                 documents a reduction in transaction                    Tokyo Stock Exchange (TSE) assigns                      percentage spreads and hence trading
                                                 costs when the tick is reduced and the                  tick sizes ranging from 0.1 (JPY) to                    costs following reverse splits.1295 When
                                                 size of the trade is held constant. In                  100,000 (JPY) depending on the price of                 a stock undergoes a reverse split, its
                                                 sum, the effects of a change in tick size               the security in question. Stocks in the                 share price rises. All else equal, one
                                                 on Euronext Paris largely mirror the                    TOPIX 100 index have a different tick                   would expect quoted spreads to widen
                                                 effects documented with the TSP in                      size schedule than do other securities.                 in proportion so that the trading cost
                                                 table 8, indicating that the                            Again, making inferences from the TSE                   remains constant as a percentage of
                                                 Commission’s analysis is documenting a                  to this Rule is difficult due to the                    price. If the stock is tick-constrained,
                                                 generalizable phenomenon.                               structural differences between the way                  however, a reverse split causes the
                                                    However, there are several limitations                                                                       current penny tick to become lower
                                                                                                         that the tick sizes operate. On the TSE,
                                                 to using studies of Europe’s tick size                                                                          relative to the (higher) post-split price,
                                                                                                         tick sizes are price determined, under
                                                 regime. Research based on experience                                                                            relieving the tick constraint and
                                                                                                         this Rule, tick sizes depend on the
                                                 with the E.U. regime is difficult to apply                                                                      reducing trading costs as a percentage of
                                                                                                         prevailing quoted spread.1293
                                                 to this Rule because the criteria in this                                                                       the trade amount.1296 One study
                                                                                                         Additionally, trading in Japan is largely
                                                 Rule for determining the tick size is the                                                                       presented evidence from GE’s eight-for-
                                                                                                         consolidated on the TSE, whereas in the
                                                 TWAQS, which is not a factor in the                                                                             one reverse split, and showed that
                                                                                                         United States it is considerably more
                                                 European setting. When tick sizes                                                                               trading costs—as measured by the
                                                                                                         fragmented suggesting the same issue
                                                 change in Europe, it is due to changes                                                                          quoted spread as a fraction of the stock
                                                                                                         relating to inference as can occur with
                                                 in price or trading volume which can                                                                            price—fell 75%.1297 Another study
                                                 simultaneously affect quoted spreads.                   the European studies.
                                                                                                            In considering the experience in the                 presented evidence from five tick-
                                                 The Commission is unaware of research                                                                           constrained ETPs that underwent a five-
                                                                                                         Japan markets, one study used the
                                                 using the tick sizes associated with                                                                            for-one reverse split; the study found
                                                                                                         median quoted spread to divide stocks
                                                 MiFID II to identify the thresholds, in
                                                                                                         on the TSE and examines market
                                                 terms of quoted spread, where a stock                                                                              1294 See Ingrid M. Werner et al., Tick Size,

                                                 likely benefits or is harmed by a                                                                               Trading Strategies and Market Quality, 69 Mgmt.
                                                                                                           1289 See Rule 611 and supra note 226.
                                                                                                                                                                 Sci. 3818 (2023).
                                                 modification of the tick size, and the                    1290 See, e.g., Eros Favaretto et al., Impact of         1295 See Why GE’s basis point spread was four
                                                 commenter did not provide such                          MiFID II Tick-Size Regime on Equity Markets—            times higher before its reverse split attached to
                                                 research.                                               Evidence From the LSE, 29 Eur. Fin. Mgmt. 109,          MEMX Letter at 43–63; see also The Tick Size
                                                                                                         109–149 (2023).                                         Debate Revisited attached to MEMX Letter at 64–
                                                                                                           1291 For example, Chung, et al., supra note 1209,     70.
                                                   1287 See CCMR Letter at 27.
                                                                                                         which uses data from all US exchanges, and Griffith        1296 See supra note 1064 for a numerical example
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                                                    1288 Autoritè Des Marchès Financiers (AMF),

                                                 MiFID II: Impact of the New Tick Size Regime            and Roseman (2019), supra note 1002, who use data       showing the effect that a reverse split has on
                                                 (March 2018), available at https://www.amf-             from just Nasdaq produce opposite findings in some      transaction costs for a tick-constrained stock.
                                                 france.org/sites/institutionnel/files/contenu_simple/   areas concerning the effect of the TSP on various          1297 See Why GE’s basis point spread was four

                                                 lettre_ou_cahier/risques_tendances/MiFID%20II           dimensions of market quality—i.e., the effect of the    times higher before its reverse split attached to
                                                 %20Impact%20of%20the%20New%20Tick%20                    TSP on the cost to trade very large orders.             MEMX Letter at 43–63. Chart A of the study
                                                                                                           1292 See supra note 1287.
                                                 Size%20Regime.pdf. This paper was cited in                                                                      indicates that the reverse split caused the average
                                                 Nasdaq Letter I at 10; Tradeweb Markets Letter at         1293 See infra section VII.D.1.b.iii for additional   quoted spread as a fraction of the share price to
                                                 4; Robinhood Letter at 50–51; and IEX Letter I at       discussion of price as a determinate of tick-           decline from approximately 8 basis points to 2 basis
                                                 13.                                                     constrained securities and thus of the tick size.       points.



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                                                 that trading costs for these ETPs                          to 4 ticks intra-spread suggested as                  to be fulfilled on an inverted exchange
                                                 declined substantially.1298 These                          potentially optimal by many                           is higher.1307 If the inverted exchange
                                                 studies are consistent with results in                     commenters.1303                                       cannot fill an order it would generally
                                                 table 8 above—when the tick constraint                        The narrower quoted spreads from a                 re-route it or cancel it, depending on the
                                                 is relaxed, the quoted spread becomes                      smaller tick size may result in fewer                 terms of the order. Both options are
                                                 smaller relative to the share price,                       opportunities for price improvement by                costly as re-routing orders usually
                                                 thereby reducing transaction costs.                        retail wholesalers, which may cause                   involves a re-routing fee charged by the
                                                    Some commenters provided explicit                       execution quality for wholesalers as                  routing exchange and an access fee
                                                 specifications of what they stated is the                  measured by price improvement                         charged by the receiving exchange,
                                                 optimal tick to quoted spread range.1299                   statistics to appear worse. However, the              which would make the trade more
                                                 These commenters presented evidence                        prices that retail investors receive for              expensive to transact relative to just
                                                 and views typically suggesting that 2 to                   trades in stocks receiving the lower tick             sending it first to a high volume maker-
                                                 4 ticks intra-spread may be the optimal                    size is likely to improve overall relative            taker exchange. The transfer would also
                                                 range. Given the analysis of these                         to the baseline due to a narrower quoted              take a small amount of time which
                                                 commenters, analysis presented here,                       spread, even though the portion of their              could increase adverse selection risk for
                                                 and additional research,1300 the                           price labeled price improvement may                   the re-routed order. Failing to execute
                                                 Commission believes that the                               decline.                                              the order is also costly as it could
                                                 amendments, which only reduce the                             One commenter suggested generally                  expose the trader to increased costs if
                                                 tick size when prevailing quoted                           that the Commission use simulations to                the market moves against the trader in
                                                 spreads fall below $0.015, are likely to                   determine the optimal tick size without               the time it takes to submit a new order.
                                                 improve market quality for these stocks                    providing details about how such a                    Consequently, market share on inverted
                                                 on average and are unlikely to lead to                     simulation could be structured.1304                   exchanges may be low for reasons other
                                                 detrimental pennying or complexity                         However, it is unclear how such                       than the stock being tick-constrained.
                                                 concerns. Specifically, while there will                   simulations would be structured, and                  For these reasons, low volume on
                                                 likely be less depth at the NBBO and at                    the Commission is unaware of existing                 inverted exchanges is not sufficient to
                                                 each price level, quoted and effective                     simulations or of existing frameworks                 identify demand to trade within the
                                                 spreads are likely to decline such that                    for simulations studying the effect of                quoted spread.
                                                 the cost of executing small and medium                     tick sizes on market quality. Challenges
                                                 size trades will likely decline. Pennying                  associated with simulations include                   iii. Alternative Definitions of Tick-
                                                 is unlikely to predominate. This is                        model accuracy and complexity, data                   Constrained
                                                 because, at most, the smaller tick size                    quality, computational limitations,                      Some commenters supported using
                                                 will result in 3 ticks intra-spread. The                   uncertainty and sensitivity, validation               TWAQS to determine which stocks are
                                                 analysis contained in this release,                        and verification, scalability, and the                tick-constrained.1308 Other commenters
                                                 additional research,1301 and                               challenges associated with applying                   stated that other criteria, in addition to
                                                 commenters tend to agree that pennying                     simulations to human behavior which is                or in place of the quoted spread was
                                                 is unlikely to be a dominant effect at 3                   inherently unpredictable, and the                     needed to identify truly tick-constrained
                                                 ticks intra-spread.1302 In fact, 3-ticks                   challenges associated with modeling                   securities.1309 One commenter stated
                                                 intra-spread falls in the middle of the 2                  dynamic and evolving systems like                     that adding additional criteria would
                                                                                                            financial markets.                                    decrease complexity as it would limit
                                                    1298 See The Tick Size Debate Revisited attached           One commenter, while not opposing a                the number of stocks receiving a smaller
                                                 to MEMX Letter at 64–70. The appendix of the               half-cent tick for some stocks, stated                tick size, and would prevent stocks from
                                                 study indicates that the reverse split caused              that volume on inverted exchanges
                                                 transaction costs to fall by more than 40% for tick-
                                                                                                                                                                  bouncing back and forth between tick
                                                 constrained ETPs, with some ETPs experiencing              implied that there may not be a demand                regimes.1310 The Commission agrees
                                                 cost reductions of 80%. The study further indicates        to trade with significantly narrower tick             with commenters that the quoted spread
                                                 at 66 that similar results, ‘‘can be achieved by           sizes.1305 Inverted venues, which as                  is sufficient to determine whether a
                                                 amending the tick regime to simply allow more
                                                 granular prices, without the need to change the
                                                                                                            discussed in section VII.C.2.b, offer a               stock is tick-constrained as a matter of
                                                 price of the security in question.’’                       rebate to liquidity demanders and                     principle but acknowledges that not all
                                                    1299 Nasdaq Letter I at 8 provides some empirical       charge a fee to liquidity providers                   stocks receiving the lower tick size will
                                                 analysis suggesting that 2 to 3 or maybe 2 to 4 ticks      effectively allow market participants to              react in the same manner to the tick
                                                 intra-spread is optimal. Pragma Letter at 1 uses data      price orders within the tick by the
                                                 from stock splits to suggest that 1.5 to 4 ticks is
                                                                                                                                                                  size. The Commission has considered
                                                 optimal and that more than 4 is too many. RBC              amount of the rebate to liquidity                     commenters’ views regarding variables
                                                 Letter at 3 cites research that 2 ticks intra-spread is    demanders. The commenter states that if               other than quoted spread, and has
                                                 optimal. CCMR Letter at 23 cites academic research         there were significant demand to trade                conducted additional, supplemental
                                                 suggesting 2 ticks intra-spread may be optimal. XTX
                                                 Markets Letter at 4 suggests 2 to 4 ticks intra-spread
                                                                                                            within the tick size, then we would                   analysis, presented in this section.
                                                 as optimal. MMI Letter at 5 suggests 3–9 as optimal.       expect to see inverted exchanges                         Commenters’ suggestions for
                                                 IEX Letter I at 14 states for 2 to 4 ticks intra-spread.   capture significant market share among                additional variables fell into three broad
                                                 Budish Letter at 5 indicating that two or fewer is         truly tick-constrained stocks.1306                    categories. The most common type of
                                                 too few and suggesting that 2 to 4 may be                     This argument, however, does not
                                                 reasonable. Harris Letter at 7 suggesting 2 ticks
                                                                                                                                                                  suggestion involved a depth measure,
                                                 intra-spread.                                              take into account the fact that inverted              with commenters questioning whether a
                                                    1300 See Barardehi et al., supra note 231.              exchanges are less likely to be at the
                                                    1301 Id.                                                NBBO than maker-taker exchanges and                     1307 Id.
                                                                                                                                                                    1308 See, e.g., Budish Letter at 4 and Harris Letter
                                                                                                            thus the risk of an order not being able
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                                                    1302 One commenter stated that at 4 or more ticks

                                                 intra-spread hidden orders become more prevalent                                                                 at 7.
                                                 which can harm market quality. See IEX Letter I at                                                                  1309 See, e.g., T. Rowe Price Letter at 4, NYSE
                                                                                                              1303 Other commenters expressing support for a
                                                 12. However, the smaller tick size implemented by                                                                Letter I at 3, BlackRock Letter at 5, Citadel Letter
                                                                                                            $0.005 tick for stocks with narrow quoted spreads     I at 30. Optiver Letter at 1, 2. See also infra section
                                                 the Rule will not result in 4 or more ticks for the
                                                 associated stocks and so, even if true, the effect         include Schwab Letter II at 6, STA Letter at 7, XTX   VII.F.1.a for additional analysis of these
                                                 suggested by the commenter is unlikely to play a           Letter at 4.                                          alternatives.
                                                                                                              1304 See Mitre Corp. Letter at 5.
                                                 large role in market quality because the rule will                                                                  1310 See Citadel Letter II at 4. The Commission
                                                                                                              1305 See IEX Letter I at 14.
                                                 not result in 4 or more ticks intra-spread for stocks                                                            considers the effect of stocks moving between tick
                                                 receiving the $0.005 tick size.                              1306 Id.                                            size regimes in section VII.D.1.d, infra.



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                                                 stock with a narrow-quoted spread was                      stock trading with a quoted spread at                 only present quantile regressions. We
                                                 actually tick-constrained if the sizes of                  the minimum pricing increment nearly                  obtain daily regular hours trading
                                                 the quotes were small.1311 Others                          all the time does so because the stock                volume, value weighted average price,
                                                 suggested metrics based on trading                         would trade with a narrower spread if                 and depth at the NBBO information
                                                 volume.1312 Another commenter                              that was possible, but the minimum                    from WRDS Intraday indicators for all
                                                 suggested price as a measure of tick                       quoting increment constrains the                      trading days in May and June 2018. We
                                                 constraint.1313                                            spread. Finally, quoted spread is                     divide bin 1 and bin 2 stocks into
                                                    Some commenters stated that even                        correlated with depth, volume, and                    quartiles based on their average volume,
                                                 stocks with the narrow quoted spread                       price.1318 For these reasons, it is likely            price, or depth at the NBBO. The
                                                 may not benefit from a smaller tick                        that stocks with narrower quoted                      analysis uses quantile (median)
                                                 unless other criteria were met.1314 For                    spreads will also have relatively high                regressions1321 to estimate the following
                                                 example, commenters stated that                            depth, and volume, and have lower                     difference-in-differences regression
                                                 reducing the tick size for stocks that                     prices. However, to fully address                     model separately for the high and low
                                                 have narrow quoted spreads, but low                        commenters’ concerns, the Commission                  quartile samples: 1322
                                                 depth, could lead to pennying which                        has provided additional, supplemental                 Yj,t = α0 + αPPilotj + αEEventt +
                                                 could harm market quality.1315 Another                     analysis that examines whether there is                     β(PilotjxEventt) + μj,t
                                                 commenter stated that if there is                          meaningful variation of the effect of a                  By checking to see if market quality
                                                 insufficient depth, a narrower tick size                   reduction of tick size within those                   measures are affected differently for
                                                 could harm market quality by                               stocks that have lower quoted spreads.                stocks with similarly narrow quoted
                                                 fragmenting liquidity over multiple                           Specifically, the analysis presented in            spreads, but which have different depth,
                                                 price levels—even if quoted spreads are                    table 9 explores the question of whether              or price, or volume profiles, the analysis
                                                 tight.1316 Another commenter didn’t                        stocks with similarly narrow quoted                   can show whether the effects of
                                                 articulate specific mechanism by which                     spreads respond differently to the TSP                reducing the tick size depend on these
                                                 harms that might arise due to failing to                   tick size change when conditioning on                 additional characteristics in a manner
                                                 take into account other criteria, but                      other factors suggested by commenters,                that a quoted spread measure misses.
                                                 encouraged the Commission to take a                        such as depth, volume, or price. In sum,              The results are presented in table 9.
                                                 ‘‘pragmatic approach’’ starting with a                     our analysis does not find evidence                   Panel A presents the analysis that
                                                 narrow set of ‘‘truly tick-constrained                     supporting the hypothesis that a                      considers the effect of trading volume
                                                 stocks’’ as defined by multiple                            narrower tick size is likely to harm                  on a stock’s response to a reduction in
                                                 criteria.1317                                              stocks when considering criteria such as              the tick size. The analysis sorts and
                                                    As discussed above, quoted spread                       depth, volume, or price in addition to                subdivides the treated and control
                                                 reflects supply and demand forces in                       the quoted spread. Instead, our analysis              stocks separately by volume into
                                                 the market for liquidity provision. Many                   suggests that across most market quality              quartiles, and it then performs
                                                 of the concerns of commenters regarding                    metrics stocks with high and low price,               regressions on the top and bottom
                                                 a smaller tick would be expressed by                       volume, or depth respond in a similar                 quartile of stocks separately. Columns
                                                 wider quoted spreads; for example,                         magnitude and direction to the same                   one and two present the results for
                                                 pennying could potentially reduce                          tick size change. For some market                     stocks with TWAQS less than or equal
                                                 incentives for liquidity provision,                        quality metrics, one subset of stocks                 to $0.011, whereas Columns three and
                                                 raising quoted spreads. This argues in                     may not have a statistically significant              four present the results for stocks with
                                                 favor of quoted spread as the main                         response to the tick size change.                     TWAQS greater than $0.011 but less
                                                 criterion. Furthermore, it is unlikely                     However, in no cases do we observe that               than or equal to $0.020. Columns one
                                                 that a stock which trades near $0.01                       stocks with high or low price, volume,                and three present the results for stocks
                                                 nearly all the time does so at random                      or depth respond in opposite directions               in the bottom quartile of trading volume
                                                 and would continue to do so even if                        with magnitudes that are statistically                while columns two and four present the
                                                 unconstrained. It is more likely that a                    significant. Thus, we find no evidence                results for stocks in the highest quartile
                                                                                                            of a benefit from adding criteria to the              of trading volume. Panel B presents the
                                                    1311 See, e.g., Invesco Letter at 3 suggesting that
                                                                                                            tick size determination that would
                                                 we consider whether a stock had multiple bids and
                                                 offers at the NBBO. BlackRock Letter at 5 suggesting
                                                                                                            compensate for the considerably greater               The first bin is for stocks with quoted spreads
                                                                                                            complexity that such an addition would                ($0.00, $0.06). The second bin is for stocks with
                                                 we consider Average Quoted Size. Citadel Letter I
                                                                                                                                                                  quoted spreads in the range ($0.06, $0.09). The
                                                 at 30 suggesting we consider average size at the           cause.                                                third bin is for stocks that had quoted spreads of
                                                 NBBO/Daily volume. Cboe, State Street, et al. Letter          The analysis presented in table 9                  ($0.09, $0.15) or approximately 2–3 ticks intra at a
                                                 at 2 and BlackRock Letter at 5 suggesting we               builds on the TSP analysis considered                 $0.05 tick increment. The fourth bin is for stocks
                                                 consider quote size at the NBBO to average trade
                                                 size, NYSE Letter I at 3 suggesting a quote stability      above, with a few modifications.1319                  with quoted spreads greater than $0.15.
                                                                                                                                                                     1321 The primary advantage of quantile
                                                 measure of how long it takes the NBBO to return            First, for brevity, we only report
                                                                                                                                                                  regressions is that they are less sensitive to outliers
                                                 to pre-trade levels after a trade takes liquidity at the   findings for bin 1 and bin 2 stocks—i.e.,             that can affect mean inference in OLS. Thus,
                                                 NBBO. T. Rowe Price Letter at 4 suggesting that            those stocks with narrower quoted
                                                 depth could be measured by how many exchanges                                                                    median regressions provide additional robustness to
                                                 are currently quoting the NBBO.                            spreads—because the final Rule will                   the analysis and ensure that results are not driven
                                                    1312 See, e.g., BlackRock Letter at 5, Citadel Letter   similarly only affect stocks with less                by outliers.
                                                                                                                                                                     1322 In this equation the variable Y denotes the
                                                 I at 30 (both suggesting trading volume as a measure       than 2 ticks intra-spread.1320 We also
                                                 of tick-constrained) and T. Rowe Price Letter at 4                                                               response variable of interest such as quoted spread
                                                 (suggesting a turnover-based measure of tick-                                                                    and depth. The subscripts j and t serve to index
                                                                                                              1318 Using WRDS Intra Day Indicators Data for all
                                                                                                                                                                  stocks and days respectively. a0, ap, ae, and b are
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                                                 constrained).                                              stocks priced over $5.00 without sym_suffix, the
                                                    1313 See BlackRock Letter at 5.                                                                               coefficients (to be estimated), and mj,t is the error
                                                                                                            correlation between daily log quoted spread, log      term. Pilotj is an indicator variable that equals 1 if
                                                    1314 See, e.g., Citadel Letter I at 5–6 and
                                                                                                            share volume, log price, and log average depth at     stock j was in the treatment group, or 0 if stock j
                                                 BlackRock Letter at 5, Invesco Letter at 3, Virtu          the NBBO is ¥.39, .35, and ¥.49 respectively. See     was in the control group. Eventt is an indicator
                                                 Letter II at 17.                                           also Harris Letter at 7.                              variable which is equal to 1 if the day t was post
                                                    1315 See, e.g., Citadel Letter I at 5–6 and               1319 See supra section VII.D.1.b.ii.
                                                                                                                                                                  the treatment event and equals 0 otherwise. Table
                                                 BlackRock Letter at 5.                                       1320 The Proposing Release analysis divided         8 reports the difference-in-differences estimator of
                                                    1316 See Invesco Letter at 3.
                                                                                                            stocks into four bins based on their prevailing       b for a different response variable Y across the
                                                    1317 See Cboe Letter II at 2, 6.                        quoted spreads prior to the conclusion of the TSP.    different quoted spread bins.



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                                                 same analysis as panel A but where                      We consider the differential effect of the             spreads, cancel-to-trade ratio, share of
                                                 stocks are sorted by price, and panel C                 TSP on depth, quoted spreads, effective                odd-lot volume, and realized spread.
                                                 does the same for depth at the NBBO.                                                                           BILLING CODE 8011–01–P



                                                                                  Table 9: TSP Analysis Conditional on Volume, Price, and Depth at the NBBO

                                                                                                                                              Panel A: Trading Volume

                                                                      Quoted Spread Bin#                                       TWAQS :-:; $0.06                              $0.06 < TWAQS:<=; $0.09

                                                                      Volume                                          Low                         High                     Low                    High


                                                                      Depth ( I 00 shares)




                                                                      Depth ($1,000)




                                                                      Quoted Spread($)                                                                                   -0.0097              -0.035***

                                                                                                                                                                          (-0.72)                 (-6.57)

                                                                                                                                                                                                 -0.0012
                                                                      Relative quoted Spread
                                                                                                                                                                   0.00064

                                                                                                                                                                          (-0.39)                 (-1.41)

                                                                      Effective spread ($)                           -0.028                  -0.039***                    0.015                   0.027

                                                                                                                     (-1.24)                      (-3.49)                 (0.29)                  (0.76)

                                                                                                                     -0.0037                                              0.0079                 0.00059
                                                                      Relative effective spread
                                                                                                                                        0.0049***

                                                                                                                     (-0.92)                      (-3.43)                 (0.83)                  (0.91)

                                                                      Cancel-to-trade



                                                                                                                                                                         0.00068                 0.0020**
                                                                      Share of odd-lot volume
                                                                                                                                                                                             *

                                                                                                                                                                          (1.45)                  (5.21)

                                                                                                                                                                         -0.0049
                                                                      Realized Spread
                                                                                                                                                                                         0.0086***

                                                                                                                                                                          (-1.13)                 (-7.39)


                                                                      Relative Realized Spread
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                                                                                                                                                                                                            ER08OC24.005</GPH>




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                                                                                                                                                        Panel B: VWAP

                                                                        Quoted Spread Bin#                                     TWAQS :;:; $0.06                                $0.06 < TWAQS::=; $0.09

                                                                        Price                                         Low                         High                       Low                  High


                                                                        Depth (100 shares)




                                                                        Depth ($1,000)



                                                                        Quoted Spread($)                                                                                    -0.012              -0.031 ***

                                                                                                                                                                            (-1.21)              (-6.21)

                                                                                                                                                                            -0.0012
                                                                        Relative quoted Spread
                                                                                                                                                                                          0.00048***

                                                                                                                                                                            (-0.61)              (-4.74)

                                                                                                                                                                            -0.013               -0.0020
                                                                        Effective spread ($)


                                                                                                                                                                            (-0.24)              (-0.05)

                                                                        Relative effective                           -0.0030                   -0.0026***

                                                           spread

                                                                                                                     (-0.99)                      (-4.09)

                                                                        Cancel-to-trade



                                                                        Share ofodd-lot                                                                                     0.00076            0.0013***

                                                           volume

                                                                                                                                                                            (1.55)                (3.42)

                                                                        Realized Spread                                                                                     -0.0062             -0.011 ***

                                                                                                                                                                            (-1.59)             (-11.31)

                                                                        Relative Realized

                                                           Spread                                                                                                    0.00035              0.00022***

                                                                                                                                                                            (-0.38)             (-12.28)
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                                                                                                                                                                                                                     ER08OC24.006</GPH>




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                                                                                                                                               Panel C: Depth at NBBO

                                                                        Quoted Spread Bin#                                TWAQS :;:; $0.06                                  $0.06 < TWAQS::=; $0.09

                                                                        Depth at the NBBO                           Low                     High                      Low                      High


                                                                        Depth (100 shares)




                                                                        Depth ($1,000)




                                                                        Quoted Spread($)




                                                                        Relative quoted                                                                                                       -0.0026

                                                           Spread                                           0.00072                0.0098***                    0.00015

                                                                                                                   (-1.15)                 (-8.28)                   (-0.55)                  (-1.27)


                                                                        Effective spread ($)




                                                                        Relative effective

                                                           spread



                                                                        Cancel-to-trade                           5.83***                    1.81

                                                                                                                   (4.35)                  (1.25)

                                                                        Share ofodd-lot

                                                           volume




                                                                        Realized Spread




                                                                        Relative Realized                                                                                                    -0.00046

                                                           Spread                                                                                              0.00013*

                                                                                                                                                                     (-1.76)                  (-0.50)
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                                                                                                                                                                                                        ER08OC24.007</GPH>




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                                                                      * Panel A presents results for the sample sorted on trading volume, panel B presents the results for price, and panel C presents the

                                                          results for depth at the NBBO. Within each bin, stocks are sorted based on their average trading volume, price, and depth at the NBBO during

                                                          May and June 2018. Each regression is estimated using quantile (median) regressions. The 3 tables - one for each panel - present the effects of

                                                          a reduction in minimum tick size from $0.05 to $0.01 cent on various quoting and trading outcome variables. A difference-in-differences

                                                          regression with no control variables is estimated using data covering Control, Test Group 2, and Test Group 3 TSP stocks from 08/01/2018 -

                                                           11/30/2018. All observations are at the stock day level. The same model is used for all outcome variables. For each outcome variable Y;,, the

                                                          table presents only the difference-in-differences coefficient estimates that indicate the effect of the TSP on the dependent variable. The outcome

                                                          variables are: Depth ($1,000) is dollar value of depth at the NBBO measured in $1,000s. The quoted spread refers to the distance between the

                                                          NBBO midpoint and the NBBO quote. The effective spread is the distance between the NBBO midpoint and the realized trade price; the realized

                                                          spread is the distance between a future NBBO midpoint (5-minutes ahead) and the trade price. Relative spread measures are calculated as the

                                                          spread scaled by the NBBO midpoint. The cancel-to-trade ratio is the daily number of order cancellations divided by the number of trades, for

                                                          displayed orders. The odd-lot rate is the percentage of trades in a day which executed against an odd-lot quote. Share of odd-lot volume is the

                                                          odd-lot rate reported in WRDS Intra Day Indicators and equals l00*(Odd lot Messages)/(Trades for Odd lots). Similar to the analysis in table

                                                           8, stocks are divided into quoted spread bins based on average quoted spreads during May-June of 2018. Results are presented for only bin 1

                                                          and bin 2 stocks; see supra note 1234 for details on bin assigmnent. Regressions on the highest and lowest quartiles within each bin are

                                                          performed; cells are darkly shaded if the regression estimates differ in sign between the highest and lowest quartiles within a bin, and cells are

                                                          lightly shaded if the regression estimates agree in sign and in statistical significance between the highest and lowest quartiles within a bin. Depth

                                                          (100 shares) is number of shares available at the NBBO in 100s. All data are Winsorized at the 1% and 99% level. The numbers in the ()

                                                          paratheses reflect t-statistics that are based on two-way stock-and-date clustered standard errors. Symbols*, **,and*** reflect statistical

                                                          significance at 10%, 5%, and 1% type- I error levels.


                                                 BILLING CODE 8011–01–C                                                                                           statistical magnitude, 4 out of 20 agree
                                                                                                         statistically different from zero.1323
                                                   The results show that in most cases                   Lastly, only 2 out of 20 pairs disagree                  on sign, but not statistical magnitude,
                                                 that there is relatively little                         on sign, but there are no cases where                    and only 2 pairs disagree on sign, but
                                                 disagreement in terms of how low and                    both effects reject the hypothesis of no                 in these cases neither regression
                                                 high characteristic stocks respond to the               effect. This means that while the                        provides a statistically significant result.
                                                 TSP. In panel A, which presents results                 coefficients for the effect of the                          This analysis does not support the
                                                 sorted based on trading volume, 10 out                  reduction in the tick size on high and                   idea that failing to include price,
                                                 of the 20 pairs of regressions agree on                 low volume stocks disagree in the                        volume, or depth-based criteria when
                                                                                                         direction of the effect, in at least one                 determining which stocks receive a
                                                 both sign and statistical significance. A
                                                                                                         case the effect is not statistically                     smaller tick size is likely to produce
                                                 pair refers to the high and low quartile
                                                                                                         distinguishable from zero.                               significant harm. In most cases, the
                                                 group for the same market quality                                                                                analysis suggests that market quality is
                                                                                                            The story is similar for panel B which
                                                 outcome and the same quoted spread                      presents results for price. 11 out of 20                 likely to respond similarly to a
                                                 group—e.g., columns one and two are a                   regression pairs agree on sign and                       reduction in the tick size for stocks that
                                                 pair, and three and four are a pair. This               statistical significance. A further 7 out                are both high or low volume, price, or
                                                 means that in 10 out of the 20 regression               of 20 agree on the sign of the effect                    depth. It is possible that in some cases,
                                                 pairs run, high and low trading volume                  though not necessarily statistical                       some of the positive anticipated effects
                                                 stocks had market quality responses to                  significance while only 2 out of 20                      discussed above may be mitigated for
                                                 the change in the tick size that were in                disagree on sign, but again in these                     certain subgroups of stocks. We fail to
                                                 the same direction and were statistically               cases neither result is statistically                    find evidence that certain subgroups of
                                                 different from zero. A further 8 out of                 different from zero. Lastly in panel C,                  stocks will be significantly harmed by
                                                 the 20 pairs agree on sign, but not                     which presents results for the sort based                the amendments when only considering
                                                 statistical magnitude. This means that                  on depth at the NBBO, 14 out of the 20                   the time weighted quoted spread when
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                                                 while the point estimators from the                     regression pairs agree on sign and                       assigning tick sizes.
                                                 regressions indicate that both high and                                                                          c. Effect on Message Traffic and Market
                                                                                                           1323 A result that is not statistically significant
                                                 low volume stocks had market quality                                                                             Data
                                                                                                         does not directly imply that there is no effect.
                                                 responses in the same direction, either                 Rather it implies that the test did not find enough
                                                 one or both groups experienced an effect                                                                            One commenter stated that, since
                                                                                                         evidence to overturn the hypothesis of no effect.
                                                                                                                                                                  ‘‘reducing the minimum pricing
                                                 that could not be measured to be                        This could be because (1) there is actually no effect,
                                                                                                         or (2) because the test did not have sufficient power    increments for quotations’’ will result in
                                                                                                                                                                                                                          ER08OC24.008</GPH>




                                                                                                         to identify an existing effect.                          ‘‘significantly more quotation


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                                                 increments within a penny-wide spread                     market participants of approximately                     commenting on the Proposing Release
                                                 for a given security,’’ these amendments                  1%, and an estimated increase in CAT                     which had more and smaller ticks than
                                                 will ‘‘significantly increase the capacity                costs of approximately $4.1 million.                     the adopted amendments, estimated that
                                                 requirements for market participants to                      The amendments add one additional                     the increase in message traffic due to the
                                                 process these additional quotation                        tick intra-spread for some stocks. The                   proposal would be relatively small
                                                 messages.’’ 1324 Specifically the                         Commission expects the increase in                       compared to historical variation.1335
                                                 commenters stated that the additional                     message traffic from this increase to be                    Commenters asked the Commission to
                                                 message traffic could impact CAT costs                    mild. One commenter referenced                           estimate the effect of the tick size
                                                 which they state was not analyzed by                      research performed by one of the                         reduction on CAT costs via the
                                                 the Commission.1325                                       exchanges suggesting that each                           mechanism of increased message
                                                   Commenters also stated that increased                   additional tick intra-spread adds 20% to                 traffic.1336 The fourth quarter 2023 CAT
                                                 message traffic can increase market                       message traffic.1332 This research                       cloud hosting services costs were $30.47
                                                 participants’ technological needs in                      suggests message traffic could increase                  million,1337 or $121.88 million if
                                                 terms of computing and processing                         20% for stocks receiving the smaller tick                annualized. Further, a recent order
                                                 requirements.1326 Some commenters                         size. The Commission expects 74% of                      approving an amendment to the NMS
                                                 stated that more message traffic could                    share volume to receive the smaller tick,                plan governing CAT stated that equity
                                                 slow down markets as it would take                        and the remaining share volume to be                     message traffic accounted for 23% of
                                                 more time for market participants to                      unchanged by the amendments.                             total CAT message traffic (with options
                                                 process the increased data, this could in                 Multiplying 74% by 20% suggests that,                    traffic accounting for the remainder).1338
                                                 turn disrupt trading strategies.1327                      based on the information provided by                     Thus, estimated CAT costs associated
                                                 Another commenter stated that                             commenter, it is reasonable to believe                   with equity message traffic equal
                                                 increased message traffic would lead to                   total message traffic may increase by                    $121.88 million * 23% = $28.03 million.
                                                 increased technology costs in terms of                    about 15% due to the amendments.                         Under the assumption that CAT costs
                                                 server, processor, and storage                               Accordingly, the costs associated with                are linear in message traffic,1339 an
                                                 requirements needed to deal with                          this increased message traffic on most
                                                 increased message traffic.1328 One                        market participants are expected to be                   sizes based on 2023 data suggests that
                                                 commenter stated that significant                         relatively small. One commenter                          approximately 50% of trading volume would have
                                                                                                                                                                    received the $0.001 tick, approximately 25% of
                                                 increases in message traffic can cause                    estimated that the proposed rule would                   trading volume would have been associated with
                                                 technological difficulties for the                        lead to an increase in total infrastructure              the $0.002. Combining these figures suggests that
                                                 exchanges.1329 Another commenter                          costs of 10% due to increased message                    message traffic associated with the proposal would
                                                 stated that increased message traffic                     traffic.1333 Using the above methodology                 have increased approximately 125%. Thus, if a
                                                                                                                                                                    125% increase in message traffic is expected to be
                                                 would give an advantage to                                we estimate that if the proposal would                   associated with a 10% increase in infrastructure
                                                 sophisticated algorithmic traders who                     have led to an increase in message                       costs, then assuming that costs are proportional to
                                                 have a greater capacity to manage the                     traffic related costs of 10%, as suggested               message traffic, then a 15% increase in message
                                                 cost of the data and could better apply                   by the commenter, and if the costs of                    traffic will be associated with just over a 1%
                                                                                                                                                                    increase in infrastructure costs associated with the
                                                 the data itself.1330                                      message traffic are proportional to the                  amended Rule.
                                                   The Commission recognizes the                           increase in message traffic, then by this                   1335 See NYSE Letter II at 10–11.

                                                 potential for these costs articulated by                  reasoning, the adopted amendments,                          1336 See FIF Letter at 10–12, SIFMA Letter II at

                                                 the commenters, and considers the                         which create fewer ticks, will be                        43.
                                                 information provided. However, the                        associated with an increased                                1337 See Consolidated Audit Trail, LLC, 2023

                                                                                                           infrastructure costs of approximately                    Financial and Operating Budget, available at
                                                 Commission expects these effects,                                                                                  https://www.catnmsplan.com/sites/default/files/
                                                 including the effect on CAT costs, to be                  1%.1334 Additionally, another exchange,                  2024-01/01.17.24-CAT-Q4-2023-Budget-vs-
                                                 mild. This conclusion stems from                                                                                   Actual.pdf.
                                                                                                              1332 See FIF Letter at 7 referencing Phil
                                                 experience in options markets, which,                                                                                 1338 See SEC, Joint Industry Plan; Order

                                                                                                           Mackintosh, More Ticks, More Messages (Oct. 27,          Approving an Amendment to the National Market
                                                 as discussed above, experience                            2022), available at https://www.nasdaq.com/              System Plan Governing the Consolidated Audit
                                                 considerably more message traffic than                    articles/more-ticks-more-messages. The research          Trail; Notice (Joint Industry Plan), Securities
                                                 equity markets without significant                        provided by the exchange provided three data             Exchange Act Release No. 98290 (Sep. 6, 2023), 88
                                                 adverse effects.1331 It also stems from                   points, the baseline case with no increase in ticks,     FR 62628 (Sep. 12, 2023) at 62680 & n.1077.
                                                                                                           a 1:5 increase and a 1:10 increase which are                1339 The relation between total CAT cost and
                                                 research provided by commenters that                      associated with 0%,100% and 500% increase in             volume is complex and driven by both volume and
                                                 gives a framework for estimating the                      message traffic. If message traffic is the variable on   the complexity of processing the additional
                                                 increase in message traffic and the costs                 the vertical axis and the tick size change the           information and may not always be linear. See
                                                 of such an increase which will now be                     horizontal axis, then all three of these data points     Letter from Brandon Becker, Chair, CAT NMS Plan
                                                                                                           fall on the line . Substituting in the number 1, to      Operating Comm., to Vanessa Countryman, Sec’y,
                                                 discussed suggesting an estimated                         indicate the number of ticks added intra-spread          SEC at 3 n.11 (Mar. 27, 2024), available at https://
                                                 overall increase in technology costs to                   yields an increase in message traffic of 1.2, or a 20%   catnmsplan.com/sites/default/files/2024-03/
                                                                                                           increase.                                                03.27.24-Proposed-CAT-NMS-Plan-Amendment-
                                                                                                              1333 See Fidelity Letter at 17.
                                                    1324 See SIFMA Letter II at 21, stating that it is                                                              Cost-Savings-Amendment.pdf. However, one
                                                 concerned about the impact of the amendments on              1334 The proposal would have added 9 ticks for        commenter speaking generically about server and
                                                 ‘‘consolidated market data, capacity costs and CAT        the stocks receiving the $0.001 tick size, 4 ticks for   technology cost associated with message traffic
                                                 data requirements.’’                                      the stocks receiving the $0.002 tick size, and 1         stated that these costs were ‘‘proportional to the
                                                    1325 See SIFMA Letter II at 21, 43; see also Citadel   additional tick for the stocks receiving the 0.005       increase in message traffic.’’ See FIF Letter at 9.
                                                 Letter II at 4–5 and FIF Letter at 10–12.                 tick. Using the methodology provided by the              Consequently, there is uncertainty regarding the
                                                    1326 See, e.g., BlackRock Letter at 5, GTS Letter at   commenters suggesting that each additional tick          exact relation between CAT costs and equity
                                                                                                           would increase message traffic 20% relative to the       message traffic. However, to facilitate estimates of
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                                                 5, FIF Letter at 1, 6–8, RBC Letter at 4, IBKR Letter
                                                 at 5, Fidelity Letter at 17.                              baseline suggests that stocks receiving the $0.001       the effect of the amendments on CAT costs, the
                                                    1327 See Tradeweb Letter at 2.                         tick would have an estimated message traffic             Commission makes the assumption that CAT costs
                                                    1328 See STA Letter at 6.
                                                                                                           increase of 180%, for stocks receiving the $0.002        are linear in message traffic—knowing that there is
                                                                                                           tick the estimated increase in message traffic would     uncertainty regarding the exact relation. However,
                                                    1329 See Budish Letter at 5.
                                                                                                           be 80%, and for stocks receiving that $0.005 tick the    without some assumption about the relation
                                                    1330 See, e.g., Goldman Sachs Letter at 8 and RBC
                                                                                                           increase in message traffic would be 20%. Using the      between CAT costs and message traffic, no
                                                 Letter at 4.                                              same methodology as used to create table 7 to            inference could be made. To the extent that CAT
                                                    1331 See discussion surrounding supra notes 239        estimate the amount of trading volume that would         costs are convex or concave—rather than linear—
                                                 to 250.                                                   have been associated with each of the proposed tick      in message traffic then the actual costs associated



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                                                 increase in equity message traffic of                     Fragmentation of liquidity in the limit                   some stocks with a 0.5 cent tick.1348
                                                 15% would correspond to an increase in                    order book will increase the precision                    However, the effects of the loss of this
                                                 CAT costs according to the following                      and usefulness of information about                       information may not be significant
                                                 formula: $28.03 million * 15%                             depth of book quotes and odd-lot quotes                   because the MDI depth of book data
                                                 (expected increase in message traffic)                    inside the NBBO for some stocks with                      would still show five round lot price
                                                 ≈$4.1 million. Based on this data, we                     a 0.5 cent tick because orders in these                   levels of depth and many market
                                                 estimate CAT costs would increase by                      stocks will be displayed at half-penny                    participants may not need more than
                                                 an estimated $4.1 million per year due                    increments rather than at penny                           five levels of depth of book
                                                 to increased equity message traffic                       increments, which provides more                           information.1349 Additionally, for stocks
                                                 associated with the smaller tick size.                    precise information.1344 This will                        with a 0.5 cent tick, information about
                                                 The CAT NMS Plan requires                                 increase demand for depth of book data,                   depth within $0.025 of the NBBO may
                                                 participants and industry members to                      which could cause more market                             be more valuable than information
                                                 fund the CAT. The funding model for                       participants that currently only                          about depth that is deeper in the book
                                                 the CAT NMS Plan allocates the costs to                   subscribe to SIP data to purchase                         (e.g., between $0.03 and $0.05 of the
                                                 fund CAT among participants and the                       exchange proprietary depth of book                        NBBO), because only a relatively small
                                                 members of a national securities                          feeds. It could also cause some market                    portion of marketable orders execute at
                                                 exchange or a member of a national                        participants that only subscribe to SIP                   prices outside the NBBO.1350 Further,
                                                 securities association.1340                               data and who previously would not                         for stocks that have the $0.005 tick, MDI
                                                    Commenters stated that a smaller tick                  have purchased MDI depth of book data                     odd-lot information about odd-lots
                                                 size will fragment liquidity in the order                 or odd-lot information to decide to                       inside the NBBO will likely be more
                                                 book and reduce the displayed liquidity                   purchase one or both of these MDI data                    valuable because it will show these odd-
                                                 at the NBBO, which in turn reduces the                    elements when they become available.                      lots on a finer grid—as long as the
                                                 information about liquidity available in                  The Commission acknowledges that the                      NBBO spread is $0.01 or more, the tick
                                                 the market for market participants who                    amendments could increase the cost                        reduction allows investors using MDI
                                                 do not receive depth of book                              associated with producing exchange                        NMS data to see odd-lots at finer half-
                                                 information from proprietary data                         proprietary data feeds and MDI data, but                  penny increments. For stocks that retain
                                                 feeds.1341 These commenters stated that                   the cost increases may not be                             the one cent tick size, the tick size
                                                 this could increase reliance on and the                   significant.1345 Any changes in the                       amendments are unlikely to affect the
                                                 subsequent cost of proprietary data                       prices of exchange proprietary data                       informativeness of MDI depth of book
                                                 products due to the increased need for                    feeds would be subject to the SRO fee                     data or odd-lot information because the
                                                 the data and simply due to additional                     filing process.1346
                                                 data points.                                                                                                        amendments are unlikely to change the
                                                                                                              After the MDI Rules are fully                          trading environment, including odd-lot
                                                    The Commission acknowledges that,                      implemented, commenters stated that
                                                 in addition to lowering transaction                                                                                 quotes inside the NBBO and depth in
                                                                                                           the amendments could decrease the                         the limit order book.1351
                                                 costs, the amendments will likely also                    benefits of MDI data, which will include
                                                 spread depth across more price points                     depth of book data for prices with                           Commenters stated that reducing the
                                                 in the limit order book and reduce                        quotes that are five levels outside of the                tick size would make MDI data less
                                                 depth at the NBBO in some stocks with                     NBBO.1347 The tick reduction will likely                  competitive with exchange proprietary
                                                 a 0.5 cent tick, which could increase the                 alter the information in MDI data for                     data feeds.1352 The tick reduction may
                                                 complexity and cost associated with                       some stocks with a 0.5 cent tick, making
                                                 sourcing liquidity for larger orders.1342                 MDI depth of book data less informative                      1348 The MDI NMS data includes information on

                                                 However, the inclusion of odd-lot                         while increasing the informativeness of
                                                                                                                                                                     five round lot price levels outside the NBBO. The
                                                 information in consolidated market data                                                                             tick reduction implies that the levels may be $0.005
                                                                                                           MDI odd-lot information. The tick                         apart from each other; without the tick reduction,
                                                 is anticipated to help to mitigate this                   reduction may generally result in MDI                     the levels would be at least $0.01 apart. Therefore,
                                                 effect, and the eventual inclusion of                     depth of book data showing information                    the tick reduction may result in five levels that
                                                 depth of book information in                              on fewer shares in the order book for
                                                                                                                                                                     cover orders that are $0.025 outside the NBBO,
                                                 consolidated market data due to the                                                                                 whereas without the tick reduction the five levels
                                                                                                           some stocks with a 0.5 cent tick. More                    would cover orders that are $0.05 outside the
                                                 implementation of the MDI Rules
                                                                                                           specifically, it may no longer include                    NBBO. It is possible that MDI NMS data will
                                                 should also help mitigate this effect.1343                                                                          include depth that is greater than $0.025 outside the
                                                                                                           some information on orders that are
                                                                                                                                                                     NBBO for stocks receiving a tick reduction—this is
                                                                                                           $0.03 to $0.05 away from the NBBO in                      because each displayed level is required to
                                                 with the amendments would be higher or lower that
                                                 what is estimated here.                                                                                             comprise at least one round lot worth of shares, and
                                                   1340 See Joint Industry Plan, supra note 1338.          supra note 10, at 18625–30 and 18755–59 for               odd-lot orders will be aggregated with other orders
                                                   1341 See Citadel Letter I at 8, Virtu Letter II at 8,   further discussions on the content and effects of         to form a level with a sufficient number of shares
                                                 10, Citigroup Letter at 4, SIFMA Letter II at 41–42,      MDI depth of book data.                                   (with the displayed price equaling the least
                                                 and Lewis Letter attached to Virtu Letter II at p 35.
                                                                                                              1344 This could increase the usefulness of both        competitive price among the aggregated orders).
                                                 See also Lewis Letter attached to Virtu Letter II at      exchange proprietary depth of book feeds and MDI          That is, if there is not enough liquidity at a given
                                                 33 (pointing out that the need to manage increased        odd-lot information and depth of book data relative       price point within $0.025 of the NBBO, then a price
                                                 message traffic could lead proprietary data feed to       to SIP data for stocks with a 0.5 cent tick. However,     point further outside the NBBO will be displayed.
                                                 become more expensive independent of market               as discussed below, the usefulness of MDI depth of           1349 See MDI Adopting Release, supra note 10, at

                                                 participant reliance such data products). SRO fees        book data in comparison to exchange proprietary           18625 nn.387, 388 (discussing levels of depth used
                                                 are subject to the rule filing process under Exchange     depth of book data may decrease for these stocks.         in order routing and analysis finding that a
                                                 Act section 19(b) and Rule 19b–4. 15 U.S.C. 78s(b);          1345 See supra note 1334 and accompanying text         significant percentage of the total notional value of
                                                 17 CFR 240.19b–4.                                         (estimating increased infrastructure costs of             all depth of book quotations for both liquid and
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                                                   1342 See supra section VII.D.1.b.i (discussing the      approximately 1% due to an increase in message            illiquid stocks falls within the first five price
                                                 smaller tick size fragmenting depth across more           traffic).                                                 levels).
                                                                                                                                                                        1350 See MDI Adopting Release, supra note 10, at
                                                 price levels).                                               1346 SRO fees are subject to the rule filing process
                                                   1343 After the MDI Rules are implemented,               under Section 19(b) and Rule 19b–4. 15 U.S.C.             18731 (discussing analysis showing that only a
                                                 consolidated market data is expected to contain           78s(b); 17 CFR 240.19b–4.                                 small percentage of orders execute outside the
                                                 depth information for five price levels beyond the           1347 SIFMA Letter II at 41–42 stated that the Rule,    NBBO).
                                                                                                                                                                        1351 See supra section VII.D.1.
                                                 NBBO, which will help mitigate the effects of a           by making NMS data under MDI less competitive
                                                 reduction in displayed depth at the NBBO from a           with proprietary feeds, will offset some of the              1352 See, e.g., SIFMA Letter II at 41–42 and

                                                 reduction in tick size. See MDI Adopting Release,         benefits of the MDI Rules.                                Citadel Letter I at 8.



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                                                 cause some market participants that                      continue to receive revenue, for their                  the most recent and relevant basis
                                                 currently utilize exchange proprietary                   proprietary data feeds.1355 On the other                . . .’’ 1358 On the other hand, a short
                                                 depth of book feeds, and would have                      hand, to the extent that the tick size                  period may place too much emphasis on
                                                 replaced them with MDI depth of book                     reduction increases the usefulness and                  idiosyncratic and unrepresentative
                                                 data and odd-lot information if it was                   demand for depth of book data—as                        events.1359
                                                 available at a lower cost,1353 to no                     discussed above—some market                                Commenters also highlighted a
                                                 longer substitute MDI depth of book                      participants that currently rely on SIP                 tradeoff regarding the proposed length
                                                 data and odd-lot information for                         data may be able to satisfy their                       of the operative period. Frequent
                                                 proprietary feeds.1354 Proprietary feeds                 increased data needs by purchasing MDI                  updating will allow tick assignment to
                                                 will likely gain certain advantages over                 odd-lot information and depth of book                   more quickly react to changes in the
                                                 MDI depth of book data as a result of the                data from a competing consolidator                      ‘‘market environment and individual
                                                 tick reduction. First, self-aggregators                  once the MDI rules are                                  stock behavior . . .’’; 1360 quicker
                                                 and competing consolidators relying on                   implemented.1356                                        updating would thereby ‘‘reduce how
                                                 MDI depth of book data may not be able                                                                           often and for how long a stock’s tick size
                                                                                                          d. Analysis of the Length of Evaluation                 stays outside the optimal range.’’ 1361
                                                 to provide information on depth for
                                                                                                          and Operative Periods                                   However, more frequent updating may
                                                 orders that are between $0.03 and $0.05
                                                 away from the NBBO for some stocks                          The adopted amendments specify                       impose costs in terms of adjustments to
                                                 that have been assigned a $0.005 tick                    three-time periods that govern tick                     algorithms, operations, trading models
                                                 size because the MDI depth of book data                  assignment.1357 First are the periods                   and systems,1362 customer
                                                 only provides data on depth at 5 round                   that a new tick size is operative. The                  complaints,1363 and tick size
                                                 lot price levels. Second, in cases where                 adopted rules update the tick size twice                oscillation.1364
                                                 there is insufficient liquidity at a given               a year, so they set this period at six                     Commenters also discussed the
                                                 price level to form a round lot due to the               months. Second, the rules set the ticks                 importance of a gap between the
                                                 reduction in the tick spreading liquidity                based on two backward-looking three-                    proposed evaluation period and the
                                                 out across more levels, self-aggregators                 month Evaluation Periods over which                     beginning of the subsequent tick size to
                                                 and competing consolidators relying on                   NMS stocks’ TWAQS is measured; if the                   give industry time to update systems
                                                 MDI depth of book data will not be able                  TWAQS is at or below $0.015 during                      and avoid disruptions.1365 The proposal
                                                 to provide information on depth at each                  this Evaluation Period, then the stock                  did not include a gap between the
                                                 price point beyond the NBBO, but will                    will be assigned a half-penny tick.                     evaluation period and the subsequent
                                                 rather only have information on                          Otherwise, it will receive a penny tick.                tick size, so the Commission has
                                                 liquidity that is aggregated over                        Finally, there is a one-month gap                       evaluated the tradeoffs in response to
                                                 multiple price points to compose a                       between the Evaluation Period and the                   commenters’ concerns.
                                                 round lot; proprietary feeds, on the                     initiation of the subsequent tick size.                    The Commission acknowledges, as it
                                                 other hand, can offer information on                     The January through March Evaluation                    did in the Proposing Release,1366 that
                                                 available liquidity at each price point.                 Period will determine the tick for the                  quoted spreads are not static from day
                                                 These two advantages may lead some                       May through October operative period.                   to day. It is possible that a stock could
                                                 market participants that would have                      Likewise, the July through September                    have a narrow quoted spread during an
                                                 substituted MDI depth of book data for                   Evaluation Period will determine the                    evaluation period, and thus be assigned
                                                 exchange proprietary depth of book                       tick for November through April of the                  a $0.005 tick, and then during the
                                                 data, if it was available at a lower cost                subsequent calendar year.                               following operative period it could
                                                 once it was implemented, not to do so                       Commenters highlighted a tradeoff                    experience points in time where the
                                                 due to the tick reduction. To the extent                 with respect to the proposed backward-                  quoted spread is much wider.1367
                                                 this occurs, it would result in a transfer               looking evaluation period. On one hand,
                                                 from competing consolidators and the                     a short period ‘‘uses the period                          1358 See NYSE Letter I at 4.


                                                 market participants who would have                       immediately closest in time to measure                     1359 See FIA PTG Letter II at 2, Optiver Letter at

                                                                                                          securities’ behavior to ensure that tick-               2, and MMI Letter at 6.
                                                 substituted MDI depth of book data for                                                                              1360 See NYSE Letter I at 4.
                                                 their proprietary feeds to exchanges,                    constrained names are selected using                       1361 See Pragma Letter at 6.

                                                 because these market participants will                                                                              1362 See FIA PTG Letter II at 2, UBS Letter at 13,
                                                                                                            1355 See MDI Adopting Release, supra note 10, at
                                                 continue paying, and exchanges will                                                                              Citigroup Letter at 2, BlackRock Letter at 9, Hudson
                                                                                                          18793–95 for discussions on market participants         River Letter at 3, JPMorgan Letter at 4, Morgan
                                                                                                          substituting consolidated market data for exchange      Stanley Letter at 3, State Street Letter at 3, and MMI
                                                    1353 In the MDI Adopting Release, the
                                                                                                          proprietary feeds and related transfers.                Letter at 6.
                                                 Commission stated that it believes that the total fees     1356 See infra section VII.D.4.b for additional
                                                                                                                                                                     1363 See TradeStation Letter at 5.
                                                 for the equivalent of consolidated market data are       discussions of why low latency traders may not             1364 See Mitre Corp. Letter at 5 and MEMX Letter
                                                 likely to decline because of the MDI Rules, but          substitute odd-lot information from the exclusive
                                                 recognizes uncertainty about how the effective                                                                   at 16.
                                                                                                          SIPs for exchange proprietary feeds.                       1365 See RBC Letter at 3, T. Rowe Price Letter at
                                                 national market system plan(s) will set the fees for       1357 See 17 CFR 242.612(a)(1), defining the
                                                 data content underlying consolidated market data                                                                 4, and IEX Letter I at 7. T. Rowe Price and IEX both
                                                                                                          evaluation period to assign a tick size as ‘‘(i) the
                                                 offerings and how SROs will set the fees for                                                                     suggested a 1-month gap. RBC suggested ‘‘an
                                                                                                          three months from January through March of a
                                                 connectivity necessary to receive the data content       calendar year and (ii) the three months from July       appropriate amount of time to be informed of any
                                                 underlying consolidated market data as well as how       through September of a calendar year during which       changes in order to implement them, and to
                                                 the competing consolidators will price their             the Time Weighted Average Quoted Spread of an           minimize errors as much as possible.’’
                                                 services. See MDI Adopting Release, supra note 10,                                                                  1366 See Proposing Release, supra note 11, at
                                                                                                          NMS stock shall be measured by the primary listing
                                                 at 18772.                                                exchange to determine the minimum pricing               80324.
                                                    1354 This would apply to both market participants                                                                1367 Likewise, two stocks with equal average
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                                                                                                          increment for each NMS stock,’’ and 17 CFR
                                                 that would have self-aggregated the MDI depth of         242.612(b)(1), and specifying the pricing increment     quoted spreads may not be equally tick-constrained.
                                                 book data and odd-lot information or purchased it        will be operative ‘‘(i) the first business day of May   For example, one stock with a $0.02 average quoted
                                                 from a competing consolidator. See MDI Adopting          for the Evaluation Period from January through          spread could have a $0.01 quoted spread 40% of
                                                 Release, supra note 10, at 18793–95 for discussions      March and continue through the last business day        the time while another has a $0.01 quoted spread
                                                 on market participants substituting consolidated         of October of the calendar year, and (ii) the first     10% of the time. The effect of the Rule on market
                                                 market data for exchange proprietary feeds.              business day of November for the Evaluation Period      quality could differ in much the same way as the
                                                 However, as discussed above, demand for MDI              from July through September and continue through        effects described in this paragraph. Additionally,
                                                 depth of book data could increase for market             the last business day of April of the next calendar     some commenters inquired about how stock splits
                                                 participants that currently rely on SIP data.            year.’’                                                 and reverse splits would be handled; see SIFMA



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                                                 Likewise, a stock could have a wide                       lengths include: one month, three                        while the reduction in the tick will
                                                 quoted spread during an evaluation                        months (as suggested in the proposal),                   allow quoted spreads to fall below $0.01
                                                 period and therefore be assigned a $0.01                  six months (as in the adopted                            for some NMS stocks.1372
                                                 tick, yet subsequently trade with a                       amendments), and twelve months.1370                         This caveat implies that the estimates
                                                 narrower spread such that a $0.005 tick                   The calculations incorporate a one-                      in table 10 will be systematically
                                                 would be beneficial. The extent to                        month lag between the evaluation                         different from the same statistics
                                                 which these outcomes occur will                           period and the implementation of the                     calculated with realized data—i.e., data
                                                 depend on the length of the evaluation                    updated tick size—which was not part                     after the rule is implemented. However,
                                                 period, the operative period, and the lag                 of the proposal but is part of the                       the purpose of the analysis in table 10
                                                 between the two.                                          adopted amendments. Further, each                        is to detect patterns in how the
                                                    The Commission evaluates the                           diagnostic is computed for every month                   diagnostics vary across combinations of
                                                 tradeoffs mentioned above by                              from January of 2018 to June of 2022.                    evaluation and operative periods. These
                                                 computing diagnostic statistics for many                  That is, the Commission simulates the                    patterns are likely to be robust to the
                                                 different combinations of evaluation                      tick assignment procedure on a rolling                   aforementioned caveat. For example,
                                                 and operative periods. The four panels                    basis for every month of the 4.5-year                    suppose the reduction in the access fee
                                                 of table 10 each present different                        sample and computes the diagnostics at                   cap causes a stock’s quoted spread to
                                                 diagnostics: panel A estimates the                        every month.1371 Each diagnostic is                      widen by 20 mils; this effect would
                                                 fraction of aggregate share volume that                   therefore computed under each of the                     occur whether the Evaluation Period is
                                                 is misassigned to a tick of $0.01, panel                  sixteen combinations of periods and for                  three months or twelve months, and
                                                 B estimates the fraction of aggregate                     each of the 54 months in the sample, for                 whether the operative period is one
                                                 share volume that is misassigned to a                     a total of 864 calculations per                          month or six months, etc. Therefore,
                                                 tick of $0.005, panel C estimates the                     diagnostic. The panels in table 10                       table 10 can still inform the choice of
                                                 rates of false positives, and panel D                     summarize the diagnostics over the 54                    evaluation and operative period. The
                                                 estimates the rates of false negatives.                   months and present a single number for                   subsequent discussion of table 10 will
                                                 Table 10 is similar to table 10 of the                    each of the sixteen combinations of                      further highlight when a diagnostic may
                                                 Proposing Release,1368 which estimated                    periods.                                                 be over- or under-estimated.
                                                 in the context of the proposal the                           The diagnostics computed in table 10                     Panel A of table 10 estimates the
                                                 fraction of aggregate volume that would                   are subject to the following caveat: they                fraction of aggregate share volume that
                                                 receive a tick reduction yet trade with                   are estimated from historical data in                    is misassigned to a tick size of $0.01. A
                                                 too many intra-spread ticks during the                    which the access fee cap was set at 30                   stock’s volume is misassigned to a
                                                 subsequent three months. Table 10                         mils, and stocks were constrained by the                 penny tick if its average TWAQS is
                                                 herein extends this analysis by:                          $0.01 tick. The amendments will reduce                   above $0.015 during the most recent
                                                 computing a wider range of diagnostic                     the access fee cap to 10 mils for all                    evaluation period, yet trades with a
                                                 statistics, computing the statistics on a                 stocks and will reduce the tick to $0.005                TWAQS below $0.015 in the operative
                                                 rolling basis for a 4.5-year sample,                      for stocks that maintain a TWAQS at or                   period. This trading volume would have
                                                 computing the statistics for a wide                       below $0.015 during the evaluation                       benefited from a lower tick of $0.005 in
                                                 variety of period lengths, and                            period. These changes are likely to have                 those subsequent months and is
                                                 incorporating a one-month lag between                     two opposing effects on quoted spreads:                  therefore considered a false negative.
                                                 the evaluation period and the                             the reduction in the access fee cap will                 The fraction of aggregate share volume
                                                 implementation of the tick updates as                     put upward pressure on quoted spreads,                   that is a false negative is reported in
                                                 provided for in the adopted                                                                                        panel A. Further, this fraction is
                                                 amendments.                                               the analysis here considers five-month evaluation        reported for every combination of
                                                    Each diagnostic in table 10 is                         period specifically so that the evaluation period        evaluation period and operative period.
                                                                                                           would not encompass two tick regimes when                   Looking at the false negatives in panel
                                                 computed for sixteen combinations of                      combined with a six-month operative period and a
                                                 evaluation and operative periods—four                     one month lagged implementation. For example,
                                                                                                                                                                    A, the table demonstrates that shorter
                                                 evaluation period lengths, and four                       consider the six-month operative period spanning         periods tend to reduce the percent of
                                                 operative period lengths. The evaluation                  May to October (which includes a one month lagged        volume that is misassigned to a $0.01
                                                 period lengths include: one month,
                                                                                                           implementation); the next six-month evaluation           tick. One can pick any evaluation length
                                                                                                           period would span April to September, thus               shown in the table (1, 3, 5, or 12). For
                                                 three months (as suggested in the                         including two distinct tick regimes. The five-month
                                                 proposal and finalized in the adopted                     evaluation period would only span May to                 that evaluation length, the fraction of
                                                 amendments), five months, and twelve                      September, which is wholly contained in the most         aggregate share volume that occurs with
                                                 months.1369 The operative period
                                                                                                           recent operative period. An evaluation period that       a $0.01 tick and maintains a TWAQS at
                                                                                                           encompasses two tick regimes may be less                 or below $0.015 is increasing in the
                                                                                                           informative of the appropriateness of the current
                                                 Letter II at 42 and Virtu Letter II at 18. Stock splits   tick assignment; therefore, table 10 uses a five-        operative period. In other words, more
                                                 and reverse splits can mechanically affect the bid-       month evaluation period instead of a six-month           frequent updating provides greater
                                                 ask quoted spread and are not considered in the           evaluation period.                                       benefits, on average, for any choice of
                                                 evaluation periods, thus it is possible that a stock         1370 The operative periods were chosen to cover
                                                                                                                                                                    evaluation period. For example, an
                                                 could temporarily be misassigned to a tick size due       a range of intervals, and to fit evenly into a twelve-
                                                 to a split or reverse split. These effects would be
                                                                                                                                                                    evaluation period of 3 months with a 1-
                                                                                                           month calendar year. In this way, any changes to
                                                 temporary and would rectify in the next evaluation        the tick size would occur in the same month(s) of        month operative period will misassign
                                                 period. See supra section III.C.8 for further             each year.                                               9.4% of trading volume to a tick of
                                                 discussions of how tick sizes are assigned following         1371 For example, suppose the month is April          $0.01; if the same evaluation period is
                                                 a stock split or reverse split.                           2018. To compute the statistics for an evaluation        used but the tick is updated annually,
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                                                    1368 See supra note 11, at 80324.
                                                                                                           length of three months and an operative length of
                                                    1369 The evaluation periods in this analysis were      six months, the tick size for May 2018 through
                                                                                                                                                                    then the fraction of misassigned trading
                                                 chosen to cover a range of time periods for both the      August 2018 is set by the symbol’s TWAQS from            increases to 12.9%. Similarly, one can
                                                 evaluation period and the operative effective period      January 2018 through March 2018. The statistics in
                                                 suggested by commenters who suggested time                the table are determined by symbols’ trading during         1372 See supra section VII.D.1.b.ii for a discussion
                                                 horizons ranging from monthly updating to annual          the May 2018 through August 2018 period (the             of the effect of the reduction in the tick on quoted
                                                 updating, see, e.g., Pragma Letter at 6, BlackRock        operative period). This process is repeated for every    spreads, and section VII.D.2 for a discussion of the
                                                 Letter at 9, FIA PTG at 2, UBS at 13. Although            month from January 2018 to June 2022, and the            effect of the reduction in the access fee cap on
                                                 commenters suggested 6-month evaluation periods,          table summarizes results across all months.              quoted spreads.



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                                                 pick any column corresponding to the                     operative period results in more volume              positives is only 1.8% of aggregate share
                                                 operative period (1, 3, 6, or 12) and                    trading at a low-tick yet relatively wide            volume.1375
                                                 observe that the prevalence of false                     quoted spread. This pattern is consistent               An advantage of panels A and B of
                                                 negatives is increasing with the length                  with commenters’ views that more                     table 10 is that they estimate the
                                                 of the evaluation period. These patterns                 frequent updating is better at adapting              prevalence of false negatives and
                                                 are consistent with commenters’ views                    to changing market trends and stock                  positives as fractions of aggregate share
                                                 that more recent (and relevant) data                     behavior. Similarly, moving down any                 volume; these panels therefore show the
                                                 tend to increase the benefits of the                     given column shows that increasing the               amount of aggregate trading that is
                                                 amendments.                                              evaluation period tends to reduce the                misassigned to a tick. A disadvantage of
                                                    A tick size can be misassigned in a                   amount of volume in low-tick stocks                  panels A and B is that they do not
                                                 second way: a stock may be assigned a                    with wide quoted spreads; this pattern               condition on the aggregate level of
                                                 tick of $0.005 yet end up trading with                   is consistent with commenters’ views                 quoted spreads. Some combinations of
                                                 an average quoted spread over $0.015.                    that short evaluation periods may, in                evaluation and operative periods may
                                                 This trading volume may not fully                                                                             do relatively well when aggregate
                                                                                                          some circumstances, assign stocks to the
                                                 benefit from the lower tick and is                                                                            quoted spreads are high, and some
                                                                                                          $0.005 tick on the basis of transient
                                                 therefore considered a false positive. If                                                                     combinations may do better when
                                                                                                          events, and that these stocks may not be
                                                 the quoted spread widens sufficiently,                                                                        aggregate quoted spreads are low.1376
                                                 relative to the quote, then the stock                    able to sustain the tick reduction.                     Panel C and D of table 10 address the
                                                 could trade in a range of ticks intra-                      The estimates of false positives in               aforementioned disadvantage of panels
                                                 spread that may harm market                              panel B of table 10 are likely to be over-           A and B by estimating rates of false
                                                 quality.1373 The fraction of aggregate                   estimates for two reasons. First, the                negatives and positives. The false
                                                 volume that is a false positive is                       threshold for tick misassignment is                  negative rate conditions on the amount
                                                 reported in panel B of table 10 for every                chosen at a quoted spread of $0.015,                 of low- quoted spread volume, while the
                                                 combination of evaluation period and                     which corresponds to three intra-spread              false positive rate conditions on the
                                                 operative period. This is analogous to                   ticks. The above analysis on the Tick                amount of high- quoted spread
                                                 table 10 of the Proposing Release, but                   Size Pilot indicates that the trading                volume.1377 Specifically, the rate of
                                                 with a quoted spread threshold of                        environment does not deteriorate until               false negatives is measured as the
                                                 $0.015 instead of 10 or 15 ticks to align                the number of intra-spread ticks is well             amount of share volume that occurs
                                                 with the adopted amendments.                             above three. Hence, the chosen                       with a tick of $0.01 and a TWAQS
                                                    Panel B shows that, for the adopted                   threshold is conservative. Second, and               under $0.015, divided by the total
                                                 rule choices of a 3-month Evaluation                     as previously discussed, the estimates in            amount of share volume that occurs
                                                 Period and a 6-month operative period,                   panel B are constructed from historical              with a TWAQS under $0.015.
                                                 3.4% of share volume will receive a                      data in which stocks were constrained                Analogously, the rate of false positives
                                                 $0.005 tick yet trade in an environment                  by the $0.01 tick. Once these                        is measured as the amount of share
                                                 with an TWAQS over $0.015. It is                         amendments are implemented the                       volume that occurs with a tick of $0.005
                                                 possible that the reduction in the tick                                                                       and a TWAQS over $0.015, divided by
                                                                                                          stocks assigned a $0.005 tick will be
                                                 size could cause a worse trading                                                                              the total amount of share volume that
                                                                                                          able to trade at quoted spreads below
                                                 environment for some of this fraction of
                                                                                                          $0.01; this will have a mechanical effect
                                                 trading volume, compared to what the                                                                             1375 The greater prevalence of false negatives may
                                                                                                          of lowering the stocks’ TWAQS and                    be due to the existing $0.01 tick size effectively
                                                 trading environment could have been
                                                                                                          thereby keeping more volume under the                censoring the observed quoted spreads at the penny
                                                 had the stock retained a $0.01 tick. This                                                                     tick. For symbols near the $0.015 threshold, the
                                                                                                          $0.015 quoted spread threshold.
                                                 effect will not be indefinite because, if                                                                     prevalence of false positives and negatives should
                                                 a stock’s quoted spread remains                             By comparing the magnitudes of the                be approximately equal—i.e., a symbol with a
                                                 elevated, then at the end of the next                    false negatives and false positives in               quoted spread of $0.0149 is as likely to cross over
                                                                                                                                                               the $0.015 threshold (and be a false positive) as a
                                                 evaluation period the stock will be                      panels A and B of table 10, we can                   symbol with a quoted spread of $0.0151 is likely to
                                                 assigned a wider tick—mitigating the                     assess the relative importance of the two            cross under the $0.015 threshold (and be a false
                                                 negative consequences of having a tick                   ways in which a tick may be                          negative). When we move away from the threshold,
                                                 size that is too narrow relative the                     misassigned. The false negatives are                 however, the low-tick symbols are more likely to be
                                                                                                                                                               constrained by the penny tick—if we see a TWAQS
                                                 quoted spread.                                           generally substantially larger and                   of $0.012, the true market-clearing quoted spread—
                                                    The false positive statistics in panel B              exhibit greater variation within the                 i.e.,unconstrained by the minimum tick—is likely
                                                 of table 10 further show that less                       table.1374 This implies that the                     lower than $0.012 because the TWAQS is censored
                                                 frequent tick updating tends to result in                                                                     at $0.01; if we see a TWAQS of $0.018, however,
                                                                                                          incremental effect of the choice of                  this censoring is less important. Therefore, the
                                                 more volume trading with a smaller tick                  period length will be greater for the                likelihood that a symbol with a TWAQS of $0.012
                                                 yet a relatively wide quoted spread.                     share of volume that is misassigned to               crosses over the $0.015 threshold (and is recorded
                                                 This can be seen by the increased                        a $0.01 tick than for volume that is                 as a false positive) is lower than the likelihood that
                                                 prevalence of false positives as one                                                                          a symbol with a TWAQS of $0.018 crosses under
                                                                                                          misassigned to a $0.005 tick. For                    the $0.015 threshold (and is recorded as a false
                                                 moves left-to-right along a row—for any                  example, the difference between the                  negative).
                                                 chosen evaluation period, a longer                       highest and lowest fraction of false                    1376 To take an extreme example, suppose every

                                                                                                          negatives is 12.3%—this is the increase              stock’s quoted spread increases by $0.10
                                                   1373 The empirical analysis in section VII.D.1.b.ii,                                                        immediately after new ticks are assigned. This
                                                                                                          in aggregate share volume at a                       implies that no stock should have a tick of $0.005.
                                                 suggesting that a lower tick size benefits tick-
                                                 constrained stocks, is an ‘‘on average’’ result. While   misassigned $0.01 tick when moving                   In this case, the evaluation and operative periods
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                                                 the Commission expects that a lower tick would on        from 1-month periods to 12-month                     that assign the least amount of trading to the $0.005
                                                 average decrease transaction costs for tick-             periods—while the difference between                 would do best. Conversely, suppose that quoted
                                                 constrained stocks, the Commission cannot rule out                                                            spreads fall by half immediately after new ticks are
                                                                                                          the highest and lowest fraction of false             assigned; in this case, the periods that assign more
                                                 the possibility that for some of these stocks, a
                                                 smaller tick could lead to wider quoted spreads. For                                                          trading to the $0.005 tick would generally do better.
                                                 these stocks, if quoted spreads increase to a              1374 If false positives are over-estimated, as        1377 In the statistics and medicine literature, the

                                                 sufficient degree, then the stock could be re-           discussed in the previous paragraph, then the        false positive rate is related to a test’s specificity,
                                                 assigned a wider tick after the next evaluation          relative importance of false negatives becomes       while a false negative rate is related to a test’s
                                                 period.                                                  greater still.                                       sensitivity.



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                                                 occurs with a TWAQS over $0.015. In                                         tick is updated annually, then the rule                         months. This indicates that short
                                                 the context of the evaluation period, a                                     would fail to assign a tick reduction to                        evaluation periods may put more weight
                                                 low false negative rate signifies effective                                 19.3% of volume that would benefit                              on transient events, as some
                                                 identification of stocks that would                                         from it. The pattern holds moving down                          commenters stated. Similarly, for every
                                                 benefit from a tick reduction, while a                                      columns and moving across rows from                             row the false positive rate is highest
                                                 low false positive rate suggests effective                                  shorter to longer periods. This lends                           with an operative period of 12 months,
                                                 avoidance of assigning a reduced tick to                                    support to commenters’ views that more                          and the rate is lowest with an operative
                                                 stocks that would not benefit from it. In                                   recent data—from shorter evaluation                             period of 1 month. This indicates that
                                                 contrast to panels A and B, patterns in                                     periods and more frequent updating—                             infrequent updating increases the risk
                                                 panels C and D of table 10 are likely to                                    tends to do a better job at assigning a
                                                                                                                                                                                             that a stock is stuck at an
                                                 be more robust to market-wide changes                                       low tick to stocks that will benefit from
                                                                                                                                                                                             inappropriately low tick for many
                                                 in quoted spreads.                                                          it in the operative period.
                                                   Panel C of table 10 presents results for                                     False positive rates are reported in                         months.
                                                 the false negative rates across 16                                          panel D. The pattern for false positive                            The contrasting patterns in the rates
                                                 combinations of evaluation periods and                                      rates is consistent with results in panel                       of false positives and negatives
                                                 operative periods. The pattern for false                                    B on the fraction of volume                                     illustrates a tradeoff highlighted by
                                                 negative rates is similar to the fraction                                   inappropriately assigned a $0.005 tick—                         commenters (and discussed at the
                                                 of share volume inappropriately                                             shorter evaluation periods and longer                           beginning of this section). A short
                                                 assigned a $0.01 tick in panel A—as the                                     operative periods tend to have higher                           evaluation period uses the most recent
                                                 period lengths shorten, the false                                           false positive rates, indicating that more                      and relevant information, which on
                                                 negative rates decrease. For example, an                                    trading is potentially harmed from                              average reduces the false negative rate;
                                                 evaluation period of 3 months with                                          having too narrow of a tick. For every                          however, a short evaluation period also
                                                 monthly updating typically fails to                                         column, the highest false positive rate                         places more emphasis on short-term and
                                                 assign a tick reduction to 12.8% of                                         occurs with an evaluation length of 1                           volatile events, which raises the false
                                                 volume that would benefit from it. If the                                   month, and the lowest false positive rate                       positive rate.
                                                 same evaluation period is used but the                                      occurs with an evaluation length of 12

                                                                                 TABLE 10—EFFECT OF THE EVALUATION PERIOD ON INAPPROPRIATE TICK ASSIGNMENT
                                                                                                                                                                                      Length of operative period in months

                                                                                                                                                                         1                    3                 6             12
                                                                                                                                                                        (%)                  (%)               (%)           (%)

                                                      Panel A: Fraction of aggregate share volume assigned a $0.01 tick with a subsequent TWAQS below $0.015 (i.e., false negatives)

                                                 Length of evaluation period in months:
                                                     1 ........................................................................................................                 8.5                 9.4              10.7          12.9
                                                     3 ........................................................................................................                11.4                12.4              13.7          15.8
                                                     5 ........................................................................................................                13.1                14.1              15.3          17.3
                                                     12 ......................................................................................................                 17.0                17.8              18.9          20.8

                                                     Panel B: Fraction of aggregate share volume assigned a $0.005 tick with a subsequent TWAQS above $0.015 (i.e., false positives)

                                                 Length of operative period in months:
                                                     1 ........................................................................................................                 3.1                 3.3               3.8           4.3
                                                     3 ........................................................................................................                 2.6                 2.9               3.4           3.8
                                                     5 ........................................................................................................                 2.6                 2.9               3.2           3.6
                                                     12 ......................................................................................................                  2.5                 2.7               2.9           3.2

                                                                                                                                         Panel C: False negative rates

                                                 Length of operative period in months:
                                                     1 ........................................................................................................                12.8                14.2              16.2          19.3
                                                     3 ........................................................................................................                17.4                18.8              20.6          23.6
                                                     5 ........................................................................................................                19.9                21.2              23.0          25.9
                                                     12 ......................................................................................................                 25.7                26.9              28.6          31.2

                                                                                                                                         Panel D: False positive rates

                                                 Length of operative period in months:
                                                     1 ........................................................................................................                 8.5                 9.4              10.9          12.6
                                                     3 ........................................................................................................                 7.2                 8.2               9.6          11.2
                                                     5 ........................................................................................................                 7.1                 8.1               9.3          10.6
                                                     12 ......................................................................................................                  6.8                 7.5               8.4           9.5
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                                                    a For every month from January 2018 to June 2022, the Commission simulates the tick assignment procedure under 16 combinations of eval-
                                                 uation and operative period lengths. The evaluation period determines the number of prior months to use when averaging each stock’s quoted
                                                 spread; a TWAQS of $0.015 or below during the evaluation period causes the stock to receive a tick of $0.005 during the subsequent tick as-
                                                 signment interval. The operative period determines the length of each tick assignment.
                                                    All the statistics in the tables are computed using data beginning one month after the evaluation period. For example, suppose the month is
                                                 April 2018. To compute the statistics for an evaluation length of 3 months and an operative length of 6 months, the tick size for May 2018
                                                 through August 2018 is set by the stock’s TWAQS from January 2018 through March 2018. The statistics in the table are determined by stocks’
                                                 trading during the May 2018 through August 2018 period (the operative period). This process is repeated on a rolling basis for every month from
                                                 January 2018 to June 2022, and the table summarizes results across all months.



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                                                    TWAQS is determined by computing the time weighted quoted spread during regular trading hours as computed by the WRDS intra-day indi-
                                                 cators for every sym_root and sym_suffix combination in the dataset. When calculating a stock’s TWAQS during an evaluation period, the stock’s
                                                 daily TWAQS is averaged across all trading days in the evaluation period.
                                                    When assigning volume to a TWAQS bucket in an operative period, the TWAQS on a given day for a particular stock is used. That is, if a
                                                 stock trades with a TWAQS of $0.011 on Monday but the same stock has a TWAQS of $0.016 on Tuesday, then its volume on Monday is as-
                                                 signed to the sub-$0.015 category while its Tuesday volume is assigned to the over-$0.015 category in the operative period.
                                                    The universe of securities in the WRDS intra-day indicators dataset is used.
                                                    Panel A computes the fraction of total aggregate share volume that occurs in stocks that would have been assigned a $0.01 tick yet subse-
                                                 quently trade at a TWAQS of under $0.015 in the operative period. These stocks would benefit from a $0.005 tick instead of a $0.01 tick.
                                                    Panel B computes the fraction of total aggregate share volume that occurs in stocks that would have been assigned a $0.005 tick yet subse-
                                                 quently trade at a TWAQS of over $0.015 in the operative period. These stocks may not benefit from the $0.005 tick.
                                                    Panel C computes false negative rates. The false negative rate is the fraction of share volume that is assigned a tick of $0.01 among the
                                                 share volume that trades with a TWAQS under $0.015 in the operative period.
                                                    Panel D computes the false positive rates. The false positive rate is the fraction of share volume that is assigned a tick of $0.005 among the
                                                 share volume that trades with a TWAQS above $0.015 in the operative period.


                                                    Table 11 further explores                            that a one-month evaluation period may                2019 to January 2020 to assign ticks, a
                                                 commenters’ discussions about the risk                  be best. However, table 11 shows that a               five-month evaluation period uses
                                                 of placing too much emphasis on                         one-month evaluation period may                       September of 2019 to January 2020, and
                                                 transient market conditions. In                         substantially increase false negatives                a twelve-month evaluation period uses
                                                 particular, panels A and B of table 11                  when the evaluation period includes a                 February of 2019 to January 2020. The
                                                 computes rates of false negatives and                   period of unusual market stress.                      Commission then examines the fraction
                                                 positives—similar to panels C and D of                     While panels A and B of table 11                   of aggregate share volume that would
                                                 table 10—but does so using only the                     includes March of 2020 in the                         have received a $0.005 tick under the
                                                 evaluation period that ends with March                  evaluation period, one commenter also                 amendments yet traded with a wide
                                                 of 2020. The one-month evaluation                       provided, in the context of the                       quoted spread during an operative
                                                 period includes only March of 2020; the                 Proposing Release, analysis using March               period of March 2020.
                                                 three-month evaluation period covers                    of 2020 in the operative period. This
                                                                                                         commenter stated that during times of                    Results are presented in panel C of
                                                 January to March of 2020; the five-
                                                 month evaluation period covers                          market stress, ‘‘many symbols would be                table 11. Each row corresponds to an
                                                 November of 2019 to March of 2020; the                  trading with far more price levels intra-             evaluation length of 1, 3, 5, or 12
                                                 twelve-month evaluation period covers                   spread than contemplated under the                    months. Each column corresponds to a
                                                 April of 2019 to March of 2020. In this                 Proposal, thereby further increasing the              quoted spread threshold of $0.015,
                                                 way, panels A and B of table 11                         liquidity-related harms . . .’’ The                   $0.02, or $0.05. The upper-left
                                                 demonstrate what may happen if an                       commenter further showed that, were                   number—21.4%—indicates that 21.4%
                                                 unusual market event causes an                          the proposed rule in effect, most                     of aggregate share volume in March of
                                                 inappropriate tick assignment. These                    symbols receiving a tick reduction                    2020 would have occurred with a
                                                 panels show that a one-month                            would have experienced over ten intra-                $0.005 tick and a TWAQS over $0.015.
                                                 evaluation period performs particularly                 spread ticks during March of 2020, and                With a three-month evaluation period,
                                                 poorly when that month is March of                      many stocks would have experienced                    this fraction halves to 10.6%, further
                                                 2020. Specifically, the one-month                       over twenty intra-spread ticks.1379                   reinforcing the conclusion of panel A
                                                 evaluation period exhibits a                               The Commission acknowledges that                   that a one-month evaluation period may
                                                 substantially higher false negative                     quoted spreads generally widen during                 do particularly poorly when market
                                                 rate.1378 A three-month evaluation                      periods of market stress, and this may                conditions suddenly worsen. The
                                                 period consistently has the lowest false                result in stocks trading with more intra-             Commission further reiterates that
                                                 negative rate—it has the benefit of                     spread ticks than is desirable; the rise in           stocks receiving a $0.005 tick are
                                                 recent data without an over-reliance on                 intra-spread ticks may then compound                  unlikely to be harmed when trading at
                                                 short-term fluctuations. Finally, the                   the market stress. Relative to the                    a quoted spread of $0.015, so it is
                                                 false positive rates in panel B                         proposal, the amendments reduce the                   unlikely that 10.6% of share volume
                                                 approximately double when moving                        severity of such an outcome by reducing               would have been harmed in March of
                                                 from a six-month operative period to a                  the number of stocks that receive a tick              2020 were the amendments in place. To
                                                 twelve-month operative period,                          reduction, and by reducing the size of                further explore this issue, the
                                                 indicating that infrequent tick updating                the tick reduction. To further examine                Commission performs similar
                                                 can lead to stocks getting stuck with an                this issue, the Commission conducts its               calculations with wider quoted spread
                                                 inappropriately low tick for an extended                own analysis with March of 2020 as the                thresholds of $0.02 and $0.05. With a
                                                 period.                                                 operative period. In particular, the                  three-month evaluation period, the
                                                    Panels A and B of table 11 add to our                Commission simulates tick assignment                  fraction of aggregate share trading that
                                                 understanding of the tradeoff presented                 in February of 2020 under the                         receives a $0.005 tick and trades at a
                                                 by the evaluation period. Table 10                      parameters of the amendments, and                     quoted spread over $0.02 is 6.4%; this
                                                 suggests that short evaluation periods                  then examines the outcome during                      reduction (from 10.6% trading at a
                                                 tend to reduce false negatives but                      March of 2020. The simulation is done                 quoted spread over $0.015) indicates
                                                 increase false positives. Given that false              for a range of evaluation periods—a one-              that a substantial proportion of the false
                                                 negatives (vs. false positives) tend to be              month evaluation period uses January of               positive trading during March of 2020 is
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                                                 more prevalent and vary more across                     2020 to determine which stocks receive                occurring with 3–4 intra-spread ticks,
                                                 evaluation periods, table 10 suggests                   the $0.005 tick in March (allowing for                which is generally in line with
                                                   1378 The false positive rates are generally lower
                                                                                                         a one-month lag), a three-month                       commenters’ views on the optimal
                                                 than usual (e.g., below those in Panel B), likely
                                                                                                         evaluation period uses November of                    number of intra-spread ticks.1380
                                                 because quoted spreads narrowed after March of
                                                 2020.                                                     1379 See Citadel Letter I at 6–7.                     1380 See supra note 1299.




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                                                 Finally, with a three-month evaluation                                      a quoted spread over $0.05 is 1.2%.                                       is at an increased risk of a reduction in
                                                 period, the fraction of aggregate trading                                   Analysis in the Proposing Release and                                     market quality due to having over ten
                                                 that receives a $0.005 tick and trades at                                   herein suggests that this 1.2% of volume                                  intra-spread ticks.1381

                                                           TABLE 11—EFFECT OF THE EVALUATION PERIOD ON INAPPROPRIATE TICK ASSIGNMENT AROUND MARCH 2020
                                                                                                                                                                                                Length of operative period in months

                                                                                                                                                                              1                         3                   6                   12
                                                                                                                                                                             (%)                       (%)                 (%)                 (%)

                                                                                                    Panel A: False negative rates using March of 2020 in the evaluation period

                                                 Length of evaluation period in months:
                                                     1 ........................................................................................................                       36.2                   35.4                37.4                40.1
                                                     3 ........................................................................................................                       21.7                   22.5                23.7                23.9
                                                     5 ........................................................................................................                       34.7                   34.9                36.1                37.4
                                                     12 ......................................................................................................                        30.0                   31.7                32.0                33.9

                                                                                                    Panel B: False positive rates using March of 2020 in the evaluation period

                                                 Length of operative period in months:
                                                     1 ........................................................................................................                         1.7                   2.6                 3.2                 8.0
                                                     3 ........................................................................................................                         3.0                   4.6                 6.0                12.0
                                                     5 ........................................................................................................                         2.6                   4.1                 5.4                10.2
                                                     12 ......................................................................................................                          3.6                   5.0                 6.5                11.0

                                                                                      Panel C: Fraction of March 2020 share volume with a $0.005 tick and wide quoted spreads

                                                                                                                                                                                                              Quoted spread threshold

                                                                                                                                                                                                  AQS > $0.015       AQS > $0.02         AQS > $0.05
                                                                                                                                                                                                      (%)               (%)                 (%)

                                                 Length of evaluation period in months:
                                                     1 ......................................................................................................................................                21.4                14.4                    3.5
                                                     3 ......................................................................................................................................                10.6                 6.4                    1.2
                                                     5 ......................................................................................................................................                12.4                 7.6                    1.5
                                                     12 ....................................................................................................................................                 14.4                 9.2                    2.0
                                                    a The Commission simulates the tick assignment procedure under 16 combinations of evaluation and operative period lengths. The method-
                                                 ology and data used for this simulation is described in the note to table 10.
                                                    In contrast to table 10, which performed the simulation on a rolling basis for every month from January 2018 to June 2022, this table only sim-
                                                 ulates tick assignment and outcomes around March of 2020.
                                                    Panel A repeats the false positive calculations of table 10 as if the tick is assigned in April 2020 (to ensure that March 2020 is in the evalua-
                                                 tion period). For example, to compute the statistic for an evaluation length of 3 months and an operative length of 6 months, the tick size for May
                                                 2020 through August 2020 is set by the stock’s TWAQS from January 2020 through March 2020. April 2020 is the hypothetical month in which
                                                 the tick assignment is calculated and acts as the gap between the evaluation period and the operative period. Panel B similarly repeats the false
                                                 negative calculations of table 10 as if April 2020 is the month in which the tick assignment is calculated.
                                                    Panel C instead uses March 2020 as the operative period. For example, to compute the statistic for an evaluation length of 3 months, the tick
                                                 size for March 2020 is assigned by the stock’s TWAQS from November 2019 to January 2020, with February of 2020 being the hypothetical
                                                 month in which the tick assignment is calculated. Panel C computes the fraction of total aggregate share volume that occurs in stocks assigned
                                                 to a $0.005 tick, yet trades at a high TWAQS during March of 2020. The fraction is calculated using a range of TWAQS thresholds for trading
                                                 during March of 2020—the columns correspond to trading with a TWAQS over $0.015, $0.02, and $0.05.


                                                   The analysis indicates that a shorter                                     commenters stated that more frequent                                      would avoid imposing undue costs on
                                                 operative period almost always results                                      updates may impose costs in terms of                                      market participants that may be caused
                                                 in fewer errors. By updating the tick                                       adjustments to algorithms, operations,                                    by tick size updates that are too frequent
                                                 more frequently, the tick better reflects                                   systems, and an increase in customer                                      but should mitigate the possibility that
                                                 changing market conditions—this is                                          complaints. One commenter requested                                       tick sizes do not update frequently
                                                 shown by increasing rates of both false                                     that the Commission ‘‘investigate                                         enough and lead to worse trading
                                                 negatives and positives as the operative                                    historical rates of change in the TWAS                                    outcomes.’’ 1383
                                                 period widens.1382 However,                                                 for a variety of trading symbols. This
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                                                    1381 See supra section VII.D.1.b.ii, particularly                        in a monotonic increase in both false positives and                       when the operative period increases from one to
                                                 figure 2 and surrounding discussion.                                        false negatives. The only exception to this pattern                       three months.
                                                    1382 In panels A–D of table 10 and panels A–B of                         is in Panel A of table 11: with an evaluation period                        1383 See Mitre Corp. Letter at 5.
                                                 table 11, moving left-to-right along any row results                        of one-month, the false negative rate falls by 0.8%



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                                                    The Commission examines the                                              ticks are updated more frequently                                   algorithms and may increase customer
                                                 frequency of tick size updates in table                                     during a year, which increases the                                  confusion and complaints. The risk of
                                                 12. This table shows the typical number                                     number of discrete system changes that                              customer confusion is mitigated by the
                                                 of tick-changes that occur in a 12-month                                    market participants need to make.                                   adoption of a tick size indicator in the
                                                 period under each combination of                                            Second, a shorter operative period                                  regulatory data. This indicator can be
                                                 evaluation and operative period                                             increases the number of tick-changes                                directly incorporated into trading
                                                 length.1384 Shorter operative periods                                       that stocks experience during a typical                             algorithms helping to automate the
                                                 present a tradeoff, they better tailor the                                  twelve-month period—this is seen in                                 process adjusting trading strategies to
                                                 tick size to current conditions for the                                     table 12 by the increase in tick changes                            different tick sizes for algorithmic
                                                 stock which can improve market quality                                      as one moves right-to-left in any row.
                                                                                                                                                                                                 traders.1385
                                                 for the stock, but they impose two costs:                                   More tick changes may result in result
                                                 first, a shorter operative period implies                                   in more extensive changes to trading

                                                        TABLE 12—EFFECT OF THE EVALUATION PERIOD ON THE MEDIAN NUMBER OF TICK CHANGES OVER A 12-MONTH
                                                                                                   PERIOD A
                                                                                                                                                                                           Length of operative period in months

                                                                                                                                                                               1                    3                   6                   12

                                                 Length of evaluation period in months:
                                                     1 ..............................................................................................................              4,722                2,317               1,356                665
                                                     3 ..............................................................................................................              2,632                1,969               1,253                653
                                                     5 ..............................................................................................................              1,724                1,435               1,153                622
                                                     12 ............................................................................................................                 772                  680                 591                488
                                                    a The Commission simulates the tick assignment procedure under 16 combinations of evaluation and operative period lengths. The simulation
                                                 is performed on a rolling basis for every month from January 2018 to June 2022. The methodology and data used for this simulation is described
                                                 in the note to table 10. This table computes the number of tick changes that occur over a median 12-month horizon for each combination of eval-
                                                 uation and operative period length.


                                                    To summarize the results of this                                         operative period requires market                                    fraction of trading that is a false negative
                                                 subsection, tables 10, 11, and 12                                           participants to update their systems                                to decrease by an average of 0.9% with
                                                 illustrate the tradeoffs inherent in the                                    twice as often as a six-month period,                               a maximum decrease of 1.2% for the top
                                                 choice of evaluation and operative                                          and table 12 shows that the number of                               left cell of panel A; the false positives
                                                 periods. With respect to the evaluation                                     annual tick changes increases 57%                                   in panel B likewise drop by an average
                                                 period, table 10 implies that shorter                                       when moving from the six-month to the                               of 0.2% when the lag is removed. On
                                                 period lengths reduce false negatives                                       three-month period.1386 The                                         the other side of the scale, the lag may
                                                 but increase false positives; the higher                                    amendments, which adopt a three-                                    reduce operational burdens on market
                                                 prevalence of false negatives tilts the                                     month Evaluation Period and a six-                                  participants by allowing them time to
                                                 scale toward a short evaluation period.                                     month operative period, reflect these                               update their systems before a new tick
                                                 Table 11, though, shows that a one-                                         considerations.1387                                                 assignment occurs, and may likewise
                                                 month evaluation period may unduly                                             Finally, the Commission examined                                 provide brokers time to give advance
                                                 increase the influence of aberrant                                          the effect of a one-month lag between                               notice to customers about which stocks
                                                 events, while a three-month evaluation                                      the end of the evaluation period and the                            will experience tick changes.1388 The
                                                 period continues to perform well in                                         subsequent tick assignment. All the                                 amendments, which provide a one-
                                                 unusual market conditions.                                                  results in tables 10, 11, and 12 include                            month lag, reflect a conclusion that the
                                                    With respect to the operative period,                                    this one-month lag; the Commission                                  cost of increased error rates due to the
                                                 tables 10 and 11 imply that shorter                                         separately calculated table 10 statistics                           one-month lag is small relative to the
                                                 period lengths reduce both false                                            without the lag. If the lag is removed,                             benefits that the lag provides for
                                                 negatives and positives. Table 11 shows                                     then the error rates in panels A and B                              industry testing and adjustment.
                                                 a particularly large reduction in false                                     of table 10 fall by a small amount across                           e. Additional Effects of a Half-Penny
                                                 positives when using a six-month                                            all combinations of evaluation and                                  Tick
                                                 operative period instead of a twelve-                                       operative periods. The lag effectively
                                                 month period. Focusing on an                                                makes the evaluation period less                                       Some commenters suggested, in the
                                                 evaluation period of three-months,                                          informative about the operative period,                             context of the proposal, that a tiered tick
                                                 tables 10 and 11 show similar error rates                                   and this effect is stronger when updates                            size could create confusion in the
                                                 with operative period of three and six                                      are made every month. With respect to                               markets particularly for retail
                                                 months. However, a three-month                                              magnitudes, removing the lag causes the                             traders.1389 These commenters stated
                                                    1384 These estimates of tick changes are likely to                       spreads to widen, though transaction costs are not                  results in 1,969. The increase is therefore calculated
                                                 be over-estimates because the estimates are                                 expected to go up, and thus shift the distribution                  as: (1969 ¥ 1253)/1253 = 57%.
                                                 constructed from historical data in which stocks                            of quoted spreads toward the $0.015 threshold; if
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                                                                                                                                                                                                   1387 See 17 CFR 242.612(a)(1), (b)(1) for rule text
                                                 were constrained by the $0.01 tick. Once the                                more stocks trade near the $0.015 threshold, then                   relating to these periods.
                                                 adopted tick amendment is implemented, the stocks                           there may be more switching as stocks move across                     1388 The adopted rule additionally syncs the dates
                                                 assigned a $0.005 tick will be able to trade at quoted                      the threshold more frequently.
                                                                                                                               1385 See infra section VII.D.5 for additional                     of tick assignment with the dates of new round lot
                                                 spreads below $0.01; this is expected to lower the
                                                 stocks’ TWAQS, thereby reducing the probability                             discussion of the expected costs associated with the                assignments. This further reduces operational
                                                 that a low-tick stock will experience a tick change                         amendments to Rule 612.                                             burdens on market participants. See discussion in
                                                 by crossing over the $0.015 TWAQS threshold. It                               1386 With a three-month evaluation period, a six-                 section VII.D.5.a.
                                                                                                                                                                                                   1389 Fidelity Letter at 3; Tastytrade Letter at 18–
                                                 is possible, however, that the amended rule’s                               month operative period results in 1,253 annual tick
                                                 reduction in the access fee cap may cause quoted                            changes, while a three-month operative period                       19.



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                                                 that retail traders may be at a relative                 to affect the bid-ask spread.1395 To the                complicated, however the magnitude of
                                                 disadvantage because they may get                        extent that issuers engage in stock splits              any effect is uncertain.
                                                 confused by the sub-penny increments.                    to manage their quoted spread, this                        Another commenter specifically asked
                                                 One commenter presented data                             behavior is likely to continue under the                the Commission to consider the effect of
                                                 suggesting that retail traders tend not to               amended rules when issuers believe that                 a lower tick size on ETFs as opposed to
                                                 use sub-penny non-marketable limit                       a stock split could improve their                       stocks.1401 The commenter stated that
                                                 orders even when they can, for instance                  liquidity. However, the amendments are                  ETFs tend to have larger trade sizes and
                                                 for orders priced below $1.00, and that                  expected to improve liquidity on                        also that the creation and redemption
                                                 fill rates for such trades tend to go down               average for stocks subject to the smaller               process for ETFs is unique. However,
                                                 for retail traders.1390 The commenter                    tick size, so it may be less likely that an             the commenter does not provide any
                                                 ascribes these findings to retail investors              issuer may feel the need to manage                      analysis regarding how these differences
                                                 getting confused and being unfamiliar                    liquidity via stock splits going forward                would lead an ETF to react differently
                                                 with sub-penny trading increments                        and so there could be fewer associated                  than a common stock to a reduction in
                                                 leading to a competitive disadvantage                    stock splits for this reason. Furthermore,              the tick size.1402 The fundamental
                                                 for these traders with respect to more                   although stock splits and reverse splits                economics regarding the tick size
                                                 sophisticated traders that are more                      can mechanically affect the bid-ask                     tradeoff discussed at the beginning of
                                                 familiar with sub-penny increments and                   quoted spread and change the optimal                    this section applies to ETFs because the
                                                 thus retail traders using non-marketable                 tick, the next evaluation period would                  economics discussed in this section rely
                                                 limit orders would be more likely to be                  rectify any misalignment in the stock’s                 on the mechanics of quoting and
                                                 undercut with a smaller tick.1391                        tick size assignment.1396                               trading, not on the assets underlying the
                                                 Another commenter suggested that retail                     Some commenters requested that the                   stock or ETF. It is also unclear how the
                                                 investor confusion would lead retail                     Commission provide an analysis of the                   creation redemption process would
                                                 brokers to need to hire additional staff                 effect of the amendments on the use of                  differ from the analysis provided above.
                                                 to manage customer confusion and                         ISOs (intermarket sweep orders).1397                    Additionally, the creation/redemption
                                                 education concerning multiple tick                       Some stated that spreading liquidity                    process also does not produce unique
                                                 sizes, or to handle phone trades by retail               over more price levels would increase                   economics in the context of these
                                                 customers confused by the markets.1392                   the risk of information leakage with                    amendments. This is because authorized
                                                    The Commission acknowledges some                      regards to a large order being split over               participants purchasing the underlying
                                                 potential for confusion but does not                     many smaller orders which would lead                    shares to deliver in exchange for shares
                                                 expect the amendments to disadvantage                    to an increased complexity of                           of the ETF or delivering shares of the
                                                 retail traders. First, the comments are in               implementing large orders and would                     ETF in exchange for the underlying
                                                 response to the proposal; the adopted                    thus lead to an increased use of ISO                    assets would still need to purchase and
                                                 amendments have fewer minimum                            orders.1398 Barardehi et al. (2022)1399                 sell the underlying shares in the stock
                                                 quoting increments than the proposed                     specifically examine the effect of tick                 market, subjecting them to the
                                                 amendments; indeed, there are only two                   sizes on ISO activity. Their study finds                economics of supply and demand for
                                                 as opposed to four. Second, any                          that a narrower tick is associated with                 liquidity provision for the stocks in
                                                 confusion or disadvantage must be                        more ISO activity which the authors                     question. Consequently, ETFs with
                                                 evaluated relative to the baseline.                      attribute to the increased market                       narrower quoted spreads likely will
                                                 Currently the penny tick creates a price                 complexity associated with                              experience an improvement in market
                                                 floor, which, especially for tick-                       implementing trades in a narrower tick                  quality with a $0.005 tick size. To the
                                                 constrained stocks, advantages faster                    environment. This is consistent with the                extent that ETFs have larger average
                                                 and generally more sophisticated                         effect considered by the commenters.                    trade sizes the benefits of the Rule may
                                                 traders. It also creates incentives for                  Consequently, ISO usage is likely to                    be smaller, consistent with the analysis
                                                 more complex strategies such as those                    increase for stocks that receive the                    presented in Barardehi et al. (2022). But
                                                 involving alternative venues, again,                     narrower tick size. One commenter                       as the adopted amendment is more
                                                 contributing to complexity and putting                   stated that increased use of ISO orders                 conservative than the proposed rule in
                                                 less sophisticated investors at a                                                                                that it applies a tick size of $0.005 to
                                                                                                          may result in more locked and crossed
                                                 disadvantage. Third, the one-month                                                                               stocks with quoted spreads equal to or
                                                                                                          markets.1400 Research on the link
                                                 period of time between measuring the                                                                             less than $0.015, the Commission does
                                                                                                          between ISO usage and locked markets
                                                 TWAQS and the assigned tick size                                                                                 not believe, based on the analysis above
                                                                                                          is scant. Increased ISO usage could
                                                 becoming operational will allow time                                                                             and commenters evidence presented
                                                                                                          eventually lead to an increase in locked
                                                 for broker-dealers to educate customers                                                                          above, that the amendments are likely to
                                                                                                          and crossed markets, which could make
                                                 about tick sizes.1393 For these reasons,                                                                         harm ETFs that receive a tick size
                                                                                                          transacting on exchanges more
                                                 the half-penny tick is not expected to                                                                           reduction.
                                                 disadvantage retail traders.                               1395 See James J. Angel, Tick Size, Share Prices         One commenter stated that updated
                                                    One commenter requested that the                      and Stock Splits, 52 J. Fin. 655 (1997), and Sida Li    Rule 605 data would ‘‘question the
                                                 Commission consider how a smaller tick
                                                                                                          & Mao Ye, supra note 1286.                              validity of assumptions’’ made in the
                                                                                                            1396 See supra section VII.C.1.c for additional
                                                 size could affect stock splits.1394 The                                                                          tick size proposal.1403 The commenter
                                                                                                          discussion of tick sizes, quoted spreads, and stock
                                                 commenter cited academic research                        splits. See supra note 1367 and supra section III.C.8   stated that Rule 605 execution quality
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                                                 suggesting that stock splits can be used                 for discussions of how tick sizes are assigned          data for stocks that have quoted spreads
                                                                                                          following a stock split or reverse split.               wider than the tick would demonstrate
                                                                                                            1397 See SIFMA Letter II at 34. See also 17 CFR
                                                   1390 See Fidelity Letter at 3.
                                                                                                                                                                  that the minimum quoting increment is
                                                                                                          242.600(b)(47) (defining an intermarket sweep
                                                   1391 See also O’Brien Letter at 4 and Tastytrade       order).
                                                                                                                                                                  not the driver of off-exchange retail
                                                 Letter at 20 making similar comments.                      1398 See, e.g., Vanguard Letter at 5, Citigroup
                                                   1392 See Tastytrade Letter at 18–19.                   Letter at 4, and Virtu Letter II at 17.                  1401 See Tradeweb Letter at 3.
                                                   1393 See supra note 307 and surrounding text.            1399 See Barardehi et al., supra note 231.             1402 Id.
                                                   1394 See CCMR Letter at 28–29.                           1400 See RBC Letter at 3.                              1403 See Citadel Letter III at 1–2.




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                                                 trading.1404 The Commission agrees that                   compare execution quality across                       supply and demand. This effect would
                                                 there are other factors driving off-                      reporting entities within a given month.               reduce oscillation. Stocks receiving the
                                                 exchange retail trading, and adopts                          If FINRA chooses not to update Rule                 smaller tick size would likely
                                                 changes to Rule 612 for reasons other                     5320 (the ‘Manning Rule’), the lower                   experience tighter quoted spreads
                                                 than a significant change in retail order                 tick size could make claiming the price                making it less likely that they would
                                                 flow. For this reason, additional                         improvement exception to FINRA Rule                    revert to the $0.01 tick in the next
                                                 information regarding retail execution                    5320 harder for market participants                    evaluation period.
                                                 quality that will arise from amended                      since it would require a two-tick price
                                                                                                           improvement for some stocks instead of                 2. Lower Access Fee Cap
                                                 Rule 605 is not needed prior to adopting
                                                 amendments to Rule 612.                                   a one tick price improvement. One                         The amendments will lower the
                                                                                                           commenter stated that because the price                access fee cap from $0.003 per share (30
                                                    One commenter stated that variable                     improvement exception in the Manning                   mils) to $0.001 per share (10 mils) for
                                                 tick sizes ‘‘raise[ ] concerns about the                  Rule is currently tied to $0.01 price                  NMS stocks priced at $1.00 or more, and
                                                 ability to compare the execution quality                  improvement, a tick size smaller than                  from 0.3% to 0.1% of the share price for
                                                 for the stock across multiple months,’’                   $0.01 would ‘‘greatly increase the cost                stocks with prices less than $1.00.
                                                 resulting in ‘‘a significant possibility of               and complexity of compliance and                       Lowering the access fee cap preserves
                                                 investor confusion when comparing                         would likely disincentivize (or                        price coherence,1412 given changes to
                                                 Rule 605 reports across several                           eliminate) the handling of customer                    the tick size. Moreover, the Commission
                                                 months.’’ 1405 The Commission                             limit orders by wholesale broker                       expects that lowering the access fee cap
                                                 acknowledges that changes in the tick                     dealers.’’ 1408 The commenter made this                will result in lower transaction costs for
                                                 size may result in changes to the levels                  statement specifically referencing the                 investors. The Commission also expects
                                                 of some measures of execution quality                     proposed $0.001 tick increment. The                    that a lower access fee cap will result in
                                                 that are sensitive to the tick size, such                 adopted amendments do not include the                  wider quoted spreads; however, market
                                                 as price improvement, over time. To the                   $0.001 tick size and so these concerns                 quality will nonetheless improve.
                                                 extent that this reduces the                              are significantly mitigated. Nonetheless,              Lowering the access fee cap will reduce
                                                 interpretability of Rule 605 reports,                     requiring two tick price improvement                   exchange transaction revenue due to
                                                 particularly for stocks that experience                   for some orders could increase the                     lower capture on sub-$1.00 stocks. We
                                                 frequent changes in the tick size, this                   complexity associated with complying                   describe these effects in more detail
                                                 could represent a cost of the                             with the Manning Rule, particularly in                 below.
                                                 amendments. However, there are several                    situations where the quoted spread is                     Commenters, with few exceptions,1413
                                                 factors that will mitigate this potential                 only one tick wide because it would                    agreed on the need for Commission
                                                 cost. First, the adopted amendments                       require more than crossing the quoted                  action on access fees given the change
                                                 include an operative period that limits                   spread in order to claim the exception.                in the tick size.1414 One commenter
                                                 the frequency at which a tick                             For broker-dealers, such as wholesalers,               stated that in light of the reduction in
                                                 assignment is updated to a minimum of                     whose business models center on                        ticks for some stocks to $0.005, leaving
                                                 six months. The fact that a stock’s tick                  internalizing customer orders within the               the access fee cap at 30 mils would
                                                 assignment cannot vary more frequently                    NBBO, the requirement to, in some                      ‘‘distort trading economics in a manner
                                                 than every six months greatly reduces                     instances, more than cross the quoted                  that undermines the Commission’s goals
                                                 the number of potential changes in                        spread in order to execute a customer                  for competition and Best
                                                 execution quality levels in monthly                       order could be a disincentive to                       Execution.’’ 1415 Many commenters
                                                 Rule 605 reports that result from                         handling some orders as it could render
                                                                                                                                                                    1412 See infra section VII.D.2.a
                                                 changes to a stock’s tick size. Second, to                such trades unprofitable.1409                             1413 Exceptions include e.g. Citigroup Letter at 6,
                                                 the extent that market participants will                     One commenter stated that a lower                   and World Federation of Exchanges Letter at 4,
                                                 be able to combine Rule 605 information                   tick size could lead to oscillation in                 Pragma Letter at 7, Hudson River Letter at 4, and
                                                 with information about a stock’s                          some stocks between tick sizes.1410 The                Budish Letter at 6–7. However, these commenters
                                                 historical tick size,1406 this will allow                 commenter stated that a stock that falls               did not present arguments suggesting that an access
                                                                                                                                                                  fee greater than 50% of the tick size would not
                                                 them to control for this characteristic                   just under the threshold and thus                      cause price coherence problems. The Commission
                                                 when assessing a stock’s execution                        receives a smaller tick may be subject to              believes that retaining a 30 mil access fee for stocks
                                                 quality data over time. In addition, as                   more undercutting with the smaller tick                trading with a $0.005 tick would further separate
                                                 acknowledged by the commenter, a                          size, which could cause quoted spreads                 the price from the economics of the trade and
                                                                                                                                                                  disrupt the coherence between nominal and net
                                                 change in the tick size ‘‘may impact                      to widen. Wider spreads would make                     pricing as the access fee cap would be greater than
                                                 market centers and broker-dealers                         the stock revert to the wider tick size,               50% of the tick size.
                                                 reporting under 605 in the same                           which would reduce undercutting so                        1414 See, e.g., Nasdaq Letter I at 19 (stating

                                                 manner,’’ 1407 such that variations in the                that quoted spreads would decline. A                   ‘‘Nasdaq recognizes that if Commission action
                                                                                                           narrower spread could lead to a smaller                successfully updates tick sizes and narrows spreads
                                                 tick size (and the resulting mechanical                                                                          for certain stocks, then existing exchange access
                                                 effects on execution quality levels) will                 tick in the next round and so on.1411                  fees and rebates may no longer be appropriate.’’),
                                                 not impact the use of Rule 605 to                         The Commission believes that this                      See Cboe, State Street, et al. Letter at 3 (stating ‘‘We
                                                                                                           outcome is unlikely given the analysis                 acknowledge that a reduction in quoting increments
                                                                                                           provided in this section. Stocks                       for tick constrained symbols could make it
                                                   1404 Id.
                                                                                                                                                                  advisable for market centers to reduce access fees
                                                   1405 See SIFMA Letter II at 20–21.                      receiving the smaller tick size are                    for the affected symbols to ensure a consistent
                                                   1406 While there is no requirement for the listing      expected to experience smaller quoted                  equity market structure framework.’’), see Better
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                                                 exchange to disseminate historical information            spreads due to the smaller tick size                   Markets Letter II at 3–4 (stating ‘‘A reduction in the
                                                 about the tick size, it is likely that this information   allowing pricing that better reflects                  minimum tick size without reducing access fees
                                                 will be collected and disseminated by other market                                                               could permit fees to become a higher percentage of
                                                 participants, such as firms providing services                                                                   the minimum pricing increment, which would
                                                                                                             1408 See Citadel Letter I at 8.
                                                 related to financial data and analysis because there                                                             almost certainly undermine price transparency.’’),
                                                                                                             1409 See supra note 193 and surrounding text for
                                                 would likely be demand for such data because, for                                                                and see RBC Letter at 4 (stating ‘‘If the MPIs are
                                                 example, it would be needed to perform after the          further discussion.                                    meaningfully reduced as noted in the Proposal,
                                                 fact transaction cost analysis.                             1410 See Mitre Corp. Letter at 5.                    then access fees would need to be lower as well.’’).
                                                   1407 See SIFMA Letter II.                                 1411 Id.                                                1415 Nasdaq Letter I at 19.




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                                                 supported a 10 mils access fee.1416                       require the exchange to have policies                   unpredictable losses if volumes spike.
                                                 Some commenters went further, stating                     and procedures in place reasonably                      Such a trading venue could experience
                                                 that the Commission should explore                        designed to prevent trades from                         such losses if its non-transaction fee
                                                 ‘‘comprehensive access fee reform’’ or                    occurring at a price worse than the                     sources of revenue do not increase
                                                 ban rebates entirely.1417 Some                            protected quote,1422 effectively                        enough with a spike in trading volume
                                                 commenters suggested what they                            requiring the investor to go to the                     to offset their negative net capture.
                                                 viewed as a less extensive change,                        traditional exchange if the investor                    Trading volumes can vary significantly
                                                 namely an alternative in which some                       wished to trade against a displayed, on                 through time, with little ability for a
                                                 stocks had a fee of 15 mils whereas                       exchange bid. However, on the                           trading venue to predict the timing and
                                                 others had a fee of 30 mils.1418 In short,                traditional exchange, the investor                      magnitude of changes in trading
                                                 while commenters agreed on the need                       demanding liquidity would take home                     volume. For example, in January 2021
                                                 for Commission action to lower the                        $10.007, whereas on the inverted                        volume spiked dramatically for certain
                                                 access fee cap, they disagreed regarding                  exchange, the investor would take home                  stocks relative to pre-January 2021
                                                 the specifics.                                            $10.008.1423                                            levels.1426 Exchanges could face
                                                                                                              Closely related to the lack of price                 financial hardship should rebates
                                                 a. Coherence Between Net and Quoted                       coherence on exchanges is the effect on                 deviate substantially from fees; so it is
                                                 Prices                                                    price transparency. To illustrate,                      unlikely that exchanges would take this
                                                    In the Proposing Release, the                          consider a situation with an access fee                 risk. For this reason, rebates and the cap
                                                 Commission discussed the need to                          and rebate of $0.003 and a tick size of                 on access fees are tied together.
                                                 maintain an access fee cap that is less                   $0.005. Consider the effect on prices of                   As explained in section VII.C.2.b, the
                                                 than half of the tick size due to the need                a stock. Suppose one sees a trade                       Commission understands that the net
                                                 to maintain coherence between net and                     executed at a price of $10.005 followed                 capture for non-auction trading in
                                                 quoted prices.1419 Commenters, with                       by another executed at a price of                       stocks that have a price equal to or
                                                 few exceptions,1420 agreed.1421                           $10.010. Many investors would                           greater than $1.00 is likely close to 2
                                                 Reducing the access fee cap to 10 mils                    interpret this as a sign that a stock was               mils for most exchanges. An exchange
                                                 will satisfy this condition of coherence.                 increasing in value. However, with an                   net capture rate of approximately 2 mils
                                                 As explained in the Proposing Release,                    access fee of $0.003, the net price of the              is in line with current pricing practices
                                                 only the best posted price is protected.                  first order if it represents a market order             at most exchanges; it is reasonable to
                                                 Under the current regulatory framework,                   to buy is $10.008 (the buyer pays                       estimate that exchanges would realize a
                                                 leaving the access fee cap at 30 mils                     $10.005 + $0.003), whereas the net price                similar net capture rate because the
                                                 could preclude market participants from                   of the second order if it is a market                   current net capture rate will remain
                                                 trading on exchanges that have the best                   order to sell, is $10.007 (the seller                   possible under the adopted
                                                 displayed price when fees and rebates                     receives $10.010 and pays $0.003 in                     amendments. The Commission
                                                 are included. Suppose a traditional                       fees). The price has fallen, not risen, an              acknowledges uncertainty over whether
                                                 exchange has a displayed protected bid                    effect that only the most sophisticated                 this 2 mils capture rate will persist or
                                                 at $10.010, whereas an inverted                           market participants would be able to                    be different should trading venues
                                                 exchange has a displayed protected bid                    discern. 1424 Lowering the access fee cap               choose to alter their business model in
                                                 at $10.005. Order protection would                        to 10 mils would solve both of these                    response to the change in access fees.
                                                                                                           problems.                                               The analysis that follows assumes that
                                                    1416 See, e.g., BlackRock Letter at 10–11, BMO
                                                                                                                                                                   exchanges will maintain the practice of
                                                 Letter at 3–4, Budish Letter, IEX Letters I–V,            b. Quantitative Net Capture Analysis
                                                 JPMorgan Letter at 6, NASAA Letter at 9, Vanguard
                                                                                                                                                                   financing rebates through access fees,
                                                 Letter at 2 and 6, XTX Letter at 5.
                                                                                                              While the amendments do not                          and thus for transactions in stocks
                                                    1417 See We The Investors Letter I at 3–4              directly dictate what rebates trading                   priced $1.00 or more the Commission
                                                 (recommending banning rebates); Harris Letter at 4        venues can offer, trading venues                        expects the average access fee to be near
                                                 (recommending reverting to traditional fees, thereby      generally finance rebates through access                the 10 mil access fee cap and the
                                                 effectively eliminating rebates). BlackRock Letter at
                                                 11 states ‘‘Although we believe that the current
                                                                                                           fees, so in practice reducing the access                average rebate to be approximately 2
                                                 proposal may miss an opportunity to enact more            fee cap will lower the rebates                          mils lower.1427 The analysis also
                                                 holistic and lasting access fee reform, we concede        offered.1425 If trading venues were to                  assumes that the behavior of inverted
                                                 that, for highly liquid securities, a 10 mil access fee   subsidize rebates by taking a net loss per
                                                 cap reasonably threads the needle between
                                                                                                                                                                   exchanges and off-exchange venues
                                                 countervailing adverse consequences. Accordingly,
                                                                                                           share transacted, they would be                         changes proportionally. Although the
                                                 under a uniform fee model, we would be supportive         vulnerable to experiencing extreme and                  amendments would not require
                                                 of setting the access fee cap at 10 mils.’’                                                                       proportional change on the part of
                                                    1418 See infra note 1805 for a list of commenters         1422 See 17 CFR 242.611(a)(1); see also 17 CFR
                                                                                                                                                                   inverted venues, there is currently no
                                                 suggesting this alternative, and a discussion of the      242.611(b) (exceptions).
                                                 costs and benefit of this alternative.                       1423 For the liquidity demander in this example,
                                                                                                                                                                   restriction on the level of rebates for
                                                    1419 See Proposing Release, supra note 11, at
                                                                                                           the net proceeds of selling to the liquidity provider   taking liquidity or fees for posting; yet,
                                                 80348 n.712. Net and quoted price rankings are            on the traditional exchange would be the quoted         as shown in table 4 in section VII.C.2,
                                                 coherent if sorting trading venues on the                 price of $10.01 less the $0.003 access fee, or          inverted venues generally have fee and
                                                 competitiveness of their quoted prices yields the         $10.007. On the inverted venue the liquidity
                                                 same ordering as sorting on prices net of fees and        demander would receive the quoted price of
                                                                                                                                                                   rebate levels similar to maker-taker
                                                 rebates.                                                  $10.005 plus a taker rebate of $0.003 from selling,
                                                    1420 Exceptions are Citigroup Letter at 6, and         or $10.008. Although the liquidity demander would         1426 See Staff Report on Equity and Options

                                                 World Federation of Exchanges Letter at 4. These          receive a better net price by selling at the inverted   Market Structure Conditions in Early 2021 (Oct. 14,
                                                 commenters do not present arguments that counter          venue, because the traditional exchange has the         2021) available at https://www.sec.gov/files/staff-
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                                                 those others in the comment file. The Commission          better quoted price the order protection rule will      report-equity-options-market-struction-conditions-
                                                 believes that retaining a 30 mil access fee for stocks    prevent the trader from accessing the liquidity on      early-2021.pdf.
                                                 trading with a $0.005 tick would further separate         the inverted venue before first accessing the             1427 See section VII.C.2 for additional discussion

                                                 the price from the economics of the trade and             liquidity on the traditional exchange.                  about the roughly 2 mil estimated net capture rate
                                                 disrupt the coherence between nominal and net                1424 See Budish Letter at 6.
                                                                                                                                                                   for exchanges. At certain pricing tiers rebates may
                                                 pricing as the access fee cap would be greater than          1425 See supra note 1077 and surrounding text        exceed the access fee cap. However, because total
                                                 50% of the tick size.                                     discussing that access fees fund transaction rebates    overall fees exceed the total rebates paid out, the
                                                    1421 See, e.g., MEMX Letter at 22–24 and Pragma        and while trading centers could subsidize rebates       average rebate would remain lower than the average
                                                 Letter at 7.                                              with non-fee revenues they do not do so in practice.    access fee.



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                                                 venues and approximately a 2 mils                                        Commission estimates that the                                         net capture across exchanges is due
                                                 capture rate.                                                            exchanges would have collected $1,188                                 exclusively to the change in the access
                                                   Table 13 uses volume estimates from                                    million in access fees and distributed                                fee cap for stocks trading below $1.00.
                                                 table 5 to provide estimates of the fees                                 $906 million in rebates in 2023 under                                    Panel B provides estimates of the
                                                 and rebates that would have been                                         the amendment to Rule 610, providing
                                                 collected and disbursed in 2023 if the                                                                                                         effect of the amendments on access fees
                                                                                                                          the exchanges a net capture of $282                                   paid and rebates received by liquidity
                                                 amended access fee cap was                                               million in that time period. Thus, the
                                                 implemented.1428 Panel A shows that                                                                                                            demanders and providers separately.
                                                                                                                          Commission estimates that total access                                The Commission estimates that, under
                                                 under the current system with a 30 mil
                                                                                                                          fees collected would have declined by                                 the amendments, liquidity demanders
                                                 access fee cap for quotations priced
                                                                                                                          $2.23 billion and rebates distributed by                              would have paid $1.93 billion less 1431
                                                 $1.00 or more and a 0.3% access fee cap
                                                 for transactions less than $1.00, the                                    $2.17 billion in 2023.1430 This amounts                               in access fees and liquidity providers
                                                 exchanges collected an estimated $3.4                                    to an estimated decline in net capture of                             would have received $1.88 billion less
                                                 billion in access fees and distributed                                   $54.9 million across all exchanges. This                              in rebates in 2023. Thus, the current
                                                 $3.1 billion in rebates in 2023,                                         decline is conditional upon exchanges                                 estimated $2.6 billion in fee funded
                                                 providing an estimated net capture of                                    maintaining a 2 mil capture rate for                                  rebates in 2023 would have decreased
                                                 $337 million for the exchanges in that                                   stocks trading at a price of $1.00 or                                 by approximately 70% under the
                                                 time period.1429 In table 13 the                                         higher. Any estimated changes in total                                amendments.

                                                                     TABLE 13—ESTIMATED ACCESS FEES AND REBATES COLLECTED—CURRENT AND ADOPTED 2023 a
                                                                                                                                                                                                 Current               Rule             Difference

                                                                                              Panel A: Estimated Access Fees Collected and Rebates (in Millions of Dollars)

                                                 Fees Collected .............................................................................................................................     3,414.00             1,188.91           ¥2,225.21
                                                 Rebates Distributed .....................................................................................................................       ¥3,076.50             ¥906.16             2,170.30
                                                 Exchange Capture .......................................................................................................................           337.66               282.75             ¥54.90

                                                 Panel B: Estimated Fees by Liquidity Type (in Millions of Dollars)

                                                 Liquidity Demander ......................................................................................................................        2,969.12             1,034.61           ¥1,934.51
                                                 Liquidity Provider .........................................................................................................................    ¥2,631.47             ¥751.86             1,879.61
                                                 Exchange Capture .......................................................................................................................           337.66               282.75             ¥54.90
                                                    a This table takes trading volumes presented in table 5 to calculate aggregate fee and rebate estimates under the Rule. Current estimates of
                                                 fees collected and rebates distributed are taken from table 6. The analysis presumes that exchanges with fees and rebates currently above 10
                                                 mils will decrease fees and rebates to a 10 mil fee and 8 mil rebate (the exceptions being IEX which charges 10 mils to takers and rebates 4
                                                 mils to makers, NYSE Chicago which charges both sides 10 mils, and LTSE which does not charge fees). For trading in securities priced less
                                                 than $1.00, estimates of fees and rebates presume that all sub $1.00 fees from panel B of table 4 which are over 0.10% are reduced to 0.10%,
                                                 fees at or below 0.10% remain the same. Computations are made per exchange and then aggregated as shown above.


                                                    Table 14 presents analysis showing an                                 because, as previously explained, the                                 the exchange’s net capture. Lowering
                                                 estimated total reduction of                                             Commission expects that for                                           the access fee from 0.3% to 0.1% on
                                                 approximately $55 million per year in                                    transactions priced equal to or greater                               these transactions will represent a
                                                 net capture due to the reduction in the                                  than $1.00 the exchanges should be able                               decrease in net capture of 66% for many
                                                 access fee cap and how it might in turn                                  to maintain their current net                                         exchanges. This decrease may vary
                                                 affect the transaction revenues of each                                  capture.1433 For transactions priced                                  across exchanges. Some exchanges do
                                                 of the various exchange families. This                                   below $1.00 most exchanges currently                                  not charge any fees for trading in sub
                                                 estimated decline in transaction revenue                                 charge the maximum 0.3% but typically                                 $1.00 securities, while others charge a
                                                 comes exclusively from the reduction in                                  offer no rebates.1434 Because very few                                fee to both sides of a sub $1.00
                                                 the access fee cap for transactions in                                   exchanges offer rebates on stocks priced                              transactions. Additionally, the
                                                 securities below $1.00.1432 This is                                      below $1.00, the access fee represents                                exchanges differ in the fraction of sub

                                                    1428 This assumes that exchanges continue the                         widen, offsetting this reduction in the access fee.                   reasonable to assume that exchanges with a current
                                                 practice of funding rebates through access fees, that                    See supra section VII.B.3, infra section VII.D.2.c for                2 mil net capture would be able to continue to earn
                                                 trading volumes are unchanged relative to 2023,                          a discussion of these points.                                         a 2 mil net capture.
                                                 that the distribution of trading volume across                             1432 This $54 million estimate is lower than the                       1434 See supra table 4. Most exchanges do not
                                                 exchanges is unchanged, and that the distribution                        estimated $89 million per loss year provided in the                   offer rebates for stocks priced less than $1.00, or if
                                                 of trading volume priced below $1.00 and at or                           Proposing Release. The difference comes because                       they do the rebates are quite small.
                                                 above $1.00 remains unchanged.                                           the adopted access fee cap for transactions priced                       1435 See supra table 5.
                                                    1429 See table 6 for additional analysis on current
                                                                                                                          below $1.00 is higher than the proposal: 0.10%                           1436 The benchmark model in section VII.B.3
                                                 estimates of exchange net capture.                                       compared to 0.05% proposed. This reduces the loss
                                                    1430 Balancing out expected rebates paid on make-                     on transactions priced below $1.00. Additionally, as                  implies that a reduction in the access fee will cause
                                                 take, inverted, and flat fee venues, the Commission                      can be seen by comparing Panel B of table 5 in the                    the liquidity demand curve to shift, resulting in a
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                                                 estimates that liquidity demanders will pay $1.93                        Proposing Release and table 4 herein, multiple                        higher volume of trades at sub-dollar prices. See
                                                 billion per year less in access fees netted across all                   exchanges have lowered access fees for transactions                   also infra note 1462 and surrounding text for a case
                                                 venues under the Rule and liquidity providers will                       below $1.00 since the proposal making the Rule’s                      study on the effect of a rebate instituted by MEMX
                                                 receive $1.88 billion per year less in rebates netted                    difference from the baseline smaller.                                 for sub-dollar trades, which resulted in a higher
                                                 across all venues.                                                         1433 As discussed in section VII.C.2, the                           level of sub-dollar trades; if a reduction in the
                                                    1431 The ultimate effect of this change will not                      Commission estimates that most exchanges have a                       access fee has a similar effect on equilibrium
                                                 result in liquidity demanders saving the full $1.93                      net capture of approximately 2 mils on transactions                   trading as the institution of the rebate, then the
                                                 billion in transaction costs, because the effect of                      priced greater than $1.00. For reasons discussed in                   volume of sub-dollar trades will increase and the
                                                 reduced rebates will cause the quoted spread to                          this section the Commission believes that it is                       reduction in exchange revenue will be mitigated.



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                                                 $1.00 trading volume that they                                               access fee on exchanges’ net capture                                          trading at sub-dollar prices, table 14
                                                 handle.1435 Table 14 provides an annual                                      given realized volumes in 2023 for each                                       overestimates the reduction in exchange
                                                 estimate of the effect on exchange                                           exchange group. To the extent that the                                        transaction revenue.1436
                                                 transaction revenue of lowering the                                          reduction in the access fee causes more

                                                      TABLE 14—ESTIMATED EFFECT OF RULE ON 2023 EXCHANGE TRANSACTION REVENUE FOR STOCKS PRICES BELOW
                                                                                                  $1.00 a
                                                                                                                                                                                                                                    Transaction   Transaction
                                                                                                                                                                                                                                     revenues      revenues
                                                                                                                                                                                                                                        ($)           (%)

                                                 Nasdaq .....................................................................................................................................................................      ¥$18,593,052             ¥20
                                                 NYSE .......................................................................................................................................................................       ¥18,750,074             ¥19
                                                 Cboe ........................................................................................................................................................................      ¥12,375,769             ¥16
                                                 MEMX ......................................................................................................................................................................         ¥4,517,207             ¥21
                                                 IEX ...........................................................................................................................................................................              0               0
                                                 MIAX ........................................................................................................................................................................        ¥667,838               ¥7
                                                 LTSE ........................................................................................................................................................................                0               0

                                                        Total ..................................................................................................................................................................    ¥54,903,941
                                                    a The variable Transaction Revenue ($) provides an annualized estimate of the effect of the amendment to Rule 612 on exchange net cap-
                                                 ture. For all exchanges, other than LTSE which doesn’t charge an access fee and IEX which has an assumed net capture of 6 mils per share
                                                 traded above $1.00 (Panel A of table 4 shows that IEX charges a fee of 10 mils coupled with a rebate of 4 mils), the net capture on transaction
                                                 priced equal to, or greater than, $1.00 per share is expected to remain unaffected by the amendments at the assumed 2 mils per share. The 2
                                                 mils per share assumption is further discussed in section VII.C.2.c.Thus, the Commission does not expect any decrease in overall exchange
                                                 transaction revenue per share for shares priced above $1.00. For transaction volume below $1.00 per share estimates for the decline in trans-
                                                 action revenue is computed by assuming that under the amendments all exchanges currently charging more than 0.10% for transactions will
                                                 lower the transaction fee to 0.10%. Exchanges currently charging access fees less than or equal to 0.10% will continue to charge their current
                                                 rates. The list of current estimated exchange sub $1.00 pricing comes from panel B of table 4. Sub $1.00 dollar volume estimates for each ex-
                                                 change are from table 5. The estimated transaction revenue under the amendments is compared to the estimated transaction revenue in the cur-
                                                 rent environment that is estimated using the sub $1.00 transaction fees/rebates for each exchange presented in table 4 panel B and multiplying
                                                 these fees by volume estimates for each exchange from table 5. See section VIII.C.2 for tables 4 and 5. The difference is presented in the table
                                                 14 along with the precent change in transaction revenue from the baseline.


                                                    Lastly, transaction fees in stocks                                        those necessary to maintain operations                                        commenter stated that a uniform access
                                                 priced less than $1.00 serve to increase                                     of the exchange.’’ 1440 A commenter                                           fee cap of 10 mils would, ‘‘have the
                                                 the net cost of accessing liquidity as                                       pointed to significant reductions in                                          added benefit of aligning exchange fees
                                                 they do not tend to fund rebates to                                          spread and commissions since 2005,                                            with prevailing ATS fees, and creating
                                                 liquidity providers so there is no                                           which have resulted in the 30 mil access                                      a more equitable competitive landscape
                                                 incentive that could induce spreads to                                       fee cap representing a more significant                                       across trading venues.’’ 1443
                                                 narrow and on average offset the fee.1437                                    economic factor in trading.1441
                                                                                                                                                                                                               In contrast, one commenter stated that
                                                 Lower transaction costs for these                                               One commenter stated that a 10 mil
                                                 securities may improve liquidity for                                                                                                                       the Commission had not established
                                                                                                                              access fee cap would represent a ‘‘fair
                                                 stocks with prices less than $1.00.                                          pricing model based on the ‘cost plus                                         that the ‘‘proposed reduced fee caps do,
                                                 However, given the relatively low                                            reasonable return’ methodology’’ by                                           in fact, bear a reasonable relationship to
                                                 natural trading interest, the Commission                                     citing that ATSs charge 10 mil fees                                           the actual costs to an exchange of a
                                                 does not expect a significant                                                while employing similar technologies as                                       trade.’’ 1444 The same commenter stated
                                                 improvement in the trading                                                   exchanges.1442 On this latter point, a                                        that technological costs are not
                                                 environment for these securities.                                                                                                                          significant determinants of access fee
                                                    Given the low net capture rates, the                                         1440 See Healthy Markets Letter I at 22.                                   levels, but rather that the fees reflect the
                                                 Commission concludes that in most                                              1441 Citing its own previous comment letters one
                                                                                                                                                                                                            magnitude of risk associated with
                                                                                                                              commenter has stated since at least 2014 that a                               providing liquidity as well as the value
                                                 cases, access fees are typically used to                                     reduction in the access fee cap is warranted given
                                                 fund rebates and not used exclusively to                                     the reduction in trade commissions and narrowing                              to the market that having access to those
                                                 fund execution services. Multiple                                            of spreads relative to when the 30 mil access fee                             quotes provides.1445 The commenter
                                                 commenters stated that current access                                        cap was first established. See Citigroup Letter at 5.                         further stated that the current access fee
                                                                                                                                1442 See Verret Letter I at 5–7. One commenter
                                                 fees and fee caps are not reflective of the                                                                                                                cap is not ‘‘unreasonably high,’’
                                                                                                                              provided their own review of form ATS–N and
                                                 current actual costs of providing                                            specifically looked at minimum and maximum ATS                                because, among other things, ‘‘exchange
                                                 execution services.1438 One commenter                                        fees; the commenter reported that the maximum                                 platform costs to market participants
                                                 stated that the cost of processing and                                       ATS fee often exceeds 10 mils by a considerable                               have remained competitive over
                                                 matching trades has dropped with                                             margin, see Nasdaq Letter III at 3. The Commission
                                                                                                                              does not dispute that maximum ATS fees can
                                                 technological advances.1439 Another                                          exceed 10 mils, but the maximum ATS fee is not                                that seven such ATSs—representing 42% of all ATS
                                                 commenter stated that ‘‘the fees charged                                     an appropriate benchmark for exchange access fees                             volume—charge a maximum of 10 mils. The
                                                 by exchanges are often far in excess of                                      because the maximum ATS fee can be a function
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                                                                                                                                                                                                            commenter concluded that the standard rate in the
                                                                                                                              of particular services (e.g., block trades or special                         competitive ATS market is 10 mils, while rates
                                                                                                                              order types) or of subscriber characteristics (e.g.,                          substantially above 10 mils are due to specialized
                                                    1437 See supra section VII.B.3 for additional
                                                                                                                              subscriber order flow might be segmented into                                 services not available on exchanges, see IEX Letter
                                                 discussion of how fee-funded rebates are largely off-                        specific categories), while an exchange’s access fee
                                                 set by changes in the quoted spread to keep net-                                                                                                           VI at 5; the Commission agrees.
                                                                                                                              schedule applies to all members. Another                                         1443 See BlackRock Letter at 11.
                                                 costs the same.                                                              commenter presented analysis on the subset of
                                                    1438 See, e.g., Vanguard Letter at 6, Verret Letter                                                                                                        1444 Nasdaq Letter I at 22.
                                                                                                                              ATSs that primarily operate a ‘‘continuous book’’
                                                 I at 7, and Retirement Coalition Letter at 1.                                market and are therefore most closely comparable                                 1445 See Nasdaq Letter I at 21; Nasdaq Letter II at
                                                    1439 See Better Markets Letter I at 15.                                   to exchanges. The commenter’s analysis indicates                              4.



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                                                 time.’’ 1446 As the quantitative net                     in the access fee cap is not expected to                alternative naming the ability to pay
                                                 capture analysis shows, the access fee                   affect the cost of taking liquidity.                    rebates as the primary reason for the
                                                 cap in the adopted amendments will                          Additionally, reducing the access fee                higher access fee cap; 1452 other
                                                 still permit typical exchange net                        cap for stocks priced less than $1.00                   commenters specifically were in favor of
                                                 captures. Thus, for stocks priced greater                from 0.3% to 0.1% of the quote price                    a ban on rebates.1453 One of these
                                                 than $1.00, lowering the access fee cap                  will also ensure that the cost of                       commenters stated that banning rebates
                                                 is not expected to affect the contribution               accessing liquidity is similar for stocks               (by requiring exchanges to revert to a
                                                 to revenue and thus to the platform. The                 with one quote below $1.00 and another                  pricing model where both sides of a
                                                 following section discusses the effects of               quote equal to or greater than $1.00.                   transaction were charged a fee) would
                                                 a reduction of fees and therefore rebates                Consider a stock with a best bid quote                  fix the problems associated with access
                                                 on the provision of liquidity.                           at $0.99 and a best ask quote at $1.00.                 fees and rebates, but stated that a second
                                                                                                          Under the amendments, the maximum                       best solution would be to impose a
                                                 c. Effects on Liquidity and Transaction                  fee to access the bid quote is 9.9 mils                 uniform access fee on all exchanges.1454
                                                 Costs                                                    and is roughly equal to the 10 mils
                                                                                                                                                                     Commenters in favor of the 15 mils/
                                                    The main implications for liquidity                   maximum fee to access the ask quote.
                                                                                                                                                                  30 mils alternative expressed the
                                                 from reducing the access fee caps follow                 Had the Commission lowered the access
                                                                                                                                                                  concern that a 10 mils access fee cap
                                                 the basic principles laid out in sections                fee cap for stocks priced $1.00 or more
                                                                                                                                                                  would reduce the flexibility to offer
                                                 VII.B.3, as well as the empirical results                but left it unchanged at 0.3% for quotes
                                                                                                                                                                  rebates. The commenters assert that
                                                 in section VII.C.2. Most exchanges                       priced less than $1.00, the cost of
                                                                                                                                                                  rebates are necessary to compensate
                                                 charge close to the preexisting access fee               accessing the sub-$1.00 quote would be
                                                                                                                                                                  liquidity providers to post displayed (or
                                                 cap due, in part, to the disincentive to                 relatively more expensive than the cost
                                                                                                                                                                  ‘‘lit’’) quotes on exchanges.1455
                                                 unilaterally reduce fees and rebates. For                of accessing the $1.00 or more quote.
                                                                                                                                                                  According to the commenters’ logic, a
                                                 the same reasons that exchanges charge                   Here, had the fee cap for quotes priced
                                                                                                          at or higher than $1.00 been reduced to                 lower access fee cap translates into a
                                                 close to the preexisting access fee cap,                                                                         lower rebate, which translates into
                                                 the Commission believes that lowering                    10 mils but the fee cap for sub-$1.00
                                                                                                          trades remained at 0.3%, the maximum                    fewer lit quotes. These commenters also
                                                 the access fee cap will lead exchanges                                                                           state that those quotes that are posted
                                                 to charge similarly close to the new cap.                allowable fee to access the $0.99 quote
                                                                                                          would be 29.7 mils, roughly 3 times                     are likely to be wider.1456 Wider and
                                                 Some exchanges that are currently                                                                                fewer posted quotes, according to these
                                                 charging less than the amended access                    greater than that of accessing the ask
                                                                                                          price. Having a large differential                      commenters, signify lower market
                                                 fee cap may continue to do so.                                                                                   quality.
                                                 Exchanges will most likely not alter                     between access fees on opposite sides of
                                                                                                          an order book would inhibit the ability                    The Commission agrees that lowering
                                                 their net capture rates, implying that
                                                                                                          of markets to reach prices most                         the access fee cap is also likely to lower
                                                 much of the access fee will continue to
                                                                                                          reflective of the underlying value.1449                 rebates because trading venues use
                                                 fund rebates in stocks priced above
                                                                                                             Commenters on the proposed access                    access fees to fund rebates.1457 The
                                                 $1.00. For reasons discussed further
                                                                                                          fee cap reduction focused on access fees                Commission also agrees that quoted
                                                 below, the reduction in the access fee
                                                                                                          for stocks priced above $1.00.1450                      spreads (spreads that do not reflect
                                                 cap is likely to leave the cost of
                                                                                                          Several commenters argued for an                        rebates or access fees) on lit exchanges
                                                 accessing liquidity unaffected for some
                                                                                                          alternative in which stocks with a half-                are likely to be wider because liquidity
                                                 stocks, and to reduce the cost of
                                                                                                          penny tick would have an access fee of                  providers would be expected to widen
                                                 accessing liquidity for others.
                                                                                                          15 mils, whereas stocks with a penny                    spreads to compensate for the lower
                                                    For stocks priced less than $1.00, the                tick would have an access fee of 30 mils                rebates 1458—though the fact that the
                                                 reduction in the access fee cap is also                  (hereafter ‘‘15 mils/30 mils                            tick size amendments will lower
                                                 likely to reduce the cost of accessing                   alternative’’).1451 As discussed in                     spreads means that the two amendments
                                                 liquidity. Unlike for stocks priced $1.00                sections VII.B.3 and VII.C.2, there is a                combined may in fact lead to lower
                                                 or more, for stocks priced less than                     strong economic tie between the level of                quoted spreads on some stocks.
                                                 $1.00 most exchanges charge an access                    the access fee cap and the ability to pay
                                                 fee without providing a rebate.1447 Since                rebates. The discussion among                             1452 See, e.g., Nasdaq Letter I at 2.
                                                 there is no rebate, which would serve to                 commenters focused on the effect on                        1453 See We The Investors Letter I at 3–4
                                                 narrow spreads and offset the cost of the                rebates, with some commenters who                       (recommending banning rebates); see also Harris
                                                 access fee, the access fee only serves to                favored of the 15 mils/30 mils                          Letter at 4 (recommending reverting to traditional
                                                 increase the cost of taking liquidity in                                                                         fees, thereby effectively eliminating rebates).
                                                                                                                                                                     1454 See Harris Letter at 4.
                                                 these stocks. Therefore, a reduction in                     1449 Reducing the access fee cap for trades priced
                                                                                                                                                                     1455 See, e.g., Nasdaq Letter I at 21, Nasdaq Letter
                                                 the access fee from 0.3% to 0.1% for                     at $1.00 per share or greater to 10 mils without a
                                                                                                                                                                  II at 5–7, Interactive Brokers Group Letter at 5, Virtu
                                                 stocks priced less than $1.00 will lower                 similar reduction in the fee cap for those priced
                                                                                                          below $1.00 could distort markets by introducing        Letter II at 10, Citadel Letter I at 24, WFE Letter at
                                                 the cost to take liquidity. Some                         an incentive for market participants to exploit         4, CCMR Letter at 27, and State Street Letter at 4.
                                                 exchanges offer rebates in transactions                  differences in fees and rebates for stocks near the
                                                                                                                                                                     1456 See id. Some commenters specifically

                                                 in stocks priced less than $1.00.1448 In                 $1.00 threshold. If the maker rebates available         identified the NBBO as a matter of concern (Nasdaq
                                                                                                          under the 0.3% fee cap for sub $1.00 stocks are         Letter IV at 7; Goldman Letter at 8; Nasdaq Letter
                                                 these instances, under the assumption                    greater than those for quotes priced at or greater      I at 22, Virtu Letter II at 10.). The NBBO reflects
                                                 that these exchanges will uniformly                      than $1.00 then market participants, then market        lit quotes at a specific size and thus the arguments
                                                 reduce their fees and rebates to maintain                makers may be incentivized to push prices below         regarding the NBBO (with an exception described
                                                 the same net capture rate, the reduction                 $1.00 as they could capture higher rebates by           in more detail below) are the same as those for lit
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                                                                                                          posting at bid and ask at $0.98 and $0.99               liquidity more generally.
                                                                                                          respectively as opposed to quoting at $1.00 and            1457 See supra section VII.C.2 discussing why
                                                   1446 Nasdaq Letter II at 2 and 5.
                                                                                                          $1.01.                                                  trading venues fund rebates with access fees and
                                                   1447 See supra table 4.                                   1450 An exception is Cboe Letter IV and Letter II,   why rebates are not funded by other revenue
                                                    1448 For example, the Cboe EDGX and MEMX              discussed further at the end of this subsection.        sources.
                                                 exchanges offer rebates for sub-$1.00 stocks. See           1451 See, e.g., NYSE, Schwab, and Citadel Letter        1458 See section VII.B.3 discussing how spreads

                                                 supra table 4 and surrounding discussion noting          at 2, Nasdaq Letter I at 2, MMI Letter at 7,            are expected to widen in response to a reduction
                                                 that only a few exchanges offer rebates in               Robinhood Letter at 5, and MEMX Letter at 23–24.        in fee-funded maker rebates so to keep the net cost
                                                 transactions for stocks priced $1.00 or less.            See also Nasdaq Letter IV and NYSE Letter I.            of liquidity constant.



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                                                    The Commission, however, disagrees                   rebate, when introduced, was initially                    model presented in figure 1. The model
                                                 with the commenters’ statements that                    set to 0.3% of the dollar value of the                    presented in figure 1 predicts that a
                                                 lower rebates from lower access fees                    trade,1463 and was reduced to 0.05%                       rebate will cause the liquidity supply
                                                 will lower market quality and increase                  several days later. The commenter                         curve to shift by the amount of the
                                                 transaction costs. The Commission                       presents empirical results indicating                     rebate—liquidity suppliers are willing
                                                 draws on the economic principles                        that the effective spread fell from                       to offer liquidity at a lower price on
                                                 articulated in section VII.B.3.1459 Figure              approximately 0.4% to 0.25% of dollar                     account of the rebate. In contrast to
                                                 1 shows how the quoted spreads                          value after the introduction of the                       panel B of figure 1, however, the
                                                 respond to an equal increase of an                      rebate,1464 and almost completely                         commenter’s example does not include
                                                 access fee and rebate of 30 mils                        reversed back to 0.4% days later when                     an increase in the access fee to fund the
                                                 assuming a stock is not tick-constrained.               the rebate was reduced to 0.05%.1465 In                   rebate; therefore, the commenter’s
                                                 The change contemplated here is a shift                 short, a rebate of 0.3% of dollar value
                                                                                                                                                                   example can be modelled by recreating
                                                 of 20 mils because that is the difference               led to a reduction in effective spreads of
                                                                                                                                                                   panel B without the shift in the demand
                                                 between the baseline fee cap of 30 mils                 0.15% of dollar value. The commenter’s
                                                                                                                                                                   curve—i.e., the introduction of the
                                                 and the amended fee cap of 10 mils.                     empirical result is consistent with the
                                                 When the fees and rebates change                                                                                  rebate will cause the equilibrium
                                                 together, supply and demand intersect                   significant, as the data below suggests. It shows that    outcome to shift from the point where
                                                 at the same quantity point (thus                        in early December 2020, when MIAX and MEMX                the dotted lines intersect to the point
                                                 liquidity offered would be unchanged)                   first introduced rebates for sub-dollar stocks,           where the solid supply curve intersects
                                                                                                         spreads for such stocks fell dramatically, but when
                                                 but at a different price point, leading to              MIAX and MEMX then slashed rebates soon
                                                                                                                                                                   with the dotted demand curve. The
                                                 a wider quoted spread. The net spread                   thereafter, spreads reverted to their prior levels.’’).   model therefore has multiple empirical
                                                 (the net cost of trading), which takes                     1463 That is, the rebate for sub-dollar trades was     predictions for the commenter’s
                                                 into account the fees and rebates, would                initially set equal to the access fee cap for sub-        example: when the rebate is introduced,
                                                                                                         dollar trades.
                                                 be unchanged.1460 Thus, the                                1464 See Nasdaq Letter II at 6. The effective spread
                                                                                                                                                                   without a similar increase in access fees,
                                                 Commission disagrees with commenters                    is calculated as the signed difference between the        the model predicts that spreads will fall
                                                 who argue on the basis of quoted spread                 execution price of a trade and the prevailing             and the equilibrium amount of liquidity
                                                 that the 10 mils access fee will lead to                midpoint (i.e., the execution price minus the             transacted will rise; when the rebate is
                                                                                                         midpoint for buy orders and the midpoint minus
                                                 increased trading costs and lower                       the execution price for sell orders); the commenter       rolled back, the model predicts that
                                                 liquidity.                                              then divides this by the midpoint price to arrive at      spreads will rise and the equilibrium
                                                    Crucially, the reasoning above applies               the effective spread as a percentage of the price         amount of liquidity transacted will fall.
                                                 only to a stock with an economic spread                 (mirroring the fact that the rebate is paid as a
                                                                                                         percentage of the execution price). The effective
                                                                                                                                                                   The model’s predictions on spreads are
                                                 of greater than the tick.1461 When the                  spread differs from the quoted half-spread because        borne out by the commenter’s data—
                                                 economic spread is less than a tick,                    a trade may receive price improvement—that is, the        spreads fell 0.15% when the rebate of
                                                 rebates funded by fees result in a pricing              trade may execute at a better price than the best         0.3% was in place, and spreads reverted
                                                 distortion, as section VII.B.3.b explains.              quote, so that the effective spread is lower than the
                                                                                                         quoted half-spread—or a large trade may execute           when the rebate was rolled back.1466
                                                 The price at which liquidity providers                  against multiple levels of the order book. Both the       The model’s prediction on the quantity
                                                 would be willing to offer liquidity is                  effective spread and the quoted spread are measures       of liquidity transacted are also borne out
                                                 less than one tick in the presence of the               of liquidity, but the quoted half-spread measures
                                                                                                                                                                   by Commission analysis—when the
                                                 rebate. However, the tick forms a                       the prospective cost of trading immediately at the
                                                                                                         best available prices while the effective spread          0.3% rebate was in place, the dollar-
                                                 binding price floor, leading to an                      measures the ex-post cost of trading immediately          volume of sub-dollar trades increased by
                                                 oversupply of liquidity. Specifically, the              (accounting for hidden orders and other sources of        a factor of three.1467 In sum, the
                                                 set price of liquidity results in economic              price improvement not known ex-ante, as well as
                                                                                                         order size). Additionally, because the effective          introduction of a rebate for sub-dollar
                                                 rents that accrue to some at the expense
                                                 of others, in this case to those able to get            spread measures the ex-post cost of trading               trades on MEMX and MIAX resulted in
                                                                                                         immediately, it can only be calculated in the             a market reaction that is directionally
                                                 to the front of the queue the fastest. For              presence of a trade. Therefore, the effective spread
                                                 these stocks, lowering the access fee                   is typically calculated by taking a weighted average
                                                                                                                                                                   consistent with the Commission’s
                                                 will better equate supply and demand                    of the effective spread across transactions—the           economic model presented in section
                                                 and lower transaction costs for investors               commenter, for example, weighted the effective            VII.B.3.a and figure 1. The large and
                                                                                                         spread by the notional amount of each transaction.        abrupt tripling of trading volume is also
                                                 broadly.                                                The quoted spread can be averaged over time—as
                                                    One commenter discussed the                          with the TWAQS—because it is an ex-ante measure.
                                                 introduction of a rebate for sub-dollar                    1465 The commenter’s results can be exhibited             1466 The fact that spreads fell by less than the

                                                 trades on MEMX and MIAX.1462 The                        with a numerical example. Suppose in the absence          amount of the rebate indicates that rebates do not
                                                                                                         of rebates a stock trades with a best offer of $0.52      generally lower trading costs beyond the cost of
                                                                                                         and a best bid of $0.48, yielding a midpoint of           funding the rebate; this is contrary to one
                                                   1459 The discussion in that section regarding
                                                                                                         $0.50. A liquidity supplier at the offer would            commenter’s statement that, ‘‘any cost savings non-
                                                 neutrality of fees and rebates does not depend on       therefore receive proceeds of $0.52 when their offer      retail investor participants realize from a reduction
                                                 the access fee charged per share being equal to the     is executed against. The effective spread in the          in the access fee cap are likely to be more than
                                                 rebate, but rather on fees and rebates being reduced    commenter’s example would be calculated as the            consumed by the rising frictional costs . . .
                                                 or increased by the same amount. As the                 distance between the execution price and the              associated with wider spreads.’’ See Cboe Letter IV
                                                 Commission does not expect the net capture rate to      midpoint, divided by the midpoint: ($0.52 ¥               at 5, and further discussion surrounding infra note
                                                 change, the neutrality result applies.                  $0.50)/$0.50 = 4%. Now suppose that a rebate of           1492.
                                                   1460 As explained in section VII.B.3, any change                                                                   1467 In the week of Nov. 23, 2020, there was daily
                                                                                                         0.3% is offered by the exchange. In the commenter’s
                                                 in access fees or rebates may be passed from brokers    analysis, this reduces the effective spread by 0.15%      trade volume at sub-dollar execution prices of
                                                 to customers either directly or indirectly, such as     to 3.85% (from 4%). This implies that the offer           approximately $330 million; the figure was $383
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                                                 through changes in commissions or changes in the        price would shrink from $0.52 to approximately            million in the week of Dec. 7. The intervening
                                                 broker’s services.                                      $0.51925 (keeping the midpoint constant at $0.50          week—the week of MEMX’s 0.3% rebate for sub-
                                                   1461 See section VII.B.1 for the definition of the
                                                                                                         and using the fact that the effective spread must         dollar executions—saw $1,025 million in daily
                                                 economic spread.                                        equal the difference in the ask and the midpoint,         trade volume at sub-dollar prices. The calculations
                                                   1462 See Nasdaq Letter II at 5–6 (stating ‘‘spreads   divided by the midpoint so that 3.85% = ($0.51925         are constructed using all normal trades that execute
                                                 would widen if access fees were to become               ¥ $0.50)/$0.50). The liquidity provider would             during normal trading hours from TAQ. Following
                                                 inadequate to fund rebates to market makers and         therefore earn $0.51925 plus the rebate of 0.30% for      the methodology in Nasdaq Letter II at 6, the
                                                 other participants that provide displayed liquidity     a total proceed of $0.5208 ($0.51925 + 0.003 *            calculations for the week of Nov. 30 exclude Nov.
                                                 to the markets. This widening would likely be           $0.51925).                                                30 and Dec. 4.



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                                                 consistent with concerns that rebates                      off-exchange, liquidity providers could                 expected to lose volume due to the
                                                 cause excessive intermediation.1468                        widen the difference between on- and                    reduction in the access fee cap through
                                                    Some comments address the question                      off-exchange quotes, leaving the                        this mechanism.
                                                 of incentives for trading on exchanges.                    underlying economic tradeoff the same.                     One commenter stated that volatility
                                                 These commenters state that, as a result                      The above analysis shows that the                    may increase due to the wider quoted
                                                 of the Commission’s adoption of 10 mils                    same opportunities that are available                   spread when the access fee reduction
                                                 versus 15 mils/30 mils alternative, the                    on-exchange in today’s environment are                  causes a reduction in rebates.1474 The
                                                 volume on lit exchanges will                               still expected to be available with the                 Commission acknowledges that wider
                                                 decline.1469 Other commenters                              adoption of these amendments, even                      spreads definitionally imply a greater
                                                 disagreed, stating that lower access fees                  under the lower access fee cap (indeed,                 difference between the bid and the ask.
                                                 could lead volume on exchanges to                          these opportunities are expected to                     However, spreads that better reflect the
                                                 increase.1470 However, the above                           improve due to the amendments to Rule                   true underlying cost of liquidity are
                                                 analysis indicates that liquidity                          612). However, commenters state that                    more efficient than spreads that mask
                                                 providers would not be deterred from                       the off-exchange environment may                        this cost.
                                                 quoting on exchange because they could                     change due to the amendments.1471                          One commenter stated that a
                                                 widen the quote, thereby receiving the                     These commenters raise concern                          reduction in rebates will lead to more
                                                 same economic profit as they received                      regarding the amount of liquidity that is               off-exchange trading, which in turn will
                                                 with the rebate. Liquidity demanders                       displayed versus non-displayed. One                     cause the NBBO to widen, and result in
                                                 would not be worse off because the                         commenter stated that wider quoted                      worse execution for off-exchange
                                                 reduction in access fee would offset, or,                  spreads on exchange increase the range                  trading, because of the way some off-
                                                 in the case of stocks with an economic                     of prices at which trades execute off-                  exchange trading uses the NBBO as ‘‘a
                                                 spread of less than a tick, more than                      exchange.1472 Because Rule 611                          reference price for benchmark pricing
                                                 offset, the increase in spread.                            generally requires that off-exchange                    and other risk functions.’’ 1475 First, the
                                                    Commenters specifically stated that                     trades execute within the NBBO, as on-                  Commission describes above why the
                                                 posted quotes on exchange face the risk                    exchange spreads widen, a liquidity                     adopted amendments will not result in
                                                 of adverse selection. They state that a                    provider, now facing a wider NBBO,                      a large amount of trading moving off-
                                                 premium is necessary to compete with                       would be able to offer a wider spread                   exchange. Furthermore, while the
                                                 the off-exchange market, and that the                      off-exchange than that liquidity                        Commission does expect the quoted
                                                 rebate provides that premium. As other                     provider could do now. The commenter                    spread, and therefore the NBBO, to
                                                 commenters state, this does not take                       appears concerned that this ability to                  widen, we disagree that this will result
                                                 into account the access fee, which (all                    offer a wider spread off-exchange than                  in worsening off-exchange executions.
                                                 else equal) discourages liquidity takers                   previously will attract liquidity to off-               This commenter provided two examples
                                                 from accessing exchanges. Moreover, a                      exchange, and more specifically, non-                   of situations in which off-exchange
                                                 premium can come in the form of the                        displayed venues.                                       executions might worsen. The first is an
                                                 spread as opposed to a rebate. While the                      However, while liquidity providers                   ATS that provides execution
                                                 order protection rule requires that                        would have the ability to offer wider                   mechanisms based on the NBBO.1476 As
                                                 trading centers enforce policies and                       spreads off-exchange than prior to the                  explained in section VII.B.3.a, the
                                                 procedures that are reasonably designed                    amendments, they would not                              reduction in access fees and
                                                 to prevent trades from being executed at                   necessarily have the incentive to do so.                corresponding reduction in rebates will
                                                 a price worse than the protected quote,                    For while wider spreads would mean                      not change the net spread on exchange.
                                                 nothing prevents off-exchange non-                         greater profits for the liquidity provider,             This means the cost of liquidity will not
                                                 displayed liquidity being at a better                      that is only the case if their orders are               materially change. There is no reason
                                                 price for the liquidity taker and worse                    filled. As stated by a commenter, off-                  why ATSs that base execution prices off
                                                 price for the maker, and indeed that                       exchange liquidity would still need to                  the NBBO cannot alter their pricing
                                                 happens under the current fee/rebate                       compete with on-exchange liquidity,                     formulas to preserve the same execution
                                                 structure. Rather than moving liquidity                    and that on-exchange liquidity is now                   prices (e.g., by executing inside the
                                                                                                            less expensive to access due to a lower                 NBBO by a pre-determined amount).
                                                    1468 See supra note 1005, and see also the
                                                                                                            access fee cap.1473 If the spread off-                  Indeed, a typical example of such
                                                 Proposing Release, supra note 11, at 80292.                exchange were to widen, non-displayed
                                                    1469 See, e.g., Cboe Letter II at 8–9, Cboe Letter IV                                                           matching mechanisms are mechanisms
                                                 at 3–5, Nasdaq Letter I at 22–23, Nasdaq Letter II
                                                                                                            off-exchange quotes would be unlikely                   that match buy and sell orders at the
                                                 at 4, Nasdaq Letter IV at 9, and Nasdaq Letter V at        to attract liquidity takers. Therefore,                 midpoint, and this will not be impacted
                                                 2, predicting that a reduction in rebates will             there is not an incentive for liquidity                 at all by a wider NBBO. The second
                                                 increase segmentation and may make ATSs and                providers to migrate off-exchange due to
                                                 single-dealer platforms more attractive. See also                                                                  example provided by the commenter
                                                 infra note 1761 and surrounding text.                      wider spreads on exchange. To                           was the case of retail wholesalers. The
                                                    1470 See Better Markets Letter I at 15 stating that     summarize, spreads may widen on-                        commenter states that these wholesalers
                                                 ‘‘A reduction in access fees will impose lower costs       exchange increasing pricing flexibility
                                                 on investors, removing a disincentive for trading on       off-exchange, even so exchanges are not                   1474 See Goldman Sachs Letter at 8.
                                                 exchanges.’’ Healthy Markets Letter I at 22, stating
                                                                                                                                                                       1475 See Cboe Letter IV at 5: ‘‘. . . the NBBO is
                                                 ‘‘Brokers’ avoidance of these [access] fees is a
                                                                                                              1471 See supra note 1479 and surrounding
                                                 significant contributor for brokers often choosing to                                                              utilized by many market participants as a reference
                                                 internalize or first route to ATSs or OTC market           discussion.                                             price for benchmark pricing and other risk
                                                                                                               1472 See Cboe Letter III at 5: ‘‘Wider spreads are   functions. In addition, if on-exchange liquidity
                                                 makers, rather than to exchanges’’, IEX Letter I at
                                                 26 (stating ‘‘A substantial reduction in the access        likely to most benefit wholesale broker-dealers, that   moves to off-exchange venues such as alternative
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                                                 fees will be impactful for those investors and is          may be able to offer more levels of price               trading systems, these trading centers commonly
                                                 likely to increase their willingness to trade on           improvement, but at the expense of increased            use the NBBO as a reference price for executing
                                                 exchanges. . . . The result can be an increase in          frictional costs for investors.’’                       transactions, which will make transactions in off-
                                                 the use of displayed exchange trading and an                  1473 See IEX Letter IV at 23: ‘‘The fact that        exchange venues more expensive as well. Wider
                                                 improvement in the price discovery function of the         exchanges use rebates to draw orders from other         spreads are likely to most benefit wholesale broker-
                                                 market, with broad benefits extending beyond               exchanges says nothing about the ability of             dealers, that may be able to offer more levels of
                                                 trading on exchanges themselves’’), See also IEX           exchanges to attract more orders that now go to off-    price improvement, but at the expense of increased
                                                 Letter IV at 18–19, BMO Letter at 3, and Themis            exchange venues by using lower access fees and          frictional costs for investors.’’
                                                 Letter at 7–8.                                             offering better execution quality.’’                       1476 See Cboe Letter IV at 5.




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                                                 ‘‘may be able to offer more levels of                   This assumption is important because                    orders at similar price levels under the
                                                 price improvement,’’ but this will come                 economically what matters is not the                    amendments as they are today.
                                                 at the expense of increased costs of                    distance of the trade price from the                       Put another way, economically there
                                                 trading from wider spreads.1477 The                     NBBO, but rather the distance of the                    is no reason to assume that relaxing a
                                                 Commission again disagrees with this                    trade price from the midpoint—the                       non-binding constraint, in this case
                                                 assertion. Because the cost of liquidity                effective spread. The effective spread                  widening the quoted NBBO, would have
                                                 will be largely unchanged, the price                    covers the costs associated with                        an effect on existing equilibrium
                                                 improvement 1478 acknowledged by the                    providing liquidity as well as provides                 behavior. The NBBO does not constitute
                                                 commenter will be capable of offsetting                 the liquidity provider’s profits.                       a binding constraint for wholesale
                                                 the change in quoted spread.                            Assuming a constant EQ ratio in the                     execution of many retail trades.
                                                    One commenter stated that                            commenter’s analysis implies that                          In cases where the NBBO does
                                                 eliminating the access fee would cost                   wholesalers internalize retail orders at                constitute a binding constraint, there are
                                                 retail investors as much as $678 million                prices that are farther from the                        two important missing pieces from the
                                                 per year.1479 The commenter arrives at                  midpoint, and thus the wholesaler will                  commenter’s analysis. The first is that,
                                                 this estimate by using the BJZZ                         earn more money without providing any                   for on-exchange execution, the
                                                 algorithm to identify retail trades from                additional benefit to retail traders or                 wholesaler will pay a lower access fee.
                                                 TAQ data,1480 and computes the                          their broker-dealers.1483 Wholesalers are               Assuming (as the commenter’s analysis
                                                 effective/quoted ratio (EQ ratio) for each              subject to competitive forces that apply                implicitly does) that the wholesaler
                                                 trade.1481 The effective to quoted spread               at the level of average execution quality,              does not pass on these lower fees at
                                                 ratio computed as follows                               and it is unlikely that market forces                   least in part to some investors assumes
                                                                                                         would allow such excess profits to                      a lack of competitive dynamics in the
                                                   EQratio = IExecutionPrice-NBBOmidpointl
                                                                          NBBO Half Spread
                                                                                                         wholesalers for no additional benefit to                retail execution market. Second, the
                                                                                                         persist.1484 It also seems unlikely that                commenter’s methodology fails to take
                                                 They assume that spreads will widen for
                                                                                                         the EQ ratio would change mechanically                  into account the expected reduction in
                                                 all trades by 60 mils in the absence of
                                                                                                         with the NBBO because if the NBBO                       quoted spreads for some stocks due to
                                                 rebates. They then apply the observed
                                                                                                         itself were the primary determinate of                  the reduction in the tick size. In cases
                                                 EQ ratio to the hypothetical 60 mil
                                                                                                         the price level at which retail trades                  where the NBBO constitutes a binding
                                                 wider spreads in the absence of rebates
                                                                                                         were internalized, and wholesalers were                 constraint on wholesaler price
                                                 to compute hypothetical transaction
                                                                                                         free to choose any price level within the               improvement, then wholesalers will
                                                 costs for retail investors under a world
                                                                                                         NBBO, then wholesalers would                            offer better execution on these stocks.
                                                 without rebates.
                                                    The Commission disagrees with the                    routinely internalize orders at or near                 Moreover, there are cases in which
                                                 commenter’s assertion that retail traders               the NBBO implying an EQ ratio for                       current wholesale execution may fall
                                                 will receive worse execution due to the                 retail trades of near 1. This is not the                between the spread under the new tick
                                                 reduced access fee cap. As this section                 case. Wholesalers currently internalize                 size, and the previous spread. In these
                                                 describes, quoted spreads for stocks                    retail orders at prices that are                        cases, the new tick size creates a new
                                                 trading with more than one tick intra-                  significantly inside of the NBBO (i.e.,                 binding constraint, leading to better
                                                 spread are expected to widen on average                 EQ ratios significantly less than 1)                    execution for retail investors. So, if
                                                 by about 40 mils. However, the                          suggesting that other factors besides the               anything, the combined effect of the
                                                 commenter’s analysis relies on the                      NBBO itself, such as distance from the                  amendments could improve retail
                                                 assumption that the EQ ratio for retail                 midpoint, determine the transaction                     execution quality on average.
                                                 order executions will remain                            price of retail orders that are                            Additionally, as a general matter,
                                                 constant.1482 The commenter provided                    internalized by wholesalers.1485 These                  some commenters stated that the lower
                                                 no evidence to support this assumption.                 price levels will still be feasible for                 access fee on exchanges will make
                                                                                                         wholesalers under the amendments, and                   exchanges a more attractive place to
                                                   1477 See Cboe Letter IV at 5.                         so even with a wider NBBO,                              access liquidity.1486 The Commission
                                                    1478 Retail wholesalers frequently offer ‘‘price     wholesalers are likely to transact retail               believes that the cost of accessing
                                                 improvement’’ on orders they receive, where they                                                                liquidity will decline for those stocks
                                                 execute the order on a principal basis at a price          1483 The effective spread is defined as the signed
                                                 better than the NBBO.
                                                                                                                                                                 which continue to trade with a one tick
                                                                                                         difference between an order’s execution price and
                                                    1479 See Nasdaq Letter II at 6.                      the midpoint of the quoted spread; the larger the       wide spread; the Commission, however,
                                                    1480 ‘‘BJZZ’’ refers to the algorithm designed by    difference the less competitive the executed price      disagrees that the cost of accessing
                                                 Boehmer Ekkehart, Charles M. Jones, Xiaoyan             is relative to the midpoint. Because the EQ ratio is    liquidity will change on average for
                                                 Zhang, and Xinran Zhang. See Boehmer Ekkehart,          equal to the effective spread divided by the quoted
                                                                                                         spread, the effective spread would have to increase
                                                                                                                                                                 other stocks.1487
                                                 et al., Tracking Retail Investor Activity, 76 J. Fin,
                                                 2249 (2021).                                            at the same scale by which the quoted spread               Some commenters stated concerns
                                                    1481 The EQ ratio measures how close to the          widens in order to keep the ratio constant.             that less liquid stocks may be more
                                                 NBBO or NBBO midpoint a trade executes at. A               1484 So long as there is some degree of              susceptible to any negative effects on
                                                 trade executing at the midpoint would have an EQ        competition, this argument would hold. A market         liquidity from a reduction in rebates.1488
                                                 ratio of 0, while a trade that executes at the NBBO     that is more competitive may have retail effective
                                                 would have an EQ ratio of 1.                            spreads that would be lower, but in either case a
                                                                                                                                                                    1486 See Healthy Market Letter at 23, BlackRock
                                                    1482 The commenter’s methodology is also flawed      change in the NBBO, with no other changes to
                                                 because the BJZZ algorithm they employ to identify      wholesaler costs or competition would not be            Letter at 11, BMO Letter at 3, and Themis Letter at
                                                 retail trades has been shown in recent research as      expected to change wholesaler profits.                  7–8.
                                                                                                                                                                    1487 For stocks which do not trade with a one tick
                                                 not being a very accurate measure of retail trading        1485 See Citadel Letter I at 33 showing EQ ratios
                                                                                                                                                                 wide spread the cost of accessing liquidity for any
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                                                 volume, See Brad M. Barber, Xing Huang, Philippe        ranging from .27 for small retail orders to .88 for
                                                 Jorion, Terrance Odean, & Christopher Schwarz,          very large orders, CCMR Letter at 35 showing            one instance may be higher or lower with a reduced
                                                 A(sub)penny For Your Thoughts: Tracking Retail          average EQ ratios around .5 for the top three           fee cap, however on average the cost of accessing
                                                 Investor Activity in TAQ (working paper, Aug. 14,       wholesalers and Charles Schwab, U.S. Equity             liquidity is not expected to change for those stocks.
                                                 2023), available at https://ssrn.com/                   Market Structure: Order Routing Practices,              See supra section VII.B.3.b for additional
                                                 abstract=4202874 (retrieved from SSRN Elsevier          Considerations, and Opportunities. (2022)               discussion.
                                                 database. If the algorithm does not reliably identify   (‘‘Schwab 2022 Whitepaper’’) at 9, 16, available at        1488 See Nasdaq Letter II at 5–7: ‘‘This peril is

                                                 retail trades then it is unclear what can actually be   https://content.schwab.com/web/retail/public/           particularly acute for thinly-traded securities.’’ and
                                                 learned about retail trading volume from the            about-schwab/Schwab-2022-order-routing-                 Virtu at 10: ‘‘The reduced incentives for liquidity
                                                                                                                                                                                                                          ER08OC24.004</GPH>




                                                 exercise.                                               whitepaper.pdf (showing its EQ ratio of .33).                                                        Continued




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                                                 Other commenters suggested that a                          is not a meaningful constraint.1493 In                  reduction.1498 However, many stocks
                                                 higher fee cap should be adopted for                       those stocks that trade with a quoted                   will continue to qualify. While the
                                                 illiquid stocks.1489 However, adopting a                   spread equal to the tick size, the                      Commission acknowledges that
                                                 separate fee cap for illiquid stocks                       Commission expects that the reduction                   postponing amendments to Rule 612
                                                 would introduce more complexity into                       in access fees will reduce the net cost                 would allow for time to study the access
                                                 the market. The Commission’s response                      of accessing liquidity.1494 Therefore,                  fee cap in isolation, there is no
                                                 is the same as the broader concern                         non-retail investors would likely see a                 mechanism by which a reduction in the
                                                 regarding posted liquidity: spreads may                    reduction in overall frictional costs.                  access fee cap, on its own, would yield
                                                 widen but the cost of accessing and                        Finally, one commenter stated that                      the full benefits of the proposed
                                                 providing liquidity will on average not                    reducing the access fee cap for stocks                  amendments to Rule 612.
                                                 change.                                                    priced less than $1.00 would impact an                    The Commission acknowledges that
                                                    One commenter stated a reduction in                     exchange’s ability to differentiate itself,             changing the access fee cap at the same
                                                 rebates would lead to the exit of                          and the estimated decrease in                           time that the changes to Rule 612 are
                                                 liquidity providers, harming                               transactions revenue from these stocks                  implemented will cause some stocks
                                                 competition,1490 a lower access fee cap                    would limit its investments in                          assigned to a narrower tick size to
                                                 is expected to reduce the fees which are                   innovation and technologies.1495 The                    immediately trade with a quoted spread
                                                 used to fund rebates and consequently                      impact on an exchange’s ability to offer                too wide to qualify for continued
                                                 rebates are expected to also see a                         different fees and rebates for stocks                   assignment to the $0.005 tick size
                                                 reduction. The Commission                                  priced less than $1.00 is not likely to be              bucket. However, a delay in
                                                 acknowledges that profits of liquidity                     large as there is not a substantial degree              implementing changes to Rule 612
                                                 providers may fall because for stocks                      of differentiation across exchanges                     would delay the accrual of the other
                                                 that remain tick-constrained, the access                   currently.1496 Most exchanges charge                    benefits the Commission has identified
                                                 fee represents a transfer from liquidity                   fees near or at the fee cap to liquidity                for these changes.
                                                 demanders to liquidity providers.                          takers, and only two exchanges offer
                                                                                                            rebates to liquidity takers. This is                    d. Other Effects of the Access Fee Cap
                                                 However, a net decrease in competition                                                                             Reduction
                                                 could serve to widen the spread beyond                     unlikely to change following a decrease
                                                 a single tick and increase the proceeds                    in the fee cap. The Commission                             The Commission anticipates
                                                 of liquidity provision thus incentivizing                  acknowledges a loss in revenue due to                   additional benefits inherent to adopting
                                                 liquidity provision. While the                             the reduction in rebates for stocks                     a lower access fee cap for all securities.
                                                 Commission anticipates and is sensitive                    priced below $1.00. It is possible that                    Access fees that fund rebates
                                                 to costs to some affected parties, the                     this could impact exchange investment                   contribute to complexity in markets
                                                 Commission expects investors, more                         in new technologies. However, as                        because they separate both the true cost
                                                 broadly to benefit.1491                                    discussed above in this section, the                    of demanding liquidity and the
                                                                                                            amendments to Rule 612 are anticipated                  proceeds from supplying liquidity, as
                                                    Another commenter stated that
                                                                                                            to lead to more volume on exchange,                     represented by the quoted half-spread.
                                                 lowering the access fee cap would result
                                                                                                            and hence more trading revenue to                       Commenters stated that lowering the
                                                 in a ‘‘liquidity gap’’; that ‘‘it is unlikely
                                                                                                            exchanges, offsetting this effect.                      access fee cap to 10 mils would reduce
                                                 that the liquidity gap would be met by
                                                                                                            Moreover, as discussed earlier in this                  complexity; one commenter stated in
                                                 other market participants;’’ and that ‘‘as
                                                                                                            subsection, it is necessary to conform                  the context of supporting a significant
                                                 spreads further widen, any cost savings
                                                                                                            rebates for stocks priced below $1.00                   reduction in exchange access fees, that
                                                 non-retail investor participants realize
                                                                                                            with those for stocks priced above                      current pricing models ‘‘contribute to
                                                 from a reduction in the access fee cap
                                                                                                            $1.00.                                                  market complexity by encouraging
                                                 are likely to be more than consumed by                        One commenter suggested                              rebate arbitrage strategies and the
                                                 the rising frictional costs.’’ 1492 The                    implementing the amendments to                          proliferation of new order types and
                                                 Commission disagrees that lowering the                     reduce the access fee caps before the                   trading venues designed to exploit
                                                 access fee cap would result in a                           minimum pricing increments to isolate                   different transaction pricing
                                                 liquidity gap that market participants                     the impact of the access fee cap on its                 models.’’ 1499 Similarly, a second
                                                 would not be able to fill, because if                      own.1497 The Commission has                             commenter supported a 10 mil fee cap
                                                 quoted spreads widen beyond any                            separately considered the impact of the                 and stated that maker-taker models,
                                                 reduction in maker rebates, liquidity                      amendments to Rule 612 with the new                     ‘‘introduce unnecessary market
                                                 providers would stand to earn higher                       access fee in place; specifically, the                  complexity through proliferation of new
                                                 proceeds by supplying at the wider                         change in the access fee will cause                     exchange order types (and new
                                                 spread. The Commission believes that                       quoted spreads to widen, which may                      exchanges) designed solely to take
                                                 competition among liquidity providers                      cause some stocks that currently would                  advantage of pricing models.’’ 1500 The
                                                 will keep the cost of accessing liquidity                  qualify for a reduction in their tick size              same commenter stated that maker-taker
                                                 from rising on average in securities                       under the adopted amendments to Rule                    pricing may drive orders off exchanges
                                                 where the minimum quoting increment                        612 to no longer qualify for such a                     to avoid access fees, and ‘‘benefit
                                                                                                                                                                    sophisticated market participants, like
                                                 in thinly traded securities is especially concerning         1493 See section VII.B.3.
                                                 given how much liquidity improvements actually               1494 Id.
                                                                                                                                                                    market makers and proprietary traders,
                                                 reduce an issuer’s cost of capital and impact their           1495 See Cboe Letter II at 9; see also Cboe Letter
                                                                                                                                                                    at the expense of other market
                                                 ability to attract investors.’’ See also Virtu Letter II   IV at 1.                                                participants.’’ 1501
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                                                 at 10, Tastytrade Letter at 2.                                1496 See supra table 4 and surrounding                  One manifestation of this complexity
                                                    1489 See Citigroup Letter at 6, TRP Letter at 4–5.
                                                                                                            discussion.                                             is the potential conflict of interest
                                                    1490 See Virtu Letter II at 19, Cboe Letter III at 3–

                                                 4.
                                                                                                               1497 See State Street Letter at 5, stating: ‘‘We
                                                                                                                                                                    between broker-dealers and their
                                                                                                            recommend . . . [i]mplementing any changes to
                                                    1491 Some Commenters agree. See, e.g., Verret
                                                                                                            access fee caps before changing quoting increments,      1498 See supra table 7, note a.
                                                 Letter I at 9, Retirement Coalition Letter at 2,           to isolate and evaluate the effects. This includes
                                                                                                                                                                     1499 See Vanguard Letter at 6.
                                                 Themis Letter at 7, ASA Letter at 4.                       examining whether reducing the access fee cap may
                                                    1492 See Cboe Letter IV at 3, 5; see also Cboe Letter                                                            1500 See BMO Letter at 3.
                                                                                                            affect a security’s designation as ‘tick-
                                                 III, at 6.                                                 constrained.’ ’’                                         1501 See id.




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                                                 customers.1502 Multiple commenters                       3. Exchange Fees and Rebates                                  Multiple commenters pointed out the
                                                 stated that a benefit of a lower access fee              Determinable at the Time of Execution                      potential for exchanges’ pricing models
                                                 cap is that it would mitigate such                                                                                  to create a conflict of interest for broker-
                                                 potential conflicts of interests.1503 Other                 In the current environment, as                          dealers who route multiple customers’
                                                 commenters disagreed.1504 Some                           discussed in section VII.C.2, market                       orders to the exchanges.1514 One
                                                 commenters state that due to the                         participants often have to make trading                    commenter stated that the benefits of
                                                 complexity, opacity, and potential                       decisions without the ability to                           pricing determinable at time of
                                                 conflicts inherent in the rebate                         determine the exchange fees and rebates                    execution include ‘‘help[ing] broker-
                                                 structure, the Commission should go                      they incur at the time of execution, and                   dealers make better order routing
                                                 further than in the current adopted                      a market participant’s total cost of                       decisions,’’ and reducing order routing
                                                 amendments and ban rebates                               trading can vary by a significant amount                   incentives based ‘‘on achieving a
                                                 altogether.1505 The Commission agrees                    for orders with the same quoted                            threshold to gain a specific fee or
                                                 that lowering the access fee cap reduces                 execution price once exchange fees and                     rebate.’’ 1515 Another commenter also
                                                 complexity and may help alleviate                        rebates are accounted for. Current                         stated that exchanges have little
                                                 potential conflicts of interest.                         exchange fees and rebates are often                        incentive to make fees and rebates
                                                                                                          based on the participant’s relative                        determinable at the time of trade
                                                    Finally, the reduction in the access
                                                                                                          contribution to the exchange’s monthly                     because the fee and rebate structure
                                                 fee cap will improve market quality for
                                                                                                          trading volume during the                                  creates ‘‘captive customers’’ that direct
                                                 stocks that remain tick-constrained.
                                                                                                          contemporaneous month, and market                          order flow to a given exchange in hopes
                                                 While the amendments to Rule 612
                                                                                                          participants need to grapple with the                      of receiving a given fee or rebate tier in
                                                 create a smaller tick size for stocks with
                                                                                                          uncertainty of forecasting future market                   a given month.1516 One commenter
                                                 narrow spreads, spreads naturally vary
                                                                                                          outcomes should they wish to know                          agreed that fees determinable at time of
                                                 over time and this variation introduces
                                                                                                          what their trading costs are at the time                   execution has ‘‘the potential’’ to
                                                 the possibility that some stocks could be
                                                                                                          that they execute a trade.1509 Requiring                   facilitate pass-through of fees and
                                                 misassigned to a tick size because
                                                                                                          fees and rebates to be determinable at                     rebates to broker-dealers’ customers,
                                                 trading in the operative period differs
                                                                                                          the time of execution will result in the                   and thereby alleviate concerns about
                                                 from the evaluation period due to
                                                                                                          benefits of increased transparency as to                   ‘‘perceived’’ conflicts-of-interest, but
                                                 factors exogenous to the tick change.1506
                                                                                                          what fees and rebates broker-dealer                        characterized such concerns about
                                                 Panel A of table 10 shows that
                                                                                                          members are committed to pay when                          conflicts-of-interest as ‘‘misplaced.’’ 1517
                                                 approximately 13.7% of aggregate share
                                                                                                          they trade, reducing potential conflicts                      As discussed in the Proposing
                                                 volume will be a false negative under
                                                                                                          of interest, and potentially improving                     Release, access fees create potential
                                                 the amendments 1507—that is, this
                                                                                                          broker-dealer routing decisions. These                     conflicts of interest between brokers and
                                                 volume will be assigned a penny tick,
                                                                                                          amendments will also result in costs to                    end customers to the extent that brokers
                                                 but will trade at a TWAQS below $0.015
                                                                                                          exchanges associated with revising                         can route orders to exchanges with
                                                 and therefore trade with a tick-
                                                                                                          existing fee schedules to bring them into                  worse execution quality for end
                                                 constrained spread a majority of the
                                                                                                          compliance with the adopted                                customers but more advantageous fees
                                                 time. Moreover, some stocks may
                                                                                                          amendments.                                                (i.e., a low fee or a high rebate) for the
                                                 remain tick-constrained, even at the
                                                                                                             The Commission received comments                        brokers, which the brokers do not pass
                                                 new half-penny tick. Reducing the
                                                                                                          from a broad range of commenters who                       on to end customers.1518 For example, a
                                                 access fee cap would lower the cost of                                                                              broker may route a customer’s limit
                                                 accessing liquidity because fee-funded                   expressed support for Proposed Rule
                                                                                                          610(d) because it would provide                            order to an exchange with a high rebate
                                                 rebates serve as a pure tax on liquidity                                                                            for liquidity provision, but a relatively
                                                 demanders whenever the spread is tick-                   enhanced transparency surrounding
                                                                                                          transaction fees and rebates and                           low fill rate. The end result would be a
                                                 constrained (creating a wealth transfer                                                                             high rebate payment for the broker but
                                                 from liquidity demanders to liquidity                    alleviate concerns related to potential
                                                                                                          conflicts of interest.1510 For example,                    potentially poor execution quality for
                                                 providers); the reduction in the access                                                                             the customer.
                                                 fee cap will also reduce the excess                      one commenter stated that it agreed
                                                                                                          with the Commission’s analysis of the                         One commenter stated that the
                                                 supply of liquidity at this price                                                                                   supposition that rebates present
                                                 floor.1508                                               benefits of making fees and rebates
                                                                                                          determinable at time of execution.1511                        1514 See Vanguard Letter at 6 (‘‘These pricing
                                                   1502 See supra note 1518 and surrounding text          Another commenter stated that it agreed                    models can create conflicts of interest with a
                                                 discussing the potential conflicts of interests that     with the Commission’s assessment                           broker’s obligation to obtain best execution for a
                                                 exchange fees and rebates may introduce.                 ‘‘. . . of how existing exchange pricing                   customer . . .’’); STA Letter at 7 (‘‘Today, the
                                                   1503 See infra note 1514.
                                                                                                          tier models can negatively impact                          primary concerns on access fees are how they
                                                   1504 See, e.g., Nasdaq Letter I at 2.                                                                             contribute to the maker/taker or taker/maker pricing
                                                   1505 See Harris Letter at 4–5, and We The
                                                                                                          market participants behavior.’’ 1512 A                     models offered by exchanges and the offshoots of
                                                 Investors Letter I at 7, arguing that the Commission     third commenter stated that the Rule                       conflicts of interests in the routing of customer
                                                 should go further and ban the use of rebates.            will ‘‘help to make overall trading costs                  order flow by broker dealers.’’); Retirement
                                                   1506 See section VII.D.1.d for discussion and          more transparent.’’ 1513                                   Coalition Letter at 2 ‘‘the use of rebates creates
                                                 analysis of the tradeoffs inherent in tick assignment.                                                              conflicts of interest, because when an institutional
                                                   1507 This number corresponds to an evaluation                                                                     order is sent as a displayed order, the potential for
                                                                                                          stocks may occasionally trade with a spread equal          a rebate may influence where a broker sends the
                                                 period of three months and an operative period of
                                                                                                          to the tick size.                                          order, even when the investor could receive a better
                                                 six months, which are the parameters of the rule            1509 See also Proposing Release, supra note 11, at
                                                 text. See section VII.D.1.d.                                                                                        execution on another market.’’); CII Letter at 3
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                                                   1508 As discussed above (e.g., supra section           80292 for a discussion of the complexity of fee            (‘‘The existing system disadvantages institutional
                                                                                                          schedules and the difficulty in forecasting fees for       investors because we believe rebates create the
                                                 VII.B.2), a binding price floor on liquidity results
                                                                                                          a contemporaneous period.                                  kinds of conflicts of interest identified in our
                                                 in more liquidity supply than demand. Maker-taker           1510 See section IV.E for a discussion of the           policy.’’).
                                                 pricing exacerbates this problem by taxing demand
                                                 and subsidizing supply at the price floor. By            comment file.                                                 1515 BMO Letter at 4.
                                                                                                             1511 See Council of Institutional Investors Letter at      1516 See BMO Letter at 4.
                                                 reducing the access fee, the excess supply is
                                                 lessened. The lower cost of accessing liquidity can      4.                                                            1517 See Nasdaq Letter I at 32.
                                                                                                             1512 See BMO Letter at 4.
                                                 also extend to stocks which trade with a TWAQS                                                                         1518 See Proposing Release, supra note 11, at

                                                 greater than $0.015 to the extent to which these            1513 See Retirement Coalition Letter at 2.              80330.



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                                                 conflicts of interest is not supported                   With fees and rebates known at the time                    incentives to ask for such information,
                                                 with evidence.1519 There are, however,                   of execution, it could be possible for a                   as well as increasing the ability of the
                                                 significant reasons to believe that                      broker-dealer to more quickly and easily                   broker-dealer to transmit the
                                                 rebates present a conflict of interest to                determine the amount to be passed back                     information in a timely manner.
                                                 agency brokers, even if there is                         to the customer. To the extent the                            One commenter stated that, ‘‘[f]ew
                                                 uncertainty regarding to what degree                     amendments increase the proportion of                      brokers route directly to the exchanges
                                                 those potential conflicts of interest are                exchange fees and rebates that broker-                     . . . Rather, most brokers pay to route
                                                 being acted upon. Namely, as described                   dealers pass through to end                                their orders through larger ‘[direct
                                                 above, the quality of the execution                      customers,1525 this will benefit investors                 market access] DMA’ brokers to gain the
                                                 accrues to the customer while the rebate                 and also will reduce the potential                         benefit of the large brokers’ exchange fee
                                                 accrues to the broker, which leads to a                  benefits broker-dealers may receive from                   tiers. While the Proposal would simplify
                                                 clear divergence of interests whenever                   routing customer orders to exchanges                       life for those few large DMA brokers and
                                                 the best rebate and the highest quality                  with lower fees or higher rebates and                      proprietary trading firms who closely
                                                 execution opportunities differ.                          thereby reduce distortions in customer                     track where they fall on exchange fee
                                                    Having fees and rebates determinable                  order execution quality that this may                      schedules, it wouldn’t directly help the
                                                 at the time of execution will mitigate                   cause.                                                     referenced Market Participants.’’ 1529
                                                 these potential conflicts of interest by                    A commenter agreed with the                             The same commenter stated that most
                                                 increasing broker-dealer accountability                  Commission’s assessment in the                             Market Participants, ‘‘judging by
                                                 to their customers.1520 This is because                  Proposing Release that the ability of                      common practice today,’’ would be
                                                 the broker-dealer will be able to identify               institutional investors and other market                   unable to account for fees, and the
                                                 which fees and rebates are associated                    participants to evaluate order execution                   requirements would not improve
                                                 with which customer order, which at                      and routing is significantly impeded by                    transparency for off-exchange trading
                                                 present is not possible at the time of                   a lack of determinability.1526 A lack of                   where venues ‘‘are not required to
                                                 execution.1521 Having information about                  determinability reduces the amount of                      charge standard fees, and where fees are
                                                 the fees and rebates paid as the order is                information that a market participant                      often held as competitively sensitive
                                                 filled will also improve a customer’s                    can use when evaluating order                              secrets.’’ 1530 The Commission agrees
                                                 ability to negotiate routing behavior and                execution and routing decisions.                           that under common practice today it can
                                                 monitor the effects that fees and rebates                Without the fees and rebates being                         be difficult for most Market Participants
                                                 have on its broker’s order routing                       determinable, broker-dealers may have                      to account for fees that are not
                                                 decisions and execution quality.1522                     difficulty transmitting information                        determinable or known at the time of
                                                    In addition, fees and rebates being                   about fees and rebates to customers—the                    execution. That said, having exchange
                                                 determinable at the time of execution                    broker-dealer could not commit to a fee                    fees and rebates determinable at the
                                                 can make it easier for broker-dealers to                 or rebate at execution, but would rather                   time of execution will make it more
                                                 pass the actual fees and rebates on to the               need to explain that uncertainty                           likely that larger DMA brokers pass
                                                 end customer.1523 Currently, it can be                   regarding fees and rebates could not be                    exchange fees and rebates on to their
                                                 difficult for a broker-dealer to pass on                 resolved until the end of the month—                       customers, including when these
                                                 fees and rebates to individual customers                 which may impede competition among                         customers are small brokers routing
                                                 because the exchange fee and rebate                      broker-dealers.1527 In contrast, under                     their orders through them. That is
                                                 pricing tier into which a broker-dealer                  the adopted amendments, it will be                         because customers can better discuss
                                                 falls, which ultimately determines fees                  possible for broker-dealers to relay such                  fees and rebates with large DMA
                                                 and rebates on an individual trade, is                   information about fees and rebates                         brokers, and the information will be
                                                 typically based on the broker-dealer’s                   incurred by the broker-dealer to the                       more useful to customers because it is
                                                 relative activity across the concurrent                  customer at the time of execution.1528                     more timely. Also, while the
                                                 month and not an individual trade.1524                   This will make the information more                        requirements only apply to exchange
                                                                                                          usable for customers such as                               fees and rebates, exchange and off-
                                                   1519 See Nasdaq Letter I at 2.
                                                                                                          institutional investors, increasing their                  exchange trading venues compete, and
                                                    1520 See Proposing Release, supra note 11, at
                                                                                                                                                                     transparency in exchange fees and
                                                 80330.
                                                    1521 See supra note 1092 and surrounding
                                                                                                          at time of execution do not depend on, or result           rebates could prompt demand for
                                                                                                          from, the fee schedules using volume tiers. The            greater transparency in off-exchange
                                                 discussion on information that customers can             amendments do not ban volume tiers; exchanges
                                                 request from broker-dealers on net transaction fees      can continue to offer volume tiers as long as the tier     trading fees.1531
                                                 and rebates through Rule 606(b)(3).                      is based on past—rather than future—volume.                   One commenter stated that rebate
                                                    1522 One commenter agreed with the
                                                                                                          Likewise, the benefits of determinability apply even       tiers increase aggregate liquidity, and
                                                 Commission’s statement in the Proposing Release          if volume tiers did not exist. For example, some
                                                 that fees being determinable only at the end of the      exchanges offer incentives to market makers for
                                                                                                                                                                     that fee and rebate determinability will,
                                                 month, as they are currently, impedes investors’         frequent quoting at the NBBO—the amendments                ‘‘disrupt existing economic incentives,’’
                                                 ability to evaluate best execution and order routing.    require that such incentives be based on past              and, ‘‘negatively impact exchange
                                                 Council of Institutional Investors Letter at 4. The      quoting at the NBBO so that market participants            liquidity provision and drive even more
                                                 Commission believes that making fees determinable        could determine with certainty their fee at the time
                                                 at time of execution will help investors make these      of execution.                                              liquidity to off-exchange venues.’’ 1532
                                                 evaluations, which can contribute to these                  1525 See supra note 1087 and surrounding                Another commenter stated that this rule
                                                 discussions of fees with their broker-dealers.           discussion on the current practice of broker-dealers       ‘‘disrupts existing economic incentives
                                                    1523 The Proposing Release discussed how the          passing fees and rebates through to customers.             without justification,’’ 1533 and added
                                                 inability to know the fee or rebate at the time of a        1526 See Council of Institutional Investors Letter at

                                                 trade could render it difficult for a broker-dealer to   4–5.
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                                                                                                                                                                       1529 See Pragma Letter at 8.
                                                 pass on fees and rebates to customers to help avoid         1527 See Proposing Release, supra note 11, at
                                                                                                                                                                        1530 See id. at 8 (‘‘Even if fees are determinable,
                                                 a potential conflict of interest. See Proposing          80336. Currently, customers’ lack of timely
                                                 Release, supra note 11, at 80329. See also Council       information and certainty about the fees and rebates       it will provide little practical transparency for most
                                                 of Institutional Investors Letter at 4–5.                they incur on the execution of a trade can impact          Market Participants.’’).
                                                                                                                                                                        1531 See infra section VII.E.2 for additional
                                                    1524 See supra note 1084 and surrounding              their choice of a broker-dealer for that trade.
                                                 discussion on the current practice of volume-based          1528 For example, under the adopted                     discussion of the competitive effects of these
                                                 fee tiers. While the Commission has described the        amendments, it might be possible to include such           amendments.
                                                                                                                                                                        1532 See Cboe Letter II at 9–10.
                                                 tiered structure of many exchange fee schedules,         information in a report to the investor following the
                                                 the benefits of fees and rebates being determinable      execution of their order.                                     1533 See Cboe Letter I at 9.




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                                                 that they ‘‘believe there is more                        using a current or past quantity that can            system, forecast volume fees (indeed it
                                                 aggregate liquidity in the marketplace                   be known with certainty. This means                  eliminates the need for forecasting), or
                                                 because of the incentives provided by                    that the uncertain portion of current fees           to confirm that fees are being calculated
                                                 exchange rebate tiers.’’ On the other                    is not strictly necessary to provide                 appropriately. Thus the Commission
                                                 hand, another commenter stated that                      incentives. In this respect, any costs and           does not expect this rule to
                                                 when pricing is not determined until                     benefits associated with volume-based                disadvantage smaller brokers, and, to
                                                 the end of the month, a ‘‘captive                        fee tiering are not expected to change as            the extent that forecasting future market
                                                 customer’’ is created, who ‘‘. . . must                  a consequence of requiring fees and                  outcomes is more difficult for small
                                                 maintain levels of qualified trading                     rebates to be determinable at the time of            brokers, this rule may make it easier for
                                                 activity or suffer an adverse economic                   execution. Therefore, the benefits of the            small brokers to compete.1541
                                                 consequence for up to an entire month’s                  requirements that exchange fees and                     Another commenter stated that
                                                 trading activity.’’ 1534                                 rebates be determinable at the time of               determinable fees ‘‘would also limit
                                                    The Commission disagrees that fee                     execution will likely not include                    exchanges’ ability to incent market
                                                 and rebate determinability are likely to                 alleviating such ‘‘captive’’ customers.              makers and other participants to quote
                                                 alter the economic effects related to fee                   One commenter stated that requiring               at the NBBO and to do so in a large
                                                 and rebate tiers. Many of the incentives                 fees to be knowable at the time of                   number of securities, including thinly-
                                                 created by current exchange pricing                      execution would make ‘‘participation in              traded securities.’’ 1542 The Commission
                                                 schedules can be implemented by                          exchanges’ growth programs more                      disagrees because exchanges can
                                                 creating tier-based pricing schedules                    expensive in the initial month of                    continue to offer incentives based on
                                                 that are conditioned on historic (as                     participation.’’ 1539 The Commission                 past quoting at the NBBO in a large
                                                 opposed to future) activity, and such                    acknowledges that a new broker-dealer                number of securities, including thinly-
                                                 pricing would continue to be                             will not have a history of trading and               traded securities. Meaningful thresholds
                                                 permissible under the amended                            therefore a tier schedule based on                   for pricing based on NBBO quoting
                                                 rules.1535 For example, a fee schedule                   historical trading could not be                      activity can still be set based on historic
                                                 might base the current fee or rebate tier                implemented until the new broker-                    activity, so that incentives to quote at
                                                 on the share that the exchange member                    dealer has established a history;                    the NBBO are expected to persist.1543
                                                 had of the exchange’s total volume (or                   however, this history need not be long,                 Another commenter stated that, ‘‘in
                                                 total consolidated volume) in the                        and exchanges can cater to new and                   order to achieve th[e] stated regulatory
                                                 previous month.1536 The incentives for                   small broker-dealers by constructing tier            objective’’ of certainty as to an order’s
                                                 meeting a volume tier would remain but                   schedules based on a short history.                  net fee and rebate price, and helping
                                                 the benefits of achieving the tier would                    One commenter stated that:                        broker-dealers make better order routing
                                                 be realized in the following month.                      ‘‘[R]equiring market participants to                 decisions, ‘‘fees and rebates would have
                                                 Alternatively, a fee schedule might be                   calculate their activity from the prior              to be known prior to the time of
                                                 based on the current month’s absolute                    period in order to determine the volume              execution (instead of at the point of
                                                 volume on the exchange (as opposed to                    fee and adjust their financial plans                 execution, where the fee could vary
                                                 share of volume), up until the moment                    accordingly adds an unnecessary layer                based on the type of order being
                                                 of execution, which the exchange                         of complexity. The amount of effort                  accessed).’’ 1544 The Commission
                                                 member would presumably know.1537                        required to understand the volume fee                acknowledges that fees can vary based
                                                 Again, the incentive would be                            system, forecast volume fees for an                  on order type—for example, removing
                                                 approximately the same. In general, an                   upcoming period, and confirm that fees               hidden liquidity may incur a different
                                                 incentive that is based on some future                   are indeed being calculated                          fee than removing displayed liquidity,
                                                 quantity that cannot be known with                       appropriately will especially                        and the broker-dealer may not know
                                                 certainty today could likely be                          disadvantage smaller brokers, who                    whether the order will execute against
                                                 replicated by offering the certainty                     typically have less resources at their               hidden liquidity prior to the time of
                                                 equivalent,1538 which can be calculated                  disposal for needless work such as                   execution. In this case, there are two
                                                                                                          this.’’ 1540                                         sources of potential uncertainty if fees
                                                   1534 BMO Letter at 4.                                     The Commission disagrees that the                 are not determinable at execution: the
                                                    1535 Such pricing can have not just benefits, but     rule will add complexity. The rule                   broker-dealer’s ultimate position on the
                                                 also costs. Tier-based volume pricing, for example,      removes the need for exchange members
                                                 is used to incentivize the concentration of order                                                             exchange’s fee schedule, and the type of
                                                 flow—i.e., a member is incentivized to route orders
                                                                                                          to perform forecasts in order to                     liquidity that is accessed. Fee
                                                 to a particular exchange in order to qualify for a       determine what fee they might be
                                                                                                                                                               determinability allows broker-dealers to
                                                 better pricing tier. This in turn creates a potential    required to pay in a given moment. This
                                                 conflict of interest because the exchange member is                                                           know, prior to execution, what their fee
                                                                                                          is because, in order for a fee to be
                                                 incentivized to route customer order flow to the                                                              will be for each type of liquidity that
                                                                                                          known at the time of execution as the
                                                 exchange for the purposes of tier qualification                                                               might be accessed; the type of liquidity
                                                 rather than maximizing other aspects of execution        amendments require, the fee cannot be
                                                                                                                                                               that is accessed may not be known until
                                                 quality.                                                 based on activity that will happen after
                                                    1536 Volume discounts like this, which are based
                                                                                                          the execution. The Commission                           1541 See section VII.E.2.c for a discussion of the
                                                 on previous volume and then provide discounts on         acknowledges, however, that fee
                                                 future purchases, have parallels in other industries                                                          effect that fee determinability may have on
                                                 (e.g., loyalty reward programs). Relative to the         schedules may remain complex. The                    competition.
                                                 baseline, such a schedule would incentivize a            rule however does not require more                      1542 See Nasdaq Letter I at 33.

                                                 customer to stay with an exchange for an additional      from small brokers than is required                     1543 For example, one exchange offers additional

                                                 month. However, there are ways exchanges might           currently, namely it does not require                rebates to qualified market makers if, among other
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                                                 alleviate these concerns, such as a fee schedule that                                                         things, they quote at the NBBO at least 50% of the
                                                 would induce a switch from one exchange to               them to understand the fee volume                    time during the month in an average of at least
                                                 another.                                                                                                      2,700 symbols per day. See Nasdaq Stock Mkt. LLC,
                                                    1537 Exchanges could also create alternative          is, nonrandom) payment that must be given to an      Equity 7, Sec. 114, available at https://listingcenter.
                                                 incentive programs for new members provided              economic agent so that the agent would be            nasdaq.com/rulebook/nasdaq/rules/nasdaq-equity-
                                                 these programs are comply with the requirements          indifferent between this payment and some random     7-section_114_market_quality_incentive_programs.
                                                 of the Exchange Act.                                     payoff.                                              Similar terms can be offered based on historic
                                                    1538 A ‘‘certainty equivalent’’ is a term of art in      1539 See Nasdaq Letter I at 33.                   (rather than future) quoting.
                                                 economics, referring to the amount of a certain (that       1540 See Virtu Letter II at 11–12.                   1544 See Citadel Letter I at 25.




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                                                 the time of execution. Resolving one                    implementation of specific aspects of                    recipients of market data, and broker-
                                                 source of uncertainty prior to execution                MDI, namely the round lot definition                     dealers.1555 This commenter stated that
                                                 (the broker-dealer’s position on the                    and the inclusion of odd-lot quotations                  implementation is likely to take over a
                                                 exchange’s fee schedule) can help                       priced better than the NBBO in NMS                       year. Several other commenters stated
                                                 broker-dealers make better routing                      data. This acceleration will result in                   that implementation will take longer
                                                 decisions even if there remains                         realizing the economic effects of these                  than 90 days.1556 One commenter
                                                 uncertainty along other dimensions                      MDI Rules sooner. The Commission                         discussed changes required for the SIPs:
                                                 (e.g., the presence of hidden orders).                  acknowledges that the economic effects                   ‘‘The changes required for SIPs are
                                                                                                         of the acceleration will be temporary,                   relatively straightforward from a
                                                 4. Acceleration and Implementation of
                                                                                                         only lasting until the accelerated aspects               conceptual perspective but will require
                                                 the MDI Rules and Addition of
                                                                                                         of the MDI Rules would otherwise have                    significant undertakings before they can
                                                 Information About Best Odd-Lot Orders
                                                                                                         been implemented.1551 The                                be implemented.’’ This commenter then
                                                    The MDI Rules were designed to                       amendments will also impose a new
                                                 increase transparency into, among other                                                                          discussed the necessary steps,
                                                                                                         requirement on the exclusive SIPs to
                                                 things, the best priced quotations                                                                               including: notice and lead time that data
                                                                                                         disseminate the accelerated odd-lot
                                                 available in the market.1545 The MDI                    information until the exclusive SIPs are                 providers must give their clients;
                                                 Rules expanded NMS data and                             retired, the effect of which is to result                product decisions vendors need to
                                                 established a decentralized                             in the odd-lot information being                         make; development and testing for
                                                 consolidation model, pursuant to which                  disseminated sooner.1552 The                             exchanges, vendors, and subscribers;
                                                 competing consolidators will eventually                 amendments, however, present the                         traffic and capacity decisions given the
                                                 replace the exclusive SIPs for the                      possibility that the new requirements on                 change in message traffic; and
                                                 collection, consolidation, and                          the SIPs can reduce competing                            communication and education for end
                                                 dissemination of NMS data.1546 As                       consolidator competition if the                          users.1557 Another commenter
                                                 discussed in section V.A, the                           additional requirements dissuade some                    mentioned costs from converting round
                                                 Commission adopted a phased                             market participants from choosing to                     lots to actual share size in processing
                                                 transition plan for the MDI Rules,1547                  become competing consolidators, which                    and display systems.1558 The Operating
                                                 which has been delayed.1548 Because                     could reduce the expected benefits of                    Committee of the CTA–UTP Plans
                                                 the MDI Rules are not yet implemented,                  the MDI Rules.1553 The amendments                        commented on the need for system
                                                 information about odd-lot orders in                     will also require the dissemination of a                 design, equipment procurement, and
                                                 NMS stocks is only available on                         standardized best odd-lot order or                       industry testing.1559 This commenter
                                                 individual exchange proprietary data                    BOLO. The primary economic effect of                     referenced a 2022 Odd Lots Proposal by
                                                 feeds, and market participants                          this requirement will be to provide an                   the SIPs, which estimated a 10–12
                                                 interested in quotation information for                 additional standard benchmark that                       month time frame for providing only
                                                 individual odd-lot orders must purchase                 market participants could use to gauge                   top-of-book odd-lot quotations by the
                                                 these proprietary feeds.1549 Due to the                 execution quality—particularly for                       SIPs; given the additional requirements
                                                 delays in the MDI Rules’                                smaller or odd-lot orders.1554                           in the Proposal, the commenter
                                                 implementation, as discussed in the                       Commenters questioned the                              estimated that implementation would
                                                 Proposing Release,1550 the Commission                   sufficiency of the proposed 90-day
                                                 is adopting an accelerated                                                                                       take more than 12 months.
                                                                                                         implementation timeline for the
                                                 implementation schedule, with some                      acceleration of MDI Rules and the                           In light of these comments, the
                                                 modifications from the proposal, so that                addition of the BOLO to NMS data. One                    Commission is modifying the proposed
                                                 market participants, including investors,               commenter discussed the need for                         compliance date for the round lot and
                                                 will be provided with the enhanced                      downstream programming changes for a                     odd-lot information definitions to
                                                 transparency benefits earlier than                      variety of market participants: SIPs,                    extend the time for compliance. The
                                                 anticipated in the MDI Rules.                                                                                    Commission acknowledges that, all else
                                                    The amendments will result in four                      1551 See supra section V.E for further discussion     equal, a shorter implementation
                                                 changes to NMS data. Two of the                         on the MDI Rules Implementation.                         timeline may result in greater total costs
                                                                                                            1552 See infra section VII.E.2.c for additional
                                                 changes will accelerate the                                                                                      for the acceleration of the MDI Rules.
                                                                                                         discussion of this effect. While the Rule requires the
                                                                                                         exclusive SIPs to distribute odd-lot data, the MDI       Consistent with what commenters
                                                   1545 MDI Adopting Release, supra note 10, at
                                                                                                         Rules do not require the competing consolidators to      suggested was necessary for systems
                                                 18601–02, 18617; see also 17 CFR 242.600(b)(82).        disseminate odd-lot data. However, the MDI
                                                   1546 See MDI Adopting Release, supra note 10.
                                                                                                                                                                  changes and testing among a variety of
                                                                                                         Adopting Release anticipated that at least one
                                                   1547 See Proposing Release, supra note 11, at
                                                                                                         competing consolidator will do so because there
                                                                                                                                                                  market participants, the adopted
                                                 80295 (describing the phased transition plan for the    would be demand for the data. See supra section          amendments extend the proposed
                                                 MDI Rules).                                             VII.C.3.                                                 compliance date for round lot
                                                   1548 See supra notes 74–78 and accompanying              1553 See infra section VII.E.2.c for additional
                                                                                                                                                                  definitions to approximately 12 months
                                                 text.                                                   discussion of MDI acceleration and the potential
                                                   1549 See MDI Adopting Release, supra note 10, at      effect on competition between competing
                                                                                                                                                                  after the effective date of the
                                                 18599. SIP data includes odd-lot transaction            consolidators. Requiring the SIPs to disseminate         amendments; for odd-lot information,
                                                 information but does not include odd-lot quotation      odd-lot information may make the SIPs more likely        the compliance date is extended to
                                                 information, except to the extent that odd-lot orders   to become competing consolidators and give them
                                                 are aggregated into round lots pursuant to exchange     a first-mover advantage over other competing               1555 See NYSE Letter I at 7.
                                                 rules; see also MDI Proposing Release, supra note       consolidators. However, this advantage is likely to
                                                                                                                                                                     1556 See FISD Letter at 3, Cboe Letter II at 11, and
                                                 744, at 16739; MDI Adopting Release, supra note         be limited because competing consolidators can
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                                                 10, at 18727. SIP data includes odd-lot transaction     offer a lower latency than the SIPs currently            BlackRock Letter at 12.
                                                                                                                                                                     1557 See FISD Letter at 2–3.
                                                 information but does not include odd-lot quotation      provide, and can offer depth-of-book data in
                                                 information, except to the extent that odd-lot orders   addition to odd-lot information.                            1558 See Cboe Letter II at 11. The commenter did

                                                 are aggregated into round lots pursuant to exchange        1554 See infra section VII.D.6.a.ii for additional    not provide an estimate of these costs, only stating
                                                 rules; see also MDI Proposing Release, supra note       discussion on how the BOLO will make it easier for       that, ‘‘round lot conversion to actual share size will
                                                 744, at 16739; MDI Adopting Release, supra note         market centers and broker-dealers to compute             likely require considerable work by industry
                                                 10, at 18727.                                           statistics on price improvement relative to the best     participants to their processing and display
                                                   1550 See Proposing Release, supra note 11, at         available displayed price, now required by               systems.’’
                                                 80295.                                                  amended Rule 605.                                           1559 See CTA–UTP Letter at 1.




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                                                 approximately 18 months after the                       a. Round Lot Definition                                  exactly the round lot definition
                                                 effective date.1560                                        As discussed in the Proposing                         otherwise will be implemented, the
                                                    The 12-month implementation                          Release,1561 the round lot definition in                 degree of the effect of the acceleration
                                                 timeline for the round lot definition                   the MDI Rules will result in numerous                    is unknown.1568
                                                 aligns with the compliance date for the                 economic effects, and the amendments                        The Commission recognizes that the
                                                                                                         will result in realizing these effects                   earlier implementation of the round lot
                                                 amendments to Rule 612, allowing for
                                                                                                         sooner. The primary effects stem from                    definition could affect the tiered tick
                                                 the amended minimum pricing
                                                                                                         the MDI Rules round lot definition                       structure by sooner increasing the
                                                 increments and new round lots to begin                                                                           number of stocks subject to a minimum
                                                 concurrently. This concurrence is                       shrinking the NBBO for stocks priced
                                                                                                         greater than $250.1562 Other effects of                  pricing increment of less than $0.01, but
                                                 expected to reduce the potential for                                                                             the Commission does not expect this
                                                 operational risks and investor confusion                changing the round lot definition
                                                                                                         include increased transparency and                       effect to be substantial. Specifically, a
                                                 from changing systems separately for                                                                             mechanically tighter NBBO will reduce
                                                                                                         better order execution,1563 as well as
                                                 both the amendments to Rule 612 and                     any effects from potentially having more                 the time weighted average quoted
                                                 the acceleration of the MDI Rules, and                  orders routed to exchanges instead of                    spread used to determine the
                                                 reduces operational risks from a                        ATSs.1564 The costs of changing the                      appropriate tick increment for stocks
                                                 compressed timeline. Further, to the                    round lot definition derive from                         priced greater than $250. However,
                                                 extent that commenters specifically                     upgrading systems to account for                         higher-priced stocks also tend to have
                                                 discussed the timeline needed for the                   additional message traffic and                           higher spreads that are unlikely to
                                                 round lot definition implementation (as                 modifying and reprogramming                              narrow enough for the amendments to
                                                 opposed to the timeline needed for both                 systems.1565 The Commission also                         result in a smaller minimum pricing
                                                 the round lot and odd-lot information                   expects that changing the round lot                      increment.1569
                                                 definitions), no commenter stated that                  definition will impact the mechanics of                     As discussed in the Proposing
                                                 the round lot definition would require                  other rules and regulations.1566 These                   Release,1570 the Commission also
                                                 more than 12 months.                                    economic effects will be realized earlier                recognizes that both the reduction in
                                                                                                         than is currently estimated under the                    tick size and accelerating the definition
                                                    The longer 18-month implementation
                                                                                                         existing MDI timeline because this                       of round lot will reduce the depth of
                                                 timeline for the odd-lot information                                                                             liquidity at the NBBO. These effects
                                                                                                         portion of the MDI Rules is currently
                                                 definition is commensurate with the                                                                              might amplify each other in a small set
                                                                                                         not set to be implemented until the end
                                                 added complexity of disseminating new                   of the implementation timeline for the                   of stocks. A reduction in tick size will
                                                 data fields for odd-lot quotations at                   MDI Rules. Further, because the first                    spread liquidity across more price
                                                 multiple levels inside the NBBO.                        steps of the timeline for the MDI Rules                  levels, while the implementation of the
                                                 Additionally, the 18 month timeline is                  have not been accomplished,1567 and                      round lot definition will result in
                                                 broadly consistent with the 10–12                       the Commission is uncertain when                         displaying smaller quotes at the NBBO.
                                                 month timeline that the SIPs estimated                                                                           The amendments could result in this
                                                 to be necessary for the 2022 Odd Lots                      1561 See Proposing Release, supra note 11, at
                                                                                                                                                                  effect being amplified for stocks that
                                                 Proposal; the longer timeline for the                   80330.                                                   trade above $250 with spreads narrower
                                                                                                            1562 See MDI Adopting Release, supra note 10,
                                                 odd-lot information in these                                                                                     than $0.015 as these stocks will receive
                                                                                                         section V.C.1(b)(i), for the full discussion of the
                                                 amendments allows for the fact that                     effect of changing the round lot size on the NBBO.       both smaller tick and smaller round lot
                                                 odd-lot information in these                               1563 See MDI Adopting Release, supra note 10, at      sizes. The number of such affected
                                                 amendments includes quotations at                       18744–47 for the full discussion of the effect of        stocks is likely very small.1571 The
                                                                                                         changing the round lot size on transparency and          reduction in depth at the NBBO will
                                                 each price level inside the NBBO,                       execution quality. See FIA PTG Letter II at 4 for
                                                 whereas the 2022 Odd Lots Proposal                      agreement from a commenter.                              temporarily reduce the information
                                                 only included top-of-book odd-lot                          1564 See MDI Adopting Release, supra note 10, at      about liquidity available in the market
                                                 quotations. Further, the SIPs have been                 18747 for the full discussion of the effect of           for market participants who rely on
                                                                                                         changing the round lot size on exchange                  public data feeds. However, the
                                                 discussing the addition of odd-lot                      competition and order routing.
                                                 quotation information to the SIP data for                  1565 See MDI Adopting Release, supra note 10, at
                                                                                                                                                                     1568 See supra section V.B.1 for a discussion of
                                                 several years and should be able to                     18748 for the full discussion of the expected costs
                                                                                                         of changing the round lot size. See also infra section   the factors that affect when MDI will be
                                                 make the necessary adjustments to their                 VII.D.5 for an estimation and discussion of these        implemented and a discussion of an estimate of the
                                                 processors in the adopted timeline.                     compliance costs as they pertain to the proposed         proposed acceleration of at least two years after the
                                                                                                                                                                  Commission’s approval of the plan amendment(s)
                                                 Finally, no commenter stated that the                   acceleration.
                                                                                                                                                                  required by rule 614(e).
                                                                                                            1566 See MDI Adopting Release, supra note 10, at
                                                 odd-lot information definition would                                                                                1569 In the MDI Rules the Commission estimated
                                                                                                         18749 for the full discussion of the effect of
                                                 require more than 18 months to                          changing the round lot size on other rules and           an average reduction in quoted spreads, conditional
                                                 implement. The adopted timeline                         regulations. The round lot definition will               on the round lot definition resulting in a reduction
                                                                                                         mechanically tighten the NBBO, which is used as          of roughly 15% for stocks priced $250–$1,000 and
                                                 allows market participants more time                                                                             28% for stocks priced $1,000–$10,000. Given the
                                                                                                         a reference price for numerous rules. The reference
                                                 for each of the steps required for                      prices used for the Short Sale Circuit Breaker and       average quoted spread of $0.35 for stocks priced
                                                 implementation than was initially                       LULD Plan will be affected, though these Rules will      $250–1,000 and $2.90 for stocks priced $1,000–
                                                                                                         continue to function consistent with their stated        $10,000 the expected mechanical reductions are
                                                 proposed, which will address the                                                                                 likely not sufficient to reduce the spreads of many
                                                                                                         purposes. The NBBO is also used as a benchmark
                                                 concerns raised by commenters and                       for SRO rules such as RLPs, exchange market maker        of these stocks to the point where they would
                                                 help market participants to complete the                obligations, and for some order types; exchanges         qualify for a lower tick size in this proposal. See
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                                                 tasks in a cost-effective manner. The                   could propose rule changes to maintain the current       MDI Adopting Release, supra note 10, at 18743.
                                                                                                         operation of these rules. Finally, the round lot            1570 See generally, Proposing Release, supra note
                                                 compliance costs discussed in section                   definition could increase the benefits of 606(b)(3)      11.
                                                 VII.D.5.c reflect costs associated with                 reports because it could result in an increase in the       1571 See section V.B.3.b for analysis identifying

                                                 the adopted timeline.                                   number of indications of interest in higher priced       such stocks. In particular, see supra note 801
                                                                                                         stocks that will be required to be included in           identifying only two stocks—both highly liquid—
                                                                                                         606(b)(3) reports.                                       that would have qualified for both the tick
                                                                                                            1567 See supra notes 74–78 and accompanying           reduction and a reduction in the round lot as of
                                                   1560 See section VI.C.                                text section for a discussion of the delays.             Nov. 30, 2023.



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                                                 eventual inclusion of the depth of book                 of this sample has a percentage spread                  the amendments will make it
                                                 information in consolidated market data                 below 0.015%—i.e., the first percentile                 incrementally easier for traders to queue
                                                 under the MDI Rules, once                               of the sample’s percentage spread is 2.5                jump—i.e., penny—protected orders in
                                                 implemented, will render this effect                    times higher than the percentage spread                 affected stocks, but pennying will
                                                 temporary. At that point in time,                       of the stocks affected by both the new                  remain difficult due to the relatively
                                                 consolidated market data is expected to                 round lot categories and the smaller tick               high price of the affected stocks. That is,
                                                 contain depth information at more price                 size.1576 This implies that the affected                a trader would still need to commit a
                                                 points, which will largely counteract the               stocks are exceptionally liquid—they                    relatively high notional amount to jump
                                                 effects of a reduction in displayed depth               are well within the first (i.e., most                   the queue with a protected order.
                                                 from the implementation of the round                    liquid) percentile when liquidity is                    Finally, the concern with pennying is
                                                 lot definition and even from a reduction                measured using percentage spread. The                   that a market participant can jump the
                                                 in tick size.                                           exceptional liquidity of the affected                   queue by posting economically trivial
                                                    Multiple commenters further                          stocks will likely protect their NBBO                   price improvement; for the stocks
                                                 discussed the potential interaction of                  from material deterioration.                            affected by both the tick reduction and
                                                 the reduction in tick size and the MDI                     The Commission does acknowledge                      the round lot definition, however,
                                                 round lot definition. One commenter                     that the amendments will increase the                   posting a protected order that improves
                                                 stated that the resulting reduction in                  likelihood that a 100-share order will                  on the NBBO is likely to provide
                                                 depth at the NBBO would make the                        walk the book for stocks affected by                    meaningful price improvement. To
                                                 NBBO less relevant and subject to more                  both a reduction in the tick and the                    jump the queue with a protected order,
                                                 instability: ‘‘With a lower notional value              round lot definition; 1577 however, the                 a trader would need to post an order
                                                 earning protected status at the NBBO,                   high price (over $250 per share) of the                 that is: (1) priced better than existing
                                                 even accessing 100 shares of liquidity                  affected stocks implies that the notional               orders by $0.005 (which is large relative
                                                 would likely move a stock in one of the                 amount of such an order will be                         the stock’s typical spread of under
                                                 new tiers’ multiple price levels.                       substantially larger than the notional                  $0.015), and (2) with a $10,000 notional
                                                 Furthermore, these smaller notional                     amount of a 100-share order for a typical               value 1579 (which is larger than the
                                                 amounts reduce the risk taken to queue                  stock unaffected by the MDI Rules                       notional value required to queue jump
                                                 jump displayed orders by placing                        round lots. Therefore, a round lot under                for stocks priced under $100). Such an
                                                 slightly more aggressively priced orders                the new definition will continue to                     order would thereby require the trader
                                                 ahead of them.’’ 1572 A separate                        reflect a meaningful notional amount                    to offer price improvement that is
                                                 commenter stated that the reduced                       even with a reduced number of                           economically large relative to the costs
                                                 liquidity at the NBBO will require                      shares,1578 thereby ensuring that                       of trading the stock, and relative to the
                                                 investors executing large orders to,                    regulatory protections for round lots—
                                                                                                                                                                 notional amount required to jump the
                                                 ‘‘sweep across multiple market centers,                 such as those governing the display,
                                                                                                                                                                 queue in most other stocks. Therefore,
                                                 exposing them to greater execution risk.                dissemination, and protection of orders
                                                                                                                                                                 the Commission continues to expect
                                                 Together, these changes would reduce                    under Rules 602, 604, and 611—
                                                                                                                                                                 that the acceleration of the round lot
                                                 the depth at the NBBO, leaving it                       continue to focus on orders of
                                                                                                                                                                 definition will protect a meaningful
                                                 subject to greater volatility and, in turn,             significant size. Likewise, the
                                                                                                                                                                 amount of liquidity at the NBBO for
                                                 reducing reliability and execution                      amendments will increase the
                                                                                                                                                                 stocks receiving the tick reduction.1580
                                                 quality for retail investors.’’ 1573                    likelihood that particularly large orders
                                                    The Commission acknowledges that                     may need to sweep across multiple                          One commenter encouraged the
                                                 these are possibilities, but the                        market centers; however, fixing the                     Commission to ‘‘comprehensively
                                                 interaction of the reduction in tick size               notional amount of an order, a high-                    review its proposed changes to tick
                                                 and the MDI round lot definition is not                 priced stock will require fewer shares,                 sizes, access fees and round lots to
                                                 expected to have a material impact on                   which reduces the need to sweep across                  better evaluate how these changes
                                                 the NBBO of affected stocks. In order for               multiple market centers. Therefore, the                 together would impact liquidity.’’ 1581
                                                 a stock to be impacted by both the new                  amendments will continue to protect a                   As discussed in the preceding
                                                 round lot categories and the smaller tick               meaningful notional amount at the                       paragraphs, the Commission expects
                                                 size, it would need to have a price over                NBBO after the round lot size is reduced                that a very small number of stocks (two
                                                 $250 with a spread below $0.015; this                   for these high-priced stocks. Similarly,                as of Nov. 30, 2023 1582) would be
                                                 implies that the percentage spread must                                                                            1579 The new round lot definitions are structured
                                                                                                            1576 This statistic is computed using all symbol-
                                                 be below 0.006%.1574 To put this in                     days in WRDS intra-day indicators for the year          so that they protect $10,000 of notional value. See
                                                 perspective, consider the sample of all                 2023. The sample has 2.3 million observations.          table 1 of MDI Adopting Release, supra note 10.
                                                 stock-days in 2023.1575 For each stock-                    1577 A marketable order ‘‘walks the book’’ if the       1580 For example, suppose a trader wants to

                                                 day, divide its TWAQS by its price to                   size of the order is larger than the amount of          incrementally improve the NBBO by jumping ahead
                                                                                                         liquidity available at the best price at a market       of a resting protected order. If the stock has a tick
                                                 measure its percentage spread. Only 1%                                                                          of $0.005 and a round lot of 40 shares, then the
                                                                                                         center; the order must therefore execute against
                                                                                                         liquidity at multiple price points within the limit     trader must improve the price by $0.005 and post
                                                    1572 See RBC Letter at 5. Queue jumping in this
                                                                                                         order book.                                             an order with a notional value of at least $10,000,
                                                 context is synonymous with pennying. See supra             1578 For example, the notional amount reflected      see id. The cost of queue-jumping is therefore at
                                                 note 994.                                               by a round lot of 40 shares will generally be greater   least $50 (0.005*$10,000). Now consider a stock
                                                    1573 See Virtu Letter II at 8.                                                                               with a tick of $0.01, a round lot of 100 shares, and
                                                                                                         than $10,000 (this is because a stock’s price must
                                                    1574 The percentage spread measures the cost of
                                                                                                         generally be greater than $250 to be assigned a         a price of $30 per share. The cost of queue-jumping
                                                 liquidity, measured here as the spread, as a fraction   round lot of 40 shares, and 40*$250 = $10,000). If      for this stock is only $30 (0.01*100*$30). Therefore,
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                                                 of the execution price. A lower percentage spread       a stock has a round lot of 100 shares, a round lot      stocks that receive both a tick reduction and a
                                                 indicates that transaction costs for liquidity          will only reflect $10,000 of notional if the stock      reduced round lot under these amendments are not
                                                 demanders are a smaller fraction of the execution       price is at least $100 (so that 100*$100 = $10,000);    expected to experience more queue jumping—and
                                                 price. Here, $0.015/$250 = 0.00006 = 0.006%.            many stocks with a round lot of 100 shares do not       consequent deterioration of the NBBO—compared
                                                    1575 A symbol-day is the unique pair of a stock      have a price greater than $100. Therefore, the lower    to stocks that retain the penny tick and the 100-
                                                 symbol and a date. For example, one observation is      round lot for high-priced stocks will continue to       share round lot.
                                                                                                                                                                    1581 See UBS Letter at 10.
                                                 AMZN on December 7, 2023; a second observation          reflect a notional amount that is at least as high as
                                                 is AMZN on December 8, 2023; a third is AAPL on         the notional reflected in round lots for stocks with       1582 See supra note 801 identifying only two

                                                 December 7, 2023, etc.                                  more common prices.                                     stocks—both highly liquid—that would have



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                                                 subject to both a change in round lot                   changes would reduce the value of these                   their systems to automatically keep
                                                 size and tick size because very few                     NMS market data. However, the high                        track of the round-lot changes.1592
                                                 stocks have both a price above $250 (to                 price of stocks affected by the round lot                 Further, any confusion from the
                                                 qualify for a reduced round lot) and a                  reduction implies that the amount of                      accelerated round lot definition would
                                                 TWAQS below $0.015 (to qualify for the                  visible notional liquidity will remain                    have occurred eventually under the
                                                 tick reduction). The exceptional                        high relative the notional liquidity                      original MDI timeline, so the
                                                 liquidity of the stocks with both these                 visible for a typical stock unaffected by                 incremental effect of MDI acceleration
                                                 characteristics is unlikely to be                       the MDI round lots.1586                                   on investor confusion is minimal.
                                                 materially affected by the interaction of                  One commenter stated that, ‘‘the                          Other commenters expressed
                                                 the tick reduction and the reduction in                 Commission failed to note how much                        concerns about monthly updates to
                                                 the round lot. With respect to the                      actual volume takes place in any of the                   stocks’ round lots. Each update requires
                                                 reduction in the access fee cap, the                    three proposed [round lot] tiers and                      market participants to ‘‘reconfigure their
                                                 Commission expects effects of that                      what challenge, if any, changes to round                  investment platforms and trading
                                                 change to be independent of the effects                 lot definitions would address.’’ 1587 In                  systems to make any modifications
                                                 of the round lot definition for two                     the MDI Rules, the Commission                             effective.’’ 1593 The same commenter
                                                 reasons. First, the reduction in the                    estimated that approximately 1% of                        pointed out that, under the proposal,
                                                 access fee cap is unlikely to affect a                  stocks, 3% of share volume, and 30% of                    round lots would be assigned at
                                                 stock’s round lot size. This is because                 dollar volume will be affected by the                     discrepant intervals from tick
                                                 the reduction in the access fee cap—to                  new round lot tiers.1588 The                              assignments. Commenters also stated
                                                 the extent that it affects quoted prices as             Commission also discussed in the MDI                      that these system updates may increase
                                                 discussed in sections VII.B.3 and VII2—                 Rules the effect of changing the round                    complexity and operational risk, and
                                                 is not expected to move quoted prices                   lot size on transparency and execution                    further contribute to investor
                                                 by more than one tick. Round lots, on                   quality.1589                                              confusion.1594
                                                 the other hand, are determined by                          The commenter further suggested that                      While any periodic system update can
                                                 whether a stock is priced above $250,                   the implementation of the round lot                       pose a risk of glitches, the amendments
                                                 $1,000, or $10,000; the probability that                definition could cause confusion among                    assign round lots and tick sizes on the
                                                 the reduction in the access fee cap                     retail investors: ‘‘Currently, retail                     same schedule—every six months in
                                                 affects a stock’s round lot assignment is               customers, especially those trading                       May and November. Syncing the
                                                 therefore miniscule. Second, the                        options, understand one option contract                   updates like this will reduce costs
                                                 reduction in the access fee cap and the                 represents one hundred shares.                            relative to the monthly round lot
                                                 reduction in the round lot are expected                 Frequently, it is simply referred to as a                 updates in the baseline by reducing the
                                                 to have separate but unrelated effects on               ‘round lot.’ Changes in round lot sizes                   number of times that firms are required
                                                 the NBBO. Stocks that receive a round                   will most certainly create confusion in                   to ‘‘open the hood’’ of trading systems.
                                                 lot less than 100 shares are expected to                this area for retail investors.’’ 1590                    To further reduce these costs and
                                                 have a narrower NBBO because the new                       The Commission acknowledges that                       provide opportunity for industry testing,
                                                 round lot definition will include quotes                there may be a learning curve associated                  the adopted amendments incorporate a
                                                 at better prices in core data that were                 with the new round lot definition.                        one-month gap between evaluation
                                                 previously excluded from being                          However, as discussed in the MDI                          periods and the implementation of
                                                 reported because they consisted of too                  Adopting Release, investor confusion                      updated round lots and tick sizes. It is
                                                 few shares.1583 Access fees do not affect               will be temporary for four reasons. First,                possible that the amendments to the
                                                 the existence of these better priced                    market participants already regularly                     round lot definition—i.e., the less
                                                 quotes with fewer shares. The reduction                 trade in increments other than 100                        frequent evaluation periods and the lag
                                                 in the access fee cap is expected to put                shares.1591 Second, most NMS stocks                       between evaluation and
                                                 upward pressure on quoted spreads and                   will continue to have a round lot of 100                  implementation—may cause a stock’s
                                                 therefore widen the NBBO; 1584 this                     shares. Third, core data will be                          round lot to be less reflective of its price
                                                 effect operates at a per-share level                    distributed with the size of the NBBO                     than would have otherwise been the
                                                 because fees and rebates are assessed                   and best quotes in shares rather than in                  case under the original MDI Rules round
                                                 per-share, making the number of shares                  the number of round lots. Fourth,                         lot definition (e.g., if a stock’s price falls
                                                 in a round lot irrelevant. Therefore, the               broker-dealers and other market                           after the evaluation period, it may be
                                                 Commission does not expect the round                    participants will modify or develop                       assigned to a round lot that is too low
                                                 lot definition to interact with the                                                                               for the next six months). This
                                                 reduction in the access fee cap.
                                                                                                         expected to have on the value of MDI NMS market           imprecision in round lot assignment,
                                                                                                         data.                                                     however, is unlikely to significantly
                                                    For institutions that do not purchase                  1586 See supra note 1578 for an example
                                                                                                                                                                   reduce the benefits of the MDI Rules for
                                                 proprietary feeds, the MDI Rules once                   indicating that the amount of notional liquidity
                                                                                                         reflected in a round lot will generally be higher for     two reasons. First, to the extent that a
                                                 implemented will result in the display                  stocks receiving a reduction in the round lot size        stock is assigned a round lot based on
                                                 of five levels of depth-of-book in NMS                  than stocks that retain a round lot size of 100 shares    stale information, this assignment will
                                                 market data. To the extent that the                     (due to the higher price of stocks receiving a round
                                                                                                                                                                   be corrected within six months at the
                                                 amendments result in liquidity spread                   lot reduction).
                                                                                                           1587 See Tastytrade Letter at 22.                       next evaluation date. Second, given the
                                                 out across more price levels due to the                   1588 See MDI Adopting Release, supra note 10, at        significant distance between the round
                                                 round lot reduction,1585 then these                     18743 Table 4.                                            lot thresholds (i.e., $250, $1,000, and
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                                                                                                           1589 See supra note 1563.
                                                                                                                                                                   $10,000), any deviation in a stock’s
                                                 qualified for both the tick reduction and a reduction     1590 See Tastytrade Letter at 22.
                                                 in the round lot as of Nov. 30, 2023.
                                                                                                                                                                   round lot as a result of these
                                                                                                           1591 See supra note 791 and surrounding text for
                                                    1583 See MDI Adopting Release, supra note 10, at                                                               amendments is likely to be due to stocks
                                                                                                         a discussion on the interaction of the new round lot
                                                 18742.                                                  definition and options trading. It is unlikely that the
                                                    1584 See section VII.B.3 for a discussion of the                                                                 1592 See MDI Adopting Release, supra note 10, at
                                                                                                         new round lot definition will confuse retail
                                                 effect that fees and rebates have on quoted spreads.    investors trading in options, partially because           18745.
                                                    1585 See supra note 1348 and surrounding                                                                         1593 See BlackRock Letter at 9–10.
                                                                                                         options markets already have standard contracts on
                                                 discussion on the effect that the tick reduction is     stocks with a round lot size less than 100 shares.          1594 See SIFMA Letter II at 34.




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                                                 that are near a threshold; for these                    the beginning of 2020.’’ 1600 Similarly,                amendments will also not accelerate the
                                                 stocks, the cost of being including in the              another commenter stated that                           cost to users of proprietary data whose
                                                 next smallest or largest tier is likely to              including odd-lot information in                        information advantage will dissipate
                                                 be small.                                               consolidated market data will ‘‘improve                 somewhat. In particular, the
                                                    Finally, one commenter suggested                     transparency and increase the                           Commission does not believe that
                                                 alternative price thresholds for the                    usefulness of the consolidated tape                     adding the specified odd-lot information
                                                 round lot definition; these thresholds                  given the growing prevalence of market                  to the exclusive SIPs will result in low-
                                                 would result in five round lot tiers.1595               activity in sub 100 share quantities                    latency traders substituting the
                                                 The Commission continues to believe,                    . . . . Allowing for access to this                     exclusive SIPs for their current
                                                 as stated in the MDI Adopting Release,                  information, as proposed, would                         proprietary data usage. This is because
                                                 that a five-tiered approach is                          therefore likely result in increased pre-               a key component of the MDI Rules for
                                                 unnecessarily complex, and that the                     trade transparency for both retail and                  this functionality is an expected
                                                 adopted tiers promote a smoother                        institutional investors and bolster                     reduction in latency of NMS data
                                                 transition to a price-based round lot                   execution quality.’’ 1601                               anticipated from the competing
                                                 structure.1596                                             In addition, the amendments will                     consolidator model of NMS data
                                                                                                         change the timing and magnitude of                      distribution.1607 The exclusive SIPs are
                                                 b. Including Odd-Lots in NMS Data
                                                                                                         compliance costs and other costs.1602                   not expected to be fast enough to
                                                    As discussed in the Proposing                        One commenter estimated that                            replace proprietary data because
                                                 Release,1597 the acceleration of the                    quotation traffic will increase at least                existing SIP latency will not be reduced
                                                 implementation of the MDI Rules that                    35% as a result of adding odd-lot data                  or affected by this Rule. Thus, the
                                                 expand the NMS data to include odd-lot                  to the SIP feeds; this estimate was based               amendments will not accelerate the
                                                 information inside the NBBO will result                 on a previous proposal by the CTA and                   benefits anticipated in the MDI Rules
                                                 in sooner realizing some, but not all,                  UTP Operating Committees, which                         that pertain to using low-latency odd-lot
                                                 economic effects of this aspect of the                  proposed a more limited inclusion of                    information. Instead, the Commission
                                                 MDI Rules.1598 The odd-lot information                  odd-lot data to the SIP feeds.1603 The                  expects these effects to be realized after
                                                 could be useful to consumers of SIP data                associated costs will include: the cost                 the implementation of all MDI Rules.
                                                 that could use it to make better                        for exclusive SIPs to upgrade existing                     Market participants who decide to
                                                 inferences about market conditions,                     infrastructure and software to handle                   receive and use odd-lot quotation
                                                 thereby leading to investment decisions                 the dissemination of additional message                 information from the exclusive SIPs
                                                 that more fully reflect market conditions               traffic,1604 the cost to SROs to                        under these amendments will also incur
                                                 and increased market efficiency. This                   implement system changes required in                    costs if the acceleration results in
                                                 odd-lot information could also lessen                   order to make the data needed to                        additional systems changes when
                                                 the effect of a reduction in displayed                  generate odd-lot information available                  competing consolidators begin offering
                                                 depth at the NBBO resulting from either                 to exclusive SIPs, and the cost of                      odd-lot information. Specifically,
                                                 a smaller tick size or a smaller round                  technological investments market                        market participants that decide to
                                                 lot. Specifically, expediting inclusion of              participants might have to make in                      receive odd-lot quotation information
                                                 odd-lot data will allow individual                      order to receive the SIP data.1605                      from exclusive SIPs will need to make
                                                 investors whose broker-dealers                             While these aforementioned economic                  systems changes upon implementation
                                                 subscribe to the data to visually monitor               effects of including odd-lots in NMS                    of the acceleration of the MDI Rules in
                                                 the market sooner than they would                       data will be realized sooner, the                       order to receive the odd-lot quotation
                                                 otherwise.1599                                          Commission does not expect that the                     information. Because the data
                                                    Multiple commenters remarked on the                  amendments will accelerate all the                      specifications of the competing
                                                 growing importance of odd-lot activity                  effects described in the MDI Rules                      consolidators are unknown and could
                                                 for the overall equities market. One                    related to adding to NMS data odd-lot                   differ from the data specification of the
                                                 commenter stated that odd-lots ‘‘provide                information inside the NBBO. The                        exclusive SIPs, market participants
                                                 a meaningful source of liquidity across                 amendments will not accelerate the                      receiving odd-lot information from the
                                                 all trading sessions and stocks,                        decentralized consolidation model and                   exclusive SIPs could also need to make
                                                 representing 54.8% of all trades in the                 will therefore not accelerate the benefits              systems changes again to receive the
                                                 U.S. financial markets, up from 43% at                  from allowing some market participants                  odd-lot information from a competing
                                                                                                         to reduce data expenses required for                    consolidator upon full implementation
                                                   1595 See Pragma Letter at 9.
                                                                                                         trading by providing a reasonable                       of the MDI Rules.1608 If there are
                                                    1596 See MDI Adopting Release, supra note 10, at
                                                                                                         alternative to some market participants                 significant fixed costs associated with
                                                 18618. The price-based round lot structure ensures
                                                 that there is $10,000 of notional value protected
                                                                                                         to proprietary data.1606 As such, the                   system changes that are incurred on
                                                 under the new round lot definitions. See supra note                                                             each change, then multiple system
                                                 1579.                                                     1600 See Cboe Letter II at 10.
                                                                                                                                                                 changes will be inefficient and could
                                                    1597 See Proposing Release, supra note 11, section     1601 See BlackRock Letter at 11.
                                                                                                                                                                 increase costs. Because market
                                                 V.D.5.                                                    1602 See MDI Adopting Release, supra note 10, at
                                                    1598 See MDI Adopting Release, supra note 10,        18759 for the full discussion of the costs associated
                                                                                                                                                                 participants who receive odd-lot
                                                 section V.C.1(c)(i), for the full discussion of the     with expanding core data to include odd-lot             quotation information from the
                                                 effects of including odd-lot information inside the     information inside the NBBO. See also infra section     exclusive SIPs may need to make an
                                                 NBBO in its definition of core data. Also, the MDI      VII.D.5.c for further discussion of compliance costs.   extra systems change stemming from
                                                                                                           1603 See FISD Letter at 3. The Commission agrees
                                                 Rules do not require that the competing                                                                         this Rule—one change to receive the
                                                 consolidators to disseminate odd-lot information,       that the addition of information on odd-lot quotes
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                                                 but the Commission anticipated in the MDI               that are priced at or more aggressively than the        data from the exclusive SIPs, and
                                                 Adopting Release that at least one would do so. The     NBBO may substantially increase message traffic.
                                                 requirement that the exclusive SIPs disseminate         See MDI Adopting Release, supra note 10, at               1607 See MDI Adopting Release, supra note 10, at

                                                 odd-lot information helps ensure that the economic      n.2019.                                                 18752 n.1939.
                                                                                                           1604 Multiple commenters agreed with the
                                                 effects of the acceleration of the MDI Rules occur.                                                               1608 One commenter pointed out that this
                                                 See infra section VII.D.5.c for a discussion of the     amendments’ effect on message traffic. See, e.g.,       duplication of effort becomes more likely if SIPs do
                                                 costs to the exclusive SIPs.                            Citadel Letter I at 26 and FIA PTG Letter II at 4.      not choose to register as competing consolidators.
                                                    1599 See MDI Adopting Release, supra note 10,          1605 See supra note 1602.
                                                                                                                                                                 See BlackRock Letter at 12. The Commission agrees
                                                 section V.C.1(c)(i).                                      1606 Id.                                              with this assessment.



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                                                 potentially another change to receive                   information—and will likely not be                       interest in this information may not
                                                 the data from a competing                               confused.1611                                            incur any additional costs because they
                                                 consolidator—some market participants                                                                            would not need to subscribe to this data
                                                                                                         c. Dissemination of Odd-Lots in SIP
                                                 may decide not to implement systems                                                                              feed. If the exclusive SIPs instead
                                                                                                         Data
                                                 changes to make use of the accelerated                                                                           incorporate MDI odd-lot quotation
                                                 implementation of the odd-lot                              The Amendments require the                            information into an existing data feed,
                                                 information and, instead, wait until the                exclusive SIPs to disseminate odd-lot                    then market participants may incur
                                                 MDI Rules are fully implemented. This                   data.1612 As discussed in the Proposing                  costs to update their systems to filter out
                                                 would dampen some of the benefits of                    Release,1613 this requirement will help                  the unwanted odd-lot information; the
                                                 accelerating the inclusion of odd-lot                   realize the benefits of accelerating the                 Commission is unable to estimate these
                                                 quotation information.                                  implementation of including odd-lot                      costs because they would vary across
                                                                                                         information in NMS data while                            market participants and depend upon
                                                   To the extent that some market
                                                                                                         imposing costs on exclusive SIPs and                     each market participant’s existing
                                                 participants store SIP data for various
                                                                                                         potentially on market participants.1614                  infrastructure, which is unknown to the
                                                 purposes (such as transaction cost
                                                                                                         The MDI Rules do not require the                         Commission. Further, such SIP data
                                                 analysis), the acceleration of the MDI
                                                                                                         competing consolidators to disseminate                   users could incur the cost of any SIP
                                                 Rules could hasten an increase in
                                                                                                         odd-lot data. However, the Commission                    data fee increases intended to offset the
                                                 storage costs because the amount of SIP
                                                                                                         estimated in the MDI Rules that at least                 costs to exchanges and exclusive
                                                 data increases with the inclusion of
                                                                                                         one competing consolidator will do so                    SIPs.1618 However, SIP data fees did not
                                                 odd-lot data. Many factors affect these
                                                                                                         because there will be demand for the                     increase when the exclusive SIPs started
                                                 costs in total, such as the number of
                                                                                                         data.1615 These amendments, though, do                   to include odd-lot trades.
                                                 market participants storing SIP data, the
                                                                                                         not accelerate the competing
                                                 data structures they use to store SIP                                                                            d. Best Odd-Lot Order Definition
                                                                                                         consolidator model. Unlike competing
                                                 data, whether these market participants
                                                                                                         consolidators, each exclusive SIP is the                   The amendments go beyond the MDI
                                                 will choose to store all or just some of
                                                                                                         only distributor of the entirety of its                  Rules by requiring that NMS data also
                                                 the SIP data provided by the
                                                                                                         data and may lack the incentive to                       include information on the best priced
                                                 amendments, and the period over which
                                                                                                         disseminate the data. As a result, the                   odd-lot orders across all markets.
                                                 the amendments will affect these storage
                                                                                                         Commission cannot rely on the                            Including the best odd-lot order in a
                                                 costs. Because the Commission does not
                                                                                                         exclusive SIPs to disseminate the odd-                   standardized form will offer market
                                                 have information on how many market
                                                                                                         lot information prescribed by the MDI                    participants a standard benchmark, like
                                                 participants will store MDI odd-lot
                                                                                                         Rules absent a requirement to do so; the                 the NBBO, to use to measure execution
                                                 information and the methods they will
                                                                                                         benefits of the acceleration could                       quality. As discussed in the Rule 605
                                                 use to do so, the Commission is unable
                                                                                                         therefore be at risk without the                         Amendments1619 a market center may
                                                 to estimate these costs.
                                                                                                         Amendment to Rule 603’s requirement                      be able to internalize an order and claim
                                                   One commenter stated that displaying                  for the SIPs to disseminate.1616                         price improvement relative to the NBBO
                                                 odd-lot quotes ‘‘could lead investors to                   While the inclusion of the odd-lot                    even if better priced odd-lots are
                                                 expect prices that are not available.’’ 1609            data could impose costs on those who                     available at another market center. A
                                                 The Commission acknowledges that                        receive and use exclusive SIP odd-lot                    standardized best odd-lot benchmark
                                                 there may be a learning curve associated                data,1617 the requirement that exclusive                 may give market participants that
                                                 with the dissemination of odd-lots on                   SIPs disseminate the data could also                     receive it valuable information for
                                                 the SIP. However, any confusion from                    impose costs on those who receive but                    evaluating broker-dealers and market
                                                 the accelerated dissemination of odd-lot                do not have an interest in using odd-lot                 centers. Including this benchmark in
                                                 quotes would have occurred eventually                   information provided in SIP data. These                  NMS data allows the information to be
                                                 under the original MDI timeline, so the                 costs would vary based on how the                        readily available to a broad set of market
                                                 incremental effect of MDI acceleration                  exclusive SIPs decide to implement the                   participants, including those investors
                                                 on investor confusion is minimal.                       dissemination of the MDI odd-lot                         to whom broker-dealers choose to make
                                                 Further, as discussed in the MDI                        information. For example, if the                         this information available.1620
                                                 Adoption Release, the Commission                        exclusive SIPs offer a separate data feed
                                                 acknowledges that many retail investors                 for odd-lot quotation information, then                    1618 Any changes in fees for SIP data would need
                                                 may not directly view the entire content                market participants that do not have an                  to be filed by the Equity Data Plans and approved
                                                 of expanded core data—retail brokers                                                                             by the Commission. See supra note 887 and
                                                 may decide not to offer their customers                   1611 See MDI Adopting Release, supra note 10, at       accompanying text for further discussion.
                                                                                                                                                                    1619 See Rule 605 Amendments, supra note 10,
                                                 direct access to all of the odd-lot                     18754.
                                                                                                                                                                  section IX.D.b.2.c.vii for further discussion of the
                                                 information but may rather customize                      1612 See 17 CFR 242.603(b)(3) for rule text relating
                                                                                                                                                                  benefits of disclosing execution quality
                                                 products derived from odd-lot                           to this requirement under Rule 603.
                                                                                                           1613 See Proposing Release, supra note 11, at
                                                                                                                                                                  benchmarked to the best available displayed price.
                                                 information.1610 The provider of these                  80332.
                                                                                                                                                                    1620 Because the amount of information

                                                 customized products is expected to                        1614 See infra section VII.D.5.c for additional
                                                                                                                                                                  disseminated as a result of the amended rule BOLO
                                                                                                                                                                  dissemination requirement would likely result in
                                                 supply the information in a way that                    discussion of the costs the exclusive SIPs are           significantly less message traffic compared to the
                                                 does not confuse the provider’s                         expected to incur.                                       amount of information that would be disseminated
                                                                                                           1615 See supra note 1155.
                                                 customers. To the extent that retail                                                                             as a result of the amended rule MDI odd-lot
                                                                                                           1616 The Commission recognizes that the
                                                 brokers allow some customers to                                                                                  information dissemination requirement, we expect
                                                                                                         exclusive SIPs have some incentive to offer odd-lots     market participants will be able to receive the
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                                                 directly utilize all of the odd-lot                     as indicated by the exclusive SIPs seeking comment       BOLO information required here without having to
                                                 information, the customers who choose                   on doing so. See, e.g., Proposal of the CTA and UTP      make significant system upgrades, unlike the MDI
                                                 to do so will likely be sophisticated—as                Operating Committees Regarding Odd Lots on the           odd-lot information. Therefore, a broader set of
                                                 evidenced by their seeking out the                      SIPs (Mar. 2022), available at https://                  market participants may choose to receive the
                                                                                                         www.ctaplan.com/publicdocs/ctaplan/CTA_Odd_              BOLO from the exclusive SIPs (and later on,
                                                                                                         Lots_Proposal_2022.pdf.                                  competing consolidators) than all of the MDI odd-
                                                   1609 See Schwab Letter II at 36.                        1617 These costs include systems changes and data      lot information. Additionally, because of the lower
                                                   1610 See MDI Adopting Release, supra note 10, at      storage. See section VII.D.4.b for a discussion of       message traffic, more broker-dealers may make
                                                 18753.                                                  these costs.                                                                                        Continued




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                                                    Currently, this information is only                  Academic research shows that the                      Commission regulations. Rather than
                                                 available to market participants who                    NBBO does get locked and crossed from                 taking steps to prevent unnecessary
                                                 have proprietary data feeds, and even                   time to time.1625 These tend to be                    investor confusion, the Commission
                                                 then there could be differences across                  fleeting events.1626 Because the BOLO                 encourages it by suggesting that the odd-
                                                 market participants with these data in                  will provide prices inside the NBBO,                  lot NBBO is a ‘standard benchmark’ that
                                                 terms of how exactly market                             the BOLO will likely be crossed or                    could be used by investors ‘to measure
                                                 participants calculate the best odd-lot                 locked more frequently than the NBBO.                 the amount of price improvement they
                                                 order (or how many proprietary feeds                    However, it is unclear what practical                 receive for the execution of their
                                                 they include). The best odd-lot                         effect a locked or crossed BOLO would                 orders.’ ’’ 1629 The commenters
                                                 information in the NMS data will                        have on financial markets or those that               continued: ‘‘The odd-lot NBBO is not a
                                                 provide a standardized benchmark that                   use the BOLO. Market participants are                 standard benchmark, since the size
                                                 reflects the best odd-lot price                         already well versed in using the NBBO,                associated with these quotes will vary
                                                 consolidated across all national                        which can be locked and crossed from                  greatly as opposed to the actual NBBO,
                                                 securities exchanges and national                       time to time, so it is likely that they               which always represents a round-
                                                 securities associations. This benchmark                 would use similar techniques for                      lot.’’ 1630 Similarly, some commenters
                                                 may allow more market participants to                   dealing with locked and crossed                       stated that the BOLO will not provide a
                                                 better monitor the execution quality of                 markets when, for example,                            useful benchmark and may instead
                                                 their broker-dealers and send more                      benchmarking relative to the BOLO.1627                distort price improvement statistics.1631
                                                 trading volume to broker-dealers with                   Further, market participants who                         The Commission acknowledges that
                                                 better performance.1621 One commenter                   subscribe to proprietary data feeds                   the BOLO is not, at present, a widely
                                                 highlighted the value of this new                       already have access to information on                 used and standard benchmark. This is
                                                 benchmark: ‘‘. . .transparency requires                 when the best odd-lot orders may lock                 likely because the requisite data is not
                                                 that the units used to represent the                    or cross each other; the rule amendment               broadly distributed and is only available
                                                 range of prices available in the market                 merely extends this information to                    to market participants who have
                                                 match the units in which participants                   market participants who do not                        proprietary data feeds. In contrast, the
                                                 typically quote and trade.’’ 1622 For                   subscribe to proprietary data feeds. As               NBBO is broadly distributed in NMS
                                                 market participants who receive the                     more market participants see the                      data and is also more widely used as a
                                                 BOLO and typically execute small                        information contained in the BOLO,                    benchmark. The Commission believes
                                                 trades, the best odd-lot order will                     there may be fewer instances of locked                that including the BOLO in NMS data
                                                 provide them more relevant information                  and crossed odd-lot quotes—e.g., more                 will similarly allow market participants
                                                 on available orders. Thus, including the                market participants will have the                     to more easily use the BOLO as a
                                                 best odd-lot information could enhance                  information needed to arbitrage crossed               benchmark if they choose to.1632
                                                 competition among broker-dealers                                                                                 The Commission also recognizes that
                                                                                                         odd-lot markets. Finally, a locked or
                                                 leading to better trade execution and                                                                         an odd-lot price that is better than the
                                                                                                         crossed BOLO will be less disruptive
                                                 perhaps a lower cost to customers for                                                                         NBBO may not reflect sufficient
                                                                                                         than a locked or crossed NBBO because
                                                 execution services.                                                                                           quantity to execute certain orders,
                                                                                                         Rule 610 of Regulation NMS requires
                                                    One commenter expressed concern                                                                            particularly larger-sized orders, and, as
                                                                                                         SROs to adopt rules requiring their
                                                 that the best odd-lot order would result                                                                      a result, price improvement relative to
                                                                                                         members reasonably to avoid displaying
                                                 in ‘‘displaying locked/crossed                                                                                the BOLO will be more relevant in some
                                                                                                         quotations that lock or cross protected
                                                 markets.’’ 1623 It is possible for the best                                                                   cases than for others. However, market
                                                                                                         quotations.1628 However, the BOLO
                                                 odd-lot bid to be at a price equal to or                                                                      participants are already well versed in
                                                                                                         does not establish a protected quote,                 interpreting nuanced benchmarks—for
                                                 higher than the best odd-lot ask; in these
                                                                                                         and so a locked or crossed BOLO would                 example, holding the round lot size
                                                 cases, the best odd-lot order would
                                                                                                         not trigger the same reaction by SROs                 constant, the NBBO may reflect a
                                                 show a locked or crossed market.1624
                                                                                                         and their members as a locked or                      different amount of dollar liquidity
                                                 information on the BOLO available to their
                                                                                                         crossed NBBO.                                         based on the price of the stock.
                                                 customers than MDI odd-lot information.                    Other commenters discussed the                     Furthermore, the size available at the
                                                    1621 While the Commission does not expect most       effect BOLO may have on investor                      NBBO of any particular stock might be
                                                 retail traders would engage in this sort of             confusion. Two commenters stated that:                a great deal more than a single round
                                                 benchmarking due to a lack of technical capacity to     ‘‘Calculating and publishing an odd-lot
                                                 do so among most retail traders, institutional                                                                lot. This means that market participants
                                                 traders likely have such capacity and so would          NBBO risks creating significant investor              already deal with the distinction
                                                 engage in this type of monitoring. Institutional        confusion due to the appearance that a                between the price of a benchmark and
                                                 traders have strong incentives to monitor all aspects   new benchmark is being established                    the amount of shares available at that
                                                 of transaction costs as these costs can significantly   even though odd-lots are treated
                                                 affect portfolio performance. See Amber Anand, et                                                             benchmark price. Indeed, while one
                                                 al., Performance of Institutional Trading Desks: An     differently than round-lots under                     commenter points out the challenge of
                                                 Analysis of Persistence in Trading Costs, 25 Rev.                                                             comparing a 500-share order to a 10-
                                                 Fin. Stud. 557 (2012).                                     1625 See Craig W. Holden & Stacey Jacobsen,
                                                    1622 See IEX Letter I at 31. Another commenter       Liquidity Measurement Problems in Fast,
                                                                                                                                                               share odd-lot,1633 a similar challenge
                                                 agreed more generally that the best odd-lot order       Competitive Markets: Expensive and Cheap              already exists in comparing a 1000-
                                                 will enhance the usefulness of odd-lot information      Solutions, 69 J. Fin. 1747 (2014). This paper
                                                 and enhance liquidity—see Cboe Letter II at 10.         estimates that 1.7% of trades occur when the NBBO        1629 See Citadel Letter I at 26–27, and SIFMA
                                                    1623 See SIFMA Letter II at 34 requesting an         is locked, and 0.5% of trades occur when the NBBO     Letter II at 43–44.
                                                 analysis of the effect of the BOLO on the display       is crossed—see table 1, Panel A, column 4 therein.       1630 Id.
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                                                 of locked and crossed markets.                          The authors conjecture that some of these instances      1631 See JPMorgan Letter at 7, FIA PTG Letter II
                                                    1624 See supra note 1051 for the definition of       arise due to a data issue where quotes have been      at 5, and ASA Letter at 6.
                                                 locked and crossed markets. A locked or crossed         canceled, but the cancellation was not recorded by       1632 See infra section VII.D.6.a.ii discussing how

                                                 market occurs when there is a passive buy order on      the time of the trade.                                the BOLO will make it easier for market centers and
                                                                                                            1626 Id.
                                                 one venue at a price greater or equal to the price                                                            broker-dealers to compute statistics on price
                                                                                                            1627 See Id. for an example of one methodology
                                                 of an existing passive sell order at another venue;                                                           improvement relative to the best available
                                                 the fact that these orders have not executed against    used when employing market data in the presence       displayed price, now required by amended Rule
                                                 each other indicates that there is a friction between   of locked or crossed markets.                         605.
                                                 the trading venues.                                        1628 17 CFR 242.610(d)(1).                            1633 See Citadel Letter I at 27.




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                                                 share order to a 100-share round lot.                                     are already adept at accounting for order                                          as ongoing compliance costs to comply
                                                 This challenge is understood and                                          size, these users should not be confused                                           with the Rule. These costs and their
                                                 handled already; market participants                                      by the BOLO. It is important that market                                           computations are discussed in greater
                                                 already know that quantity must be                                        participants have access to a variety of                                           detail below, but are summarized in
                                                 taken into account when making                                            benchmarks to meet their various                                                   table 15. Some of the costs are
                                                 comparisons. The Commission expects                                       purposes, and the BOLO will provide a                                              associated with the acceleration of
                                                 that market participants who will                                         useful data point for market participants                                          aspects of the MDI Rules and will only
                                                 benchmark their trades with the BOLO                                      to consider in addition to the NBBO.                                               represent new costs (which are not
                                                 will generally have comparable levels of                                                                                                                     already anticipated under the MDI
                                                                                                                           5. Compliance Costs
                                                 sophistication as investors who                                                                                                                              rules) if the exclusive SIPs do not
                                                 currently use the NBBO benchmark;                                           Various market participants will incur                                           become competing consolidators once
                                                 given that users of the NBBO benchmark                                    one-time implementation costs as well                                              the MDI rules are fully implemented.

                                                                                                                        TABLE 15—COMPLIANCE COST ESTIMATES
                                                                                                                                                                                                                                                             Total
                                                                                                                                                                        One-time            Ongoing                Number of                 Total one-
                                                               Rule                                             Affected entities                                                                                                                           ongoing
                                                                                                                                                                         costs               costs                  entities                 time costs      costs

                                                 612 ...............................   All trading venues a ...........................................                  $156,000          ................                      277         $43,212,000   ................
                                                 612 ...............................   Listing exchanges b ...........................................                     33,000                 9,000                            5             165,000      $45,000
                                                 612 ...............................   SIPs c .................................................................            13,000                 9,000                            2              26,000        18,000
                                                 612 ...............................   Broker-dealers with order entry systems d ........                                  33,000          ................                    1,161          38,313,000   ................
                                                 612 ...............................   Broker-dealers with smart order routers e .........                                 11,000          ................                      270           2,970,000   ................
                                                 610 ...............................   Exchanges f .......................................................                 57,000          ................                       15             855,000   ................
                                                 600, 603 .......................      Exchanges g .......................................................                  3,500                 6,500                           16              56,000      104,000
                                                 600, 603, 612 ...............         SIPs h .................................................................           613,000             174,000                              2           1,226,000      348,000

                                                       Total ......................    ............................................................................     ................   ................     ........................      86,823,000      515,000
                                                    Sources: Across estimates below, salaries are derived from SIFMA’s Management & Professional Earnings in the Securities Industry 2013,
                                                 modified to account for an 1,800-hour work-year and inflation, and multiplied by 5.35 to account for bonuses, firm size, employee benefits and
                                                 overhead. The burden hours estimates are based on Commission’s experiences with burden estimates.
                                                    a See Proposing Release, supra note 11, at 80333. The Proposing Release’s estimate of $140,000 is adjusted to $156,000 to account for an
                                                 11.4% increase in the Producer Price Index for Data Processing, Hosting and Related Services from December 2014, when the $140,000 esti-
                                                 mate was first made. See U.S. Bureau of Labor Statistics, Producer Price Index by Industry: Data Processing, Hosting and Related Services:
                                                 Hosting, Active Server Pages (ASP), and Other Information Technology (IT) Infrastructure Provisioning Services [PCU5182105182105], retrieved
                                                 from FRED, Federal Reserve Bank of St. Louis; available at https://fred.stlouisfed.org/series/PCU5182105182105 (Mar. 11, 2024).
                                                    b The $33,000 estimate per listing exchange is based on the following calculations: $19,950 (hourly rate for Sr. Programmer at $399 for 50
                                                 hours) + $6,860 (hourly rate for Sr. Systems Analyst at $343 for 20 hours) + $3,730 (hourly rate for Compliance Manager at $373 for 10 hours) +
                                                 $2,940 (hourly rate for Director of Compliance at $588 for 5 hour) $33,000, for a total annual monetized burden of $165,000 (i.e., $165,000 =
                                                 $33,000 × 5 listing exchanges). The $9,000 estimate per listing exchange is based on the following calculations: ($2,640 (hourly rate for Compli-
                                                 ance Attorney at $440 for 6 hours) + $746 (hourly rate for Compliance Manager at $373 for 2 hours)) × 4 tick size revisions per year) $9,000, for
                                                 a total annual monetized burden of $45,000 (i.e., $45,000 = $9,000 × 5 listing exchanges).
                                                    c The $13,000 estimate per listing exchange is based on the following calculations: $4,788 (hourly rate for Sr. Programmer at $399 for 12
                                                 hours) + $1,715 (hourly rate for Sr. Systems Analyst at $343 for 5 hours) + $3,730 (hourly rate for Compliance Manager at $373 for 10 hours) +
                                                 $2,940 (hourly rate for Director of Compliance at $588 for 5 hour) $13,000. The $9,000 estimate per listing exchange is based on the following
                                                 calculations: ($2,640 (hourly rate for Compliance Attorney at $440 for 6 hours) + $746 (hourly rate for Compliance Manager at $373 for 2 hours))
                                                 × 4 tick size revisions per year) $9,000.
                                                    d The $11,000 estimate per system change is based on the following calculations: ($2,005 (hourly rate for Attorney at $401 for 5 hours) +
                                                 $2,980 (hourly rate for Compliance Manager at $298 for 10 hours) + $4,640 (hourly rate for Programmer Analyst at $232 for 20 hours) + $1,325
                                                 (hourly rate for Senior Business Analyst at $265 for 5 hours) ≈ $11,000. The Commission expects that broker-dealers are likely to have to under-
                                                 take 3 system changes, for a total one-time expense of $33,000. See also Transaction Fee Pilot Adopting Release, infra note 1644, at 5271
                                                 n.770.
                                                    e The $11,000 estimate per broker-dealers with smart order routers is based on the following Manager at $298 for 10 hours) + $4,640 (hourly
                                                 rate for Programmer Analyst at $232 for 20 hours) + $1,325 (hourly rate for Senior Business Analyst at $265 for 5 hours) ≈ $11,000. See also
                                                 Transaction Fee Pilot Adopting Release, infra note 1644, at 5274 n.796 where the cost to broker-dealers to update systems for the TSP was es-
                                                 timated to be $9,000. Here, we are allowing for an additional 10 hours of Programmer Analyst time.
                                                    f See Proposing Release, supra note 11, at 80333.
                                                    g The additional $3,500 in one-time costs and $6,500 in ongoing costs represent a 5% addition over the costs reported in the MDI release. See
                                                 supra note 10, section V.C.2(d)(ii) to account for the new requirement to send the necessary data to generate odd-lot information to the exclusive
                                                 SIPs.
                                                    h The $613,000 estimate in one-time costs is based on the following calculations: $33,000 (costs under the amendments to Rule 612 to update
                                                 data specifications and internally and externally test the updates) + $167,670 ($83,790 (hourly rate for Sr. Programmer at $399 for 210 hours) +
                                                 $61,740 (hourly rate for Sr. Systems Analyst at $343 for 180 hours) + $7,460 (hourly rate for Compliance Manager at $373 for 20 hours) +
                                                 $5,880 (hourly rate for Director of Compliance at $588 for 10 hours) + $8,800 (hourly rate for Compliance Attorney at $440 for 20 hours) +
                                                 $412,500 (costs for external services). The $174,000 estimate in ongoing costs is based on the following calculations: $50,301 ($25,137 (hourly
                                                 rate for Sr. Programmer at $399 for 63 hours) + $18,522 (hourly rate for Sr. Systems Analyst at $343 for 54 hours) + $2,238 (hourly rate for
                                                 Compliance Manager at $373 for 6 hours) + $1,764 (hourly rate for Director of Compliance at $588 for 3 hours) + $2,640 (hourly rate for Compli-
                                                 ance Attorney at $440 for 6 hours)) + $123,725 (costs for external services). See infra notes 1745, 1747, 1749, and 1750 and accompanying text
                                                 for relevant details on these cost estimates.
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                                                 a. Estimates for Rule 612                                                 similarities with the changes that were                                            as those estimated for the TSP.1634
                                                                                                                           required by the TSP, the Commission
                                                   Each trading venue will have to                                         estimated, in the Proposing Release, that
                                                 update systems to comply with the                                         the amendments to Rule 612 would
                                                 change in tick size for some NMS stocks                                   impose the same costs to trading venues                                              1634 See Proposing Release, supra note 11, at

                                                 under the Rule 612 amendments. Due to                                                                                                                        80333.



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                                                 These costs were estimated at $140,000                  estimated costs from $140,000 to                           would require both internal and
                                                 in 2014 at the time of the TSP.1635                     $156,000 per trading venue.1639 As                         external testing by the primary listing
                                                    Some commenters stated that the                      shown in table 15, the Commission                          exchange and the SIPs.1642 Commenters
                                                 $140,000 estimated cost to trading                      estimates that the compliance costs                        stated that modifications to data
                                                 venues in the proposal was too low                      associated with the amendments of Rule                     specifications require software changes
                                                 because exchanges would have to                         612 across all trading venues are $43                      and require testing.1643 The Commission
                                                 acquire additional hardware and update                  million. This estimate is computed by                      anticipates that the SIPs will not have
                                                 various systems.1636 These commenters                   multiplying an estimated $156,000 in                       to acquire additional hardware or
                                                 did not provide alternative estimates for               one-time costs incurred by each trading                    develop new systems in order to
                                                 the implementation costs. As discussed                  venue to update systems to comply with                     incorporate the minimum pricing
                                                 in the Proposing Release, this $140,000                 the amendments to Rule 612, by the                         increment indicator; they will rather
                                                 estimate is derived from exchange                       estimated number of trading venues,                        need to update existing specifications.
                                                 feedback on the costs associated with                   which is 277 trading venues.1640                           The Commission expects that the
                                                 the TSP.1637 This estimate                                 Under the amendments to Rule 612,                       amendments to Rule 612 will require a
                                                 acknowledges that the market                            listing exchanges will have to calculate                   one-time cost for updating existing
                                                 participants may have hardware and                      NMS stocks’ time weighted average                          systems and will not increase the cost
                                                 system costs associated with the                        quoted spreads and transmit their                          of becoming a competing consolidator
                                                 amendments. Given that those hardware                   associated tick size to the exclusive                      once the MDI Rules are implemented,
                                                 and system changes are similar in                       SIPs. The Commission does not believe                      because the amendments are not
                                                 nature to those associated with the TSP,                the reduction in the number of tick sizes                  expected to increase the cost of
                                                 and the commenters did not provide                      relative to the proposal will                              establishing new systems. Accordingly,
                                                 analysis to the contrary, the                           significantly affect compliance costs                      the Commission estimates a one-time
                                                 Commission continues to believe that                    since the TWAQS still needs to be                          cost of $13,000 1644 and ongoing costs of
                                                 this estimate is reasonable. One                        calculated for each stock and assigning                    $9,000 per year 1645 for the two SIPs.
                                                 commenter suggested that the costs of                   a stock to a tick size is not                                 These estimates are based on the
                                                 processing and disseminating trading                    computationally or conceptually                            Commission’s understanding that the
                                                 information may increase linearly with                  difficult once the TWAQS has been                          listing exchanges currently have access
                                                 any increases in message traffic.1638                   computed. Thus, the Commission is                          to the data needed to calculate the time
                                                 However, estimating the costs in this                   keeping the estimate for listing                           weighted average quoted spreads
                                                 manner is not possible as the                           exchanges the same at $33,000 per                          because such data, specifically the
                                                 Commission does not know the current                    listing exchange. 1641                                     NBBO, are needed for the exchanges to
                                                 costs incurred by exchanges in                             Commenters stated that modifications                    compile Rule 605 reports.1646 Thus, the
                                                 processing and disseminating trading                    to the data specifications with regards to                 Commission does not expect that the
                                                 information, is unaware of data sources                 transferring the tick size information                     exchanges will incur additional costs
                                                 that could provide reliable estimates,                  from the listing exchanges to the SIPs                     associated with gathering data.
                                                 and commenters did not provide such                                                                                Additionally, the listing exchanges have
                                                 information. As discussed in section                       1639 The Commission has updated the expected
                                                                                                                                                                    experience computing a share-weighted
                                                 VII.D.1.c, the Commission                               costs to $156,000 from $140,000 to reflect the
                                                                                                         roughly 11.4% increase in the Producer Price Index
                                                                                                                                                                    measure of average quoted spreads for
                                                 acknowledges that message traffic may                   for Data Processing, Hosting and Related Services          their Rule 605 reports.1647 The listing
                                                 increase due to the amendments to Rule                  from December 2014, when the $140,000 estimate
                                                 612, and so the costs of processing and                 was first made. See U.S. Bureau of Labor Statistics,          1642 See generally CTA–UTP Operating
                                                                                                         Producer Price Index by Industry: Data Processing,         Committee Letter and FIF Letter.
                                                 disseminating message traffic may                       Hosting and Related Services: Hosting, Active                 1643 Id.
                                                 similarly increase. There is, however,                  Server Pages (ASP), and Other Information                     1644 The $13,000 estimate per listing exchange is
                                                 uncertainty as to whether exchanges                     Technology (IT) Infrastructure Provisioning Services
                                                                                                                                                                    based on the following calculations: $4,788 (hourly
                                                 will need to incur additional hardware                  [PCU5182105182105] (Mar 11, 2024, retrieved from
                                                                                                                                                                    rate for Sr. Programmer at $399 for 12 hours) +
                                                                                                         FRED, Federal Reserve Bank of St. Louis, available
                                                 investments, and the degree of such                     at https://fred.stlouisfed.org/series/
                                                                                                                                                                    $1,715 (hourly rate for Sr. Systems Analyst at $343
                                                 investments, if they are needed, will                                                                              for 5 hours) + $3,730 (hourly rate for Compliance
                                                                                                         PCU5182105182105.
                                                                                                                                                                    Manager at $373 for 10 hours) + $2,940 (hourly rate
                                                 likely differ from exchange to exchange,                   1640 The technical aspect of a broker-dealer that
                                                                                                                                                                    for Director of Compliance at $588 for 5 hour)
                                                 as it would depend on the capacity of                   internalizes customer orders updating its system to
                                                                                                                                                                    $13,000. Salaries for estimates in this section are
                                                 their existing infrastructure to handle                 reflect the tiered tick regime is likely similar to that
                                                                                                                                                                    derived from SIFMA’s Management & Professional
                                                                                                         of an exchange or an ATS. Thus, the Commission
                                                 increased data.                                         is applying the same cost estimate for wholesalers
                                                                                                                                                                    Earnings in the Securities Industry 2013, modified
                                                    To account for likely increases in the                                                                          to account for an 1,800-hour work-year and
                                                                                                         and other broker-dealers that execute customer
                                                                                                                                                                    inflation, and multiplied by 5.35 to account for
                                                 costs of computer hardware since 2014,                  orders to update their systems as that applied to
                                                                                                                                                                    bonuses, firm size, employee benefits and overhead.
                                                 the Commission is revising the                          exchanges and ATSs. In Q1 2023 there were 16                  1645 The $9,000 estimate per listing exchange is
                                                                                                         registered exchanges, 33 ATSs, and 228 other
                                                                                                         FINRA members (including wholesalers) that                 based on the following calculations: ($2,640 (hourly
                                                   1635 An exchange commenting on the Tick Size
                                                                                                         executed orders off-exchange. In the first quarter of      rate for Compliance Attorney at $440 for 6 hours)
                                                 Pilot estimated $140,000 as its expected expense to     2023, there were 277 total entities affected. See Rule     + $746 (hourly rate for Compliance Manager at $373
                                                 comply with the Tick Size Pilot’s requirement to        605 Amendments, supra note 10, at 26542.                   for 2 hours)) × 4 tick size revisions per year) $9,000.
                                                 change the tick size for some stocks. See James G.         1641 The $33,000 estimate per listing exchange is
                                                                                                                                                                       1646 See, e.g., 17 CFR 242.605(a)(ii)(E), requiring
                                                 Ongena, Chicago Stock Exchange (CHX), Comment           based on the following calculations: $19,950               the reporting of the number of shares executed with
                                                 Letter Re: File No. 4–657; Notice of Filing of the      (hourly rate for Sr. Programmer at $399 for 50             price improvement, and 17 CFR 600(b)(36) defining
                                                 Proposed National Market System Plan to                 hours) + $6,860 (hourly rate for Sr. Systems Analyst       ‘‘executed with price improvement’’ to mean, for
                                                 Implement a Tick Size Pilot Program On a One-Year                                                                  buy orders, execution at a price lower than the
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                                                                                                         at $343 for 20 hours) + $3,730 (hourly rate for
                                                 Pilot Basis (Dec. 2014), available at https://          Compliance Manager at $373 for 10 hours) + $2,940          national best offer at the time of order receipt and,
                                                 www.sec.gov/comments/4-657/4657-67.pdf.                 (hourly rate for Director of Compliance at $588 for        for sell orders, execution at a price higher than the
                                                   1636 See FIF Letter at 9–10 and FISD Letter at 3.
                                                                                                         5 hour) ≈ $33,000. Salaries for estimates in this          national best bid at the time of order receipt.
                                                   1637 See Proposing Release, supra note 11, at                                                                       1647 See, e.g., 17 CFR 242.605(a)(ii)(A), requiring
                                                                                                         section are derived from SIFMA’s Management &
                                                 80333 n.618 and surrounding text.                       Professional Earnings in the Securities Industry           the reporting of the average quoted spread for
                                                   1638 See FIF Letter at 9 (‘‘Some FIF members          2013, modified to account for an 1,800-hour work-          executions of covered orders, and 17 CFR
                                                 would estimate that the increased server,               year and inflation, and multiplied by 5.35 to              600(b)(12), defining the average quoted spread as
                                                 bandwidth and other costs would be roughly              account for bonuses, firm size, employee benefits          the share-weighted average of the difference
                                                 proportional to the increase in message traffic’’).     and overhead.                                              between the national best offer and the national best



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                                                 exchanges also already have                             the proposed amendments to Rule 612                    broker-dealers already have systems that
                                                 connections to the exclusive SIPs, and                  would necessitate additional expenses                  can adjust for tick sizes that change
                                                 once competing consolidators replace                    in order to update ‘‘their order                       around the $1.00 threshold. Thus, the
                                                 the exclusive SIPs it is the competing                  management, execution management,                      Commission expects that they will
                                                 consolidators that will have the                        customer trading, middle-office trade                  modify existing systems rather than
                                                 responsibility to connect to the                        processing, reporting, settlement,                     build new systems. Any broker-dealer
                                                 exchanges in order to receive data.                     surveillance and compliance                            that will need to build new systems will
                                                 Thus, under the MDI Rules the                           systems.’’ 1652 In the Proposing Release,              likely incur costs greater than $11,000 to
                                                 exchanges will not incur additional                     when the Commission estimated the                      do so. One commenter stated that
                                                 costs to connect to the competing                       cost of a broker-dealer system change at               significant system changes and
                                                 consolidators.1648 Additionally, the SIPs               $11,000, it assumed that a single system               hardware costs would also be required
                                                 have experience distributing regulatory                 change would be needed in response to                  by broker-dealers operating smart order
                                                 data and so the costs represent those of                the Rule 612 amendments.1653 In light                  routers due to an increase in message
                                                 adding the tick size to existing data.                  of the various functions described by                  traffic.1658 The Commission
                                                 Consequently, the Commission expects                    the commenter which would need to be                   acknowledges that the one-time costs to
                                                 that having the listing exchange                        updated, the Commission is revising the                broker-dealers operating smart order
                                                 compute time weighted average quoted                    estimated one-time cost to broker-                     routers may be greater than estimated if
                                                 spreads and transmit the associated tick                dealers to $33,000 per broker-dealer                   additional hardware investment will be
                                                 to the exclusive SIPs currently, or to the              with an order-entry system as reported                 required.1659
                                                 competing consolidators once the                        in table 15.1654 The revised estimate                     The Commission estimates an upper
                                                 exclusive SIPs are discontinued, will                   stems from the expectation that broker-                bound of 270 broker-dealers operating
                                                 require listing exchanges to modify                     dealers are more likely to have to                     smart order routers.1660 This number
                                                 existing systems, rather than build or                  undertake three system changes, rather                 provides an upper bound as it assumes
                                                 acquire new systems or hardware.                        than one,1655 although the Commission                  that all entities with direct connections
                                                   The Commission expects that broker-                   recognizes that these costs could be                   to exchanges or ATSs use a smart order
                                                 dealers with order entry systems will                   greater if additional hardware                         router, which is likely an over-estimate.
                                                 need to modify their existing systems to                investment is needed.                                  Aside from potential additional costs
                                                 comply with the tick size changes and                      The Commission estimates that there                 due to increased message traffic, the
                                                 will not need to acquire new hardware                   are 1,161 broker-dealers with order                    Commission thus estimates a one-time
                                                 or develop new systems for this specific                entry systems.1656 Thus, the                           cost of $3.0 million (i.e., $3.0 million ≈
                                                 aspect of the adopted rule. In the                      Commission estimates that the                          $11,000 × 270) for market participants to
                                                 Proposing Release, the Commission had                   amendments will lead to a one-time                     update smart order routers.1661 If fewer
                                                 estimated the cost of a broker-dealer                   aggregate cost of around $38.5 million                 than 270 broker-dealers operate their
                                                 system change at $11,000.1649 One                       (i.e., $38.5 million ≈ $33,000 × 1,161)                own smart order routers, then the $3.0
                                                 commenter stated that for most firms a                  across broker-dealers with order entry                 million estimate is likely higher than
                                                 significant technological build will not                systems to update their systems to                     the aggregate cost for these broker-
                                                 be needed,1650 other commenters stated                  account for the new tick sizes.                        dealers to adjust their order routing
                                                 that broker-dealers would have to                          The Commission expects that broker-                 systems to comply with these
                                                 undertake significant systems work, or                  dealers with smart order routers will                  amendments.
                                                 acquire additional hardware, as a result                also need to modify their existing                        Further, the Commission believes that
                                                                                                         systems to comply with the tick size                   broker-dealers operating smart order
                                                 of the amendments to Rule 612,
                                                                                                         changes and will not need to acquire                   routers already subscribe to SIP data
                                                 specifically if there is a significant
                                                                                                         new hardware or develop new systems.                   and will subscribe to consolidated
                                                 increase in message traffic.1651 The
                                                                                                         The Commission estimates a one-time                    market data products once the
                                                 message traffic implications and costs
                                                                                                         cost of $11,000 to broker-dealers                      competing consolidators become
                                                 are discussed in section VII.D.1.c. This
                                                                                                         operating smart order routers.1657 These               operative. Thus, they will not incur a
                                                 section deals specifically with
                                                                                                                                                                separate data expense to receive the
                                                 modifications to broker-dealer order
                                                                                                           1652 See FIF Letter at 9.                            regulatory messages necessary to
                                                 entry systems.
                                                                                                            1653 See Proposing Release, supra note 11, at       comply with Rule 612 amendments. The
                                                   One commenter stated that the
                                                                                                         80332.                                                 Commission also assumes that system
                                                 $11,000 estimate was too low because                       1654 See table 15 note d.
                                                                                                                                                                updates will impose a similar cost on
                                                                                                            1655 The Commission believes that the order
                                                 bid at the time of order receipt or, for order
                                                                                                                                                                larger and smaller entities given that,
                                                                                                         management, execution management, and customer         once code is written, scaling it up is
                                                 executions of midpoint-or-better limit orders, the      trading functions highlighted by the commenter are
                                                 difference between the national best offer and the      sufficiently similar to be covered under a single      relatively inexpensive.
                                                 national best bid at the time such orders first         system change. The middle-office trade processing,
                                                 become executable. Additionally, some listing           reporting, and settlement functions constitute         Adopting Release’’) at 5274 n.796 where the cost to
                                                 exchanges have issued white papers that include         another system change. Surveillance and                broker-dealers to update systems for the TSP was
                                                 statistics based on time weighted average quoted        compliance systems constitute a third system           estimated to be $9,000. Here, we are allowing for
                                                 spreads. See, e.g., Nasdaq Intelligent Tick, supra      change.                                                an additional 10 hours of Programmer Analyst time.
                                                 note 150, Chart 3 and Cboe Proposal, supra note            1656 Using CAT data from December 2023, the           1658 See FIF Letter at 9.
                                                 150, Exhibit 1.                                         Commission calculated the total number of unique         1659 See supra section VII.D.1.c for additional
                                                   1648 See MDI Adopting Release, supra note 10, at
                                                                                                         Central Registration Depository Numeric Identifiers    discussion about costs to market participants
                                                 18612 n.1133 and surrounding text. The costs for        ‘‘CRDs’’ that originated an order to estimate the      stemming from increases in message traffic.
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                                                 the competing consolidators to connect to the           number of entities with an order entry system.           1660 This number is estimated by counting the
                                                 exchanges is accounted for in the MDI Rules and            1657 The $11,000 estimate per broker-dealers with   number of unique CRDs that submitted an order
                                                 thus would not represent costs associated with this     smart order routers is based on the following          directly to an exchange or ATS in the month of
                                                 proposal.                                               Manager at $298 for 10 hours) + $4,640 (hourly rate    December 2023.
                                                   1649 See Proposing Release, supra note 11, at
                                                                                                         for Programmer Analyst at $232 for 20 hours) +           1661 The Commission also expects there may be
                                                 80332–34.                                               $1,325 (hourly rate for Senior Business Analyst at     other costs associated with updating systems to
                                                   1650 See Apex Letter at 15.
                                                                                                         $265 for 5 hours) ≈ $11,000. See also Securities       account for an increase in message traffic resulting
                                                   1651 See FIF Letter at 9, TradeStation Letter at 6,   Exchange Act Release No. 84875 (Dec 19, 2018), 84      from the new tick sizes. See supra section VII.D.1.c
                                                 Citigroup Letter at 2, and FISD Letter at 3.            FR 5202 (Feb 20, 2019) (‘‘Transaction Fee Pilot        for additional discussion.



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                                                    Lastly, the Commission recognizes                      which customer confusion causes these                    chose to become competing
                                                 that Rule 612 amendments could                            costs to materialize, the Commission                     consolidators. The addition of the best
                                                 increase the overall implementation                       would expect that these costs would                      odd-lot order to the SIP data was not
                                                 costs of the MDI Rules. In particular,                    likely be greater in the time immediately                part of the MDI Rules and will thus be
                                                 stocks that will become less tick-                        following the implementation of the                      a new cost under the amendments.
                                                 constrained as a result of the smaller                    amendments, and they would decrease                      Accordingly, the discussion below
                                                 tick size following these amendments                      over time as investors become                            distinguishes costs to the exclusive SIPs
                                                 could have more odd-lot quotes inside                     accustomed to the new tick size regime.                  in terms of those included in the MDI
                                                 the NBBO than anticipated when the                                                                                 Rules and new costs from these
                                                                                                           b. Estimates for Rule 610
                                                 Commission adopted the MDI Rules.1662                                                                              amendments.
                                                 As a result, the costs to SROs and                           As in the Proposing Release, the                         The Commission estimates a one-time
                                                 competing consolidators of collecting,                    Commission estimates a $57,000 one-                      cost of $3,500 and ongoing costs of
                                                 transmitting, consolidating, and                          time cost to exchanges to comply with                    $6,500 per year for at least two years for
                                                 disseminating odd-lot information will                    changes to Rule 610.1666 This estimate                   exchanges to comply with the
                                                 be greater than those described in the                    assumes that exchanges will combine in                   amendments to Rules 603 and 600.1668
                                                 MDI Rules. The Commission is unable                       the same Rule 19b–4 filing their                         This estimate accounts for the
                                                 to provide an estimate of this cost                       proposals to amend their fees and                        acceleration of the necessary data to
                                                 because it would require predicting a                     rebates and make fees and rebates                        generate the odd-lot information,
                                                 complex interaction between behavior                      determinable at the time of execution,                   including the best odd-lot order, and
                                                 changes from multiple types of market                     and that this process will not increase                  transmit this information to the
                                                 participants and the resulting effect on                  the cost of those filings. The                           exclusive SIPs. The costs reported here
                                                 the number of ticks inside the NBBO                       Commission recognizes that if these                      account for an increase in the costs
                                                 and the volume of odd-lots submitted                      filings are not efficiently combined,                    associated with the MDI Rules that will
                                                 inside the NBBO. However, the cost                        then the costs to exchanges could be                     require the exchanges to transmit to
                                                 increase may not be significant, because                  higher than $57,000. The Commission                      competing consolidators all of the data
                                                 the Commission generally estimates that                   estimates also assume that LTSE will                     necessary for generating consolidated
                                                 the infrastructure cost increases                         not file a proposed rule change with the                 market data.
                                                 associated with an increase in message                    Commission because it does not                              Consequently, for the exchanges, the
                                                 traffic from the amendments to be                         currently charge access fees or offer                    costs associated with providing the
                                                 approximately 1%.1663                                     rebates, but that the other 15 exchanges                 exclusive SIPs with odd-lot information
                                                    Multiple commenters stated that                        will file proposed rule changes. If so,                  will represent an acceleration of costs
                                                 many broker-dealers, particularly those                   these amendments will lead to an                         anticipated in the MDI Rules rather than
                                                 with retail customers, would have to                      estimated one-time total cost of                         new costs, with a few differences. First,
                                                 incur additional costs for investor                       $855,000 across exchanges to comply                      the odd-lot information will be
                                                 education and customer assistance in                      with Rule 610.1667                                       transmitted to the exclusive SIPs as
                                                 order to handle any investor confusion                    c. Estimates for Rules 600 and 603                       opposed to the competing consolidators.
                                                 arising from the amendments to Rule                                                                                Second, the ongoing costs of these
                                                 612.1664 One commenter specifically                          The exclusive SIPs and exchanges                      amendments will be incurred only until
                                                 mentioned that the amendments to Rule                     will incur compliance costs associated                   the exclusive SIPs are retired, which the
                                                 612 would complicate ‘‘good-til-                          with accelerating the inclusion of odd-                  Commission estimates will be at least
                                                 cancelled’’ orders (‘‘GTC orders’’) as the                lot data inside the NBBO in SIP data,                    two years after the Commission’s
                                                 orders could be placed under one tick                     adding the BOLO to SIP data, and                         approval of the plan amendment(s)
                                                 size and could still be active after a tick               accelerating the implementation of the                   required by Rule 614(e).
                                                 size change.1665 This scenario is                         round lot definitions as amended in this                    Compliance with the amendments to
                                                 unlikely given that there will be a                       release. The round lot definitions (but                  Rules 603 and 600 will require the
                                                 period of one-month between end of the                    for amendments to them in this release)                  exclusive SIPs to develop, operate, and
                                                 evaluation period and the tick size                       and the inclusion of odd-lot data inside                 maintain systems to collect and
                                                 implementation during which market                        the NBBO were both parts of the MDI                      disseminate the odd-lot information
                                                 participants will be able to know which                   Rules. Thus, the amendments will                         inside the NBBO as well as the best odd-
                                                 stocks will be changing their tick size.                  accelerate the compliance costs                          lot order. The Commission expects that
                                                 For an issue to arise, the GTC order                      associated with these aspects of the MDI                 these costs will primarily consist of
                                                 would have to be in place over the                        Rules. One difference is that the MDI                    costs that an exclusive SIP would incur
                                                 course of that month and the trader                       Rules anticipated that these changes to                  if it were to convert to a competing
                                                 would have to be unaware of the                           NMS data would occur after the                           consolidator. Thus, for exclusive SIPs
                                                 upcoming tick size change. Retail facing                  competing consolidator model was up                      that would have become competing
                                                 broker-dealers will likely implement                      and running. Thus, the MDI Rules did                     consolidators in the absence of these
                                                 some method of notifying their                            not anticipate that the exclusive SIPs                   amendments, initial compliance costs
                                                 customers that the tick size for some                     would incur such costs unless they
                                                 stocks will change following the end of                                                                               1668 In the MDI Adopting Release, supra note 10,
                                                                                                             1666 See Proposing Release, supra note 11, at
                                                 the evaluation period. To the extent to                                                                            at 18764, the Commission estimated costs to the
                                                                                                           80333.                                                   exchanges of collecting and transmitting the
                                                                                                              1667 The Commission does not expect other             necessary information to the competing
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                                                   1662 This is a result of a smaller tick size allowing
                                                                                                           market participants to incur significant incremental     consolidators to be approximately $70,000 in one-
                                                 liquidity to spread over more levels, reducing the        costs associated with the change in the access fees      time costs and approximately $130,000 in ongoing
                                                 depth at each level and could increase the number         and rebates. As shown in table 4, market                 costs. The additional $3,500 in one-time costs and
                                                 of odd-lot quotes at each level. See supra section        participants deal with over 100 fee changes per year     $6,500 in ongoing costs represent a 5% addition
                                                 VII.D.1.b for additional discussion.                      across all exchanges and thus it reasonable to           over the costs in the MDI release to account for the
                                                    1663 See supra note 1334 and accompanying text.
                                                                                                           expect that one fee change by the exchanges to           new requirement to send the necessary data to
                                                    1664 See, e.g., FISD Letter at 2, TastyTrade Letter
                                                                                                           bring their fees into compliance with these              generate odd-lot information to the exclusive SIPs
                                                 at 19, and TradeStation Letter at 6.                      amendments would represent an economically               (i.e., $3,500 ≈ $70,000 × 0.05 and $6,500 ≈ $130,000
                                                    1665 See TradeStation Letter at 6.                     trivial incremental cost to these market participants.   × 0.05). See infra note 1841 and accompanying text.



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                                                 represent an acceleration of costs under                consolidator, thereby lowering their                  605 Proposal has been adopted.1674
                                                 the MDI Rules, rather than new                          subsequent cost of becoming a                         Because the amendments to Rule 605
                                                 additional costs. Further, the ongoing                  competing consolidator. In this context,              were not yet adopted at the time of the
                                                 costs for exclusive SIPs to comply with                 the Commission continues to expect                    Proposing Release and were thus not a
                                                 Rules 600 and 603 will be incurred only                 that the exclusive SIPs will become                   part of the baseline in the Proposing
                                                 until the exclusive SIPs are retired, after             competing consolidators, and the                      Release,1675 the economic effects
                                                 which time these costs will consist of                  estimated costs in table 15 largely                   described in the Proposing Release may
                                                 ongoing costs that were previously                      represent costs that the exclusive SIPs               differ from those described here to the
                                                 accounted for in the MDI Rules. The                     would have borne in the process of                    extent those effects change due to the
                                                 Commission estimates that the exclusive                 becoming competing consolidators.                     amendments to Rule 605. Below, we
                                                 SIPs will incur a one-time cost of                        The Commission recognizes that the                  discuss specific impacts the
                                                 approximatively $613,000 and ongoing                    amendment to Rule 600 could increase                  amendments to Rule 605, which is now
                                                 costs of approximatively $174,000 per                   the initial costs of becoming a                       part of the baseline, may have on the
                                                 year.1669                                               competing consolidator as well as the                 expected economic effects of the final
                                                    The Commission recognizes some                       ongoing costs of competing                            rules compared to description of those
                                                 uncertainty in the assumption that                      consolidators, but the Commission                     effects in the Proposing Release, as well
                                                 exclusive SIPs will become competing                    believes that such costs are already                  as the impact the final rules may have
                                                 consolidators. If one or both exclusive                 accounted for in the MDI Rules.1671 In                on the effects of amended Rule 605. In
                                                 SIPs are not planning to become                         particular, competing consolidators                   response to comments, we also consider
                                                 competing consolidators under the MDI                   could incur additional compliance costs               whether the amended Rule 605 data is
                                                 Rules, and the amendments do not                        to estimate and disseminate the best                  needed to assess the impact of the final
                                                 change their plans, then the estimated                  odd-lot order. To the extent such costs               rules. Overall, the inclusion of the
                                                 initial and ongoing costs in table 15                   are not accounted for in the MDI Rules,               amendments to Rule 605 in the baseline
                                                 represent new costs associated with the                 they will likely be a small fraction of the           does not significantly change the costs
                                                 amendments. If the amendments were to                   compliance costs of including odd-lot                 and benefits of the final rules, and the
                                                 prompt one or both exclusive SIPs to                    information in SIP data stated above.                 final rules adopted herein have
                                                 become competing consolidators, when                    Indeed, the competing consolidators                   significant benefits even taking into
                                                 they otherwise would not have done so,                  will already have the information                     account the adopted amendments to
                                                 then the costs in table 15 underestimate                necessary to calculate the BOLO, so                   Rule 605 as part of the baseline.
                                                 the total costs of these SIPs becoming                  most of the cost incurred under the
                                                 competing consolidators. In the MDI                                                                           i. Impact of Amended Rule 605 on the
                                                                                                         amendment to Rule 600 will be the
                                                 Rules, however, the Commission                                                                                Final Rules
                                                                                                         initial cost of coding the information
                                                 anticipated that both exchanges                         and the cost of processing and                          First, the Commission considers
                                                 operating exclusive SIPs would have                     monitoring that code in real time.                    whether the amendments to Rule 605,
                                                 strong incentives to enter the competing                                                                      which are now part of the baseline, may
                                                 consolidator market.1670 The                            6. Interactions With Recently Adopted                 have affected certain benefits of the final
                                                 amendments require that the exclusive                   Rules                                                 rules compared to how those benefits
                                                 SIPs build out the capacity to                             The Commission acknowledges that                   were described in the Proposing
                                                 disseminate aspects of the data required                the effects of any final rule may be                  Release. Some commenters stated that
                                                 by the MDI Rules. This could increase                   impacted by recently adopted rules that               the four EMS Proposals, including the
                                                 the likelihood that the exclusive SIPs                  precede it. Accordingly, each economic                amendments to Rule 605 and these final
                                                 will choose to become competing                         analysis in each adopting release                     rules, have similar objectives, such that
                                                 consolidators because they will already                 considers an updated economic baseline                the benefits of each rule may be
                                                 have implemented some of the                            that incorporates any new regulatory                  overlapping, and that therefore each
                                                 technology needed to comply with the                    requirements, including compliance                    successive rule would have fewer
                                                 requirements of a competing                             costs, at the time of each adoption, and              benefits than were described in each
                                                   1669 The $613,000 estimate in one-time costs is
                                                                                                         considers the incremental new benefits                proposing release.1676 However, the
                                                 based on the following calculations: $33,000 (costs     and incremental new costs over those
                                                 under the amendments to Rule 612 to update data         already resulting from the preceding                    1674 See Rule 605 Amendments, supra note 10.
                                                                                                                                                                 1675 See supra note 1672.
                                                 specifications and internally and externally test the   rules. We discuss below economic
                                                 updates; see supra note 1651, see also section          effects stemming from interactions
                                                                                                                                                                  1676 See, e.g., Virtu Letter II at 55–56 (stating ‘‘that

                                                 VII.D.5.a) + $167,670 ($83,790 (hourly rate for Sr.                                                           the proposals are designed to accomplish the same
                                                 Programmer at $399 for 210 hours) + $61,740             between the final rule and other                      overarching goals,’’ that ‘‘each rule ignores the
                                                 (hourly rate for Sr. Systems Analyst at $343 for 180    recently adopted rules.1672                           possibility that the other three rules may already
                                                 hours) + $7,460 (hourly rate for Compliance                                                                   address the Commission’s concerns,’’ that ‘‘the
                                                 Manager at $373 for 20 hours) + $5,880 (hourly rate     a. Amendments to Rule 605                             expected benefit the Commission believes its rules
                                                 for Director of Compliance at $588 for 10 hours) +                                                            will achieve is overlapping,’’ and that an important
                                                 $8,800 (hourly rate for Compliance Attorney at $440       Commenters have specifically                        policymaking question that arises from these
                                                 for 20 hours) + $412,500 (costs for external            questioned the Commission’s analysis of               overlapping objectives is whether ‘‘the estimated
                                                 services). The $174,000 estimate in ongoing costs is    interactions between the four EMS                     benefits [are] purely additive’’) see also SIFMA
                                                 based on the following calculations: $50,301            Proposals,1673 of which only the Rule                 Letter II at 100 (stating that ‘‘the Proposed Rules
                                                 ($25,137 (hourly rate for Sr. Programmer at $399 for                                                          may, each individually, largely affect the same
                                                 63 hours) + $18,522 (hourly rate for Sr. Systems                                                              aspects of equity markets, including the economics
                                                                                                           1671 See supra section VII.D.5 for further
                                                 Analyst at $343 for 54 hours) + $2,238 (hourly rate                                                           of liquidity provision, spreads (particularly for
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                                                 for Compliance Manager at $373 for 6 hours) +           discussion of how or whether this requirement         retail investors), and costs (particularly for
                                                 $1,764 (hourly rate for Director of Compliance at       would alter the compliance costs of competing         wholesalers)’’); Virtu Letter II at 20 (stating that, if
                                                 $588 for 3 hours) + $2,640 (hourly rate for             consolidators.                                        any of the other rules (including Rule 605) are
                                                 Compliance Attorney at $440 for 6 hours)) +               1672 As explained above, the Commission
                                                                                                                                                               successful at achieving their stated purpose,
                                                 $123,725 (costs for external services). See infra       considers recently adopted rules, but not recent      ‘‘competition would be enhanced without the
                                                 notes 1830, 1832, 1834 and 1835 and accompanying        proposals, as part of its baseline against which it   Proposed [Tick Size] Rule (and its significant risks
                                                 text for relevant details on these cost estimates.      measures the economic effects of its rules. See       and costs) and the claimed benefits of the Proposed
                                                   1670 See MDI Adopting Release, supra note 10, at      supra section VII.C and notes 1034 and 1047.          Rule are overstated’’); Virtu Letter III at 2 (stating
                                                 18761.                                                    1673 See supra section II for further discussion.                                                    Continued




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                                                 final rules address different and                       broker-dealers base their order routing                605 reporting requirements only require
                                                 significant issues in the national market               decisions more on execution quality as                 reporting by larger broker-dealers; while
                                                 system distinct from those addressed in                 a result of the final rules, the improved              these broker-dealers handle the vast
                                                 Rule 605.1677 The final rules have                      access to market center execution                      majority of customer accounts, they
                                                 benefits, such as certain improvements                  quality information under amended                      only handle around 60% of customer
                                                 in market quality for stocks that receive               Rule 605 will help facilitate those                    order flow in terms of number of
                                                 a smaller tick size, lower trading costs                decisions.1683                                         orders.1688 Therefore, the amendments
                                                 for liquidity demanders in certain stocks                  The adopted amendments to Rule 605                  to Rule 605 are not expected to directly
                                                 that experience a reduction in their                    may also, in certain circumstances,                    impact customer order routing decisions
                                                 access fees, and increased transparency                 cause the benefits of the final rules                  for a significant subset of order flow,1689
                                                 and reduced complexity of exchange                      stemming from transparency to be                       such that the final rules lowering the
                                                 access fees and rebates, that are distinct              somewhat lower than those described in                 access fee cap and increasing the
                                                 from the benefits resulting from the                    the Proposing Release; however, the                    transparency of exchange fees and
                                                 amendments to Rule 605 and could not                    Commission expects these impacts to be                 rebates are still expected to have
                                                 conceivably have been achieved through                  minor. Specifically, in the Rule 605                   additional benefits above and beyond
                                                 the amendments to Rule 605.1678 While,                  Amendments, the Commission                             those of the amendments to Rule 605.
                                                 as one commenter stated,1679 both rules                 anticipated that the increase in                          Third, the Commission anticipated
                                                 may improve competition, the issues                     transparency and competition on the                    that the amendments to Rule 605, by
                                                 being addressed in these final rules and                basis of execution quality as a result of              expanding the scope of covered orders
                                                 in the amendments to Rule 605, and the                  the amendments to Rule 605 might                       to include odd-lots, would encourage
                                                 mechanisms used to address them,                        make broker-dealers less likely to route               broker-dealers to compete for these
                                                 differ significantly, making these                      customer orders based on exchange fees                 orders on the basis of execution
                                                 benefits additive rather than                           and rebates.1684 At the same time, the                 quality.1690 The final rule’s requirement
                                                 overlapping. For example, the                           amendments to Rule 610 that would                      that the exclusive SIPs disseminate odd-
                                                 amendments to Rule 605 will increase                    make fees and rebates determinable at                  lot data1691 is expected to accelerate the
                                                 competition among trading venues                        the time of execution are expected to                  benefits of accelerating the
                                                 through greater transparency,1680 while                 reduce broker-dealer conflicts of interest             implementation of including odd-lot
                                                 these final rules will increase                         related to fees and rebates.1685 Likewise,             information in NMS data,1692 which
                                                 competition between orders on trading                   the lower access fee cap is also expected              may include facilitating better execution
                                                 venues in some stocks by removing                       to reduce broker-dealer conflicts of                   quality for these orders by broker-
                                                 barriers to sub-penny quoting. Both of                  interest.1686 If the amendments to Rule                dealers who newly have access to
                                                 these competitive effects are expected to               605 result in exchange fees and rebates                information about odd-lots.1693 To the
                                                 improve execution quality, but through                  becoming less important for broker-                    extent that the increase in competition
                                                 different mechanisms and                                dealer customers’ order routing                        for odd-lot execution quality under
                                                 independently of one another.                           decisions, the benefits resulting from a               amended Rule 605 has already
                                                    In addition, the adoption of the                     reduction in conflicts of interest under               incentivized broker-dealers to increase
                                                 amendments to Rule 605 may, to some                     the final rules—caused by reducing the                 their usage of existing sources of odd-lot
                                                 extent, enhance certain benefits of the                 access fee cap and increasing the                      data (such as proprietary data feeds) in
                                                 final rules compared to the benefits                    transparency of exchange fees and                      routing decisions, this would reduce the
                                                 described in the Proposing Release.                     rebates—may be reduced compared to                     number of broker-dealers without pre-
                                                 Specifically, the final rules are expected              how they were described in the                         existing access to odd-lot information
                                                 to increase the extent to which broker-                 Proposing Release. However, this                       and thus may reduce the benefits from
                                                 dealers make decisions based on                         reduction in benefits, compared to the
                                                 execution quality.1681 At the same time,                Proposing Release, is likely to be minor,              the scope of Rule 605 reporting requirements. See
                                                 the amendments to Rule 605 improve                      for several reasons, and the Commission                Rule 605 Amendments, supra note 10, at 26514.
                                                                                                                                                                   1688 The Rule 605 Amendments estimated that
                                                 broker-dealers’ access to information                   still expects the benefits described
                                                                                                                                                                only 85 out of 1,245 broker-dealers with at least one
                                                 about the execution quality of market                   above, in comparison to the baseline, to               customer account would qualify as a larger broker-
                                                 centers.1682 Thus, to the extent that                   be realized. First, not all orders are                 dealer and therefore be required to prepare Rule 605
                                                                                                         subject to and directly benefit from                   reports; however, these 85 broker-dealers are
                                                 that the amendments in the Rule 605 Amendments          increased transparency under amended                   responsible for more than 98% of customer
                                                 may ‘‘otherwise address any concerns that formed                                                               accounts and more than 60% of customer orders.
                                                 the impetus for the [EMS] Proposals,’’ including the
                                                                                                         Rule 605.1687 Second, the amended Rule                 See Rule 605 Amendments, supra note 10, at 26428
                                                 Proposing Release).                                                                                            (table 13).
                                                    1677 See supra section II for further discussion.    to compare execution speeds across trading venues         1689 The Rule 605 Amendments acknowledge

                                                    1678 See supra sections VII.D.1.b, VII.D.2, and      and route their orders accordingly. See Rule 605       that, if smaller broker-dealers are also incentivized
                                                 VII.D.3 for further discussion of the benefits of the   Amendments, supra note 10, at 26561.                   to produce execution quality information for their
                                                                                                           1683 See Rule 605 Amendments, supra note 10, at      customers as a result of the expanded scope of Rule
                                                 final rules and supra section VII.C.5 for a
                                                 discussion of the benefits resulting from the           26544–26547 (discussing the impact of the              605 to include larger broker-dealers, the benefits of
                                                 amendments to Rule 605.                                 amendments to Rule 605 on competition between          increased competition could indirectly extend to
                                                    1679 See supra note 1676.                            broker-dealers).                                       smaller broker-dealers as well. See Rule 605
                                                    1680 See Rule 605 Amendments, supra note 10, at        1684 See Rule 605 Amendments, supra note 10, at      Amendments, section IX.C.1.(D)(1), supra note 10,
                                                 26543–75.                                               26586.                                                 at 26428.
                                                                                                           1685 See supra section VII.D.3 for a discussion of      1690 See Rule 605 Amendments, supra note 10, at
                                                    1681 Specifically, the increase in transparency in

                                                 exchange access fees and rebates in the final rules     the economic effects of requiring exchange fees and    26552.
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                                                 is expected to decrease the extent to which broker-     rebates to be determinable at the time of execution.      1691 See 17 CFR 242.603(b)(3) for rule text relating

                                                 dealers’ routing decisions are based on access fees       1686 See supra section VII.D.2 for a discussion of   to this requirement under Rule 603.
                                                 and rebates and increase the extent to which these      the economics effects of reducing the access fee cap      1692 See supra section VII.D.4.c.

                                                 decisions are based on other factors, including the     on conflicts of interest.                                 1693 See supra note 1151 and corresponding text.
                                                 execution quality of market centers See supra             1687 For example, in the Rule 605 Amendments,        See MDI Adopting Release, supra note 10, at 18753,
                                                 section VII.D.3.                                        an analysis of Tick Size Pilot data found that,        stating that ‘‘if a broker-dealer previously did not
                                                    1682 For example, the amendments to Rule 605         between April 2016 and March 2019, approximately       have access to odd-lot information, then a broker-
                                                 increase the granularity of time-to-execution           25% of orders were flagged as having special           dealer receiving the additional information may
                                                 buckets, which will improve broker-dealers’ ability     handling requests, which would exclude them from       help facilitate best execution of its clients’ orders.’’



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                                                 disseminating odd-lot information in                    to the best displayed price, taking into                   One commenter stated that because of
                                                 the SIP as described in the Proposing                   account all available displayed liquidity               the proposed amendments to the
                                                 Release. However, if broker-dealers that                (including odd-lots).                                   definition of ‘‘categorized by order size’’
                                                 rely on odd-lot information from                           In addition, the value of reporting                  in Rule 605,1706 subsequent changes to
                                                 proprietary data feeds are able to reduce               price improvement relative to the best                  the definition of tick sizes and round
                                                 their costs by switching to using odd-lot               displayed price relative to the NBBO,                   lots would ‘‘create customer confusion’’
                                                 information from the SIP,1694 this would                now required by amended Rule 605,1698                   regarding their Rule 605 reporting
                                                 result in benefits even to those broker-                will increase for those stocks for which                requirements.1707 The Commission does
                                                 dealers with pre-existing access to odd-                the reductions in the tick size in the
                                                                                                                                                                 not believe that market centers and
                                                 lot information.1695                                    final rules result in an increase in the
                                                                                                                                                                 brokers-dealers will be confused about
                                                                                                         number of price levels within the
                                                 ii. Impact of the Final Rules on                        spread.1699 If there are more price                     their reporting obligations under
                                                 Amended Rule 605                                        increments within the spread, it is more                amended Rule 605 as a result of the new
                                                    In addition to the impact amended                    likely that the best displayed price will               round lot definition and the new
                                                 Rule 605 may have on the effects of the                 be different from the NBBO. Similarly,                  minimum tick size under the final rules.
                                                 final rules compared to those described                 the availability of a greater number of                 The rule texts for both amended rules
                                                 in the Proposing Release, the                           price increments within the spread                      are clearly stated. Further, the use of
                                                 Commission also considered the                          increases the value of the separate                     notional value in the order size
                                                 reverse, i.e., whether the final rules may              reporting of execution quality                          categories under the adopted
                                                 impact the effects of amended Rule 605                  information for midpoint-or-better                      amendments to Rule 605 will help end
                                                 going forward. Specifically, the final                  NMLOs 1700 because the prevalence of                    users of these reports understand the
                                                 rules will enhance certain benefits and                 these orders is likely to increase.1701                 effect of a change in round lot size for
                                                 reduce certain costs of amended Rule                    Furthermore, if a reduction in the tick                 a security because a notional value
                                                 605. As discussed above, the                            size results in a reduction of depth at                 range will remain constant even if the
                                                 amendments accelerating MDI Rules                       the NBBO, this increases the usefulness                 size of a round lot changes.1708
                                                 related to including information about                  of the recently adopted measures of size
                                                 odd-lots into SIP data will accelerate the              improvement included in amended Rule                    iii. Delaying the Final Rules Until
                                                 realization of the benefits of this                     605 reports.1702 Finally, the final rule                Amended Rule 605 Data are Available
                                                 information.1696 In turn, the MDI Rules                 requiring NMS data to also include
                                                 increase the usefulness of price                                                                                  Third, in response to comments, the
                                                                                                         information on the best priced odd-lot
                                                 improvement statistics included in                                                                              Commission considers whether
                                                                                                         orders across all markets 1703 will
                                                 amended Rule 605 using the best                                                                                 adoption of the final rules should be
                                                                                                         reduce ongoing compliance costs related
                                                 available displayed price as the                        to compiling information about price                    delayed until amended Rule 605 data
                                                 benchmark by providing market                           improvement relative to the best                        are available.1709 Several commenters
                                                 participants with price improvement                     displayed price under amended Rule                      suggested that the Commission wait to
                                                 information relative to a benchmark                     605.1704 This is because reporting                      adopt the final rules until after the
                                                 price that more accurately reflects                     entities will be able to access                         amended Rule 605 data are available so
                                                 liquidity available in the market.1697                  standardized information about the best                 that amended Rule 605 data could be
                                                 Increasing the usefulness of price                      odd-lot order, rather than needing to use
                                                 improvement statistics promotes                         odd-lot trade and quote data to calculate               cost of preparing Rule 605 reports may be higher
                                                 incentives for reporting entities to seek               the best odd-lot order themselves.1705                  for these broker-dealers as a result of the final rules.
                                                 out or offer price improvement relative                                                                         See supra section VII.D.1.c for a discussion of how
                                                                                                                                                                 the final rules may increase the cost of processing
                                                                                                           1698 See supra note 1176 and corresponding text.
                                                   1694 See MDI Adopting Release, supra note 10, at
                                                                                                                                                                 and storing consolidated market data.
                                                                                                            1699 See supra section VII.D.1.b for further
                                                                                                                                                                    1706 The final amendments to Rule 605 likewise
                                                 18753 and 18793–95 (discussing market                   discussion.
                                                 participants substituting MDI odd-lot information                                                               included an amended definition of ‘‘categorized by
                                                                                                            1700 See supra note 1179 and corresponding text.
                                                 for exchange proprietary data feeds).                                                                           order size’’ that requires orders to be categorized
                                                                                                            1701 An analysis of CAT data in the Rule 605
                                                   1695 As another example, the Rule 605                                                                         according to whether they are round lots. See Rule
                                                                                                         Amendments found that, in the quartile of stocks        605 Proposal, supra note 117, at 3807; proposed
                                                 Amendments stated that one indirect effect of the
                                                                                                         with the lowest quoted spreads (an average quoted       Rule 600(b)(19). As amended, rather than requiring
                                                 amendments to Rule 605 might be an increase in
                                                                                                         spread of around $0.026), midpoint-or-better orders     the reporting of order sizes in terms of whether an
                                                 incentives for reporting entities to compete in areas
                                                                                                         still compromise a non-negligible percent of order      order was less than one share, an odd-lot, or in one
                                                 other than improved execution quality, including
                                                                                                         flow, representing 5.15% of submitted orders            of five categories based on numbers of round lots,
                                                 lowering their access fees. See Rule 605
                                                                                                         (4.32% of submitted shares). This is compared to        final Rule 605 requires the reporting of order sizes
                                                 Amendments, supra note 10, at 26575. This could
                                                                                                         the quartile with the highest quoted spreads (an        in terms of notional values, with each order size
                                                 also reduce incentives to route based on fees and
                                                                                                         average quoted spread of $20.26), where midpoint-       category further separated into whether an order is
                                                 rebates, which would reduce the benefits of
                                                 increased transparency under the final rules.           or-better orders are 9.66% of submitted orders          a round lot, odd-lot, or fractional order, for a total
                                                 However, this would only be the case in limited         (8.62% of submitted shares). See Rule 605               of 24 reporting categories. See Rule 605
                                                 circumstances, i.e., when exchanges are not able to     Amendments, supra note 10, at 26428 n.1448.             Amendments, supra note 10, at section III.B.1;
                                                                                                            1702 See supra note 1182 and corresponding text.     adopted Rule 600(b)(18). Prior Rule 600(b)(13)
                                                 differentiate themselves based on execution quality.
                                                 Furthermore, the Rule 605 Amendments also                  1703 See supra section VII.D.4.d.                    required reporting of order sizes in one of four
                                                 acknowledged that Rule 605 reporting entities may          1704 See supra note 1178.                            categories based on numbers of round lots, with no
                                                 pass some of the costs of amended Rule 605 on to           1705 The amendments to include in Rule 605           reporting of fractional orders or odd-lots.
                                                                                                                                                                    1707 See Tastytrade Letter at 5.
                                                 their customers. See Rule 605 Amendments, supra         information about price improvement relative to the
                                                 note 10, at 26586. If exchanges pass on their           best displayed price, size improvement, and                1708 See Rule 605 Amendments, supra note 10, at

                                                 compliance costs by raising their access fees, then     beyond-the-midpoint NMLOs (which are a subset of        26428 n.375. It may be the case that, within a given
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                                                 the benefits of the final rules may be heightened by    midpoint-or-better NMLOs) were also considered in       notional order size bucket in Rule 605 reports, the
                                                 the adopted amendments to Rule 605, rather than         the Rule 605 Proposal; see Rule 605 Proposal, supra     distribution of orders across round-lot and odd-lot
                                                 lessened.                                               note 117, at 3817, 3819, and 3810. The Commission       categories may change for some stocks following the
                                                   1696 See supra section VII.D.4.c.
                                                                                                         acknowledges that, to the extent that it occurs, an     implementation of the new round lot definition.
                                                   1697 See 17 CFR 242.600(b)(14) (defining the ‘‘best   increase in the cost of processing and storing             1709 See supra section VII.C.5 for discussion of the

                                                 available displayed price’’) and 17 CFR                 consolidated market data may be higher for larger       implementation timeline for the adopted
                                                 242.605(a)(1)(ii)(M) through (Q); see also Rule 605     broker-dealers, who will be required to prepare         amendments to Rule 605. See supra section VI for
                                                 Amendments, supra note 10, section III.B.4(g) for       Rule 605 reports for the first time under the adopted   further discussion of the compliance dates for the
                                                 further discussion of these amendments.                 amendments to Rule 605. As a result, the additional     final rules.



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                                                 used to assess whether the final rules                     could be used to evaluate the impact of                   Rule 10c–1a Adopting Release, Short
                                                 are necessary.1710                                         the implementation of the final                           Position Reporting Adopting Release,
                                                    Although the information disclosed                      rules.1713 The Commission                                 Treasury Clearing Adopting Release,
                                                 under Rule 605 is a significant source of                  acknowledges that Rule 605 data is an                     and Customer Notification Adopting
                                                 information about execution quality, the                   important source of public information                    Release.1717
                                                 Commission did not rely on, and does                       about order execution quality. However,                      Consistent with its long-standing
                                                 not believe that it is necessary to rely                   as stated by another commenter, there                     practice, the Commission’s economic
                                                 on, Rule 605 data (either adopting or                      are other data products that provide                      analysis in each adopting release
                                                 pre-existing) in its analyses in the                       relevant information on execution                         considers the incremental benefits and
                                                 Proposing Release or in the adoption of                    quality that can be used to evaluate the                  costs for the specific rule—that is the
                                                 the final rules.1711 Instead, the                          impact of the final rules.1714 Waiting                    benefits and costs stemming from that
                                                 Commission utilized other data sources                     until amended Rule 605 data are                           rule compared to the baseline. The
                                                 for conducting the relevant analyses,                      available to adopt the final rules would                  Commission acknowledges the
                                                 including with respect to execution                        delay the significant benefits of the final               possibility that complying with more
                                                 quality, which it believes has                             rules to be realized, and the Rule 605                    than one rule may entail costs that
                                                 sufficiently informed the Commission                       Amendments cannot and do not solve                        could exceed the costs if the rules were
                                                 and the public on the issues being                         the main concerns that the final rules                    to be complied with separately. Two of
                                                 addressed in the final rule.1712 Other                     address by reducing the tick size,                        the rules identified by commenters have
                                                 commenters suggested waiting until                         lowering the access fee cap, and                          compliance dates that occur before the
                                                 after the amended Rule 605 data is                         accelerating the round lot definition are                 effective date of the final
                                                 available so that amended Rule 605 data                    designed to solve.                                        amendments.1718 The compliance
                                                                                                            b. Implementation Costs From                              periods for other rules overlap in part,
                                                    1710 See, e.g., Virtu Letter II at 24 (recommending
                                                                                                            Overlapping Compliance Periods                            but the compliance dates adopted by the
                                                 that ‘‘the Commission amend Rule 605 to provide
                                                 more comprehensive execution quality statistics on                                                                   Commission in recent rules are
                                                                                                               Several commenters stated that the                     generally spread out over an
                                                 retail activity based on input from investors and
                                                 market participants, and then pause to study and           Commission should consider the                            approximately two-year period
                                                 assess market quality based on the newly collected         cumulative costs of implementing the                      extending to June 2026,1719 which could
                                                 data before determining whether to move forward            proposed amendments and other recent
                                                 with the Proposed Rule’’); Citadel Letter II at 1–2                                                                  limit the number of implementation
                                                 (stating that ‘‘the data provided pursuant to an
                                                                                                            Commission rules and proposed                             activities occurring simultaneously.
                                                 updated Rule 605 should be the primary input in            rules.1715 Specifically, one commenter                    Where overlap in compliance periods
                                                 determining whether the other proposals are                requested that the Commission ‘‘publish                   exists, the Commission acknowledges
                                                 necessary)’’ See also Letter from Ellen Greene,            a thorough analysis of the cumulative
                                                 Managing Director, Equities & Options Market                                                                         that there may be additional costs on
                                                 Structure, and Joseph Corcoran, Managing Director,
                                                                                                            effects of the Interconnected Rules that                  those entities subject to one or more
                                                 Associate General Counsel, SIFMA, dated Aug. 14,           accounts for interconnections and                         other rules as well as implications of
                                                 2024 at 3; SIFMA Letter II at 3; Virtu Letter II at        dependencies among them and any
                                                 1–2; and comments discussed in supra note 122
                                                                                                                                                                      those costs, such as impacts on entities’
                                                                                                            other rules the Commission has
                                                 and accompanying text.                                                                                               ability to invest in other aspects of their
                                                                                                            proposed or intends to propose in the
                                                    1711 This was supported by a commenter, who                                                                       businesses.1720
                                                 stated that ‘‘better data from Rule 605 reports,           near term,’’ and ‘‘tak[e] into account not                   Affected entities subject to the
                                                 among other sources, could be useful in making             just the expected effects on investors
                                                                                                                                                                      amendments may be subject to one or
                                                 additional decisions about tick size in the future.        and our capital markets but also
                                                 But it is certainly not needed to decide whether to                                                                  more of the other recently adopted rules
                                                                                                            practical realities such as
                                                 make changes to the tick size now.’’ See IEX Letter                                                                  depending on whether those entities’
                                                 I at 4.                                                    implementation timelines as well as
                                                                                                                                                                      activities fall within the scope of the
                                                    1712 Data used in the Proposing Release, supra          operational and compliance
                                                                                                                                                                      other rules. Specifically, the Rule 605
                                                 note 11, included CAT data, see, e.g., Proposing           requirements.’’ 1716 We consider here
                                                 Release at 80340 n.673; MIDAS data, see, e.g., id.                                                                   Amendments, which require disclosures
                                                                                                            recently adopted rules, including the
                                                 at 80297 Tables 1, 2; TAQ data, see, e.g., id. at                                                                    for order executions in NMS stocks,
                                                                                                            Settlement Cycle Adopting Release,
                                                 80313 Table 6; WRDS intraday indicators, see, e.g.,                                                                  affects market centers and certain larger
                                                 id. at 80316 Table 8; Rule 606(a)(1) reports, see, e.g.,   February 2024 Form PF Adopting
                                                                                                                                                                      broker-dealers that were not required to
                                                 id. at 80306 n.467; and Tick Size Pilot data and           Release, May 2023 SEC Form PF
                                                 Rule 606(a)(1) reports, see, e.g., id. at 80320 Table                                                                publish Rule 605 reports prior to the
                                                                                                            Adopting Release, Dealer Adopting
                                                 9. While the Proposing Release included an                 Release, Rule 605 Amendments,                             Rule 605 amendments. The Beneficial
                                                 estimate of the number of trading venues who
                                                                                                            Beneficial Ownership Adopting Release,                    Ownership, Rule 10c–1a, Short Position
                                                 report Rule 605 statistics, see id. at 80333, Rule 605                                                               Reporting, Dealer, and Customer
                                                 data itself was not used. One commenter stated that
                                                 the Proposing Release, ‘‘relies, in part, on data from        1713 See, e.g., SIFMA Letter II at 3 (stating that a   Notification Adopting Releases also
                                                 Rule 605 reports—which use metrics that the                quantitative analysis ‘‘can only be done effectively      apply to certain brokers and
                                                 Commission has acknowledged are deficient and in           after the implementation and operation of the             dealers 1721—although due to differing
                                                 need of modification.’’ The commenter proceeded            proposed amendments to Rule 605 to allow the
                                                 to cite the Proposing Release at 80321 n.557, which        Commission and the public to measure the impact             1717 See supra section VII.C.
                                                 discusses the horizon over which realized spreads          of modified tick sizes and/or access fee caps’’); see       1718 The compliance date for the May 2023 SEC
                                                 are calculated in both the TSP analysis and in Rule        also Citadel Letter I at 29 (stating that ‘‘if both
                                                 605 reports. See Virtu Letter II at 5 and n.8. The         proposals were to be finalized, it appears that           Form PF Adopting Release occurred on December
                                                 realized spread is a common and useful metric that         market participants and regulators would be unable        11, 2023 and June 11, 2024, and the compliance
                                                 will continue to be reported under the amendments          to accurately assess the true impact of the market        date for the Settlement Cycle Adopting Release
                                                 to Rule 605. While both the TSP analysis and Rule          structure changes contained in this Proposal,             occurred on May 28, 2024.
                                                                                                                                                                        1719 See supra section VII.C.
                                                 605 reports calculate realized spreads using a five-       precluding an ‘apples-to-apples’ before-and-after
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                                                 minute horizon, the commenter is incorrect in              comparison’’).                                              1720 See, e.g., MFA Comment Letter II (asserting

                                                 stating that the Proposing Release relied on data             1714 See IEX Letter III at 3 (‘‘There are myriad       that the adoption of multiple proposals would
                                                 from Rule 605 reports. In the TSP analysis, the            sources of information that both regulators and           impose ‘‘unprecedented operational and other
                                                 Commission calculates realized spreads using trade         market participants draw on to consider how orders        practical challenges’’).
                                                 and quote data from TAQ; when completing Rule              are handled and how markets compete with and                1721 See Beneficial Ownership Adopting Release,

                                                 605 reports, trading centers calculate realized            compare to each other.’’). See also supra section II      supra note 1029 at 76897, 76945; Rule 10c–1a
                                                 spreads using similar trade and quote data. Rule           for additional discussion.                                Adopting Release, supra, note 1030 at 75647,
                                                                                                               1715 See supra note 1035.
                                                 605 reports are therefore not necessary to obtain the                                                                75717–18; Short Position Reporting Adopting
                                                 realized spreads used in the TSP analysis.                    1716 ICI Letter II.                                    Release, supra note 1031 at 75150; Dealer Adopting



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                                                 requirements, these rules may not all                     decisions and increased market                       spread across multiple price
                                                 apply to any given broker or dealer. The                  efficiency. However, the MDI Rules and               points 1728—market participants will
                                                 Treasury Clearing Adopting Release                        these amendments—while sharing                       more readily be able to see the liquidity
                                                 applies to certain participants of the                    broad goals—achieve their benefits                   available at these price points.
                                                 covered clearing agencies which could                     through distinct channels; therefore,
                                                 include broker-dealers.1722 We                            implementation of the MDI Rules is                   E. Effect on Efficiency, Competition, and
                                                 acknowledge that entities subject to                      unlikely to mute benefits arising from               Capital Formation
                                                 multiple rules may still experience                       these amendments. The channel                        1. Efficiency
                                                 increased costs associated with                           through which the MDI Rules achieves
                                                 implementing multiple rules at once as                    their benefits is data—the MDI Rules                    The amendments will improve price
                                                 well as implications of those costs, such                 will increase the granularity of data that           efficiency, namely the degree to which
                                                 as impacts on entities’ ability to invest                 is included in NMS data and further                  the price of a stock reflects its
                                                 in other aspects of their businesses.                     introduce a decentralized competing                  fundamental value. The improvement in
                                                    In addition, while the Commission                      consolidator model to lower the cost of              price efficiency is expected largely to
                                                 received comments on the interaction of                   purchasing this data. For market                     come through the reduction in the tick
                                                 the MDI Rules and these                                   participants who already purchase                    size and the reduction of the access fee
                                                 amendments,1723 commenters did not                        proprietary data from exchanges, the                 cap. The acceleration of portions of the
                                                 specifically address costs associated                     MDI Rules may have a limited direct                  MDI Rules could also increase price
                                                 with overlapping compliance periods.                      impact because these participants will               efficiency, but those effects are largely
                                                 When the Commission adopted the MDI                       not experience a change in their                     to accelerate the economic impact
                                                 Rules, it outlined a phased transition                    information set. Nonetheless, these                  already anticipated in the MDI Rules.
                                                 plan for implementation.1724 Based on                     participants will still see many benefits
                                                 the times provided in the transition plan                                                                         Lowering the tick size for some NMS
                                                                                                           from the reduction in tick size and
                                                 for implementation of the MDI Rules,                                                                           stocks with prices equal to or greater
                                                                                                           access fee cap. For example, they will be
                                                 the Commission estimated that the full                                                                         than $1.00, as well as lowering the
                                                                                                           able to quote at more precise prices,
                                                 implementation of the MDI Rules will                      which more accurately reflect the                    access fee cap for all stocks to 10 mils
                                                 be at least two years after the                           competitive cost of liquidity, and                   for stocks with prices equal to or greater
                                                 Commission’s approval of the plan                         experience fewer instances of tick                   than $1.00, or to 0.10% for stocks with
                                                 amendment(s) required by Rule                             constraints. Also, any stocks that remain            prices lower than $1.00, will increase
                                                 614(e).1725 Therefore, the length of time                 tick-constrained would have fewer                    price efficiency.1729 The reduction in
                                                 affected market participants will have to                 distortions due to excess liquidity as a             the tick size for some stocks along with
                                                 come into compliance with both the                        result of the reduction in the access fee            the reduction of the access fee cap for
                                                 MDI Rules and these amendments, and                       cap. Therefore, the benefits of the MDI              all stocks will lower transaction
                                                 the likelihood of limited overlap in                      Rules do not lessen the benefits of the              costs.1730 When trading becomes less
                                                 compliance periods, will mitigate                         amendments to Rules 610 and 612 for                  costly, market participants have an
                                                 compliance costs.1726                                     these market participants.                           increased incentive to gather more
                                                    One commenter stated that the                                                                               information because doing so is more
                                                 complete implementation of the MDI                           For market participants who do not
                                                                                                           purchase proprietary data from                       profitable.1731 Gathering more
                                                 Rules will undermine the Commission’s                                                                          information and trading on that
                                                 economic analysis of amendments to                        exchanges, the MDI Rules, once fully
                                                                                                           implemented, as well as the market data              information means that prices are more
                                                 Rules 610 and 612. The commenter                                                                               reflective of the fundamental value of
                                                 stated: ‘‘Implementation of the MDI                       amendments associated with this
                                                                                                           release, may complement the benefits of              the firm. Consequently, for stocks that
                                                 Rules would . . . likely mute any
                                                                                                           amendments to Rules 610 and 612. This                receive an improvement in market
                                                 potential benefits of or weaken the case
                                                                                                           is because the MDI Rules, including the              quality due to the lower tick size or the
                                                 for the additional costs associated with
                                                                                                           amendments in this release, will result              reduction in the access fee, the
                                                 the Tick Size Proposal . . . At
                                                                                                           in more information being made                       Commission expects an improvement in
                                                 minimum, the Commission is obligated
                                                 to consider the fully implemented MDI                     available to non-consumers of                        price efficiency.1732
                                                 Rules as part of the ‘baseline’ against                   proprietary data, while amendments to                   The Commission further expects that
                                                 which the asserted need for this new                      Rules 610 and 612 remove constraints                 quoted spreads will better reflect the
                                                 rule, and its impact, are assessed.’’ 1727                on trading by alleviating tick                       cost of liquidity as a result of these
                                                    The MDI Rules form part of the                         constraints. The amendments in this                  amendments. As discussed in section
                                                 baseline for the amendments to Rules                      release to Rules 610 and 612, the
                                                 610 and 612. The MDI Rules and these                      amendments to the MDI Rules, and the                   1728 See section VII.D.1 for a discussion of this

                                                 amendments will increase transparency,                    MDI Rules in total (once fully                       effect.
                                                 achieve better order execution, lower                     implemented), will create an                           1729 See NASAA Letter at 9, and Vanguard Letter

                                                 costs, and lead to better investment                      environment where there is more, as                  at 6.
                                                                                                                                                                   1730 As discussed in section VII.B, the reduction
                                                                                                           well as better, information available to             in the fee cap will primarily lower trading costs and
                                                 Release, supra note 1028 at 14938, 14967–71;              market participants that do not                      distortions for stocks that are tick-constrained; for
                                                 Customer Notification Adopting Release, supra note        subscribe to proprietary data products.              stocks that are not tick-constrained, the reduction
                                                 1034 at 47689, 47725.                                                                                          in the fee cap may lead to wider quoted spreads
                                                    1722 See Treasury Clearing Adopting Release,
                                                                                                           These market participants will also have
                                                                                                                                                                which will offset the lower fee. See supra note 1508
                                                                                                           an improved ability to trade on that
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                                                 supra note 1045, at 2717, 2791.                                                                                for a discussion of the fee cap’s contribution to
                                                    1723 See, e.g., Citadel Letter I at 26; SIFMA Letter   information due to the lower expected                liquidity distortions for tick-constrained stocks; see
                                                 II at, e.g., 41–42; Robinhood Letter at 44.               cost of transacting for some stocks due              also supra section VII.D.2.c on the effect of the fee
                                                    1724 See MDI Adopting Release, supra note 10, at
                                                                                                           to the lower tick size and access fee. The           cap reduction for stocks that are not tick-
                                                 18699–18701.                                                                                                   constrained.
                                                    1725 See supra note 1139 and accompanying text.
                                                                                                           eventual inclusion of depth-of-book                     1731 See, e.g., Dixon, supra note 1277 for a
                                                    1726 See also section VII.D.4 (discussing the          information in core data under the MDI               discussion of this concept in the context of short
                                                 acceleration and implementation of the MDI Rules).        Rules will also mitigate costs from the              selling.
                                                    1727 See Robinhood Letter at 44.                       tick reduction causing liquidity to                     1732 Id.




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                                                 VII.B.3,1733 high access fees and rebates                 with an access fee and rebate of 10 mils                 Commission acknowledges that
                                                 can distort liquidity supply and                          provides an effective pricing grid with                  information leakage may, in turn,
                                                 demand.1734 The tick acts as a price                      price pints at every $0.005 and plus or                  reduce incentives to collect information
                                                 floor that prevents the spread from                       minus $0.001, which is finer than the                    ex-ante and thereby reduce price
                                                 reflecting the true cost of liquidity;                    current pricing grid with a tick size of                 efficiency. However, on balance, the
                                                 likewise, access fees—and the rebates                     $0.01 and an access fee/rebate of                        effect of the amendments to increase
                                                 they fund—further distort quoted                          $0.003.1740 For stocks not subject to the                price efficiency by, on average, reducing
                                                 spreads by taxing liquidity demand and                    reduced tick size, the Commission                        trading costs. This is because the cost of
                                                 subsidizing liquidity supply at this                      acknowledges some reduction in the                       information leakage primarily shows up
                                                 price floor. By reducing both the tick                    ability to price intra-tick. However, the                in the form of wider spreads when a
                                                 and the access fee cap, quoted spreads                    efficiency loss is limited due to the fact               large trade is anticipated and higher
                                                 will better reflect the cost of liquidity                 that, by definition, these stocks have                   costs of trading for large orders. If
                                                 and allow for more efficient liquidity                    sufficiently wide average spreads, and                   information leakage was a primary—
                                                 provision.                                                thus sufficient ticks within the spread,                 rather than mitigating—effect of the
                                                    Some commenters expressed the                          to avoid qualifying for the lower tick                   smaller tick size, then in the TSP
                                                 concern of diminished intra-tick pricing                  size. For these stocks, there is less of a               analysis discussed in section
                                                 from reduced access fees.1735 As shown                    need to price intra-tick.                                VIII.D.1.b.ii spreads would not have
                                                 in the Proposing Release, the NYSE,                          The reduction in the tick is expected                 narrowed and round-trip trading costs
                                                 Nasdaq, and Cboe exchange families                        to reduce the cost of transacting on                     would not have fallen for stocks with
                                                 each operate both a maker-taker venue                     exchanges, which will result in an                       narrow spreads when the tick size was
                                                 and an inverted venue.1736 Variation in                   increase in orders being sent to lit                     reduced. But this is not what that
                                                 fee and rebate schedules across trading                   markets.1741 The reduction in the access                 analysis found; thus, while increased
                                                 venues effectively allow for intra-tick                   fee cap is expected to widen quoted                      information leakage could be a factor
                                                 pricing.1737 However, that intra-tick                     spreads, and the quote differential                      mitigating the reduction in spreads due
                                                 pricing via access fees and rebates is an                 between lit exchanges and other trading                  to the smaller tick size, the net effect is
                                                 imperfect solution to the problem of a                    venues may widen. This need not,                         expected to be lower trading costs for
                                                 stock having a tick that is too large.1738                however, lead to lower demand for lit                    stocks receiving the smaller tick size.
                                                 Reducing the access fee cap can reduce                    liquidity, as the access fee, which                      Additionally, the commenter’s concerns
                                                 the degree to which maker-taker trading                   currently disincentivizes investors to                   are mitigated by the fact that the
                                                 centers can offer effective intra-tick                    access liquidity on exchanges, will also                 amendments do not include the
                                                 pricing which could potentially lead to                   be lower.1742 Thus, the net effect of the                proposed smaller tick sizes (0.001 and
                                                 pricing distortions—i.e., less efficient                  rules is an increase in orders on lit                    0.002).
                                                 prices.1739 However, the ability for                      markets and an improvement in price                         Lowering access fees also increases
                                                 markets to establish efficient prices will                efficiency.                                              the efficiency with which the quote
                                                 increase overall due to the reduced tick                     Some commenters stated that a finer                   conveys information regarding the cost
                                                 size for stocks with TWAQS less than or                   tick size could cause information                        of liquidity. As discussed in section
                                                 equal to $0.015. The reduced tick size                    leakage. Large orders may need to be                     VII.D.2.d, access fees that fund rebates
                                                 reduces the need for intra-tick pricing                   divided into smaller orders due to the                   contribute to complexity and lack of
                                                 by providing a finer pricing grid on                      fragmentation of liquidity across                        transparency in markets because they
                                                 which market participants can submit                      multiple price levels; executing a large                 separate both the true cost of demanding
                                                 orders. Specifically, a tick size of $0.005               order may therefore reveal more                          liquidity and the proceeds from
                                                                                                           information, which could increase price                  supplying liquidity, as represented by
                                                    1733 See also Proposing Release, note 11, at 80328:    impact and trading costs.1743 The                        the quoted half-spread. Reducing the
                                                 ‘‘If tick sizes were infinitely small, and absent other                                                            wedge between the spread and the true
                                                 distortions, then fees and rebates would not affect          1740 Under the preexisting Rule 610 fees, maker-
                                                 the cost of trading because markets would simply                                                                   cost also reduces conflicts of interest
                                                                                                           taker venues can offer liquidity demanders net
                                                 adjust quotes by the amount of the rebate such that
                                                                                                           prices that are 30 mils worse than quoted prices;
                                                                                                                                                                    between broker-dealers and their
                                                 the spread with rebates included is the same.                                                                      customers. Multiple commenters stated
                                                                                                           inverted venues, in contrast, tend to offer net prices
                                                 However, current U.S. equity markets differ from
                                                 this frictionless construct because there is a finite
                                                                                                           that are 30 mils better than quoted prices, creating     that a lower access fee cap would help
                                                                                                           a grid of price points that are 40 to 60 mils            mitigate the conflict of interest because
                                                 tick. In this environment, and particularly for stocks
                                                                                                           separated from each other. E.g., the net prices
                                                 with narrower spreads, high access fees and rebates
                                                                                                           available at a maker-taker venue may be $10.003,         lowering the access fee is expected to
                                                 can distort liquidity supply and demand by                                                                         reduce rebates available and thus the
                                                                                                           $10.013, etc., while the net prices available at an
                                                 artificially increasing the cost of taking liquidity
                                                                                                           inverted venue may be $9.997, $10.007, etc.; the         incentive to route based on rebates
                                                 and the revenue to providing liquidity. This
                                                                                                           price points are 40 to 60 mils apart from each other.
                                                 dynamic creates an environment with too much
                                                                                                           Under the reduced fee cap, maker-taker venues will
                                                                                                                                                                    instead of execution quality.1744
                                                 liquidity supply relative to liquidity demand.’’
                                                                                                           only be able to offer liquidity demanders net prices
                                                    1734 One commenter stated that the Commission
                                                                                                           that are 10 mils worse than quoted prices; to            VII.D.1.e. The Commission acknowledges that tick-
                                                 did not explain these distortions, see Virtu Letter       maintain a grid of price points that are 50 mils         constrained stocks receiving a tick reduction may
                                                 II at 16. The subsequent discussion (as well as the       apart, an inverted venue could offer a net price that    experience an increase in execution costs for
                                                 discussion surrounding note 1508, supra) explains         is 40 mils better than the quoted price by instituting   sufficiently large orders—evidence from the TSP
                                                 the distortions.                                          a 40 mil rebate for liquidity takers. E.g., the net      suggests that this occurs for orders that are quite
                                                    1735 See also Citadel Letter I at 16, CCMR Letter
                                                                                                           prices available at a maker-taker venue will be          large (approximately 50 round lots). See discussion
                                                 at 26.                                                    $10.001, $10.013, etc.; with a 40 mil rebate,            surrounding note 1284.
                                                    1736 See 87 FR 80313.                                  inverted venues could offer net price points of             1744 See RBC Letter at 4 stating (‘‘we believe that
                                                    1737 See also supra note 1128.                         $9.996, $10.006, etc., so that the price points are 50   lowering the access fee cap would lead to a
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                                                    1738 See Quarter Penny Tick, supra note 1127.          mils apart from each other. See also Quarter Penny       reduction in broker conflicts of interest . . .’’);
                                                    1739 See supra note 1128 for an explanation of         Tick, supra note 1127, for a discussion of this          NASAA Letter at 9 (stating ‘‘reducing access fee
                                                 how variation in fee and rebate schedules across          concept.                                                 caps could help reduce incentives for broker-
                                                                                                              1741 See infra section VII.E.2.a and VII.E.2.b for
                                                 trading venues can increase price fidelity by                                                                      dealers to route orders to trading venues that benefit
                                                 allowing for more effective intra-tick pricing.           additional discussion. Specifically see discussion       those broker-dealers (such as venues in which a
                                                 Reducing the access fee cap reduces this effective        surrounding infra note 1752.                             broker-dealer is rebated), but may provide
                                                                                                              1742 See, e.g., IEX Letter VI at 1–6.
                                                 intra-tick pricing by limiting the degree to which                                                                 suboptimal execution to the detriment of the
                                                 fee and rebate schedules can differ from one                 1743 See supra notes 1219, 1220 and 1398, as well     broker-dealer’s customers.’’). See also Themis Letter
                                                 another.                                                  as related discussion in sections VII.D.1.b.i and        at 7; supra section VII.D.3.



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                                                    Making fees and rebates determinable                 NBBO may improve price efficiency.1749                   Research suggests that this occurs both
                                                 at the time of execution, along with the                Currently only market participants who                   because of the reduction in transaction
                                                 reduction of the access fee cap could                   subscribe to proprietary data feeds can                  costs resulting from a finer pricing grid,
                                                 also increase price efficiency by helping               view the odd-lot information and thus                    and also because a tick that is too wide
                                                 minimize potential conflicts of                         adjust trading strategies and decisions                  creates long queues for limit order
                                                 interest.1745 Fees and rebates create a                 based on that information. Expanding                     execution and increase the incentives to
                                                 potential conflict for a broker in                      the SIP feeds to include odd-lot                         send orders off-exchange.1753
                                                 situations where incentives related to                  information will provide new                                The increase in message traffic
                                                 transaction fees, which are paid by the                 information to those investors who                       expected from the reduction in the tick
                                                 broker, potentially conflict with                       subscribe to the SIP data but do not                     sizes for certain stocks will result in a
                                                 incentives to obtain execution quality,                 subscribe to proprietary data feeds.1750                 mild increase in costs to process such
                                                 which may affect the customer.1746 This                 2. Competition                                           traffic for those who receive the relevant
                                                 conflict, if acted on, can lead to                                                                               data feeds.1754 Because such
                                                 inefficient order routing and worse                     a. Modification of Rule 612                              technological costs are largely fixed, and
                                                 transaction outcomes for customers; 1747                   The amendments will promote                           do not depend on the size of the broker-
                                                 it can also lead to an inefficient                      competition both on price on a given                     dealer, this could disadvantage smaller
                                                 incorporation of information into stock                 venue and across venues. This will                       broker-dealers in the market to provide
                                                 prices, harming market efficiency.                      occur because the amendments will                        broker-dealer services to investors.
                                                 Making access fees determinable at the                  allow liquidity providers to compete at                     Some commenters stated that variable
                                                 time of execution will enhance                          more price points on exchange. By                        tick sizes could increase confusion
                                                 efficiency by providing market                          limiting the affected stocks to those with               among investors trading on-exchange,
                                                 participants with certainty concerning                  low spreads, the amendments                              thereby driving orders off-exchange.1755
                                                 the fees that they will be charged per                  ameliorate possible effects of pennying                  The potential for investor confusion is
                                                 transaction. This certainty could also                  which may accompany a finer pricing                      addressed generally in section VII.D.1.d.
                                                 allow broker-dealers to examine their                   grid.1751                                                To the point about confusion due to a
                                                 own best-execution performance more                        In addition, the amendments will                      smaller tick size driving order flow off
                                                 efficiently. Greater certainty about fees               improve the efficiency of on-exchange                    of exchanges, this is unlikely. The
                                                 and rebates in advance of routing an                    trading, allowing exchanges to better                    ability to trade at finer price points, and
                                                 order could also increase the efficiency                compete with off-exchange market                         the reduced need to wait in the queue
                                                 of the broker-dealers’ best execution                   makers. Empirical evidence suggests                      should contribute to on-exchange
                                                 assessments by providing them with                      that, on average, relaxing tick                          trading, not off-exchange trading.
                                                 greater certainty about the full cost of a              constraints leads to volume moving onto                  Indeed, relaxing of tick constraints has
                                                 transaction when executing the order.                   exchanges primarily by improving                         been associated empirically with
                                                 Additionally, to the extent that                        market quality on the exchanges.1752                     volume moving on-, not off-
                                                 determinable fees make it easier for                                                                             exchange.1756
                                                 broker-dealers to communicate fees and
                                                                                                            1749 See Robert P. Bartlett et al., The Market
                                                                                                                                                                     One commenter asked the
                                                                                                         Inside the Market: Odd-Lot Quotes, Rev. Fin. Stud.       Commission to consider the competitive
                                                 transmit them to end customers, doing                   (Sep. 19, 2023), available at https://doi.org/10.1093/
                                                 so could help eliminate distortions that                rfs/hhad074.                                             effects of Rule 612 on stocks that have
                                                 might occur due to potential conflicts of                  1750 There is the possibility that competing          similar quoted spreads but fall just on
                                                 interest. However, to the extent that                   consolidators may not choose to distribute odd-lot       either side of the threshold, specifically
                                                                                                         information (because the MDI Rules do not require        similar ETPs that may have quoted
                                                 exchanges are not able to as effectively                them to do so), in which case the positive effects
                                                 replicate some incentives that were                     of including odd-lots in NMS data on price
                                                                                                                                                                  spreads that are similar but fall on either
                                                 based on using historical activity,1748                 efficiency will be lost. This outcome is unlikely        side of the threshold and so receive
                                                 requiring these fees to be determinable                 because the odd-lot information is valuable in terms     different tick sizes.1757 The commenter
                                                                                                         of having information relevant to stock prices, see      considers two issuers, Issuer A and
                                                 at time of execution may reduce                         Bartlett et al., id, and the alternative to odd-lot
                                                 efficiency.                                             information from the competing consolidators
                                                                                                                                                                  Issuer B, and explains that a narrower
                                                                                                         would be to subscribe to all of the proprietary data     tick sizes for Issuer A could attract more
                                                    Accelerating the addition of odd-lot                 feeds, which is expensive. Given that there will be      liquidity to Issuer A’s stock and less
                                                 information to NMS data and the                         significant demand for the odd-lot information,          liquidity to Issuer B’s stock. Once Issuer
                                                 inclusion of information relating to the                competing consolidators will therefore offer the
                                                                                                         data.
                                                                                                                                                                  A’s stock attracts more liquidity, its
                                                 best odd-lot quote will realize some of                    1751 See supra section VII.D.1.b for additional       spreads could potentially narrow
                                                 the price efficiency benefits articulated               discussion of the effects of pennying.                   further, perpetuating a cycle in which
                                                 in the MDI Rules at an earlier date,                       1752 See two industry studies attached to MEMX        Issuer B’s shares are unable to catchup
                                                 providing improved price efficiency                     Letter at 43–63 and 64–70. These studies examine         to Issuer A. The Commission, however,
                                                 earlier than anticipated in the MDI                     the relaxation of tick constraints following reverse
                                                                                                         splits and find that the reduction in on-exchange
                                                                                                                                                                  does not expect significant competitive
                                                 Rules. Specifically, research suggests                  trading costs results in an increase in on-exchange      effects in this situation. While the
                                                 that adding information on the shares                   trading volume. See also Panel A of table 2 in           evidence suggests that stocks with
                                                 available at price levels inside the                    Bidisha Chakrabarty, et al., Tick Size Pilot Program     quoted spreads less than the threshold
                                                                                                         and Price Discovery in US Stock Markets, 59 J. Fin.
                                                                                                         Mkt. 100658 (2022). This academic study uses the
                                                                                                                                                                  will, on average, benefit from the lower
                                                   1745 One commenter stated that they agreed with
                                                                                                         TSP and finds that an increase in tick constraints       tick, those benefits attenuate as spreads
                                                 the Commission’s analysis of these effects, see         results in an increase in off-exchange trading           widen.1758 Thus, for stocks or ETPs with
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                                                 Council of Institutional Investors Letter at 5; see     volume. See also Amy Kwan et al., Trading Rules,
                                                 also Themis Letter at 7.                                Competition for Order Flow and Market                         1753 Id.
                                                   1746 See Vanguard Letter at 6. See also supra
                                                                                                         Fragmentation, 115 J. Fin. Econ. 330 (2015). This             1754 See supra section VII.D.1.c.
                                                 sectionVII.D.2 for additional discussion of access      academic study examines the change in the tick                1755 See Themis Letter at 6 and Cboe Letter II at
                                                 fees.                                                   from $0.01 to $0.0001 for orders priced in the
                                                   1747 See Retirement Coalition Letter at 2.
                                                                                                         vicinity of $1.00, and finds that more volume is         7.
                                                   1748 See supra section VII.D.3 for further                                                                          1756 See supra note 1752.
                                                                                                         executed on exchanges when the trade price dips
                                                                                                                                                                       1757 See SIFMA Letter II at 41.
                                                 discussion on basing fees and rebates on historical     below $1.00 and is therefore subject to the smaller
                                                 activity.                                               tick.                                                         1758 See supra section VII.D.1.




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                                                 spreads right at the threshold, the                         particularly disadvantage new                            discussion in section VII.C.2, which
                                                 differential effect of the smaller tick size                exchanges with limited opportunities                     explains how the structure of markets
                                                 may be relatively small.                                    for differentiation.1762 Another                         today incentivize the adoption of maker-
                                                                                                             commenter stated that the inability to                   taker pricing where access fees are set
                                                 b. Lower Access Fee Caps
                                                                                                             differentiate based on fees and rebates                  at or near the access fee cap in order to
                                                    The amendments to Rule 610(c)                            will lead volume to congregate on the                    fund large maker rebates as a means of
                                                 reducing the access fee cap will have                       listing exchange to the detriment of non-                attracting competitively priced quotes,
                                                 varying effects on competition between                      listing exchanges.1763                                   which in turn increase the trading
                                                 trading venues as well as competition                                                                                volume executed on the exchange.
                                                 between broker-dealers. The                                    The Commission acknowledges that
                                                                                                                                                                      Lowering the access fee cap does not
                                                 Commission does acknowledge that it                         lowering the access fee cap will
                                                                                                                                                                      change this dynamic, and so the
                                                 would limit the ability of exchanges to                     mechanically limit the extent to which
                                                                                                                                                                      Commission expects that exchanges will
                                                 differentiate themselves from other                         exchanges can potentially differentiate
                                                                                                                                                                      continue to set fees and rebates at or
                                                 exchanges on the basis of their pricing                     themselves based on varying pricing
                                                                                                                                                                      near the lowered access fee cap.
                                                 schedules; however, the Commission                          schedules and diminish their ability to                     When stating that a lower access fee
                                                 expects that exchanges will continue to                     compete on the basis of their pricing                    cap would limit competition by
                                                 set fees and rebates at or near the access                  schedules. However it is not clear if the                restricting differentiation, one
                                                 fee cap. A lower access fee cap                             amount of differentiation or degree of                   commenter pointed out that when one
                                                 mechanically reduces the range over                         competition will diminish because                        exchange switched from a flat rebate
                                                 which pricing tiers can vary, potentially                   exchanges do not appear, in the markets                  model to a tiered pricing model that
                                                 reducing the economic differences                           today, to be competing on the basis of                   exchange quoted at the NBBO more
                                                 between pricing tiers thereby reducing                      offering substantially different pricing                 often.1768 This is consistent with a
                                                 the benefits from routing order flow for                    schedules or models.1764 The vast                        tiered pricing structure discouraging
                                                 the purpose of qualifying for one tier                      majority (>85%) of on-exchange trading                   order routing to competing venues. In
                                                 over another. This can reduce the                           volume executes on exchanges with                        this case switching to a tiered pricing
                                                 competitive wedge between high and                          maker-taker pricing models and with                      schedule incentivized that exchange’s
                                                 lower volume broker-dealers due to                          baseline access fees near the cap and                    members to not route orders to
                                                 volume discounts making it easier for                       rebates slightly lower than the access fee               competing exchanges to collect the
                                                 lower volume broker-dealers to compete                      cap.1765 The few exchanges which                         benefits associated with high volume
                                                 with larger volume broker-dealers.                          deviate from this pricing style do not                   tiers. More orders sent to the exchange
                                                    Commenters disagreed regarding the                       execute a large proportion of trading                    incentivizes more aggressive quoting on
                                                 effects of the 10 mils cap relative to the                  volume.1766 Additionally, smaller or                     the exchange leading the exchange to
                                                 15 mils/30 mils alternative in terms of                     newer exchanges (which do not belong                     quote at the NBBO more often.
                                                 the competitive dynamics between on-                        to one of the three large exchange                       However, the effect on tiering from the
                                                 and off-exchange venues, with some                          families) have adopted similar pricing                   amendment’s reduction in the access fee
                                                 commenters arguing that reducing the                        schedules and thus do not seem to be                     cap would be different from this
                                                 access fee cap would cause a shift to on-                   competing for order flow by                              example because the reduction in the
                                                 exchange trading while others arguing it                    differentiating their pricing schedule.                  access fee cap would apply to all
                                                 would cause a shift to off-exchange                         For example, MEMX, the exchange with                     exchanges, meaning that the effect on
                                                 trading.1759 The Commission’s                               the most market share not affiliated with                competition from tiering will also be
                                                 discussion in section VII.D.2.c suggests                    one of the three large exchange families,                diminished across all exchanges.
                                                 that it is unlikely that significant                        adopted a similar maker-taker pricing                    Therefore, the effect that a lower access
                                                 activity will be driven off-exchange, and                   schedule to what is prevalent in the                     fee cap would have on one exchange’s
                                                 it is possible that activity may come on-                   market. Additionally, IEX, a formerly                    ability to more consistently quote at the
                                                 exchange as a result of the lower access                    flat-fee exchange, has recently switched                 NBBO is likely to be weaker than that
                                                 fee cap. Moreover, the lower access fee                     to a maker-taker pricing model, citing                   stated by the commenter.
                                                 cap will improve competition relative to                    the need to incentivize liquidity                           One commenter expressed the
                                                 the 15 mils/30 mils alternative in that it                  provision.1767 This is in line with the                  concern that the reduced access fee cap
                                                 will reduce information asymmetries                                                                                  may also result in exchanges increasing
                                                                                                               1762 See Virtu Letter II at 19.
                                                 among investors, better aligning                                                                                     the cost to access market data or sell
                                                                                                               1763 See Cboe Letter II at 7.
                                                 displayed prices with the actual costs of                     1764 As explained in section VII.C.2, exchanges        preferential access to exchange data to
                                                 transactions.1760                                           can differentiate themselves by offering different fee   some members but not to others.1769
                                                    Some commenters expressed that the                       schedules—e.g., inverted, flat fee, or maker-taker       The adopted amendments address this
                                                 reduction in access fees will impede                        with numerous price strata. Reducing the access fee      concern as compared to the proposal by
                                                 exchange competition by reducing their                      cap can reduce the variation in rebates and fees
                                                                                                             across venues by narrowing the viable range for fees     eliminating the proposed requirement
                                                 ability to offer differentiated pricing.1761                and rebates thereby making the different exchange        for an access fee cap of 5 mils on some
                                                 One commenter stated that this will                         price schedules more similar. However, many price        stocks. One commenter stated that while
                                                                                                             schedules are already quite similar despite the 30       it is possible that a sufficiently low cap
                                                    1759 We focus on the competitive effect of the           mil access fee cap allowing for a greater degree of
                                                 access fee cap relative to the alternative, as failure      differentiation. For instance, the data reported in      could generate this concern, the access
                                                 to reduce the access fee cap in the presence of the         table 4 does not show that there is currently a large    fee cap of 10 mils strikes the right
                                                 tick constraint would lead to a loss of price               degree of variation in the highest fees charged,         balance.1770 Furthermore, as explained
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                                                 coherence. For commenters stating that reducing             particularly among maker-taker exchanges which           in section VII.D.2.b, the Commission
                                                 the access fee cap would increase off-exchange              dominate the market. Additionally inverted
                                                 volume, see, e.g., Nasdaq Letter II at 4 and Cboe           exchange fees are all set close to the access fee cap.   does not expect exchange transaction
                                                 Letter IV at 2–3. For commenters stating that                 1765 See table 5.

                                                 reducing the access fee cap would increase on-                1766 Id.                                               Securities Exchange Act Release No. 98063 (Aug. 4,
                                                 exchange volume, see IEX Letter VI at 7.                      1767 Self-Regulatory Organizations; Investors          2023), 88 FR 54373 (Aug. 10, 2023).
                                                    1760 See IEX Letter VI at 4–6.                                                                                      1768 See Cboe Letter III at 8.
                                                                                                             Exchange LLC; Notice of Filing and Immediate
                                                    1761 See Fidelity Letter at 14, Virtu Letter II at 10,                                                              1769 See RBC Letter at 4.
                                                                                                             Effectiveness of Proposed rule Change Pursuant to
                                                 Cboe Letter II at 8, and Citadel Letter I at 24.            IEX Rule 15.110 to Amend IEX’s Fee Schedule,               1770 See Verret Letter I at 8.




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                                                 revenues on transactions priced greater                      room for existing differences in                      exchange fees incurred by an order,1775
                                                 than $1.00 to substantially change as a                      preferential pricing to persist.1774 The              which will increase competition
                                                 10 mil access fee cap is expected to be                      commenter used the example of a large                 between broker-dealers along this
                                                 high enough that exchanges can                               bank and small broker both paying a 30                dimension, leading to better order
                                                 continue to realize their current net                        mils rebate with the bank receiving a 32              execution and lower costs.1776 In
                                                 capture rates for these transactions.                        mils rebate and the broker receiving 24               particular, while there is currently no
                                                    Reducing the access fee cap may also                      mils. Under a 10 mils access fee cap, the             requirement to either pass on the fees
                                                 impact competition between broker-                           exchange could offer a 12 mils rebate to              and rebates to customers, or account for
                                                 dealers who are exchange members, to                         the bank and 4 mils to the broker. In                 fees and rebates when assessing
                                                 the extent that a lower access fee cap                       that case the differential between the                execution quality, there may be
                                                 diminishes the marginal benefit of                           bank and the broker would remain the
                                                 qualifying for a pricing tier with lower                                                                           competitive pressure to do so as a result
                                                                                                              same despite the reduced access fee cap.              of the amendments because a competing
                                                 fees or higher rebates over another tier                     In the example provided by the
                                                 with less preferential terms. Different                                                                            broker-dealer will be able to include
                                                                                                              commenter, the exchanges could                        fees and rebates in its transaction cost
                                                 transaction pricing tiers, particularly                      continue to offer a fully funded rebate
                                                 volume-based pricing tiers providing                                                                               analysis, or simply pass them through to
                                                                                                              to some exchange members, which is 8                  the customer. One commenter stated
                                                 more favorable fees and/or rebates to                        mils greater than offered to other
                                                 exchange members who execute higher                                                                                that the requirements for exchange
                                                                                                              exchange members, because that 8 mil                  pricing under this rule change will be
                                                 relative order volume, introduce a                           differential would be allowed under a
                                                 competitive wedge between those                                                                                    ‘‘even more anti-competitive’’ than the
                                                                                                              10 mil access fee cap. The Commission
                                                 exchange members who qualify for the                                                                               current practice, because this would
                                                                                                              acknowledges that exchanges would be
                                                 better tiers and those who do not.                                                                                 mean that ‘‘smaller brokers can’t attract
                                                                                                              able to continue to offer differentiated
                                                 Another commenter stated that high                                                                                 new flows based on modelling of what
                                                                                                              pricing; however, a lower access fee cap
                                                 access fees disproportionately affect                                                                              such flows will do to their rates upon
                                                                                                              would reduce the extent to which
                                                 smaller firms and investors, and                                                                                   arrival.’’ 1777 The Commission disagrees
                                                 lowering the access fee cap would                            pricing tiers can differ and limit the
                                                                                                              aggregate fees available to the exchange              with the statement that this rule change
                                                 promote a more competitive and diverse                                                                             will make the market for offering
                                                 market landscape.1771 The commenter                          to redistribute among its members in the
                                                                                                              form of rebates. It is more difficult for             executing broker services more anti-
                                                 stated that exchanges employ pricing                                                                               competitive. As described in section
                                                 tiers to extract rents from smaller                          an exchange to fund high rebates,
                                                                                                              particularly those greater than the fee               VII.D.3, this rule change allows brokers
                                                 exchange members which are then split                                                                              to determine their fees and rebates at
                                                 between the exchange and their high                          cap, under a lower access fee cap.
                                                                                                                                                                    execution and thereby eliminates the
                                                 tier members, and lowering the access                        c. Acceleration of the MDI Rules,                     need for forecasting future market
                                                 fee cap would limit the extent to which                      Addition of Information About Best                    outcomes in order to anticipate the fee
                                                 this can occur.1772 Under the                                Odd-Lot Orders, Fees and Rebates                      that will be incurred by an order. To the
                                                 assumption that a reduction in access                        Determinable at Time of Execution                     extent such forecasting is more difficult
                                                 fees would be accompanied by a
                                                 reduction in transaction rebates, one                                                                              for small brokers, the rule change will
                                                                                                                 Accelerating the inclusion of odd-lot
                                                 possible effect of reducing the access fee                                                                         make it easier for small brokers to
                                                                                                              information in the NMS data, along with
                                                 cap would be to diminish the relative                        the implementation of the MDI Rules                   compete.
                                                 differences in the fees charged and                          round lot definition, might lead to                      Including odd-lot information in the
                                                 rebates offered between different pricing                    increased competition between                         exclusive SIPs and providing the best
                                                 tiers.1773 As shown in table 4 multiple                      exchanges and ATSs and OTC market                     odd-lot order information will enhance
                                                 exchanges have fee or rebate tiers which                     makers, including wholesalers. NMS                    competition among broker-dealers.
                                                 vary within a range that is greater than                     stocks priced greater than $250.00 are                Making the best odd-lot order
                                                 10 mils. Therefore, lowering the access                      expected to benefit sooner from a tighter             information accessible through the
                                                 fee cap to 10 mils will necessitate that                     NBBO, thereby increasing the                          exclusive SIPs will facilitate better
                                                 pricing tiers would have to be placed                        competitiveness of the best displayed                 analysis of a broker-dealer’s execution
                                                 within a narrower price range. The                           protected quotes. Greater visibility of               quality than is available with just NBBO
                                                 Commission expects that as the                               more competitively priced odd-lot                     data.1778 Thus, it could be easier for
                                                 differences between pricing tiers                            orders inside the NBBO could increase
                                                 become less economically meaningful,                         the competitive position of exchanges                    1775 For example, some brokers allow customers
                                                 the competitive wedge introduced by                          and ATSs and attract greater order flow.              to direct an order to a particular exchange. By
                                                 pricing tiers will diminish, which                           This effect will be temporary, only                   making the fees and rebates determinable at
                                                 would make it easier for exchange                            lasting until the full implementation of
                                                                                                                                                                    execution, the broker may be better able to inform
                                                 members lacking scale to compete with                                                                              the customer of the net transaction price of a
                                                                                                              the MDI Rules. After the full                         prospective directed order.
                                                 exchange members that qualify for                            implementation of the MDI Rules, the                     1776 Under the baseline it would be difficult in
                                                 preferential pricing tiers (i.e., tiers with                 effect on competition is accounted for in             many cases for a broker-dealer to allocate specific
                                                 higher rebates/lower fees).                                  the MDI Adopting Release and is not                   rebates received or fees paid to one customer’s trade
                                                    Another commenter stated that                                                                                   because the fees or rebates in a given month are
                                                                                                              ascribed to these amendments.                         based, in many instances, on that broker-dealer’s
                                                 although the access fee cap would be
                                                                                                                 Making exchange fees and rebates                   total trading volume across all customer accounts,
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                                                 lowered, it could still allow sufficient                                                                           see section VII.C.2.b. However, if the fees and
                                                                                                              determinable at the time of execution                 rebates are determinable at the time of execution
                                                   1771 See Verret Letter I at 9.                             will enable the customers of broker-                  the broker-dealer could feasibly track a specific fee
                                                   1772 Id. at 6, 7.                                          dealers to better discuss transaction fees            or rebate to a specific trade, making it possible for
                                                    1773 According to table 4 the differences in pricing
                                                                                                              and rebates with their broker-dealers,                a customer to receive such information.
                                                                                                                                                                       1777 See Danny Mulson Letter.
                                                 tiers for many exchanges exceed 10 mils therefore            and potentially request data on the
                                                 if the number of pricing tiers does not decrease, by                                                                  1778 See supra note 1621, for a discussion on the

                                                 necessity, the average difference between the tiers                                                                incentives that institutional traders have to monitor
                                                 would diminish.                                                1774 See Healthy Markets Letter I at 23–24.         all aspects of transaction costs.



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                                                 some customers to monitor the                            less content—being derived from a                     face latency disadvantages relative
                                                 performance of their broker-dealers.1779                 single exchange or exchange family—                   exchanges.1785 If competing
                                                   Accelerating the inclusion of odd-lot                  than the exclusive SIPs. If the exclusive             consolidators can offer a lower latency
                                                 data into the exclusive SIPs will                        SIPs charge more for data on account of               product, then they can capture a part of
                                                 increase competition among data                          the increased costs associated with                   the market that the amendments will
                                                 providers of odd-lot information prior to                disseminating odd-lot information, then               not affect—those customers who will
                                                 the full implementation of the MDI                       this may provide a competitive                        use odd-lot information in ways other
                                                 Rules, though it will do so less than                    advantage to providers of proprietary                 than visual display.1786 Likewise,
                                                 envisioned in the MDI release for the                    TOB products.                                         competing consolidators can offer
                                                 period until the MDI Rules are fully                        Requiring the exclusive SIPs to                    depth-of-book data under the MDI
                                                 implemented. Specifically, under the                     disseminate the accelerated odd-lot                   Rules, which the SIPs are not required
                                                 implementation schedule in the MDI                       information until the exclusive SIPs are              to disseminate under these
                                                 Rules, adding odd-lot information to                     retired will guarantee that the odd-lot               amendments. If these markets are
                                                 core data was to occur during the                        information will be disseminated.1782                 significantly bigger than the odd-lot
                                                 parallel operation period. Adding odd-                   However, this requirement may also                    visual display market, the competitive
                                                 lot information to the current exclusive                 affect competition among competing                    advantage of the exclusive SIPs will be
                                                 SIPs will enable the exclusive SIPs to                   consolidators once the MDI Rule is fully              less likely to dissuade entry, and non-
                                                 compete directly with the exchanges’                     implemented. On the one hand, these                   SIP competing consolidators could have
                                                 proprietary data products for use in                     new requirements on the SIPs could                    sufficient incentive to enter the
                                                 visual display settings. Without this                    reduce competition among competing                    market.1787
                                                 change, the only means to get odd-lot                    consolidators and therefore reduce the
                                                                                                                                                                3. Capital Formation
                                                 information is to subscribe to multiple                  expected benefits of the MDI Rules. This
                                                 proprietary data feeds. This will change                 reduction in competition could occur                     The Commission expects that the
                                                 when odd-lots are a part of SIP data.                    because the amendments may increase                   amendments will promote capital
                                                   Unlike the data provided by the                        the competitive advantage of exclusive                formation. First, the combined effect of
                                                 competing consolidators, the current                     SIPs relative to non-SIP competing                    the amendments will be to increase
                                                 exclusive SIPs are not fast enough for                   consolidators because the SIPs will have              liquidity generally, which will increase
                                                 use in certain trading.1780 Thus, the                    established a market for odd-lot                      incentives to trade and therefore price
                                                 competition for odd-lot data will be                     information before having to face                     efficiency. Price efficiency in turn
                                                 limited to odd-lot information used in                   competition. That is, the SIPs will have              promotes capital formation. The
                                                 visual display settings. To the extent                   time to acquire customers for odd-lot                 Commission also expects that the
                                                 that some market participants subscribe                  information before other competing                    alleviation of tick constraints and the
                                                 to proprietary data for use in visual                    consolidators can enter. These                        lower access fee cap will work together
                                                 display settings, the introduction of                    customers may then face costs should                  and separately to lead to displayed
                                                 odd-lot information to the exclusive                     they switch to a non-SIP competing                    prices that are more reflective of supply
                                                 SIPs will provide competition to this                    consolidator; these switching costs may               and demand for the underlying
                                                 segment of the market and reduce the                     dissuade entry by non-SIP competing                   securities, also promoting capital
                                                 prices of odd-lot information provided                   consolidators and thereby lower                       formation.
                                                 by the proprietary data feeds. However,                  competition.1783                                         One commenter stated that a narrower
                                                 the Commission does not believe that                        On the other hand, the Commission is               tick could increase volatility and
                                                 this market is very large. Currently, for                uncertain whether the SIPs will become                decrease liquidity which could
                                                 most display settings, market                            competing consolidators.1784 The                      discourage companies from going
                                                 participants use SIP data or one of the                  amendments’ requirement for SIPs to                   public.1788 As discussed in section
                                                 top-of-book data products offered by one                 disseminate odd-lot information reduces               VII.D.1, stocks receiving the $0.005 tick
                                                 of the three highest volume exchange                     the incremental costs that the SIPs                   on average will not experience harmful
                                                 groups; it is unclear to what extent                     would need to bear in order to become                 liquidity effects. On the contrary, as
                                                 market participants subscribe to                         competing consolidators. Therefore,                   discussed in section VII.D.1, the
                                                 proprietary data with odd-lot                            these amendments make it more likely                  expectation is that on average liquidity
                                                 information for use in visual display                    that the SIPs will register as competing              will improve for stocks with narrow
                                                 settings.                                                consolidators, which would improve                    quoted spreads that receive the tick size
                                                   With respect to competition for top-                   competition relative to a scenario in                 reduction. Additionally, as discussed in
                                                 of-book (TOB) data, the exclusive SIPs                   which they do not compete.                            section VII.D.1, the narrower tick will
                                                 face competition from exchanges’ TOB                        Further, non-SIP competing                         not result in increased volatility.1789
                                                 data products. As discussed in the MDI                   consolidators will still have an                      Consequently, even if there was a link
                                                 adoption,1781 these proprietary products                 opportunity to compete for significant                between liquidity and volatility, and the
                                                 are typically less expensive and contain                 market share. As discussed above, SIPs                decision to go public, those channels

                                                    1779 It is possible that some institutional traders     1782 See supra section VII.D.4.c for additional       1785 See supra note 1780.
                                                                                                                                                                   1786 See discussion around note 1780, supra
                                                 have access to proprietary data feeds that provide       discussion. While the amendments require the
                                                 the ability to benchmark trades against odd-lot          exclusive SIPs to distribute odd-lot data, the MDI    explaining that the SIPs’ latency disadvantage
                                                 orders. Or, they could contract with specialized         Rules do not require the competing consolidators to   makes their data useful for visual display.
                                                 firms that have access to the data and provide           disseminate odd-lot data. However, the MDI               1787 In the MDI Adopting Release, the
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                                                 transaction cost analysis.                               Adopting Release anticipated that at least one        Commission anticipated that both exchanges
                                                    1780 See MDI Rules for a discussion of the SIPs’      competing consolidator will do so because there       operating exclusive SIPs would have strong
                                                 higher latency relative the proprietary feeds offered    would be demand for the data.                         incentives to enter the competing consolidator
                                                 by exchanges. In particular, footnote 26 on page           1783 See MDI Adopting Release, supra note 10, for   market. See MDI Adopting Release, supra note 10,
                                                 18599 summarizes commenters’ views on the                further discussion of how competing consolidators     at 18761.
                                                 disadvantages of using SIP data instead of               have higher barriers to entry than exclusive SIPs,       1788 See RBC Letter at 3.

                                                 proprietary feeds.                                       such as in the form of compliance costs associated       1789 See supra notes 1209 and 1210 and
                                                    1781 See MDI Adopting Release, supra note 10 at       with Regulation SCI.                                  surrounding text for a discussion of tick sizes and
                                                 18603.                                                     1784 See supra note 1782.                           volatility.



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                                                 aren’t expected to be affected in the                     size reduction—as discussed in section                   compliance costs of the rules for other
                                                 manner mentioned by the commenter.                        VII.D.2. Therefore, the amendments are                   market participants relative to the
                                                 Further, the link between tick sizes and                  expected to improve liquidity and thus                   adopted amendments. This is because
                                                 IPOs is not clearly defined in existing                   will not impede capital formation                        these alternatives would not change
                                                 research.1790                                             through this channel.                                    how these entities learn which stocks
                                                    Commenters expressed the concern                                                                                are subject to the $0.005 tick and which
                                                 that wider spreads and reduced depth                      F. Reasonable Alternatives
                                                                                                                                                                    are subject to the $0.01 tick size in terms
                                                 would negatively impact capital                              This section considers alternatives to                of assessing lists from the listing
                                                 formation for growth companies.1791                       the amendments. In the Proposing                         exchanges’ websites, and the need to
                                                 Commenters specifically mentioned the                     Release, we considered the benefits and                  update systems to implement the
                                                 importance of rebates for small and                       costs of multiple categories of                          different tick sizes.
                                                 medium-sized growth companies,                            alternative, and variations within those                    The biggest effect of these alternatives
                                                 without which ‘‘market makers may no                      categories.1794 For brevity we do not                    relative to the adopted amendments is
                                                 longer find it profitable to make tight                   repeat that discussion here. Instead, this               that they would reduce the number of
                                                 markets.’’ 1792 Two considerations enter                  section focuses on additional                            securities receiving a reduced tick size.
                                                 in determining the effect of capital                      alternatives suggested by commenters,                    For example, one proposed alternative
                                                 formation. First, for illiquid stocks,                    to the extent they are not incorporated                  would limit the number of securities
                                                 spreads are the primary determinant of                    into the adopted amendments. We                          receiving a smaller tick size to an
                                                 revenue for liquidity providers. The                      organize subsections around key                          estimated 58 stocks.1799 Commenters
                                                 rebate makes less of a difference on a                    elements of the Rule: tick size,                         stated that limiting the sample via
                                                 percentage basis then for stocks that are                 minimum trading increment, access fee,                   additional thresholds and criteria would
                                                 more liquid. Second, the Commission                       and MDI and BOLO.1795                                    ensure that only the stocks that are
                                                 does not expect the cost of transacting                   1. Tick Size Alternatives                                absolutely the most likely to benefit
                                                 in illiquid securities to rise, net of fees                                                                        from a smaller tick size would receive
                                                 and rebates.1793 While the Commission                     a. Alternative Criteria for Selecting                    the smaller tick size.1800 However, the
                                                 acknowledges the crucial role of the                      Stocks Receiving a Smaller Tick Size                     drawback to this more limited approach
                                                 ability of investors to transact for capital                 Commenters suggested alternative                      is that the analysis presented in sections
                                                 formation, it is not quoted spreads that                  methodologies for identifying which                      VII.D.1.b.ii and VII.D.1.b.iii suggests
                                                 matter to investors but rather the net                    stocks should receive a smaller tick                     that many stocks that would not qualify
                                                 spread available on exchange. In sum,                     size.1796 These alternative                              for the lower tick size under these
                                                 liquidity is expected to improve for                      methodologies are discussed in greater                   alternative thresholds would likely still
                                                 stocks with narrow quoted spreads that                    detail in section VII.D.1.b.iii and                      benefit from reducing the tick size. This
                                                 receive the tick size reduction—as                        generally center on adding additional                    conclusion is supported by the findings
                                                 discussed in section VII.D.1—and                          criteria, in addition to the TWAQS, to                   in table 9 which demonstrate that across
                                                 liquidity is not expected to be harmed                    determine which stocks should qualify                    many dimensions TSP stocks with
                                                 for stocks that do not receive the tick                   for a lower tick size.1797 In that section,              narrow spreads that are nonetheless in
                                                                                                           analysis failed to find evidence that the                the bottom quartile based on depth,
                                                    1790 Research on this topic is exceptionally
                                                                                                           additional criteria would avert harm to                  price, or trading volume, i.e., those that
                                                 difficult. As stated in the report Assessment of the                                                               commenters suggest could perhaps be
                                                 Plan to Implement a Tick Size Program, ‘‘There are
                                                                                                           market quality. One reason for this is
                                                 myriad factors influencing companies’ decisions           likely that much of the information                      excluded from receiving the lower tick
                                                 about whether to go public or remain private—and,         contained in these additional thresholds                 size, still experienced market quality
                                                 if an IPO is desired, in which country to list shares.    suggested by commenters is already                       improvements across many dimensions
                                                 These include the availability of capital outside the     contained in the TWAQS.1798                              with a smaller tick. This analysis also
                                                 public equity market, the regulatory burdens placed
                                                 on public companies, market conditions, broader              Moreover, implementing these                          fails to find statistically significant
                                                 macroeconomic trends and differences in economic          alternatives would increase the                          evidence that such stocks would be
                                                 conditions between countries globally.                    complexity of the amendments from the                    harmed. Consequently, adding
                                                 Additionally, broader historical context may reveal       perspective of the listing exchanges,                    additional criteria would add
                                                 certain periods of strong IPO issuance, particularly
                                                 during times of high speculative activity in markets,
                                                                                                           who would be required to track and                       complexity to the implementation of the
                                                 as anomalous and unsustainable.’’ See Securities          implement multiple thresholds to                         Rule, increasing the compliance costs of
                                                 and Exchange Commission, Assessment of the Plan           identify tick-constrained securities.                    the rule, and would have lower benefits
                                                 to Implement a Tick Size Pilot Program (Jul.3,            Increased complexity would increase                      than the adopted amendments because
                                                 2018), available at https://www.sec.gov/files/
                                                 TICK%20PILOT%20ASSESSMENT%
                                                                                                           the compliance costs of the amendments                   it would leave some stocks with a wider
                                                 20FINAL%20Aug%202.pdf (last accessed Feb. 6,              for these entities. Complexity would                     tick size than would be optimal.
                                                 2024).                                                    also increase for broker-dealers and
                                                                                                                                                                    b. Alternative Threshold for Lower Tick
                                                    1791 See Nasdaq Letter I at 24.
                                                                                                           investors, who would be required to
                                                                                                                                                                    Size
                                                    1792 See Nasdaq Letter I at 25. See also Virtu
                                                                                                           take these changes into account. These
                                                 Letter II at 10.                                          alternatives would likely not affect the                    Some commenters suggested that the
                                                    1793 One commenter, stating that the reduced
                                                                                                                                                                    Commission adopt a threshold for the
                                                 access fee cap would reduce ‘‘incentives for
                                                 liquidity in thinly traded securities,’’ cited a study
                                                                                                             1794 See Proposing Release, supra note 11, at          lower tick size that is different from the
                                                 showing that an improvement in liquidity from             80339.                                                   adopted amendments. The most
                                                                                                             1795 Some commenters discussed ‘‘no action’’ as
                                                 stock splits resulted in significant reductions in the                                                             common alternative suggested was a
                                                 cost of capital for firms that did a stock split (Virtu   an alternative to the proposed rules. See, e.g., Virtu
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                                                                                                           Letter II at 22–23. For purposes of the economic         TWAQS of $0.011 threshold.1801
                                                 Letter II at 8, citing Ji-Chai Lin, Ajai K. Singh &Wen
                                                 Yu, Stock Splits, Trading Continuity, and the Cost        analysis, the baseline describes the world as it
                                                 of Equity Capital, 93 J. Fin. Econ. 474, 475 (Jan. 1,     would exist without the rules.                             1799 See Cboe Letter II at 5.
                                                                                                             1796 See supra section VII.D.1.b.iii for additional      1800 See supra section VII.D.1.b.iii for additional
                                                 2009)). As stated above, because the reduction of
                                                 the access fee will not result in an increase in the      discussion of these methodologies.                       discussion.
                                                                                                             1797 See supra note 1311 for discussion of specific      1801 See, e.g., UBS Letter at 10 and JPMorgan
                                                 cost of liquidity, see supra section VII.D.2.c,
                                                 discussing this point, there is no reason to expect       commenter suggestions.                                   Letter at 4. With a $0.011 threshold, following the
                                                 the cost of capital to increase as a result of lowering     1798 See supra note 1318 and surrounding               methodology employed in table 7, an estimated
                                                 the access fee cap.                                       discussion.                                                                                           Continued




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                                                    The Commission estimates that the                    c. Alternative Measurement Horizons                     a one-month effective period for a tick
                                                 costs to implement this alternative                     for TWAQS and Effective Periods for                     size would reduce the amount of
                                                 would be similar to the adopted                         Tick Sizes                                              estimated trading volume that trades
                                                 amendments because all affected                            Some commenters suggested                            with a wide tick and likely would have
                                                 entities would be required to perform                   alternative measurement horizons to                     benefited from a smaller tick to 8.5%,
                                                 the same work as in the adopted                         determine the TWAQS as well as                          compared to an estimated 13.7% in the
                                                 amendments. From an implementation                      alternative periods that the tick size                  adopted amendments. Consequently,
                                                 perspective, the key difference between                 would be effective.1803 Much of the                     more trading volume would be assigned
                                                 this alternative and the adopted                        analysis of alternative measurement                     a tick size that is expected to improve
                                                 amendments would be the considerably                    horizons for the time weighted quoted                   market quality for the stock. However,
                                                 reduced number of stocks that would                     spread as well as alternative operative                 relative to the adopted amendments this
                                                 qualify for the alternative’s lower tick                periods for tick sizes is contained in                  alternative would have 12 tick size
                                                                                                         VII.D.1.d. In sum, the analysis in that                 changes per year instead of the adopted
                                                 size.
                                                                                                         section presents tradeoffs. On the one                  2 changes, thus it would increase the
                                                    This alternative would more                          hand, a shorter evaluation period ties                  complexity and compliance costs
                                                 specifically target trading volume that is              the tick size to the most recent market                 associated with the rule. Overall,
                                                 nearly always trading at the minimum                    experience for a given stock potentially                relative to the adopted amendments,
                                                 trading increment. This alternative                     resulting in the most relevant tick size                this alternative results in a significant
                                                 would leave stocks with quoted spreads                  to be assigned. On the other hand, if that              increase in complexity but only
                                                 between $0.011 and $0.015 with the                      time period is associated with transient                achieves a relatively modest increase in
                                                 $0.01 tick size, whereas the adopted                    spikes in quoted spreads, such as during                effectiveness in terms of trading volume
                                                 amendments assign a tick size of $0.005                 the first quarter of 2020 coincident with               with the appropriate tick size.
                                                 to such stocks. Using the same                          the onset of the Covid–19 pandemic,                        On the other side of the spectrum, a
                                                 methodology as is used in table 7 there                 then the time period used to assign tick                rule that uses a 12-month operative
                                                 would be an estimated 1,216 stocks                      sizes would not be representative of                    period could produce the opposite
                                                 receiving a $0.005 tick size under this                 current market conditions and a stock                   effect. It would reduce complexity
                                                 alternative, a reduction of                             may be assigned a sub-optimal tick size.                somewhat by reducing the number of
                                                 approximately 572 stocks compared to                       There is also a tradeoff associated                  revisions, but with a significant
                                                 the adopted amendments. These                           with the length of time that tick sizes                 decrease in effectiveness of the tiered
                                                 omitted stocks have between 1.1 and 1.5                 are effective. More frequent updating                   tick size regime. For instance, again
                                                                                                         means the tick size can adjust more                     using data from table 10, this alternative
                                                 ticks intra-spread on average. Research
                                                                                                         rapidly to changes in the trading                       would increase the amount of trading
                                                 and Commission analysis as well as                      environment for a given stock and thus                  volume that retains the larger tick size
                                                 commenters’ analyses suggest that 2 to                  could increase the amount of trading                    but would likely benefit from a smaller
                                                 4 ticks intra-spread is likely an optimal               volume associated with optimal tick                     tick size to 20.8%, up from an estimated
                                                 range for stocks.1802 Thus, assigning                   sizes. The downside is that more                        13.7% associated with the adopted
                                                 stocks with a quoted spread between                     frequent updates would also increase                    amendments.
                                                 $0.011 and $0.015 to a tick size of                     the cost and complexity of the
                                                 $0.01—resulting in 1.1–1.5 ticks intra-                 amendments as market participants                       2. Access Fee Alternatives
                                                 spread—is likely to produce worse                       would have to adjust to tick sizes that                 a. 15 mils/30 mils Access Fee
                                                 market quality outcomes than assigning                  change more frequently.                                    Some commenters recommended
                                                 these stocks a $0.005 tick—which                           The Commission analyzed many
                                                                                                                                                                 adopting a two-tier approach to existing
                                                 would result in 2.2–3 ticks intra-spread.               iterations of evaluation period and tick
                                                                                                                                                                 Rule 610(c)’s uniform maximum access
                                                 Thus, under this alternative these                      size operative period and found
                                                                                                                                                                 fee cap. Specifically, these commenters
                                                 stocks, on average, would be expected to                evidence consistent with these
                                                                                                         tradeoffs.1804 Consequently, depending                  recommended an access fee of 15 mils
                                                 have lower overall market quality                                                                               for stocks with a $0.005 cent tick and
                                                 relative to the adopted amendments.                     on the combination of period used to
                                                                                                         determine the TWAQS and the effective                   maintaining the 30 mils maximum
                                                 Specifically, analysis in table 8 of stocks                                                                     access fee for stocks that continue to
                                                 in bin 2, which had 1–2 ticks intra-                    period for the tick size, the total fraction
                                                                                                         of trading volume that trades in the                    have a $0.01 cent tick (15 mils/30 mils
                                                 spread during the TSP, experienced                                                                              alternative).1805 This 15 mils/30 mils
                                                                                                         preferred range may increase or
                                                 significant improvements in market
                                                                                                         decrease relative to the adopted
                                                 quality when the TSP tick size was                      amendments as suggested by the
                                                                                                                                                                    1805 See, e.g., NYSE Letter I at 7 and Nasdaq Letter

                                                 relaxed—providing evidence that such                                                                            IV at 2. Nasdaq’s alternative assumes that the
                                                                                                         analysis in table 10. Additionally, the                 Commission will adopt only one additional reduced
                                                 stocks would benefit from a lower tick                  costs and complexity of the alternatives                tick size bucket of $0.005 and a uniform access fee
                                                 size. Consequently, this alternative, by                would similarly be affected by                          of $0.10. Nasdaq Letter IV. See also NYSE, Schwab,
                                                 failing to reduce the tick size for stocks                                                                      and Citadel Letter at 2 (‘‘we recommend a reduction
                                                                                                         alternative horizons chosen with more                   that is proportionate to the proposed reduction in
                                                 that evidence suggests would benefit                    frequent updating associated with                       the minimum quoting increment for tick-
                                                 from a tick size decrease, would have                   higher costs and complexity and less                    constrained symbols. This would reduce the current
                                                 lower benefits compared to the adopted                  frequent updating associated with lower                 $.0030/share cap to $.0015/share for the symbols
                                                                                                                                                                 with a half-penny minimum quoting increment’’);
                                                 amendments, while having similar                        costs and complexity relative to the                    Nasdaq Letter I at 2; MMI Letter at 7 (‘‘access fees
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                                                 costs.                                                  adopted amendments.                                     should be scaled based on 30% of the minimum
                                                                                                            For example, as shown in panel A of                  pricing increment’’); Robinhood Letter at 5, 56–59
                                                                                                         table 10, an alternative which would                    (‘‘the Commission should tie access fee caps to be
                                                                                                                                                                 consistently proportional to the applicable tick size
                                                                                                         have a one-month evaluation period and                  at the current proportion of 30%’’); and MEMX
                                                 1,216 stocks would receive the lower tick size, with                                                            Letter at 23–24 (‘‘Lower the access fee cap in tick
                                                 a $0.02 threshold an estimated 2,339 stocks would         1803 See, e.g., FIA PTG Letter II at 2 and JPMorgan
                                                                                                                                                                 constrained NMS Stocks to $0.0015 to maintain the
                                                 receive the lower tick size.                            Letter at 4.                                            proportionality of access fees and tick sizes, and
                                                   1802 See supra section VII.D.1.b.ii.                    1804 See supra section VII.D.1.d.                     include auction fees within the scope of the rule to



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                                                 alternative would be applied to stocks                   TWAQS of 1.7 cents the stock in a                       outcome between a 30 mils and 10 mils
                                                 priced $1.00 or more.1806                                subsequent Evaluation Period would                      access fee would be a relatively large
                                                    According to one commenter, this                      receive a tick of 1 cent and the access                 reduction in distortions.1812 For stocks
                                                 approach would be beneficial because                     fee cap would again be 30 mils.1809 At                  assigned to the half-penny tick that
                                                 the higher rebate cap for $0.01 tick                     that point, the aforementioned process                  remain tick-constrained, the reductions
                                                 stocks would maintain incentives to                      would begin again: the stock would yo-                  would be more minor in an absolute
                                                 provide on-exchange lit liquidity.1807                   yo between tick sizes of 0.5 cents and                  sense (15 mils versus 10 mils). The
                                                 The Commission acknowledges that the                     1 cent and access fee caps of 15 mils and               analysis for potential conflicts of
                                                 lower access fee cap on stocks with the                  30 mils, generating investor confusion                  interest is similar.1813 While the
                                                 higher tick is likely to widen spreads.                  and additional costs.1810 In contrast,                  Commission acknowledges that there is
                                                 As discussed in sections VII.D.2.c and                   consider what would happen to this                      some access fee that would be so low as
                                                 VII.E.1, these wider spreads will not                    same stock under a uniform 10 mils                      to create strain on exchange business
                                                 lead to a diminution of lit liquidity on                 access fee cap. The average quoted                      models, 10 mils appears well above this
                                                 exchanges. Rather, liquidity providers                   spread would widen from 1.4 cents to                    point.1814 Like the adopted
                                                 will adjust their quotes to reflect the                  1.8 cents, at which point the stock                     amendments, this alternative would not
                                                 change in fees and rebates, resulting in                 would not be subject to a tick size                     affect an exchange’s ability to earn its
                                                 higher quoted spreads without an                         reduction and there would be no                         baseline net capture on trading volume
                                                 increase in transaction costs nor a                      oscillations. The same problem would                    priced greater than $1.00.1815 This
                                                 decrease in lit liquidity.                               occur even with a lower threshold for a                 alternative may also result in
                                                    Relative to the adopted amendments,                   tick size reduction (e.g., if the TWAQS                 complications for orders priced below
                                                 this alternative would raise costs by                    threshold for the 0.5 cent tick were to                 $1. Specifically, for orders priced below
                                                 causing stocks to oscillate between the                  be set at 1.1 cents instead of 1.5 cents,               $1 this alternative would lead to one of
                                                 two tick sizes, resulting in the tick size               then the 15 mils/30 mils alternative                    two outcomes that could have negative
                                                 being consistently mis-assigned for the                  would result in spreads oscillating                     effects for stocks trading right at the
                                                 oscillating stocks. Specifically, the 15                 between 1.05 and 1.35 cents for some                    $1.00 threshold. For these stocks, the
                                                 mils/30 mils alternative would result in                 stocks, causing them to yo-yo between                   minimum pricing increment is $0.0001
                                                 a feedback loop scenario on tick size                    tick sizes). Moreover, oscillation would                regardless of the access fee applied. If
                                                 assignment from tying fee caps to tick                   also occur if one were to add other                     the fee cap for sub-$1 orders were to be
                                                 size. As discussed in sections VII.B.3                   metrics to the TWAQS threshold for                      kept proportional at 0.30% and 0.15%
                                                 and VII.C.2.b, access fees are tied to                   smaller tick sizes because there will still             for trades priced above $1.00, then if
                                                 rebates, which in turn influence quoted                  be stocks near the TWAQS threshold.                     those stocks prices drop below $1.00
                                                 spreads. Consider, for example, a stock                  The simplest, and perhaps the only, way                 this would result in a situation where
                                                 that trades in an Evaluation Period, on                  to avoid this feedback loop is to use a                 there was a group of stocks with the
                                                 average, with a 1.4 cent TWAQS and 30                    uniform access fee cap.                                 same tick size (i.e., $0.0001) but two
                                                 mils access fee cap (and rebate). Under                     The 15 mils/30 mils alternative would                different fee caps. This could place
                                                 the amendments to Rule 612, this stock                   also increase complexity because the                    stocks with the higher fee cap at a
                                                 would receive a 0.5 cent tick. If this                   higher level of fees and rebates create a               competitive disadvantage relative to the
                                                 stock were to also to be subject to the                  larger wedge between the quoted half-                   stocks with the lower access fee cap.
                                                 15 mils/30 mils alternative, it would                    spread and the true cost of demanding                   This outcome is also more complicated
                                                 thus be subject to a 15 mils fee cap once                liquidity.1811 Further, this alternative                than both the baseline and adopted rule
                                                 it receives the smaller tick size, instead               would reduce some benefits related to                   which both have at most one fee cap per
                                                 of a 30 mils one, and its average                        the minimum pricing increment, most                     tick size. Alternatively, if the fee cap for
                                                 TWAQS would increase to 1.7 cents                        substantially for stocks with the penny                 orders priced below $1 were to be set
                                                 (increase by twice the 0.15 cents                        tick. As discussed in section VII.C.1.b,                uniformly at 0.30%, then this
                                                 reduction in rebates as result of the                    these stocks may have, at times, an                     alternative would create a discontinuity
                                                 lower access fee cap).1808 But with a                    economic spread that is less than one                   in the cost of accessing liquidity at the
                                                                                                          penny. At those times, the difference in                $1.00 price threshold for stocks assigned
                                                 prevent competitive distortions that would
                                                                                                                                                                  the 15 mils fee cap; likewise, if the fee
                                                 otherwise result if listing exchanges were permitted     under the access fee cap of 0.15 mils is 0.15. The      cap for orders priced below $1 were to
                                                 to use auction fees to avoid a lower fee cap’’).         example is not changed if the rebate goes from 0.28     be set uniformly at 0.15%, then it would
                                                   1806 Commenters recommending this alternative          mils to 0.13 mils.                                      create a discontinuity at the $1.00 price
                                                 did not address the treatment of sub $1.00 stocks.          1809 As discussed above in section VII.D.1, the
                                                                                                                                                                  point for stocks with the 30 mil fee cap.
                                                 For purposes of this discussion, we assume a             stock’s having a 0.5 cent tick would likely lead to
                                                 proportionately reduced 0.15% access fee cap for         a narrower quoted spread than 1.7 cents. However,       This discontinuity could create
                                                 those stocks. This access fee cap percentage relative    if the smaller tick causes the quoted spread to fall    distortions in liquidity provision as
                                                 to the adopted amendments would mitigate the             by anything less than 0.2 cents, the tick and access    discussed in section VII.D.2.c.1816
                                                 expected reduction in exchanges’ revenue resulting       fee cap would revert back to 1 cent and 30 mils after   Consequently, this alternative results in
                                                 the lower access fee cap. Cf. Cboe Letter I (not         the next Evaluation Period.
                                                 recommending any reduction in access fees but, if           1810 One commenter stated that, ‘‘the Commission
                                                                                                                                                                  either a situation in which there are two
                                                 access fees are reduced, recommending that the           should consider the possibility of tick size
                                                 access fee [for stocks priced equal to or greater than                                                              1812 See supra section VII.D.2.d. For stocks
                                                                                                          oscillation for some stocks that fall close to the
                                                 $1.00] should not be reduced below $.0015 for tick       threshold values for TWAS.’’ The commenter stated       receiving the penny tick, the reduction in the access
                                                 constrained securities with a $0.005 [tick]              that such oscillation will impose excessive costs.      fee cap from 30 mils to 10 mils will reduce
                                                 increment. For securities priced less than $1.00, the    See Mitre Corp. Letter at 5. See also section           transaction costs for stocks that experience periods
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                                                 access fee cap must remain unchanged to support          VII.D.1.d for a quantitative analysis on the tradeoff   in which they are tick-constrained, and further
                                                 competition, differentiation, and liquidity              between appropriate tick assignment and the             reduce the probability that a stock becomes tick-
                                                 provision.’’).                                           number of tick changes when evaluating the length       constrained.
                                                   1807 Nasdaq Letter IV at 11 and passim. See also                                                                  1813 See supra section VII.D.2.d
                                                                                                          of the evaluation and operative periods. The
                                                                                                                                                                     1814 See supra section VII.D.2.b
                                                 supra notes 529 and 535 and accompanying text.           oscillation discussed in this alternative does not
                                                   1808 It is not necessary to assume that the            present such a tradeoff—this oscillation results in        1815 See supra section VII.D.2.b

                                                 exchange rebates the entire access fee. Rather, it is    both more tick changes and more tick                       1816 Specifically, see supra note 669, on the issue

                                                 sufficient that the difference between the rebate        misassignment.                                          of discontinuities in the cost of accessing liquidity
                                                 under the access fee cap of 0.30 mils and the rebate        1811 See supra section VII.D.2.d.                    near the $1 threshold.



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                                                 fee caps for the $0.0001 tick, or there                 relative to the adopted amendments, a                     offered by different exchanges, which
                                                 exists a discontinuity in the cost of                   lower revenue loss on sub $1.00                           would decrease the potential proceeds a
                                                 accessing liquidity at the $1 price point               trading.1822 To illustrate with an                        broker-dealer would receive if it acted
                                                 causing distortions in liquidity                        example, if the access fee percentage                     on the conflict of interest.
                                                 provision. Thus, this alternative appears               were 0.15% instead of the adopted                            Additionally, relative to the adopted
                                                 to create costs without corresponding                   0.10%, then exchanges’ expected                           amendments to Rule 610(c), a lower
                                                 benefits.                                               revenue loss on sub $1.00 trading would                   access fee cap could hinder an
                                                    One commenter suggested the                          be approximatively $41 million across                     exchange’s ability to differentiate itself
                                                 Commission plan to further study the                    those exchanges charging the full 0.30%                   from other exchanges on the basis of its
                                                 question of access fee caps in                          under the baseline, instead of                            pricing schedule, whereas a higher
                                                 combination with the change in the                      approximatively $55 million under the                     access fee cap could enable more
                                                 tick.1817 For the reasons discussed                     adopted amendments.1823 The main cost                     differentiation. As discussed in section
                                                 above and elsewhere in this release, the                of an access fee cap above 10 mils                        VII.E.2.b, the Commission expects that
                                                 Commission adopts the 10 mil access                     would be to increase transaction costs                    exchanges will continue to set fees and
                                                 fee cap. Commission staff, however, will                for stocks with economic spreads                          rebates at or near the access fee cap;
                                                 review and study the effects of the                     smaller than the minimum pricing                          therefore, a higher or lower access fee
                                                 amendments as described in section                      increment.1824 Also, an access fee cap                    cap would likely have minimal effect on
                                                 VII.D.                                                  higher than 10 mils would allow for a                     pricing differentiation across exchanges.
                                                                                                         greater wedge to exist between                            For retail investors, an access fee cap
                                                 b. Higher or Lower Uniform Access Fee                   displayed prices and the net prices that                  different from the adopted levels would
                                                 Cap                                                     are actually realized, potentially                        likely have little effect on retail market
                                                    The Commission could have adopted                    undermining price transparency.                           quality for reasons discussed earlier.1825
                                                 different uniform access fee caps. An                      In contrast, if the access fee caps were               With regard to exchange trading versus
                                                 access fee cap must stay below 50% of                   set below the adopted levels, then the                    off-exchange trading, as discussed
                                                 the minimum pricing increment in                        effects described in the prior paragraph                  above,1826 an access fee cap lower than
                                                 order to preserve price coherence.1818                  would all flip. Namely, relative to the                   the adopted level could bring more
                                                 Alternatively, if the access fee cap is set             adopted amendments, transaction costs                     trading volume onto exchanges by
                                                 below an exchanges’ net capture rate,                   for stocks with economic spreads                          further relieving tick constraints that
                                                 then it can adversely affect existing                   smaller than the minimum pricing                          drive volume off-exchange. A higher
                                                 exchange pricing practices.1819 Some                    increment would be lower, and there                       access fee cap would reverse these
                                                 commenters suggested retaining the                      could exist a smaller wedge between                       effects.
                                                 current uniform 30 mils cap for stocks                  displayed prices and the net prices that
                                                                                                                                                                   VIII. Paperwork Reduction Act
                                                 with prices above $1.00.1820 A uniform                  are actually realized, potentially
                                                 30 mils level would be above 50% of the                 improving price transparency. However,                       Certain provisions of the rules and
                                                 minimum pricing increment under the                     relative to the adopted amendments,                       rule amendments contain ‘‘collection of
                                                 adopted amendments, and thus would                      exchanges could no longer have                            information requirements’’ within the
                                                 not preserve price coherence. Another                   sufficient flexibility to earn their net                  meaning of the Paperwork Reduction
                                                 commenter suggested a uniform access                    capture on stocks with prices above                       Act of 1995 (‘‘PRA’’).1827 The
                                                 fee cap below 10 mils.1821                              $1.00, and exchanges would incur a                        Commission requested comment on the
                                                    As discussed in section VII.D.2.b,                   greater loss in revenue on sub $1.00                      collection of information requirements
                                                 exchanges have sufficient flexibility                   trading.                                                  in the Regulation NMS Proposal and
                                                 under the adopted amendments to                            An access fee cap higher than the                      submitted relevant information to the
                                                 maintain their current net-capture and                  adopted 10 mils, and the associated                       Office of Management and Budget
                                                 agency business models on stocks with                   higher rebates, also exacerbates the                      (‘‘OMB’’) for review in accordance with
                                                 prices above $1. A uniform access fee                   potential conflict of interest for broker-                44 U.S.C. 3507(d) and 5 CFR 1320.11.
                                                 higher than 10 mils would afford                        dealers who route customers’ orders to                    The title of the new collection of
                                                 exchanges more flexibility relative to                  the exchanges. As discussed in section                    information is ‘‘Odd-Lot Information
                                                 the adopted amendments. For stocks                      VII.D.3, fees and rebates introduce the                   Acceleration.’’ An agency may not
                                                 with prices less than $1.00, an access                  potential for a conflict of interest if                   conduct or sponsor, and a person is not
                                                 fee percentage (of the share price) higher              those fees and rebates are not fully                      required to respond to, a collection of
                                                 than the adopted 0.1% would imply,                      passed through to the routing broker-                     information unless the agency displays
                                                                                                         dealers’ customers. A higher access fee                   a currently valid control number. The
                                                    1817 Nasdaq Letter IV at 11. This commenter          cap would increase the potential                          Commission has received an OMB
                                                 recommended this alternative as phase 1 in a three-     proceeds a broker-dealer would receive                    control number (3235–0802) for this
                                                 phase data gathering process where, in phase 2, the     if it acted on the conflict of interest. A                collection of information.
                                                 Commission would collect a year of data from                                                                         One commenter stated that the hourly
                                                 phase 1’s changes and then consider a further           lower access fee cap would decrease the
                                                                                                         differences between the fees and rebates                  rates for certain positions were
                                                 access fee cap reduction for stocks with a $0.005
                                                 tick. In phase 3, the Commission would collect an                                                                 inconsistent across the four proposals
                                                 additional year of data to consider a lower fee cap       1822 See supra section VII.D.2.b for a discussion       related to separate aspects of equity
                                                 for stocks with a $0.01 tick. Id. at 2 and 11.          of lost revenue under the adopted amendments.             market structure and Regulation
                                                    1818 See supra section VII.D.2.a.                      1823 See table 14 in supra section VII.D.2.b. In that   NMS.1828 No other comments were
                                                    1819 If the access fee cap was set below an
                                                                                                         table, if the access fee percentage were 0.15%            received discussing the PRA. The
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                                                 exchange’s net capture rate, then its profitability     instead of the adopted 0.10% then the lost revenue
                                                 would decrease because it would no longer be able       on sub $1.00 trading would be approximatively $41
                                                                                                                                                                   hourly rates used to monetize burden
                                                 to charge fees high enough to cover any non-            million across exchanges charging the full 0.30%
                                                 negative rebate. To retain the same net capture rate,   under the baseline.                                         1825 See supra note 1480 and surrounding text.

                                                 the exchange would have to charge a negative              1824 For stocks with wider economic spreads, the          1826 See supra section VII.E.2.b.
                                                 rebate (i.e., a fee), which would represent a major     higher access fee would most likely reduce the              1827 44 U.S.C. 3501 et seq.
                                                 change in pricing model.                                spread in equilibrium, implying little or no effect         1828 See Data Boiler Letter I at 16 (identifying
                                                    1820 See Citigroup Letter at 6, WFE Letter at 4.
                                                                                                         on transaction costs. See supra sections VII.B.3 and      what it termed ‘‘inconsistent rates’’ for the Attorney
                                                    1821 See IEX Letter IV at nn.14 and 21.              VII.D.2.c                                                 and Compliance Manager positions).



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                                                 hours differ across releases in order to                modifications will involve the addition                 2. Ongoing Burden Hours and Costs
                                                 account for changes in inflation rates.                 of new hardware, network
                                                 Consistent with this approach, the                      infrastructure, and bandwidth, as well                    The Commission believes that the two
                                                 hourly rate figures discussed below                     as programming and development costs,                   exclusive SIPs will incur annual
                                                 have been updated from those cited in                   to take in additional inbound odd-lot                   ongoing burden hours and external costs
                                                 the Proposing Release to reflect recent                 quotation messages from SROs, to                        to operate and maintain their modified
                                                 inflation rates. In addition, certain                   calculate odd-lot information, and to                   systems to collect, calculate, and
                                                 estimates outlined in the MDI Adopting                  consolidate and disseminate odd-lot                     disseminate odd-lot information and to
                                                 Release have been modified, as                          information and the round lot and                       disseminate the round-lot and minimum
                                                 discussed in section VII.G below, to                                                                            pricing increment indicators. The
                                                                                                         minimum pricing increment indicators
                                                 conform to the adopted amendments.                                                                              Commission estimates that each
                                                                                                         to subscribers.
                                                 A. Summary of Collection of                                                                                     exclusive SIP will incur 132 ongoing,
                                                                                                            The Commission estimates that each                   annual burden hours 1834 and ongoing,
                                                 Information                                             exclusive SIP will incur 440 initial                    annual external costs of $123,725 to
                                                   The rule amendments include a                         burden hours to modify its systems to                   operate and maintain its systems to
                                                 collection of information within the                    collect, calculate, consolidate and
                                                 meaning of the PRA. Specifically, the                                                                           collect, calculate, and disseminate odd-
                                                                                                         disseminate odd-lot information and to                  lot information and to disseminate the
                                                 amendments to Rule 603(b) require the                   disseminate the round-lot and minimum
                                                 exclusive SIPs to collect, consolidate,                                                                         round-lot and minimum pricing
                                                                                                         pricing increment indicators 1830 and                   increment indicators.1835 Thus, the
                                                 and disseminate odd-lot information,                    initial external costs of $412,500 to
                                                 including the best odd-lot orders to buy                                                                        Commission estimates that the total
                                                                                                         purchase the necessary technology to                    ongoing, annual burden hours for two
                                                 and sell. The exclusive SIPs are also
                                                                                                         effect such modifications.1831 Thus, the                exclusive SIPs will be 264 burden
                                                 required to disseminate indicators of the
                                                                                                         Commission estimates that the total                     hours 1836 and that total ongoing, annual
                                                 applicable round lot size and minimum
                                                 pricing increment for each NMS stock,                   initial burden hours for two exclusive                  external costs would be $247,450.1837
                                                 both of which will be provided to the                   SIPs will be 880 burden hours 1832 and
                                                 exclusive SIPs by the primary listing                   that total initial external costs would be                 1834 The Commission estimates the monetized

                                                 exchange.                                               $825,000.1833                                           annual ongoing burden for this requirement to be
                                                                                                                                                                 $50,301, broken down as follows: [(Sr. Programmer
                                                 B. Proposed Use of Information                             1830 The Commission estimates the monetized          at $399/hour for 63 hours) + (Sr. Systems Analyst
                                                                                                         initial burden for this requirement to be $167,670,     at $343/hour for 54 hours) + (Compliance Manager
                                                    The information collected under the                                                                          at $373/hour for 6 hours) + (Director of Compliance
                                                                                                         broken down as follows: [(Sr. Programmer at $399/
                                                 amendments to Rule 603(b) will be                       hour for 210 hours) + (Sr. Systems Analyst at $343/     at $588/hour for 3 hours) + (Compliance Attorney
                                                 consolidated and disseminated by the                    hour for 180 hours) + (Compliance Manager at            at $440/hour for 6 hours)] = 132 ongoing, annual
                                                 exclusive SIPs to market participants                   $373/hour for 20 hours) + (Director of Compliance       burden hours to operate and maintain its systems
                                                                                                                                                                 to comply with the requirement to collect,
                                                 who will use this odd-lot information                   at $588/hour for 10 hours) + (Compliance Attorney
                                                                                                                                                                 calculate, and disseminate odd-lot information. The
                                                 for trading. Widespread availability of                 at $440/hour for 20 hours)] = 440 initial burden
                                                                                                         hours to modify its systems to comply with the          Commission based these estimates on 10% of the
                                                 odd-lot information promotes fair and                   requirement to collect, calculate, and disseminate      ongoing, annual burden hour estimates provided in
                                                 efficient markets and facilitates the                   odd-lot information. The Commission based these         the MDI Rules for each exclusive SIP competing
                                                                                                                                                                 consolidator to operate and maintain its systems to
                                                 ability of brokers and dealers to trade                 estimates on 10% of the initial burden hour
                                                                                                                                                                 comply with Rules 614(d)(1) through (4) to account
                                                 more effectively and to provide best                    estimates for each exclusive SIP to become a
                                                                                                         competing consolidator provided in the MDI Rules        for the fact that these amendments do not require
                                                 execution to their customers. The round                 to account for the fact that these amendments do        the exclusive SIPs to calculate and disseminate full
                                                 lot and minimum pricing increment                       not require the exclusive SIPs to calculate and         consolidated market data (e.g., depth of book data
                                                 indicators that will be disseminated by                 disseminate full consolidated market data (e.g.,        or auction information) as defined in the MDI
                                                                                                         depth of book data or auction information) as           Rules. See MDI Adopting Release, supra note 10, at
                                                 the exclusive SIPs will provide market                                                                          18712–13. The Commission derived the hourly rate
                                                                                                         defined in the MDI Rules. See MDI Adopting
                                                 participants with information about the                 Release, supra note 10, at 18712–13. The                figures from SIFMA’s Management & Professional
                                                 parameters for trading in a particular                  Commission derived the hourly rate figures from         Earnings in the Securities Industry 2013, modified
                                                 NMS stock.                                              SIFMA’s Management & Professional Earnings in           to account for an 1,800-hour work-year and
                                                                                                         the Securities Industry 2013, modified to account       inflation, and multiplied by 5.35 to account for
                                                 C. Respondents                                          for an 1,800-hour work-year and inflation, and          bonuses, firm size, employee benefits, and
                                                                                                         multiplied by 5.35 to account for bonuses, firm size,   overhead.
                                                   The collection of information under                   employee benefits, and overhead.                           1835 The Commission arrived at this estimate by

                                                 amended Rule 603(b) will apply to the                      1831 The Commission arrived at this estimate by      dividing by three the ongoing, annual external cost
                                                 two exclusive SIPs.                                     dividing the initial external cost estimate provided    estimate provided in the MDI Rules for each
                                                                                                         in the MDI Rules for each exclusive SIP to become       exclusive SIP competing consolidator to operate
                                                 D. Total Annual Reporting and                           a competing consolidator by three to account for the    and maintain its systems to comply with rules
                                                 Recordkeeping Burden                                    fact that the exclusive SIPs would not need to build    614(d)(1) through (4) to account for the fact that the
                                                                                                         aggregation systems in three separate data centers      exclusive SIPs will not need to build aggregation
                                                 1. Initial Burden Hours and Costs                       to collect, calculate, and disseminate odd-lot          systems in three separate data centers to collect,
                                                                                                         information. See MDI Adopting Release, supra note       calculate, and disseminate odd-lot information. See
                                                    The two exclusive SIPs will have to                  10, at 18712–13.                                        MDI Adopting Release, supra note 10, at 18712–13.
                                                 modify their systems to collect,                           1832 The Commission estimates the monetized             1836 The Commission estimates the monetized

                                                 consolidate, and disseminate the odd-lot                initial burden for this requirement to be $335,340,     annual ongoing burden for this requirement to be
                                                 information, including the best odd-lot                 broken down as follows: [(Sr. Programmer at $399/       $100,602, broken down as follows: [(Sr.
                                                                                                         hour for 210 hours) + (Sr. Systems Analyst at $343/     Programmer at $399/hour for 63 hours) + (Sr.
                                                 orders to buy and sell, that they do not                hour for 180 hours) + (Compliance Manager at            Systems Analyst at $343/hour for 54 hours) +
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                                                 currently collect, consolidate, and                     $373/hour for 20 hours) + (Director of Compliance       (Compliance Manager at $373/hour for 6 hours) +
                                                 disseminate 1829 and to disseminate the                 at $588/hour for 10 hours) + (Compliance Attorney       (Director of Compliance at $588/hour for 3 hours)
                                                 round-lot and minimum pricing                           at $440/hour for 20 hours)] × [(2 exclusive SIPs)] =    + (Compliance Attorney at $440/hour for 6 hours)
                                                                                                         880 total initial burden hours across the exclusive     × (2 exclusive SIPs)] = 264 total ongoing, annual
                                                 increment indicators provided by the                    SIPs.                                                   burden hours across the exclusive SIPs.
                                                 primary listing exchange. These                            1833 The Commission estimates total initial             1837 The Commission estimates total annual

                                                                                                         external costs as follows: initial external costs of    ongoing external costs as follows: annual ongoing
                                                   1829 The exclusive SIPs currently disseminate         $412,500 per exclusive SIP × (2 exclusive SIPs) =       external costs of $123,725 per exclusive SIP × (2
                                                 odd-lot transaction data.                               $825,000.                                               exclusive SIPs) = $247,450.



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                                                 E. Collection of Information Is                         MDI Rules, consolidated market data                     applicable exclusive SIP an indicator of
                                                 Mandatory                                               would be provided by competing                          the applicable minimum pricing
                                                   The collection of information                         consolidators and self-aggregators. The                 increment for dissemination. The
                                                 discussed above is a mandatory.                         SROs already provide certain quotation                  primary listing exchange is already
                                                                                                         information to the exclusive SIPs, and                  required to calculate the applicable
                                                 F. Confidentiality                                      many SROs already provide odd-lot                       round lot size and provide it to
                                                   This information collection will be                   quotation information to customers                      competing consolidators and self-
                                                 public.                                                 through their proprietary data feeds.1840               aggregators under the MDI Rules, and
                                                                                                         Nevertheless, providing the exclusive                   the incremental burden of providing
                                                 G. Revisions to Current MDI Rules                       SIPs with the data necessary to generate                this indicator to the two exclusive SIPs
                                                 Burden Estimates                                        odd-lot information may entail                          is likely to be minimal. However,
                                                    Currently, the MDI Rules impose                      additional burdens. Specifically,                       calculating the applicable minimum
                                                 ‘‘collection of information’’                           technical development work may be                       pricing increment and providing it to
                                                 requirements within the meaning of the                  needed to direct odd-lot quotations to                  competing consolidators, self-
                                                 PRA. Specifically, pursuant to Rule                     the exclusive SIPs and to expand the                    aggregators, and the exclusive SIPs will
                                                 603(b), SROs are required to make                       capacity of the existing connections                    entail additional burdens.
                                                 available all data necessary to generate                (including acquiring the necessary                         Specifically, primary listing
                                                 consolidated market data to competing                   hardware, network capabilities and                      exchanges will need to program systems
                                                                                                         power) through which the SROs provide                   to calculate the applicable minimum
                                                 consolidators and self-aggregators. As
                                                                                                         data to the exclusive SIPs to support the               pricing increment for each NMS stock
                                                 explained in more detail below, the
                                                                                                         additional message traffic associated                   that they list semiannually based on its
                                                 Commission is revising the burden
                                                                                                         with odd-lot quotations. Therefore, the                 TWAQS and to include this information
                                                 estimates associated with this
                                                                                                         Commission is revising its burden                       in the data that they provide to
                                                 requirement in light of the amendments.
                                                                                                         estimates for Rule 603(b) upwards by                    competing consolidators, self-
                                                 In the MDI Rules, the Commission
                                                                                                         5% to account for the provision of the                  aggregators, and the exclusive SIPs.
                                                 estimated that each SRO will require an
                                                                                                         data necessary to generate odd-lot                      Therefore, the Commission revising its
                                                 average of 220 initial burden hours of
                                                                                                         information to the exclusive SIPs.1841                  burden estimates for Rule 603(b)
                                                 legal, compliance, information
                                                                                                         Specifically, the Commission is adding                  upwards to account for the calculation
                                                 technology, and business operations
                                                                                                         11 initial burden hours 1842 and 19.8                   of the applicable minimum pricing
                                                 personnel time to prepare and                                                                                   increment and the provision of this
                                                                                                         annual burden hours 1843 to its previous
                                                 implement a system to collect the                                                                               information to competing consolidators,
                                                                                                         estimates.
                                                 information necessary to generate                          In addition, the amendments require                  self-aggregators, and the exclusive SIPs.
                                                 consolidated market data (for a total cost              the primary listing exchange for each                   Specifically, the Commission is adding
                                                 per SRO of $70,865).1838 The                            NMS stock to provide an indicator of                    50 initial burden hours 1844 and 32
                                                 Commission estimated that each SRO                      the round lot size to the applicable                    annual burden hours 1845 for each
                                                 would incur an annual average burden                    exclusive SIP for dissemination and to                  primary listing exchange to its previous
                                                 on an ongoing basis of 396 hours to                     calculate and provide to competing                      estimates and 250 total initial burden
                                                 collect the information necessary to                    consolidators, self-aggregators, and the                hours 1846 and 160 total annual burden
                                                 generate consolidated market data                                                                               hours 1847 for five primary listing
                                                 required by Rule 603(b) (for a total cost                 1840 See MDI Adopting Release, supra note 10, at      exchanges.
                                                 per SRO of $128,064).1839                               18599.                                                     In addition, the MDI Rules include a
                                                    As described above, the amendments                     1841 The Commission believes that 5% of the
                                                                                                                                                                 collection of information requirement
                                                 to Rule 603(b) require SROs to make                     initial and ongoing, annual burden hour estimates
                                                                                                         provided in the MDI Rules for each SRO to make
                                                 available all data necessary to generate                the data necessary to generate consolidated market         1844 The Commission estimates the monetized

                                                 odd-lot information to the exclusive                    data available to competing consolidators and self-     initial burden for this requirement to be $19,000 per
                                                 SIPs whereas, under the decentralized                   aggregators is appropriate because the SROs already     primary listing exchange. Salaries are derived from
                                                                                                         collect the data necessary to generate odd-lot          SIFMA’s Management & Professional Earnings in
                                                 consolidation model set forth in the                                                                            the Securities Industry 2013, modified to account
                                                                                                         information and this information is a subset of
                                                                                                         consolidated market data as defined in the MDI          for an 1,800-hour work-year and inflation, and
                                                   1838 In the MDI Adopting Release, the                                                                         multiplied by 5.35 to account for bonuses, firm size,
                                                                                                         Rules.
                                                 Commission estimated the monetized initial burden         1842 The Commission estimates the monetized           employee benefits and overhead: [(Sr. Programmer
                                                 for this requirement to be $70,865. The Commission      initial burden for this requirement to be $4,261. The   at $368 for 25 hours) + (Sr. Systems Analyst at $316
                                                 derived this estimate based on per hour figures from    Commission derived this estimate based on per           for 10 hours) + (Compliance Manager at $344 for 10
                                                 SIFMA’s Management & Professional Earnings in           hour figures from SIFMA’s Management &                  hours) + (Director of Compliance at $542 for 5
                                                 the Securities Industry 2013, modified to account       Professional Earnings in the Securities Industry        hour)] ≈ $19,000 per listing exchange). See supra
                                                 for an 1,800-hour work-year and inflation, and          2013, modified to account for an 1,800-hour work-       notes 1644–1645 and accompanying text.
                                                 multiplied by 5.35 to account for bonuses, firm size,   year and inflation, and multiplied by 5.35 to              1845 The Commission estimates the monetized

                                                 employee benefits, and overhead: [(Compliance           account for bonuses, firm size, employee benefits,      ongoing, annual burden for this requirement to be
                                                 Manager at $310 for 105 hours) + (Attorney at $417      and overhead: [(Compliance Manager at $373 for          $9,000 per primary listing exchange. ((Compliance
                                                 for 70 hours) + (Sr. Systems Analyst at $285 for 20     5.25 hours) + (Attorney at $501 for 3.5 hours) + (Sr.   Attorney at $406 for 6 hours) + (Compliance
                                                 hours) + (Operations Specialist at $137 for 25          Systems Analyst at $343 for 1 hour) + (Operations       Manager at $344 for 2 hours)) × 4 tick size revisions
                                                 hours)] = 220 initial burden hours and $70,865.         Specialist at $165 for 1.25 hours)] = 11 initial        per year] ≈ $9,000 per listing exchange. Id.
                                                   1839 In the MDI Adopting Release, the                 burden hours and $4,261.                                   1846 50 initial burden hours per primary listing

                                                 Commission estimated the monetized ongoing,               1843 The Commission estimates the monetized           exchange × 5 primary listing exchanges = 250 total
                                                 annual burden for this requirement to be $128,064.      ongoing, annual burden for this requirement to be       initial burden hours. The Commission estimates the
                                                 The Commission derived this estimate based on per                                                               total monetized initial burden of this requirement
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                                                                                                         $7,646.6. The Commission derived this estimate
                                                 hour figures from SIFMA’s Management &                  based on per hour figures from SIFMA’s                  to be $95,000 ($19,000 per primary listing exchange
                                                 Professional Earnings in the Securities Industry        Management & Professional Earnings in the               × 5 primary listing exchanges = $95,000). Id.
                                                 2013, modified to account for an 1,800-hour work-       Securities Industry 2013, modified to account for an       1847 32 annual burden hours per primary listing

                                                 year and inflation, and multiplied by 5.35 to           1,800-hour work-year and inflation, and multiplied      exchange × 5 primary listing exchanges = 160 total
                                                 account for bonuses, firm size, employee benefits,      by 5.35 to account for bonuses, firm size, employee     annual burden hours. The Commission estimates
                                                 and overhead: [(Compliance Manager at $310 for          benefits, and overhead: [(Compliance Manager at         the total monetized annual burden of this
                                                 192 hours) + (Attorney at $417 for 48 hours) + (Sr.     $373 for 10.6 hours) + (Attorney at $501 for 3.4        requirement to be $45,000 ($9,000 per primary
                                                 Systems Analyst at $285 for 96 hours)] = 336 initial    hours) + (Sr. Systems Analyst at $343 for 5.8 hours)]   listing exchange × 5 primary listing exchanges =
                                                 burden hours and $128,064.                              = 19.8 annual burden hours and $7,646.6.                $45,000). Id.



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                                                 under rules 614(d)(1) through (3), which                 RFA.1854 The Commission did not                       number is approximately 3.5% lower
                                                 require competing consolidators to                       receive comments on the IRFA.                         and does not impact the Commission’s
                                                 collect from the SROs quotation and                                                                            analysis.
                                                                                                          A. Amendments to Rule 612—Final                          Rule 612 applies to NMS stocks and
                                                 transaction information for NMS stocks,                  Regulatory Flexibility Analysis
                                                 calculate and generate a consolidated                                                                          the rule would apply to NMS Stock
                                                 market data product, and make the                        1. Reasons for the Action                             ATSs. NMS Stock ATSs that are not
                                                 consolidated market data product                            As discussed in section III, the                   registered as exchanges are required to
                                                 available to subscribers.1848 As                         Commission is adopting amendments to                  register as broker-dealers.1859
                                                 discussed above, the amended                             Rule 612 to update and modernize the                  Accordingly, NMS Stock ATSs would
                                                 definition of odd-lot information                        rule for the current trading                          be considered small entities if they fall
                                                 includes a specified best odd-lot order                  environment. As adopted, Rule 612 will                within the standard for small entities
                                                 to buy and best odd-lot order to sell.                   reduce minimum pricing increment for                  that would apply to broker-dealers. The
                                                 Since the odd-lot quotes that a                          orders and quotes priced $1.00 or                     Commission examined FOCUS data for
                                                 competing consolidator would use to                      greater for certain NMS stocks.                       the 33 broker-dealers that currently
                                                 identify and disseminate the best odd-                                                                         operate NMS Stock ATSs and, applying
                                                                                                          2. Small Entities Subject to the Rule                 the test for broker-dealers described
                                                 lot orders—if the competing
                                                 consolidator offers a consolidated                          Rule 612 would apply to national                   above, believes that none of the NMS
                                                 market data product that includes this                   securities exchanges, national securities             Stock ATSs currently trading NMS
                                                 information—are already included in                      associations, ATSs, vendors, and broker               stocks were operated by a broker-dealer
                                                 the data necessary to generate odd-lot                   or dealers.                                           that is a ‘‘small entity.’’ 1860
                                                                                                             National securities exchanges are not                 A vendor is defined in rule
                                                 information, the Commission believes
                                                                                                          small entities as defined by Commission               600(b)(100) of Regulation NMS as any
                                                 that the existing burden estimates for                                                                         SIP engaged in the business of
                                                 rules 614(d)(1) through (3) account for                  rules. Exchange Act rule 0–10(e) 1855
                                                                                                          states that the term ‘‘small business’’               disseminating transaction reports, last
                                                 the identification and dissemination of                                                                        sale data, or quotations with respect to
                                                 the best odd-lot orders.                                 when referring to an exchange means
                                                                                                          any exchange that has been exempted                   NMS securities to brokers, dealers, or
                                                 IX. Regulatory Flexibility Act                           from the reporting requirements of                    investors on a real-time or other current
                                                                                                          Exchange Act rule 601 and is not                      and continuing basis, whether through
                                                    The Regulatory Flexibility Act                        affiliated with any person that is not a              an electronic communications network,
                                                 (‘‘RFA’’) requires the Commission, in                    small business or small organization.                 moving ticker, or interrogation
                                                 promulgating rules,1849 to consider the                  There is only one national securities                 device.1861 Commission rule 0–10(g)
                                                 impact of those rules on small entities.                 association, and the Commission has                   states that the term small business when
                                                 This Final Regulatory Flexibility                        previously stated that it is not a small              referring to a SIP, means any SIP that
                                                 Analysis has been prepared in                            entity as defined by 13 CFR 121.201.1856              had gross revenues of less than $10
                                                 accordance with section 604 of the                          Commission rule 0–10(c) defines a                  million during the preceding year,
                                                 RFA.1850 The Commission prepared an                      broker-dealer as a small entity for the               provided service to fewer than 100
                                                 Initial Regulatory Flexibility Analysis                  purpose of this section if the broker-                interrogation devices or moving tickers
                                                 and a Regulatory Flexibility Act                         dealer had a total capital (net worth plus            at all times during the preceding year,
                                                 certification in accordance with the RFA                 subordinated liabilities) of less than                and is not affiliated with any person
                                                 and included in the Proposing                            $500,000 on the date in the prior fiscal              that is not a small business or small
                                                 Release.1851                                             year as of which its audited financial                organization.1862 The Commission
                                                    In the Proposing Release, the                         statements were prepared, had less than               estimates as of August 31, 2022, that
                                                 Commission certified that the proposed                   $200 million of funds and securities in               there are approximately 80 vendors, 13
                                                 amendments to Rules 600, 603 and 610                     its custody of control at all times during            of which would be small entities.
                                                 would not have a significant economic                    the preceding fiscal year, and the                    3. Reporting, Recordkeeping, and Other
                                                 impact on a substantial number of small                  broker-dealer is not affiliated with any              Compliance Requirements
                                                 entities for purposes of the RFA.1852 The                person (other than a natural person) that
                                                 Proposing Release solicited comments                     is not a small entity.1857 The                           Rule 612 will no impose any new
                                                 on the certification. The Commission                     Commission is updating the estimate                   reporting, recordkeeping, or other
                                                 received no comments on this                             from the Proposing Release and                        compliance requirements on market
                                                 certification.                                           estimates that as of December 31, 2023,               participants that are small entities.
                                                                                                          there were approximately 734                          4. Significant Alternatives
                                                    With respect to Rule 612, an initial
                                                                                                          Commission registered broker-dealers
                                                 Regulatory Flexibility Analysis                                                                                   Pursuant to section 3 of the RFA, the
                                                                                                          that would be small entities for
                                                 (‘‘IFRA’’) was prepared in accordance                                                                          Commission must consider the
                                                                                                          purposes of the statute that would be
                                                 with the RFA and was included in the                                                                           following types of alternatives: (a) the
                                                                                                          required to comply with the
                                                 Proposing Release.1853 The Commission                                                                          establishment of differing compliance or
                                                                                                          amendments to Rule 612 regarding
                                                 has prepared this Final Regulatory
                                                                                                          quotation in the minimum pricing
                                                 Flexibility Analysis (‘‘FRFA’’) in                                                                             dealers that would be small entities for purposes of
                                                                                                          increments.1858 The updated estimate                  the statute.
                                                 accordance with section 604 of the
                                                                                                                                                                   1859 See rule 301(b)(1) of Regulation ATS.
                                                                                                            1854 5 U.S.C. 604.                                     1860 A list of NMS Stock ATSs with Form ATS on
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                                                   1848 MDI Adopting Release, supra note 10, at             1855 17 CFR 240.0–10(e).
                                                                                                                                                                file with the Commission is available at https://
                                                 18703.                                                      1856 See Securities Exchange Act Release No.       www.sec.gov/about/divisions-offices/division-
                                                   1849 5 U.S.C. 553.
                                                                                                          62174 (May 26, 2010), 75 FR 32556 (June 8, 2010)      trading-markets/alternative-trading-systems/form-
                                                   1850 See 5 U.S.C. 604.6.
                                                                                                          (‘‘FINRA is not a small entity as defined by 13 CFR   ats-n-filings-information#ats-n. The Commission
                                                   1851 See section VIII of the Proposing Release,        121.201.’’).                                          examined the list as of January 31, 2024. The
                                                 supra note 11.                                              1857 17 CFR 240.0–10(c).                           number of broker-dealers that operate NMS Stock
                                                   1852 See supra id.                                        1858 In the Proposing Release, the Commission      ATSs has not changed from the Proposing Release.
                                                   1853 See section VIII of the Proposing Release,                                                                 1861 See 17 CFR 242.600(b)(100).
                                                                                                          estimated that as of June 30, 2022, there were
                                                 supra note 11. See supra section VII.B.                  approximately 761 Commission registered broker-          1862 See 17 CFR 242.0–10(g).




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                                                 reporting requirements or timetables                    C. Amendments to Rule 603 and                          an inquiry, the presumption is always in
                                                 that take into account the resources                    Definitions Odd-Lot Information and                    favor of severability.’’ Cmty. for Creative
                                                 available to small entities; (b) the                    Regulatory Data Under Rule 600                         Non-Violence v. Turner, 893 F.2d 1387,
                                                 clarification, consolidation, or                           The amendments to Rule 603(b) and                   1394 (D.C. Cir. 1990). Consistent with
                                                 simplification of compliance and                        to the definitions of odd-lot information              these principles, while the Commission
                                                 reporting requirements under the                        and regulatory data in rule 600(b) would               believes that all provisions of the final
                                                 proposed rule for small entities; (c) the               apply to national securities exchanges                 amendments are fully consistent with
                                                 use of performance rather than design                   registered with the Commission under                   governing law, if any of the provisions
                                                 standards; and (d) an exemption from                    section 6 of the Exchange Act, national                of these amendments, or the application
                                                 coverage of the proposed rule, or any                   securities associations registered with                thereof to any person or circumstance,
                                                 part thereof, for small entities.                       the Commission under section 15A of                    is held to be invalid, the Commission
                                                                                                         the Exchange Act, and the exclusive                    intends that such invalidity shall not
                                                   The primary goal of Rule 612 is to                                                                           affect other provisions or application of
                                                                                                         SIPs. As stated above, pursuant to rule
                                                 provide uniform minimum pricing                         0–10(e), none of the national securities               such provisions to other persons or
                                                 increments for NMS stocks. This                         exchanges small entities for the                       circumstances that can be given effect
                                                 primary goal continues with the                         purposes of the RFA.1865 There is one                  without the invalid provision or
                                                 amendments to Rule 612. As such,                        national securities association, and the               application. In particular, the
                                                 imposing different compliance or                        Commission has previously stated that                  amendments relating to round lots, odd-
                                                 reporting requirements or possibly a                    it is not a small entity.1866 With respect             lot information, Rule 610(c), and Rule
                                                 different timetable for implementing                    to the exclusive SIPs, neither SIAC nor                610(d) can operate independently from
                                                 compliance or reporting requirements,                   Nasdaq meet the criteria for a ‘‘small                 each other and from the amendments
                                                 for small entities, could undermine the                 business’’ or ‘‘small organization’’ when              related to Rule 612. Additionally, the
                                                 goal of uniformity. In addition, the                    used with reference to a securities                    amendments to Rule 612 can operate
                                                 Commission has concluded similarly                      information processor.1867 Thus the                    independently from the amendments
                                                 that it would not be consistent with the                amendments to rules 600(b) and 603(b)                  relating to round lots, odd-lot
                                                 primary goal to further clarify,                        would not affect any small entities. For               information, and Rule 610(d).
                                                 consolidate, or simplify the                            the purposes of the RFA, the                           Statutory Authority and Text of Rule
                                                 amendments to Rule 612 for small                        Commission certifies that the                          Amendments
                                                 entities. The amendments to Rule 612                    amendments to Rule 603(b) and rule
                                                                                                         600(b) would not have a significant                       Pursuant to the Exchange Act, and
                                                 are performance standards and do not                                                                           particularly sections 2, 3(b), 5, 6, 11,
                                                 dictate for entities of any size any                    economic impact on a substantial
                                                                                                         number of small entities.                              11A, 15, 15A, 17, 19, 23(a), and 36
                                                 particular design standards, e.g.,                                                                             thereof, 15 U.S.C. 78b, 78c, 78e, 78f,
                                                 technology, that must be employed to                    D. Certification                                       78k, 78k–1, 78o, 78o–3, 78q, 78s,
                                                 achieve the objectives of the rule. It                    For the reasons described above, the                 78w(a), and 78mm the Commission is
                                                 would be inconsistent with the                          Commission certifies that the final                    amending sections 242.600, 242.603,
                                                 purposes of the Exchange Act to specify                 amendments to Rules 600, 603(b) and                    242.610, and 242.612 of chapter II of
                                                 different requirements for small entities               610 would not have a significant                       title 17 of the Code of Federal
                                                 or to exempt broker-dealers from the                    economic impact on a substantial                       Regulations.
                                                 amendments to Rule 612.                                 number of small entities for purposes of
                                                                                                                                                                List of Subjects in 17 CFR Part 242
                                                                                                         the RFA.
                                                 B. Amendments to Rule 610                                                                                         Brokers, Confidential business
                                                                                                         X. Other Matters                                       information, Fraud, Reporting and
                                                    The changes to Rule 610(c) would
                                                                                                           Pursuant to the Congressional Review                 recordkeeping requirements, Securities.
                                                 apply to trading centers as defined in
                                                                                                         Act,1868 the Office of Information and                    For the reasons stated in the
                                                 rule 600(b)(95) that impose fees for                    Regulatory Affairs has designated these
                                                 access against a protected quotation or                                                                        preamble, the Commission is amending
                                                                                                         rules as a ‘‘major rule’’ as defined by 5              title 17, chapter II of the Code of Federal
                                                 any other quotation of the trading center               U.S.C. 804(2). The Commission                          Regulations as follows:
                                                 that is the best bid or best offer of a                 considers the provisions of the final
                                                 national securities exchange or national                amendments to be severable to the                      PART 242—REGULATIONS M, SHO,
                                                 securities association. As discussed                    fullest extent permitted by law. ‘‘If parts            ATS, AC, NMS, AND SBSR, AND
                                                 above, currently national securities                    of a regulation are invalid and other                  CUSTOMER MARGIN REQUIREMENTS
                                                 exchanges are the only trading centers                  parts are not,’’ courts ‘‘set aside only the           FOR SECURITY FUTURES
                                                 publishing protected quotations.                        invalid parts unless the remaining ones
                                                 Pursuant to rule 0–10(e), none of the                   cannot operate by themselves or unless                 ■ 1. The authority citation for part 242
                                                 national securities exchanges are small                 the agency manifests an intent for the                 continues to read as follows:
                                                 entities for purposes of the RFA.1863                   entire package to rise or fall together.’’               Authority: 15 U.S.C. 77g, 77q(a), 77s(a),
                                                                                                         Bd. of Cnty. Commissioners of Weld                     78b, 78c, 78c–4, 78g(c)(2), 78i(a), 78j, 78k–
                                                    New Rule 610(d) will require all fees                                                                       1(c), 78l, 78m, 78n, 78o(b), 78o(c), 78o(g),
                                                                                                         Cnty. v. EPA, 72 F.4th 284, 296 (D.C.
                                                 charged and rebates paid by national                                                                           78q(a), 78q(b), 78q(h), 78w(a), 78dd–1,
                                                                                                         Cir. 2023); see K mart Corp. v. Cartier,
                                                 securities exchanges to be determinable                 Inc., 486 U.S. 281, 294 (1988). ‘‘In such              78mm, 80a–23, 80a–29, 80a–37, and 8343.
                                                 at the time of execution. Pursuant to
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                                                                                                                                                                ■ 2. Amend § 242.600 by:
                                                 rule 1–10(e), none of the national                        1865 See 17 CFR 240.0–10(e).                         ■ a. In paragraph (b)(69)(i), removing
                                                 securities exchanges are small entities                   1866 See supra note 1856.
                                                                                                                                                                the word ‘‘and’’ from the end of the
                                                 for purposes of the RFA.1864                              1867 See 17 CFR 240.0–10(g). See also Securities
                                                                                                                                                                paragraph;
                                                                                                         Exchange Act Release No. 61595 (Feb. 26, 2010), 75
                                                                                                                                                                ■ b. In paragraph (b)(69)(ii), removing
                                                                                                         FR 11232, 11320 (Mar. 10, 2010) (determining that
                                                                                                         SIAC and Nasdaq are not small entities for purposes    the period at the end of the paragraph
                                                   1863 See 17 CFR 240.0–10(e).
                                                                                                         of the RFA).                                           and adding the text ‘‘; and’’ in its place;
                                                   1864 Id.                                                1868 5 U.S.C. 801 et seq.                            ■ c. Adding paragraph (b)(69)(iii);



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                                                 ■ d. In paragraph (b)(89)(i)(D), removing                 (B) $250.01 to $1,000.00 per share, an              jointly pursuant to one or more effective
                                                 the word ‘‘and’’ from the end of the                    order for the purchase or sale of an NMS              national market system plans for the
                                                 paragraph;                                              stock of 40 shares;                                   dissemination of consolidated market
                                                 ■ e. In paragraph (b)(89)(i)(E), removing                 (C) $1,000.01 to $10,000.00 per share,              data. Every national securities exchange
                                                 the period from the end of the paragraph                an order for the purchase or sale of an               on which an NMS stock is traded and
                                                 and adding the text ‘‘; and’’ in its place;             NMS stock of 10 shares;                               national securities association shall
                                                 ■ f. Adding paragraphs (b)(89)(i)(F) and                  (D) $10,000.01 or more per share, an                make available to all competing
                                                 (89)(iv); and                                           order for the purchase or sale of an NMS              consolidators and self-aggregators its
                                                 ■ g. Revising and republish paragraph                   stock of 1 share; and                                 information with respect to quotations
                                                 (b)(93).                                                  (ii) New NMS stocks. Any security                   for and transactions in NMS stocks,
                                                   The additions and revisions read as                   that becomes an NMS stock during an                   including all data necessary to generate
                                                 follows:                                                operative period as described in                      consolidated market data, in the same
                                                 § 242.600 NMS security designation and
                                                                                                         paragraph (b)(93)(iv) of this section shall           manner and using the same methods,
                                                 definitions.                                            be assigned a round lot of 100 shares.                including all methods of access and the
                                                                                                           (iii) For purposes of this section only,            same format, as such national securities
                                                 *       *     *    *     *                              the Evaluation Period means:
                                                    (b) * * *                                                                                                  exchange or national securities
                                                                                                           (A) All trading days in March for the               association makes available any
                                                    (69) * * *
                                                    (iii) Best odd-lot order to buy and best             round lot assigned on the first business              information with respect to quotations
                                                 odd-lot order to sell. The best odd-lot                 day of May; and                                       for and transactions in NMS stocks to
                                                 order to buy means the highest priced                     (B) All trading days in September for               any person.
                                                 odd-lot order to buy that is priced                     the round lot assigned on the first                      (3) Every national securities exchange
                                                 higher than the national best bid, and                  business day of November during which                 on which an NMS stock is traded and
                                                 the best odd-lot order to sell means the                the average closing price of an NMS                   national securities association shall act
                                                 lowest priced odd-lot order to sell that                stock on the primary listing exchange                 jointly pursuant to one or more effective
                                                 is priced lower than the national best                  shall be measured by the primary listing              national market system plans to
                                                 offer, for an NMS stock that are                        exchange to determine the round lot for               disseminate consolidated information,
                                                 calculated and disseminated on a                        each NMS stock.                                       including a national best bid and
                                                                                                           (iv) The round lot assigned under this              national best offer and odd-lot
                                                 current and continuing basis by a
                                                                                                         section shall be operative on:                        information, on quotations for and
                                                 competing consolidator or plan
                                                                                                           (A) The first business day of May for               transactions in NMS stocks. Such plan
                                                 processor or calculated by a self-
                                                                                                         the March Evaluation Period and                       or plans shall provide for the
                                                 aggregator; provided, that in the event
                                                                                                         continue through the last business day                dissemination of all consolidated
                                                 two or more market centers transmit to
                                                                                                         of October of the calendar year; and                  information for an individual NMS
                                                 a competing consolidator, plan                            (B) The first business day of
                                                 processor, or a self-aggregator identical                                                                     stock through a single plan processor
                                                                                                         November for the September Evaluation
                                                 odd-lot buy orders or odd-lot sell orders                                                                     and such single plan processor must
                                                                                                         Period and continue through the last
                                                 for an NMS stock, the highest priced                                                                          represent quotation sizes in such
                                                                                                         business day of April of the next
                                                 odd-lot buy order or lowest priced odd-                                                                       consolidated information in terms of the
                                                                                                         calendar year.
                                                 lot sell order (as the case may be) shall                                                                     number of shares, rounded down to the
                                                 be determined by ranking all such                       *      *    *     *    *                              nearest multiple of a round lot. Every
                                                 identical odd-lot buy orders or odd-lot                 ■ 3. Amend § 242.603 by revising the                  national securities exchange on which
                                                 sell orders (as the case may be) first by               section heading and paragraph (b) to                  an NMS stock is traded and national
                                                 size (giving the highest ranking to the                 read as follows:                                      securities association shall make
                                                 odd-lot buy order or odd-lot sell order                                                                       available to a plan processor all data
                                                                                                         § 242.603 Distribution, consolidation,
                                                 associated with the largest size), and                  dissemination, and display of information
                                                                                                                                                               necessary to generate odd-lot
                                                 then by time (giving the highest ranking                with respect to quotations for and                    information.
                                                 to the odd-lot buy order or odd-lot sell                transactions in NMS stocks.                           *      *    *     *     *
                                                 order received first in time).                          *       *   *     *     *                             ■ 4. Amend § 242.610 by:
                                                 *       *     *    *     *                                 (b) Consolidation and dissemination                ■ a. Revising paragraph (c);
                                                    (89) * * *                                           of information. (1) Application of                    ■ b. Redesignating paragraphs (d) and
                                                    (i) * * *                                            paragraphs (b)(2) and (3) of this section:            (e) as paragraphs (e) and (f); and
                                                    (F) An indicator of the applicable                      (i) Compliance with paragraph (b)(3)               ■ c. Adding new paragraph (d).
                                                 minimum pricing increment required                      of this section is required until the date               The revisions and addition read as
                                                 under § 242.612.                                        indicated by the Commission in any                    follows:
                                                 *       *     *    *     *                              order approving amendments to the
                                                    (iv) The primary listing exchange                    effective national market system plan(s)              § 242.610   Access to quotations.
                                                 shall also provide the information                      to effectuate a cessation of the                      *      *     *     *     *
                                                 required under paragraphs (b)(89)(i)(E)                 operations of the plan processors that                   (c) Fees for access to quotations. A
                                                 and (F) of this section to the applicable               disseminate consolidated information                  trading center shall not impose, nor
                                                 plan processor for dissemination.                       regarding NMS stocks.                                 permit to be imposed, any fee or fees for
                                                 *       *     *    *     *                                 (ii) Compliance with paragraph (b)(2)              the execution of an order against a
                                                                                                                                                               protected quotation of the trading center
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                                                    (93) Round lot means:                                of this section is required 180 calendar
                                                    (i) For any NMS stock for which the                  days from the date of the Commission’s                or against any other quotation of the
                                                 average closing price on the primary                    approval of the amendments, filed as                  trading center that is the best bid or best
                                                 listing exchange during the prior                       required under § 242.614(e), to the                   offer of a national securities exchange or
                                                 Evaluation Period was:                                  effective national market system plan(s).             the best bid or best offer of a national
                                                    (A) $250.00 or less per share, an order                 (2) Every national securities exchange             securities association in an NMS stock
                                                 for the purchase or sale of an NMS stock                on which an NMS stock is traded and                   that exceed or accumulate to more than
                                                 of 100 shares;                                          national securities association shall act             the following limits:


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                                                   (1) If the price of a protected                          (2) Time Weighted Average Quoted                   stock during the Evaluation Period was
                                                 quotation or other quotation is $1.00 or                Spread means the average dollar value                 equal to or less than $0.015.
                                                 more, the fee or fees cannot exceed or                  difference between the NBB and NBO                       (3) No national securities exchange,
                                                 accumulate to more than $0.001 per                      during regular trading hours where each               national securities association,
                                                 share; or                                               instance of a unique NBB and NBO is                   alternative trading system, vendor, or
                                                   (2) If the price of a protected                       weighted by the length of time that the               broker or dealer shall display, rank, or
                                                 quotation or other quotation is less than               quote prevailed as the NBB or NBO.                    accept from any person a bid or offer,
                                                 $1.00, the fee or fees cannot exceed or                    (b) Minimum pricing increments. (1)                an order, or an indication of interest in
                                                 accumulate to more than 0.1% of the                     The minimum pricing increment under                   any NMS stock priced in an increment
                                                 quotation price per share.                              paragraph (b)(2) of this section shall be             smaller than $0.0001 if that bid or offer,
                                                                                                         operative on:                                         order, or indication of interest is priced
                                                   (d) Transparency of fees. A national                     (i) The first business day of May for
                                                 securities exchange shall not impose,                                                                         less than $1.00 per share.
                                                                                                         the Evaluation Period from January
                                                 nor permit to be imposed, any fee or                    through March and continue through                       (c) New NMS Stocks. Any security
                                                 fees, or provide, or permit to be                       the last business day of October of the               that becomes an NMS Stock during an
                                                 provided, any rebate or other                           calendar year; and                                    operative period as described in
                                                 remuneration, for the execution of an                      (ii) The first business day of                     paragraph (b)(1) of this section shall be
                                                 order in an NMS stock that cannot be                    November for the Evaluation Period                    assigned a minimum pricing increment
                                                 determined at the time of execution.                    from July through September and                       of $0.01 for bids or offers, orders, or
                                                 *     *      *    *      *                              continue through the last business day                indications of interest priced equal to or
                                                                                                         of April of the next calendar year.                   greater than $1.00 per share.
                                                 ■ 5. Revise § 242.612 to read as follows:
                                                                                                            (2) No national securities exchange,                  (d) Exemptions. The Commission, by
                                                 § 242.612   Minimum pricing increment.                  national securities association,                      order, may exempt from the provisions
                                                    (a) Definitions. For purposes of this                alternative trading system, vendor, or                of this section, either unconditionally or
                                                 section only, the following terms shall                 broker or dealer shall display, rank, or              on specified terms and conditions, any
                                                 have the meanings set forth in this                     accept from any person a bid or offer,                person, security, quotation, or order, or
                                                 section.                                                an order, or an indication of interest in             any class or classes of persons,
                                                                                                         any NMS stock in an increment smaller                 securities, quotations, or orders, if the
                                                    (1) Evaluation Period means:
                                                                                                         than required pursuant to either                      Commission determines that such
                                                    (i) The three months from January                    paragraph (b)(2)(i) or (ii) of this section           exemption is necessary or appropriate
                                                 through March of a calendar year; and                   if that bid or offer, order, or indication            in the public interest, and is consistent
                                                    (ii) The three months from July                      of interest is priced equal to or greater             with the protection of investors.
                                                 through September of a calendar year                    than $1.00 per share:                                   By the Commission.
                                                 during which the Time Weighted                             (i) $0.01, if the Time Weighted
                                                                                                                                                                 Dated: September 18, 2024.
                                                 Average Quoted Spread of an NMS                         Average Quoted Spread for the NMS
                                                 stock shall be measured by the primary                  stock during the Evaluation Period was                Vanessa A. Countryman,
                                                 listing exchange to determine the                       greater than, $0.015; or                              Secretary.
                                                 minimum pricing increment for each                         (ii) $0.005, if the Time Weighted                  [FR Doc. 2024–21867 Filed 10–7–24; 8:45 am]
                                                 NMS stock.                                              Average Quoted Spread for the NMS                     BILLING CODE 8011–01–P
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